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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                               )
In re:                                                         )      Chapter 11
                                                               )
GWG Holdings, Inc., et al.,1                                   )      Case No. 22-90032 (MI)
                                                               )
Debtors.                                                       )      (Jointly Administered)


                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK                 )
                                  )    ss:
COUNTY OF KINGS                   )


         I, Edward A. Calderon, declare:

         1.       I am over the age of 18 years and not a party to these Chapter 11 Cases.

         2.       I am employed by Donlin, Recano & Company, Inc. (“DRC”), 6021 15th Avenue,

Brooklyn, NY 11219.

         3.       On the 20th day of April, 2022, DRC, under my supervision, caused true and

accurate copies of the following documents to be served on the Master Service List as follows:

via electronic mail on those listed on Exhibit 1; via Federal Express Priority Overnight delivery

on those listed on Exhibit 2; and via USPS Express Mail Overnight on those listed on Exhibit 3:

                 Notice of Designation as Complex Chapter 11 Bankruptcy Case [Dkt. No. 3]

                 Order Granting Complex Case Treatment [Dkt. No. 19]



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
    location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
    St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
    cases is available at the website of the Debtors’ proposed claims and noticing agent:
    https://donlinrecano.com/gwg.



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      Debtors’ Emergency Motion for an Order (I) Directing Joint Administration of
       Chapter 11 Cases and (II) Granting Related Relief [Dkt. No. 2]

      Debtors’ Emergency Motion for an Order (I) Waiving the Requirement to File a
       List of Equity Security Holders, (II) Authorizing the Debtors to Redact Certain
       Personal Identification Information, and (III) Granting Related Relief [Dkt. No.
       16]

      Debtors’ Emergency Motion for an Order (I) Extending Time to File (a)
       Schedules of Assets and Liabilities, (b) Schedules of Current Income and
       Expenditures, (c) Schedules of Executory Contracts and Unexpired Leases, (d)
       Statements of Financial Affairs, and (II) Granting Related Relief [Dkt. No. 10]

      Debtors’ Emergency Motion for an Order (I) Authorizing the Payment of Certain
       Taxes and Fees and (II) Granting Related Relief [Dkt. No. 11]

      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
       the Debtors to (a) Continue to Operate Their Cash Management System and
       Maintain Existing Bank Accounts, (b) Maintain Existing Business Forms and
       Books and Records, and (c) Continue to Perform Intercompany Transactions and
       (II) Granting Related Relief [Dkt. No. 8]

      Debtors’ Emergency Motion for Entry of Order (I) Authorizing the Debtors to (a)
       Pay Prepetition Salaries, Other Compensation, and Reimbursable Expenses and
       (b) Continue Employee Benefits and Programs and (II) Granting Related Relief
       [Dkt. No. 4]

      Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to
       (a) Continue Insurance Coverage Entered Into Prepetition and Satisfy Prepetition
       Obligations Related Thereto and (b) Renew, Amend, Supplement, Extend or
       Purchase Insurance Policies and (II) Granting Related Relief [Dkt. No. 6]

      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Approving
       Notification and Hearing Procedures for Certain Transfers of Common Stock and
       (II) Granting Related Relief [Dkt. No. 7]

      Debtors’ Emergency Motion for Order Pursuant to Bankruptcy Code Section 105,
       Bankruptcy Rules 1015, 2002, 9007, and 9036, Local Bankruptcy Rule 2002-1,
       and the Complex Case Procedures Authorizing the Modification and
       Establishment of Certain Notice Procedures [Dkt. No. 9]

      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
       the Payment of Critical Vendors, and (II) Granting Related Relief [Dkt. No. 5]

      Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing the
       Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use

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                Cash Collateral, (III) Granting Liens and Superpriority Claims, (IV) Modifying
                the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related
                Relief [Dkt. No. 13]

               Debtors’ Amended Emergency Ex Parte Application For Entry Of An Order
                Authorizing The Employment And Retention Of Donlin, Recano & Company,
                Inc. As Claims, Noticing, And Solicitation Agent [Dkt. No. 46]

               Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in
                Support of Chapter 11 Petitions and First Day Motions [Dkt. No. 17]

               Notice of Electronic First Day Hearing [Dkt. No. 51]

       4.       Additionally, on the 20th day of April, 2022, DRC, under my supervision, caused

true and accurate copies of the following documents to be served on: (1) the Bondholders via

electronic mail on those listed on Exhibit 4; (2) the DTC Participants via electronic mail on

those listed on Exhibit 5; (3) the registered common equity holders via electronic mail on those

listed on Exhibit 6; and (4) the registered preferred equity holders via electronic mail on those

listed on Exhibit 7:

               Debtors’ Emergency Motion for Order Pursuant to Bankruptcy Code Section 105,
                Bankruptcy Rules 1015, 2002, 9007, and 9036, Local Bankruptcy Rule 2002-1,
                and the Complex Case Procedures Authorizing the Modification and
                Establishment of Certain Notice Procedures [Dkt. No. 9]

               Notice of Electronic First Day Hearing [Dkt. No. 51]

       5.       Additionally, on the 20th day of April, 2022, DRC, under my supervision, caused

true and accurate copies of the following documents to be served on substantial shareholders via

Federal Express Priority Overnight delivery on those listed on Exhibit 8:

               Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Approving
                Notification and Hearing Procedures for Certain Transfers of Common Stock and
                (II) Granting Related Relief [Dkt. No. 7]

               Notice of Designation as Complex Chapter 11 Bankruptcy Case [Dkt. No. 3]

               Order Granting Complex Case Treatment [Dkt. No. 19]


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               Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in
                Support of Chapter 11 Petitions and First Day Motions [Dkt. No. 17]

               Notice of Electronic First Day Hearing [Dkt. No. 51]

       6.       Additionally, on the 20th day of April, 2022, DRC, under my supervision, caused

true and accurate copies of the following documents to be served on the Cash Management

Banks via Federal Express Priority Overnight delivery on those listed on Exhibit 9:

               Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
                the Debtors to (a) Continue to Operate Their Cash Management System and
                Maintain Existing Bank Accounts, (b) Maintain Existing Business Forms and
                Books and Records, and (c) Continue to Perform Intercompany Transactions and
                (II) Granting Related Relief [Dkt. No. 8]

               Debtors’ Emergency Motion for an Order (I) Authorizing the Payment of Certain
                Taxes and Fees and (II) Granting Related Relief [Dkt. No. 11]

               Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing the
                Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use
                Cash Collateral, (III) Granting Liens and Superpriority Claims, (IV) Modifying
                the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related
                Relief [Dkt. No. 13]

               Debtors’ Emergency Motion for Entry of Order (I) Authorizing the Debtors to (a)
                Pay Prepetition Salaries, Other Compensation, and Reimbursable Expenses and
                (b) Continue Employee Benefits and Programs and (II) Granting Related Relief
                [Dkt. No. 4]

               Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to
                (a) Continue Insurance Coverage Entered Into Prepetition and Satisfy Prepetition
                Obligations Related Thereto and (b) Renew, Amend, Supplement, Extend or
                Purchase Insurance Policies and (II) Granting Related Relief [Dkt. No. 6]

               Notice of Designation as Complex Chapter 11 Bankruptcy Case [Dkt. No. 3]

               Order Granting Complex Case Treatment [Dkt. No. 19]

               Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in
                Support of Chapter 11 Petitions and First Day Motions [Dkt. No. 17]

               Notice of Electronic First Day Hearing [Dkt. No. 51]



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       7.       Additionally, on the 20th day of April, 2022, DRC, under my supervision, caused

true and accurate copies of the following documents to be served on the Taxing Authorities via

Federal Express Priority Overnight delivery on those listed on Exhibit 10 and via USPS Express

Mail Overnight on those listed on Exhibit 11:

               Debtors’ Emergency Motion for an Order (I) Authorizing the Payment of Certain
                Taxes and Fees and (II) Granting Related Relief [Dkt. No. 11]

               Notice of Designation as Complex Chapter 11 Bankruptcy Case [Dkt. No. 3]

               Order Granting Complex Case Treatment [Dkt. No. 19]

               Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in
                Support of Chapter 11 Petitions and First Day Motions [Dkt. No. 17]

               Notice of Electronic First Day Hearing [Dkt. No. 51]

       8.       Additionally, on the 20th day of April, 2022, DRC, under my supervision, caused

true and accurate copies of the following documents to be served on the Insurance Parties via

USPS Express Mail Overnight on those listed on Exhibit 12 and via Federal Express Priority

Overnight delivery on those listed on Exhibit 13:

               Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to
                (a) Continue Insurance Coverage Entered Into Prepetition and Satisfy Prepetition
                Obligations Related Thereto and (b) Renew, Amend, Supplement, Extend or
                Purchase Insurance Policies and (II) Granting Related Relief [Dkt. No. 6]

               Notice of Designation as Complex Chapter 11 Bankruptcy Case [Dkt. No. 3]

               Order Granting Complex Case Treatment [Dkt. No. 19]

               Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in
                Support of Chapter 11 Petitions and First Day Motions [Dkt. No. 17]

               Notice of Electronic First Day Hearing [Dkt. No. 51]

       9.       Finally, on the 20th day of April, 2022, DRC, under my supervision, caused true

and accurate copies of the following documents to be served via electronic mail on: (1) the


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Master Service list parties listed on Exhibit 1; (2) the Bondholders listed on Exhibit 4; (3) the

DTC Participants listed on Exhibit 5; (4) the registered common equity holders listed on Exhibit

6; and (5) the registered preferred equity holders listed on Exhibit 7:

                Agenda For First Day Hearing On First Day Motions Scheduled For April 21,
                 2022 At 3:30 P.M. (Prevailing Central Time), Before Judge Isgur At The United
                 States Bankruptcy Court For The Southern District Of Texas, At Courtroom 404,
                 515 Rusk Street, Houston, Texas 77002 [Dkt. No. 53]

       10.       I declare under penalty of perjury that the foregoing is true and correct to the best

of my personal knowledge. Executed this 21st day of April, 2022, Brooklyn, New York.



                                                       By _________________________________
                                                                 Edward A. Calderon


Sworn before me this 21st day of April, 2022


______________________________________
          Notary Public




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                        EXHIBIT 1
                                                            GWGFiled
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000020P001-1488S-002                     000021P002-1488S-002                          000021P002-1488S-002                 000126P001-1488S-002
AKIN GUMP STRAUSS HAUER & FELD LLP       AKIN GUMP STRAUSS HAUER & FELD LLP            AKIN GUMP STRAUSS HAUER & FELD LLP   AKIN GUMP STRAUSS HAUER & FELD LLP
SCOTT ALBERINO                           MICHAEL STAMER;ABID QURESHI                   MICHAEL STAMER;ABID QURESHI          LACY M LAWRENCE
ROBERT S. STRAUSS TOWER                  ONE BRYANT PARK                               ONE BRYANT PARK                      2300 N FIELD ST.,STE 1800
2001 K STREET NW                         BANK OF AMERICA TOWER                         BANK OF AMERICA TOWER                DALLAS TX 75201
WASHINGTON DC 20006-1037                 NEW YORK NY 10036-6745                        NEW YORK NY 10036-6745               LLAWRENCE@AKINGUMP.COM
SALBERINO@AKINGUMP.COM                   MSTAMER@AKINGUMP.COM                          AQURESHI@AKINGUMP.COM


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AON INSURANCE MANAGERS BERMUDA LTD       APPLEBY BERMUDA LTD                           ATOMIC DATA LLC                      BAKER TILLY VIRCHOW KRAUSE LLP
CHOISEL MURRAY                           ALAN BOSSIN                                   CHRISTI GATTO                        MATT JEFFRIES
AON HOUSE                                22 VICTORIA ST                                250 MARQUETTE AVE SOUTH              PO BOX 78975
30 WOODBOURNE AVE                        PO BOX HM 1179                                STE 225                              MILWAUKEE WI 53278-8975
PEMBROKE PARISH HM 08                    HAMILTON HM EX                                MINNEAPOLIS MN 55401                 MATT.JEFFRIES@BAKERTILLY.COM
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000060P001-1488S-002                     000023P001-1488S-002                          000024P001-1488S-002                 000048P001-1488S-002
BROADRIDGE INVESTOR COMMUNICATION        BURNS CHAREST LLP                             BURNS CHAREST LLP                    COMPUTERSHARE INC
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000081P001-1488S-002                     000067P001-1488S-002                          000082P001-1488S-002                 000069P001-1488S-002
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                                         ACCOUNTS@CUBIKPROMO.COM                       ATTORNEY.GENERAL@STATE.DE.US         MLEISHMAN@MBDSOLUTIONS.COM


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                                                               GWGFiled
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000047P001-1488S-002                        000065P002-1488S-002                      000062P001-1488S-002                  000049P001-1488S-002
HOULIHAN LOKEY FINANCIAL ADVISORS INC       INTRADO DIGITAL MEDIA LLC                 K AND L GATES LLP                     KLDISCOVERY ONTRACK LLC
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                                            JMCKNIGHT@LOCKELORD.COM                   PDM@MALMFELDT.COM                     MDL@MALMFELDT.COM


000057P001-1488S-002                        000096P001-1488S-002                      000098P001-1488S-002                  000055P001-1488S-002
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000072P001-1488S-002                        000006P003-1488S-002                      000068P002-1488S-002                  000056P001-1488S-002
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000052P001-1488S-002                        000058P002-1488S-002                      000007P001-1488S-002                  000008P001-1488S-002
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000073P002-1488S-002                        000019P002-1488S-002                      000122P001-1488S-002                  000123P001-1488S-002
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PSTEPHAN@STCTRANSFER.COM
                                                       GWG
                               Case 22-90032 Document 69   Holdings,
                                                         Filed       Inc.,on
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SILVER LAW GROUP                    THE BENEFICIENT CO GROUP (USA) LLC            UNITED STATES ATTORNEY        US BANK CORPORATE REAL ESTATE
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000037P001-1488S-002                000017P001-1488S-002                          000018P001-1488S-002          000074P001-1488S-002
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MARTHA E MARTIR                     THOMAS LAURIA                                 SCOTT GREISSMAN               BARBARA WICKOREN
767 FIFTH AVENUE                    1221 AVENUE OF THE AMERICAS                   1221 AVENUE OF THE AMERICAS   3300 PLYMOUTH BLVD
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MARTHA.MARTIR@WEIL.COM              TLAURIA@WHITECASE.COM                         SGREISSMAN@WHITECASE.COM      PLYMOUTH MN 55447
                                                                                                                ACCOUNTING@WHITEOAKSECURITY.COM


000066P001-1488S-002                000046P002-1488S-002
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                        EXHIBIT 2
                                  Case 22-90032 DocumentGWG
                                                         69 Holdings,
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BANK OF NEW YORK MELLON                 BANK OF UTAH                                  BEAL BANK                   BELL STATE BANK
240 GREENWICH ST                        CORPORATE TRUST                               6000 LEGACY DR              BELL BANK
NEW YORK NY 10286                       50 SOUTH 200 EAST STE 110                     PLANO TX 75024              3800 AMERICAN BLVD W
                                        SALT LAKE CITY UT 84111                                                   STE 1450
                                                                                                                  BLOOMINGTON MN 55431



000079P001-1488S-002                    000032P001-1488S-002                          000034P001-1488S-002        000003P001-1488S-002
CALIFORNIA ATTORNEY GENERAL             CLMG CORP                                     CREDIGY SOLUTIONS INC.      INTERNAL REVENUE SVC
ROB BONTA                               AS ADMINISTRATIVE AGENT                       STE 200                     31 HOPKINS PLZ
1300 I ST                               7195 DALLAS PKWY                              NORCROSS GA 30092           RM 1150
STE 1740                                PLANO TX 75024                                                            BALTIMORE MD 21201
SACRAMENTO CA 95814



000004P001-1488S-002                    000005P001-1488S-002                          000041P001-1488S-002        000043P001-1488S-002
INTERNAL REVENUE SVC                    INTERNAL REVENUE SVC                          KKR AND CO INC              KKR CREDIT ADVISORS (US) LLC
500 N CAPITOL ST NW                     CENTRALIZED INSOLVENCY OPERATION              30 HUDSON YARDS             555 CALIFORNIA ST 50TH FL
WASHINGTON DC 20221                     2970 MARKET ST                                NEW YORK NY 10001-2170      SAN FRANCISCO CA 94104
                                        MAIL STOP 5 Q30 133
                                        PHILADELPHIA PA 19104-5016



000042P001-1488S-002                    000105P001-1488S-002                          000071P001-1488S-002        000107P001-1488S-002
KKR LOAN ADMINISTRATION SVC LLC         NEW JERSEY ATTORNEY GENERAL                   NEW TANGRAM LLC             NEW YORK ATTORNEY GENERAL
4001 KENNETT PIKE                       MATTHEW J PLATKIN                             DANIELLE STEVENS            LETITIA JAMES
STE 302                                 RICHARD J HUGHES JUSTICE COMPLEX              9200 SORENSEN AVE           DEPT OF LAW
WILMINGTON DE 19807                     25 MARKET ST 8TH FL WEST WING                 SANTA FE SPRINGS CA 90670   THE CAPITOL 2ND FL
                                        TRENTON NJ 08625                                                          ALBANY NY 12224-0341



000116P001-1488S-002                    000009P001-1488S-002                          000044P001-1488S-002
SOUTH CAROLINA ATTORNEY GENERAL         TEXAS ATTORNEY GENERAL                        WELLS FARGO BANK
ALAN WILSON                             KEN PAXTON                                    600 4TH ST
REMBERT C DENNIS OFFICE BLDG            300 W 15TH ST                                 MINNEAPOLIS MN 55415
1000 ASSEMBLY ST RM 519                 AUSTIN TX 78701
COLUMBIA SC 29211-1549




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000001P001-1488S-002              000002P001-1488S-002                          000033P001-1488S-002      000118P001-1488S-002
FRANCHISE TAX BOARD               INTERNAL REVENUE SVC                          NATIONAL FOUNDERS LP      TENNESSEE ATTORNEY GENERAL
BANKRUPTCY SECTION MSA-340        CENTRALIZED INSOLVENCY OPERATION              AS ADMINISTRATIVE AGENT   HERBERT H SLATERY III
PO BOX 2952                       PO BOX 7346                                   PO BOX 1073               PO BOX 20207
SACRAMENTO CA 95812               PHILADELPHIA PA 19101                         WILMINGTON DE 19899-      NASHVILLE TN 37202




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001149P001-1488A-002E                              001180P001-1488A-002E                           001287P001-1488A-002E                          003015P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




003073P001-1488A-002E                              005410P001-1488A-002E                           008577P001-1488A-002E                          009388P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




010435P001-1488A-002E                              017753P001-1488A-002E                           021363P001-1488A-002E                          021364P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021365P001-1488A-002E                              021366P001-1488A-002E                           021367P001-1488A-002E                          021368P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021369P001-1488A-002E                              021370P001-1488A-002E                           021371P001-1488A-002E                          021372P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021373P001-1488A-002E                              021374P001-1488A-002E                           021375P001-1488A-002E                          021376P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021377P001-1488A-002E                              021378P001-1488A-002E                           021379P001-1488A-002E                          021380P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021381P001-1488A-002E                              021382P001-1488A-002E                           021383P001-1488A-002E                          021384P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021387P001-1488A-002E                              021388P002-1488A-002E                           021389P001-1488A-002E                          021390P001-1488A-002E
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021391P001-1488A-002E                              021392P001-1488A-002E                           021393P001-1488A-002E                          021394P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021395P001-1488A-002E                              021397P001-1488A-002E                           021399P001-1488A-002E                          021400P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021401P001-1488A-002E                              021402P001-1488A-002E                           021403P001-1488A-002E                          021404P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021406P001-1488A-002E                              021407P002-1488A-002E                           021408P001-1488A-002E                          021409P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021410P001-1488A-002E                              021411P001-1488A-002E                           021412P001-1488A-002E                          021413P001-1488A-002E
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021414P001-1488A-002E                              021416P001-1488A-002E                           021417P002-1488A-002E                          021418P001-1488A-002E
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021419P001-1488A-002E                              021420P001-1488A-002E                           021421P001-1488A-002E                          021422P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021423P001-1488A-002E                              021424P001-1488A-002E                           021425P001-1488A-002E                          021426P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021427P001-1488A-002E                              021428P001-1488A-002E                           021429P001-1488A-002E                          021430P001-1488A-002E
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021431P001-1488A-002E                              021432P002-1488A-002E                           021434P001-1488A-002E                          021435P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021436P001-1488A-002E                              021437P001-1488A-002E                           021439P001-1488A-002E                          021440P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021441P001-1488A-002E                              021443P001-1488A-002E                           021444P001-1488A-002E                          021445P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021446P001-1488A-002E                              021447P001-1488A-002E                           021448P001-1488A-002E                          021449P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021450P001-1488A-002E                              021453P001-1488A-002E                           021454P001-1488A-002E                          021455P001-1488A-002E
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021456P001-1488A-002E                              021457P001-1488A-002E                           021458P001-1488A-002E                          021460P001-1488A-002E
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021461P001-1488A-002E                              021462P001-1488A-002E                           021463P001-1488A-002E                          021466P001-1488A-002E
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021470P001-1488A-002E                              021471P001-1488A-002E                           021472P001-1488A-002E                          021473P001-1488A-002E
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021475P001-1488A-002E                              021477P001-1488A-002E                           021478P001-1488A-002E                          021479P001-1488A-002E
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021480P001-1488A-002E                              021481P001-1488A-002E                           021482P001-1488A-002E                          021483P001-1488A-002E
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021484P001-1488A-002E                              021485P001-1488A-002E                           021487P001-1488A-002E                          021488P001-1488A-002E
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021489P001-1488A-002E                              021490P001-1488A-002E                           021491P001-1488A-002E                          021492P001-1488A-002E
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021493P001-1488A-002E                              021496P001-1488A-002E                           021497P001-1488A-002E                          021498P001-1488A-002E
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021499P001-1488A-002E                              021500P001-1488A-002E                           021502P001-1488A-002E                          021503P001-1488A-002E
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021504P001-1488A-002E                              021505P001-1488A-002E                           021506P001-1488A-002E                          021508P001-1488A-002E
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021509P001-1488A-002E                              021510P001-1488A-002E                           021511P001-1488A-002E                          021512P001-1488A-002E
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021513P001-1488A-002E                              021515P001-1488A-002E                           021516P001-1488A-002E                          021518P001-1488A-002E
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021520P001-1488A-002E                              021521P001-1488A-002E                           021523P001-1488A-002E                          021524P001-1488A-002E
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021525P001-1488A-002E                              021526P001-1488A-002E                           021527P001-1488A-002E                          021530P001-1488A-002E
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021532P001-1488A-002E                              021533P001-1488A-002E                           021534P001-1488A-002E                          021535P001-1488A-002E
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021536P001-1488A-002E                              021537P001-1488A-002E                           021538P001-1488A-002E                          021539P001-1488A-002E
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021540P001-1488A-002E                              021541P001-1488A-002E                           021542P001-1488A-002E                          021543P001-1488A-002E
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021544P001-1488A-002E                              021545P001-1488A-002E                           021546P001-1488A-002E                          021547P001-1488A-002E
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021548P001-1488A-002E                              021549P001-1488A-002E                           021552P001-1488A-002E                          021553P001-1488A-002E
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021559P001-1488A-002E                              021560P001-1488A-002E                           021561P001-1488A-002E                          021562P001-1488A-002E
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021563P001-1488A-002E                              021564P001-1488A-002E                           021565P002-1488A-002E                          021568P001-1488A-002E
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021569P001-1488A-002E                              021570P001-1488A-002E                           021571P001-1488A-002E                          021573P001-1488A-002E
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021574P001-1488A-002E                              021575P001-1488A-002E                           021576P001-1488A-002E                          021577P001-1488A-002E
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021579P001-1488A-002E                              021580P001-1488A-002E                           021581P001-1488A-002E                          021582P001-1488A-002E
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021585P001-1488A-002E                              021586P001-1488A-002E                           021588P001-1488A-002E                          021589P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021590P001-1488A-002E                              021591P001-1488A-002E                           021592P001-1488A-002E                          021593P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021594P001-1488A-002E                              021595P001-1488A-002E                           021596P001-1488A-002E                          021597P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021598P002-1488A-002E                              021599P002-1488A-002E                           021600P001-1488A-002E                          021602P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021603P001-1488A-002E                              021604P001-1488A-002E                           021605P001-1488A-002E                          021606P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021607P001-1488A-002E                              021608P001-1488A-002E                           021609P002-1488A-002E                          021610P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021612P001-1488A-002E                              021613P001-1488A-002E                           021614P001-1488A-002E                          021615P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021616P001-1488A-002E                              021617P001-1488A-002E                           021618P001-1488A-002E                          021619P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021621P001-1488A-002E                              021622P001-1488A-002E                           021623P001-1488A-002E                          021624P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021625P001-1488A-002E                              021626P001-1488A-002E                           021627P001-1488A-002E                          021628P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021629P001-1488A-002E                              021630P001-1488A-002E                           021631P001-1488A-002E                          021632P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021633P001-1488A-002E                              021634P001-1488A-002E                           021635P001-1488A-002E                          021636P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021637P001-1488A-002E                              021638P001-1488A-002E                           021639P001-1488A-002E                          021640P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021642P001-1488A-002E                              021643P001-1488A-002E                           021644P001-1488A-002E                          021645P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021646P001-1488A-002E                              021647P001-1488A-002E                           021650P001-1488A-002E                          021651P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021652P001-1488A-002E                              021653P001-1488A-002E                           021654P001-1488A-002E                          021655P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021657P001-1488A-002E                              021658P001-1488A-002E                           021659P001-1488A-002E                          021661P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021662P001-1488A-002E                              021663P001-1488A-002E                           021664P001-1488A-002E                          021665P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021666P001-1488A-002E                              021667P001-1488A-002E                           021668P001-1488A-002E                          021669P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021670P001-1488A-002E                              021671P001-1488A-002E                           021672P001-1488A-002E                          021673P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021674P001-1488A-002E                              021675P001-1488A-002E                           021677P001-1488A-002E                          021680P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021681P001-1488A-002E                              021682P001-1488A-002E                           021683P001-1488A-002E                          021684P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021685P001-1488A-002E                              021686P001-1488A-002E                           021688P001-1488A-002E                          021689P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021690P001-1488A-002E                              021691P001-1488A-002E                           021692P001-1488A-002E                          021693P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021694P002-1488A-002E                              021695P001-1488A-002E                           021699P001-1488A-002E                          021700P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021701P001-1488A-002E                              021702P001-1488A-002E                           021703P001-1488A-002E                          021704P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021705P001-1488A-002E                              021706P001-1488A-002E                           021707P001-1488A-002E                          021708P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021709P001-1488A-002E                              021710P001-1488A-002E                           021711P001-1488A-002E                          021712P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021713P001-1488A-002E                              021714P001-1488A-002E                           021715P001-1488A-002E                          021717P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021718P001-1488A-002E                              021719P001-1488A-002E                           021720P002-1488A-002E                          021722P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021723P001-1488A-002E                              021724P001-1488A-002E                           021725P001-1488A-002E                          021726P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021727P001-1488A-002E                              021729P001-1488A-002E                           021730P001-1488A-002E                          021731P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021732P001-1488A-002E                              021733P001-1488A-002E                           021734P001-1488A-002E                          021735P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021737P001-1488A-002E                              021739P002-1488A-002E                           021741P001-1488A-002E                          021743P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021744P001-1488A-002E                              021745P001-1488A-002E                           021746P001-1488A-002E                          021747P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021748P001-1488A-002E                              021749P001-1488A-002E                           021750P001-1488A-002E                          021751P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021752P001-1488A-002E                              021754P001-1488A-002E                           021755P001-1488A-002E                          021756P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021757P001-1488A-002E                              021758P001-1488A-002E                           021762P001-1488A-002E                          021763P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021765P001-1488A-002E                              021767P001-1488A-002E                           021768P001-1488A-002E                          021769P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021771P001-1488A-002E                              021772P001-1488A-002E                           021775P001-1488A-002E                          021777P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021778P001-1488A-002E                              021779P001-1488A-002E                           021780P001-1488A-002E                          021781P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021782P001-1488A-002E                              021783P001-1488A-002E                           021784P001-1488A-002E                          021786P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021787P001-1488A-002E                              021789P001-1488A-002E                           021793P001-1488A-002E                          021795P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021796P001-1488A-002E                              021797P001-1488A-002E                           021799P001-1488A-002E                          021800P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021802P001-1488A-002E                              021803P001-1488A-002E                           021805P001-1488A-002E                          021807P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021809P001-1488A-002E                              021810P001-1488A-002E                           021811P001-1488A-002E                          021812P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021813P001-1488A-002E                              021814P001-1488A-002E                           021815P001-1488A-002E                          021816P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021817P001-1488A-002E                              021819P001-1488A-002E                           021820P001-1488A-002E                          021821P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021822P001-1488A-002E                              021823P001-1488A-002E                           021824P001-1488A-002E                          021825P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021826P001-1488A-002E                              021827P001-1488A-002E                           021828P001-1488A-002E                          021829P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021830P001-1488A-002E                              021832P001-1488A-002E                           021833P001-1488A-002E                          021834P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021835P001-1488A-002E                              021836P001-1488A-002E                           021837P001-1488A-002E                          021838P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021839P001-1488A-002E                              021840P002-1488A-002E                           021841P001-1488A-002E                          021843P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021844P001-1488A-002E                              021845P001-1488A-002E                           021846P001-1488A-002E                          021847P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021848P001-1488A-002E                              021849P001-1488A-002E                           021850P001-1488A-002E                          021851P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021852P001-1488A-002E                              021853P002-1488A-002E                           021854P001-1488A-002E                          021855P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021856P001-1488A-002E                              021857P001-1488A-002E                           021859P001-1488A-002E                          021860P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021861P001-1488A-002E                              021862P001-1488A-002E                           021863P002-1488A-002E                          021864P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021865P001-1488A-002E                              021866P001-1488A-002E                           021869P001-1488A-002E                          021870P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021871P001-1488A-002E                              021874P001-1488A-002E                           021876P001-1488A-002E                          021877P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021878P001-1488A-002E                              021879P001-1488A-002E                           021881P001-1488A-002E                          021882P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021883P001-1488A-002E                              021884P001-1488A-002E                           021885P002-1488A-002E                          021886P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021887P001-1488A-002E                              021888P001-1488A-002E                           021890P001-1488A-002E                          021891P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021892P001-1488A-002E                              021893P001-1488A-002E                           021894P001-1488A-002E                          021896P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021897P001-1488A-002E                              021898P001-1488A-002E                           021899P001-1488A-002E                          021900P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021901P001-1488A-002E                              021902P001-1488A-002E                           021905P001-1488A-002E                          021906P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021909P001-1488A-002E                              021910P001-1488A-002E                           021911P001-1488A-002E                          021912P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021914P001-1488A-002E                              021915P001-1488A-002E                           021917P001-1488A-002E                          021920P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021921P002-1488A-002E                              021922P001-1488A-002E                           021923P001-1488A-002E                          021924P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021925P001-1488A-002E                              021927P001-1488A-002E                           021928P002-1488A-002E                          021929P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021930P001-1488A-002E                              021931P001-1488A-002E                           021932P001-1488A-002E                          021936P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021937P001-1488A-002E                              021938P001-1488A-002E                           021940P001-1488A-002E                          021941P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021942P001-1488A-002E                              021943P001-1488A-002E                           021944P001-1488A-002E                          021945P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021947P001-1488A-002E                              021948P001-1488A-002E                           021949P001-1488A-002E                          021950P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021951P001-1488A-002E                              021952P001-1488A-002E                           021953P001-1488A-002E                          021954P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021955P002-1488A-002E                              021957P001-1488A-002E                           021958P001-1488A-002E                          021959P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021960P001-1488A-002E                              021961P001-1488A-002E                           021962P001-1488A-002E                          021963P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021964P001-1488A-002E                              021965P001-1488A-002E                           021966P002-1488A-002E                          021967P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021969P001-1488A-002E                              021970P001-1488A-002E                           021971P001-1488A-002E                          021972P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021975P001-1488A-002E                              021977P001-1488A-002E                           021978P001-1488A-002E                          021979P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021980P001-1488A-002E                              021981P001-1488A-002E                           021982P001-1488A-002E                          021983P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021984P001-1488A-002E                              021985P001-1488A-002E                           021986P001-1488A-002E                          021990P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021991P001-1488A-002E                              021992P001-1488A-002E                           021993P001-1488A-002E                          021994P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021995P001-1488A-002E                              021996P001-1488A-002E                           021998P001-1488A-002E                          021999P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022000P001-1488A-002E                              022001P001-1488A-002E                           022002P001-1488A-002E                          022003P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022004P001-1488A-002E                              022005P001-1488A-002E                           022006P001-1488A-002E                          022007P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022008P001-1488A-002E                              022009P001-1488A-002E                           022010P002-1488A-002E                          022011P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022013P001-1488A-002E                              022015P001-1488A-002E                           022016P001-1488A-002E                          022017P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022019P001-1488A-002E                              022021P001-1488A-002E                           022022P001-1488A-002E                          022023P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022024P001-1488A-002E                              022026P001-1488A-002E                           022028P001-1488A-002E                          022029P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022030P001-1488A-002E                              022032P001-1488A-002E                           022035P001-1488A-002E                          022036P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022037P001-1488A-002E                              022039P001-1488A-002E                           022040P001-1488A-002E                          022044P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022045P001-1488A-002E                              022048P001-1488A-002E                           022049P001-1488A-002E                          022051P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022054P001-1488A-002E                              022055P001-1488A-002E                           022056P001-1488A-002E                          022057P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022058P002-1488A-002E                              022059P001-1488A-002E                           022060P001-1488A-002E                          022061P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022062P001-1488A-002E                              022063P001-1488A-002E                           022064P001-1488A-002E                          022065P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022066P001-1488A-002E                              022067P001-1488A-002E                           022068P002-1488A-002E                          022069P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022070P001-1488A-002E                              022071P001-1488A-002E                           022073P001-1488A-002E                          022074P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022075P001-1488A-002E                              022076P001-1488A-002E                           022077P001-1488A-002E                          022078P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022080P001-1488A-002E                              022085P001-1488A-002E                           022087P001-1488A-002E                          022088P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022089P001-1488A-002E                              022092P001-1488A-002E                           022093P001-1488A-002E                          022094P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022096P001-1488A-002E                              022098P001-1488A-002E                           022099P001-1488A-002E                          022102P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022103P001-1488A-002E                              022105P001-1488A-002E                           022108P001-1488A-002E                          022109P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022110P001-1488A-002E                              022111P001-1488A-002E                           022112P001-1488A-002E                          022114P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022116P001-1488A-002E                              022117P001-1488A-002E                           022118P001-1488A-002E                          022119P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022120P001-1488A-002E                              022121P001-1488A-002E                           022123P001-1488A-002E                          022126P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022127P001-1488A-002E                              022129P001-1488A-002E                           022130P001-1488A-002E                          022132P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022133P001-1488A-002E                              022134P001-1488A-002E                           022135P001-1488A-002E                          022138P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022139P001-1488A-002E                              022140P001-1488A-002E                           022141P001-1488A-002E                          022142P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022144P001-1488A-002E                              022145P001-1488A-002E                           022148P001-1488A-002E                          022149P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022150P001-1488A-002E                              022152P001-1488A-002E                           022153P001-1488A-002E                          022154P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022155P001-1488A-002E                              022156P001-1488A-002E                           022157P001-1488A-002E                          022158P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022159P001-1488A-002E                              022160P001-1488A-002E                           022161P001-1488A-002E                          022162P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022164P001-1488A-002E                              022165P001-1488A-002E                           022167P001-1488A-002E                          022168P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022169P001-1488A-002E                              022170P001-1488A-002E                           022172P001-1488A-002E                          022174P001-1488A-002E
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022177P001-1488A-002E                              022178P001-1488A-002E                           022179P001-1488A-002E                          022180P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022182P001-1488A-002E                              022183P001-1488A-002E                           022184P001-1488A-002E                          022185P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022186P001-1488A-002E                              022187P001-1488A-002E                           022188P001-1488A-002E                          022189P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022190P001-1488A-002E                              022191P001-1488A-002E                           022192P002-1488A-002E                          022193P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022196P001-1488A-002E                              022197P001-1488A-002E                           022200P001-1488A-002E                          022202P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022203P001-1488A-002E                              022204P001-1488A-002E                           022205P001-1488A-002E                          022206P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022207P001-1488A-002E                              022209P001-1488A-002E                           022210P001-1488A-002E                          022211P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022212P001-1488A-002E                              022213P001-1488A-002E                           022214P001-1488A-002E                          022215P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022217P001-1488A-002E                              022218P001-1488A-002E                           022219P001-1488A-002E                          022220P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022221P001-1488A-002E                              022222P001-1488A-002E                           022223P001-1488A-002E                          022224P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022226P001-1488A-002E                              022228P001-1488A-002E                           022229P001-1488A-002E                          022230P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022232P001-1488A-002E                              022233P001-1488A-002E                           022235P001-1488A-002E                          022236P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022237P001-1488A-002E                              022238P001-1488A-002E                           022239P001-1488A-002E                          022240P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022241P001-1488A-002E                              022242P001-1488A-002E                           022243P001-1488A-002E                          022244P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022245P001-1488A-002E                              022246P001-1488A-002E                           022247P001-1488A-002E                          022248P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022249P002-1488A-002E                              022250P001-1488A-002E                           022251P001-1488A-002E                          022252P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022253P001-1488A-002E                              022254P001-1488A-002E                           022255P001-1488A-002E                          022257P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022259P001-1488A-002E                              022260P001-1488A-002E                           022261P001-1488A-002E                          022262P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022263P001-1488A-002E                              022264P001-1488A-002E                           022265P001-1488A-002E                          022266P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022268P001-1488A-002E                              022269P001-1488A-002E                           022270P001-1488A-002E                          022271P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022273P001-1488A-002E                              022274P001-1488A-002E                           022275P001-1488A-002E                          022276P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022277P001-1488A-002E                              022278P001-1488A-002E                           022279P001-1488A-002E                          022280P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022281P002-1488A-002E                              022282P001-1488A-002E                           022284P001-1488A-002E                          022285P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022286P001-1488A-002E                              022287P001-1488A-002E                           022288P001-1488A-002E                          022289P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022290P001-1488A-002E                              022291P001-1488A-002E                           022293P001-1488A-002E                          022294P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022295P001-1488A-002E                              022296P001-1488A-002E                           022298P001-1488A-002E                          022299P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022300P001-1488A-002E                              022302P001-1488A-002E                           022304P001-1488A-002E                          022306P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022307P001-1488A-002E                              022309P001-1488A-002E                           022310P001-1488A-002E                          022311P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022312P001-1488A-002E                              022313P001-1488A-002E                           022314P001-1488A-002E                          022315P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022316P001-1488A-002E                              022317P001-1488A-002E                           022318P001-1488A-002E                          022319P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022320P001-1488A-002E                              022321P001-1488A-002E                           022323P001-1488A-002E                          022324P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022325P001-1488A-002E                              022326P002-1488A-002E                           022327P001-1488A-002E                          022328P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022329P001-1488A-002E                              022330P001-1488A-002E                           022331P001-1488A-002E                          022332P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022333P001-1488A-002E                              022334P001-1488A-002E                           022335P001-1488A-002E                          022336P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022337P001-1488A-002E                              022338P001-1488A-002E                           022341P001-1488A-002E                          022342P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022343P001-1488A-002E                              022344P001-1488A-002E                           022345P001-1488A-002E                          022346P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022347P001-1488A-002E                              022348P001-1488A-002E                           022349P001-1488A-002E                          022350P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022351P001-1488A-002E                              022352P001-1488A-002E                           022353P001-1488A-002E                          022356P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022357P001-1488A-002E                              022358P001-1488A-002E                           022359P001-1488A-002E                          022360P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022361P001-1488A-002E                              022362P001-1488A-002E                           022363P001-1488A-002E                          022364P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022365P001-1488A-002E                              022367P001-1488A-002E                           022368P001-1488A-002E                          022369P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022370P001-1488A-002E                              022372P001-1488A-002E                           022373P001-1488A-002E                          022374P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022375P001-1488A-002E                              022376P001-1488A-002E                           022378P001-1488A-002E                          022379P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022380P001-1488A-002E                              022381P001-1488A-002E                           022382P001-1488A-002E                          022383P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022384P001-1488A-002E                              022388P001-1488A-002E                           022389P001-1488A-002E                          022391P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022392P001-1488A-002E                              022393P001-1488A-002E                           022398P001-1488A-002E                          022401P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022402P001-1488A-002E                              022406P001-1488A-002E                           022407P001-1488A-002E                          022408P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022410P001-1488A-002E                              022411P001-1488A-002E                           022412P001-1488A-002E                          022413P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022414P001-1488A-002E                              022415P001-1488A-002E                           022416P001-1488A-002E                          022417P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022418P001-1488A-002E                              022421P001-1488A-002E                           022423P001-1488A-002E                          022424P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022425P001-1488A-002E                              022426P001-1488A-002E                           022427P001-1488A-002E                          022429P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022430P001-1488A-002E                              022431P001-1488A-002E                           022432P001-1488A-002E                          022433P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022435P001-1488A-002E                              022436P001-1488A-002E                           022437P001-1488A-002E                          022439P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022440P001-1488A-002E                              022443P001-1488A-002E                           022445P001-1488A-002E                          022446P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022451P001-1488A-002E                              022452P001-1488A-002E                           022455P001-1488A-002E                          022456P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022461P001-1488A-002E                              022462P001-1488A-002E                           022465P001-1488A-002E                          022466P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022467P001-1488A-002E                              022469P001-1488A-002E                           022470P001-1488A-002E                          022471P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022472P001-1488A-002E                              022473P001-1488A-002E                           022474P001-1488A-002E                          022476P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022477P001-1488A-002E                              022479P001-1488A-002E                           022480P001-1488A-002E                          022481P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022485P001-1488A-002E                              022486P001-1488A-002E                           022487P001-1488A-002E                          022488P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022489P001-1488A-002E                              022490P001-1488A-002E                           022491P001-1488A-002E                          022492P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022493P001-1488A-002E                              022494P001-1488A-002E                           022495P001-1488A-002E                          022498P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022499P001-1488A-002E                              022500P001-1488A-002E                           022501P001-1488A-002E                          022502P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022503P001-1488A-002E                              022504P001-1488A-002E                           022505P001-1488A-002E                          022506P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022507P001-1488A-002E                              022508P001-1488A-002E                           022509P001-1488A-002E                          022510P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022511P001-1488A-002E                              022516P001-1488A-002E                           022517P001-1488A-002E                          022518P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022519P001-1488A-002E                              022521P001-1488A-002E                           022522P001-1488A-002E                          022523P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022524P001-1488A-002E                              022526P001-1488A-002E                           022527P001-1488A-002E                          022528P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022529P001-1488A-002E                              022530P001-1488A-002E                           022531P001-1488A-002E                          022532P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022534P001-1488A-002E                              022536P001-1488A-002E                           022537P001-1488A-002E                          022539P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022540P001-1488A-002E                              022542P001-1488A-002E                           022543P001-1488A-002E                          022544P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022545P001-1488A-002E                              022546P001-1488A-002E                           022547P001-1488A-002E                          022549P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022550P001-1488A-002E                              022552P001-1488A-002E                           022553P001-1488A-002E                          022555P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022556P001-1488A-002E                              022557P001-1488A-002E                           022558P001-1488A-002E                          022559P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022560P001-1488A-002E                              022561P001-1488A-002E                           022563P001-1488A-002E                          022564P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022565P001-1488A-002E                              022566P001-1488A-002E                           022567P001-1488A-002E                          022568P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022569P001-1488A-002E                              022571P001-1488A-002E                           022572P001-1488A-002E                          022573P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022574P001-1488A-002E                              022575P001-1488A-002E                           022576P001-1488A-002E                          022577P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022578P001-1488A-002E                              022580P001-1488A-002E                           022583P001-1488A-002E                          022584P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022586P001-1488A-002E                              022587P001-1488A-002E                           022590P001-1488A-002E                          022592P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022593P001-1488A-002E                              022594P001-1488A-002E                           022595P001-1488A-002E                          022597P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022599P001-1488A-002E                              022600P001-1488A-002E                           022601P001-1488A-002E                          022602P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022604P001-1488A-002E                              022605P001-1488A-002E                           022606P001-1488A-002E                          022607P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022608P001-1488A-002E                              022609P001-1488A-002E                           022610P001-1488A-002E                          022611P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022612P001-1488A-002E                              022613P001-1488A-002E                           022615P001-1488A-002E                          022616P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022617P001-1488A-002E                              022619P001-1488A-002E                           022620P001-1488A-002E                          022621P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022622P001-1488A-002E                              022623P001-1488A-002E                           022624P001-1488A-002E                          022625P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022626P001-1488A-002E                              022627P001-1488A-002E                           022628P001-1488A-002E                          022630P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022631P001-1488A-002E                              022633P001-1488A-002E                           022634P001-1488A-002E                          022635P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022638P001-1488A-002E                              022640P001-1488A-002E                           022641P001-1488A-002E                          022643P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022644P001-1488A-002E                              022646P001-1488A-002E                           022648P001-1488A-002E                          022649P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022650P001-1488A-002E                              022651P001-1488A-002E                           022652P001-1488A-002E                          022656P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022657P001-1488A-002E                              022658P001-1488A-002E                           022660P001-1488A-002E                          022661P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022663P001-1488A-002E                              022665P001-1488A-002E                           022666P001-1488A-002E                          022667P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022668P001-1488A-002E                              022669P001-1488A-002E                           022670P001-1488A-002E                          022671P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022672P001-1488A-002E                              022673P001-1488A-002E                           022674P001-1488A-002E                          022675P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022676P001-1488A-002E                              022678P001-1488A-002E                           022681P001-1488A-002E                          022682P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022683P002-1488A-002E                              022685P001-1488A-002E                           022686P001-1488A-002E                          022687P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022688P001-1488A-002E                              022689P001-1488A-002E                           022690P001-1488A-002E                          022692P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022693P001-1488A-002E                              022694P001-1488A-002E                           022695P001-1488A-002E                          022696P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022697P001-1488A-002E                              022699P001-1488A-002E                           022700P001-1488A-002E                          022703P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022704P001-1488A-002E                              022705P001-1488A-002E                           022706P001-1488A-002E                          022707P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022708P001-1488A-002E                              022709P001-1488A-002E                           022710P001-1488A-002E                          022713P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022714P001-1488A-002E                              022715P001-1488A-002E                           022716P001-1488A-002E                          022717P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022718P001-1488A-002E                              022719P001-1488A-002E                           022720P001-1488A-002E                          022721P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022722P001-1488A-002E                              022723P001-1488A-002E                           022724P001-1488A-002E                          022725P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022726P001-1488A-002E                              022728P001-1488A-002E                           022729P001-1488A-002E                          022730P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022731P001-1488A-002E                              022732P001-1488A-002E                           022735P001-1488A-002E                          022736P001-1488A-002E
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022737P001-1488A-002E                              022738P001-1488A-002E                           022739P001-1488A-002E                          022740P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022741P001-1488A-002E                              022742P001-1488A-002E                           022745P001-1488A-002E                          022746P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022747P001-1488A-002E                              022748P001-1488A-002E                           022749P001-1488A-002E                          022750P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022751P001-1488A-002E                              022752P001-1488A-002E                           022753P001-1488A-002E                          022755P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022756P001-1488A-002E                              022757P001-1488A-002E                           022759P001-1488A-002E                          022760P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022761P001-1488A-002E                              022763P001-1488A-002E                           022764P001-1488A-002E                          022765P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022766P001-1488A-002E                              022767P001-1488A-002E                           022768P001-1488A-002E                          022769P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022770P001-1488A-002E                              022771P001-1488A-002E                           022772P001-1488A-002E                          022773P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022774P001-1488A-002E                              022775P001-1488A-002E                           022776P001-1488A-002E                          022777P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022778P001-1488A-002E                              022779P001-1488A-002E                           022781P001-1488A-002E                          022782P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022783P001-1488A-002E                              022784P001-1488A-002E                           022785P001-1488A-002E                          022786P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022788P001-1488A-002E                              022789P001-1488A-002E                           022790P001-1488A-002E                          022791P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022793P001-1488A-002E                              022794P001-1488A-002E                           022795P001-1488A-002E                          022796P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022797P001-1488A-002E                              022798P001-1488A-002E                           022800P001-1488A-002E                          022801P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022802P001-1488A-002E                              022803P001-1488A-002E                           022804P001-1488A-002E                          022805P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022806P001-1488A-002E                              022807P001-1488A-002E                           022808P001-1488A-002E                          022809P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022810P002-1488A-002E                              022811P001-1488A-002E                           022812P001-1488A-002E                          022813P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022814P001-1488A-002E                              022815P001-1488A-002E                           022816P001-1488A-002E                          022817P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022818P001-1488A-002E                              022819P001-1488A-002E                           022820P001-1488A-002E                          022821P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022823P001-1488A-002E                              022824P001-1488A-002E                           022825P001-1488A-002E                          022827P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022828P001-1488A-002E                              022829P001-1488A-002E                           022830P001-1488A-002E                          022831P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022832P001-1488A-002E                              022833P001-1488A-002E                           022835P001-1488A-002E                          022838P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022839P001-1488A-002E                              022840P001-1488A-002E                           022841P001-1488A-002E                          022842P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022843P001-1488A-002E                              022845P001-1488A-002E                           022846P001-1488A-002E                          022847P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022848P001-1488A-002E                              022850P001-1488A-002E                           022851P001-1488A-002E                          022853P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022854P001-1488A-002E                              022856P001-1488A-002E                           022857P001-1488A-002E                          022858P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022861P001-1488A-002E                              022862P001-1488A-002E                           022863P001-1488A-002E                          022864P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022865P001-1488A-002E                              022866P001-1488A-002E                           022867P001-1488A-002E                          022868P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022870P001-1488A-002E                              022871P001-1488A-002E                           022872P001-1488A-002E                          022873P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022876P001-1488A-002E                              022877P001-1488A-002E                           022880P001-1488A-002E                          022881P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022882P001-1488A-002E                              022883P001-1488A-002E                           022884P001-1488A-002E                          022885P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022888P001-1488A-002E                              022889P001-1488A-002E                           022891P001-1488A-002E                          022892P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022893P001-1488A-002E                              022894P001-1488A-002E                           022896P001-1488A-002E                          022898P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022899P001-1488A-002E                              022900P001-1488A-002E                           022901P001-1488A-002E                          022902P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022903P001-1488A-002E                              022905P001-1488A-002E                           022906P002-1488A-002E                          022907P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022908P001-1488A-002E                              022909P001-1488A-002E                           022911P001-1488A-002E                          022912P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022914P001-1488A-002E                              022915P001-1488A-002E                           022916P001-1488A-002E                          022917P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022919P001-1488A-002E                              022920P001-1488A-002E                           022921P001-1488A-002E                          022922P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022923P002-1488A-002E                              022924P001-1488A-002E                           022925P001-1488A-002E                          022926P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022927P001-1488A-002E                              022928P001-1488A-002E                           022929P001-1488A-002E                          022930P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022931P001-1488A-002E                              022932P001-1488A-002E                           022933P001-1488A-002E                          022934P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022935P001-1488A-002E                              022936P001-1488A-002E                           022938P001-1488A-002E                          022940P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022943P001-1488A-002E                              022944P001-1488A-002E                           022945P001-1488A-002E                          022946P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022947P001-1488A-002E                              022948P001-1488A-002E                           022949P001-1488A-002E                          022950P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022951P001-1488A-002E                              022953P001-1488A-002E                           022954P001-1488A-002E                          022955P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022956P001-1488A-002E                              022957P001-1488A-002E                           022958P001-1488A-002E                          022959P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022960P001-1488A-002E                              022961P001-1488A-002E                           022962P001-1488A-002E                          022963P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022964P002-1488A-002E                              022966P001-1488A-002E                           022967P001-1488A-002E                          022968P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022970P001-1488A-002E                              022972P001-1488A-002E                           022973P001-1488A-002E                          022974P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022975P001-1488A-002E                              022976P001-1488A-002E                           022978P001-1488A-002E                          022979P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022980P001-1488A-002E                              022983P001-1488A-002E                           022984P001-1488A-002E                          022985P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022986P001-1488A-002E                              022987P001-1488A-002E                           022990P001-1488A-002E                          022991P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022992P001-1488A-002E                              022993P001-1488A-002E                           022994P001-1488A-002E                          022995P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022996P001-1488A-002E                              022997P001-1488A-002E                           022998P001-1488A-002E                          022999P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023001P001-1488A-002E                              023002P001-1488A-002E                           023004P001-1488A-002E                          023006P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023007P001-1488A-002E                              023008P001-1488A-002E                           023009P001-1488A-002E                          023010P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023011P001-1488A-002E                              023012P001-1488A-002E                           023014P001-1488A-002E                          023015P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023016P001-1488A-002E                              023017P001-1488A-002E                           023018P001-1488A-002E                          023019P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023020P001-1488A-002E                              023021P001-1488A-002E                           023022P001-1488A-002E                          023023P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023024P001-1488A-002E                              023025P001-1488A-002E                           023026P001-1488A-002E                          023027P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023028P001-1488A-002E                              023029P001-1488A-002E                           023030P001-1488A-002E                          023031P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023032P001-1488A-002E                              023033P001-1488A-002E                           023035P001-1488A-002E                          023036P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023037P001-1488A-002E                              023038P001-1488A-002E                           023039P001-1488A-002E                          023040P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023041P001-1488A-002E                              023042P001-1488A-002E                           023043P001-1488A-002E                          023044P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023045P001-1488A-002E                              023048P001-1488A-002E                           023049P001-1488A-002E                          023050P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023051P001-1488A-002E                              023052P001-1488A-002E                           023053P001-1488A-002E                          023054P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023055P001-1488A-002E                              023056P001-1488A-002E                           023057P001-1488A-002E                          023058P001-1488A-002E
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023060P001-1488A-002E                              023061P001-1488A-002E                           023062P001-1488A-002E                          023063P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023064P001-1488A-002E                              023065P001-1488A-002E                           023066P001-1488A-002E                          023067P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023069P001-1488A-002E                              023070P001-1488A-002E                           023071P001-1488A-002E                          023072P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023074P001-1488A-002E                              023075P001-1488A-002E                           023076P001-1488A-002E                          023077P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023078P002-1488A-002E                              023079P001-1488A-002E                           023080P001-1488A-002E                          023081P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023082P001-1488A-002E                              023084P001-1488A-002E                           023085P001-1488A-002E                          023087P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023088P001-1488A-002E                              023090P001-1488A-002E                           023092P001-1488A-002E                          023093P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023094P001-1488A-002E                              023095P001-1488A-002E                           023096P001-1488A-002E                          023097P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023098P001-1488A-002E                              023103P001-1488A-002E                           023104P001-1488A-002E                          023105P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023106P001-1488A-002E                              023107P001-1488A-002E                           023108P001-1488A-002E                          023110P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023111P001-1488A-002E                              023112P001-1488A-002E                           023113P001-1488A-002E                          023114P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023115P001-1488A-002E                              023116P001-1488A-002E                           023117P001-1488A-002E                          023118P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023119P001-1488A-002E                              023120P001-1488A-002E                           023121P001-1488A-002E                          023126P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023127P001-1488A-002E                              023128P001-1488A-002E                           023129P001-1488A-002E                          023131P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023132P001-1488A-002E                              023135P001-1488A-002E                           023137P001-1488A-002E                          023140P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023142P001-1488A-002E                              023143P001-1488A-002E                           023144P001-1488A-002E                          023145P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023146P001-1488A-002E                              023147P001-1488A-002E                           023148P001-1488A-002E                          023149P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023150P001-1488A-002E                              023152P001-1488A-002E                           023153P001-1488A-002E                          023154P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023155P001-1488A-002E                              023156P001-1488A-002E                           023157P001-1488A-002E                          023159P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023161P001-1488A-002E                              023162P001-1488A-002E                           023164P001-1488A-002E                          023165P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023166P001-1488A-002E                              023167P001-1488A-002E                           023168P001-1488A-002E                          023169P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023170P001-1488A-002E                              023171P001-1488A-002E                           023172P001-1488A-002E                          023174P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023176P001-1488A-002E                              023177P001-1488A-002E                           023178P001-1488A-002E                          023180P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023181P001-1488A-002E                              023183P001-1488A-002E                           023184P001-1488A-002E                          023186P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023187P001-1488A-002E                              023188P001-1488A-002E                           023189P001-1488A-002E                          023190P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023191P001-1488A-002E                              023192P001-1488A-002E                           023193P001-1488A-002E                          023194P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023197P001-1488A-002E                              023198P001-1488A-002E                           023201P001-1488A-002E                          023202P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023203P001-1488A-002E                              023204P001-1488A-002E                           023205P001-1488A-002E                          023206P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023207P001-1488A-002E                              023209P001-1488A-002E                           023210P001-1488A-002E                          023211P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023212P001-1488A-002E                              023213P001-1488A-002E                           023214P001-1488A-002E                          023215P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023216P001-1488A-002E                              023217P001-1488A-002E                           023218P001-1488A-002E                          023219P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023220P002-1488A-002E                              023223P001-1488A-002E                           023225P001-1488A-002E                          023227P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023228P001-1488A-002E                              023229P001-1488A-002E                           023230P001-1488A-002E                          023231P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023232P001-1488A-002E                              023233P001-1488A-002E                           023234P001-1488A-002E                          023235P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023236P001-1488A-002E                              023237P001-1488A-002E                           023238P001-1488A-002E                          023239P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023240P001-1488A-002E                              023241P001-1488A-002E                           023242P001-1488A-002E                          023244P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023248P001-1488A-002E                              023249P001-1488A-002E                           023250P001-1488A-002E                          023251P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023252P001-1488A-002E                              023253P001-1488A-002E                           023254P001-1488A-002E                          023255P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023256P001-1488A-002E                              023257P001-1488A-002E                           023258P001-1488A-002E                          023259P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023261P001-1488A-002E                              023262P001-1488A-002E                           023263P001-1488A-002E                          023265P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023266P001-1488A-002E                              023268P001-1488A-002E                           023269P001-1488A-002E                          023270P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023271P001-1488A-002E                              023273P001-1488A-002E                           023274P001-1488A-002E                          023275P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023276P001-1488A-002E                              023277P001-1488A-002E                           023278P001-1488A-002E                          023280P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023282P001-1488A-002E                              023283P001-1488A-002E                           023284P001-1488A-002E                          023285P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023288P001-1488A-002E                              023290P001-1488A-002E                           023292P001-1488A-002E                          023293P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023294P001-1488A-002E                              023296P001-1488A-002E                           023297P001-1488A-002E                          023298P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023299P001-1488A-002E                              023300P001-1488A-002E                           023302P001-1488A-002E                          023304P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023305P001-1488A-002E                              023306P001-1488A-002E                           023307P001-1488A-002E                          023308P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023309P001-1488A-002E                              023312P001-1488A-002E                           023313P001-1488A-002E                          023314P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023315P001-1488A-002E                              023316P001-1488A-002E                           023317P001-1488A-002E                          023319P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023320P001-1488A-002E                              023321P001-1488A-002E                           023322P001-1488A-002E                          023323P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023324P001-1488A-002E                              023327P001-1488A-002E                           023328P001-1488A-002E                          023329P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023330P001-1488A-002E                              023331P001-1488A-002E                           023332P001-1488A-002E                          023334P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023335P001-1488A-002E                              023336P001-1488A-002E                           023337P001-1488A-002E                          023338P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023339P001-1488A-002E                              023340P001-1488A-002E                           023341P001-1488A-002E                          023342P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023344P001-1488A-002E                              023345P001-1488A-002E                           023346P001-1488A-002E                          023347P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023348P001-1488A-002E                              023349P001-1488A-002E                           023350P001-1488A-002E                          023351P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023352P001-1488A-002E                              023353P001-1488A-002E                           023354P001-1488A-002E                          023355P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023356P001-1488A-002E                              023357P001-1488A-002E                           023358P001-1488A-002E                          023359P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023361P001-1488A-002E                              023362P001-1488A-002E                           023363P001-1488A-002E                          023365P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023366P001-1488A-002E                              023367P001-1488A-002E                           023368P001-1488A-002E                          023369P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023370P001-1488A-002E                              023373P001-1488A-002E                           023375P001-1488A-002E                          023376P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023377P001-1488A-002E                              023378P001-1488A-002E                           023379P001-1488A-002E                          023380P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023381P001-1488A-002E                              023383P001-1488A-002E                           023384P001-1488A-002E                          023385P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023386P001-1488A-002E                              023387P001-1488A-002E                           023388P001-1488A-002E                          023389P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023390P001-1488A-002E                              023391P001-1488A-002E                           023392P001-1488A-002E                          023394P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023395P001-1488A-002E                              023396P001-1488A-002E                           023397P001-1488A-002E                          023398P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023399P001-1488A-002E                              023402P001-1488A-002E                           023403P001-1488A-002E                          023405P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023407P001-1488A-002E                              023408P001-1488A-002E                           023409P001-1488A-002E                          023410P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023411P001-1488A-002E                              023412P001-1488A-002E                           023413P001-1488A-002E                          023414P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023415P001-1488A-002E                              023416P001-1488A-002E                           023418P001-1488A-002E                          023419P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023420P001-1488A-002E                              023421P001-1488A-002E                           023422P001-1488A-002E                          023423P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023424P001-1488A-002E                              023425P001-1488A-002E                           023426P001-1488A-002E                          023427P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023428P001-1488A-002E                              023429P001-1488A-002E                           023431P001-1488A-002E                          023433P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023434P001-1488A-002E                              023435P001-1488A-002E                           023436P001-1488A-002E                          023438P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023441P001-1488A-002E                              023442P001-1488A-002E                           023443P001-1488A-002E                          023445P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023446P001-1488A-002E                              023447P001-1488A-002E                           023448P001-1488A-002E                          023450P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023451P001-1488A-002E                              023452P001-1488A-002E                           023453P001-1488A-002E                          023454P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023455P001-1488A-002E                              023456P001-1488A-002E                           023458P001-1488A-002E                          023459P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023460P001-1488A-002E                              023461P001-1488A-002E                           023462P001-1488A-002E                          023463P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023464P001-1488A-002E                              023465P001-1488A-002E                           023467P001-1488A-002E                          023468P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023469P001-1488A-002E                              023470P001-1488A-002E                           023471P001-1488A-002E                          023472P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023474P001-1488A-002E                              023475P001-1488A-002E                           023477P001-1488A-002E                          023478P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023479P001-1488A-002E                              023481P001-1488A-002E                           023482P001-1488A-002E                          023483P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023484P001-1488A-002E                              023485P001-1488A-002E                           023486P001-1488A-002E                          023487P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023489P001-1488A-002E                              023490P001-1488A-002E                           023491P001-1488A-002E                          023495P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023498P001-1488A-002E                              023499P001-1488A-002E                           023500P001-1488A-002E                          023501P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023502P001-1488A-002E                              023503P001-1488A-002E                           023504P001-1488A-002E                          023505P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023507P001-1488A-002E                              023508P001-1488A-002E                           023509P001-1488A-002E                          023510P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023512P001-1488A-002E                              023513P001-1488A-002E                           023514P001-1488A-002E                          023516P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023517P001-1488A-002E                              023518P001-1488A-002E                           023519P001-1488A-002E                          023520P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023521P001-1488A-002E                              023522P001-1488A-002E                           023524P001-1488A-002E                          023525P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023526P001-1488A-002E                              023527P001-1488A-002E                           023528P001-1488A-002E                          023530P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023531P001-1488A-002E                              023532P001-1488A-002E                           023533P001-1488A-002E                          023535P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023536P001-1488A-002E                              023538P001-1488A-002E                           023539P001-1488A-002E                          023540P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023541P001-1488A-002E                              023542P001-1488A-002E                           023543P001-1488A-002E                          023544P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023545P001-1488A-002E                              023546P001-1488A-002E                           023548P001-1488A-002E                          023549P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023550P001-1488A-002E                              023551P001-1488A-002E                           023552P001-1488A-002E                          023553P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023554P001-1488A-002E                              023555P001-1488A-002E                           023557P001-1488A-002E                          023559P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023561P001-1488A-002E                              023562P001-1488A-002E                           023563P001-1488A-002E                          023565P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023566P001-1488A-002E                              023567P001-1488A-002E                           023568P001-1488A-002E                          023569P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023571P001-1488A-002E                              023575P001-1488A-002E                           023576P001-1488A-002E                          023578P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023580P001-1488A-002E                              023582P001-1488A-002E                           023583P001-1488A-002E                          023584P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023585P001-1488A-002E                              023587P001-1488A-002E                           023588P001-1488A-002E                          023589P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023591P001-1488A-002E                              023592P001-1488A-002E                           023593P001-1488A-002E                          023594P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023595P001-1488A-002E                              023596P001-1488A-002E                           023597P001-1488A-002E                          023598P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023600P001-1488A-002E                              023601P001-1488A-002E                           023602P001-1488A-002E                          023603P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023604P001-1488A-002E                              023605P001-1488A-002E                           023606P001-1488A-002E                          023607P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023608P001-1488A-002E                              023609P001-1488A-002E                           023610P001-1488A-002E                          023615P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023616P001-1488A-002E                              023619P001-1488A-002E                           023621P001-1488A-002E                          023623P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023624P001-1488A-002E                              023625P001-1488A-002E                           023626P001-1488A-002E                          023628P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023629P001-1488A-002E                              023630P001-1488A-002E                           023631P001-1488A-002E                          023632P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023633P001-1488A-002E                              023634P001-1488A-002E                           023635P001-1488A-002E                          023636P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023638P001-1488A-002E                              023639P001-1488A-002E                           023640P001-1488A-002E                          023641P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023642P001-1488A-002E                              023643P001-1488A-002E                           023644P001-1488A-002E                          023645P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023646P001-1488A-002E                              023647P001-1488A-002E                           023648P001-1488A-002E                          023649P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023650P001-1488A-002E                              023651P001-1488A-002E                           023652P001-1488A-002E                          023653P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023654P001-1488A-002E                              023655P001-1488A-002E                           023656P001-1488A-002E                          023657P001-1488A-002E
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023658P001-1488A-002E                              023659P001-1488A-002E                           023662P001-1488A-002E                          023663P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023664P001-1488A-002E                              023665P001-1488A-002E                           023667P001-1488A-002E                          023669P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023670P001-1488A-002E                              023671P001-1488A-002E                           023674P001-1488A-002E                          023675P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023678P001-1488A-002E                              023679P001-1488A-002E                           023682P001-1488A-002E                          023683P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023684P001-1488A-002E                              023685P001-1488A-002E                           023686P001-1488A-002E                          023687P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023690P001-1488A-002E                              023691P001-1488A-002E                           023692P001-1488A-002E                          023694P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023696P001-1488A-002E                              023699P001-1488A-002E                           023700P001-1488A-002E                          023701P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023702P001-1488A-002E                              023703P001-1488A-002E                           023704P001-1488A-002E                          023706P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023707P001-1488A-002E                              023708P001-1488A-002E                           023709P001-1488A-002E                          023710P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023711P001-1488A-002E                              023712P001-1488A-002E                           023713P001-1488A-002E                          023714P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023716P001-1488A-002E                              023717P001-1488A-002E                           023718P001-1488A-002E                          023719P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023721P001-1488A-002E                              023722P001-1488A-002E                           023723P001-1488A-002E                          023724P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023725P001-1488A-002E                              023726P001-1488A-002E                           023727P001-1488A-002E                          023728P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023729P001-1488A-002E                              023730P001-1488A-002E                           023732P001-1488A-002E                          023735P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023736P001-1488A-002E                              023737P001-1488A-002E                           023738P001-1488A-002E                          023739P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023741P001-1488A-002E                              023745P001-1488A-002E                           023746P001-1488A-002E                          023747P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023748P001-1488A-002E                              023749P001-1488A-002E                           023750P001-1488A-002E                          023751P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023752P001-1488A-002E                              023754P001-1488A-002E                           023756P001-1488A-002E                          023757P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023759P001-1488A-002E                              023760P001-1488A-002E                           023761P001-1488A-002E                          023762P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023763P001-1488A-002E                              023764P001-1488A-002E                           023765P001-1488A-002E                          023766P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023767P001-1488A-002E                              023768P001-1488A-002E                           023770P001-1488A-002E                          023771P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023773P001-1488A-002E                              023774P001-1488A-002E                           023776P001-1488A-002E                          023777P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023778P001-1488A-002E                              023780P001-1488A-002E                           023781P001-1488A-002E                          023782P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023784P001-1488A-002E                              023785P001-1488A-002E                           023786P001-1488A-002E                          023787P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023788P001-1488A-002E                              023789P001-1488A-002E                           023790P001-1488A-002E                          023793P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023794P001-1488A-002E                              023796P001-1488A-002E                           023797P001-1488A-002E                          023798P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023800P001-1488A-002E                              023801P001-1488A-002E                           023802P001-1488A-002E                          023803P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023804P001-1488A-002E                              023807P001-1488A-002E                           023808P001-1488A-002E                          023810P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023811P001-1488A-002E                              023813P001-1488A-002E                           023815P002-1488A-002E                          023816P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023817P001-1488A-002E                              023818P001-1488A-002E                           023819P001-1488A-002E                          023820P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023821P001-1488A-002E                              023822P001-1488A-002E                           023823P001-1488A-002E                          023824P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023825P001-1488A-002E                              023826P001-1488A-002E                           023827P001-1488A-002E                          023829P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023830P001-1488A-002E                              023833P001-1488A-002E                           023834P001-1488A-002E                          023835P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023836P001-1488A-002E                              023837P001-1488A-002E                           023838P001-1488A-002E                          023839P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023841P001-1488A-002E                              023842P001-1488A-002E                           023844P001-1488A-002E                          023845P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023846P001-1488A-002E                              023847P001-1488A-002E                           023848P001-1488A-002E                          023850P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023852P001-1488A-002E                              023853P001-1488A-002E                           023855P001-1488A-002E                          023859P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023860P001-1488A-002E                              023861P001-1488A-002E                           023862P001-1488A-002E                          023863P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023864P001-1488A-002E                              023865P001-1488A-002E                           023866P001-1488A-002E                          023867P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023868P001-1488A-002E                              023869P001-1488A-002E                           023870P001-1488A-002E                          023871P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023872P001-1488A-002E                              023873P001-1488A-002E                           023877P001-1488A-002E                          023878P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023879P001-1488A-002E                              023881P001-1488A-002E                           023882P001-1488A-002E                          023884P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023885P001-1488A-002E                              023886P001-1488A-002E                           023887P001-1488A-002E                          023888P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023889P001-1488A-002E                              023891P001-1488A-002E                           023892P001-1488A-002E                          023893P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023894P001-1488A-002E                              023895P001-1488A-002E                           023896P001-1488A-002E                          023897P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023899P001-1488A-002E                              023900P001-1488A-002E                           023901P001-1488A-002E                          023905P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023906P001-1488A-002E                              023907P001-1488A-002E                           023908P002-1488A-002E                          023909P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023910P001-1488A-002E                              023911P001-1488A-002E                           023912P001-1488A-002E                          023913P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED       NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023914P001-1488A-002E                           023915P001-1488A-002E                           023918P001-1488A-002E                          023919P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023920P001-1488A-002E                           023921P001-1488A-002E                           023922P001-1488A-002E                          023924P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023928P001-1488A-002E                           023930P001-1488A-002E                           023933P001-1488A-002E                          023934P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023935P001-1488A-002E                           023937P001-1488A-002E                           023939P001-1488A-002E                          023941P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023942P001-1488A-002E                           023943P001-1488A-002E                           023944P001-1488A-002E                          023945P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023946P001-1488A-002E                           023947P001-1488A-002E                           023950P001-1488A-002E                          023951P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023952P001-1488A-002E                           023953P001-1488A-002E                           023955P001-1488A-002E                          023956P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023957P001-1488A-002E                           023958P001-1488A-002E                           023960P001-1488A-002E                          023961P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023962P001-1488A-002E                           023963P001-1488A-002E                           023964P001-1488A-002E                          023965P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023966P001-1488A-002E                           023967P001-1488A-002E                           023968P001-1488A-002E                          023969P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023970P001-1488A-002E                           023974P001-1488A-002E                           023975P001-1488A-002E                          023976P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023977P001-1488A-002E                           023978P001-1488A-002E                           023979P001-1488A-002E                          023980P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023981P001-1488A-002E                           023983P001-1488A-002E                           023984P001-1488A-002E                          023986P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023987P001-1488A-002E                           023988P001-1488A-002E                           023989P001-1488A-002E                          023990P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023991P001-1488A-002E                           023992P001-1488A-002E                           023993P001-1488A-002E                          023995P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023996P001-1488A-002E                           023998P001-1488A-002E                           023999P001-1488A-002E                          024000P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024002P001-1488A-002E                           024003P001-1488A-002E                           024005P001-1488A-002E                          024006P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024007P001-1488A-002E                           024008P001-1488A-002E                           024009P001-1488A-002E                          024010P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024011P001-1488A-002E                           024012P001-1488A-002E                           024014P001-1488A-002E                          024015P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024016P001-1488A-002E                           024017P001-1488A-002E                           024018P001-1488A-002E                          024019P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024020P001-1488A-002E                           024022P001-1488A-002E                           024023P001-1488A-002E                          024025P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024026P001-1488A-002E                           024027P001-1488A-002E                           024028P001-1488A-002E                          024029P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024030P001-1488A-002E                           024031P001-1488A-002E                           024032P001-1488A-002E                          024035P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024036P001-1488A-002E                           024037P001-1488A-002E                           024039P001-1488A-002E                          024040P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024042P001-1488A-002E                           024043P001-1488A-002E                           024044P001-1488A-002E                          024045P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024048P001-1488A-002E                           024050P001-1488A-002E                           024051P001-1488A-002E                          024052P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024053P001-1488A-002E                           024054P002-1488A-002E                           024055P001-1488A-002E                          024056P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024057P001-1488A-002E                           024058P001-1488A-002E                           024059P001-1488A-002E                          024060P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024061P001-1488A-002E                           024062P001-1488A-002E                           024063P001-1488A-002E                          024064P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024065P001-1488A-002E                           024066P001-1488A-002E                           024067P001-1488A-002E                          024070P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024071P001-1488A-002E                           024072P001-1488A-002E                           024073P001-1488A-002E                          024074P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024075P001-1488A-002E                           024076P001-1488A-002E                           024078P001-1488A-002E                          024079P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024080P001-1488A-002E                           024082P001-1488A-002E                           024084P001-1488A-002E                          024085P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024086P001-1488A-002E                           024087P001-1488A-002E                           024088P001-1488A-002E                          024089P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024090P001-1488A-002E                           024091P001-1488A-002E                           024092P001-1488A-002E                          024093P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024094P001-1488A-002E                           024095P001-1488A-002E                           024096P001-1488A-002E                          024097P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024098P001-1488A-002E                           024099P001-1488A-002E                           024100P001-1488A-002E                          024102P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024103P001-1488A-002E                           024104P001-1488A-002E                           024105P001-1488A-002E                          024107P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024108P001-1488A-002E                           024109P001-1488A-002E                           024111P001-1488A-002E                          024112P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024115P001-1488A-002E                           024116P001-1488A-002E                           024117P001-1488A-002E                          024118P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024120P001-1488A-002E                           024121P001-1488A-002E                           024122P001-1488A-002E                          024124P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024126P001-1488A-002E                           024127P001-1488A-002E                           024128P001-1488A-002E                          024130P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024131P001-1488A-002E                           024133P001-1488A-002E                           024135P001-1488A-002E                          024137P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024138P001-1488A-002E                           024139P001-1488A-002E                           024140P001-1488A-002E                          024141P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024142P001-1488A-002E                           024143P001-1488A-002E                           024144P001-1488A-002E                          024145P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024147P001-1488A-002E                           024148P001-1488A-002E                           024150P001-1488A-002E                          024151P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024152P001-1488A-002E                           024153P001-1488A-002E                           024154P001-1488A-002E                          024155P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024156P001-1488A-002E                           024158P001-1488A-002E                           024159P001-1488A-002E                          024160P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024161P001-1488A-002E                           024162P001-1488A-002E                           024164P001-1488A-002E                          024165P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024168P001-1488A-002E                           024169P002-1488A-002E                           024171P001-1488A-002E                          024172P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024173P001-1488A-002E                           024174P001-1488A-002E                           024175P001-1488A-002E                          024177P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024179P001-1488A-002E                           024180P001-1488A-002E                           024181P001-1488A-002E                          024182P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024183P001-1488A-002E                           024184P001-1488A-002E                           024185P001-1488A-002E                          024186P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024189P001-1488A-002E                           024191P001-1488A-002E                           024192P001-1488A-002E                          024194P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024196P001-1488A-002E                           024197P001-1488A-002E                           024198P001-1488A-002E                          024199P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024200P001-1488A-002E                           024201P001-1488A-002E                           024202P001-1488A-002E                          024205P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024206P001-1488A-002E                           024207P001-1488A-002E                           024208P002-1488A-002E                          024209P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024211P001-1488A-002E                           024214P001-1488A-002E                           024215P001-1488A-002E                          024217P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024218P001-1488A-002E                           024219P001-1488A-002E                           024221P001-1488A-002E                          024223P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024224P001-1488A-002E                           024225P001-1488A-002E                           024227P001-1488A-002E                          024228P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024230P001-1488A-002E                           024231P001-1488A-002E                           024232P001-1488A-002E                          024233P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024234P001-1488A-002E                           024235P001-1488A-002E                           024236P001-1488A-002E                          024237P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024239P001-1488A-002E                           024240P001-1488A-002E                           024243P001-1488A-002E                          024246P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024247P001-1488A-002E                           024249P001-1488A-002E                           024250P001-1488A-002E                          024251P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024252P001-1488A-002E                           024253P001-1488A-002E                           024254P001-1488A-002E                          024256P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024259P001-1488A-002E                           024260P001-1488A-002E                           024261P001-1488A-002E                          024262P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024263P001-1488A-002E                           024264P001-1488A-002E                           024265P001-1488A-002E                          024267P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024269P001-1488A-002E                           024270P001-1488A-002E                           024271P001-1488A-002E                          024273P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024274P001-1488A-002E                           024275P001-1488A-002E                           024276P001-1488A-002E                          024277P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024280P001-1488A-002E                           024282P001-1488A-002E                           024283P001-1488A-002E                          024285P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024287P001-1488A-002E                           024288P001-1488A-002E                           024290P001-1488A-002E                          024291P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024292P001-1488A-002E                           024293P001-1488A-002E                           024294P001-1488A-002E                          024295P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024296P001-1488A-002E                           024297P001-1488A-002E                           024298P001-1488A-002E                          024299P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024300P001-1488A-002E                           024301P001-1488A-002E                           024302P001-1488A-002E                          024303P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024304P001-1488A-002E                           024306P001-1488A-002E                           024307P001-1488A-002E                          024309P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024310P001-1488A-002E                           024311P001-1488A-002E                           024313P001-1488A-002E                          024314P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024316P001-1488A-002E                           024317P001-1488A-002E                           024318P001-1488A-002E                          024320P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024321P001-1488A-002E                           024322P001-1488A-002E                           024323P001-1488A-002E                          024324P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024325P001-1488A-002E                           024326P001-1488A-002E                           024327P001-1488A-002E                          024328P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024329P001-1488A-002E                           024330P001-1488A-002E                           024332P001-1488A-002E                          024333P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024334P001-1488A-002E                           024335P002-1488A-002E                           024338P001-1488A-002E                          024339P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024340P001-1488A-002E                           024341P001-1488A-002E                           024342P001-1488A-002E                          024343P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024345P001-1488A-002E                           024346P001-1488A-002E                           024347P001-1488A-002E                          024348P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024349P001-1488A-002E                           024351P001-1488A-002E                           024353P001-1488A-002E                          024354P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024355P001-1488A-002E                           024356P001-1488A-002E                           024357P001-1488A-002E                          024358P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024359P001-1488A-002E                           024360P001-1488A-002E                           024363P001-1488A-002E                          024365P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024366P001-1488A-002E                           024367P001-1488A-002E                           024370P001-1488A-002E                          024371P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024372P001-1488A-002E                           024373P001-1488A-002E                           024374P001-1488A-002E                          024375P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024376P001-1488A-002E                           024377P001-1488A-002E                           024378P001-1488A-002E                          024379P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024380P001-1488A-002E                           024382P001-1488A-002E                           024385P001-1488A-002E                          024386P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024387P001-1488A-002E                           024388P001-1488A-002E                           024389P001-1488A-002E                          024390P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024391P001-1488A-002E                           024392P001-1488A-002E                           024393P001-1488A-002E                          024398P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024399P001-1488A-002E                           024400P001-1488A-002E                           024401P001-1488A-002E                          024403P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024404P001-1488A-002E                           024405P001-1488A-002E                           024406P001-1488A-002E                          024409P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024411P001-1488A-002E                           024412P001-1488A-002E                           024413P001-1488A-002E                          024414P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024416P001-1488A-002E                           024417P001-1488A-002E                           024420P001-1488A-002E                          024421P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024422P001-1488A-002E                           024423P001-1488A-002E                           024424P001-1488A-002E                          024425P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024426P001-1488A-002E                           024427P001-1488A-002E                           024428P001-1488A-002E                          024429P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024431P001-1488A-002E                           024432P001-1488A-002E                           024434P001-1488A-002E                          024435P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024436P001-1488A-002E                           024437P001-1488A-002E                           024438P001-1488A-002E                          024439P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024440P001-1488A-002E                           024441P001-1488A-002E                           024442P001-1488A-002E                          024443P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024444P001-1488A-002E                           024449P001-1488A-002E                           024451P001-1488A-002E                          024452P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024454P001-1488A-002E                           024455P001-1488A-002E                           024456P002-1488A-002E                          024457P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024458P001-1488A-002E                           024459P001-1488A-002E                           024460P001-1488A-002E                          024461P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024462P001-1488A-002E                           024464P001-1488A-002E                           024467P001-1488A-002E                          024470P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024471P001-1488A-002E                           024472P001-1488A-002E                           024473P001-1488A-002E                          024474P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024475P001-1488A-002E                           024482P001-1488A-002E                           024483P001-1488A-002E                          024486P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024487P001-1488A-002E                           024488P001-1488A-002E                           024491P001-1488A-002E                          024492P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024493P001-1488A-002E                           024495P001-1488A-002E                           024496P001-1488A-002E                          024497P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024498P001-1488A-002E                           024499P001-1488A-002E                           024500P001-1488A-002E                          024501P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024502P001-1488A-002E                           024503P001-1488A-002E                           024504P001-1488A-002E                          024505P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024506P001-1488A-002E                           024507P001-1488A-002E                           024509P001-1488A-002E                          024511P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024512P001-1488A-002E                           024513P001-1488A-002E                           024514P001-1488A-002E                          024515P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024516P001-1488A-002E                           024517P001-1488A-002E                           024518P001-1488A-002E                          024519P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024520P001-1488A-002E                           024521P001-1488A-002E                           024522P001-1488A-002E                          024524P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024525P001-1488A-002E                           024526P001-1488A-002E                           024530P001-1488A-002E                          024531P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024533P001-1488A-002E                           024534P001-1488A-002E                           024535P001-1488A-002E                          024537P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024538P001-1488A-002E                           024539P001-1488A-002E                           024540P001-1488A-002E                          024541P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024542P001-1488A-002E                           024543P001-1488A-002E                           024544P001-1488A-002E                          024545P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024546P001-1488A-002E                           024547P001-1488A-002E                           024548P001-1488A-002E                          024550P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024552P001-1488A-002E                           024553P001-1488A-002E                           024554P001-1488A-002E                          024555P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024556P001-1488A-002E                           024557P001-1488A-002E                           024560P001-1488A-002E                          024562P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024563P001-1488A-002E                           024564P001-1488A-002E                           024565P001-1488A-002E                          024566P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024567P001-1488A-002E                           024569P001-1488A-002E                           024570P001-1488A-002E                          024571P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024572P001-1488A-002E                           024573P001-1488A-002E                           024574P001-1488A-002E                          024575P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024576P001-1488A-002E                           024577P001-1488A-002E                           024578P001-1488A-002E                          024581P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024582P001-1488A-002E                           024583P001-1488A-002E                           024585P001-1488A-002E                          024586P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024587P001-1488A-002E                           024588P001-1488A-002E                           024589P001-1488A-002E                          024590P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024591P001-1488A-002E                           024593P001-1488A-002E                           024594P001-1488A-002E                          024595P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024596P001-1488A-002E                           024597P001-1488A-002E                           024598P001-1488A-002E                          024599P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024600P001-1488A-002E                           024601P001-1488A-002E                           024602P001-1488A-002E                          024603P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024604P001-1488A-002E                           024605P001-1488A-002E                           024607P001-1488A-002E                          024609P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024610P001-1488A-002E                           024612P001-1488A-002E                           024616P001-1488A-002E                          024617P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024618P001-1488A-002E                           024619P001-1488A-002E                           024620P001-1488A-002E                          024621P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024622P001-1488A-002E                           024623P002-1488A-002E                           024625P001-1488A-002E                          024626P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024627P001-1488A-002E                           024628P001-1488A-002E                           024629P001-1488A-002E                          024630P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024632P001-1488A-002E                           024633P001-1488A-002E                           024634P001-1488A-002E                          024637P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024638P001-1488A-002E                           024639P001-1488A-002E                           024641P001-1488A-002E                          024644P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024645P001-1488A-002E                           024646P001-1488A-002E                           024649P001-1488A-002E                          024651P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024652P001-1488A-002E                           024653P001-1488A-002E                           024654P001-1488A-002E                          024655P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024657P001-1488A-002E                           024658P001-1488A-002E                           024659P001-1488A-002E                          024660P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024664P001-1488A-002E                           024665P001-1488A-002E                           024666P001-1488A-002E                          024667P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024668P001-1488A-002E                           024669P001-1488A-002E                           024670P001-1488A-002E                          024671P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024674P001-1488A-002E                           024675P002-1488A-002E                           024677P001-1488A-002E                          024679P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024680P001-1488A-002E                           024682P001-1488A-002E                           024683P001-1488A-002E                          024684P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024685P001-1488A-002E                           024686P001-1488A-002E                           024690P001-1488A-002E                          024693P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024694P001-1488A-002E                           024695P001-1488A-002E                           024698P001-1488A-002E                          024699P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024700P001-1488A-002E                           024702P001-1488A-002E                           024703P001-1488A-002E                          024704P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024705P001-1488A-002E                           024706P001-1488A-002E                           024707P001-1488A-002E                          024708P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024710P001-1488A-002E                           024711P001-1488A-002E                           024712P001-1488A-002E                          024713P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024714P001-1488A-002E                           024715P001-1488A-002E                           024716P001-1488A-002E                          024717P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024718P001-1488A-002E                           024720P001-1488A-002E                           024721P001-1488A-002E                          024722P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024725P001-1488A-002E                           024726P001-1488A-002E                           024727P001-1488A-002E                          024729P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024730P001-1488A-002E                           024731P002-1488A-002E                           024732P001-1488A-002E                          024733P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024734P001-1488A-002E                           024735P001-1488A-002E                           024736P001-1488A-002E                          024737P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024739P001-1488A-002E                           024741P001-1488A-002E                           024742P001-1488A-002E                          024743P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024744P001-1488A-002E                           024745P001-1488A-002E                           024746P001-1488A-002E                          024747P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024748P001-1488A-002E                           024749P001-1488A-002E                           024750P001-1488A-002E                          024751P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024755P001-1488A-002E                           024756P001-1488A-002E                           024757P001-1488A-002E                          024758P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024759P001-1488A-002E                           024760P001-1488A-002E                           024761P001-1488A-002E                          024762P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024763P001-1488A-002E                           024764P001-1488A-002E                           024765P001-1488A-002E                          024766P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024767P001-1488A-002E                           024768P001-1488A-002E                           024769P001-1488A-002E                          024772P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024773P001-1488A-002E                           024774P001-1488A-002E                           024775P001-1488A-002E                          024776P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024777P001-1488A-002E                           024778P001-1488A-002E                           024779P001-1488A-002E                          024780P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024783P001-1488A-002E                           024784P001-1488A-002E                           024785P001-1488A-002E                          024786P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024787P001-1488A-002E                           024789P001-1488A-002E                           024790P001-1488A-002E                          024792P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024795P001-1488A-002E                           024796P001-1488A-002E                           024797P001-1488A-002E                          024798P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024799P001-1488A-002E                           024801P001-1488A-002E                           024802P001-1488A-002E                          024803P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024804P001-1488A-002E                           024805P001-1488A-002E                           024806P001-1488A-002E                          024808P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024810P001-1488A-002E                           024812P001-1488A-002E                           024813P001-1488A-002E                          024814P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024815P001-1488A-002E                           024816P001-1488A-002E                           024817P001-1488A-002E                          024819P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024820P001-1488A-002E                           024822P001-1488A-002E                           024824P001-1488A-002E                          024825P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024826P001-1488A-002E                           024827P001-1488A-002E                           024829P001-1488A-002E                          024830P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024832P001-1488A-002E                           024833P001-1488A-002E                           024834P001-1488A-002E                          024835P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024838P001-1488A-002E                           024839P001-1488A-002E                           024840P001-1488A-002E                          024841P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024842P001-1488A-002E                           024843P001-1488A-002E                           024844P001-1488A-002E                          024846P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024847P001-1488A-002E                           024849P002-1488A-002E                           024851P001-1488A-002E                          024852P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024853P001-1488A-002E                           024854P001-1488A-002E                           024855P001-1488A-002E                          024857P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024859P001-1488A-002E                           024861P001-1488A-002E                           024862P001-1488A-002E                          024863P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024864P001-1488A-002E                           024865P001-1488A-002E                           024866P001-1488A-002E                          024867P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024868P001-1488A-002E                           024869P001-1488A-002E                           024871P001-1488A-002E                          024872P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024874P001-1488A-002E                           024875P001-1488A-002E                           024876P001-1488A-002E                          024878P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024879P001-1488A-002E                           024881P001-1488A-002E                           024882P001-1488A-002E                          024884P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024885P001-1488A-002E                           024886P001-1488A-002E                           024887P001-1488A-002E                          024888P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024890P001-1488A-002E                           024891P001-1488A-002E                           024892P001-1488A-002E                          024893P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024894P001-1488A-002E                           024897P001-1488A-002E                           024899P001-1488A-002E                          024900P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024903P001-1488A-002E                           024904P001-1488A-002E                           024905P001-1488A-002E                          024906P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024907P001-1488A-002E                           024908P001-1488A-002E                           024909P001-1488A-002E                          024910P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024912P001-1488A-002E                           024914P001-1488A-002E                           024915P001-1488A-002E                          024922P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024923P001-1488A-002E                           024924P001-1488A-002E                           024925P001-1488A-002E                          024926P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024929P001-1488A-002E                           024930P001-1488A-002E                           024931P001-1488A-002E                          024933P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024934P001-1488A-002E                           024935P001-1488A-002E                           024936P001-1488A-002E                          024938P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024939P001-1488A-002E                           024940P001-1488A-002E                           024941P001-1488A-002E                          024943P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024944P001-1488A-002E                           024945P001-1488A-002E                           024947P001-1488A-002E                          024948P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024949P001-1488A-002E                           024951P001-1488A-002E                           024952P001-1488A-002E                          024953P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024955P001-1488A-002E                           024956P001-1488A-002E                           024957P001-1488A-002E                          024958P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024959P001-1488A-002E                           024960P001-1488A-002E                           024961P001-1488A-002E                          024962P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024963P001-1488A-002E                           024964P001-1488A-002E                           024966P001-1488A-002E                          024967P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024968P001-1488A-002E                           024969P001-1488A-002E                           024970P001-1488A-002E                          024972P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024975P001-1488A-002E                           024976P001-1488A-002E                           024977P001-1488A-002E                          024979P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024980P001-1488A-002E                           024982P001-1488A-002E                           024985P001-1488A-002E                          024986P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024987P001-1488A-002E                           024988P001-1488A-002E                           024989P001-1488A-002E                          024990P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024991P001-1488A-002E                           024992P001-1488A-002E                           024993P001-1488A-002E                          024994P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024995P001-1488A-002E                           024996P001-1488A-002E                           024998P001-1488A-002E                          024999P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025001P001-1488A-002E                           025002P001-1488A-002E                           025005P001-1488A-002E                          025006P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025008P001-1488A-002E                           025010P001-1488A-002E                           025011P001-1488A-002E                          025012P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025013P001-1488A-002E                           025014P001-1488A-002E                           025015P001-1488A-002E                          025016P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025017P001-1488A-002E                           025018P001-1488A-002E                           025019P001-1488A-002E                          025020P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025025P001-1488A-002E                           025026P001-1488A-002E                           025027P001-1488A-002E                          025029P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025031P001-1488A-002E                           025032P001-1488A-002E                           025033P001-1488A-002E                          025034P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025035P001-1488A-002E                           025036P002-1488A-002E                           025038P001-1488A-002E                          025039P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025041P001-1488A-002E                           025042P001-1488A-002E                           025043P001-1488A-002E                          025044P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025045P001-1488A-002E                           025046P001-1488A-002E                           025047P001-1488A-002E                          025048P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025049P001-1488A-002E                           025050P001-1488A-002E                           025051P001-1488A-002E                          025052P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025053P001-1488A-002E                           025056P001-1488A-002E                           025057P001-1488A-002E                          025058P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025060P001-1488A-002E                           025061P001-1488A-002E                           025062P001-1488A-002E                          025063P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025064P001-1488A-002E                           025065P001-1488A-002E                           025066P001-1488A-002E                          025067P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025070P001-1488A-002E                           025071P001-1488A-002E                           025073P001-1488A-002E                          025074P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025077P001-1488A-002E                           025078P001-1488A-002E                           025079P001-1488A-002E                          025081P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025082P001-1488A-002E                           025083P001-1488A-002E                           025084P001-1488A-002E                          025085P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025086P001-1488A-002E                           025088P001-1488A-002E                           025089P001-1488A-002E                          025090P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025091P001-1488A-002E                           025093P001-1488A-002E                           025094P001-1488A-002E                          025095P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025097P001-1488A-002E                           025098P001-1488A-002E                           025100P001-1488A-002E                          025101P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025102P001-1488A-002E                           025103P001-1488A-002E                           025104P001-1488A-002E                          025105P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025106P001-1488A-002E                           025107P001-1488A-002E                           025108P001-1488A-002E                          025109P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025110P001-1488A-002E                           025112P001-1488A-002E                           025115P001-1488A-002E                          025117P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025118P001-1488A-002E                           025119P001-1488A-002E                           025120P001-1488A-002E                          025122P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025123P001-1488A-002E                           025124P001-1488A-002E                           025125P001-1488A-002E                          025126P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025127P001-1488A-002E                           025128P001-1488A-002E                           025129P001-1488A-002E                          025131P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025132P001-1488A-002E                           025133P001-1488A-002E                           025134P001-1488A-002E                          025135P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025137P001-1488A-002E                           025138P001-1488A-002E                           025139P001-1488A-002E                          025140P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025141P001-1488A-002E                           025142P001-1488A-002E                           025143P001-1488A-002E                          025145P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025146P001-1488A-002E                           025147P001-1488A-002E                           025148P001-1488A-002E                          025149P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025150P001-1488A-002E                           025151P001-1488A-002E                           025152P001-1488A-002E                          025153P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025154P001-1488A-002E                           025155P001-1488A-002E                           025156P001-1488A-002E                          025157P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025158P001-1488A-002E                           025159P001-1488A-002E                           025161P001-1488A-002E                          025162P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025163P001-1488A-002E                           025166P001-1488A-002E                           025167P001-1488A-002E                          025168P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025169P001-1488A-002E                           025170P001-1488A-002E                           025171P001-1488A-002E                          025172P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025173P001-1488A-002E                           025175P001-1488A-002E                           025176P001-1488A-002E                          025177P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025178P001-1488A-002E                           025180P001-1488A-002E                           025181P001-1488A-002E                          025182P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025183P001-1488A-002E                           025185P001-1488A-002E                           025186P001-1488A-002E                          025187P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025188P001-1488A-002E                           025190P001-1488A-002E                           025192P001-1488A-002E                          025193P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025194P001-1488A-002E                           025195P001-1488A-002E                           025196P001-1488A-002E                          025198P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025199P001-1488A-002E                           025200P001-1488A-002E                           025202P001-1488A-002E                          025203P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025204P001-1488A-002E                           025205P001-1488A-002E                           025206P001-1488A-002E                          025207P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025209P001-1488A-002E                           025211P001-1488A-002E                           025212P001-1488A-002E                          025213P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025220P001-1488A-002E                           025221P001-1488A-002E                           025222P001-1488A-002E                          025223P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025225P001-1488A-002E                           025226P001-1488A-002E                           025228P001-1488A-002E                          025229P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025230P001-1488A-002E                           025231P001-1488A-002E                           025232P001-1488A-002E                          025233P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025235P001-1488A-002E                           025236P001-1488A-002E                           025237P001-1488A-002E                          025238P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025239P001-1488A-002E                           025240P001-1488A-002E                           025241P001-1488A-002E                          025242P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025243P001-1488A-002E                           025244P001-1488A-002E                           025246P001-1488A-002E                          025247P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025249P001-1488A-002E                           025250P001-1488A-002E                           025251P001-1488A-002E                          025252P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025253P001-1488A-002E                           025255P001-1488A-002E                           025256P001-1488A-002E                          025257P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025258P001-1488A-002E                           025260P001-1488A-002E                           025261P001-1488A-002E                          025263P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025268P001-1488A-002E                           025269P001-1488A-002E                           025270P001-1488A-002E                          025271P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025274P001-1488A-002E                           025275P001-1488A-002E                           025277P001-1488A-002E                          025278P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025280P001-1488A-002E                           025281P001-1488A-002E                           025283P001-1488A-002E                          025284P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025285P001-1488A-002E                           025286P001-1488A-002E                           025287P001-1488A-002E                          025288P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025289P001-1488A-002E                           025290P001-1488A-002E                           025291P001-1488A-002E                          025295P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025296P001-1488A-002E                           025298P001-1488A-002E                           025299P001-1488A-002E                          025301P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025302P001-1488A-002E                           025304P001-1488A-002E                           025305P001-1488A-002E                          025306P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025307P001-1488A-002E                           025309P001-1488A-002E                           025310P001-1488A-002E                          025311P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025312P001-1488A-002E                           025313P001-1488A-002E                           025315P001-1488A-002E                          025316P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025317P001-1488A-002E                           025319P001-1488A-002E                           025321P001-1488A-002E                          025322P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025324P001-1488A-002E                           025326P001-1488A-002E                           025327P001-1488A-002E                          025329P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025330P001-1488A-002E                           025332P001-1488A-002E                           025333P001-1488A-002E                          025334P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025335P001-1488A-002E                           025336P001-1488A-002E                           025337P001-1488A-002E                          025339P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025341P001-1488A-002E                           025342P001-1488A-002E                           025344P001-1488A-002E                          025345P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025346P001-1488A-002E                           025347P001-1488A-002E                           025348P001-1488A-002E                          025349P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025350P001-1488A-002E                           025353P001-1488A-002E                           025354P001-1488A-002E                          025357P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025358P001-1488A-002E                           025359P001-1488A-002E                           025360P001-1488A-002E                          025361P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025362P001-1488A-002E                           025363P001-1488A-002E                           025364P001-1488A-002E                          025365P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025366P001-1488A-002E                           025368P001-1488A-002E                           025369P001-1488A-002E                          025370P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025371P001-1488A-002E                           025372P001-1488A-002E                           025376P001-1488A-002E                          025377P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025378P001-1488A-002E                           025379P001-1488A-002E                           025380P001-1488A-002E                          025383P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025384P001-1488A-002E                           025385P001-1488A-002E                           025386P001-1488A-002E                          025387P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025388P001-1488A-002E                           025389P001-1488A-002E                           025390P001-1488A-002E                          025391P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025392P001-1488A-002E                           025393P001-1488A-002E                           025394P001-1488A-002E                          025395P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025396P001-1488A-002E                           025397P001-1488A-002E                           025398P001-1488A-002E                          025399P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025400P001-1488A-002E                           025401P001-1488A-002E                           025402P001-1488A-002E                          025403P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025404P001-1488A-002E                           025405P001-1488A-002E                           025407P001-1488A-002E                          025410P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025411P001-1488A-002E                           025412P001-1488A-002E                           025413P001-1488A-002E                          025414P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025415P001-1488A-002E                           025416P001-1488A-002E                           025417P001-1488A-002E                          025418P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025419P001-1488A-002E                           025420P001-1488A-002E                           025421P001-1488A-002E                          025423P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025424P001-1488A-002E                           025425P001-1488A-002E                           025426P001-1488A-002E                          025427P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025428P001-1488A-002E                           025429P001-1488A-002E                           025430P001-1488A-002E                          025431P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025432P001-1488A-002E                           025434P001-1488A-002E                           025436P001-1488A-002E                          025437P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025438P001-1488A-002E                           025440P001-1488A-002E                           025441P001-1488A-002E                          025442P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025443P001-1488A-002E                           025444P001-1488A-002E                           025447P001-1488A-002E                          025450P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025451P001-1488A-002E                           025452P001-1488A-002E                           025455P001-1488A-002E                          025457P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025458P001-1488A-002E                           025460P001-1488A-002E                           025461P001-1488A-002E                          025462P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025464P001-1488A-002E                           025465P001-1488A-002E                           025466P001-1488A-002E                          025468P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025469P001-1488A-002E                           025473P001-1488A-002E                           025474P001-1488A-002E                          025475P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025476P001-1488A-002E                           025479P001-1488A-002E                           025480P001-1488A-002E                          025481P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025482P001-1488A-002E                           025483P001-1488A-002E                           025484P001-1488A-002E                          025485P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025486P001-1488A-002E                           025488P001-1488A-002E                           025489P001-1488A-002E                          025490P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025492P001-1488A-002E                           025493P001-1488A-002E                           025494P001-1488A-002E                          025496P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025498P001-1488A-002E                           025499P001-1488A-002E                           025500P001-1488A-002E                          025501P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025503P001-1488A-002E                           025504P001-1488A-002E                           025505P001-1488A-002E                          025506P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025507P001-1488A-002E                           025508P001-1488A-002E                           025510P001-1488A-002E                          025511P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025512P001-1488A-002E                           025513P001-1488A-002E                           025514P001-1488A-002E                          025515P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025516P001-1488A-002E                           025517P001-1488A-002E                           025518P001-1488A-002E                          025519P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025520P001-1488A-002E                           025521P001-1488A-002E                           025523P001-1488A-002E                          025525P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025526P001-1488A-002E                           025528P001-1488A-002E                           025529P001-1488A-002E                          025531P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025536P001-1488A-002E                           025537P001-1488A-002E                           025538P001-1488A-002E                          025539P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025540P001-1488A-002E                           025541P001-1488A-002E                           025542P001-1488A-002E                          025544P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025545P001-1488A-002E                           025546P001-1488A-002E                           025547P001-1488A-002E                          025548P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025549P001-1488A-002E                           025550P001-1488A-002E                           025551P001-1488A-002E                          025553P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025554P001-1488A-002E                           025555P001-1488A-002E                           025556P001-1488A-002E                          025557P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025559P001-1488A-002E                           025560P001-1488A-002E                           025564P001-1488A-002E                          025565P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025566P001-1488A-002E                           025567P001-1488A-002E                           025568P001-1488A-002E                          025569P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025571P001-1488A-002E                           025572P001-1488A-002E                           025573P001-1488A-002E                          025575P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025576P001-1488A-002E                           025577P001-1488A-002E                           025578P001-1488A-002E                          025579P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025581P001-1488A-002E                           025582P001-1488A-002E                           025583P001-1488A-002E                          025584P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025585P001-1488A-002E                           025586P001-1488A-002E                           025587P001-1488A-002E                          025588P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025589P001-1488A-002E                           025590P001-1488A-002E                           025591P001-1488A-002E                          025593P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025594P001-1488A-002E                           025595P001-1488A-002E                           025596P001-1488A-002E                          025597P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025598P001-1488A-002E                           025599P001-1488A-002E                           025600P001-1488A-002E                          025601P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025602P001-1488A-002E                           025603P001-1488A-002E                           025604P001-1488A-002E                          025605P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025606P001-1488A-002E                           025607P001-1488A-002E                           025608P001-1488A-002E                          025609P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025610P001-1488A-002E                           025611P001-1488A-002E                           025612P001-1488A-002E                          025613P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025614P002-1488A-002E                           025616P001-1488A-002E                           025618P001-1488A-002E                          025619P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025622P001-1488A-002E                           025623P001-1488A-002E                           025624P001-1488A-002E                          025627P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025628P001-1488A-002E                           025629P001-1488A-002E                           025630P001-1488A-002E                          025631P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025632P001-1488A-002E                           025634P001-1488A-002E                           025635P001-1488A-002E                          025636P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025637P001-1488A-002E                           025638P001-1488A-002E                           025639P001-1488A-002E                          025642P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025643P001-1488A-002E                           025645P001-1488A-002E                           025646P001-1488A-002E                          025647P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025651P001-1488A-002E                           025652P001-1488A-002E                           025653P001-1488A-002E                          025654P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025657P001-1488A-002E                           025658P001-1488A-002E                           025660P001-1488A-002E                          025661P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025663P001-1488A-002E                           025664P001-1488A-002E                           025666P001-1488A-002E                          025667P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025669P001-1488A-002E                           025670P001-1488A-002E                           025671P001-1488A-002E                          025673P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025675P001-1488A-002E                           025676P001-1488A-002E                           025677P001-1488A-002E                          025678P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025679P001-1488A-002E                           025681P001-1488A-002E                           025682P001-1488A-002E                          025683P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025685P001-1488A-002E                           025686P002-1488A-002E                           025687P001-1488A-002E                          025689P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025690P001-1488A-002E                           025692P001-1488A-002E                           025693P001-1488A-002E                          025694P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025696P001-1488A-002E                           025697P001-1488A-002E                           025698P001-1488A-002E                          025699P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025700P001-1488A-002E                           025701P001-1488A-002E                           025702P001-1488A-002E                          025703P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025704P001-1488A-002E                           025705P001-1488A-002E                           025706P001-1488A-002E                          025707P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025708P001-1488A-002E                           025710P001-1488A-002E                           025711P001-1488A-002E                          025712P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025713P001-1488A-002E                           025714P001-1488A-002E                           025715P001-1488A-002E                          025716P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025717P001-1488A-002E                           025718P001-1488A-002E                           025719P001-1488A-002E                          025720P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025721P001-1488A-002E                           025722P001-1488A-002E                           025723P001-1488A-002E                          025725P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025727P001-1488A-002E                           025728P001-1488A-002E                           025729P001-1488A-002E                          025730P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025731P001-1488A-002E                           025733P001-1488A-002E                           025734P001-1488A-002E                          025737P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025738P001-1488A-002E                           025739P001-1488A-002E                           025740P001-1488A-002E                          025741P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025743P001-1488A-002E                           025744P001-1488A-002E                           025746P001-1488A-002E                          025747P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025750P001-1488A-002E                           025751P001-1488A-002E                           025753P001-1488A-002E                          025754P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025755P001-1488A-002E                           025756P001-1488A-002E                           025758P001-1488A-002E                          025760P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025761P001-1488A-002E                           025764P001-1488A-002E                           025765P001-1488A-002E                          025766P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025769P001-1488A-002E                           025770P001-1488A-002E                           025771P001-1488A-002E                          025772P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025773P001-1488A-002E                           025774P001-1488A-002E                           025775P001-1488A-002E                          025777P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025778P001-1488A-002E                           025779P001-1488A-002E                           025780P001-1488A-002E                          025781P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025784P001-1488A-002E                           025786P001-1488A-002E                           025787P001-1488A-002E                          025789P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025794P001-1488A-002E                           025795P001-1488A-002E                           025798P001-1488A-002E                          025801P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025802P001-1488A-002E                           025803P001-1488A-002E                           025804P001-1488A-002E                          025805P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025807P001-1488A-002E                           025808P001-1488A-002E                           025809P001-1488A-002E                          025810P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025811P001-1488A-002E                           025812P001-1488A-002E                           025813P001-1488A-002E                          025814P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025815P001-1488A-002E                           025816P001-1488A-002E                           025817P001-1488A-002E                          025818P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025819P001-1488A-002E                           025821P001-1488A-002E                           025822P001-1488A-002E                          025823P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025824P001-1488A-002E                           025825P001-1488A-002E                           025826P001-1488A-002E                          025827P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025829P001-1488A-002E                           025830P001-1488A-002E                           025831P001-1488A-002E                          025833P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025835P001-1488A-002E                           025836P001-1488A-002E                           025837P001-1488A-002E                          025838P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025840P001-1488A-002E                           025841P001-1488A-002E                           025842P001-1488A-002E                          025843P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025844P001-1488A-002E                           025845P001-1488A-002E                           025847P001-1488A-002E                          025848P001-1488A-002E
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025849P001-1488A-002E                           025850P001-1488A-002E                           025851P001-1488A-002E                          025853P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025854P001-1488A-002E                           025855P001-1488A-002E                           025856P001-1488A-002E                          025857P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025858P001-1488A-002E                           025859P001-1488A-002E                           025860P001-1488A-002E                          025862P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025863P001-1488A-002E                           025864P001-1488A-002E                           025865P001-1488A-002E                          025866P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025867P001-1488A-002E                           025868P001-1488A-002E                           025870P001-1488A-002E                          025871P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025872P001-1488A-002E                           025873P001-1488A-002E                           025874P001-1488A-002E                          025875P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025876P001-1488A-002E                           025877P001-1488A-002E                           025879P001-1488A-002E                          025880P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025881P001-1488A-002E                           025882P001-1488A-002E                           025883P001-1488A-002E                          025885P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025886P001-1488A-002E                           025887P001-1488A-002E                           025888P001-1488A-002E                          025889P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025890P001-1488A-002E                           025891P001-1488A-002E                           025892P001-1488A-002E                          025893P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025896P001-1488A-002E                           025897P001-1488A-002E                           025898P001-1488A-002E                          025901P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025902P001-1488A-002E                           025903P001-1488A-002E                           025904P001-1488A-002E                          025906P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025907P001-1488A-002E                           025908P001-1488A-002E                           025909P001-1488A-002E                          025910P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025911P001-1488A-002E                           025913P001-1488A-002E                           025914P001-1488A-002E                          025916P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025919P001-1488A-002E                           025920P001-1488A-002E                           025921P001-1488A-002E                          025922P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025923P001-1488A-002E                           025924P001-1488A-002E                           025925P001-1488A-002E                          025927P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025928P001-1488A-002E                           025929P001-1488A-002E                           025931P001-1488A-002E                          025933P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025934P001-1488A-002E                           025936P001-1488A-002E                           025937P001-1488A-002E                          025938P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025939P001-1488A-002E                           025940P001-1488A-002E                           025941P001-1488A-002E                          025942P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025943P001-1488A-002E                           025944P001-1488A-002E                           025945P001-1488A-002E                          025946P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025947P001-1488A-002E                           025948P001-1488A-002E                           025950P001-1488A-002E                          025953P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025954P001-1488A-002E                           025956P001-1488A-002E                           025957P001-1488A-002E                          025958P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025959P001-1488A-002E                           025962P001-1488A-002E                           025964P001-1488A-002E                          025965P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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025966P001-1488A-002E                           025967P001-1488A-002E                           025968P001-1488A-002E                          025969P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025970P001-1488A-002E                           025971P001-1488A-002E                           025972P001-1488A-002E                          025973P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025974P001-1488A-002E                           025975P001-1488A-002E                           025976P001-1488A-002E                          025977P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025979P001-1488A-002E                           025984P001-1488A-002E                           025987P001-1488A-002E                          025988P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025989P001-1488A-002E                           025990P001-1488A-002E                           025991P001-1488A-002E                          025992P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025993P001-1488A-002E                           025996P001-1488A-002E                           025997P001-1488A-002E                          025999P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026000P001-1488A-002E                           026001P001-1488A-002E                           026002P001-1488A-002E                          026003P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026005P001-1488A-002E                           026006P001-1488A-002E                           026007P001-1488A-002E                          026008P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026009P001-1488A-002E                           026010P001-1488A-002E                           026011P001-1488A-002E                          026014P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026016P001-1488A-002E                           026017P001-1488A-002E                           026018P001-1488A-002E                          026019P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026020P001-1488A-002E                           026021P001-1488A-002E                           026022P001-1488A-002E                          026027P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026028P001-1488A-002E                           026029P001-1488A-002E                           026033P001-1488A-002E                          026034P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026036P001-1488A-002E                           026037P001-1488A-002E                           026038P001-1488A-002E                          026039P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026040P001-1488A-002E                           026041P001-1488A-002E                           026042P001-1488A-002E                          026043P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026044P001-1488A-002E                           026045P001-1488A-002E                           026046P001-1488A-002E                          026047P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026048P001-1488A-002E                           026049P001-1488A-002E                           026051P001-1488A-002E                          026052P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026053P001-1488A-002E                           026054P001-1488A-002E                           026055P001-1488A-002E                          026056P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026057P001-1488A-002E                           026058P001-1488A-002E                           026059P001-1488A-002E                          026060P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026062P001-1488A-002E                           026063P001-1488A-002E                           026064P001-1488A-002E                          026065P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026066P001-1488A-002E                           026067P001-1488A-002E                           026068P001-1488A-002E                          026069P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026070P001-1488A-002E                           026071P001-1488A-002E                           026072P001-1488A-002E                          026073P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026074P001-1488A-002E                           026077P001-1488A-002E                           026078P001-1488A-002E                          026079P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026080P001-1488A-002E                           026081P001-1488A-002E                           026082P001-1488A-002E                          026083P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026085P001-1488A-002E                           026086P001-1488A-002E                           026088P001-1488A-002E                          026090P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026092P001-1488A-002E                           026093P001-1488A-002E                           026094P001-1488A-002E                          026095P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026097P001-1488A-002E                           026098P001-1488A-002E                           026100P001-1488A-002E                          026101P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026103P001-1488A-002E                           026105P001-1488A-002E                           026106P001-1488A-002E                          026108P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026110P001-1488A-002E                           026111P001-1488A-002E                           026112P001-1488A-002E                          026113P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026114P001-1488A-002E                           026115P001-1488A-002E                           026117P001-1488A-002E                          026120P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026121P001-1488A-002E                           026122P001-1488A-002E                           026124P001-1488A-002E                          026127P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026128P001-1488A-002E                           026130P001-1488A-002E                           026131P001-1488A-002E                          026133P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026134P001-1488A-002E                           026135P001-1488A-002E                           026136P001-1488A-002E                          026138P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026139P001-1488A-002E                           026140P001-1488A-002E                           026144P001-1488A-002E                          026145P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026146P001-1488A-002E                           026148P001-1488A-002E                           026149P001-1488A-002E                          026150P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026151P001-1488A-002E                           026154P001-1488A-002E                           026155P001-1488A-002E                          026156P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026158P001-1488A-002E                           026159P001-1488A-002E                           026160P001-1488A-002E                          026161P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026162P001-1488A-002E                           026164P001-1488A-002E                           026165P001-1488A-002E                          026167P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026168P001-1488A-002E                           026171P001-1488A-002E                           026172P001-1488A-002E                          026173P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026176P001-1488A-002E                           026177P001-1488A-002E                           026180P001-1488A-002E                          026181P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026183P001-1488A-002E                           026184P001-1488A-002E                           026186P001-1488A-002E                          026187P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026188P001-1488A-002E                           026189P001-1488A-002E                           026192P001-1488A-002E                          026195P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026196P001-1488A-002E                           026197P001-1488A-002E                           026198P001-1488A-002E                          026199P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026200P001-1488A-002E                           026201P001-1488A-002E                           026202P001-1488A-002E                          026204P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026205P001-1488A-002E                           026206P001-1488A-002E                           026207P001-1488A-002E                          026208P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026209P001-1488A-002E                           026211P001-1488A-002E                           026214P001-1488A-002E                          026216P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026217P001-1488A-002E                           026218P001-1488A-002E                           026219P001-1488A-002E                          026220P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026221P001-1488A-002E                           026222P001-1488A-002E                           026223P001-1488A-002E                          026224P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026225P001-1488A-002E                           026227P001-1488A-002E                           026228P001-1488A-002E                          026230P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026232P001-1488A-002E                           026233P001-1488A-002E                           026235P002-1488A-002E                          026237P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026238P001-1488A-002E                           026240P001-1488A-002E                           026241P001-1488A-002E                          026242P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026243P001-1488A-002E                           026244P001-1488A-002E                           026245P001-1488A-002E                          026246P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026248P001-1488A-002E                           026249P001-1488A-002E                           026250P001-1488A-002E                          026251P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026252P001-1488A-002E                           026256P001-1488A-002E                           026257P001-1488A-002E                          026261P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026264P001-1488A-002E                           026265P001-1488A-002E                           026267P001-1488A-002E                          026268P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026270P001-1488A-002E                           026271P001-1488A-002E                           026272P001-1488A-002E                          026273P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026276P001-1488A-002E                           026277P001-1488A-002E                           026278P001-1488A-002E                          026279P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026280P001-1488A-002E                           026281P001-1488A-002E                           026284P001-1488A-002E                          026285P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026286P001-1488A-002E                           026287P001-1488A-002E                           026288P001-1488A-002E                          026289P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026290P001-1488A-002E                           026291P001-1488A-002E                           026293P001-1488A-002E                          026294P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026296P001-1488A-002E                           026297P001-1488A-002E                           026298P001-1488A-002E                          026299P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026301P001-1488A-002E                           026302P001-1488A-002E                           026303P001-1488A-002E                          026304P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026305P001-1488A-002E                           026306P001-1488A-002E                           026308P001-1488A-002E                          026310P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026311P001-1488A-002E                           026312P001-1488A-002E                           026313P001-1488A-002E                          026315P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026317P001-1488A-002E                           026318P001-1488A-002E                           026319P001-1488A-002E                          026320P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026321P001-1488A-002E                           026322P001-1488A-002E                           026324P001-1488A-002E                          026325P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026326P001-1488A-002E                           026327P001-1488A-002E                           026328P001-1488A-002E                          026330P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026331P001-1488A-002E                           026333P001-1488A-002E                           026334P001-1488A-002E                          026335P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026336P001-1488A-002E                           026337P001-1488A-002E                           026339P001-1488A-002E                          026341P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026343P001-1488A-002E                           026344P001-1488A-002E                           026345P001-1488A-002E                          026346P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026347P001-1488A-002E                           026348P001-1488A-002E                           026349P001-1488A-002E                          026350P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026351P001-1488A-002E                           026352P001-1488A-002E                           026353P001-1488A-002E                          026354P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026355P001-1488A-002E                           026356P001-1488A-002E                           026358P001-1488A-002E                          026359P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026360P001-1488A-002E                           026361P001-1488A-002E                           026363P001-1488A-002E                          026364P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026365P001-1488A-002E                           026367P001-1488A-002E                           026369P001-1488A-002E                          026370P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026371P001-1488A-002E                           026373P001-1488A-002E                           026374P001-1488A-002E                          026375P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026376P001-1488A-002E                           026377P001-1488A-002E                           026378P001-1488A-002E                          026379P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026380P001-1488A-002E                           026381P001-1488A-002E                           026382P001-1488A-002E                          026383P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026384P001-1488A-002E                           026386P001-1488A-002E                           026387P001-1488A-002E                          026389P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026390P001-1488A-002E                           026391P001-1488A-002E                           026393P001-1488A-002E                          026395P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026396P001-1488A-002E                           026398P001-1488A-002E                           026399P001-1488A-002E                          026401P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026402P001-1488A-002E                           026403P001-1488A-002E                           026405P001-1488A-002E                          026406P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026407P001-1488A-002E                           026408P001-1488A-002E                           026409P001-1488A-002E                          026410P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026411P001-1488A-002E                           026412P001-1488A-002E                           026413P001-1488A-002E                          026414P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026416P001-1488A-002E                           026417P001-1488A-002E                           026418P001-1488A-002E                          026419P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026420P001-1488A-002E                           026421P001-1488A-002E                           026422P001-1488A-002E                          026423P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026424P001-1488A-002E                           026425P001-1488A-002E                           026426P001-1488A-002E                          026427P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026428P001-1488A-002E                           026429P001-1488A-002E                           026430P001-1488A-002E                          026431P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026432P001-1488A-002E                           026434P001-1488A-002E                           026435P001-1488A-002E                          026436P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026437P001-1488A-002E                           026438P001-1488A-002E                           026439P001-1488A-002E                          026440P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026441P001-1488A-002E                           026442P001-1488A-002E                           026445P001-1488A-002E                          026446P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026447P001-1488A-002E                           026448P001-1488A-002E                           026449P001-1488A-002E                          026451P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026452P001-1488A-002E                           026453P001-1488A-002E                           026455P001-1488A-002E                          026456P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026457P001-1488A-002E                           026458P001-1488A-002E                           026460P001-1488A-002E                          026461P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026462P001-1488A-002E                           026463P001-1488A-002E                           026464P001-1488A-002E                          026465P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026466P001-1488A-002E                           026467P001-1488A-002E                           026468P001-1488A-002E                          026469P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026470P001-1488A-002E                           026471P001-1488A-002E                           026472P001-1488A-002E                          026473P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026474P001-1488A-002E                           026475P001-1488A-002E                           026476P001-1488A-002E                          026477P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026478P001-1488A-002E                           026479P001-1488A-002E                           026480P001-1488A-002E                          026481P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026482P001-1488A-002E                           026483P001-1488A-002E                           026484P001-1488A-002E                          026485P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026486P001-1488A-002E                           026487P001-1488A-002E                           026488P001-1488A-002E                          026489P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026490P001-1488A-002E                           026491P001-1488A-002E                           026492P001-1488A-002E                          026494P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026495P001-1488A-002E                           026496P001-1488A-002E                           026497P001-1488A-002E                          026498P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026500P001-1488A-002E                           026501P001-1488A-002E                           026502P001-1488A-002E                          026504P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026506P001-1488A-002E                           026508P001-1488A-002E                           026509P001-1488A-002E                          026511P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026512P001-1488A-002E                           026515P001-1488A-002E                           026517P001-1488A-002E                          026518P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026519P001-1488A-002E                           026520P001-1488A-002E                           026522P001-1488A-002E                          026524P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026525P001-1488A-002E                           026526P001-1488A-002E                           026527P001-1488A-002E                          026528P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026529P001-1488A-002E                           026530P001-1488A-002E                           026531P001-1488A-002E                          026532P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026533P001-1488A-002E                           026535P001-1488A-002E                           026536P001-1488A-002E                          026537P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026538P001-1488A-002E                           026539P001-1488A-002E                           026540P001-1488A-002E                          026541P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026542P001-1488A-002E                           026543P001-1488A-002E                           026545P001-1488A-002E                          026546P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026547P001-1488A-002E                           026549P001-1488A-002E                           026550P001-1488A-002E                          026551P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026552P001-1488A-002E                           026553P001-1488A-002E                           026555P001-1488A-002E                          026557P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026560P001-1488A-002E                           026561P001-1488A-002E                           026562P001-1488A-002E                          026563P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026565P001-1488A-002E                           026566P001-1488A-002E                           026567P001-1488A-002E                          026569P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026571P001-1488A-002E                           026572P001-1488A-002E                           026573P001-1488A-002E                          026574P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026575P001-1488A-002E                           026576P001-1488A-002E                           026577P001-1488A-002E                          026579P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026580P001-1488A-002E                           026581P001-1488A-002E                           026582P001-1488A-002E                          026583P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026584P001-1488A-002E                           026585P001-1488A-002E                           026587P001-1488A-002E                          026588P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026589P001-1488A-002E                           026590P001-1488A-002E                           026591P001-1488A-002E                          026592P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026593P001-1488A-002E                           026594P001-1488A-002E                           026595P001-1488A-002E                          026596P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026597P001-1488A-002E                           026598P001-1488A-002E                           026599P001-1488A-002E                          026600P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026601P001-1488A-002E                           026602P001-1488A-002E                           026603P001-1488A-002E                          026604P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026605P001-1488A-002E                           026606P001-1488A-002E                           026607P001-1488A-002E                          026608P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026609P001-1488A-002E                           026610P001-1488A-002E                           026612P001-1488A-002E                          026613P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026614P001-1488A-002E                           026615P001-1488A-002E                           026616P001-1488A-002E                          026617P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026618P001-1488A-002E                           026619P001-1488A-002E                           026620P001-1488A-002E                          026621P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026622P001-1488A-002E                           026623P001-1488A-002E                           026624P001-1488A-002E                          026625P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026626P001-1488A-002E                           026627P001-1488A-002E                           026628P001-1488A-002E                          026629P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026632P001-1488A-002E                           026633P001-1488A-002E                           026634P001-1488A-002E                          026635P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026636P001-1488A-002E                           026637P001-1488A-002E                           026638P001-1488A-002E                          026639P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026640P001-1488A-002E                           026641P001-1488A-002E                           026642P002-1488A-002E                          026643P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026644P001-1488A-002E                           026648P001-1488A-002E                           026650P001-1488A-002E                          026651P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026652P001-1488A-002E                           026653P001-1488A-002E                           026654P001-1488A-002E                          026655P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026657P001-1488A-002E                           026658P001-1488A-002E                           026662P001-1488A-002E                          026663P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026664P001-1488A-002E                           026666P001-1488A-002E                           026668P001-1488A-002E                          026669P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026670P001-1488A-002E                           026672P001-1488A-002E                           026673P001-1488A-002E                          026674P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026675P001-1488A-002E                           026676P001-1488A-002E                           026679P001-1488A-002E                          026680P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026681P001-1488A-002E                           026682P001-1488A-002E                           026683P001-1488A-002E                          026684P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026685P001-1488A-002E                           026687P001-1488A-002E                           026689P001-1488A-002E                          026690P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026691P001-1488A-002E                           026692P001-1488A-002E                           026693P001-1488A-002E                          026694P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026695P001-1488A-002E                           026696P001-1488A-002E                           026697P001-1488A-002E                          026698P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026700P001-1488A-002E                           026702P001-1488A-002E                           026703P001-1488A-002E                          026704P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026706P001-1488A-002E                           026709P001-1488A-002E                           026710P001-1488A-002E                          026711P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026712P001-1488A-002E                           026713P001-1488A-002E                           026714P001-1488A-002E                          026715P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026716P001-1488A-002E                           026717P001-1488A-002E                           026718P001-1488A-002E                          026719P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026720P001-1488A-002E                           026721P001-1488A-002E                           026723P001-1488A-002E                          026724P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026725P001-1488A-002E                           026726P001-1488A-002E                           026727P001-1488A-002E                          026728P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026729P001-1488A-002E                           026730P001-1488A-002E                           026731P001-1488A-002E                          026732P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026733P001-1488A-002E                           026734P001-1488A-002E                           026735P001-1488A-002E                          026736P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026737P001-1488A-002E                           026739P001-1488A-002E                           026743P001-1488A-002E                          026744P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026745P001-1488A-002E                           026746P001-1488A-002E                           026748P001-1488A-002E                          026749P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026751P001-1488A-002E                           026753P001-1488A-002E                           026754P001-1488A-002E                          026755P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026756P001-1488A-002E                           026758P001-1488A-002E                           026759P001-1488A-002E                          026760P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026761P001-1488A-002E                           026762P001-1488A-002E                           026765P001-1488A-002E                          026766P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026768P001-1488A-002E                           026771P001-1488A-002E                           026772P001-1488A-002E                          026773P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026774P001-1488A-002E                           026776P001-1488A-002E                           026777P001-1488A-002E                          026778P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026781P001-1488A-002E                           026782P001-1488A-002E                           026783P001-1488A-002E                          026784P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026785P001-1488A-002E                           026786P001-1488A-002E                           026787P001-1488A-002E                          026788P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026791P001-1488A-002E                           026792P001-1488A-002E                           026793P001-1488A-002E                          026794P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026795P001-1488A-002E                           026797P001-1488A-002E                           026798P001-1488A-002E                          026800P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026801P001-1488A-002E                           026802P001-1488A-002E                           026803P001-1488A-002E                          026804P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026806P001-1488A-002E                           026807P001-1488A-002E                           026808P001-1488A-002E                          026809P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026810P001-1488A-002E                           026811P001-1488A-002E                           026812P001-1488A-002E                          026814P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026816P001-1488A-002E                           026817P001-1488A-002E                           026818P001-1488A-002E                          026819P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026820P001-1488A-002E                           026821P001-1488A-002E                           026822P001-1488A-002E                          026823P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026824P001-1488A-002E                           026825P001-1488A-002E                           026826P001-1488A-002E                          026828P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026829P001-1488A-002E                           026830P001-1488A-002E                           026831P001-1488A-002E                          026832P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026833P001-1488A-002E                           026834P001-1488A-002E                           026835P001-1488A-002E                          026838P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026839P001-1488A-002E                           026840P001-1488A-002E                           026842P001-1488A-002E                          026844P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026845P001-1488A-002E                           026846P001-1488A-002E                           026847P001-1488A-002E                          026848P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026849P001-1488A-002E                           026850P001-1488A-002E                           026851P001-1488A-002E                          026852P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026855P001-1488A-002E                           026856P001-1488A-002E                           026857P001-1488A-002E                          026858P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026859P001-1488A-002E                           026860P001-1488A-002E                           026861P001-1488A-002E                          026862P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026863P001-1488A-002E                           026864P001-1488A-002E                           026865P001-1488A-002E                          026866P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026867P001-1488A-002E                           026868P001-1488A-002E                           026869P001-1488A-002E                          026871P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026872P001-1488A-002E                           026873P001-1488A-002E                           026874P001-1488A-002E                          026875P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026876P001-1488A-002E                           026877P001-1488A-002E                           026878P001-1488A-002E                          026879P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026880P001-1488A-002E                           026881P001-1488A-002E                           026882P001-1488A-002E                          026883P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026885P001-1488A-002E                           026886P001-1488A-002E                           026887P001-1488A-002E                          026888P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026889P001-1488A-002E                           026890P001-1488A-002E                           026892P001-1488A-002E                          026893P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026894P001-1488A-002E                           026895P001-1488A-002E                           026896P001-1488A-002E                          026897P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026898P001-1488A-002E                           026899P001-1488A-002E                           026900P001-1488A-002E                          026901P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026902P001-1488A-002E                           026903P001-1488A-002E                           026904P001-1488A-002E                          026906P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026907P001-1488A-002E                           026908P001-1488A-002E                           026911P001-1488A-002E                          026912P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026914P001-1488A-002E                           026915P001-1488A-002E                           026917P001-1488A-002E                          026919P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026920P001-1488A-002E                           026921P001-1488A-002E                           026922P001-1488A-002E                          026924P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026925P001-1488A-002E                           026926P001-1488A-002E                           026927P001-1488A-002E                          026928P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026929P002-1488A-002E                           026930P001-1488A-002E                           026931P001-1488A-002E                          026932P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026933P002-1488A-002E                           026934P001-1488A-002E                           026935P001-1488A-002E                          026936P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026937P001-1488A-002E                           026940P001-1488A-002E                           026941P001-1488A-002E                          026942P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026945P001-1488A-002E                           026947P001-1488A-002E                           026948P001-1488A-002E                          026950P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026951P001-1488A-002E                           026952P001-1488A-002E                           026954P001-1488A-002E                          026955P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026957P001-1488A-002E                           026958P001-1488A-002E                           026959P001-1488A-002E                          026960P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026962P001-1488A-002E                           026963P001-1488A-002E                           026964P001-1488A-002E                          026966P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026968P001-1488A-002E                           026969P001-1488A-002E                           026970P001-1488A-002E                          026972P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026973P001-1488A-002E                           026974P001-1488A-002E                           026975P001-1488A-002E                          026976P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026977P001-1488A-002E                           026979P001-1488A-002E                           026981P001-1488A-002E                          026982P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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026984P001-1488A-002E                           026985P001-1488A-002E                           026986P001-1488A-002E                          026987P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026988P001-1488A-002E                           026989P001-1488A-002E                           026990P001-1488A-002E                          026991P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026992P001-1488A-002E                           026993P001-1488A-002E                           026994P001-1488A-002E                          026995P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




026996P001-1488A-002E                           026998P001-1488A-002E                           026999P001-1488A-002E                          027000P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027001P001-1488A-002E                           027002P001-1488A-002E                           027003P001-1488A-002E                          027004P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027005P001-1488A-002E                           027006P001-1488A-002E                           027007P001-1488A-002E                          027009P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027011P001-1488A-002E                           027012P001-1488A-002E                           027014P001-1488A-002E                          027019P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027020P001-1488A-002E                           027021P001-1488A-002E                           027022P001-1488A-002E                          027023P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027024P001-1488A-002E                           027025P001-1488A-002E                           027026P001-1488A-002E                          027028P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027029P001-1488A-002E                           027030P001-1488A-002E                           027032P001-1488A-002E                          027033P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027034P001-1488A-002E                           027035P001-1488A-002E                           027037P001-1488A-002E                          027038P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027039P001-1488A-002E                           027040P001-1488A-002E                           027041P001-1488A-002E                          027042P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027043P001-1488A-002E                           027044P001-1488A-002E                           027045P001-1488A-002E                          027046P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027048P001-1488A-002E                           027049P001-1488A-002E                           027050P001-1488A-002E                          027051P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027052P001-1488A-002E                           027053P001-1488A-002E                           027054P001-1488A-002E                          027055P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027056P001-1488A-002E                           027058P001-1488A-002E                           027059P001-1488A-002E                          027060P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027063P001-1488A-002E                           027064P001-1488A-002E                           027065P001-1488A-002E                          027066P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027067P001-1488A-002E                           027068P002-1488A-002E                           027069P001-1488A-002E                          027070P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027072P001-1488A-002E                           027073P001-1488A-002E                           027075P001-1488A-002E                          027076P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027077P001-1488A-002E                           027079P001-1488A-002E                           027081P001-1488A-002E                          027082P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027083P001-1488A-002E                           027084P001-1488A-002E                           027085P001-1488A-002E                          027087P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027088P001-1488A-002E                           027089P001-1488A-002E                           027091P001-1488A-002E                          027092P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027094P001-1488A-002E                           027095P001-1488A-002E                           027096P001-1488A-002E                          027098P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027099P001-1488A-002E                           027100P001-1488A-002E                           027101P001-1488A-002E                          027102P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027103P001-1488A-002E                           027104P001-1488A-002E                           027105P001-1488A-002E                          027106P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027107P001-1488A-002E                           027110P001-1488A-002E                           027112P001-1488A-002E                          027113P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027114P001-1488A-002E                           027116P001-1488A-002E                           027118P001-1488A-002E                          027121P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027122P001-1488A-002E                           027124P001-1488A-002E                           027125P001-1488A-002E                          027127P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027128P001-1488A-002E                           027130P001-1488A-002E                           027132P001-1488A-002E                          027133P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027134P001-1488A-002E                           027135P002-1488A-002E                           027137P001-1488A-002E                          027138P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027140P001-1488A-002E                           027141P001-1488A-002E                           027142P001-1488A-002E                          027143P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027144P001-1488A-002E                           027145P001-1488A-002E                           027147P001-1488A-002E                          027149P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027150P001-1488A-002E                           027151P001-1488A-002E                           027153P001-1488A-002E                          027154P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027156P001-1488A-002E                           027157P001-1488A-002E                           027158P001-1488A-002E                          027159P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027160P001-1488A-002E                           027162P001-1488A-002E                           027163P001-1488A-002E                          027164P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027165P001-1488A-002E                           027166P001-1488A-002E                           027168P001-1488A-002E                          027169P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027171P001-1488A-002E                           027173P001-1488A-002E                           027174P001-1488A-002E                          027175P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027176P001-1488A-002E                           027180P001-1488A-002E                           027181P001-1488A-002E                          027182P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027184P001-1488A-002E                           027185P001-1488A-002E                           027186P001-1488A-002E                          027187P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027188P001-1488A-002E                           027190P001-1488A-002E                           027191P001-1488A-002E                          027193P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027195P001-1488A-002E                           027196P001-1488A-002E                           027197P001-1488A-002E                          027199P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027200P001-1488A-002E                           027201P001-1488A-002E                           027202P001-1488A-002E                          027204P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027205P001-1488A-002E                           027206P001-1488A-002E                           027207P001-1488A-002E                          027208P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027209P001-1488A-002E                           027210P001-1488A-002E                           027211P001-1488A-002E                          027212P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027213P001-1488A-002E                           027214P001-1488A-002E                           027215P001-1488A-002E                          027216P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027217P001-1488A-002E                           027218P001-1488A-002E                           027219P001-1488A-002E                          027220P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027221P001-1488A-002E                           027222P001-1488A-002E                           027223P001-1488A-002E                          027224P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027225P001-1488A-002E                           027226P001-1488A-002E                           027230P001-1488A-002E                          027231P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027232P001-1488A-002E                           027233P001-1488A-002E                           027236P001-1488A-002E                          027237P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027238P001-1488A-002E                           027239P001-1488A-002E                           027240P001-1488A-002E                          027241P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027243P001-1488A-002E                           027244P001-1488A-002E                           027245P001-1488A-002E                          027246P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027247P001-1488A-002E                           027248P001-1488A-002E                           027250P001-1488A-002E                          027251P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027253P001-1488A-002E                           027255P001-1488A-002E                           027256P001-1488A-002E                          027257P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027259P001-1488A-002E                           027260P001-1488A-002E                           027261P001-1488A-002E                          027265P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027266P001-1488A-002E                           027268P001-1488A-002E                           027269P001-1488A-002E                          027270P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027273P001-1488A-002E                           027274P001-1488A-002E                           027275P001-1488A-002E                          027277P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027278P001-1488A-002E                           027279P001-1488A-002E                           027280P001-1488A-002E                          027281P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027283P001-1488A-002E                           027284P001-1488A-002E                           027286P001-1488A-002E                          027287P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027288P001-1488A-002E                           027289P001-1488A-002E                           027290P001-1488A-002E                          027292P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027293P001-1488A-002E                           027294P001-1488A-002E                           027295P001-1488A-002E                          027296P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027297P001-1488A-002E                           027298P001-1488A-002E                           027299P001-1488A-002E                          027301P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027302P001-1488A-002E                           027303P001-1488A-002E                           027304P001-1488A-002E                          027305P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027306P001-1488A-002E                           027308P001-1488A-002E                           027310P001-1488A-002E                          027312P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027313P001-1488A-002E                           027315P001-1488A-002E                           027316P001-1488A-002E                          027318P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027320P001-1488A-002E                           027321P001-1488A-002E                           027322P001-1488A-002E                          027324P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027326P001-1488A-002E                           027327P001-1488A-002E                           027329P001-1488A-002E                          027330P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027331P001-1488A-002E                           027332P001-1488A-002E                           027334P001-1488A-002E                          027335P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027336P001-1488A-002E                           027337P001-1488A-002E                           027340P001-1488A-002E                          027341P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027342P001-1488A-002E                           027343P001-1488A-002E                           027344P001-1488A-002E                          027345P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027346P001-1488A-002E                           027348P001-1488A-002E                           027349P001-1488A-002E                          027351P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027353P001-1488A-002E                           027354P001-1488A-002E                           027356P001-1488A-002E                          027357P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027361P001-1488A-002E                           027363P001-1488A-002E                           027365P001-1488A-002E                          027366P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027367P001-1488A-002E                           027369P001-1488A-002E                           027370P001-1488A-002E                          027371P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027373P001-1488A-002E                           027374P001-1488A-002E                           027377P001-1488A-002E                          027380P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027381P001-1488A-002E                           027383P001-1488A-002E                           027384P001-1488A-002E                          027385P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027387P001-1488A-002E                           027389P001-1488A-002E                           027391P001-1488A-002E                          027392P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027394P001-1488A-002E                           027395P001-1488A-002E                           027396P001-1488A-002E                          027397P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027398P002-1488A-002E                           027399P001-1488A-002E                           027400P001-1488A-002E                          027401P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027402P001-1488A-002E                           027403P001-1488A-002E                           027404P001-1488A-002E                          027405P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027406P001-1488A-002E                           027407P001-1488A-002E                           027410P001-1488A-002E                          027411P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027412P001-1488A-002E                           027415P001-1488A-002E                           027416P001-1488A-002E                          027418P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027419P001-1488A-002E                           027420P001-1488A-002E                           027421P001-1488A-002E                          027422P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027425P001-1488A-002E                           027426P001-1488A-002E                           027427P001-1488A-002E                          027428P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027429P001-1488A-002E                           027431P001-1488A-002E                           027432P001-1488A-002E                          027433P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027434P001-1488A-002E                           027435P001-1488A-002E                           027436P001-1488A-002E                          027437P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027438P001-1488A-002E                           027439P001-1488A-002E                           027440P001-1488A-002E                          027441P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027442P001-1488A-002E                           027443P001-1488A-002E                           027444P001-1488A-002E                          027445P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027446P001-1488A-002E                           027448P001-1488A-002E                           027450P001-1488A-002E                          027453P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027456P001-1488A-002E                           027458P001-1488A-002E                           027459P001-1488A-002E                          027460P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027461P001-1488A-002E                           027462P001-1488A-002E                           027465P001-1488A-002E                          027466P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027472P001-1488A-002E                           027473P001-1488A-002E                           027475P001-1488A-002E                          027476P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027477P001-1488A-002E                           027480P001-1488A-002E                           027481P001-1488A-002E                          027482P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027483P001-1488A-002E                           027484P001-1488A-002E                           027485P001-1488A-002E                          027486P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027487P001-1488A-002E                           027488P001-1488A-002E                           027489P001-1488A-002E                          027490P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027491P001-1488A-002E                           027492P001-1488A-002E                           027493P001-1488A-002E                          027494P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027495P001-1488A-002E                           027497P001-1488A-002E                           027498P001-1488A-002E                          027499P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027500P001-1488A-002E                           027501P001-1488A-002E                           027502P001-1488A-002E                          027503P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027505P001-1488A-002E                           027506P001-1488A-002E                           027507P001-1488A-002E                          027508P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027509P001-1488A-002E                           027510P001-1488A-002E                           027511P001-1488A-002E                          027512P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027513P001-1488A-002E                           027515P001-1488A-002E                           027516P001-1488A-002E                          027519P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027521P001-1488A-002E                           027522P001-1488A-002E                           027524P001-1488A-002E                          027525P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027526P001-1488A-002E                           027527P001-1488A-002E                           027528P001-1488A-002E                          027529P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027530P001-1488A-002E                           027531P001-1488A-002E                           027532P001-1488A-002E                          027534P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027535P001-1488A-002E                           027537P001-1488A-002E                           027538P001-1488A-002E                          027539P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027540P001-1488A-002E                           027543P001-1488A-002E                           027544P001-1488A-002E                          027545P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027546P001-1488A-002E                           027548P001-1488A-002E                           027550P001-1488A-002E                          027551P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027552P001-1488A-002E                           027554P001-1488A-002E                           027555P001-1488A-002E                          027556P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027557P001-1488A-002E                           027558P001-1488A-002E                           027560P001-1488A-002E                          027562P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027563P001-1488A-002E                           027564P001-1488A-002E                           027565P001-1488A-002E                          027566P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027567P001-1488A-002E                           027569P001-1488A-002E                           027570P001-1488A-002E                          027571P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027572P001-1488A-002E                           027573P001-1488A-002E                           027574P001-1488A-002E                          027576P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027578P001-1488A-002E                           027579P001-1488A-002E                           027580P001-1488A-002E                          027581P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027582P001-1488A-002E                           027584P001-1488A-002E                           027585P001-1488A-002E                          027586P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027587P001-1488A-002E                           027588P001-1488A-002E                           027589P001-1488A-002E                          027591P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027592P001-1488A-002E                           027593P001-1488A-002E                           027597P001-1488A-002E                          027600P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027601P001-1488A-002E                           027603P001-1488A-002E                           027607P001-1488A-002E                          027609P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027610P001-1488A-002E                           027613P001-1488A-002E                           027614P001-1488A-002E                          027615P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027616P001-1488A-002E                           027617P001-1488A-002E                           027620P001-1488A-002E                          027621P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027622P001-1488A-002E                           027623P001-1488A-002E                           027624P001-1488A-002E                          027625P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027626P001-1488A-002E                           027627P001-1488A-002E                           027629P001-1488A-002E                          027630P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027631P001-1488A-002E                           027632P001-1488A-002E                           027633P001-1488A-002E                          027635P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027636P001-1488A-002E                           027637P001-1488A-002E                           027639P001-1488A-002E                          027640P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027642P001-1488A-002E                           027643P001-1488A-002E                           027645P001-1488A-002E                          027646P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027647P001-1488A-002E                           027648P002-1488A-002E                           027649P001-1488A-002E                          027650P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027651P001-1488A-002E                           027652P001-1488A-002E                           027653P001-1488A-002E                          027654P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027655P001-1488A-002E                           027656P001-1488A-002E                           027658P001-1488A-002E                          027659P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027660P001-1488A-002E                           027662P001-1488A-002E                           027663P001-1488A-002E                          027664P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027665P001-1488A-002E                           027666P001-1488A-002E                           027667P001-1488A-002E                          027668P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027669P001-1488A-002E                           027670P001-1488A-002E                           027671P001-1488A-002E                          027672P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027673P001-1488A-002E                           027674P001-1488A-002E                           027676P001-1488A-002E                          027677P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027679P001-1488A-002E                           027680P001-1488A-002E                           027682P001-1488A-002E                          027684P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027685P001-1488A-002E                           027686P001-1488A-002E                           027687P001-1488A-002E                          027689P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027690P001-1488A-002E                           027691P001-1488A-002E                           027692P001-1488A-002E                          027694P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027695P001-1488A-002E                           027697P001-1488A-002E                           027698P001-1488A-002E                          027699P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027700P001-1488A-002E                           027701P001-1488A-002E                           027702P001-1488A-002E                          027703P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027707P001-1488A-002E                           027708P001-1488A-002E                           027709P001-1488A-002E                          027711P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027712P001-1488A-002E                           027713P001-1488A-002E                           027714P001-1488A-002E                          027716P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027718P001-1488A-002E                           027719P001-1488A-002E                           027720P001-1488A-002E                          027721P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027722P001-1488A-002E                           027723P001-1488A-002E                           027724P001-1488A-002E                          027725P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027726P001-1488A-002E                           027728P001-1488A-002E                           027729P001-1488A-002E                          027730P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027731P001-1488A-002E                           027732P001-1488A-002E                           027733P001-1488A-002E                          027735P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027736P001-1488A-002E                           027737P001-1488A-002E                           027738P001-1488A-002E                          027739P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027740P001-1488A-002E                           027742P001-1488A-002E                           027743P001-1488A-002E                          027744P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027745P001-1488A-002E                           027746P001-1488A-002E                           027747P001-1488A-002E                          027748P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027749P001-1488A-002E                           027750P001-1488A-002E                           027752P001-1488A-002E                          027753P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027754P001-1488A-002E                           027755P001-1488A-002E                           027758P001-1488A-002E                          027759P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027762P001-1488A-002E                           027764P001-1488A-002E                           027765P001-1488A-002E                          027766P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027767P001-1488A-002E                           027770P001-1488A-002E                           027772P001-1488A-002E                          027774P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027775P001-1488A-002E                           027776P001-1488A-002E                           027777P001-1488A-002E                          027780P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027781P001-1488A-002E                           027782P001-1488A-002E                           027783P001-1488A-002E                          027785P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027786P001-1488A-002E                           027787P001-1488A-002E                           027788P001-1488A-002E                          027791P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027792P001-1488A-002E                           027793P001-1488A-002E                           027794P001-1488A-002E                          027796P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027797P001-1488A-002E                           027798P001-1488A-002E                           027799P001-1488A-002E                          027800P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027801P001-1488A-002E                           027802P001-1488A-002E                           027803P001-1488A-002E                          027804P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027805P001-1488A-002E                           027806P001-1488A-002E                           027807P001-1488A-002E                          027808P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027809P001-1488A-002E                           027810P001-1488A-002E                           027812P001-1488A-002E                          027813P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027814P001-1488A-002E                           027815P001-1488A-002E                           027816P001-1488A-002E                          027818P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027819P001-1488A-002E                           027820P001-1488A-002E                           027821P001-1488A-002E                          027822P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027823P001-1488A-002E                           027824P001-1488A-002E                           027826P001-1488A-002E                          027827P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027828P001-1488A-002E                           027829P001-1488A-002E                           027832P001-1488A-002E                          027833P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027834P001-1488A-002E                           027835P001-1488A-002E                           027836P001-1488A-002E                          027838P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027839P001-1488A-002E                           027841P001-1488A-002E                           027842P001-1488A-002E                          027843P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027845P001-1488A-002E                           027846P001-1488A-002E                           027848P001-1488A-002E                          027849P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027851P001-1488A-002E                           027852P001-1488A-002E                           027853P001-1488A-002E                          027854P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027858P001-1488A-002E                           027860P001-1488A-002E                           027861P001-1488A-002E                          027862P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027863P001-1488A-002E                           027865P001-1488A-002E                           027867P001-1488A-002E                          027868P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027869P001-1488A-002E                           027870P001-1488A-002E                           027873P001-1488A-002E                          027874P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027875P001-1488A-002E                           027876P001-1488A-002E                           027877P001-1488A-002E                          027878P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027879P001-1488A-002E                           027880P001-1488A-002E                           027881P001-1488A-002E                          027882P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027884P001-1488A-002E                           027885P001-1488A-002E                           027886P001-1488A-002E                          027887P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027888P001-1488A-002E                           027889P001-1488A-002E                           027890P001-1488A-002E                          027891P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027893P001-1488A-002E                           027894P001-1488A-002E                           027895P001-1488A-002E                          027896P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027897P001-1488A-002E                           027898P001-1488A-002E                           027899P001-1488A-002E                          027900P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027901P001-1488A-002E                           027902P001-1488A-002E                           027903P001-1488A-002E                          027904P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027905P001-1488A-002E                           027907P001-1488A-002E                           027909P001-1488A-002E                          027910P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027911P001-1488A-002E                           027913P001-1488A-002E                           027914P001-1488A-002E                          027916P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027919P001-1488A-002E                           027920P001-1488A-002E                           027924P001-1488A-002E                          027925P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027926P001-1488A-002E                           027928P001-1488A-002E                           027931P001-1488A-002E                          027932P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027936P001-1488A-002E                           027937P001-1488A-002E                           027938P001-1488A-002E                          027939P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027941P001-1488A-002E                           027942P001-1488A-002E                           027945P001-1488A-002E                          027946P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027948P001-1488A-002E                           027949P001-1488A-002E                           027951P001-1488A-002E                          027952P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027953P001-1488A-002E                           027954P001-1488A-002E                           027955P001-1488A-002E                          027956P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027957P001-1488A-002E                           027958P001-1488A-002E                           027960P001-1488A-002E                          027961P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027963P001-1488A-002E                           027965P001-1488A-002E                           027966P001-1488A-002E                          027967P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027968P001-1488A-002E                           027970P001-1488A-002E                           027971P001-1488A-002E                          027972P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027973P001-1488A-002E                           027974P001-1488A-002E                           027975P001-1488A-002E                          027976P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027977P001-1488A-002E                           027978P001-1488A-002E                           027979P001-1488A-002E                          027980P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027982P001-1488A-002E                           027983P001-1488A-002E                           027984P001-1488A-002E                          027985P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027986P001-1488A-002E                           027987P001-1488A-002E                           027988P001-1488A-002E                          027989P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027990P001-1488A-002E                           027991P001-1488A-002E                           027993P001-1488A-002E                          027994P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027995P001-1488A-002E                           027996P001-1488A-002E                           027997P001-1488A-002E                          027998P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027999P001-1488A-002E                           028000P001-1488A-002E                           028001P001-1488A-002E                          028002P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028003P001-1488A-002E                           028004P001-1488A-002E                           028005P001-1488A-002E                          028006P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028007P001-1488A-002E                           028008P001-1488A-002E                           028010P001-1488A-002E                          028011P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028012P001-1488A-002E                           028015P001-1488A-002E                           028016P001-1488A-002E                          028017P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028018P001-1488A-002E                           028019P001-1488A-002E                           028021P001-1488A-002E                          028022P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028023P001-1488A-002E                           028025P001-1488A-002E                           028026P001-1488A-002E                          028027P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028029P001-1488A-002E                           028030P001-1488A-002E                           028031P001-1488A-002E                          028034P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028035P001-1488A-002E                           028036P001-1488A-002E                           028037P001-1488A-002E                          028038P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028039P001-1488A-002E                           028040P001-1488A-002E                           028041P001-1488A-002E                          028043P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028045P001-1488A-002E                           028046P001-1488A-002E                           028047P001-1488A-002E                          028049P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028050P001-1488A-002E                           028051P001-1488A-002E                           028052P001-1488A-002E                          028053P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028054P001-1488A-002E                           028055P001-1488A-002E                           028056P001-1488A-002E                          028057P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028060P001-1488A-002E                           028063P001-1488A-002E                           028064P001-1488A-002E                          028065P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028066P001-1488A-002E                           028068P001-1488A-002E                           028069P001-1488A-002E                          028070P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028071P002-1488A-002E                           028072P001-1488A-002E                           028073P001-1488A-002E                          028074P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028075P001-1488A-002E                           028078P001-1488A-002E                           028080P001-1488A-002E                          028081P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028082P001-1488A-002E                           028083P001-1488A-002E                           028084P001-1488A-002E                          028085P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028086P001-1488A-002E                           028089P001-1488A-002E                           028090P001-1488A-002E                          028091P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028092P001-1488A-002E                           028093P001-1488A-002E                           028095P001-1488A-002E                          028096P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028097P001-1488A-002E                           028099P001-1488A-002E                           028100P001-1488A-002E                          028101P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028103P001-1488A-002E                           028104P001-1488A-002E                           028105P001-1488A-002E                          028106P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028107P001-1488A-002E                           028108P001-1488A-002E                           028109P001-1488A-002E                          028111P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028112P001-1488A-002E                           028113P001-1488A-002E                           028114P001-1488A-002E                          028116P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028118P001-1488A-002E                           028119P001-1488A-002E                           028120P001-1488A-002E                          028123P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028124P001-1488A-002E                           028125P001-1488A-002E                           028126P001-1488A-002E                          028127P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028128P001-1488A-002E                           028129P001-1488A-002E                           028133P001-1488A-002E                          028134P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028135P001-1488A-002E                           028136P001-1488A-002E                           028137P001-1488A-002E                          028138P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028139P001-1488A-002E                           028140P001-1488A-002E                           028141P001-1488A-002E                          028142P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028143P001-1488A-002E                           028144P001-1488A-002E                           028145P001-1488A-002E                          028146P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028147P001-1488A-002E                           028148P001-1488A-002E                           028149P001-1488A-002E                          028150P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028151P001-1488A-002E                           028152P001-1488A-002E                           028153P001-1488A-002E                          028154P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028155P001-1488A-002E                           028156P001-1488A-002E                           028157P001-1488A-002E                          028158P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028160P001-1488A-002E                           028161P001-1488A-002E                           028163P001-1488A-002E                          028164P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028165P001-1488A-002E                           028167P002-1488A-002E                           028168P001-1488A-002E                          028169P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028172P001-1488A-002E                           028173P001-1488A-002E                           028176P001-1488A-002E                          028179P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028180P001-1488A-002E                           028181P001-1488A-002E                           028182P001-1488A-002E                          028183P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028184P001-1488A-002E                           028185P001-1488A-002E                           028186P001-1488A-002E                          028187P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028188P001-1488A-002E                           028189P001-1488A-002E                           028190P001-1488A-002E                          028191P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028193P001-1488A-002E                           028194P001-1488A-002E                           028195P001-1488A-002E                          028197P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028198P001-1488A-002E                           028199P001-1488A-002E                           028200P001-1488A-002E                          028201P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028202P001-1488A-002E                           028203P001-1488A-002E                           028205P001-1488A-002E                          028206P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028207P001-1488A-002E                           028208P001-1488A-002E                           028209P001-1488A-002E                          028210P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028211P001-1488A-002E                           028212P001-1488A-002E                           028213P001-1488A-002E                          028215P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028217P001-1488A-002E                           028218P001-1488A-002E                           028219P001-1488A-002E                          028221P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028222P001-1488A-002E                           028223P001-1488A-002E                           028224P001-1488A-002E                          028225P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028226P001-1488A-002E                           028228P001-1488A-002E                           028229P001-1488A-002E                          028230P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028231P001-1488A-002E                           028232P001-1488A-002E                           028234P001-1488A-002E                          028235P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028236P001-1488A-002E                           028237P001-1488A-002E                           028238P001-1488A-002E                          028239P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028243P001-1488A-002E                           028244P001-1488A-002E                           028246P001-1488A-002E                          028247P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028248P001-1488A-002E                           028250P001-1488A-002E                           028252P001-1488A-002E                          028254P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028255P001-1488A-002E                           028256P001-1488A-002E                           028257P001-1488A-002E                          028258P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028259P001-1488A-002E                           028260P001-1488A-002E                           028262P001-1488A-002E                          028263P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028264P001-1488A-002E                           028265P001-1488A-002E                           028266P001-1488A-002E                          028267P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028268P001-1488A-002E                           028269P001-1488A-002E                           028270P001-1488A-002E                          028271P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028272P001-1488A-002E                           028273P001-1488A-002E                           028274P001-1488A-002E                          028275P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028276P001-1488A-002E                           028277P001-1488A-002E                           028278P001-1488A-002E                          028279P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028280P001-1488A-002E                           028281P001-1488A-002E                           028282P001-1488A-002E                          028283P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028284P001-1488A-002E                           028285P001-1488A-002E                           028286P001-1488A-002E                          028289P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028290P001-1488A-002E                           028291P001-1488A-002E                           028293P001-1488A-002E                          028296P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028297P001-1488A-002E                           028298P001-1488A-002E                           028299P001-1488A-002E                          028301P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028303P001-1488A-002E                           028305P001-1488A-002E                           028306P001-1488A-002E                          028307P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028308P001-1488A-002E                           028309P001-1488A-002E                           028311P001-1488A-002E                          028313P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028314P001-1488A-002E                           028315P001-1488A-002E                           028316P001-1488A-002E                          028318P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028319P001-1488A-002E                           028321P001-1488A-002E                           028322P001-1488A-002E                          028323P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028324P001-1488A-002E                           028325P001-1488A-002E                           028326P001-1488A-002E                          028327P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028328P001-1488A-002E                           028329P001-1488A-002E                           028330P001-1488A-002E                          028331P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028332P001-1488A-002E                           028333P001-1488A-002E                           028335P001-1488A-002E                          028336P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028337P002-1488A-002E                           028338P001-1488A-002E                           028339P001-1488A-002E                          028340P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028342P001-1488A-002E                           028343P002-1488A-002E                           028344P001-1488A-002E                          028345P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028346P001-1488A-002E                           028348P001-1488A-002E                           028349P001-1488A-002E                          028350P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028351P001-1488A-002E                           028355P001-1488A-002E                           028356P001-1488A-002E                          028357P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028358P001-1488A-002E                           028360P001-1488A-002E                           028361P001-1488A-002E                          028362P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028363P002-1488A-002E                           028364P001-1488A-002E                           028365P001-1488A-002E                          028367P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028369P001-1488A-002E                           028373P001-1488A-002E                           028374P001-1488A-002E                          028375P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028376P001-1488A-002E                           028377P001-1488A-002E                           028378P001-1488A-002E                          028379P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028380P001-1488A-002E                           028381P001-1488A-002E                           028382P001-1488A-002E                          028384P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028385P001-1488A-002E                           028386P001-1488A-002E                           028387P001-1488A-002E                          028389P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028390P001-1488A-002E                           028391P001-1488A-002E                           028392P001-1488A-002E                          028393P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028394P001-1488A-002E                           028396P001-1488A-002E                           028399P001-1488A-002E                          028400P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028401P001-1488A-002E                           028402P001-1488A-002E                           028403P001-1488A-002E                          028405P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028409P001-1488A-002E                           028410P001-1488A-002E                           028411P001-1488A-002E                          028412P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028413P001-1488A-002E                           028414P001-1488A-002E                           028416P001-1488A-002E                          028417P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028418P001-1488A-002E                           028420P001-1488A-002E                           028421P001-1488A-002E                          028422P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028423P001-1488A-002E                           028424P001-1488A-002E                           028425P001-1488A-002E                          028427P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028428P001-1488A-002E                           028429P001-1488A-002E                           028430P001-1488A-002E                          028431P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028432P001-1488A-002E                           028433P001-1488A-002E                           028434P001-1488A-002E                          028435P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028436P001-1488A-002E                           028437P001-1488A-002E                           028438P002-1488A-002E                          028439P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028440P001-1488A-002E                           028441P001-1488A-002E                           028442P001-1488A-002E                          028443P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028445P001-1488A-002E                           028446P001-1488A-002E                           028447P001-1488A-002E                          028448P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028449P001-1488A-002E                           028450P001-1488A-002E                           028451P001-1488A-002E                          028452P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028453P001-1488A-002E                           028454P001-1488A-002E                           028455P001-1488A-002E                          028456P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028457P001-1488A-002E                           028458P001-1488A-002E                           028459P001-1488A-002E                          028460P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028461P001-1488A-002E                           028462P001-1488A-002E                           028463P001-1488A-002E                          028465P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028467P001-1488A-002E                           028468P001-1488A-002E                           028469P001-1488A-002E                          028470P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028471P001-1488A-002E                           028472P001-1488A-002E                           028473P001-1488A-002E                          028474P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028475P001-1488A-002E                           028476P001-1488A-002E                           028477P001-1488A-002E                          028478P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028479P001-1488A-002E                           028480P001-1488A-002E                           028481P001-1488A-002E                          028482P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028483P001-1488A-002E                           028484P001-1488A-002E                           028486P001-1488A-002E                          028487P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028488P001-1488A-002E                           028489P001-1488A-002E                           028490P001-1488A-002E                          028492P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028493P001-1488A-002E                           028495P001-1488A-002E                           028496P001-1488A-002E                          028497P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028498P001-1488A-002E                           028500P001-1488A-002E                           028501P001-1488A-002E                          028502P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028503P001-1488A-002E                           028504P001-1488A-002E                           028505P001-1488A-002E                          028506P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028507P001-1488A-002E                           028509P001-1488A-002E                           028512P001-1488A-002E                          028514P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028515P001-1488A-002E                           028516P001-1488A-002E                           028517P001-1488A-002E                          028518P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028521P001-1488A-002E                           028523P001-1488A-002E                           028524P001-1488A-002E                          028525P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028526P001-1488A-002E                           028528P001-1488A-002E                           028533P001-1488A-002E                          028534P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028535P001-1488A-002E                           028536P001-1488A-002E                           028538P001-1488A-002E                          028539P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028540P001-1488A-002E                           028543P001-1488A-002E                           028544P001-1488A-002E                          028545P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028546P001-1488A-002E                           028547P001-1488A-002E                           028548P001-1488A-002E                          028550P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028551P001-1488A-002E                           028553P001-1488A-002E                           028554P001-1488A-002E                          028555P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028557P001-1488A-002E                           028558P001-1488A-002E                           028559P001-1488A-002E                          028560P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028561P001-1488A-002E                           028563P001-1488A-002E                           028565P001-1488A-002E                          028566P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028567P001-1488A-002E                           028568P001-1488A-002E                           028569P001-1488A-002E                          028570P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028571P001-1488A-002E                           028572P001-1488A-002E                           028573P001-1488A-002E                          028574P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028575P001-1488A-002E                           028577P001-1488A-002E                           028578P001-1488A-002E                          028579P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028581P001-1488A-002E                           028582P001-1488A-002E                           028583P001-1488A-002E                          028584P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028585P001-1488A-002E                           028586P001-1488A-002E                           028588P001-1488A-002E                          028590P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028591P001-1488A-002E                           028592P001-1488A-002E                           028593P001-1488A-002E                          028594P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028596P001-1488A-002E                           028597P001-1488A-002E                           028598P001-1488A-002E                          028599P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028600P001-1488A-002E                           028601P001-1488A-002E                           028602P001-1488A-002E                          028604P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028605P001-1488A-002E                           028606P001-1488A-002E                           028607P001-1488A-002E                          028608P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028610P001-1488A-002E                           028612P001-1488A-002E                           028614P001-1488A-002E                          028615P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028616P001-1488A-002E                           028617P001-1488A-002E                           028618P001-1488A-002E                          028619P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028620P001-1488A-002E                           028621P001-1488A-002E                           028622P001-1488A-002E                          028623P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028626P001-1488A-002E                           028627P001-1488A-002E                           028628P001-1488A-002E                          028630P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028631P001-1488A-002E                           028633P001-1488A-002E                           028634P001-1488A-002E                          028640P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028641P001-1488A-002E                           028642P001-1488A-002E                           028643P001-1488A-002E                          028645P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028646P001-1488A-002E                           028647P001-1488A-002E                           028648P001-1488A-002E                          028649P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028650P001-1488A-002E                           028651P002-1488A-002E                           028652P001-1488A-002E                          028653P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028654P001-1488A-002E                           028655P001-1488A-002E                           028656P001-1488A-002E                          028657P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028658P001-1488A-002E                           028659P001-1488A-002E                           028661P001-1488A-002E                          028663P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028665P001-1488A-002E                           028666P001-1488A-002E                           028668P001-1488A-002E                          028671P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028672P001-1488A-002E                           028673P001-1488A-002E                           028674P001-1488A-002E                          028675P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028676P001-1488A-002E                           028677P001-1488A-002E                           028678P001-1488A-002E                          028681P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028682P001-1488A-002E                           028683P001-1488A-002E                           028684P001-1488A-002E                          028685P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028687P001-1488A-002E                           028688P001-1488A-002E                           028689P001-1488A-002E                          028691P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028692P001-1488A-002E                           028693P001-1488A-002E                           028694P001-1488A-002E                          028695P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028697P001-1488A-002E                           028698P001-1488A-002E                           028699P001-1488A-002E                          028700P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028701P001-1488A-002E                           028702P001-1488A-002E                           028703P001-1488A-002E                          028704P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028706P001-1488A-002E                           028709P001-1488A-002E                           028710P001-1488A-002E                          028711P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028712P001-1488A-002E                           028713P001-1488A-002E                           028714P001-1488A-002E                          028715P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028716P001-1488A-002E                           028717P001-1488A-002E                           028718P001-1488A-002E                          028719P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028720P001-1488A-002E                           028721P001-1488A-002E                           028722P001-1488A-002E                          028723P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028725P001-1488A-002E                           028726P001-1488A-002E                           028727P001-1488A-002E                          028728P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028729P001-1488A-002E                           028730P001-1488A-002E                           028731P001-1488A-002E                          028732P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028733P001-1488A-002E                           028734P001-1488A-002E                           028735P001-1488A-002E                          028736P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028740P001-1488A-002E                           028741P001-1488A-002E                           028742P001-1488A-002E                          028744P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028745P001-1488A-002E                           028746P001-1488A-002E                           028747P001-1488A-002E                          028748P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028749P001-1488A-002E                           028750P001-1488A-002E                           028751P001-1488A-002E                          028752P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028753P001-1488A-002E                           028755P001-1488A-002E                           028756P001-1488A-002E                          028757P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028758P001-1488A-002E                           028759P001-1488A-002E                           028760P001-1488A-002E                          028761P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028762P001-1488A-002E                           028764P001-1488A-002E                           028765P001-1488A-002E                          028767P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028768P001-1488A-002E                           028769P001-1488A-002E                           028770P001-1488A-002E                          028771P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028774P001-1488A-002E                           028775P001-1488A-002E                           028776P001-1488A-002E                          028778P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028779P001-1488A-002E                           028780P001-1488A-002E                           028781P001-1488A-002E                          028782P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028783P001-1488A-002E                           028784P001-1488A-002E                           028785P001-1488A-002E                          028786P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028787P001-1488A-002E                           028788P001-1488A-002E                           028789P001-1488A-002E                          028790P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028791P001-1488A-002E                           028792P001-1488A-002E                           028793P001-1488A-002E                          028794P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028795P001-1488A-002E                           028797P001-1488A-002E                           028798P001-1488A-002E                          028799P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028800P001-1488A-002E                           028801P001-1488A-002E                           028802P001-1488A-002E                          028804P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028805P001-1488A-002E                           028806P001-1488A-002E                           028807P001-1488A-002E                          028809P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028810P001-1488A-002E                           028811P001-1488A-002E                           028812P001-1488A-002E                          028813P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028814P001-1488A-002E                           028815P001-1488A-002E                           028816P001-1488A-002E                          028817P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028818P001-1488A-002E                           028819P001-1488A-002E                           028821P001-1488A-002E                          028822P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028824P001-1488A-002E                           028825P001-1488A-002E                           028826P001-1488A-002E                          028828P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028830P001-1488A-002E                           028831P001-1488A-002E                           028832P001-1488A-002E                          028833P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028834P001-1488A-002E                           028835P001-1488A-002E                           028836P001-1488A-002E                          028837P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028838P001-1488A-002E                           028839P001-1488A-002E                           028840P001-1488A-002E                          028841P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028843P001-1488A-002E                           028844P001-1488A-002E                           028846P001-1488A-002E                          028847P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028850P001-1488A-002E                           028851P001-1488A-002E                           028853P001-1488A-002E                          028854P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028856P001-1488A-002E                           028858P001-1488A-002E                           028860P001-1488A-002E                          028862P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028863P001-1488A-002E                           028865P001-1488A-002E                           028866P001-1488A-002E                          028867P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028868P001-1488A-002E                           028869P001-1488A-002E                           028870P002-1488A-002E                          028871P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028872P001-1488A-002E                           028874P001-1488A-002E                           028875P001-1488A-002E                          028876P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028878P001-1488A-002E                           028879P001-1488A-002E                           028880P001-1488A-002E                          028881P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028882P001-1488A-002E                           028883P002-1488A-002E                           028884P001-1488A-002E                          028885P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028887P001-1488A-002E                           028888P001-1488A-002E                           028889P001-1488A-002E                          028890P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028893P001-1488A-002E                           028894P001-1488A-002E                           028895P001-1488A-002E                          028896P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028897P001-1488A-002E                           028898P001-1488A-002E                           028900P001-1488A-002E                          028902P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028903P001-1488A-002E                           028905P001-1488A-002E                           028906P001-1488A-002E                          028907P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028908P001-1488A-002E                           028909P001-1488A-002E                           028911P001-1488A-002E                          028913P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028914P001-1488A-002E                           028915P001-1488A-002E                           028917P001-1488A-002E                          028918P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028919P001-1488A-002E                           028920P001-1488A-002E                           028921P001-1488A-002E                          028922P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028925P001-1488A-002E                           028927P001-1488A-002E                           028928P001-1488A-002E                          028930P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028931P001-1488A-002E                           028932P001-1488A-002E                           028933P001-1488A-002E                          028934P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028935P001-1488A-002E                           028936P001-1488A-002E                           028937P001-1488A-002E                          028938P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028940P001-1488A-002E                           028943P001-1488A-002E                           028945P001-1488A-002E                          028946P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028949P001-1488A-002E                           028950P001-1488A-002E                           028952P001-1488A-002E                          028953P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028954P001-1488A-002E                           028955P001-1488A-002E                           028957P001-1488A-002E                          028958P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028961P001-1488A-002E                           028962P001-1488A-002E                           028965P001-1488A-002E                          028966P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028967P001-1488A-002E                           028968P001-1488A-002E                           028969P001-1488A-002E                          028971P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028972P001-1488A-002E                           028973P001-1488A-002E                           028974P001-1488A-002E                          028976P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028977P001-1488A-002E                           028978P001-1488A-002E                           028979P001-1488A-002E                          028980P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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028981P001-1488A-002E                           028983P001-1488A-002E                           028984P001-1488A-002E                          028989P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028992P001-1488A-002E                           028993P001-1488A-002E                           028994P001-1488A-002E                          028995P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028997P001-1488A-002E                           028999P001-1488A-002E                           029001P001-1488A-002E                          029002P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029003P001-1488A-002E                           029004P002-1488A-002E                           029005P002-1488A-002E                          029006P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029007P001-1488A-002E                           029010P001-1488A-002E                           029011P001-1488A-002E                          029013P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029014P001-1488A-002E                           029015P001-1488A-002E                           029016P001-1488A-002E                          029017P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029018P001-1488A-002E                           029020P001-1488A-002E                           029021P001-1488A-002E                          029023P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029024P001-1488A-002E                           029025P001-1488A-002E                           029026P001-1488A-002E                          029027P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029028P001-1488A-002E                           029029P001-1488A-002E                           029030P001-1488A-002E                          029031P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029032P001-1488A-002E                           029034P001-1488A-002E                           029036P001-1488A-002E                          029037P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029039P001-1488A-002E                           029040P001-1488A-002E                           029041P001-1488A-002E                          029042P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029043P001-1488A-002E                           029045P001-1488A-002E                           029046P001-1488A-002E                          029047P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029049P001-1488A-002E                           029053P001-1488A-002E                           029055P002-1488A-002E                          029056P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029057P001-1488A-002E                           029058P001-1488A-002E                           029060P001-1488A-002E                          029061P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029062P001-1488A-002E                           029063P001-1488A-002E                           029065P001-1488A-002E                          029067P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029069P001-1488A-002E                           029070P001-1488A-002E                           029073P001-1488A-002E                          029074P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029076P001-1488A-002E                           029077P001-1488A-002E                           029079P001-1488A-002E                          029080P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029081P001-1488A-002E                           029082P001-1488A-002E                           029083P001-1488A-002E                          029084P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029087P001-1488A-002E                           029088P001-1488A-002E                           029089P001-1488A-002E                          029090P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029091P001-1488A-002E                           029092P001-1488A-002E                           029093P001-1488A-002E                          029095P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029097P001-1488A-002E                           029098P001-1488A-002E                           029100P001-1488A-002E                          029101P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029102P001-1488A-002E                           029103P001-1488A-002E                           029104P001-1488A-002E                          029105P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029106P001-1488A-002E                           029108P001-1488A-002E                           029112P001-1488A-002E                          029113P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029114P001-1488A-002E                           029115P001-1488A-002E                           029116P001-1488A-002E                          029117P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029119P001-1488A-002E                           029120P001-1488A-002E                           029121P001-1488A-002E                          029122P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029123P001-1488A-002E                           029125P001-1488A-002E                           029126P001-1488A-002E                          029128P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029130P001-1488A-002E                           029132P001-1488A-002E                           029133P001-1488A-002E                          029134P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029135P001-1488A-002E                           029136P001-1488A-002E                           029137P001-1488A-002E                          029138P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029139P001-1488A-002E                           029140P001-1488A-002E                           029141P001-1488A-002E                          029142P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029143P001-1488A-002E                           029145P001-1488A-002E                           029147P001-1488A-002E                          029148P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029149P001-1488A-002E                           029150P001-1488A-002E                           029151P001-1488A-002E                          029152P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029153P001-1488A-002E                           029154P001-1488A-002E                           029155P001-1488A-002E                          029156P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029157P001-1488A-002E                           029158P001-1488A-002E                           029160P001-1488A-002E                          029161P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029162P001-1488A-002E                           029163P001-1488A-002E                           029164P001-1488A-002E                          029165P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029166P001-1488A-002E                           029167P001-1488A-002E                           029168P001-1488A-002E                          029169P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029171P001-1488A-002E                           029172P001-1488A-002E                           029174P001-1488A-002E                          029175P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029177P001-1488A-002E                           029178P001-1488A-002E                           029179P001-1488A-002E                          029180P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029181P001-1488A-002E                           029182P001-1488A-002E                           029183P001-1488A-002E                          029184P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029185P001-1488A-002E                           029186P001-1488A-002E                           029187P001-1488A-002E                          029189P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029190P001-1488A-002E                           029191P001-1488A-002E                           029192P001-1488A-002E                          029193P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029194P001-1488A-002E                           029196P001-1488A-002E                           029197P001-1488A-002E                          029198P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029199P001-1488A-002E                           029200P001-1488A-002E                           029201P001-1488A-002E                          029203P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029204P001-1488A-002E                           029205P001-1488A-002E                           029208P001-1488A-002E                          029209P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029210P001-1488A-002E                           029212P001-1488A-002E                           029214P001-1488A-002E                          029216P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029217P001-1488A-002E                           029218P001-1488A-002E                           029219P001-1488A-002E                          029220P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029221P001-1488A-002E                           029222P001-1488A-002E                           029223P001-1488A-002E                          029225P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029226P001-1488A-002E                           029227P002-1488A-002E                           029228P001-1488A-002E                          029229P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029230P001-1488A-002E                           029233P001-1488A-002E                           029234P001-1488A-002E                          029235P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029236P001-1488A-002E                           029238P001-1488A-002E                           029239P001-1488A-002E                          029241P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029242P001-1488A-002E                           029243P001-1488A-002E                           029244P001-1488A-002E                          029245P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029246P001-1488A-002E                           029250P001-1488A-002E                           029252P001-1488A-002E                          029253P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029254P001-1488A-002E                           029255P001-1488A-002E                           029256P001-1488A-002E                          029257P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029258P001-1488A-002E                           029260P001-1488A-002E                           029261P001-1488A-002E                          029263P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029264P001-1488A-002E                           029265P001-1488A-002E                           029266P001-1488A-002E                          029267P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029268P001-1488A-002E                           029270P001-1488A-002E                           029271P001-1488A-002E                          029272P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029273P001-1488A-002E                           029274P001-1488A-002E                           029275P001-1488A-002E                          029276P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029277P001-1488A-002E                           029278P002-1488A-002E                           029279P001-1488A-002E                          029280P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029282P001-1488A-002E                           029283P001-1488A-002E                           029284P001-1488A-002E                          029285P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029286P001-1488A-002E                           029287P001-1488A-002E                           029288P001-1488A-002E                          029289P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029290P001-1488A-002E                           029291P001-1488A-002E                           029292P001-1488A-002E                          029293P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029294P001-1488A-002E                           029295P001-1488A-002E                           029296P001-1488A-002E                          029297P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029298P001-1488A-002E                           029299P001-1488A-002E                           029300P001-1488A-002E                          029302P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029303P001-1488A-002E                           029304P001-1488A-002E                           029305P001-1488A-002E                          029306P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029307P001-1488A-002E                           029308P001-1488A-002E                           029309P001-1488A-002E                          029310P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029311P001-1488A-002E                           029312P001-1488A-002E                           029314P001-1488A-002E                          029315P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029316P001-1488A-002E                           029318P001-1488A-002E                           029319P001-1488A-002E                          029321P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029323P001-1488A-002E                           029324P001-1488A-002E                           029325P001-1488A-002E                          029326P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029327P001-1488A-002E                           029328P001-1488A-002E                           029330P001-1488A-002E                          029331P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029332P001-1488A-002E                           029333P001-1488A-002E                           029334P001-1488A-002E                          029335P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029336P001-1488A-002E                           029337P001-1488A-002E                           029338P001-1488A-002E                          029340P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029341P001-1488A-002E                           029342P001-1488A-002E                           029345P001-1488A-002E                          029347P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029348P001-1488A-002E                           029349P001-1488A-002E                           029350P001-1488A-002E                          029352P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029353P001-1488A-002E                           029356P001-1488A-002E                           029357P001-1488A-002E                          029359P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029360P001-1488A-002E                           029361P001-1488A-002E                           029364P001-1488A-002E                          029365P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029366P001-1488A-002E                           029367P001-1488A-002E                           029368P001-1488A-002E                          029369P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029370P001-1488A-002E                           029371P001-1488A-002E                           029372P001-1488A-002E                          029375P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029378P001-1488A-002E                           029379P001-1488A-002E                           029380P001-1488A-002E                          029381P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029382P001-1488A-002E                           029383P001-1488A-002E                           029384P001-1488A-002E                          029386P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029387P001-1488A-002E                           029388P001-1488A-002E                           029389P001-1488A-002E                          029390P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029391P002-1488A-002E                           029392P001-1488A-002E                           029393P001-1488A-002E                          029394P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029395P001-1488A-002E                           029396P001-1488A-002E                           029397P001-1488A-002E                          029398P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029399P001-1488A-002E                           029400P001-1488A-002E                           029401P001-1488A-002E                          029402P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029403P001-1488A-002E                           029404P001-1488A-002E                           029405P001-1488A-002E                          029406P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029407P001-1488A-002E                           029409P001-1488A-002E                           029410P001-1488A-002E                          029412P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029413P001-1488A-002E                           029414P001-1488A-002E                           029415P001-1488A-002E                          029416P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029418P001-1488A-002E                           029419P001-1488A-002E                           029420P001-1488A-002E                          029421P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029422P001-1488A-002E                           029423P001-1488A-002E                           029424P001-1488A-002E                          029426P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029427P001-1488A-002E                           029428P001-1488A-002E                           029429P001-1488A-002E                          029432P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029433P001-1488A-002E                           029434P001-1488A-002E                           029436P001-1488A-002E                          029437P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029439P001-1488A-002E                           029440P001-1488A-002E                           029441P001-1488A-002E                          029442P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029444P001-1488A-002E                           029446P001-1488A-002E                           029447P001-1488A-002E                          029449P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029450P001-1488A-002E                           029451P001-1488A-002E                           029452P001-1488A-002E                          029454P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029456P001-1488A-002E                           029458P001-1488A-002E                           029460P001-1488A-002E                          029461P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029462P001-1488A-002E                           029463P001-1488A-002E                           029464P001-1488A-002E                          029465P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029466P001-1488A-002E                           029468P001-1488A-002E                           029469P002-1488A-002E                          029470P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029471P001-1488A-002E                           029473P001-1488A-002E                           029474P001-1488A-002E                          029475P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029476P001-1488A-002E                           029478P001-1488A-002E                           029479P001-1488A-002E                          029480P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029484P001-1488A-002E                           029485P001-1488A-002E                           029486P001-1488A-002E                          029487P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029488P001-1488A-002E                           029489P001-1488A-002E                           029491P001-1488A-002E                          029492P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029493P001-1488A-002E                           029494P001-1488A-002E                           029496P001-1488A-002E                          029497P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029499P001-1488A-002E                           029500P001-1488A-002E                           029502P001-1488A-002E                          029504P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029505P001-1488A-002E                           029506P001-1488A-002E                           029508P001-1488A-002E                          029510P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029511P001-1488A-002E                           029512P001-1488A-002E                           029513P001-1488A-002E                          029514P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029515P001-1488A-002E                           029516P001-1488A-002E                           029517P001-1488A-002E                          029518P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029521P001-1488A-002E                           029522P001-1488A-002E                           029524P001-1488A-002E                          029527P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029528P001-1488A-002E                           029529P001-1488A-002E                           029530P001-1488A-002E                          029532P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029533P001-1488A-002E                           029534P001-1488A-002E                           029535P001-1488A-002E                          029536P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029538P001-1488A-002E                           029539P001-1488A-002E                           029541P001-1488A-002E                          029542P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029544P001-1488A-002E                           029545P001-1488A-002E                           029546P001-1488A-002E                          029547P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029548P001-1488A-002E                           029550P001-1488A-002E                           029551P001-1488A-002E                          029552P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029553P001-1488A-002E                           029554P001-1488A-002E                           029555P001-1488A-002E                          029556P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029557P001-1488A-002E                           029558P001-1488A-002E                           029559P001-1488A-002E                          029560P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029561P001-1488A-002E                           029563P001-1488A-002E                           029564P001-1488A-002E                          029565P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029566P001-1488A-002E                           029567P001-1488A-002E                           029568P001-1488A-002E                          029569P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029570P001-1488A-002E                           029571P001-1488A-002E                           029572P001-1488A-002E                          029574P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029575P001-1488A-002E                           029576P001-1488A-002E                           029577P001-1488A-002E                          029578P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029581P001-1488A-002E                           029585P001-1488A-002E                           029587P001-1488A-002E                          029588P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029590P001-1488A-002E                           029591P001-1488A-002E                           029593P001-1488A-002E                          029594P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029595P001-1488A-002E                           029597P001-1488A-002E                           029598P001-1488A-002E                          029599P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029600P001-1488A-002E                           029602P001-1488A-002E                           029603P001-1488A-002E                          029604P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029607P001-1488A-002E                           029608P001-1488A-002E                           029610P001-1488A-002E                          029611P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029612P001-1488A-002E                           029613P001-1488A-002E                           029614P001-1488A-002E                          029615P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029616P001-1488A-002E                           029618P001-1488A-002E                           029619P001-1488A-002E                          029620P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029621P001-1488A-002E                           029622P001-1488A-002E                           029623P001-1488A-002E                          029624P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029626P001-1488A-002E                           029627P001-1488A-002E                           029628P001-1488A-002E                          029629P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029630P001-1488A-002E                           029631P001-1488A-002E                           029632P001-1488A-002E                          029633P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029634P001-1488A-002E                           029635P001-1488A-002E                           029636P001-1488A-002E                          029637P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029639P001-1488A-002E                           029641P001-1488A-002E                           029642P001-1488A-002E                          029643P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029645P001-1488A-002E                           029646P001-1488A-002E                           029648P001-1488A-002E                          029649P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029650P001-1488A-002E                           029652P001-1488A-002E                           029653P001-1488A-002E                          029654P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029655P001-1488A-002E                           029656P001-1488A-002E                           029657P001-1488A-002E                          029658P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029659P001-1488A-002E                           029660P001-1488A-002E                           029662P001-1488A-002E                          029663P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029665P001-1488A-002E                           029666P001-1488A-002E                           029667P001-1488A-002E                          029668P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029670P001-1488A-002E                           029671P001-1488A-002E                           029673P001-1488A-002E                          029674P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029675P001-1488A-002E                           029676P001-1488A-002E                           029677P001-1488A-002E                          029678P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029679P001-1488A-002E                           029680P001-1488A-002E                           029681P001-1488A-002E                          029682P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029683P001-1488A-002E                           029684P001-1488A-002E                           029685P001-1488A-002E                          029686P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029687P001-1488A-002E                           029688P001-1488A-002E                           029689P001-1488A-002E                          029690P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029691P001-1488A-002E                           029692P001-1488A-002E                           029694P001-1488A-002E                          029696P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029697P001-1488A-002E                           029698P001-1488A-002E                           029699P001-1488A-002E                          029700P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029701P001-1488A-002E                           029702P001-1488A-002E                           029708P001-1488A-002E                          029709P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029710P001-1488A-002E                           029711P001-1488A-002E                           029712P001-1488A-002E                          029713P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029714P001-1488A-002E                           029715P001-1488A-002E                           029717P001-1488A-002E                          029718P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029719P001-1488A-002E                           029720P001-1488A-002E                           029723P001-1488A-002E                          029724P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029726P001-1488A-002E                           029728P001-1488A-002E                           029729P001-1488A-002E                          029730P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029731P001-1488A-002E                           029732P001-1488A-002E                           029733P001-1488A-002E                          029735P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029738P001-1488A-002E                           029739P001-1488A-002E                           029740P001-1488A-002E                          029741P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029742P001-1488A-002E                           029743P001-1488A-002E                           029744P001-1488A-002E                          029745P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029747P001-1488A-002E                           029748P001-1488A-002E                           029749P001-1488A-002E                          029751P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029752P001-1488A-002E                           029753P001-1488A-002E                           029754P001-1488A-002E                          029755P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029756P001-1488A-002E                           029758P001-1488A-002E                           029759P001-1488A-002E                          029760P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029761P001-1488A-002E                           029762P001-1488A-002E                           029763P001-1488A-002E                          029764P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029767P001-1488A-002E                           029768P001-1488A-002E                           029769P001-1488A-002E                          029771P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029772P001-1488A-002E                           029773P001-1488A-002E                           029774P001-1488A-002E                          029775P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029777P001-1488A-002E                           029778P001-1488A-002E                           029779P001-1488A-002E                          029781P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029782P001-1488A-002E                           029785P001-1488A-002E                           029786P001-1488A-002E                          029787P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029788P001-1488A-002E                           029789P001-1488A-002E                           029790P001-1488A-002E                          029793P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029794P001-1488A-002E                           029795P001-1488A-002E                           029796P001-1488A-002E                          029797P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029798P001-1488A-002E                           029799P001-1488A-002E                           029801P001-1488A-002E                          029803P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029806P001-1488A-002E                           029808P001-1488A-002E                           029810P001-1488A-002E                          029811P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029812P001-1488A-002E                           029815P001-1488A-002E                           029816P001-1488A-002E                          029817P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029818P001-1488A-002E                           029819P001-1488A-002E                           029820P001-1488A-002E                          029821P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029822P001-1488A-002E                           029823P001-1488A-002E                           029824P001-1488A-002E                          029826P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029827P001-1488A-002E                           029829P001-1488A-002E                           029830P001-1488A-002E                          029831P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029833P001-1488A-002E                           029835P001-1488A-002E                           029836P001-1488A-002E                          029837P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029839P001-1488A-002E                           029840P001-1488A-002E                           029843P001-1488A-002E                          029844P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029845P001-1488A-002E                           029846P001-1488A-002E                           029847P001-1488A-002E                          029848P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029849P001-1488A-002E                           029851P001-1488A-002E                           029852P001-1488A-002E                          029853P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029855P001-1488A-002E                           029856P001-1488A-002E                           029857P001-1488A-002E                          029858P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029859P001-1488A-002E                           029860P001-1488A-002E                           029861P001-1488A-002E                          029862P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029863P001-1488A-002E                           029864P001-1488A-002E                           029866P001-1488A-002E                          029869P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029870P001-1488A-002E                           029872P001-1488A-002E                           029873P001-1488A-002E                          029874P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029876P001-1488A-002E                           029878P001-1488A-002E                           029880P001-1488A-002E                          029881P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029883P001-1488A-002E                           029885P001-1488A-002E                           029886P001-1488A-002E                          029887P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029888P001-1488A-002E                           029890P001-1488A-002E                           029891P001-1488A-002E                          029892P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029893P001-1488A-002E                           029894P001-1488A-002E                           029896P001-1488A-002E                          029897P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029899P001-1488A-002E                           029900P001-1488A-002E                           029902P001-1488A-002E                          029903P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029904P001-1488A-002E                           029905P001-1488A-002E                           029906P001-1488A-002E                          029907P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029908P001-1488A-002E                           029909P001-1488A-002E                           029910P001-1488A-002E                          029913P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029914P001-1488A-002E                           029915P001-1488A-002E                           029916P001-1488A-002E                          029917P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029919P001-1488A-002E                           029920P001-1488A-002E                           029921P001-1488A-002E                          029922P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029923P001-1488A-002E                           029924P001-1488A-002E                           029925P001-1488A-002E                          029929P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029930P001-1488A-002E                           029932P001-1488A-002E                           029933P001-1488A-002E                          029934P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029935P001-1488A-002E                           029936P001-1488A-002E                           029937P001-1488A-002E                          029938P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029939P001-1488A-002E                           029940P001-1488A-002E                           029941P001-1488A-002E                          029942P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029943P001-1488A-002E                           029944P001-1488A-002E                           029945P001-1488A-002E                          029946P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029947P001-1488A-002E                           029948P001-1488A-002E                           029949P001-1488A-002E                          029950P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029952P001-1488A-002E                           029953P001-1488A-002E                           029954P001-1488A-002E                          029956P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029957P001-1488A-002E                           029958P001-1488A-002E                           029959P001-1488A-002E                          029960P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029961P001-1488A-002E                           029962P001-1488A-002E                           029963P001-1488A-002E                          029964P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029965P001-1488A-002E                           029966P001-1488A-002E                           029968P001-1488A-002E                          029970P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029971P001-1488A-002E                           029972P001-1488A-002E                           029974P001-1488A-002E                          029975P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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029976P001-1488A-002E                           029977P001-1488A-002E                           029978P001-1488A-002E                          029979P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029980P001-1488A-002E                           029981P001-1488A-002E                           029982P001-1488A-002E                          029983P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029984P001-1488A-002E                           029985P001-1488A-002E                           029986P001-1488A-002E                          029987P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029990P001-1488A-002E                           029992P001-1488A-002E                           029993P001-1488A-002E                          029995P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029996P001-1488A-002E                           029997P001-1488A-002E                           029998P001-1488A-002E                          029999P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030000P001-1488A-002E                           030003P001-1488A-002E                           030005P001-1488A-002E                          030007P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030008P001-1488A-002E                           030009P001-1488A-002E                           030010P001-1488A-002E                          030011P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030012P001-1488A-002E                           030014P001-1488A-002E                           030015P001-1488A-002E                          030016P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030018P001-1488A-002E                           030019P001-1488A-002E                           030020P001-1488A-002E                          030021P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030022P001-1488A-002E                           030023P001-1488A-002E                           030024P001-1488A-002E                          030025P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030026P001-1488A-002E                           030027P001-1488A-002E                           030032P001-1488A-002E                          030034P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030035P001-1488A-002E                           030036P001-1488A-002E                           030037P001-1488A-002E                          030038P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030040P001-1488A-002E                           030043P001-1488A-002E                           030044P001-1488A-002E                          030045P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030046P001-1488A-002E                           030047P001-1488A-002E                           030048P001-1488A-002E                          030049P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030050P001-1488A-002E                           030051P001-1488A-002E                           030052P001-1488A-002E                          030053P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030054P001-1488A-002E                           030055P001-1488A-002E                           030056P001-1488A-002E                          030057P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030058P001-1488A-002E                           030060P001-1488A-002E                           030061P001-1488A-002E                          030062P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030064P001-1488A-002E                           030065P001-1488A-002E                           030066P001-1488A-002E                          030067P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030068P001-1488A-002E                           030069P001-1488A-002E                           030070P001-1488A-002E                          030071P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030072P001-1488A-002E                           030073P001-1488A-002E                           030074P001-1488A-002E                          030075P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030076P001-1488A-002E                           030077P001-1488A-002E                           030078P001-1488A-002E                          030080P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030081P001-1488A-002E                           030084P001-1488A-002E                           030085P001-1488A-002E                          030086P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030087P001-1488A-002E                           030088P001-1488A-002E                           030089P001-1488A-002E                          030091P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030092P001-1488A-002E                           030094P001-1488A-002E                           030095P001-1488A-002E                          030096P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030097P001-1488A-002E                           030098P001-1488A-002E                           030099P001-1488A-002E                          030100P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030101P001-1488A-002E                           030102P001-1488A-002E                           030103P001-1488A-002E                          030104P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030105P001-1488A-002E                           030106P001-1488A-002E                           030107P001-1488A-002E                          030108P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030109P001-1488A-002E                           030110P001-1488A-002E                           030111P001-1488A-002E                          030112P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030113P001-1488A-002E                           030114P001-1488A-002E                           030115P001-1488A-002E                          030116P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030117P001-1488A-002E                           030118P001-1488A-002E                           030119P001-1488A-002E                          030120P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030122P001-1488A-002E                           030123P001-1488A-002E                           030124P001-1488A-002E                          030125P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030126P001-1488A-002E                           030127P001-1488A-002E                           030129P001-1488A-002E                          030130P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030131P001-1488A-002E                           030132P001-1488A-002E                           030133P001-1488A-002E                          030134P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030136P001-1488A-002E                           030137P001-1488A-002E                           030138P001-1488A-002E                          030139P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030140P001-1488A-002E                           030141P001-1488A-002E                           030143P001-1488A-002E                          030144P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030145P001-1488A-002E                           030146P001-1488A-002E                           030147P001-1488A-002E                          030148P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030154P001-1488A-002E                           030155P001-1488A-002E                           030157P001-1488A-002E                          030158P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030159P001-1488A-002E                           030160P001-1488A-002E                           030161P001-1488A-002E                          030163P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030165P001-1488A-002E                           030166P001-1488A-002E                           030168P001-1488A-002E                          030169P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030170P001-1488A-002E                           030171P001-1488A-002E                           030172P001-1488A-002E                          030173P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030174P001-1488A-002E                           030175P001-1488A-002E                           030177P001-1488A-002E                          030178P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030179P001-1488A-002E                           030181P001-1488A-002E                           030184P001-1488A-002E                          030185P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030186P001-1488A-002E                           030187P001-1488A-002E                           030188P001-1488A-002E                          030189P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030191P001-1488A-002E                           030192P001-1488A-002E                           030194P001-1488A-002E                          030195P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030196P001-1488A-002E                           030197P001-1488A-002E                           030198P001-1488A-002E                          030202P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030203P001-1488A-002E                           030204P001-1488A-002E                           030205P001-1488A-002E                          030206P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030207P001-1488A-002E                           030208P001-1488A-002E                           030209P001-1488A-002E                          030210P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030211P001-1488A-002E                           030212P001-1488A-002E                           030213P001-1488A-002E                          030215P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030216P001-1488A-002E                           030217P001-1488A-002E                           030220P001-1488A-002E                          030222P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030224P001-1488A-002E                           030225P001-1488A-002E                           030228P001-1488A-002E                          030229P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030230P001-1488A-002E                           030231P001-1488A-002E                           030232P001-1488A-002E                          030233P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030234P001-1488A-002E                           030235P001-1488A-002E                           030239P001-1488A-002E                          030240P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030241P001-1488A-002E                           030242P001-1488A-002E                           030243P001-1488A-002E                          030244P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030246P001-1488A-002E                           030247P001-1488A-002E                           030248P001-1488A-002E                          030249P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030250P001-1488A-002E                           030251P001-1488A-002E                           030252P001-1488A-002E                          030253P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030254P001-1488A-002E                           030255P001-1488A-002E                           030256P001-1488A-002E                          030257P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030259P001-1488A-002E                           030262P001-1488A-002E                           030263P001-1488A-002E                          030264P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030265P001-1488A-002E                           030266P001-1488A-002E                           030268P001-1488A-002E                          030269P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030270P001-1488A-002E                           030271P001-1488A-002E                           030272P001-1488A-002E                          030273P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030274P001-1488A-002E                           030275P001-1488A-002E                           030276P001-1488A-002E                          030278P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030279P001-1488A-002E                           030280P001-1488A-002E                           030281P001-1488A-002E                          030282P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030283P001-1488A-002E                           030286P001-1488A-002E                           030287P001-1488A-002E                          030288P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030289P001-1488A-002E                           030290P001-1488A-002E                           030291P001-1488A-002E                          030292P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030293P001-1488A-002E                           030294P001-1488A-002E                           030295P001-1488A-002E                          030296P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030297P002-1488A-002E                           030298P001-1488A-002E                           030300P002-1488A-002E                          030303P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030304P001-1488A-002E                           030306P001-1488A-002E                           030307P001-1488A-002E                          030308P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030309P001-1488A-002E                           030310P001-1488A-002E                           030312P001-1488A-002E                          030313P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030314P001-1488A-002E                           030315P001-1488A-002E                           030316P001-1488A-002E                          030317P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030318P001-1488A-002E                           030320P001-1488A-002E                           030321P001-1488A-002E                          030323P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030324P001-1488A-002E                           030325P001-1488A-002E                           030326P001-1488A-002E                          030327P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030328P001-1488A-002E                           030329P001-1488A-002E                           030330P001-1488A-002E                          030331P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030333P001-1488A-002E                           030334P002-1488A-002E                           030336P001-1488A-002E                          030337P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030339P001-1488A-002E                           030340P001-1488A-002E                           030341P001-1488A-002E                          030342P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030343P001-1488A-002E                           030344P001-1488A-002E                           030345P001-1488A-002E                          030346P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030347P001-1488A-002E                           030349P001-1488A-002E                           030350P001-1488A-002E                          030351P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030352P002-1488A-002E                           030354P001-1488A-002E                           030355P001-1488A-002E                          030356P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030357P001-1488A-002E                           030358P001-1488A-002E                           030359P001-1488A-002E                          030360P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030361P001-1488A-002E                           030362P001-1488A-002E                           030363P001-1488A-002E                          030365P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030366P001-1488A-002E                           030367P001-1488A-002E                           030368P001-1488A-002E                          030369P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030370P001-1488A-002E                           030371P001-1488A-002E                           030372P001-1488A-002E                          030373P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030374P001-1488A-002E                           030375P001-1488A-002E                           030376P001-1488A-002E                          030377P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030378P001-1488A-002E                           030379P001-1488A-002E                           030380P001-1488A-002E                          030381P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030382P001-1488A-002E                           030383P001-1488A-002E                           030384P001-1488A-002E                          030385P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030386P001-1488A-002E                           030387P001-1488A-002E                           030389P001-1488A-002E                          030392P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030395P001-1488A-002E                           030396P001-1488A-002E                           030397P001-1488A-002E                          030398P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030399P001-1488A-002E                           030400P001-1488A-002E                           030401P001-1488A-002E                          030402P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030403P001-1488A-002E                           030405P001-1488A-002E                           030406P001-1488A-002E                          030407P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030408P001-1488A-002E                           030409P001-1488A-002E                           030410P001-1488A-002E                          030412P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030413P001-1488A-002E                           030415P001-1488A-002E                           030417P001-1488A-002E                          030418P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030419P001-1488A-002E                           030420P001-1488A-002E                           030421P001-1488A-002E                          030422P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030423P001-1488A-002E                           030424P001-1488A-002E                           030425P001-1488A-002E                          030426P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030428P001-1488A-002E                           030430P001-1488A-002E                           030431P001-1488A-002E                          030432P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030433P001-1488A-002E                           030434P001-1488A-002E                           030435P001-1488A-002E                          030436P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030437P002-1488A-002E                           030439P001-1488A-002E                           030440P001-1488A-002E                          030441P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030442P001-1488A-002E                           030444P001-1488A-002E                           030446P001-1488A-002E                          030447P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030450P001-1488A-002E                           030451P001-1488A-002E                           030454P001-1488A-002E                          030455P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030456P001-1488A-002E                           030457P001-1488A-002E                           030458P001-1488A-002E                          030459P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030460P001-1488A-002E                           030461P001-1488A-002E                           030462P001-1488A-002E                          030463P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030464P001-1488A-002E                           030465P001-1488A-002E                           030466P001-1488A-002E                          030467P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030468P001-1488A-002E                           030469P001-1488A-002E                           030470P001-1488A-002E                          030471P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030473P001-1488A-002E                           030474P001-1488A-002E                           030475P001-1488A-002E                          030476P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030477P001-1488A-002E                           030478P001-1488A-002E                           030479P001-1488A-002E                          030480P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030481P001-1488A-002E                           030483P001-1488A-002E                           030484P001-1488A-002E                          030485P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030486P001-1488A-002E                           030487P001-1488A-002E                           030488P001-1488A-002E                          030490P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030491P001-1488A-002E                           030494P001-1488A-002E                           030495P001-1488A-002E                          030496P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030497P001-1488A-002E                           030498P001-1488A-002E                           030499P001-1488A-002E                          030500P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030501P001-1488A-002E                           030502P001-1488A-002E                           030503P001-1488A-002E                          030504P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030505P001-1488A-002E                           030506P001-1488A-002E                           030507P001-1488A-002E                          030508P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030509P001-1488A-002E                           030512P001-1488A-002E                           030513P001-1488A-002E                          030514P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030515P001-1488A-002E                           030516P001-1488A-002E                           030517P001-1488A-002E                          030518P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030519P001-1488A-002E                           030520P001-1488A-002E                           030521P001-1488A-002E                          030522P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030523P001-1488A-002E                           030524P001-1488A-002E                           030525P001-1488A-002E                          030527P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030528P001-1488A-002E                           030529P001-1488A-002E                           030530P001-1488A-002E                          030531P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030532P001-1488A-002E                           030533P001-1488A-002E                           030534P001-1488A-002E                          030536P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030537P001-1488A-002E                           030538P001-1488A-002E                           030539P001-1488A-002E                          030540P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030541P001-1488A-002E                           030542P001-1488A-002E                           030543P001-1488A-002E                          030544P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030545P001-1488A-002E                           030547P001-1488A-002E                           030548P001-1488A-002E                          030550P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030551P001-1488A-002E                           030552P001-1488A-002E                           030553P001-1488A-002E                          030554P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030555P001-1488A-002E                           030556P001-1488A-002E                           030558P001-1488A-002E                          030559P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030560P001-1488A-002E                           030561P001-1488A-002E                           030564P001-1488A-002E                          030565P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030566P001-1488A-002E                           030567P001-1488A-002E                           030569P001-1488A-002E                          030570P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030571P001-1488A-002E                           030572P001-1488A-002E                           030573P001-1488A-002E                          030574P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030575P001-1488A-002E                           030576P001-1488A-002E                           030578P001-1488A-002E                          030579P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030580P001-1488A-002E                           030582P001-1488A-002E                           030583P001-1488A-002E                          030586P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030587P001-1488A-002E                           030588P001-1488A-002E                           030589P001-1488A-002E                          030590P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030591P001-1488A-002E                           030593P001-1488A-002E                           030594P001-1488A-002E                          030595P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030596P001-1488A-002E                           030597P001-1488A-002E                           030598P001-1488A-002E                          030600P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030601P001-1488A-002E                           030602P001-1488A-002E                           030603P001-1488A-002E                          030604P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030605P001-1488A-002E                           030606P001-1488A-002E                           030607P001-1488A-002E                          030608P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030609P001-1488A-002E                           030610P001-1488A-002E                           030612P001-1488A-002E                          030614P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030615P001-1488A-002E                           030617P001-1488A-002E                           030618P001-1488A-002E                          030619P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030620P001-1488A-002E                           030622P001-1488A-002E                           030623P001-1488A-002E                          030624P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030625P001-1488A-002E                           030626P001-1488A-002E                           030627P001-1488A-002E                          030628P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030629P002-1488A-002E                           030630P001-1488A-002E                           030632P001-1488A-002E                          030633P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030636P001-1488A-002E                           030637P001-1488A-002E                           030638P001-1488A-002E                          030639P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030640P001-1488A-002E                           030641P001-1488A-002E                           030642P001-1488A-002E                          030643P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030644P001-1488A-002E                           030646P001-1488A-002E                           030647P001-1488A-002E                          030649P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030650P001-1488A-002E                           030652P001-1488A-002E                           030653P001-1488A-002E                          030654P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030655P001-1488A-002E                           030657P001-1488A-002E                           030659P001-1488A-002E                          030660P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030661P001-1488A-002E                           030662P001-1488A-002E                           030663P001-1488A-002E                          030664P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030665P001-1488A-002E                           030667P001-1488A-002E                           030668P001-1488A-002E                          030669P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030671P001-1488A-002E                           030673P001-1488A-002E                           030674P001-1488A-002E                          030675P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030677P001-1488A-002E                           030678P001-1488A-002E                           030679P001-1488A-002E                          030681P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030682P001-1488A-002E                           030683P001-1488A-002E                           030684P001-1488A-002E                          030685P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030686P001-1488A-002E                           030687P001-1488A-002E                           030688P001-1488A-002E                          030689P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030690P001-1488A-002E                           030691P001-1488A-002E                           030692P001-1488A-002E                          030693P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030694P001-1488A-002E                           030695P001-1488A-002E                           030696P001-1488A-002E                          030697P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030698P001-1488A-002E                           030700P001-1488A-002E                           030703P001-1488A-002E                          030704P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030705P001-1488A-002E                           030706P001-1488A-002E                           030707P001-1488A-002E                          030709P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030710P001-1488A-002E                           030712P001-1488A-002E                           030713P001-1488A-002E                          030715P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030716P001-1488A-002E                           030717P001-1488A-002E                           030720P001-1488A-002E                          030721P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030722P001-1488A-002E                           030726P001-1488A-002E                           030731P001-1488A-002E                          030732P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030733P001-1488A-002E                           030735P001-1488A-002E                           030737P001-1488A-002E                          030738P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030740P001-1488A-002E                           030741P001-1488A-002E                           030742P001-1488A-002E                          030743P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030746P001-1488A-002E                           030747P001-1488A-002E                           030749P001-1488A-002E                          030750P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030751P001-1488A-002E                           030752P001-1488A-002E                           030753P001-1488A-002E                          030754P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030755P001-1488A-002E                           030756P001-1488A-002E                           030757P001-1488A-002E                          030759P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030760P001-1488A-002E                           030761P001-1488A-002E                           030762P001-1488A-002E                          030763P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030765P001-1488A-002E                           030766P001-1488A-002E                           030767P001-1488A-002E                          030768P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030769P001-1488A-002E                           030772P001-1488A-002E                           030775P001-1488A-002E                          030776P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030777P001-1488A-002E                           030778P001-1488A-002E                           030779P001-1488A-002E                          030780P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030782P001-1488A-002E                           030783P001-1488A-002E                           030784P001-1488A-002E                          030786P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030787P001-1488A-002E                           030788P001-1488A-002E                           030789P001-1488A-002E                          030790P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030794P001-1488A-002E                           030795P001-1488A-002E                           030796P001-1488A-002E                          030797P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030798P001-1488A-002E                           030799P001-1488A-002E                           030801P001-1488A-002E                          030802P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030803P001-1488A-002E                           030804P001-1488A-002E                           030805P001-1488A-002E                          030806P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030807P001-1488A-002E                           030808P001-1488A-002E                           030810P001-1488A-002E                          030811P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030812P001-1488A-002E                           030814P001-1488A-002E                           030815P001-1488A-002E                          030816P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030817P001-1488A-002E                           030819P001-1488A-002E                           030820P001-1488A-002E                          030823P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030825P001-1488A-002E                           030826P001-1488A-002E                           030827P001-1488A-002E                          030829P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030830P001-1488A-002E                           030831P001-1488A-002E                           030832P001-1488A-002E                          030833P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030834P001-1488A-002E                           030835P001-1488A-002E                           030836P001-1488A-002E                          030837P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030838P001-1488A-002E                           030843P001-1488A-002E                           030846P001-1488A-002E                          030847P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030848P001-1488A-002E                           030849P001-1488A-002E                           030850P001-1488A-002E                          030852P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030853P001-1488A-002E                           030854P001-1488A-002E                           030855P002-1488A-002E                          030856P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030858P001-1488A-002E                           030859P001-1488A-002E                           030860P001-1488A-002E                          030861P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030862P001-1488A-002E                           030863P001-1488A-002E                           030866P001-1488A-002E                          030867P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030869P001-1488A-002E                           030870P001-1488A-002E                           030872P001-1488A-002E                          030873P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030874P001-1488A-002E                           030875P001-1488A-002E                           030876P001-1488A-002E                          030877P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030878P001-1488A-002E                           030879P001-1488A-002E                           030881P001-1488A-002E                          030882P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030883P001-1488A-002E                           030885P001-1488A-002E                           030887P001-1488A-002E                          030888P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030889P001-1488A-002E                           030890P001-1488A-002E                           030891P001-1488A-002E                          030892P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030894P001-1488A-002E                           030895P001-1488A-002E                           030897P001-1488A-002E                          030898P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030900P001-1488A-002E                           030901P001-1488A-002E                           030903P001-1488A-002E                          030904P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030905P001-1488A-002E                           030906P001-1488A-002E                           030907P001-1488A-002E                          030908P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030909P001-1488A-002E                           030910P001-1488A-002E                           030911P001-1488A-002E                          030912P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030915P001-1488A-002E                           030916P001-1488A-002E                           030917P001-1488A-002E                          030918P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030919P001-1488A-002E                           030920P001-1488A-002E                           030921P001-1488A-002E                          030922P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030923P001-1488A-002E                           030924P001-1488A-002E                           030925P001-1488A-002E                          030927P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030928P001-1488A-002E                           030929P001-1488A-002E                           030930P001-1488A-002E                          030931P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030932P001-1488A-002E                           030933P001-1488A-002E                           030934P001-1488A-002E                          030935P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030936P001-1488A-002E                           030937P001-1488A-002E                           030938P001-1488A-002E                          030939P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030940P001-1488A-002E                           030941P001-1488A-002E                           030942P001-1488A-002E                          030943P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030945P001-1488A-002E                           030946P001-1488A-002E                           030948P001-1488A-002E                          030949P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030950P001-1488A-002E                           030951P001-1488A-002E                           030952P001-1488A-002E                          030954P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030955P001-1488A-002E                           030956P001-1488A-002E                           030957P001-1488A-002E                          030959P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030961P001-1488A-002E                           030962P001-1488A-002E                           030963P001-1488A-002E                          030965P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030966P001-1488A-002E                           030967P001-1488A-002E                           030968P001-1488A-002E                          030969P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030970P001-1488A-002E                           030971P001-1488A-002E                           030972P001-1488A-002E                          030973P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030974P001-1488A-002E                           030975P001-1488A-002E                           030976P001-1488A-002E                          030977P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030978P001-1488A-002E                           030979P001-1488A-002E                           030980P001-1488A-002E                          030981P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030983P001-1488A-002E                           030984P001-1488A-002E                           030985P001-1488A-002E                          030986P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030987P001-1488A-002E                           030988P001-1488A-002E                           030989P001-1488A-002E                          030990P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030991P001-1488A-002E                           030992P001-1488A-002E                           030993P001-1488A-002E                          030994P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030995P001-1488A-002E                           030996P001-1488A-002E                           030997P001-1488A-002E                          030998P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030999P001-1488A-002E                           031001P001-1488A-002E                           031002P001-1488A-002E                          031003P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031004P001-1488A-002E                           031005P001-1488A-002E                           031008P001-1488A-002E                          031009P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031010P001-1488A-002E                           031011P001-1488A-002E                           031012P001-1488A-002E                          031013P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031014P001-1488A-002E                           031015P001-1488A-002E                           031016P001-1488A-002E                          031018P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031019P001-1488A-002E                           031020P001-1488A-002E                           031021P001-1488A-002E                          031022P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031023P001-1488A-002E                           031024P001-1488A-002E                           031025P001-1488A-002E                          031026P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031027P001-1488A-002E                           031028P001-1488A-002E                           031030P001-1488A-002E                          031031P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031033P001-1488A-002E                           031034P002-1488A-002E                           031036P001-1488A-002E                          031037P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031039P001-1488A-002E                           031040P001-1488A-002E                           031041P001-1488A-002E                          031043P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031044P001-1488A-002E                           031045P001-1488A-002E                           031046P001-1488A-002E                          031047P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031053P001-1488A-002E                           031054P001-1488A-002E                           031056P001-1488A-002E                          031057P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031058P001-1488A-002E                           031061P001-1488A-002E                           031062P001-1488A-002E                          031063P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031064P001-1488A-002E                           031065P001-1488A-002E                           031066P001-1488A-002E                          031067P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031068P001-1488A-002E                           031069P001-1488A-002E                           031070P001-1488A-002E                          031071P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031072P001-1488A-002E                           031076P001-1488A-002E                           031078P001-1488A-002E                          031079P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031080P001-1488A-002E                           031081P001-1488A-002E                           031082P001-1488A-002E                          031084P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031085P001-1488A-002E                           031086P001-1488A-002E                           031088P001-1488A-002E                          031089P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031090P001-1488A-002E                           031091P001-1488A-002E                           031093P001-1488A-002E                          031094P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031095P001-1488A-002E                           031096P001-1488A-002E                           031097P001-1488A-002E                          031098P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031099P001-1488A-002E                           031100P001-1488A-002E                           031101P001-1488A-002E                          031102P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031103P001-1488A-002E                           031104P001-1488A-002E                           031105P001-1488A-002E                          031106P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031109P001-1488A-002E                           031110P001-1488A-002E                           031112P001-1488A-002E                          031114P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031115P001-1488A-002E                           031118P001-1488A-002E                           031119P001-1488A-002E                          031120P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031123P001-1488A-002E                           031126P001-1488A-002E                           031127P001-1488A-002E                          031130P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031132P001-1488A-002E                           031133P001-1488A-002E                           031138P001-1488A-002E                          031139P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031141P001-1488A-002E                           031142P001-1488A-002E                           031143P001-1488A-002E                          031144P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031145P001-1488A-002E                           031146P001-1488A-002E                           031148P001-1488A-002E                          031149P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031151P001-1488A-002E                           031152P001-1488A-002E                           031153P001-1488A-002E                          031154P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031155P001-1488A-002E                           031156P001-1488A-002E                           031157P001-1488A-002E                          031158P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031159P001-1488A-002E                           031160P001-1488A-002E                           031161P001-1488A-002E                          031162P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031163P001-1488A-002E                           031165P001-1488A-002E                           031166P001-1488A-002E                          031167P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031168P001-1488A-002E                           031169P001-1488A-002E                           031170P001-1488A-002E                          031171P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031172P001-1488A-002E                           031173P001-1488A-002E                           031174P001-1488A-002E                          031175P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031176P001-1488A-002E                           031177P001-1488A-002E                           031179P001-1488A-002E                          031181P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031184P001-1488A-002E                           031185P001-1488A-002E                           031186P001-1488A-002E                          031187P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031188P001-1488A-002E                           031190P001-1488A-002E                           031191P001-1488A-002E                          031193P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031194P001-1488A-002E                           031195P001-1488A-002E                           031196P001-1488A-002E                          031197P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031199P001-1488A-002E                           031200P001-1488A-002E                           031201P001-1488A-002E                          031202P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031203P001-1488A-002E                           031206P001-1488A-002E                           031207P001-1488A-002E                          031208P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031209P001-1488A-002E                           031211P001-1488A-002E                           031212P001-1488A-002E                          031214P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031216P001-1488A-002E                           031217P001-1488A-002E                           031219P001-1488A-002E                          031220P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031221P001-1488A-002E                           031222P001-1488A-002E                           031223P001-1488A-002E                          031224P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031226P001-1488A-002E                           031227P001-1488A-002E                           031229P001-1488A-002E                          031230P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031231P001-1488A-002E                           031232P001-1488A-002E                           031233P001-1488A-002E                          031234P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031235P001-1488A-002E                           031236P001-1488A-002E                           031237P001-1488A-002E                          031240P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031241P001-1488A-002E                           031243P001-1488A-002E                           031244P001-1488A-002E                          031245P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031246P001-1488A-002E                           031248P001-1488A-002E                           031249P001-1488A-002E                          031250P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031251P001-1488A-002E                           031252P001-1488A-002E                           031253P001-1488A-002E                          031256P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031257P001-1488A-002E                           031258P001-1488A-002E                           031259P001-1488A-002E                          031260P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031261P001-1488A-002E                           031262P001-1488A-002E                           031267P001-1488A-002E                          031268P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031270P001-1488A-002E                           031272P001-1488A-002E                           031273P001-1488A-002E                          031275P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031277P001-1488A-002E                           031279P001-1488A-002E                           031280P001-1488A-002E                          031281P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031282P001-1488A-002E                           031283P001-1488A-002E                           031285P001-1488A-002E                          031286P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031287P001-1488A-002E                           031288P001-1488A-002E                           031289P001-1488A-002E                          031290P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031291P001-1488A-002E                           031292P001-1488A-002E                           031294P001-1488A-002E                          031295P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031298P001-1488A-002E                           031299P001-1488A-002E                           031300P001-1488A-002E                          031301P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031302P001-1488A-002E                           031303P001-1488A-002E                           031307P001-1488A-002E                          031308P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031309P001-1488A-002E                           031311P001-1488A-002E                           031314P001-1488A-002E                          031317P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031320P001-1488A-002E                           031321P001-1488A-002E                           031323P001-1488A-002E                          031324P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031327P001-1488A-002E                           031328P001-1488A-002E                           031329P001-1488A-002E                          031330P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031331P001-1488A-002E                           031332P001-1488A-002E                           031333P001-1488A-002E                          031334P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031335P001-1488A-002E                           031336P001-1488A-002E                           031337P001-1488A-002E                          031339P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031340P001-1488A-002E                           031341P001-1488A-002E                           031343P001-1488A-002E                          031344P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031352P001-1488A-002E                           031353P001-1488A-002E                           031354P001-1488A-002E                          031355P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031357P001-1488A-002E                           031358P001-1488A-002E                           031359P001-1488A-002E                          031360P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031361P001-1488A-002E                           031362P001-1488A-002E                           031364P001-1488A-002E                          031366P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031367P001-1488A-002E                           031368P001-1488A-002E                           031369P001-1488A-002E                          031371P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031373P001-1488A-002E                           031375P001-1488A-002E                           031376P001-1488A-002E                          031378P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031379P001-1488A-002E                           031380P001-1488A-002E                           031382P001-1488A-002E                          031384P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031385P001-1488A-002E                           031386P001-1488A-002E                           031387P001-1488A-002E                          031392P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031393P001-1488A-002E                           031394P001-1488A-002E                           031395P001-1488A-002E                          031396P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031397P001-1488A-002E                           031398P001-1488A-002E                           031399P001-1488A-002E                          031400P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031401P001-1488A-002E                           031405P001-1488A-002E                           031406P001-1488A-002E                          031407P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031408P001-1488A-002E                           031409P001-1488A-002E                           031410P001-1488A-002E                          031411P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031413P001-1488A-002E                           031414P001-1488A-002E                           031416P001-1488A-002E                          031418P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031419P001-1488A-002E                           031420P001-1488A-002E                           031422P001-1488A-002E                          031424P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031425P001-1488A-002E                           031426P001-1488A-002E                           031427P001-1488A-002E                          031428P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031429P001-1488A-002E                           031430P001-1488A-002E                           031432P001-1488A-002E                          031433P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031434P001-1488A-002E                           031435P001-1488A-002E                           031436P001-1488A-002E                          031437P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031438P001-1488A-002E                           031439P001-1488A-002E                           031440P001-1488A-002E                          031442P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031443P001-1488A-002E                           031444P001-1488A-002E                           031446P001-1488A-002E                          031449P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031450P001-1488A-002E                           031451P001-1488A-002E                           031453P001-1488A-002E                          031454P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031455P001-1488A-002E                           031456P001-1488A-002E                           031457P001-1488A-002E                          031458P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031459P001-1488A-002E                           031460P001-1488A-002E                           031461P001-1488A-002E                          031462P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031463P001-1488A-002E                           031464P001-1488A-002E                           031466P001-1488A-002E                          031467P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031468P001-1488A-002E                           031470P001-1488A-002E                           031473P001-1488A-002E                          031476P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031479P001-1488A-002E                           031480P001-1488A-002E                           031483P001-1488A-002E                          031484P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031485P001-1488A-002E                           031487P001-1488A-002E                           031488P001-1488A-002E                          031489P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031490P001-1488A-002E                           031491P001-1488A-002E                           031492P001-1488A-002E                          031493P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031494P001-1488A-002E                           031495P001-1488A-002E                           031496P001-1488A-002E                          031497P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031498P001-1488A-002E                           031499P001-1488A-002E                           031500P001-1488A-002E                          031501P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031502P001-1488A-002E                           031503P001-1488A-002E                           031504P001-1488A-002E                          031505P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031506P001-1488A-002E                           031507P001-1488A-002E                           031509P001-1488A-002E                          031510P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031511P001-1488A-002E                           031513P001-1488A-002E                           031514P001-1488A-002E                          031515P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031516P001-1488A-002E                           031517P001-1488A-002E                           031519P001-1488A-002E                          031520P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031521P001-1488A-002E                           031522P001-1488A-002E                           031524P001-1488A-002E                          031525P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031526P001-1488A-002E                           031527P001-1488A-002E                           031529P001-1488A-002E                          031531P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031534P001-1488A-002E                           031537P001-1488A-002E                           031539P001-1488A-002E                          031541P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031542P001-1488A-002E                           031543P001-1488A-002E                           031545P001-1488A-002E                          031550P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031552P001-1488A-002E                           031553P001-1488A-002E                           031554P001-1488A-002E                          031555P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031556P001-1488A-002E                           031557P001-1488A-002E                           031558P001-1488A-002E                          031559P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031560P001-1488A-002E                           031562P001-1488A-002E                           031563P001-1488A-002E                          031564P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031565P001-1488A-002E                           031566P001-1488A-002E                           031567P001-1488A-002E                          031568P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031569P001-1488A-002E                           031570P001-1488A-002E                           031571P001-1488A-002E                          031573P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031574P001-1488A-002E                           031575P001-1488A-002E                           031576P001-1488A-002E                          031578P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031579P001-1488A-002E                           031581P001-1488A-002E                           031582P001-1488A-002E                          031583P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031584P001-1488A-002E                           031585P001-1488A-002E                           031587P001-1488A-002E                          031588P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031589P001-1488A-002E                           031590P001-1488A-002E                           031591P001-1488A-002E                          031594P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031595P001-1488A-002E                           031596P001-1488A-002E                           031597P001-1488A-002E                          031598P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031599P001-1488A-002E                           031600P001-1488A-002E                           031601P001-1488A-002E                          031603P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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031604P001-1488A-002E                           031605P001-1488A-002E                           031606P001-1488A-002E                          031608P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031609P001-1488A-002E                           031610P001-1488A-002E                           031611P001-1488A-002E                          031613P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031616P001-1488A-002E                           031617P001-1488A-002E                           031618P001-1488A-002E                          031621P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031622P001-1488A-002E                           031623P001-1488A-002E                           031624P001-1488A-002E                          031625P002-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031627P001-1488A-002E                           031628P001-1488A-002E                           031629P001-1488A-002E                          031631P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031632P001-1488A-002E                           031633P001-1488A-002E                           031634P001-1488A-002E                          031637P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031642P001-1488A-002E                           031643P001-1488A-002E                           031644P001-1488A-002E                          031645P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031646P001-1488A-002E                           031647P001-1488A-002E                           031648P001-1488A-002E                          031649P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031650P001-1488A-002E                           031653P001-1488A-002E                           031654P001-1488A-002E                          031655P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031656P001-1488A-002E                           031657P001-1488A-002E                           031658P001-1488A-002E                          031659P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031660P001-1488A-002E                           031661P001-1488A-002E                           031662P001-1488A-002E                          031664P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031672P001-1488A-002E                           031673P001-1488A-002E                           031674P001-1488A-002E                          031675P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031676P001-1488A-002E                           031678P002-1488A-002E                           031680P002-1488A-002E                          031681P001-1488A-002E
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031682P001-1488A-002E                           031683P001-1488A-002E                           031684P001-1488A-002E                          031686P001-1488A-002E
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




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LOMBP.LAW@GMAIL.COM




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031693P001-1488A-002F                         031694P001-1488A-002F                     031695P001-1488A-002F                         031696P001-1488A-002F
ABN AMRO CLEARING CHICAGO LLC                 ABN AMRO CLEARING CHICAGO LLC             ABN AMRO CLEARING CHICAGO LLC/INSTITUTIONAL   ABN AMRO SECURITIES (USA) LLC
PORTFOLIO MARGINING                           KIM VILARA                                KIM VILARA                                    ROBERT ALONGI
SUE NOWICKI                                   175 W JACKSON BLVD                        175 W JACKSON BLVD                            VICE PRESIDENT
175 W JACKSON BLVD                            STE 400                                   STE 400                                       100 PK AVE
STE 400                                       CHICAGO IL 60605                          CHICAGO IL 60605                              17TH FL
CHICAGO IL 60604                              KVILARA@EOCONNOR.COM                      KVILARA@EOCONNOR.COM                          NEW YORK NY 10017
SUE.NOWICKI@FORTISCLEARINGAMERICAS.COM                                                                                                ROBERT.ALONGI@US.MEESPIERSON.COM

031697P001-1488A-002F                         031698P001-1488A-002F                     031698P001-1488A-002F                         031698P001-1488A-002F
ABN AMRO SECURITIES (USA) LLC/A/C#2           ADR-CITI                                  ADR-CITI                                      ADR-CITI
ROBERT ALONGI                                 TOM CRANE                                 TOM CRANE                                     TOM CRANE
VICE PRESIDENT                                111 WALL ST                               111 WALL ST                                   111 WALL ST
100 PK AVE                                    20TH FLOOR/ZONE 7                         20TH FLOOR/ZONE 7                             20TH FLOOR/ZONE 7
17TH FL                                       NEW YORK NY 10043                         NEW YORK NY 10043                             NEW YORK NY 10043
NEW YORK NY 10017                             GTS.CAEC.TPA@CITI.COM                     MARIANNE.SULLIVAN@CITI.COM                    PAOLA.PRINS@CITI.COM
ROBERT.ALONGI@US.MEESPIERSON.COM

031698P001-1488A-002F                         031698P001-1488A-002F                     031698P001-1488A-002F                         031698P001-1488A-002F
ADR-CITI                                      ADR-CITI                                  ADR-CITI                                      ADR-CITI
TOM CRANE                                     TOM CRANE                                 TOM CRANE                                     TOM CRANE
111 WALL ST                                   111 WALL ST                               111 WALL ST                                   111 WALL ST
20TH FLOOR/ZONE 7                             20TH FLOOR/ZONE 7                         20TH FLOOR/ZONE 7                             20TH FLOOR/ZONE 7
NEW YORK NY 10043                             NEW YORK NY 10043                         NEW YORK NY 10043                             NEW YORK NY 10043
DARYL.SLATER@CITI.COM                         MICHAEL.FENNER@CITI.COM                   THEOPHILUS.CHAN@CITI.COM                      PRABHA.L.BATNI@CITI.COM


031698P001-1488A-002F                         031698P001-1488A-002F                     031699P001-1488A-002F                         031700P001-1488A-002F
ADR-CITI                                      ADR-CITI                                  ALBERT FRIED AND CO LLC/STOCK LOAN            ALBERT FRIED AND COMPANY, LLC
TOM CRANE                                     TOM CRANE                                 ALFRED SCARANGELLO                            ANTHONY KATSINGRIS
111 WALL ST                                   111 WALL ST                               45 BROADWAY                                   45 BROADWAY
20TH FLOOR/ZONE 7                             20TH FLOOR/ZONE 7                         24TH FL                                       24TH FL
NEW YORK NY 10043                             NEW YORK NY 10043                         NEW YORK NY 10006                             NEW YORK NY 10006
ANN.E.NOBBE@CITI.COM                                                                    ASCARANGELLO@ALBERTFRIED.COM                  AKATSINGRIS@ALBERTFRIED.COM


031701P001-1488A-002F                         031701P001-1488A-002F                     031701P001-1488A-002F                         031701P001-1488A-002F
AMALGAMATED BANK OF CHICAGO                   AMALGAMATED BANK OF CHICAGO               AMALGAMATED BANK OF CHICAGO                   AMALGAMATED BANK OF CHICAGO
ROGER SCHAEFFER                               ROGER SCHAEFFER                           ROGER SCHAEFFER                               ROGER SCHAEFFER
1 W MONROE ST                                 1 W MONROE ST                             1 W MONROE ST                                 1 W MONROE ST
CHICAGO IL 60603                              CHICAGO IL 60603                          CHICAGO IL 60603                              CHICAGO IL 60603
BSMITH@ABOC.COM                               RGARCIA@ABOC.COM                          RSCHAEFFER@ABOC.COM                           ARODRIGUEZ@ABOC.COM




031701P001-1488A-002F                         031702P001-1488A-002F                     031702P001-1488A-002F                         031702P001-1488A-002F
AMALGAMATED BANK OF CHICAGO                   AMALGAMATED BANK OF CHICAGO/IPA           AMALGAMATED BANK OF CHICAGO/IPA               AMALGAMATED BANK OF CHICAGO/IPA
ROGER SCHAEFFER                               BERNETTA SMITH                            BERNETTA SMITH                                BERNETTA SMITH
1 W MONROE ST                                 TRUST OPERATIONS OFFICER                  TRUST OPERATIONS OFFICER                      TRUST OPERATIONS OFFICER
CHICAGO IL 60603                              ONE WEST MONROE ST                        ONE WEST MONROE ST                            ONE WEST MONROE ST
MMURRAY@ABOC.COM                              CHICAGO IL 60603                          CHICAGO IL 60603                              CHICAGO IL 60603
                                              BSMITH@ABOC.COM                           RGARCIA@ABOC.COM                              RSCHAEFFER@ABOC.COM
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031702P001-1488A-002F                         031702P001-1488A-002F                            031703P001-1488A-002F                    031703P001-1488A-002F
AMALGAMATED BANK OF CHICAGO/IPA               AMALGAMATED BANK OF CHICAGO/IPA                  AMERICAN ENTERPRISE INVESTMENT SVC INC   AMERICAN ENTERPRISE INVESTMENT SVC INC
BERNETTA SMITH                                BERNETTA SMITH                                   REORG DEPT                               REORG DEPT
TRUST OPERATIONS OFFICER                      TRUST OPERATIONS OFFICER                         2178 AMERIPRISE FINANCIAL CTR            2178 AMERIPRISE FINANCIAL CTR
ONE WEST MONROE ST                            ONE WEST MONROE ST                               ROUTING: S6/2178                         ROUTING: S6/2178
CHICAGO IL 60603                              CHICAGO IL 60603                                 MINNEAPOLIS MN 55474                     MINNEAPOLIS MN 55474
ARODRIGUEZ@ABOC.COM                           MMURRAY@ABOC.COM                                 REORG@AMPF.COM                           GREGORY.A.WRAALSTAD@AMPF.COM


031704P001-1488A-002F                         031704P001-1488A-002F                            031705P001-1488A-002F                    031706P001-1488A-002F
AMERICAN ENTERPRISE INVESTMENT SVC INC        AMERICAN ENTERPRISE INVESTMENT SVC INC           AMERICAN ENTERPRISE INVESTMENT SVC INC   AMERICAN ENTERPRISE INVESTMENT SVC INC
CORPORATE ACTIONS                             CORPORATE ACTIONS                                PENNY ZALESKY                            GREG WRAALSTAD
2178 AMERIPRISE FINANCIAL                     2178 AMERIPRISE FINANCIAL                        2178 AMERIPRISE FINANCIAL CTR            CORPORATE ACTIONS
ROUTING S6/2178                               ROUTING S6/2178                                  ROUTING: S6/2178                         901 3RD AVE SOUTH
MINNEAPOLIS MN 55474                          MINNEAPOLIS MN 55474                             MINNEAPOLIS MN 55474                     MINNEAPOLIS MN 55474
GREGORY.A.WRAALSTAD@AMPF.COM                  REORG@AMPF.COM                                   GREGORY.A.WRAALSTAD@AMPF.COM             GREGORY.A.WRAALSTAD@AMPF.COM


031707P001-1488A-002F                         031708P001-1488A-002F                            031709P001-1488A-002F                    031709P001-1488A-002F
AMERICAN ENTERPRISE INVESTMENT SVC INC        AMERICAN ENTERPRISE INVESTMENT SVC INCCONDUIT    APEX CLEARING CORP                       APEX CLEARING CORP
ERIN M STIELER                                TOM EBERHART                                     BILIANA STOIMENOVA                       BILIANA STOIMENOVA
682 AMP FINANCIAL CTR                         CORPORATE ACTIONS                                1700 PACIFIC AVE                         1700 PACIFIC AVE
MINNEAPOLIS MN 55474                          2723 AMERIPRISE FINANCIAL CTR                    STE 1400                                 STE 1400
GREGORY.A.WRAALSTAD@AMPF.COM                  MINNEAPOLIS MN 55474                             DALLAS TX 75201                          DALLAS TX 75201
                                              GREGORY.A.WRAALSTAD@AMPF.COM                     FRANK.A.CONTI@RIDGECLEARING.COM          CORPORATEACTIONS@APEXCLEARING.COM


031710P001-1488A-002F                         031711P001-1488A-002F                            000939P001-1488A-002F                    031712P001-1488A-002F
APEX CLEARING CORP                            APEX CLEARING CORPORATION                        APEX CLEARING, LLC                       BANK NEW YORK MELLON
BRIAN DARBY                                   APEX CLEARING STOCK LOAN                         1700 PACIFIC AVE STE 1400                FIRM ITC-INVESTMENT DEALER
ONE DALLAS CTR                                1700 PACIFIC AVE                                 DALLAS TX 75201-4617                     CORPORATE ACTIONS
350 M ST PAUL STE 1300                        STE 1400                                         CORPORATEACTIONS@APEXCLEARING.COM        525 WILLIAM PENN PL
DALLAS TX 75201                               DALLAS TX 75201                                                                           PITTSBURGH PA 15259
CORPORATEACTIONS@APEXCLEARING.COM             CORPORATEACTIONS@APEXCLEARING.COM                                                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031712P001-1488A-002F                         031712P001-1488A-002F                            031712P001-1488A-002F                    031712P001-1488A-002F
BANK NEW YORK MELLON                          BANK NEW YORK MELLON                             BANK NEW YORK MELLON                     BANK NEW YORK MELLON
FIRM ITC-INVESTMENT DEALER                    FIRM ITC-INVESTMENT DEALER                       FIRM ITC-INVESTMENT DEALER               FIRM ITC-INVESTMENT DEALER
CORPORATE ACTIONS                             CORPORATE ACTIONS                                CORPORATE ACTIONS                        CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                    JMICHAEL.JOHNSONJR@BNYMELLON.COM


031712P001-1488A-002F                         031712P001-1488A-002F                            031713P001-1488A-002F                    031713P001-1488A-002F
BANK NEW YORK MELLON                          BANK NEW YORK MELLON                             BANK OF AMERICA NA/CLIENT ASSETS         BANK OF AMERICA NA/CLIENT ASSETS
FIRM ITC-INVESTMENT DEALER                    FIRM ITC-INVESTMENT DEALER                       PHILLIP DUQUIN                           PHILLIP DUQUIN
CORPORATE ACTIONS                             CORPORATE ACTIONS                                135 SOUTH LASALLE ST                     135 SOUTH LASALLE ST
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              STE 1860                                 STE 1860
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              CHICAGO IL 60603                         CHICAGO IL 60603
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               EARL.WEEKS@BAML.COM                      CPACTIONSMLPROREORG@BAML.COM
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031713P001-1488A-002F                              031713P001-1488A-002F                           031713P001-1488A-002F                         031713P001-1488A-002F
BANK OF AMERICA NA/CLIENT ASSETS                   BANK OF AMERICA NA/CLIENT ASSETS                BANK OF AMERICA NA/CLIENT ASSETS              BANK OF AMERICA NA/CLIENT ASSETS
PHILLIP DUQUIN                                     PHILLIP DUQUIN                                  PHILLIP DUQUIN                                PHILLIP DUQUIN
135 SOUTH LASALLE ST                               135 SOUTH LASALLE ST                            135 SOUTH LASALLE ST                          135 SOUTH LASALLE ST
STE 1860                                           STE 1860                                        STE 1860                                      STE 1860
CHICAGO IL 60603                                   CHICAGO IL 60603                                CHICAGO IL 60603                              CHICAGO IL 60603
GMISAMRSIPBCORPACT@BAML.COM                        GMISAMRSIPBPROXYVOT@BAML.COM                    CPACTIONSLITIGATION@BANKOFAMERICA.COM         SEC_OPS_PROXY@BAML.COM


031714P001-1488A-002F                              031714P001-1488A-002F                           031714P001-1488A-002F                         031714P001-1488A-002F
BANK OF AMERICA, NAGWIM TRUST OPERATIONS           BANK OF AMERICA, NAGWIM TRUST OPERATIONS        BANK OF AMERICA, NAGWIM TRUST OPERATIONS      BANK OF AMERICA, NAGWIM TRUST OPERATIONS
SHARON BROWN                                       SHARON BROWN                                    SHARON BROWN                                  SHARON BROWN
1201 MAIN ST                                       1201 MAIN ST                                    1201 MAIN ST                                  1201 MAIN ST
9TH FL                                             9TH FL                                          9TH FL                                        9TH FL
DALLAS TX 75202                                    DALLAS TX 75202                                 DALLAS TX 75202                               DALLAS TX 75202
EARL.WEEKS@BAML.COM                                CPACTIONSMLPROREORG@BAML.COM                    GMISAMRSIPBCORPACT@BAML.COM                   GMISAMRSIPBPROXYVOT@BAML.COM


031714P001-1488A-002F                              031714P001-1488A-002F                           031715P001-1488A-002F                         031715P001-1488A-002F
BANK OF AMERICA, NAGWIM TRUST OPERATIONS           BANK OF AMERICA, NAGWIM TRUST OPERATIONS        BANK OF AMERICA, NATIONAL ASSOCIATION         BANK OF AMERICA, NATIONAL ASSOCIATION
SHARON BROWN                                       SHARON BROWN                                    YOLANDA MARSH                                 YOLANDA MARSH
1201 MAIN ST                                       1201 MAIN ST                                    1401 ELM ST                                   1401 ELM ST
9TH FL                                             9TH FL                                          16TH FL                                       16TH FL
DALLAS TX 75202                                    DALLAS TX 75202                                 DALLAS TX 75202                               DALLAS TX 75202
CPACTIONSLITIGATION@BANKOFAMERICA.COM              SEC_OPS_PROXY@BAML.COM                          EARL.WEEKS@BAML.COM                           CPACTIONSMLPROREORG@BAML.COM


031715P001-1488A-002F                              031715P001-1488A-002F                           031715P001-1488A-002F                         031715P001-1488A-002F
BANK OF AMERICA, NATIONAL ASSOCIATION              BANK OF AMERICA, NATIONAL ASSOCIATION           BANK OF AMERICA, NATIONAL ASSOCIATION         BANK OF AMERICA, NATIONAL ASSOCIATION
YOLANDA MARSH                                      YOLANDA MARSH                                   YOLANDA MARSH                                 YOLANDA MARSH
1401 ELM ST                                        1401 ELM ST                                     1401 ELM ST                                   1401 ELM ST
16TH FL                                            16TH FL                                         16TH FL                                       16TH FL
DALLAS TX 75202                                    DALLAS TX 75202                                 DALLAS TX 75202                               DALLAS TX 75202
GMISAMRSIPBCORPACT@BAML.COM                        GMISAMRSIPBPROXYVOT@BAML.COM                    CPACTIONSLITIGATION@BANKOFAMERICA.COM         SEC_OPS_PROXY@BAML.COM


031716P001-1488A-002F                              031716P001-1488A-002F                           031716P001-1488A-002F                         031716P001-1488A-002F
BANK OF AMERICALASALLE BANK NAIPA, DTC 1581        BANK OF AMERICALASALLE BANK NAIPA, DTC 1581     BANK OF AMERICALASALLE BANK NAIPA, DTC 1581   BANK OF AMERICALASALLE BANK NAIPA, DTC 1581
GEORGE EARL                                        GEORGE EARL                                     GEORGE EARL                                   GEORGE EARL
ASSISTANT VICE PRESIDENT                           ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                      ASSISTANT VICE PRESIDENT
135 S LASALLE ST                                   135 S LASALLE ST                                135 S LASALLE ST                              135 S LASALLE ST
STE 1860                                           STE 1860                                        STE 1860                                      STE 1860
CHICAGO IL 60603                                   CHICAGO IL 60603                                CHICAGO IL 60603                              CHICAGO IL 60603
EARL.WEEKS@BAML.COM                                CPACTIONSMLPROREORG@BAML.COM                    GMISAMRSIPBCORPACT@BAML.COM                   GMISAMRSIPBPROXYVOT@BAML.COM

031716P001-1488A-002F                              031716P001-1488A-002F                           031717P001-1488A-002F                         031717P001-1488A-002F
BANK OF AMERICALASALLE BANK NAIPA, DTC 1581        BANK OF AMERICALASALLE BANK NAIPA, DTC 1581     BANK OF NOVA SCOTIA/BNS LONDON/CDS**          BANK OF NOVA SCOTIA/BNS LONDON/CDS**
GEORGE EARL                                        GEORGE EARL                                     CORPORATE ACTIONS                             CORPORATE ACTIONS
ASSISTANT VICE PRESIDENT                           ASSISTANT VICE PRESIDENT                        40 KING ST WEST                               40 KING ST WEST
135 S LASALLE ST                                   135 S LASALLE ST                                SCOTIA PLZ                                    SCOTIA PLZ
STE 1860                                           STE 1860                                        TORONTO ON M5H 1H1                            TORONTO ON M5H 1H1
CHICAGO IL 60603                                   CHICAGO IL 60603                                CANADA                                        CANADA
CPACTIONSLITIGATION@BANKOFAMERICA.COM              SEC_OPS_PROXY@BAML.COM                          TINA.PHUNG@SCOTIABANK.COM                     ISS.REORG@SCOTIABANK.COM
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031718P001-1488A-002F                 031718P001-1488A-002F                         031718P001-1488A-002F        031719P001-1488A-002F
BANKERS' BANK                         BANKERS' BANK                                 BANKERS' BANK                BARCLAYS CAPITAL INCBARCLAYS CAPIT
JENNIFER ROZINSKI                     JENNIFER ROZINSKI                             JENNIFER ROZINSKI            CORPORATE ACTIONS
7700 MINERAL PT RD                    7700 MINERAL PT RD                            7700 MINERAL PT RD           200 CEDAR KNOLLS RD
MADISON WI 53717                      MADISON WI 53717                              MADISON WI 53717             CORPORATE ACTIONS
JROZINSKI@BANKERSBANKUSA.COM          VLAFOND@BANKERSBANKUSA.COM                    JKLUCK@BANKERSBANKUSA.COM    WHIPPANY NJ 07981
                                                                                                                 CORPORATEACTIONSU@BARCLAYS.COM


031720P001-1488A-002F                 031721P001-1488A-002F                         031721P001-1488A-002F        031721P001-1488A-002F
BARCLAYS CAPITAL INCLE                BB AND T SECURITIES, LLC                      BB AND T SECURITIES, LLC     BB AND T SECURITIES, LLC
GIOVANNA LAURELLA                     CORPORATE ACTIONS                             CORPORATE ACTIONS            CORPORATE ACTIONS
VICE PRESIDENT                        200 S COLLEGE ST 8TH FL                       200 S COLLEGE ST 8TH FL      200 S COLLEGE ST 8TH FL
70 HUDSON ST                          CHARLOTTE NC 28202                            CHARLOTTE NC 28202           CHARLOTTE NC 28202
7TH FL                                DIVIDENDS@BBTSECURITIES.COM                   JSPROUSE@BBTSECURITIES.COM
JERSEY CITY NJ 07302
GLAURELLA@BARCLAYSCAPITAL.COM

031722P001-1488A-002F                 031723P001-1488A-002F                         031724P001-1488A-002F        031725P001-1488A-002F
BB AND T SECURITIES, LLC              BB AND T SECURITIES, LLC                      BBS SECURITIES INCCDS**      BBVA SECURITIES INC
MARY GLASSCOCK                        JESSE W SPROUSE                               CORPORATE ACTIONS            THOMAS REILLY
8006 DISCOVERY DR                     8006 DISCOVERY DR                             4100 YONGE ST                1345 AVE OF THE AMERICAS
RICHMOND VA 23229-8600                STE 200                                       STE 415                      45TH FL
DIVIDENDS@BBTSECURITIES.COM           RICHMOND VA 23229                             TORONTO ON M2P 2B5           NEW YORK NY 10105
                                      DIVIDENDS@BBTSECURITIES.COM                   CANADA                       THOMAS.REILLY@BBVANY.COM
                                                                                    INFO@BBSSECURITIES.COM

031725P001-1488A-002F                 031725P001-1488A-002F                         031725P001-1488A-002F        031725P001-1488A-002F
BBVA SECURITIES INC                   BBVA SECURITIES INC                           BBVA SECURITIES INC          BBVA SECURITIES INC
THOMAS REILLY                         THOMAS REILLY                                 THOMAS REILLY                THOMAS REILLY
1345 AVE OF THE AMERICAS              1345 AVE OF THE AMERICAS                      1345 AVE OF THE AMERICAS     1345 AVE OF THE AMERICAS
45TH FL                               45TH FL                                       45TH FL                      45TH FL
NEW YORK NY 10105                     NEW YORK NY 10105                             NEW YORK NY 10105            NEW YORK NY 10105
CRYSTAL.LAMAR@BBVACOMPASS.COM         CRYSTAL.LAMAR@BBVA.COM                        BROKERHOTLINE.US@BBVA.COM    NY.FOST.SUPPORT.GROUP@BBVA.COM


031726P001-1488A-002F                 031726P001-1488A-002F                         031727P001-1488A-002F        031727P001-1488A-002F
BGC FINANCIAL LPBGC BROKERS LP        BGC FINANCIAL LPBGC BROKERS LP                BGC FINANCIAL, LP            BGC FINANCIAL, LP
ALFREDO ARCHIBALD                     ALFREDO ARCHIBALD                             ALFREDO ARCHIBALD            ALFREDO ARCHIBALD
ASSISTANT VICE PRESIDENT              ASSISTANT VICE PRESIDENT                      VICE PRESIDENT               VICE PRESIDENT
110 EAST 59TH ST                      110 EAST 59TH ST                              110 E 59TH ST                110 E 59TH ST
7TH FL                                7TH FL                                        7TH FL                       7TH FL
NEW YORK NY 10022                     NEW YORK NY 10022                             NEW YORK NY 10005            NEW YORK NY 10005
AARCHIBALD@CANTOR.COM                 CORPORATEACTIONS-NY@BGCPARTNERS.COM           AARCHIBALD@CANTOR.COM        CORPORATEACTIONS-NY@BGCPARTNERS.COM

031728P001-1488A-002F                 031728P001-1488A-002F                         031728P001-1488A-002F        031728P001-1488A-002F
BMO CAPITAL MARKETS CORP              BMO CAPITAL MARKETS CORP                      BMO CAPITAL MARKETS CORP     BMO CAPITAL MARKETS CORP
RONALD FIGUERAS                       RONALD FIGUERAS                               RONALD FIGUERAS              RONALD FIGUERAS
3 SECOND ST 12TH FL                   3 SECOND ST 12TH FL                           3 SECOND ST 12TH FL          3 SECOND ST 12TH FL
HARBORSIDE PLZ 10                     HARBORSIDE PLZ 10                             HARBORSIDE PLZ 10            HARBORSIDE PLZ 10
JERSEY CITY NJ 07302                  JERSEY CITY NJ 07302                          JERSEY CITY NJ 07302         JERSEY CITY NJ 07302
RONALD.FIGUERAS@BMO.COM               NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM     BMOCMSETTLEMENTS.NEWYORK@BMO.COM
                                   Case 22-90032 Document 69GWG  Holdings,
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031728P001-1488A-002F                   031729P001-1488A-002F                      031729P001-1488A-002F              031729P001-1488A-002F
BMO CAPITAL MARKETS CORP                BMO CAPITAL MARKETS CORP                   BMO CAPITAL MARKETS CORP           BMO CAPITAL MARKETS CORP
RONALD FIGUERAS                         CORPORATE ACTIONS                          CORPORATE ACTIONS                  CORPORATE ACTIONS
3 SECOND ST 12TH FL                     250 YONGE ST 8TH FL                        250 YONGE ST 8TH FL                250 YONGE ST 8TH FL
HARBORSIDE PLZ 10                       TORONTO ON M5B 2M8                         TORONTO ON M5B 2M8                 TORONTO ON M5B 2M8
JERSEY CITY NJ 07302                    CANADA                                     CANADA                             CANADA
BMOGAM.SLOPERATIONS@BMO.COM             NBOPS.PROXY@BMO.COM                        DINA.FERNANDES@BMONB.COM           BMOCMSETTLEMENTS.NEWYORK@BMO.COM


031729P001-1488A-002F                   031730P001-1488A-002F                      031730P001-1488A-002F              031730P001-1488A-002F
BMO CAPITAL MARKETS CORP                BMO CAPITAL MARKETS CORPPALOMA             BMO CAPITAL MARKETS CORPPALOMA     BMO CAPITAL MARKETS CORPPALOMA
CORPORATE ACTIONS                       JOHN FINERTY                               JOHN FINERTY                       JOHN FINERTY
250 YONGE ST 8TH FL                     3 TIMES SQUARE                             3 TIMES SQUARE                     3 TIMES SQUARE
TORONTO ON M5B 2M8                      NEW YORK NY 10036                          NEW YORK NY 10036                  NEW YORK NY 10036
CANADA                                  NBOPS.PROXY@BMO.COM                        DINA.FERNANDES@BMONB.COM           BMOCMSETTLEMENTS.NEWYORK@BMO.COM
BMOGAM.SLOPERATIONS@BMO.COM


031730P001-1488A-002F                   031731P001-1488A-002F                      031731P001-1488A-002F              031731P001-1488A-002F
BMO CAPITAL MARKETS CORPPALOMA          BMO HARRIS BANK NA                         BMO HARRIS BANK NA                 BMO HARRIS BANK NA
JOHN FINERTY                            PHUTHORN PENIKETT                          PHUTHORN PENIKETT                  PHUTHORN PENIKETT
3 TIMES SQUARE                          250 YONGE ST                               250 YONGE ST                       250 YONGE ST
NEW YORK NY 10036                       8TH FL                                     8TH FL                             8TH FL
BMOGAM.SLOPERATIONS@BMO.COM             TORONTO ON M5B 2M8                         TORONTO ON M5B 2M8                 TORONTO ON M5B 2M8
                                        CANADA                                     CANADA                             CANADA
                                        PHUTHORN.PENIKETT@BMONB.COM                NBOPS.PROXY@BMO.COM                DINA.FERNANDES@BMONB.COM

031731P001-1488A-002F                   031731P001-1488A-002F                      031732P001-1488A-002F              031732P001-1488A-002F
BMO HARRIS BANK NA                      BMO HARRIS BANK NA                         BMO HARRIS BANK NA                 BMO HARRIS BANK NA
PHUTHORN PENIKETT                       PHUTHORN PENIKETT                          NINA BENASZESKI-SPECHT             NINA BENASZESKI-SPECHT
250 YONGE ST                            250 YONGE ST                               111 E KILBOURN AVE STE 200         111 E KILBOURN AVE STE 200
8TH FL                                  8TH FL                                     MIWAUKEE WI 53202                  MIWAUKEE WI 53202
TORONTO ON M5B 2M8                      TORONTO ON M5B 2M8                         NINA.BENASZESKI@BMO.COM            NBOPS.PROXY@BMO.COM
CANADA                                  CANADA
BMOCMSETTLEMENTS.NEWYORK@BMO.COM        BMOGAM.SLOPERATIONS@BMO.COM

031732P001-1488A-002F                   031732P001-1488A-002F                      031732P001-1488A-002F              031733P001-1488A-002F
BMO HARRIS BANK NA                      BMO HARRIS BANK NA                         BMO HARRIS BANK NA                 BMO HARRIS BANK NA
NINA BENASZESKI-SPECHT                  NINA BENASZESKI-SPECHT                     NINA BENASZESKI-SPECHT             CORPORATE ACTIONS
111 E KILBOURN AVE STE 200              111 E KILBOURN AVE STE 200                 111 E KILBOURN AVE STE 200         IGOR LUKIC
MIWAUKEE WI 53202                       MIWAUKEE WI 53202                          MIWAUKEE WI 53202                  111 E KILBOURN AVE
DINA.FERNANDES@BMONB.COM                BMOCMSETTLEMENTS.NEWYORK@BMO.COM           BMOGAM.SLOPERATIONS@BMO.COM        STE 200
                                                                                                                      MILWAUKEE WI 53202
                                                                                                                      INVOPS-FL@BMO.COM

031733P001-1488A-002F                   031733P001-1488A-002F                      031733P001-1488A-002F              031733P001-1488A-002F
BMO HARRIS BANK NA                      BMO HARRIS BANK NA                         BMO HARRIS BANK NA                 BMO HARRIS BANK NA
CORPORATE ACTIONS                       CORPORATE ACTIONS                          CORPORATE ACTIONS                  CORPORATE ACTIONS
IGOR LUKIC                              IGOR LUKIC                                 IGOR LUKIC                         IGOR LUKIC
111 E KILBOURN AVE                      111 E KILBOURN AVE                         111 E KILBOURN AVE                 111 E KILBOURN AVE
STE 200                                 STE 200                                    STE 200                            STE 200
MILWAUKEE WI 53202                      MILWAUKEE WI 53202                         MILWAUKEE WI 53202                 MILWAUKEE WI 53202
NBOPS.PROXY@BMO.COM                     DINA.FERNANDES@BMONB.COM                   BMOCMSETTLEMENTS.NEWYORK@BMO.COM   BMOGAM.SLOPERATIONS@BMO.COM
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031734P001-1488A-002F                      031734P001-1488A-002F                         031734P001-1488A-002F                 031734P001-1488A-002F
BMO HARRIS BANK NA                         BMO HARRIS BANK NA                            BMO HARRIS BANK NA                    BMO HARRIS BANK NA
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
DESIREE ROBINSON                           DESIREE ROBINSON                              DESIREE ROBINSON                      DESIREE ROBINSON
111 E KILBOURN AVE                         111 E KILBOURN AVE                            111 E KILBOURN AVE                    111 E KILBOURN AVE
STE 200                                    STE 200                                       STE 200                               STE 200
MILWAUKEE WI 53202                         MILWAUKEE WI 53202                            MILWAUKEE WI 53202                    MILWAUKEE WI 53202
DESIREE.ROBINSON@BMO.COM                   NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM              BMOCMSETTLEMENTS.NEWYORK@BMO.COM

031734P001-1488A-002F                      031735P001-1488A-002F                         031735P001-1488A-002F                 031735P001-1488A-002F
BMO HARRIS BANK NA                         BMO HARRIS BANK NA/DEALER                     BMO HARRIS BANK NA/DEALER             BMO HARRIS BANK NA/DEALER
CORPORATE ACTIONS                          LENORA NEWELL                                 LENORA NEWELL                         LENORA NEWELL
DESIREE ROBINSON                           111 WEST MONROE                               111 WEST MONROE                       111 WEST MONROE
111 E KILBOURN AVE                         CHICAGO IL 60690                              CHICAGO IL 60690                      CHICAGO IL 60690
STE 200                                    NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM              BMOCMSETTLEMENTS.NEWYORK@BMO.COM
MILWAUKEE WI 53202
BMOGAM.SLOPERATIONS@BMO.COM

031735P001-1488A-002F                      031736P001-1488A-002F                         031736P001-1488A-002F                 031736P001-1488A-002F
BMO HARRIS BANK NA/DEALER                  BMO HARRIS BANK NA/IPA                        BMO HARRIS BANK NA/IPA                BMO HARRIS BANK NA/IPA
LENORA NEWELL                              ISSUER SVC                                    ISSUER SVC                            ISSUER SVC
111 WEST MONROE                            51 MERCEDES WAY                               51 MERCEDES WAY                       51 MERCEDES WAY
CHICAGO IL 60690                           EDGEWOOD NY 11717                             EDGEWOOD NY 11717                     EDGEWOOD NY 11717
BMOGAM.SLOPERATIONS@BMO.COM                NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM              BMOCMSETTLEMENTS.NEWYORK@BMO.COM




031736P001-1488A-002F                      031737P001-1488A-002F                         031737P001-1488A-002F                 031737P001-1488A-002F
BMO HARRIS BANK NA/IPA                     BMO HARRIS BANK NA/M AND I BANK IPA           BMO HARRIS BANK NA/M AND I BANK IPA   BMO HARRIS BANK NA/M AND I BANK IPA
ISSUER SVC                                 CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
51 MERCEDES WAY                            111 E KILBOURN AVE                            111 E KILBOURN AVE                    111 E KILBOURN AVE
EDGEWOOD NY 11717                          STE 200                                       STE 200                               STE 200
BMOGAM.SLOPERATIONS@BMO.COM                MILWAUKEE WI 53202                            MILWAUKEE WI 53202                    MILWAUKEE WI 53202
                                           NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM              BMOCMSETTLEMENTS.NEWYORK@BMO.COM


031737P001-1488A-002F                      031738P001-1488A-002F                         031738P001-1488A-002F                 031738P001-1488A-002F
BMO HARRIS BANK NA/M AND I BANK IPA        BMO HARRIS BANK NA/TRUST                      BMO HARRIS BANK NA/TRUST              BMO HARRIS BANK NA/TRUST
CORPORATE ACTIONS                          ISSUER SVC                                    ISSUER SVC                            ISSUER SVC
111 E KILBOURN AVE                         51 MERCEDES WAY                               51 MERCEDES WAY                       51 MERCEDES WAY
STE 200                                    EDGEWOOD NY 11717                             EDGEWOOD NY 11717                     EDGEWOOD NY 11717
MILWAUKEE WI 53202                         NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM              BMOCMSETTLEMENTS.NEWYORK@BMO.COM
BMOGAM.SLOPERATIONS@BMO.COM


031738P001-1488A-002F                      031739P001-1488A-002F                         031739P001-1488A-002F                 031739P001-1488A-002F
BMO HARRIS BANK NA/TRUST                   BMO NESBITT BURNS INC                         BMO NESBITT BURNS INC                 BMO NESBITT BURNS INC
ISSUER SVC                                 BMO NB EQUITY FINANCE CMLUK/CDS               BMO NB EQUITY FINANCE CMLUK/CDS       BMO NB EQUITY FINANCE CMLUK/CDS
51 MERCEDES WAY                            CORPORATE ACTIONS PHUTHORN PENIKETT           CORPORATE ACTIONS PHUTHORN PENIKETT   CORPORATE ACTIONS PHUTHORN PENIKETT
EDGEWOOD NY 11717                          250 YONGE ST                                  250 YONGE ST                          250 YONGE ST
BMOGAM.SLOPERATIONS@BMO.COM                14TH FL                                       14TH FL                               14TH FL
                                           TORONTO ON M5B 2M8                            TORONTO ON M5B 2M8                    TORONTO ON M5B 2M8
                                           CANADA                                        CANADA                                CANADA
                                           NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM              BMOCMSETTLEMENTS.NEWYORK@BMO.COM
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031739P001-1488A-002F                              031740P001-1488A-002F                           031740P001-1488A-002F                         031740P001-1488A-002F
BMO NESBITT BURNS INC                              BMO NESBITT BURNS INC                           BMO NESBITT BURNS INC                         BMO NESBITT BURNS INC
BMO NB EQUITY FINANCE CMLUK/CDS                    BMO NB EQUITY FINANCE BMIRE/CDS                 BMO NB EQUITY FINANCE BMIRE/CDS               BMO NB EQUITY FINANCE BMIRE/CDS
CORPORATE ACTIONS PHUTHORN PENIKETT                CORPORATE ACTIONS PHUTHORN PENIKETT             CORPORATE ACTIONS PHUTHORN PENIKETT           CORPORATE ACTIONS PHUTHORN PENIKETT
250 YONGE ST                                       250 YONGE ST                                    250 YONGE ST                                  250 YONGE ST
14TH FL                                            14TH FL                                         14TH FL                                       14TH FL
TORONTO ON M5B 2M8                                 TORONTO ON M5B 2M8                              TORONTO ON M5B 2M8                            TORONTO ON M5B 2M8
CANADA                                             CANADA                                          CANADA                                        CANADA
BMOGAM.SLOPERATIONS@BMO.COM                        NBOPS.PROXY@BMO.COM                             DINA.FERNANDES@BMONB.COM                      BMOCMSETTLEMENTS.NEWYORK@BMO.COM
031740P001-1488A-002F                              031741P001-1488A-002F                           031741P001-1488A-002F                         031741P001-1488A-002F
BMO NESBITT BURNS INC                              BMO NESBITT BURNS INCBMO TRUST COMPANYCDS**     BMO NESBITT BURNS INCBMO TRUST COMPANYCDS**   BMO NESBITT BURNS INCBMO TRUST COMPANYCDS**
BMO NB EQUITY FINANCE BMIRE/CDS                    ANDREA CONSTAND                                 ANDREA CONSTAND                               ANDREA CONSTAND
CORPORATE ACTIONS PHUTHORN PENIKETT                85 RICHMOND ST WEST                             85 RICHMOND ST WEST                           85 RICHMOND ST WEST
250 YONGE ST                                       TORONTO ON M5H 2C9                              TORONTO ON M5H 2C9                            TORONTO ON M5H 2C9
14TH FL                                            CANADA                                          CANADA                                        CANADA
TORONTO ON M5B 2M8                                 ANDREA.CONSTAND@BMONB.COM                       NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM
CANADA
BMOGAM.SLOPERATIONS@BMO.COM
031741P001-1488A-002F                              031741P001-1488A-002F                           031742P001-1488A-002F                         031742P001-1488A-002F
BMO NESBITT BURNS INCBMO TRUST COMPANYCDS**        BMO NESBITT BURNS INCBMO TRUST COMPANYCDS**     BMO NESBITT BURNS INCCDS**                    BMO NESBITT BURNS INCCDS**
ANDREA CONSTAND                                    ANDREA CONSTAND                                 CORPORATE ACTIONS                             CORPORATE ACTIONS
85 RICHMOND ST WEST                                85 RICHMOND ST WEST                             PHUTHORN PENIKETT                             PHUTHORN PENIKETT
TORONTO ON M5H 2C9                                 TORONTO ON M5H 2C9                              250 YONGE ST                                  250 YONGE ST
CANADA                                             CANADA                                          14TH FL                                       14TH FL
BMOCMSETTLEMENTS.NEWYORK@BMO.COM                   BMOGAM.SLOPERATIONS@BMO.COM                     TORONTO ON M5B 2M8                            TORONTO ON M5B 2M8
                                                                                                   CANADA                                        CANADA
                                                                                                   NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM
031742P001-1488A-002F                              031742P001-1488A-002F                           031743P001-1488A-002F                         031743P001-1488A-002F
BMO NESBITT BURNS INCCDS**                         BMO NESBITT BURNS INCCDS**                      BMO NESBITT BURNS INCCDS**                    BMO NESBITT BURNS INCCDS**
CORPORATE ACTIONS                                  CORPORATE ACTIONS                               CORPORATE ACTIONS                             CORPORATE ACTIONS
PHUTHORN PENIKETT                                  PHUTHORN PENIKETT                               LOUISE TORANGEAU PHUTHORN PENIKETT            LOUISE TORANGEAU PHUTHORN PENIKETT
250 YONGE ST                                       250 YONGE ST                                    1 FIRST CANADIAN PL 13TH FL                   1 FIRST CANADIAN PL 13TH FL
14TH FL                                            14TH FL                                         PO BOX 150                                    PO BOX 150
TORONTO ON M5B 2M8                                 TORONTO ON M5B 2M8                              TORONTO ON M5X 1H3                            TORONTO ON M5X 1H3
CANADA                                             CANADA                                          CANADA                                        CANADA
BMOCMSETTLEMENTS.NEWYORK@BMO.COM                   BMOGAM.SLOPERATIONS@BMO.COM                     NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM
031743P001-1488A-002F                              031743P001-1488A-002F                           031744P001-1488A-002F                         031744P001-1488A-002F
BMO NESBITT BURNS INCCDS**                         BMO NESBITT BURNS INCCDS**                      BMO NESBITT BURNS/INSTITUTIONAL/CDS**         BMO NESBITT BURNS/INSTITUTIONAL/CDS**
CORPORATE ACTIONS                                  CORPORATE ACTIONS                               CORPORATE ACTION                              CORPORATE ACTION
LOUISE TORANGEAU PHUTHORN PENIKETT                 LOUISE TORANGEAU PHUTHORN PENIKETT              PHUTHORN PENIKETT                             PHUTHORN PENIKETT
1 FIRST CANADIAN PL 13TH FL                        1 FIRST CANADIAN PL 13TH FL                     250 YONGE ST                                  250 YONGE ST
PO BOX 150                                         PO BOX 150                                      14TH FL                                       14TH FL
TORONTO ON M5X 1H3                                 TORONTO ON M5X 1H3                              TORONTO ON M5B 2M8                            TORONTO ON M5B 2M8
CANADA                                             CANADA                                          CANADA                                        CANADA
BMOCMSETTLEMENTS.NEWYORK@BMO.COM                   BMOGAM.SLOPERATIONS@BMO.COM                     NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM
031744P001-1488A-002F                              031744P001-1488A-002F                           031745P001-1488A-002F                         031745P001-1488A-002F
BMO NESBITT BURNS/INSTITUTIONAL/CDS**              BMO NESBITT BURNS/INSTITUTIONAL/CDS**           BMOCM/BONDS                                   BMOCM/BONDS
CORPORATE ACTION                                   CORPORATE ACTION                                EDWARD COLLETON                               EDWARD COLLETON
PHUTHORN PENIKETT                                  PHUTHORN PENIKETT                               3 TIMES SQUARE                                3 TIMES SQUARE
250 YONGE ST                                       250 YONGE ST                                    NEW YORK NY 10036                             NEW YORK NY 10036
14TH FL                                            14TH FL                                         NBOPS.PROXY@BMO.COM                           DINA.FERNANDES@BMONB.COM
TORONTO ON M5B 2M8                                 TORONTO ON M5B 2M8
CANADA                                             CANADA
BMOCMSETTLEMENTS.NEWYORK@BMO.COM                   BMOGAM.SLOPERATIONS@BMO.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031745P001-1488A-002F                         031745P001-1488A-002F                        031746P001-1488A-002F                           031747P001-1488A-002F
BMOCM/BONDS                                   BMOCM/BONDS                                  BNP PARIBAS PRIME BROKERAGE, INC                BNP PARIBAS PRIME BROKERAGE, INCSTOCK LENDING
EDWARD COLLETON                               EDWARD COLLETON                              RONALD PERSAUD                                  RONALD PERSAUD
3 TIMES SQUARE                                3 TIMES SQUARE                               525 WASHINGTON BLVD                             525 WASHINGTON BLVD
NEW YORK NY 10036                             NEW YORK NY 10036                            9TH FL                                          9TH FL
BMOCMSETTLEMENTS.NEWYORK@BMO.COM              BMOGAM.SLOPERATIONS@BMO.COM                  JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310
                                                                                           RONALD.PERSAUD@US.BNPPARIBAS.COM                RONALD.PERSAUD@US.BNPPARIBAS.COM


031748P001-1488A-002F                         031748P001-1488A-002F                        031749P001-1488A-002F                           031750P001-1488A-002F
BNP PARIBAS, NEW YORK BRANCH                  BNP PARIBAS, NEW YORK BRANCH                 BNP PARIBAS, NEW YORK BRANCHBNP PARIBAS PRIME   BNP PARIBAS, NEW YORK BRANCHBNP PARIBAS PRIME
MERLION/CLIENT ASSETS                         MERLION/CLIENT ASSETS                        BROKERAGE INTERNATIONAL                         BROKERAGE CUSTODIAN
CORPORATE ACTIONS                             CORPORATE ACTIONS                            RONALD PERSAUD                                  RONALD PERSAUD
787 7TH AVE                                   787 7TH AVE                                  525 WASHINGTON BLVD                             525 WASHINGTON BLVD
NEW YORK NY 10019                             NEW YORK NY 10019                            9TH FL                                          9TH FL
RUPERT.KENNEDY@AMERICAS.BNPPARIBAS.COM        RONALD.PERSAUD@US.BNPPARIBAS.COM             JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310
                                                                                           RONALD.PERSAUD@US.BNPPARIBAS.COM                RONALD.PERSAUD@US.BNPPARIBAS.COM

031751P001-1488A-002F                         031752P001-1488A-002F                        031752P001-1488A-002F                           031752P001-1488A-002F
BNP PARIBAS, NY BRANCH BNPP SA                BNY MELLON CAPITAL MARKETS, LLC              BNY MELLON CAPITAL MARKETS, LLC                 BNY MELLON CAPITAL MARKETS, LLC
RUPERT KENNEDY                                TINA HITCHINS                                TINA HITCHINS                                   TINA HITCHINS
ANALYST                                       ONE MELLON BANK CTR                          ONE MELLON BANK CTR                             ONE MELLON BANK CTR
787 7TH AVE                                   4TH FLOOR- 151-0440                          4TH FLOOR- 151-0440                             4TH FLOOR- 151-0440
8TH FL                                        PITTSBURGH PA 15258                          PITTSBURGH PA 15258                             PITTSBURGH PA 15258
NEW YORK NY 10019                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM
RUPERT.KENNEDY@AMERICAS.BNPPARIBAS.COM

031752P001-1488A-002F                         031752P001-1488A-002F                        031752P001-1488A-002F                           031753P001-1488A-002F
BNY MELLON CAPITAL MARKETS, LLC               BNY MELLON CAPITAL MARKETS, LLC              BNY MELLON CAPITAL MARKETS, LLC                 BNY MELLON WEALTH MANAGEMENT
TINA HITCHINS                                 TINA HITCHINS                                TINA HITCHINS                                   OPERATIONS DEPT
ONE MELLON BANK CTR                           ONE MELLON BANK CTR                          ONE MELLON BANK CTR                             BETH COYLE
4TH FLOOR- 151-0440                           4TH FLOOR- 151-0440                          4TH FLOOR- 151-0440                             TWO BNY MELLON CTR
PITTSBURGH PA 15258                           PITTSBURGH PA 15258                          PITTSBURGH PA 15258                             STE 1215
SZYROKI.DC@MELLON.COM                         PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM             PITTSBURGH PA 15222
                                                                                                                                           JMICHAEL.JOHNSONJR@BNYMELLON.COM

031753P001-1488A-002F                         031753P001-1488A-002F                        031753P001-1488A-002F                           031753P001-1488A-002F
BNY MELLON WEALTH MANAGEMENT                  BNY MELLON WEALTH MANAGEMENT                 BNY MELLON WEALTH MANAGEMENT                    BNY MELLON WEALTH MANAGEMENT
OPERATIONS DEPT                               OPERATIONS DEPT                              OPERATIONS DEPT                                 OPERATIONS DEPT
BETH COYLE                                    BETH COYLE                                   BETH COYLE                                      BETH COYLE
TWO BNY MELLON CTR                            TWO BNY MELLON CTR                           TWO BNY MELLON CTR                              TWO BNY MELLON CTR
STE 1215                                      STE 1215                                     STE 1215                                        STE 1215
PITTSBURGH PA 15222                           PITTSBURGH PA 15222                          PITTSBURGH PA 15222                             PITTSBURGH PA 15222
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM

031753P001-1488A-002F                         031753P001-1488A-002F                        031753P001-1488A-002F                           031753P001-1488A-002F
BNY MELLON WEALTH MANAGEMENT                  BNY MELLON WEALTH MANAGEMENT                 BNY MELLON WEALTH MANAGEMENT                    BNY MELLON WEALTH MANAGEMENT
OPERATIONS DEPT                               OPERATIONS DEPT                              OPERATIONS DEPT                                 OPERATIONS DEPT
BETH COYLE                                    BETH COYLE                                   BETH COYLE                                      BETH COYLE
TWO BNY MELLON CTR                            TWO BNY MELLON CTR                           TWO BNY MELLON CTR                              TWO BNY MELLON CTR
STE 1215                                      STE 1215                                     STE 1215                                        STE 1215
PITTSBURGH PA 15222                           PITTSBURGH PA 15222                          PITTSBURGH PA 15222                             PITTSBURGH PA 15222
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM
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BNY MELLON WEALTH MANAGEMENT               BNY MELLON WEALTH MANAGEMENT                 BNY MELLON WEALTH MANAGEMENT          BNY MELLON WEALTH MANAGEMENT
OPERATIONS DEPT                            OPERATIONS DEPT                              OPERATIONS DEPT                       OPERATIONS DEPT
TWO BNY MELLON CTR                         TWO BNY MELLON CTR                           TWO BNY MELLON CTR                    TWO BNY MELLON CTR
STE 1215                                   STE 1215                                     STE 1215                              STE 1215
PITTSBURGH PA 15222                        PITTSBURGH PA 15222                          PITTSBURGH PA 15222                   PITTSBURGH PA 15222
JMICHAEL.JOHNSONJR@BNYMELLON.COM           MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031754P001-1488A-002F                      031754P001-1488A-002F                        031754P001-1488A-002F                 031754P001-1488A-002F
BNY MELLON WEALTH MANAGEMENT               BNY MELLON WEALTH MANAGEMENT                 BNY MELLON WEALTH MANAGEMENT          BNY MELLON WEALTH MANAGEMENT
OPERATIONS DEPT                            OPERATIONS DEPT                              OPERATIONS DEPT                       OPERATIONS DEPT
TWO BNY MELLON CTR                         TWO BNY MELLON CTR                           TWO BNY MELLON CTR                    TWO BNY MELLON CTR
STE 1215                                   STE 1215                                     STE 1215                              STE 1215
PITTSBURGH PA 15222                        PITTSBURGH PA 15222                          PITTSBURGH PA 15222                   PITTSBURGH PA 15222
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM


031754P001-1488A-002F                      031758P001-1488A-002F                        031758P001-1488A-002F                 031758P001-1488A-002F
BNY MELLON WEALTH MANAGEMENT               BNY MELLON/HSBC BANK PLC                     BNY MELLON/HSBC BANK PLC              BNY MELLON/HSBC BANK PLC
OPERATIONS DEPT                            MICHAEL KANIA                                MICHAEL KANIA                         MICHAEL KANIA
TWO BNY MELLON CTR                         VICE PRESIDENT                               VICE PRESIDENT                        VICE PRESIDENT
STE 1215                                   525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15222                        PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM


031758P001-1488A-002F                      031758P001-1488A-002F                        031758P001-1488A-002F                 031760P001-1488A-002F
BNY MELLON/HSBC BANK PLC                   BNY MELLON/HSBC BANK PLC                     BNY MELLON/HSBC BANK PLC              BNY MELLON/NGFP COLLATERAL
MICHAEL KANIA                              MICHAEL KANIA                                MICHAEL KANIA                         DONNA STEINMAN
VICE PRESIDENT                             VICE PRESIDENT                               VICE PRESIDENT                        ASSISTANT TREASURER
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   11486 CORPORATE BLVD
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   STE 300
SZYROKI.DC@MELLON.COM                      PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM   ORLANDO FL 32817
                                                                                                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031760P001-1488A-002F                      031760P001-1488A-002F                        031760P001-1488A-002F                 031760P001-1488A-002F
BNY MELLON/NGFP COLLATERAL                 BNY MELLON/NGFP COLLATERAL                   BNY MELLON/NGFP COLLATERAL            BNY MELLON/NGFP COLLATERAL
DONNA STEINMAN                             DONNA STEINMAN                               DONNA STEINMAN                        DONNA STEINMAN
ASSISTANT TREASURER                        ASSISTANT TREASURER                          ASSISTANT TREASURER                   ASSISTANT TREASURER
11486 CORPORATE BLVD                       11486 CORPORATE BLVD                         11486 CORPORATE BLVD                  11486 CORPORATE BLVD
STE 300                                    STE 300                                      STE 300                               STE 300
ORLANDO FL 32817                           ORLANDO FL 32817                             ORLANDO FL 32817                      ORLANDO FL 32817
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM

031760P001-1488A-002F                      031761P001-1488A-002F                        031761P001-1488A-002F                 031761P001-1488A-002F
BNY MELLON/NGFP COLLATERAL                 BNY MELLON/NGFP MAIN                         BNY MELLON/NGFP MAIN                  BNY MELLON/NGFP MAIN
DONNA STEINMAN                             DONNA STEINMAN                               DONNA STEINMAN                        DONNA STEINMAN
ASSISTANT TREASURER                        ASSISTANT TREASURER                          ASSISTANT TREASURER                   ASSISTANT TREASURER
11486 CORPORATE BLVD                       11486 CORPORATE BLVD                         11486 CORPORATE BLVD                  11486 CORPORATE BLVD
STE 300                                    STE 300                                      STE 300                               STE 300
ORLANDO FL 32817                           ORLANDO FL 32817                             ORLANDO FL 32817                      ORLANDO FL 32817
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM
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031761P001-1488A-002F                             031761P001-1488A-002F                         031761P001-1488A-002F                        031762P001-1488A-002F
BNY MELLON/NGFP MAIN                              BNY MELLON/NGFP MAIN                          BNY MELLON/NGFP MAIN                         BNY MELLON/NOMURA CAPITAL MARKETS PLC REPO
DONNA STEINMAN                                    DONNA STEINMAN                                DONNA STEINMAN                               DONNA STEINMAN
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
11486 CORPORATE BLVD                              11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                           STE 300                                       STE 300                                      STE 300
ORLANDO FL 32817                                  ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
SZYROKI.DC@MELLON.COM                             PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031762P001-1488A-002F                             031762P001-1488A-002F                         031762P001-1488A-002F                        031762P001-1488A-002F
BNY MELLON/NOMURA CAPITAL MARKETS PLC REPO        BNY MELLON/NOMURA CAPITAL MARKETS PLC REPO    BNY MELLON/NOMURA CAPITAL MARKETS PLC REPO   BNY MELLON/NOMURA CAPITAL MARKETS PLC REPO
DONNA STEINMAN                                    DONNA STEINMAN                                DONNA STEINMAN                               DONNA STEINMAN
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
11486 CORPORATE BLVD                              11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                           STE 300                                       STE 300                                      STE 300
ORLANDO FL 32817                                  ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        PGHEVENTCREATION@BNYMELLON.COM

031762P001-1488A-002F                             031763P001-1488A-002F                         031763P001-1488A-002F                        031763P001-1488A-002F
BNY MELLON/NOMURA CAPITAL MARKETS PLC REPO        BNY MELLON/NOMURA INT'L PLC REPO              BNY MELLON/NOMURA INT'L PLC REPO             BNY MELLON/NOMURA INT'L PLC REPO
DONNA STEINMAN                                    CORP ACTION                                   CORP ACTION                                  CORP ACTION
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
11486 CORPORATE BLVD                              11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                           STE 300                                       STE 300                                      STE 300
ORLANDO FL 32817                                  ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
PGH.CA.EVENT.CREATION@BNYMELLON.COM               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

031763P001-1488A-002F                             031763P001-1488A-002F                         031763P001-1488A-002F                        031764P001-1488A-002F
BNY MELLON/NOMURA INT'L PLC REPO                  BNY MELLON/NOMURA INT'L PLC REPO              BNY MELLON/NOMURA INT'L PLC REPO             BNY MELLON/RABOBANK INTERNATIONAL
CORP ACTION                                       CORP ACTION                                   CORP ACTION                                  CASH EQUITY AMSTERDAM
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          MICHAEL KANIA, ASSISTANT TREASURER
11486 CORPORATE BLVD                              11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         525 WILLIAM PENN PL
STE 300                                           STE 300                                       STE 300                                      PITTSBURGH PA 15259
ORLANDO FL 32817                                  ORLANDO FL 32817                              ORLANDO FL 32817                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
SZYROKI.DC@MELLON.COM                             PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM

031764P001-1488A-002F                             031764P001-1488A-002F                         031764P001-1488A-002F                        031764P001-1488A-002F
BNY MELLON/RABOBANK INTERNATIONAL                 BNY MELLON/RABOBANK INTERNATIONAL             BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL
CASH EQUITY AMSTERDAM                             CASH EQUITY AMSTERDAM                         CASH EQUITY AMSTERDAM                        CASH EQUITY AMSTERDAM
MICHAEL KANIA, ASSISTANT TREASURER                MICHAEL KANIA, ASSISTANT TREASURER            MICHAEL KANIA, ASSISTANT TREASURER           MICHAEL KANIA, ASSISTANT TREASURER
525 WILLIAM PENN PL                               525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                               PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        PGHEVENTCREATION@BNYMELLON.COM


031764P001-1488A-002F                             031765P001-1488A-002F                         031765P001-1488A-002F                        031765P001-1488A-002F
BNY MELLON/RABOBANK INTERNATIONAL                 BNY MELLON/RABOBANK INTERNATIONAL             BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL
CASH EQUITY AMSTERDAM                             CASH EQUITY UTRECHT                           CASH EQUITY UTRECHT                          CASH EQUITY UTRECHT
MICHAEL KANIA, ASSISTANT TREASURER                MICHAEL KANIA, ASSISTANT TREASURER            MICHAEL KANIA, ASSISTANT TREASURER           MICHAEL KANIA, ASSISTANT TREASURER
525 WILLIAM PENN PL                               525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                               PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM
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031765P001-1488A-002F                        031765P001-1488A-002F                        031765P001-1488A-002F                   031766P001-1488A-002F
BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL       BNY MELLON/RABOBANK INTERNATIONAL
CASH EQUITY UTRECHT                          CASH EQUITY UTRECHT                          CASH EQUITY UTRECHT                     EQUITY DERIVATIVES HONG KONG
MICHAEL KANIA, ASSISTANT TREASURER           MICHAEL KANIA, ASSISTANT TREASURER           MICHAEL KANIA, ASSISTANT TREASURER      MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                          525 WILLIAM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                          PITTSBURGH PA 15259                     PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                        PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM     GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031766P001-1488A-002F                        031766P001-1488A-002F                        031766P001-1488A-002F                   031766P001-1488A-002F
BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL       BNY MELLON/RABOBANK INTERNATIONAL
EQUITY DERIVATIVES HONG KONG                 EQUITY DERIVATIVES HONG KONG                 EQUITY DERIVATIVES HONG KONG            EQUITY DERIVATIVES HONG KONG
MICHAEL KANIA, VICE PRESIDENT                MICHAEL KANIA, VICE PRESIDENT                MICHAEL KANIA, VICE PRESIDENT           MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                          525 WILLIAM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                          PITTSBURGH PA 15259                     PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                   PGHEVENTCREATION@BNYMELLON.COM


031766P001-1488A-002F                        031767P001-1488A-002F                        031767P001-1488A-002F                   031767P001-1488A-002F
BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL       BNY MELLON/RABOBANK INTERNATIONAL
EQUITY DERIVATIVES HONG KONG                 EQUITY DERIVATIVES LONDON                    EQUITY DERIVATIVES LONDON               EQUITY DERIVATIVES LONDON
MICHAEL KANIA, VICE PRESIDENT                MICHAEL KANIA, ASSISTANT TREASURER           MICHAEL KANIA, ASSISTANT TREASURER      MICHAEL KANIA, ASSISTANT TREASURER
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                          525 WILLIAM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                          PITTSBURGH PA 15259                     PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM                     JUSTIN.WHITEHOUSE@BNYMELLON.COM


031767P001-1488A-002F                        031767P001-1488A-002F                        031767P001-1488A-002F                   031755P001-1488A-002F
BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL            BNY MELLON/RABOBANK INTERNATIONAL       BNY MELLONANWORTH MORTGAGE ASSET CORP
EQUITY DERIVATIVES LONDON                    EQUITY DERIVATIVES LONDON                    EQUITY DERIVATIVES LONDON               DONNA STEINMAN
MICHAEL KANIA, ASSISTANT TREASURER           MICHAEL KANIA, ASSISTANT TREASURER           MICHAEL KANIA, ASSISTANT TREASURER      VICE PRESIDENT
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                          525 WILLIAM PENN PL                     11486 CORPORATE BLVD
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                          PITTSBURGH PA 15259                     STE 300
SZYROKI.DC@MELLON.COM                        PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM     ORLANDO FL 32817
                                                                                                                                  GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031755P001-1488A-002F                        031755P001-1488A-002F                        031755P001-1488A-002F                   031755P001-1488A-002F
BNY MELLONANWORTH MORTGAGE ASSET CORP        BNY MELLONANWORTH MORTGAGE ASSET CORP        BNY MELLONANWORTH MORTGAGE ASSET CORP   BNY MELLONANWORTH MORTGAGE ASSET CORP
DONNA STEINMAN                               DONNA STEINMAN                               DONNA STEINMAN                          DONNA STEINMAN
VICE PRESIDENT                               VICE PRESIDENT                               VICE PRESIDENT                          VICE PRESIDENT
11486 CORPORATE BLVD                         11486 CORPORATE BLVD                         11486 CORPORATE BLVD                    11486 CORPORATE BLVD
STE 300                                      STE 300                                      STE 300                                 STE 300
ORLANDO FL 32817                             ORLANDO FL 32817                             ORLANDO FL 32817                        ORLANDO FL 32817
PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                   PGHEVENTCREATION@BNYMELLON.COM

031755P001-1488A-002F                        031756P001-1488A-002F                        031756P001-1488A-002F                   031756P001-1488A-002F
BNY MELLONANWORTH MORTGAGE ASSET CORP        BNY MELLONCAPSTEAD MORTGAGE CORP             BNY MELLONCAPSTEAD MORTGAGE CORP        BNY MELLONCAPSTEAD MORTGAGE CORP
DONNA STEINMAN                               DONNA STEINMAN                               DONNA STEINMAN                          DONNA STEINMAN
VICE PRESIDENT                               VICE PRESIDENT                               VICE PRESIDENT                          VICE PRESIDENT
11486 CORPORATE BLVD                         11486 CORPORATE BLVD                         11486 CORPORATE BLVD                    11486 CORPORATE BLVD
STE 300                                      STE 300                                      STE 300                                 STE 300
ORLANDO FL 32817                             ORLANDO FL 32817                             ORLANDO FL 32817                        ORLANDO FL 32817
PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM                     JUSTIN.WHITEHOUSE@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031756P001-1488A-002F                         031756P001-1488A-002F                            031756P001-1488A-002F                    031757P001-1488A-002F
BNY MELLONCAPSTEAD MORTGAGE CORP              BNY MELLONCAPSTEAD MORTGAGE CORP                 BNY MELLONCAPSTEAD MORTGAGE CORP         BNY MELLONDE SHAW HELIANT CAPITAL LLC
DONNA STEINMAN                                DONNA STEINMAN                                   DONNA STEINMAN                           MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                           525 WILLIAM PENN PL
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                             11486 CORPORATE BLVD                     PITTSBURGH PA 15259
STE 300                                       STE 300                                          STE 300                                  GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
ORLANDO FL 32817                              ORLANDO FL 32817                                 ORLANDO FL 32817
SZYROKI.DC@MELLON.COM                         PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM

031757P001-1488A-002F                         031757P001-1488A-002F                            031757P001-1488A-002F                    031757P001-1488A-002F
BNY MELLONDE SHAW HELIANT CAPITAL LLC         BNY MELLONDE SHAW HELIANT CAPITAL LLC            BNY MELLONDE SHAW HELIANT CAPITAL LLC    BNY MELLONDE SHAW HELIANT CAPITAL LLC
MICHAEL KANIA                                 MICHAEL KANIA                                    MICHAEL KANIA                            MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                    PGHEVENTCREATION@BNYMELLON.COM




031757P001-1488A-002F                         031759P001-1488A-002F                            031759P001-1488A-002F                    031759P001-1488A-002F
BNY MELLONDE SHAW HELIANT CAPITAL LLC         BNY MELLONJEFFERIES AND CO                       BNY MELLONJEFFERIES AND CO               BNY MELLONJEFFERIES AND CO
MICHAEL KANIA                                 DONNA STEINMAN                                   DONNA STEINMAN                           DONNA STEINMAN
525 WILLIAM PENN PL                           11486 CORPORATE BLVD                             11486 CORPORATE BLVD                     11486 CORPORATE BLVD
PITTSBURGH PA 15259                           ORLANDO FL 32817                                 ORLANDO FL 32817                         ORLANDO FL 32817
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                      JUSTIN.WHITEHOUSE@BNYMELLON.COM




031759P001-1488A-002F                         031759P001-1488A-002F                            031759P001-1488A-002F                    031759P001-1488A-002F
BNY MELLONJEFFERIES AND CO                    BNY MELLONJEFFERIES AND CO                       BNY MELLONJEFFERIES AND CO               BNY MELLONJEFFERIES AND CO
DONNA STEINMAN                                DONNA STEINMAN                                   DONNA STEINMAN                           DONNA STEINMAN
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                             11486 CORPORATE BLVD                     11486 CORPORATE BLVD
ORLANDO FL 32817                              ORLANDO FL 32817                                 ORLANDO FL 32817                         ORLANDO FL 32817
SZYROKI.DC@MELLON.COM                         PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM      JEFFERIESREORG@BROADRIDGE.COM




031768P001-1488A-002F                         031768P001-1488A-002F                            031769P001-1488A-002F                    031769P001-1488A-002F
BNYM/HSBC US                                  BNYM/HSBC US                                     BNYM/UIT NSCC CNS CLEARANCE              BNYM/UIT NSCC CNS CLEARANCE
MICHAEL KANIA                                 MICHAEL KANIA                                    CORP ACTION                              CORP ACTION
VICE PRESIDENT                                VICE PRESIDENT                                   401 SOUTH SALINA ST                      401 SOUTH SALINA ST
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              2ND FL                                   2ND FL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              SYRACUSE NY 13202                        SYRACUSE NY 13202
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM           PGH.CA.EVENT.CREATION@BNYMELLON.COM


031770P001-1488A-002F                         031770P001-1488A-002F                            031770P001-1488A-002F                    031770P001-1488A-002F
BNYMELLON/                                    BNYMELLON/                                       BNYMELLON/                               BNYMELLON/
RE BARCLAYS BANK IRELAND TREASURY ACCT        RE BARCLAYS BANK IRELAND TREASURY ACCT           RE BARCLAYS BANK IRELAND TREASURY ACCT   RE BARCLAYS BANK IRELAND TREASURY ACCT
CORPORATE ACTIONS                             CORPORATE ACTIONS                                CORPORATE ACTIONS                        CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM          SZYROKI.DC@MELLON.COM
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031770P001-1488A-002F                         031770P001-1488A-002F                            031772P001-1488A-002F                        031772P001-1488A-002F
BNYMELLON/                                    BNYMELLON/                                       BNYMELLON/AC NOMURA PB NOM LTD               BNYMELLON/AC NOMURA PB NOM LTD
RE BARCLAYS BANK IRELAND TREASURY ACCT        RE BARCLAYS BANK IRELAND TREASURY ACCT           RE: GLG EMGMKTS                              RE: GLG EMGMKTS
CORPORATE ACTIONS                             CORPORATE ACTIONS                                CORP ACTION, ASSISTANT TREASURER             CORP ACTION, ASSISTANT TREASURER
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              2ND FL                                       2ND FL
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM              SYRACUSE NY 13202                            SYRACUSE NY 13202
                                                                                               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM

031772P001-1488A-002F                         031772P001-1488A-002F                            031772P001-1488A-002F                        031772P001-1488A-002F
BNYMELLON/AC NOMURA PB NOM LTD                BNYMELLON/AC NOMURA PB NOM LTD                   BNYMELLON/AC NOMURA PB NOM LTD               BNYMELLON/AC NOMURA PB NOM LTD
RE: GLG EMGMKTS                               RE: GLG EMGMKTS                                  RE: GLG EMGMKTS                              RE: GLG EMGMKTS
CORP ACTION, ASSISTANT TREASURER              CORP ACTION, ASSISTANT TREASURER                 CORP ACTION, ASSISTANT TREASURER             CORP ACTION, ASSISTANT TREASURER
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                              401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                           2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                                SYRACUSE NY 13202                            SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM

031772P001-1488A-002F                         031772P001-1488A-002F                            031772P001-1488A-002F                        031773P001-1488A-002F
BNYMELLON/AC NOMURA PB NOM LTD                BNYMELLON/AC NOMURA PB NOM LTD                   BNYMELLON/AC NOMURA PB NOM LTD               BNYMELLON/AIG
RE: GLG EMGMKTS                               RE: GLG EMGMKTS                                  RE: GLG EMGMKTS                              CORP ACTION
CORP ACTION, ASSISTANT TREASURER              CORP ACTION, ASSISTANT TREASURER                 CORP ACTION, ASSISTANT TREASURER             401 SOUTH SALINA ST
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                              401 SOUTH SALINA ST                          2ND FL
2ND FL                                        2ND FL                                           2ND FL                                       SYRACUSE NY 13202
SYRACUSE NY 13202                             SYRACUSE NY 13202                                SYRACUSE NY 13202                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM

031773P001-1488A-002F                         031773P001-1488A-002F                            031773P001-1488A-002F                        031773P001-1488A-002F
BNYMELLON/AIG                                 BNYMELLON/AIG                                    BNYMELLON/AIG                                BNYMELLON/AIG
CORP ACTION                                   CORP ACTION                                      CORP ACTION                                  CORP ACTION
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                              401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                           2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                                SYRACUSE NY 13202                            SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM


031773P001-1488A-002F                         031773P001-1488A-002F                            031773P001-1488A-002F                        031773P001-1488A-002F
BNYMELLON/AIG                                 BNYMELLON/AIG                                    BNYMELLON/AIG                                BNYMELLON/AIG
CORP ACTION                                   CORP ACTION                                      CORP ACTION                                  CORP ACTION
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                              401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                           2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                                SYRACUSE NY 13202                            SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


031774P001-1488A-002F                         031774P001-1488A-002F                            031774P001-1488A-002F                        031774P001-1488A-002F
BNYMELLON/AL CONDUIT                          BNYMELLON/AL CONDUIT                             BNYMELLON/AL CONDUIT                         BNYMELLON/AL CONDUIT
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                              401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                           2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                                SYRACUSE NY 13202                            SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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031774P001-1488A-002F                      031774P001-1488A-002F                         031774P001-1488A-002F                        031774P001-1488A-002F
BNYMELLON/AL CONDUIT                       BNYMELLON/AL CONDUIT                          BNYMELLON/AL CONDUIT                         BNYMELLON/AL CONDUIT
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM           MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


031774P001-1488A-002F                      031775P001-1488A-002F                         031775P001-1488A-002F                        031775P001-1488A-002F
BNYMELLON/AL CONDUIT                       BNYMELLON/BARCLAYS BANK DELAWARE              BNYMELLON/BARCLAYS BANK DELAWARE             BNYMELLON/BARCLAYS BANK DELAWARE
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
2ND FL                                     401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
SYRACUSE NY 13202                          2ND FL                                        2ND FL                                       2ND FL
PGH.CA.EVENT.CREATION@BNYMELLON.COM        SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
                                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

031775P001-1488A-002F                      031775P001-1488A-002F                         031775P001-1488A-002F                        031775P001-1488A-002F
BNYMELLON/BARCLAYS BANK DELAWARE           BNYMELLON/BARCLAYS BANK DELAWARE              BNYMELLON/BARCLAYS BANK DELAWARE             BNYMELLON/BARCLAYS BANK DELAWARE
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                        ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

031775P001-1488A-002F                      031775P001-1488A-002F                         031776P001-1488A-002F                        031776P001-1488A-002F
BNYMELLON/BARCLAYS BANK DELAWARE           BNYMELLON/BARCLAYS BANK DELAWARE              BNYMELLON/BARCLAYS BANK PLC                  BNYMELLON/BARCLAYS BANK PLC
CORP ACTIONS                               CORP ACTIONS                                  MICHAEL KANIA                                MICHAEL KANIA
ASSISTANT TREASURER                        ASSISTANT TREASURER                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           RM 0400                                      RM 0400
2ND FL                                     2ND FL                                        PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SYRACUSE NY 13202                          SYRACUSE NY 13202                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM

031776P001-1488A-002F                      031776P001-1488A-002F                         031776P001-1488A-002F                        031776P001-1488A-002F
BNYMELLON/BARCLAYS BANK PLC                BNYMELLON/BARCLAYS BANK PLC                   BNYMELLON/BARCLAYS BANK PLC                  BNYMELLON/BARCLAYS BANK PLC
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                    RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


031776P001-1488A-002F                      031776P001-1488A-002F                         031776P001-1488A-002F                        031777P001-1488A-002F
BNYMELLON/BARCLAYS BANK PLC                BNYMELLON/BARCLAYS BANK PLC                   BNYMELLON/BARCLAYS BANK PLC                  BNYMELLON/BARCLAYS BANK PLC RE US SHARES
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          VICE PRESIDENT
RM 0400                                    RM 0400                                       RM 0400                                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          RM 0400
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          PITTSBURGH PA 15259
                                                                                                                                      GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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031777P001-1488A-002F                            031777P001-1488A-002F                             031777P001-1488A-002F                       031777P001-1488A-002F
BNYMELLON/BARCLAYS BANK PLC RE US SHARES         BNYMELLON/BARCLAYS BANK PLC RE US SHARES          BNYMELLON/BARCLAYS BANK PLC RE US SHARES    BNYMELLON/BARCLAYS BANK PLC RE US SHARES
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                               MICHAEL KANIA
VICE PRESIDENT                                   VICE PRESIDENT                                    VICE PRESIDENT                              VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                   SZYROKI.DC@MELLON.COM                       JMICHAEL.JOHNSONJR@BNYMELLON.COM

031777P001-1488A-002F                            031777P001-1488A-002F                             031777P001-1488A-002F                       031777P001-1488A-002F
BNYMELLON/BARCLAYS BANK PLC RE US SHARES         BNYMELLON/BARCLAYS BANK PLC RE US SHARES          BNYMELLON/BARCLAYS BANK PLC RE US SHARES    BNYMELLON/BARCLAYS BANK PLC RE US SHARES
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                               MICHAEL KANIA
VICE PRESIDENT                                   VICE PRESIDENT                                    VICE PRESIDENT                              VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                PGHEVENTCREATION@BNYMELLON.COM              PGH.CA.EVENT.CREATION@BNYMELLON.COM

031778P001-1488A-002F                            031778P001-1488A-002F                             031778P001-1488A-002F                       031778P001-1488A-002F
BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL        BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL         BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL   BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                               MICHAEL KANIA
VICE PRESIDENT                                   VICE PRESIDENT                                    VICE PRESIDENT                              VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM             SZYROKI.DC@MELLON.COM

031778P001-1488A-002F                            031778P001-1488A-002F                             031778P001-1488A-002F                       031778P001-1488A-002F
BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL        BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL         BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL   BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                               MICHAEL KANIA
VICE PRESIDENT                                   VICE PRESIDENT                                    VICE PRESIDENT                              VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                      JOHN-HENRY.DOKTORSKI@BNYMELLON.COM          PGHEVENTCREATION@BNYMELLON.COM

031778P001-1488A-002F                            031779P001-1488A-002F                             031779P001-1488A-002F                       031779P001-1488A-002F
BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL        BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1           BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1     BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                               MICHAEL KANIA
VICE PRESIDENT                                   VICE PRESIDENT                                    VICE PRESIDENT                              VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM                         JUSTIN.WHITEHOUSE@BNYMELLON.COM

031779P001-1488A-002F                            031779P001-1488A-002F                             031779P001-1488A-002F                       031779P001-1488A-002F
BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1          BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1           BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1     BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                               MICHAEL KANIA
VICE PRESIDENT                                   VICE PRESIDENT                                    VICE PRESIDENT                              VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM                  MATTHEW.BARTEL@BNYMELLON.COM                JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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031779P001-1488A-002F                          031779P001-1488A-002F                             031780P001-1488A-002F                        031780P001-1488A-002F
BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1        BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1           BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2      BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2
MICHAEL KANIA                                  MICHAEL KANIA                                     MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                        RM 0400                                           RM 0400                                      RM 0400
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM

031780P001-1488A-002F                          031780P001-1488A-002F                             031780P001-1488A-002F                        031780P001-1488A-002F
BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2        BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2           BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2      BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2
MICHAEL KANIA                                  MICHAEL KANIA                                     MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                        RM 0400                                           RM 0400                                      RM 0400
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                             JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM

031780P001-1488A-002F                          031780P001-1488A-002F                             031780P001-1488A-002F                        031782P001-1488A-002F
BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2        BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2           BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2      BNYMELLON/BARCLAYS GROUP US
MICHAEL KANIA                                  MICHAEL KANIA                                     MICHAEL KANIA                                CORP ACTIONS
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               ASSISTANT TREASURER
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                          401 SOUTH SALINA ST
RM 0400                                        RM 0400                                           RM 0400                                      2ND FL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                          SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                    PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031782P001-1488A-002F                          031782P001-1488A-002F                             031782P001-1488A-002F                        031782P001-1488A-002F
BNYMELLON/BARCLAYS GROUP US                    BNYMELLON/BARCLAYS GROUP US                       BNYMELLON/BARCLAYS GROUP US                  BNYMELLON/BARCLAYS GROUP US
CORP ACTIONS                                   CORP ACTIONS                                      CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                            ASSISTANT TREASURER                               ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                            401 SOUTH SALINA ST                               401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                         2ND FL                                            2ND FL                                       2ND FL
SYRACUSE NY 13202                              SYRACUSE NY 13202                                 SYRACUSE NY 13202                            SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                   SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM

031782P001-1488A-002F                          031782P001-1488A-002F                             031782P001-1488A-002F                        031782P001-1488A-002F
BNYMELLON/BARCLAYS GROUP US                    BNYMELLON/BARCLAYS GROUP US                       BNYMELLON/BARCLAYS GROUP US                  BNYMELLON/BARCLAYS GROUP US
CORP ACTIONS                                   CORP ACTIONS                                      CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                            ASSISTANT TREASURER                               ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                            401 SOUTH SALINA ST                               401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                         2ND FL                                            2ND FL                                       2ND FL
SYRACUSE NY 13202                              SYRACUSE NY 13202                                 SYRACUSE NY 13202                            SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM

031783P001-1488A-002F                          031783P001-1488A-002F                             031783P001-1488A-002F                        031783P001-1488A-002F
BNYMELLON/BARCLAYS US LP                       BNYMELLON/BARCLAYS US LP                          BNYMELLON/BARCLAYS US LP                     BNYMELLON/BARCLAYS US LP
CORP ACTIONS                                   CORP ACTIONS                                      CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                            ASSISTANT TREASURER                               ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                            401 SOUTH SALINA ST                               401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                         2ND FL                                            2ND FL                                       2ND FL
SYRACUSE NY 13202                              SYRACUSE NY 13202                                 SYRACUSE NY 13202                            SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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BNYMELLON/BARCLAYS US LP                            BNYMELLON/BARCLAYS US LP                        BNYMELLON/BARCLAYS US LP                       BNYMELLON/BARCLAYS US LP
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
ASSISTANT TREASURER                                 ASSISTANT TREASURER                             ASSISTANT TREASURER                            ASSISTANT TREASURER
401 SOUTH SALINA ST                                 401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                              2ND FL                                          2ND FL                                         2ND FL
SYRACUSE NY 13202                                   SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM

031783P001-1488A-002F                               031784P001-1488A-002F                           031784P001-1488A-002F                          031784P001-1488A-002F
BNYMELLON/BARCLAYS US LP                            BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT       BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT      BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
ASSISTANT TREASURER                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
401 SOUTH SALINA ST                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
2ND FL                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM
SYRACUSE NY 13202
PGH.CA.EVENT.CREATION@BNYMELLON.COM

031784P001-1488A-002F                               031784P001-1488A-002F                           031784P001-1488A-002F                          031784P001-1488A-002F
BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT           BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT       BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT      BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                               JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




031784P001-1488A-002F                               031784P001-1488A-002F                           031785P001-1488A-002F                          031785P001-1488A-002F
BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT           BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT       BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD   BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                      PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM




031785P001-1488A-002F                               031785P001-1488A-002F                           031785P001-1488A-002F                          031785P001-1488A-002F
BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD        BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD    BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD   BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                     SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM




031785P001-1488A-002F                               031785P001-1488A-002F                           031785P001-1488A-002F                          031786P001-1488A-002F
BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD        BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD    BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR LTD   BNYMELLON/BBPLC FIRM LRCM REPO
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                   MICHAEL KANIA
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            RM 0400
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                  PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM            PITTSBURGH PA 15259
                                                                                                                                                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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031786P001-1488A-002F                         031786P001-1488A-002F                         031786P001-1488A-002F                 031786P001-1488A-002F
BNYMELLON/BBPLC FIRM LRCM REPO                BNYMELLON/BBPLC FIRM LRCM REPO                BNYMELLON/BBPLC FIRM LRCM REPO        BNYMELLON/BBPLC FIRM LRCM REPO
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                         MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
RM 0400                                       RM 0400                                       RM 0400                               RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


031786P001-1488A-002F                         031786P001-1488A-002F                         031786P001-1488A-002F                 031786P001-1488A-002F
BNYMELLON/BBPLC FIRM LRCM REPO                BNYMELLON/BBPLC FIRM LRCM REPO                BNYMELLON/BBPLC FIRM LRCM REPO        BNYMELLON/BBPLC FIRM LRCM REPO
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                         MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
RM 0400                                       RM 0400                                       RM 0400                               RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


031787P001-1488A-002F                         031787P001-1488A-002F                         031787P001-1488A-002F                 031787P001-1488A-002F
BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS   BNYMELLON/BBPLC PB CANADIAN CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM




031787P001-1488A-002F                         031787P001-1488A-002F                         031787P001-1488A-002F                 031787P001-1488A-002F
BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS   BNYMELLON/BBPLC PB CANADIAN CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM




031787P001-1488A-002F                         031788P001-1488A-002F                         031788P001-1488A-002F                 031788P001-1488A-002F
BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS   BNYMELLON/BBPLC PB CANADIAN CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
525 WILLIAM PENN PL                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
PITTSBURGH PA 15259                           2ND FL                                        2ND FL                                2ND FL
PGH.CA.EVENT.CREATION@BNYMELLON.COM           SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM


031788P001-1488A-002F                         031788P001-1488A-002F                         031788P001-1488A-002F                 031788P001-1488A-002F
BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS   BNYMELLON/BBPLC PB CANADIAN CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM          JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
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031788P001-1488A-002F                         031788P001-1488A-002F                         031789P001-1488A-002F                        031789P001-1488A-002F
BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CANADIAN CLIENTS           BNYMELLON/BBPLC PB CAYMEN CLIENTS            BNYMELLON/BBPLC PB CAYMEN CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
2ND FL                                        2ND FL                                        PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SYRACUSE NY 13202                             SYRACUSE NY 13202                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM


031789P001-1488A-002F                         031789P001-1488A-002F                         031789P001-1488A-002F                        031789P001-1488A-002F
BNYMELLON/BBPLC PB CAYMEN CLIENTS             BNYMELLON/BBPLC PB CAYMEN CLIENTS             BNYMELLON/BBPLC PB CAYMEN CLIENTS            BNYMELLON/BBPLC PB CAYMEN CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM




031789P001-1488A-002F                         031789P001-1488A-002F                         031789P001-1488A-002F                        031790P001-1488A-002F
BNYMELLON/BBPLC PB CAYMEN CLIENTS             BNYMELLON/BBPLC PB CAYMEN CLIENTS             BNYMELLON/BBPLC PB CAYMEN CLIENTS            BNYMELLON/BBPLC PB UK CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031790P001-1488A-002F                         031790P001-1488A-002F                         031790P001-1488A-002F                        031790P001-1488A-002F
BNYMELLON/BBPLC PB UK CLIENTS                 BNYMELLON/BBPLC PB UK CLIENTS                 BNYMELLON/BBPLC PB UK CLIENTS                BNYMELLON/BBPLC PB UK CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM




031790P001-1488A-002F                         031790P001-1488A-002F                         031790P001-1488A-002F                        031790P001-1488A-002F
BNYMELLON/BBPLC PB UK CLIENTS                 BNYMELLON/BBPLC PB UK CLIENTS                 BNYMELLON/BBPLC PB UK CLIENTS                BNYMELLON/BBPLC PB UK CLIENTS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM




031791P001-1488A-002F                         031791P001-1488A-002F                         031791P001-1488A-002F                        031791P001-1488A-002F
BNYMELLON/BGC BROKERS LP                      BNYMELLON/BGC BROKERS LP                      BNYMELLON/BGC BROKERS LP                     BNYMELLON/BGC BROKERS LP
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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031791P001-1488A-002F                          031791P001-1488A-002F                         031791P001-1488A-002F                        031791P001-1488A-002F
BNYMELLON/BGC BROKERS LP                       BNYMELLON/BGC BROKERS LP                      BNYMELLON/BGC BROKERS LP                     BNYMELLON/BGC BROKERS LP
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


031791P001-1488A-002F                          031792P001-1488A-002F                         031792P001-1488A-002F                        031792P001-1488A-002F
BNYMELLON/BGC BROKERS LP                       BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT       BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT      BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                 525 WILLIAM PENN PLZ                          525 WILLIAM PENN PLZ                         525 WILLIAM PENN PLZ
525 WILLIAM PENN PL                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PITTSBURGH PA 15259                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM


031792P001-1488A-002F                          031792P001-1488A-002F                         031792P001-1488A-002F                        031792P001-1488A-002F
BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT        BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT       BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT      BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PLZ                           525 WILLIAM PENN PLZ                          525 WILLIAM PENN PLZ                         525 WILLIAM PENN PLZ
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




031792P001-1488A-002F                          031792P001-1488A-002F                         031793P001-1488A-002F                        031793P001-1488A-002F
BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT        BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT       BNYMELLON/BNY MELLON DUBLIN SA/NV            BNYMELLON/BNY MELLON DUBLIN SA/NV
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PLZ                           525 WILLIAM PENN PLZ                          525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM




031793P001-1488A-002F                          031793P001-1488A-002F                         031793P001-1488A-002F                        031793P001-1488A-002F
BNYMELLON/BNY MELLON DUBLIN SA/NV              BNYMELLON/BNY MELLON DUBLIN SA/NV             BNYMELLON/BNY MELLON DUBLIN SA/NV            BNYMELLON/BNY MELLON DUBLIN SA/NV
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM




031793P001-1488A-002F                          031793P001-1488A-002F                         031793P001-1488A-002F                        031794P001-1488A-002F
BNYMELLON/BNY MELLON DUBLIN SA/NV              BNYMELLON/BNY MELLON DUBLIN SA/NV             BNYMELLON/BNY MELLON DUBLIN SA/NV            BNYMELLON/BNYM FIRM SECURED FINANCE
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 MICHAEL KANIA
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          RM 0400
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          PITTSBURGH PA 15259
                                                                                                                                          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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031794P001-1488A-002F                         031794P001-1488A-002F                         031794P001-1488A-002F                 031794P001-1488A-002F
BNYMELLON/BNYM FIRM SECURED FINANCE           BNYMELLON/BNYM FIRM SECURED FINANCE           BNYMELLON/BNYM FIRM SECURED FINANCE   BNYMELLON/BNYM FIRM SECURED FINANCE
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                         MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
RM 0400                                       RM 0400                                       RM 0400                               RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


031794P001-1488A-002F                         031794P001-1488A-002F                         031794P001-1488A-002F                 031794P001-1488A-002F
BNYMELLON/BNYM FIRM SECURED FINANCE           BNYMELLON/BNYM FIRM SECURED FINANCE           BNYMELLON/BNYM FIRM SECURED FINANCE   BNYMELLON/BNYM FIRM SECURED FINANCE
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                         MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
RM 0400                                       RM 0400                                       RM 0400                               RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


031795P001-1488A-002F                         031795P001-1488A-002F                         031795P001-1488A-002F                 031795P001-1488A-002F
BNYMELLON/BNYMIB RE BNYMMIL RE FIRM           BNYMELLON/BNYMIB RE BNYMMIL RE FIRM           BNYMELLON/BNYMIB RE BNYMMIL RE FIRM   BNYMELLON/BNYMIB RE BNYMMIL RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
ASSISTANT TREASURER                           ASSISTANT TREASURER                           ASSISTANT TREASURER                   ASSISTANT TREASURER
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM

031795P001-1488A-002F                         031795P001-1488A-002F                         031795P001-1488A-002F                 031795P001-1488A-002F
BNYMELLON/BNYMIB RE BNYMMIL RE FIRM           BNYMELLON/BNYMIB RE BNYMMIL RE FIRM           BNYMELLON/BNYMIB RE BNYMMIL RE FIRM   BNYMELLON/BNYMIB RE BNYMMIL RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
ASSISTANT TREASURER                           ASSISTANT TREASURER                           ASSISTANT TREASURER                   ASSISTANT TREASURER
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM

031795P001-1488A-002F                         031796P001-1488A-002F                         031796P001-1488A-002F                 031796P001-1488A-002F
BNYMELLON/BNYMIB RE BNYMMIL RE FIRM           BNYMELLON/CACEIS BANK                         BNYMELLON/CACEIS BANK                 BNYMELLON/CACEIS BANK
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
ASSISTANT TREASURER                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
401 SOUTH SALINA ST                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
2ND FL                                        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM
SYRACUSE NY 13202
PGH.CA.EVENT.CREATION@BNYMELLON.COM

031796P001-1488A-002F                         031796P001-1488A-002F                         031796P001-1488A-002F                 031796P001-1488A-002F
BNYMELLON/CACEIS BANK                         BNYMELLON/CACEIS BANK                         BNYMELLON/CACEIS BANK                 BNYMELLON/CACEIS BANK
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM          JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031796P001-1488A-002F                         031796P001-1488A-002F                         031798P001-1488A-002F                        031798P001-1488A-002F
BNYMELLON/CACEIS BANK                         BNYMELLON/CACEIS BANK                         BNYMELLON/CACEIS BANK LUXEMBOURG             BNYMELLON/CACEIS BANK LUXEMBOURG
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM




031798P001-1488A-002F                         031798P001-1488A-002F                         031798P001-1488A-002F                        031798P001-1488A-002F
BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG             BNYMELLON/CACEIS BANK LUXEMBOURG
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM




031798P001-1488A-002F                         031798P001-1488A-002F                         031798P001-1488A-002F                        031799P001-1488A-002F
BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG             BNYMELLON/CACEIS BANK LUXEMBOURG
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 MITCHEL SOBEL
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          CORPORATE ACTIONS
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          401 SOUTH SALINA ST
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          2ND FL
                                                                                                                                         SYRACUSE NY 13202
                                                                                                                                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031799P001-1488A-002F                         031799P001-1488A-002F                         031799P001-1488A-002F                        031799P001-1488A-002F
BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG             BNYMELLON/CACEIS BANK LUXEMBOURG
MITCHEL SOBEL                                 MITCHEL SOBEL                                 MITCHEL SOBEL                                MITCHEL SOBEL
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM

031799P001-1488A-002F                         031799P001-1488A-002F                         031799P001-1488A-002F                        031799P001-1488A-002F
BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG              BNYMELLON/CACEIS BANK LUXEMBOURG             BNYMELLON/CACEIS BANK LUXEMBOURG
MITCHEL SOBEL                                 MITCHEL SOBEL                                 MITCHEL SOBEL                                MITCHEL SOBEL
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM

031801P001-1488A-002F                         031801P001-1488A-002F                         031801P001-1488A-002F                        031801P001-1488A-002F
BNYMELLON/CBD RE BEADER AG                    BNYMELLON/CBD RE BEADER AG                    BNYMELLON/CBD RE BEADER AG                   BNYMELLON/CBD RE BEADER AG
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
                                      Case 22-90032 Document 69GWG  Holdings,
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031801P001-1488A-002F                      031801P001-1488A-002F                         031801P001-1488A-002F                        031801P001-1488A-002F
BNYMELLON/CBD RE BEADER AG                 BNYMELLON/CBD RE BEADER AG                    BNYMELLON/CBD RE BEADER AG                   BNYMELLON/CBD RE BEADER AG
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM           MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM




031801P001-1488A-002F                      031802P001-1488A-002F                         031802P001-1488A-002F                        031802P001-1488A-002F
BNYMELLON/CBD RE BEADER AG                 BNYMELLON/CBD RE STEUBING AG                  BNYMELLON/CBD RE STEUBING AG                 BNYMELLON/CBD RE STEUBING AG
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM




031802P001-1488A-002F                      031802P001-1488A-002F                         031802P001-1488A-002F                        031802P001-1488A-002F
BNYMELLON/CBD RE STEUBING AG               BNYMELLON/CBD RE STEUBING AG                  BNYMELLON/CBD RE STEUBING AG                 BNYMELLON/CBD RE STEUBING AG
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




031802P001-1488A-002F                      031802P001-1488A-002F                         031803P001-1488A-002F                        031803P001-1488A-002F
BNYMELLON/CBD RE STEUBING AG               BNYMELLON/CBD RE STEUBING AG                  BNYMELLON/CFD RE EQUINET AG                  BNYMELLON/CFD RE EQUINET AG
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM




031803P001-1488A-002F                      031803P001-1488A-002F                         031803P001-1488A-002F                        031803P001-1488A-002F
BNYMELLON/CFD RE EQUINET AG                BNYMELLON/CFD RE EQUINET AG                   BNYMELLON/CFD RE EQUINET AG                  BNYMELLON/CFD RE EQUINET AG
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM




031803P001-1488A-002F                      031803P001-1488A-002F                         031803P001-1488A-002F                        031804P001-1488A-002F
BNYMELLON/CFD RE EQUINET AG                BNYMELLON/CFD RE EQUINET AG                   BNYMELLON/CFD RE EQUINET AG                  BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          ASSISTANT TREASURER
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          401 SOUTH SALINA ST
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          2ND FL
                                                                                                                                      SYRACUSE NY 13202
                                                                                                                                      GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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031804P001-1488A-002F                             031804P001-1488A-002F                         031804P001-1488A-002F                        031804P001-1488A-002F
BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED        BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED    BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED   BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED
CORP ACTIONS                                      CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                               401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                            2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                                 SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        GTS.CAEC.TPA@CITI.COM

031804P001-1488A-002F                             031804P001-1488A-002F                         031804P001-1488A-002F                        031804P001-1488A-002F
BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED        BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED    BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED   BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED
CORP ACTIONS                                      CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                               401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                            2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                                 SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
MARIANNE.SULLIVAN@CITI.COM                        JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM

031804P001-1488A-002F                             031804P001-1488A-002F                         031804P001-1488A-002F                        031804P001-1488A-002F
BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED        BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED    BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED   BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED
CORP ACTIONS                                      CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                               401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                            2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                                 SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PAOLA.PRINS@CITI.COM                              DARYL.SLATER@CITI.COM                         MICHAEL.FENNER@CITI.COM                      THEOPHILUS.CHAN@CITI.COM

031804P001-1488A-002F                             031804P001-1488A-002F                         031804P001-1488A-002F                        031804P001-1488A-002F
BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED        BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED    BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED   BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED
CORP ACTIONS                                      CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                               ASSISTANT TREASURER                           ASSISTANT TREASURER                          ASSISTANT TREASURER
401 SOUTH SALINA ST                               401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                            2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                                 SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PRABHA.L.BATNI@CITI.COM                           ANN.E.NOBBE@CITI.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM

031806P001-1488A-002F                             031806P001-1488A-002F                         031806P001-1488A-002F                        031806P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #29               BNYMELLON/DEDICATED PARTICIPANT #29           BNYMELLON/DEDICATED PARTICIPANT #29          BNYMELLON/DEDICATED PARTICIPANT #29
MICHAEL KANIA                                     MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                    VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                               525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                               PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


031806P001-1488A-002F                             031806P001-1488A-002F                         031806P001-1488A-002F                        031806P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #29               BNYMELLON/DEDICATED PARTICIPANT #29           BNYMELLON/DEDICATED PARTICIPANT #29          BNYMELLON/DEDICATED PARTICIPANT #29
MICHAEL KANIA                                     MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                    VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                               525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                               PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                  MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM
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                                                                 Filed in TXSBInc.,
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031806P001-1488A-002F                      031807P001-1488A-002F                         031807P001-1488A-002F                        031807P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #29        BNYMELLON/DEDICATED PARTICIPANT #32           BNYMELLON/DEDICATED PARTICIPANT #32          BNYMELLON/DEDICATED PARTICIPANT #32
MICHAEL KANIA                              CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                             401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
525 WILLIAM PENN PL                        2ND FL                                        2ND FL                                       2ND FL
PITTSBURGH PA 15259                        SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031807P001-1488A-002F                      031807P001-1488A-002F                         031807P001-1488A-002F                        031807P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #32        BNYMELLON/DEDICATED PARTICIPANT #32           BNYMELLON/DEDICATED PARTICIPANT #32          BNYMELLON/DEDICATED PARTICIPANT #32
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031807P001-1488A-002F                      031807P001-1488A-002F                         031808P001-1488A-002F                        031808P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #32        BNYMELLON/DEDICATED PARTICIPANT #32           BNYMELLON/DEDICATED PARTICIPANT #33          BNYMELLON/DEDICATED PARTICIPANT #33
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


031808P001-1488A-002F                      031808P001-1488A-002F                         031808P001-1488A-002F                        031808P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #33        BNYMELLON/DEDICATED PARTICIPANT #33           BNYMELLON/DEDICATED PARTICIPANT #33          BNYMELLON/DEDICATED PARTICIPANT #33
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


031808P001-1488A-002F                      031808P001-1488A-002F                         031808P001-1488A-002F                        031809P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #33        BNYMELLON/DEDICATED PARTICIPANT #33           BNYMELLON/DEDICATED PARTICIPANT #33          BNYMELLON/DEDICATED PARTICIPANT #34
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031809P001-1488A-002F                      031809P001-1488A-002F                         031809P001-1488A-002F                        031809P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #34        BNYMELLON/DEDICATED PARTICIPANT #34           BNYMELLON/DEDICATED PARTICIPANT #34          BNYMELLON/DEDICATED PARTICIPANT #34
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031809P001-1488A-002F                         031809P001-1488A-002F                         031809P001-1488A-002F                        031809P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #34           BNYMELLON/DEDICATED PARTICIPANT #34           BNYMELLON/DEDICATED PARTICIPANT #34          BNYMELLON/DEDICATED PARTICIPANT #34
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


031810P001-1488A-002F                         031810P001-1488A-002F                         031810P001-1488A-002F                        031810P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #35           BNYMELLON/DEDICATED PARTICIPANT #35           BNYMELLON/DEDICATED PARTICIPANT #35          BNYMELLON/DEDICATED PARTICIPANT #35
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


031810P001-1488A-002F                         031810P001-1488A-002F                         031810P001-1488A-002F                        031810P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #35           BNYMELLON/DEDICATED PARTICIPANT #35           BNYMELLON/DEDICATED PARTICIPANT #35          BNYMELLON/DEDICATED PARTICIPANT #35
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


031810P001-1488A-002F                         031811P001-1488A-002F                         031811P001-1488A-002F                        031811P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #35           BNYMELLON/DEDICATED PARTICIPANT #36           BNYMELLON/DEDICATED PARTICIPANT #36          BNYMELLON/DEDICATED PARTICIPANT #36
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031811P001-1488A-002F                         031811P001-1488A-002F                         031811P001-1488A-002F                        031811P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #36           BNYMELLON/DEDICATED PARTICIPANT #36           BNYMELLON/DEDICATED PARTICIPANT #36          BNYMELLON/DEDICATED PARTICIPANT #36
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031811P001-1488A-002F                         031811P001-1488A-002F                         031812P001-1488A-002F                        031812P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #36           BNYMELLON/DEDICATED PARTICIPANT #36           BNYMELLON/DEDICATED PARTICIPANT #37          BNYMELLON/DEDICATED PARTICIPANT #37
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
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031812P001-1488A-002F                         031812P001-1488A-002F                         031812P001-1488A-002F                 031812P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #37           BNYMELLON/DEDICATED PARTICIPANT #37           BNYMELLON/DEDICATED PARTICIPANT #37   BNYMELLON/DEDICATED PARTICIPANT #37
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM


031812P001-1488A-002F                         031812P001-1488A-002F                         031812P001-1488A-002F                 031813P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #37           BNYMELLON/DEDICATED PARTICIPANT #37           BNYMELLON/DEDICATED PARTICIPANT #37   BNYMELLON/DEDICATED PARTICIPANT #38
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031813P001-1488A-002F                         031813P001-1488A-002F                         031813P001-1488A-002F                 031813P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #38           BNYMELLON/DEDICATED PARTICIPANT #38           BNYMELLON/DEDICATED PARTICIPANT #38   BNYMELLON/DEDICATED PARTICIPANT #38
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


031813P001-1488A-002F                         031813P001-1488A-002F                         031813P001-1488A-002F                 031813P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #38           BNYMELLON/DEDICATED PARTICIPANT #38           BNYMELLON/DEDICATED PARTICIPANT #38   BNYMELLON/DEDICATED PARTICIPANT #38
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


031814P001-1488A-002F                         031814P001-1488A-002F                         031814P001-1488A-002F                 031814P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #39           BNYMELLON/DEDICATED PARTICIPANT #39           BNYMELLON/DEDICATED PARTICIPANT #39   BNYMELLON/DEDICATED PARTICIPANT #39
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


031814P001-1488A-002F                         031814P001-1488A-002F                         031814P001-1488A-002F                 031814P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #39           BNYMELLON/DEDICATED PARTICIPANT #39           BNYMELLON/DEDICATED PARTICIPANT #39   BNYMELLON/DEDICATED PARTICIPANT #39
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
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031814P001-1488A-002F                      031815P001-1488A-002F                         031815P001-1488A-002F                        031815P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #39        BNYMELLON/DEDICATED PARTICIPANT #40           BNYMELLON/DEDICATED PARTICIPANT #40          BNYMELLON/DEDICATED PARTICIPANT #40
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031815P001-1488A-002F                      031815P001-1488A-002F                         031815P001-1488A-002F                        031815P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #40        BNYMELLON/DEDICATED PARTICIPANT #40           BNYMELLON/DEDICATED PARTICIPANT #40          BNYMELLON/DEDICATED PARTICIPANT #40
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031815P001-1488A-002F                      031815P001-1488A-002F                         031816P001-1488A-002F                        031816P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #40        BNYMELLON/DEDICATED PARTICIPANT #40           BNYMELLON/DEDICATED PARTICIPANT #41          BNYMELLON/DEDICATED PARTICIPANT #41
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


031816P001-1488A-002F                      031816P001-1488A-002F                         031816P001-1488A-002F                        031816P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #41        BNYMELLON/DEDICATED PARTICIPANT #41           BNYMELLON/DEDICATED PARTICIPANT #41          BNYMELLON/DEDICATED PARTICIPANT #41
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


031816P001-1488A-002F                      031816P001-1488A-002F                         031816P001-1488A-002F                        031817P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #41        BNYMELLON/DEDICATED PARTICIPANT #41           BNYMELLON/DEDICATED PARTICIPANT #41          BNYMELLON/DEDICATED PARTICIPANT #42
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031817P001-1488A-002F                      031817P001-1488A-002F                         031817P001-1488A-002F                        031817P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #42        BNYMELLON/DEDICATED PARTICIPANT #42           BNYMELLON/DEDICATED PARTICIPANT #42          BNYMELLON/DEDICATED PARTICIPANT #42
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
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031817P001-1488A-002F                         031817P001-1488A-002F                         031817P001-1488A-002F                        031817P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #42           BNYMELLON/DEDICATED PARTICIPANT #42           BNYMELLON/DEDICATED PARTICIPANT #42          BNYMELLON/DEDICATED PARTICIPANT #42
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


031818P001-1488A-002F                         031818P001-1488A-002F                         031818P001-1488A-002F                        031818P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43          BNYMELLON/DEDICATED PARTICIPANT #43
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


031818P001-1488A-002F                         031818P001-1488A-002F                         031818P001-1488A-002F                        031818P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43          BNYMELLON/DEDICATED PARTICIPANT #43
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


031818P001-1488A-002F                         031819P001-1488A-002F                         031819P001-1488A-002F                        031819P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43          BNYMELLON/DEDICATED PARTICIPANT #43
CORP ACTIONS                                  CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
401 SOUTH SALINA ST                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
2ND FL                                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SYRACUSE NY 13202                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM


031819P001-1488A-002F                         031819P001-1488A-002F                         031819P001-1488A-002F                        031819P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43          BNYMELLON/DEDICATED PARTICIPANT #43
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




031819P001-1488A-002F                         031819P001-1488A-002F                         031820P001-1488A-002F                        031820P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #43           BNYMELLON/DEDICATED PARTICIPANT #44          BNYMELLON/DEDICATED PARTICIPANT #44
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           2ND FL                                       2ND FL
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           SYRACUSE NY 13202                            SYRACUSE NY 13202
                                                                                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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BNYMELLON/DEDICATED PARTICIPANT #44           BNYMELLON/DEDICATED PARTICIPANT #44           BNYMELLON/DEDICATED PARTICIPANT #44   BNYMELLON/DEDICATED PARTICIPANT #44
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM


031820P001-1488A-002F                         031820P001-1488A-002F                         031820P001-1488A-002F                 031821P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #44           BNYMELLON/DEDICATED PARTICIPANT #44           BNYMELLON/DEDICATED PARTICIPANT #44   BNYMELLON/DEDICATED PARTICIPANT #45
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031821P001-1488A-002F                         031821P001-1488A-002F                         031821P001-1488A-002F                 031821P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45   BNYMELLON/DEDICATED PARTICIPANT #45
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


031821P001-1488A-002F                         031821P001-1488A-002F                         031821P001-1488A-002F                 031821P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45   BNYMELLON/DEDICATED PARTICIPANT #45
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


031822P001-1488A-002F                         031822P001-1488A-002F                         031822P001-1488A-002F                 031822P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45   BNYMELLON/DEDICATED PARTICIPANT #45
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM




031822P001-1488A-002F                         031822P001-1488A-002F                         031822P001-1488A-002F                 031822P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45           BNYMELLON/DEDICATED PARTICIPANT #45   BNYMELLON/DEDICATED PARTICIPANT #45
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
                                      Case 22-90032 Document 69GWG  Holdings,
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031822P001-1488A-002F                      031823P001-1488A-002F                         031823P001-1488A-002F                        031823P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #45        BNYMELLON/DEDICATED PARTICIPANT #46           BNYMELLON/DEDICATED PARTICIPANT #46          BNYMELLON/DEDICATED PARTICIPANT #46
CORPORATE ACTIONS                          CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PITTSBURGH PA 15259                        2ND FL                                        2ND FL                                       2ND FL
PGH.CA.EVENT.CREATION@BNYMELLON.COM        SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
                                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031823P001-1488A-002F                      031823P001-1488A-002F                         031823P001-1488A-002F                        031823P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #46        BNYMELLON/DEDICATED PARTICIPANT #46           BNYMELLON/DEDICATED PARTICIPANT #46          BNYMELLON/DEDICATED PARTICIPANT #46
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031823P001-1488A-002F                      031823P001-1488A-002F                         031824P001-1488A-002F                        031824P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #46        BNYMELLON/DEDICATED PARTICIPANT #46           BNYMELLON/DEDICATED PARTICIPANT #46          BNYMELLON/DEDICATED PARTICIPANT #46
CORP ACTIONS                               CORP ACTIONS                                  CORPORATE ACTIONS                            CORPORATE ACTIONS
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
2ND FL                                     2ND FL                                        PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SYRACUSE NY 13202                          SYRACUSE NY 13202                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM


031824P001-1488A-002F                      031824P001-1488A-002F                         031824P001-1488A-002F                        031824P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #46        BNYMELLON/DEDICATED PARTICIPANT #46           BNYMELLON/DEDICATED PARTICIPANT #46          BNYMELLON/DEDICATED PARTICIPANT #46
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM




031824P001-1488A-002F                      031824P001-1488A-002F                         031824P001-1488A-002F                        031825P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #46        BNYMELLON/DEDICATED PARTICIPANT #46           BNYMELLON/DEDICATED PARTICIPANT #46          BNYMELLON/DEDICATED PARTICIPANT #47
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031825P001-1488A-002F                      031825P001-1488A-002F                         031825P001-1488A-002F                        031825P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #47        BNYMELLON/DEDICATED PARTICIPANT #47           BNYMELLON/DEDICATED PARTICIPANT #47          BNYMELLON/DEDICATED PARTICIPANT #47
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
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031825P001-1488A-002F                         031825P001-1488A-002F                         031825P001-1488A-002F                 031825P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #47           BNYMELLON/DEDICATED PARTICIPANT #47           BNYMELLON/DEDICATED PARTICIPANT #47   BNYMELLON/DEDICATED PARTICIPANT #47
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM




031826P001-1488A-002F                         031826P001-1488A-002F                         031826P001-1488A-002F                 031826P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #48           BNYMELLON/DEDICATED PARTICIPANT #48           BNYMELLON/DEDICATED PARTICIPANT #48   BNYMELLON/DEDICATED PARTICIPANT #48
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM




031826P001-1488A-002F                         031826P001-1488A-002F                         031826P001-1488A-002F                 031826P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #48           BNYMELLON/DEDICATED PARTICIPANT #48           BNYMELLON/DEDICATED PARTICIPANT #48   BNYMELLON/DEDICATED PARTICIPANT #48
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM




031826P001-1488A-002F                         031827P001-1488A-002F                         031827P001-1488A-002F                 031827P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #48           BNYMELLON/DEDICATED PARTICIPANT #49           BNYMELLON/DEDICATED PARTICIPANT #49   BNYMELLON/DEDICATED PARTICIPANT #49
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM




031827P001-1488A-002F                         031827P001-1488A-002F                         031827P001-1488A-002F                 031828P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #49           BNYMELLON/DEDICATED PARTICIPANT #49           BNYMELLON/DEDICATED PARTICIPANT #49   BNYMELLON/DEDICATED PARTICIPANT #50
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031828P001-1488A-002F                         031828P001-1488A-002F                         031828P001-1488A-002F                 031828P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #50           BNYMELLON/DEDICATED PARTICIPANT #50           BNYMELLON/DEDICATED PARTICIPANT #50   BNYMELLON/DEDICATED PARTICIPANT #50
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM
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031828P001-1488A-002F                      031829P001-1488A-002F                         031829P001-1488A-002F                 031829P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #50        BNYMELLON/DEDICATED PARTICIPANT #51           BNYMELLON/DEDICATED PARTICIPANT #51   BNYMELLON/DEDICATED PARTICIPANT #51
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM




031829P001-1488A-002F                      031829P001-1488A-002F                         031829P001-1488A-002F                 031830P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #51        BNYMELLON/DEDICATED PARTICIPANT #51           BNYMELLON/DEDICATED PARTICIPANT #51   BNYMELLON/DEDICATED PARTICIPANT #52
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031830P001-1488A-002F                      031830P001-1488A-002F                         031830P001-1488A-002F                 031830P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #52        BNYMELLON/DEDICATED PARTICIPANT #52           BNYMELLON/DEDICATED PARTICIPANT #52   BNYMELLON/DEDICATED PARTICIPANT #52
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM




031830P001-1488A-002F                      031831P001-1488A-002F                         031831P001-1488A-002F                 031831P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #52        BNYMELLON/DEDICATED PARTICIPANT #53           BNYMELLON/DEDICATED PARTICIPANT #53   BNYMELLON/DEDICATED PARTICIPANT #53
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM




031831P001-1488A-002F                      031831P001-1488A-002F                         031831P001-1488A-002F                 031832P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #53        BNYMELLON/DEDICATED PARTICIPANT #53           BNYMELLON/DEDICATED PARTICIPANT #53   BNYMELLON/DEDICATED PARTICIPANT #59
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031832P001-1488A-002F                      031832P001-1488A-002F                         031832P001-1488A-002F                 031832P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #59        BNYMELLON/DEDICATED PARTICIPANT #59           BNYMELLON/DEDICATED PARTICIPANT #59   BNYMELLON/DEDICATED PARTICIPANT #59
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM
                                      Case 22-90032 Document 69GWG  Holdings,
                                                                 Filed in TXSBInc.,
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031832P001-1488A-002F                      031833P001-1488A-002F                         031833P001-1488A-002F                 031833P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #59        BNYMELLON/DEDICATED PARTICIPANT #63           BNYMELLON/DEDICATED PARTICIPANT #63   BNYMELLON/DEDICATED PARTICIPANT #63
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM




031833P001-1488A-002F                      031833P001-1488A-002F                         031833P001-1488A-002F                 031834P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #63        BNYMELLON/DEDICATED PARTICIPANT #63           BNYMELLON/DEDICATED PARTICIPANT #63   BNYMELLON/DEDICATED PARTICIPANT #64
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031834P001-1488A-002F                      031834P001-1488A-002F                         031834P001-1488A-002F                 031834P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #64        BNYMELLON/DEDICATED PARTICIPANT #64           BNYMELLON/DEDICATED PARTICIPANT #64   BNYMELLON/DEDICATED PARTICIPANT #64
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM




031834P001-1488A-002F                      031835P001-1488A-002F                         031835P001-1488A-002F                 031835P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #64        BNYMELLON/DEDICATED PARTICIPANT #65           BNYMELLON/DEDICATED PARTICIPANT #65   BNYMELLON/DEDICATED PARTICIPANT #65
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM




031835P001-1488A-002F                      031835P001-1488A-002F                         031835P001-1488A-002F                 031836P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #65        BNYMELLON/DEDICATED PARTICIPANT #65           BNYMELLON/DEDICATED PARTICIPANT #65   BNYMELLON/DEDICATED PARTICIPANT #66
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031836P001-1488A-002F                      031836P001-1488A-002F                         031836P001-1488A-002F                 031836P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #66        BNYMELLON/DEDICATED PARTICIPANT #66           BNYMELLON/DEDICATED PARTICIPANT #66   BNYMELLON/DEDICATED PARTICIPANT #66
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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031836P001-1488A-002F                           031837P001-1488A-002F                           031837P001-1488A-002F                           031837P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #66             BNYMELLON/DEDICATED PARTICIPANT #67             BNYMELLON/DEDICATED PARTICIPANT #67             BNYMELLON/DEDICATED PARTICIPANT #67
CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM




031837P001-1488A-002F                           031837P001-1488A-002F                           031837P001-1488A-002F                           031838P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #67             BNYMELLON/DEDICATED PARTICIPANT #67             BNYMELLON/DEDICATED PARTICIPANT #67             BNYMELLON/DEDICATED PARTICIPANT #68
CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031838P001-1488A-002F                           031838P001-1488A-002F                           031838P001-1488A-002F                           031838P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #68             BNYMELLON/DEDICATED PARTICIPANT #68             BNYMELLON/DEDICATED PARTICIPANT #68             BNYMELLON/DEDICATED PARTICIPANT #68
CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           PGHEVENTCREATION@BNYMELLON.COM




031838P001-1488A-002F                           031839P001-1488A-002F                           031839P001-1488A-002F                           031839P001-1488A-002F
BNYMELLON/DEDICATED PARTICIPANT #68             BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA   BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA   BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA
CORPORATE ACTIONS                               MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
525 WILLIAM PENN PL                             VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
PITTSBURGH PA 15259                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PGH.CA.EVENT.CREATION@BNYMELLON.COM             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
                                                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM


031839P001-1488A-002F                           031839P001-1488A-002F                           031839P001-1488A-002F                           031839P001-1488A-002F
BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA   BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA   BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA   BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031839P001-1488A-002F                           031839P001-1488A-002F                           031840P001-1488A-002F                           031840P001-1488A-002F
BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA   BNYMELLON/DEUTSCHE BANK AG LDN RE DBAUSTRALIA   BNYMELLON/DEXIA CREDIT LOCAL PARIS              BNYMELLON/DEXIA CREDIT LOCAL PARIS
MICHAEL KANIA                                   MICHAEL KANIA                                   CORP ACTIONS                                    CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             401 SOUTH SALINA ST                             401 SOUTH SALINA ST
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             2ND FL                                          2ND FL
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             SYRACUSE NY 13202                               SYRACUSE NY 13202
                                                                                                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
                                                                    Filed in TXSBInc.,
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031840P001-1488A-002F                         031840P001-1488A-002F                         031840P001-1488A-002F                 031840P001-1488A-002F
BNYMELLON/DEXIA CREDIT LOCAL PARIS            BNYMELLON/DEXIA CREDIT LOCAL PARIS            BNYMELLON/DEXIA CREDIT LOCAL PARIS    BNYMELLON/DEXIA CREDIT LOCAL PARIS
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                        VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM

031840P001-1488A-002F                         031840P001-1488A-002F                         031840P001-1488A-002F                 031841P001-1488A-002F
BNYMELLON/DEXIA CREDIT LOCAL PARIS            BNYMELLON/DEXIA CREDIT LOCAL PARIS            BNYMELLON/DEXIA CREDIT LOCAL PARIS    BNYMELLON/DR CUSTODY ACCOUNT
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                        ASSISTANT TREASURER
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031841P001-1488A-002F                         031841P001-1488A-002F                         031841P001-1488A-002F                 031841P001-1488A-002F
BNYMELLON/DR CUSTODY ACCOUNT                  BNYMELLON/DR CUSTODY ACCOUNT                  BNYMELLON/DR CUSTODY ACCOUNT          BNYMELLON/DR CUSTODY ACCOUNT
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
ASSISTANT TREASURER                           ASSISTANT TREASURER                           ASSISTANT TREASURER                   ASSISTANT TREASURER
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM

031841P001-1488A-002F                         031841P001-1488A-002F                         031841P001-1488A-002F                 031841P001-1488A-002F
BNYMELLON/DR CUSTODY ACCOUNT                  BNYMELLON/DR CUSTODY ACCOUNT                  BNYMELLON/DR CUSTODY ACCOUNT          BNYMELLON/DR CUSTODY ACCOUNT
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
ASSISTANT TREASURER                           ASSISTANT TREASURER                           ASSISTANT TREASURER                   ASSISTANT TREASURER
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM

031842P001-1488A-002F                         031842P001-1488A-002F                         031842P001-1488A-002F                 031842P001-1488A-002F
BNYMELLON/EF CORPORATE HOLDINGS LLC           BNYMELLON/EF CORPORATE HOLDINGS LLC           BNYMELLON/EF CORPORATE HOLDINGS LLC   BNYMELLON/EF CORPORATE HOLDINGS LLC
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


031842P001-1488A-002F                         031842P001-1488A-002F                         031842P001-1488A-002F                 031842P001-1488A-002F
BNYMELLON/EF CORPORATE HOLDINGS LLC           BNYMELLON/EF CORPORATE HOLDINGS LLC           BNYMELLON/EF CORPORATE HOLDINGS LLC   BNYMELLON/EF CORPORATE HOLDINGS LLC
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                          CORP ACTIONS
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                           401 SOUTH SALINA ST                   401 SOUTH SALINA ST
2ND FL                                        2ND FL                                        2ND FL                                2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                             SYRACUSE NY 13202                     SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
                                      Case 22-90032 Document 69GWG  Holdings,
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031842P001-1488A-002F                      031843P001-1488A-002F                         031843P001-1488A-002F                        031843P001-1488A-002F
BNYMELLON/EF CORPORATE HOLDINGS LLC        BNYMELLON/FIRM SECURITIES FINANCE             BNYMELLON/FIRM SECURITIES FINANCE            BNYMELLON/FIRM SECURITIES FINANCE
CORP ACTIONS                               MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
401 SOUTH SALINA ST                        VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
2ND FL                                     525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
SYRACUSE NY 13202                          RM 0400                                       RM 0400                                      RM 0400
PGH.CA.EVENT.CREATION@BNYMELLON.COM        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

031843P001-1488A-002F                      031843P001-1488A-002F                         031843P001-1488A-002F                        031843P001-1488A-002F
BNYMELLON/FIRM SECURITIES FINANCE          BNYMELLON/FIRM SECURITIES FINANCE             BNYMELLON/FIRM SECURITIES FINANCE            BNYMELLON/FIRM SECURITIES FINANCE
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                             VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                    RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

031843P001-1488A-002F                      031843P001-1488A-002F                         031844P001-1488A-002F                        031844P001-1488A-002F
BNYMELLON/FIRM SECURITIES FINANCE          BNYMELLON/FIRM SECURITIES FINANCE             BNYMELLON/GFI SECURITIES LTD                 BNYMELLON/GFI SECURITIES LTD
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                             VICE PRESIDENT                                525 WILLIAM PENN PL                          525 WILLIAM PENN PL
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           RM 0400                                      RM 0400
RM 0400                                    RM 0400                                       PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM

031844P001-1488A-002F                      031844P001-1488A-002F                         031844P001-1488A-002F                        031844P001-1488A-002F
BNYMELLON/GFI SECURITIES LTD               BNYMELLON/GFI SECURITIES LTD                  BNYMELLON/GFI SECURITIES LTD                 BNYMELLON/GFI SECURITIES LTD
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                    RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


031844P001-1488A-002F                      031844P001-1488A-002F                         031844P001-1488A-002F                        031845P001-1488A-002F
BNYMELLON/GFI SECURITIES LTD               BNYMELLON/GFI SECURITIES LTD                  BNYMELLON/GFI SECURITIES LTD                 BNYMELLON/GLOBAL PRIME PARTNERS
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          VICE PRESIDENT
RM 0400                                    RM 0400                                       RM 0400                                      401 SOUTH SALINA ST
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          2ND FL
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          SYRACUSE NY 13202
                                                                                                                                      GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031845P001-1488A-002F                      031845P001-1488A-002F                         031845P001-1488A-002F                        031845P001-1488A-002F
BNYMELLON/GLOBAL PRIME PARTNERS            BNYMELLON/GLOBAL PRIME PARTNERS               BNYMELLON/GLOBAL PRIME PARTNERS              BNYMELLON/GLOBAL PRIME PARTNERS
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                             VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                        401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                     2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                          SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031845P001-1488A-002F                         031845P001-1488A-002F                          031845P001-1488A-002F                        031845P001-1488A-002F
BNYMELLON/GLOBAL PRIME PARTNERS               BNYMELLON/GLOBAL PRIME PARTNERS                BNYMELLON/GLOBAL PRIME PARTNERS              BNYMELLON/GLOBAL PRIME PARTNERS
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                       2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                            SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM

031846P001-1488A-002F                         031846P001-1488A-002F                          031846P001-1488A-002F                        031846P001-1488A-002F
BNYMELLON/GOV AND CO BANK OF ENGLAND          BNYMELLON/GOV AND CO BANK OF ENGLAND           BNYMELLON/GOV AND CO BANK OF ENGLAND         BNYMELLON/GOV AND CO BANK OF ENGLAND
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                      RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


031846P001-1488A-002F                         031846P001-1488A-002F                          031846P001-1488A-002F                        031846P001-1488A-002F
BNYMELLON/GOV AND CO BANK OF ENGLAND          BNYMELLON/GOV AND CO BANK OF ENGLAND           BNYMELLON/GOV AND CO BANK OF ENGLAND         BNYMELLON/GOV AND CO BANK OF ENGLAND
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                      RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


031846P001-1488A-002F                         031847P001-1488A-002F                          031847P001-1488A-002F                        031847P001-1488A-002F
BNYMELLON/GOV AND CO BANK OF ENGLAND          BNYMELLON/HSBC BANK PLC A                      BNYMELLON/HSBC BANK PLC A                    BNYMELLON/HSBC BANK PLC A
MICHAEL KANIA                                 C IB EQUITY FINANCE NT                         C IB EQUITY FINANCE NT                       C IB EQUITY FINANCE NT
525 WILLIAM PENN PL                           MICHAEL KANIA                                  MICHAEL KANIA                                MICHAEL KANIA
RM 0400                                       525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           RM 0400                                        RM 0400                                      RM 0400
PGH.CA.EVENT.CREATION@BNYMELLON.COM           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

031847P001-1488A-002F                         031847P001-1488A-002F                          031847P001-1488A-002F                        031847P001-1488A-002F
BNYMELLON/HSBC BANK PLC A                     BNYMELLON/HSBC BANK PLC A                      BNYMELLON/HSBC BANK PLC A                    BNYMELLON/HSBC BANK PLC A
C IB EQUITY FINANCE NT                        C IB EQUITY FINANCE NT                         C IB EQUITY FINANCE NT                       C IB EQUITY FINANCE NT
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                      RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

031847P001-1488A-002F                         031847P001-1488A-002F                          031848P001-1488A-002F                        031848P001-1488A-002F
BNYMELLON/HSBC BANK PLC A                     BNYMELLON/HSBC BANK PLC A                      BNYMELLON/HSBC BANK PLC EQD USBR             BNYMELLON/HSBC BANK PLC EQD USBR
C IB EQUITY FINANCE NT                        C IB EQUITY FINANCE NT                         MICHAEL KANIA                                MICHAEL KANIA
MICHAEL KANIA                                 MICHAEL KANIA                                  VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                      RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
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031848P001-1488A-002F                         031848P001-1488A-002F                          031848P001-1488A-002F                  031848P001-1488A-002F
BNYMELLON/HSBC BANK PLC EQD USBR              BNYMELLON/HSBC BANK PLC EQD USBR               BNYMELLON/HSBC BANK PLC EQD USBR       BNYMELLON/HSBC BANK PLC EQD USBR
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM       MATTHEW.BARTEL@BNYMELLON.COM

031848P001-1488A-002F                         031848P001-1488A-002F                          031848P001-1488A-002F                  031849P001-1488A-002F
BNYMELLON/HSBC BANK PLC EQD USBR              BNYMELLON/HSBC BANK PLC EQD USBR               BNYMELLON/HSBC BANK PLC EQD USBR       BNYMELLON/HSBC BANK PLC PARIS BRANCH
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031849P001-1488A-002F                         031849P001-1488A-002F                          031849P001-1488A-002F                  031849P001-1488A-002F
BNYMELLON/HSBC BANK PLC PARIS BRANCH          BNYMELLON/HSBC BANK PLC PARIS BRANCH           BNYMELLON/HSBC BANK PLC PARIS BRANCH   BNYMELLON/HSBC BANK PLC PARIS BRANCH
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                  JMICHAEL.JOHNSONJR@BNYMELLON.COM

031849P001-1488A-002F                         031849P001-1488A-002F                          031849P001-1488A-002F                  031849P001-1488A-002F
BNYMELLON/HSBC BANK PLC PARIS BRANCH          BNYMELLON/HSBC BANK PLC PARIS BRANCH           BNYMELLON/HSBC BANK PLC PARIS BRANCH   BNYMELLON/HSBC BANK PLC PARIS BRANCH
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM         PGH.CA.EVENT.CREATION@BNYMELLON.COM

031851P001-1488A-002F                         031851P001-1488A-002F                          031851P001-1488A-002F                  031851P001-1488A-002F
BNYMELLON/ICAP LONDON                         BNYMELLON/ICAP LONDON                          BNYMELLON/ICAP LONDON                  BNYMELLON/ICAP LONDON
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                 2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM        SZYROKI.DC@MELLON.COM

031851P001-1488A-002F                         031851P001-1488A-002F                          031851P001-1488A-002F                  031851P001-1488A-002F
BNYMELLON/ICAP LONDON                         BNYMELLON/ICAP LONDON                          BNYMELLON/ICAP LONDON                  BNYMELLON/ICAP LONDON
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                 2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM     PGHEVENTCREATION@BNYMELLON.COM
                                           Case 22-90032 Document 69GWG  Holdings,
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031851P001-1488A-002F                           031852P001-1488A-002F                          031852P001-1488A-002F                          031852P001-1488A-002F
BNYMELLON/ICAP LONDON                           BNYMELLON/IRELAND                              BNYMELLON/IRELAND                              BNYMELLON/IRELAND
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                          2ND FL                                         2ND FL                                         2ND FL
SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202                              SYRACUSE NY 13202
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM

031852P001-1488A-002F                           031852P001-1488A-002F                          031852P001-1488A-002F                          031852P001-1488A-002F
BNYMELLON/IRELAND                               BNYMELLON/IRELAND                              BNYMELLON/IRELAND                              BNYMELLON/IRELAND
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                          2ND FL                                         2ND FL                                         2ND FL
SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202                              SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

031852P001-1488A-002F                           031852P001-1488A-002F                          031853P001-1488A-002F                          031853P001-1488A-002F
BNYMELLON/IRELAND                               BNYMELLON/IRELAND                              BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS   BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                          2ND FL                                         2ND FL                                         2ND FL
SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202                              SYRACUSE NY 13202
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM

031853P001-1488A-002F                           031853P001-1488A-002F                          031853P001-1488A-002F                          031853P001-1488A-002F
BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS    BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS   BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS   BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                          2ND FL                                         2ND FL                                         2ND FL
SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202                              SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM

031853P001-1488A-002F                           031853P001-1488A-002F                          031853P001-1488A-002F                          031854P001-1488A-002F
BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS    BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS   BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN BROS   BNYMELLON/LBBW NY CUSTODY
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 ASSISTANT TREASURER
401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST                            525 WILLIAM PENN PL
2ND FL                                          2ND FL                                         2ND FL                                         PITTSBURGH PA 15259
SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM

031854P001-1488A-002F                           031854P001-1488A-002F                          031854P001-1488A-002F                          031854P001-1488A-002F
BNYMELLON/LBBW NY CUSTODY                       BNYMELLON/LBBW NY CUSTODY                      BNYMELLON/LBBW NY CUSTODY                      BNYMELLON/LBBW NY CUSTODY
MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
ASSISTANT TREASURER                             ASSISTANT TREASURER                            ASSISTANT TREASURER                            ASSISTANT TREASURER
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM
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BNYMELLON/LBBW NY CUSTODY                           BNYMELLON/LBBW NY CUSTODY                      BNYMELLON/LBBW NY CUSTODY                      BNYMELLON/LBBW NY CUSTODY
MICHAEL KANIA                                       MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
ASSISTANT TREASURER                                 ASSISTANT TREASURER                            ASSISTANT TREASURER                            ASSISTANT TREASURER
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                        JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


031855P001-1488A-002F                               031855P001-1488A-002F                          031855P001-1488A-002F                          031855P001-1488A-002F
BNYMELLON/LBBW NY PRIMARY ACCOUNT                   BNYMELLON/LBBW NY PRIMARY ACCOUNT              BNYMELLON/LBBW NY PRIMARY ACCOUNT              BNYMELLON/LBBW NY PRIMARY ACCOUNT
MICHAEL KANIA                                       MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
ASSISTANT TREASURER                                 ASSISTANT TREASURER                            ASSISTANT TREASURER                            ASSISTANT TREASURER
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM          PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM


031855P001-1488A-002F                               031855P001-1488A-002F                          031855P001-1488A-002F                          031855P001-1488A-002F
BNYMELLON/LBBW NY PRIMARY ACCOUNT                   BNYMELLON/LBBW NY PRIMARY ACCOUNT              BNYMELLON/LBBW NY PRIMARY ACCOUNT              BNYMELLON/LBBW NY PRIMARY ACCOUNT
MICHAEL KANIA                                       MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
ASSISTANT TREASURER                                 ASSISTANT TREASURER                            ASSISTANT TREASURER                            ASSISTANT TREASURER
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM


031855P001-1488A-002F                               031856P001-1488A-002F                          031856P001-1488A-002F                          031856P001-1488A-002F
BNYMELLON/LBBW NY PRIMARY ACCOUNT                   BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS   BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS   BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS
MICHAEL KANIA                                       CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
ASSISTANT TREASURER                                 VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM                 GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM


031856P001-1488A-002F                               031856P001-1488A-002F                          031856P001-1488A-002F                          031856P001-1488A-002F
BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS        BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS   BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS   BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS
CORP ACTIONS                                        CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                      VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                               JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031856P001-1488A-002F                               031856P001-1488A-002F                          031857P001-1488A-002F                          031857P001-1488A-002F
BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS        BNYMELLON/LLOYDS TSB BANK PLC CLR RE ARTEMIS   BNYMELLON/MIZUHO INTERNATIONAL                 BNYMELLON/MIZUHO INTERNATIONAL
CORP ACTIONS                                        CORP ACTIONS                                   MICHAEL KANIA                                  MICHAEL KANIA
VICE PRESIDENT                                      VICE PRESIDENT                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            RM 0400                                        RM 0400
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                      PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM
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031857P001-1488A-002F                         031857P001-1488A-002F                          031857P001-1488A-002F                  031857P001-1488A-002F
BNYMELLON/MIZUHO INTERNATIONAL                BNYMELLON/MIZUHO INTERNATIONAL                 BNYMELLON/MIZUHO INTERNATIONAL         BNYMELLON/MIZUHO INTERNATIONAL
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM       MATTHEW.BARTEL@BNYMELLON.COM


031857P001-1488A-002F                         031857P001-1488A-002F                          031857P001-1488A-002F                  031858P001-1488A-002F
BNYMELLON/MIZUHO INTERNATIONAL                BNYMELLON/MIZUHO INTERNATIONAL                 BNYMELLON/MIZUHO INTERNATIONAL         BNYMELLON/MONTAGUE PLACE CUSTODY SVC
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    VICE PRESIDENT
RM 0400                                       RM 0400                                        RM 0400                                525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    RM 0400
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM    PITTSBURGH PA 15259
                                                                                                                                    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031858P001-1488A-002F                         031858P001-1488A-002F                          031858P001-1488A-002F                  031858P001-1488A-002F
BNYMELLON/MONTAGUE PLACE CUSTODY SVC          BNYMELLON/MONTAGUE PLACE CUSTODY SVC           BNYMELLON/MONTAGUE PLACE CUSTODY SVC   BNYMELLON/MONTAGUE PLACE CUSTODY SVC
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                  JMICHAEL.JOHNSONJR@BNYMELLON.COM

031858P001-1488A-002F                         031858P001-1488A-002F                          031858P001-1488A-002F                  031858P001-1488A-002F
BNYMELLON/MONTAGUE PLACE CUSTODY SVC          BNYMELLON/MONTAGUE PLACE CUSTODY SVC           BNYMELLON/MONTAGUE PLACE CUSTODY SVC   BNYMELLON/MONTAGUE PLACE CUSTODY SVC
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM         PGH.CA.EVENT.CREATION@BNYMELLON.COM

031859P001-1488A-002F                         031859P001-1488A-002F                          031859P001-1488A-002F                  031859P001-1488A-002F
BNYMELLON/MS INTERNATIONAL                    BNYMELLON/MS INTERNATIONAL                     BNYMELLON/MS INTERNATIONAL             BNYMELLON/MS INTERNATIONAL
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM        SZYROKI.DC@MELLON.COM




031859P001-1488A-002F                         031859P001-1488A-002F                          031859P001-1488A-002F                  031859P001-1488A-002F
BNYMELLON/MS INTERNATIONAL                    BNYMELLON/MS INTERNATIONAL                     BNYMELLON/MS INTERNATIONAL             BNYMELLON/MS INTERNATIONAL
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM     PGHEVENTCREATION@BNYMELLON.COM
                                       Case 22-90032 Document 69GWG  Holdings,
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031859P001-1488A-002F                       031860P001-1488A-002F                          031860P001-1488A-002F                        031860P001-1488A-002F
BNYMELLON/MS INTERNATIONAL                  BNYMELLON/NA-BANK CUSTODY                      BNYMELLON/NA-BANK CUSTODY                    BNYMELLON/NA-BANK CUSTODY
MICHAEL KANIA                               MICHAEL KANIA                                  MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                         RM 0400                                        RM 0400                                      RM 0400
PGH.CA.EVENT.CREATION@BNYMELLON.COM         PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031860P001-1488A-002F                       031860P001-1488A-002F                          031860P001-1488A-002F                        031860P001-1488A-002F
BNYMELLON/NA-BANK CUSTODY                   BNYMELLON/NA-BANK CUSTODY                      BNYMELLON/NA-BANK CUSTODY                    BNYMELLON/NA-BANK CUSTODY
MICHAEL KANIA                               MICHAEL KANIA                                  MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                     RM 0400                                        RM 0400                                      RM 0400
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                       JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031860P001-1488A-002F                       031860P001-1488A-002F                          031861P001-1488A-002F                        031861P001-1488A-002F
BNYMELLON/NA-BANK CUSTODY                   BNYMELLON/NA-BANK CUSTODY                      BNYMELLON/NATIONAL BANK OF AUSTRALIA         BNYMELLON/NATIONAL BANK OF AUSTRALIA
MICHAEL KANIA                               MICHAEL KANIA                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                            VICE PRESIDENT                               VICE PRESIDENT
RM 0400                                     RM 0400                                        401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                            2ND FL                                       2ND FL
PGHEVENTCREATION@BNYMELLON.COM              PGH.CA.EVENT.CREATION@BNYMELLON.COM            SYRACUSE NY 13202                            SYRACUSE NY 13202
                                                                                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM

031861P001-1488A-002F                       031861P001-1488A-002F                          031861P001-1488A-002F                        031861P001-1488A-002F
BNYMELLON/NATIONAL BANK OF AUSTRALIA        BNYMELLON/NATIONAL BANK OF AUSTRALIA           BNYMELLON/NATIONAL BANK OF AUSTRALIA         BNYMELLON/NATIONAL BANK OF AUSTRALIA
CORP ACTIONS                                CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                              VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                         401 SOUTH SALINA ST                            401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                      2ND FL                                         2ND FL                                       2ND FL
SYRACUSE NY 13202                           SYRACUSE NY 13202                              SYRACUSE NY 13202                            SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM             SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM

031861P001-1488A-002F                       031861P001-1488A-002F                          031861P001-1488A-002F                        031862P001-1488A-002F
BNYMELLON/NATIONAL BANK OF AUSTRALIA        BNYMELLON/NATIONAL BANK OF AUSTRALIA           BNYMELLON/NATIONAL BANK OF AUSTRALIA         BNYMELLON/NATIXIS
CORP ACTIONS                                CORP ACTIONS                                   CORP ACTIONS                                 MICHAEL KANIA
VICE PRESIDENT                              VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                         401 SOUTH SALINA ST                            401 SOUTH SALINA ST                          525 WILLIAM PENN PL
2ND FL                                      2ND FL                                         2ND FL                                       PITTSBURGH PA 15259
SYRACUSE NY 13202                           SYRACUSE NY 13202                              SYRACUSE NY 13202                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM          PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM

031862P001-1488A-002F                       031862P001-1488A-002F                          031862P001-1488A-002F                        031862P001-1488A-002F
BNYMELLON/NATIXIS                           BNYMELLON/NATIXIS                              BNYMELLON/NATIXIS                            BNYMELLON/NATIXIS
MICHAEL KANIA                               MICHAEL KANIA                                  MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                              VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                         JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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BNYMELLON/NATIXIS                             BNYMELLON/NATIXIS                             BNYMELLON/NATIXIS                            BNYMELLON/NATIXIS
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


031863P001-1488A-002F                         031863P001-1488A-002F                         031863P001-1488A-002F                        031863P001-1488A-002F
BNYMELLON/NATIXIS FIXED INCOME                BNYMELLON/NATIXIS FIXED INCOME                BNYMELLON/NATIXIS FIXED INCOME               BNYMELLON/NATIXIS FIXED INCOME
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


031863P001-1488A-002F                         031863P001-1488A-002F                         031863P001-1488A-002F                        031863P001-1488A-002F
BNYMELLON/NATIXIS FIXED INCOME                BNYMELLON/NATIXIS FIXED INCOME                BNYMELLON/NATIXIS FIXED INCOME               BNYMELLON/NATIXIS FIXED INCOME
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


031863P001-1488A-002F                         031864P001-1488A-002F                         031864P001-1488A-002F                        031864P001-1488A-002F
BNYMELLON/NATIXIS FIXED INCOME                BNYMELLON/NOMURA CL SETT NOM LTD              BNYMELLON/NOMURA CL SETT NOM LTD             BNYMELLON/NOMURA CL SETT NOM LTD
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           RM 0400                                       RM 0400                                      RM 0400
PGH.CA.EVENT.CREATION@BNYMELLON.COM           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

031864P001-1488A-002F                         031864P001-1488A-002F                         031864P001-1488A-002F                        031864P001-1488A-002F
BNYMELLON/NOMURA CL SETT NOM LTD              BNYMELLON/NOMURA CL SETT NOM LTD              BNYMELLON/NOMURA CL SETT NOM LTD             BNYMELLON/NOMURA CL SETT NOM LTD
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                       RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

031864P001-1488A-002F                         031864P001-1488A-002F                         031865P001-1488A-002F                        031865P001-1488A-002F
BNYMELLON/NOMURA CL SETT NOM LTD              BNYMELLON/NOMURA CL SETT NOM LTD              BNYMELLON/NOMURA CNS NOM RE: TFS DER         BNYMELLON/NOMURA CNS NOM RE: TFS DER
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                       RM 0400                                       PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031865P001-1488A-002F                         031865P001-1488A-002F                          031865P001-1488A-002F                  031865P001-1488A-002F
BNYMELLON/NOMURA CNS NOM RE: TFS DER          BNYMELLON/NOMURA CNS NOM RE: TFS DER           BNYMELLON/NOMURA CNS NOM RE: TFS DER   BNYMELLON/NOMURA CNS NOM RE: TFS DER
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM       MATTHEW.BARTEL@BNYMELLON.COM


031865P001-1488A-002F                         031865P001-1488A-002F                          031865P001-1488A-002F                  031866P001-1488A-002F
BNYMELLON/NOMURA CNS NOM RE: TFS DER          BNYMELLON/NOMURA CNS NOM RE: TFS DER           BNYMELLON/NOMURA CNS NOM RE: TFS DER   BNYMELLON/NOMURA GLOBAL FINANCIAL
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          PRODUCTSINC COLLATERAL ACCOUNT
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLAIM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    RM 0400
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM    PITTSBURGH PA 15259
                                                                                                                                    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031866P001-1488A-002F                         031866P001-1488A-002F                          031866P001-1488A-002F                  031866P001-1488A-002F
BNYMELLON/NOMURA GLOBAL FINANCIAL             BNYMELLON/NOMURA GLOBAL FINANCIAL              BNYMELLON/NOMURA GLOBAL FINANCIAL      BNYMELLON/NOMURA GLOBAL FINANCIAL
PRODUCTSINC COLLATERAL ACCOUNT                PRODUCTSINC COLLATERAL ACCOUNT                 PRODUCTSINC COLLATERAL ACCOUNT         PRODUCTSINC COLLATERAL ACCOUNT
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                  MICHAEL KANIA, VICE PRESIDENT          MICHAEL KANIA, VICE PRESIDENT
525 WILLAIM PENN PL                           525 WILLAIM PENN PL                            525 WILLAIM PENN PL                    525 WILLAIM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                  JMICHAEL.JOHNSONJR@BNYMELLON.COM

031866P001-1488A-002F                         031866P001-1488A-002F                          031866P001-1488A-002F                  031866P001-1488A-002F
BNYMELLON/NOMURA GLOBAL FINANCIAL             BNYMELLON/NOMURA GLOBAL FINANCIAL              BNYMELLON/NOMURA GLOBAL FINANCIAL      BNYMELLON/NOMURA GLOBAL FINANCIAL
PRODUCTSINC COLLATERAL ACCOUNT                PRODUCTSINC COLLATERAL ACCOUNT                 PRODUCTSINC COLLATERAL ACCOUNT         PRODUCTSINC COLLATERAL ACCOUNT
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                  MICHAEL KANIA, VICE PRESIDENT          MICHAEL KANIA, VICE PRESIDENT
525 WILLAIM PENN PL                           525 WILLAIM PENN PL                            525 WILLAIM PENN PL                    525 WILLAIM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM         PGH.CA.EVENT.CREATION@BNYMELLON.COM

031867P001-1488A-002F                         031867P001-1488A-002F                          031867P001-1488A-002F                  031867P001-1488A-002F
BNYMELLON/NOMURA GLOBAL FINANCIAL             BNYMELLON/NOMURA GLOBAL FINANCIAL              BNYMELLON/NOMURA GLOBAL FINANCIAL      BNYMELLON/NOMURA GLOBAL FINANCIAL
PRODUCTSINC MAIN ACCOUNT                      PRODUCTSINC MAIN ACCOUNT                       PRODUCTSINC MAIN ACCOUNT               PRODUCTSINC MAIN ACCOUNT
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                  MICHAEL KANIA, VICE PRESIDENT          MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM        SZYROKI.DC@MELLON.COM

031867P001-1488A-002F                         031867P001-1488A-002F                          031867P001-1488A-002F                  031867P001-1488A-002F
BNYMELLON/NOMURA GLOBAL FINANCIAL             BNYMELLON/NOMURA GLOBAL FINANCIAL              BNYMELLON/NOMURA GLOBAL FINANCIAL      BNYMELLON/NOMURA GLOBAL FINANCIAL
PRODUCTSINC MAIN ACCOUNT                      PRODUCTSINC MAIN ACCOUNT                       PRODUCTSINC MAIN ACCOUNT               PRODUCTSINC MAIN ACCOUNT
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                  MICHAEL KANIA, VICE PRESIDENT          MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
RM 0400                                       RM 0400                                        RM 0400                                RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM     PGHEVENTCREATION@BNYMELLON.COM
                                              Case 22-90032 Document 69GWG  Holdings,
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BNYMELLON/NOMURA GLOBAL FINANCIAL                  BNYMELLON/NOMURA NCSN RE AKJ                   BNYMELLON/NOMURA NCSN RE AKJ                  BNYMELLON/NOMURA NCSN RE AKJ
PRODUCTSINC MAIN ACCOUNT                           CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS
MICHAEL KANIA, VICE PRESIDENT                      525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
525 WILLIAM PENN PL                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
RM 0400                                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM
PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM

031868P001-1488A-002F                              031868P001-1488A-002F                          031868P001-1488A-002F                         031868P001-1488A-002F
BNYMELLON/NOMURA NCSN RE AKJ                       BNYMELLON/NOMURA NCSN RE AKJ                   BNYMELLON/NOMURA NCSN RE AKJ                  BNYMELLON/NOMURA NCSN RE AKJ
CORP ACTIONS                                       CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




031868P001-1488A-002F                              031868P001-1488A-002F                          031869P001-1488A-002F                         031869P001-1488A-002F
BNYMELLON/NOMURA NCSN RE AKJ                       BNYMELLON/NOMURA NCSN RE AKJ                   BNYMELLON/NOMURA PB NOMINEES LTD              BNYMELLON/NOMURA PB NOMINEES LTD
CORP ACTIONS                                       CORP ACTIONS                                   MICHAEL KANIA                                 MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            RM 0400                                       RM 0400
PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
                                                                                                  GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM


031869P001-1488A-002F                              031869P001-1488A-002F                          031869P001-1488A-002F                         031869P001-1488A-002F
BNYMELLON/NOMURA PB NOMINEES LTD                   BNYMELLON/NOMURA PB NOMINEES LTD               BNYMELLON/NOMURA PB NOMINEES LTD              BNYMELLON/NOMURA PB NOMINEES LTD
MICHAEL KANIA                                      MICHAEL KANIA                                  MICHAEL KANIA                                 MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
RM 0400                                            RM 0400                                        RM 0400                                       RM 0400
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                    SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM


031869P001-1488A-002F                              031869P001-1488A-002F                          031869P001-1488A-002F                         031873P001-1488A-002F
BNYMELLON/NOMURA PB NOMINEES LTD                   BNYMELLON/NOMURA PB NOMINEES LTD               BNYMELLON/NOMURA PB NOMINEES LTD              BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN
MICHAEL KANIA                                      MICHAEL KANIA                                  MICHAEL KANIA                                 MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           VICE PRESIDENT
RM 0400                                            RM 0400                                        RM 0400                                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           RM 0400
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM           PITTSBURGH PA 15259
                                                                                                                                                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031873P001-1488A-002F                              031873P001-1488A-002F                          031873P001-1488A-002F                         031873P001-1488A-002F
BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN        BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN    BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN   BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN
MICHAEL KANIA                                      MICHAEL KANIA                                  MICHAEL KANIA                                 MICHAEL KANIA
VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
RM 0400                                            RM 0400                                        RM 0400                                       RM 0400
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM
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031873P001-1488A-002F                              031873P001-1488A-002F                           031873P001-1488A-002F                          031873P001-1488A-002F
BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN        BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN     BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN    BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN
MICHAEL KANIA                                      MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
RM 0400                                            RM 0400                                         RM 0400                                        RM 0400
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                       JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM

031872P001-1488A-002F                              031872P001-1488A-002F                           031872P001-1488A-002F                          031872P001-1488A-002F
BNYMELLON/RABOBANK INTERNATIONAL UNEF              BNYMELLON/RABOBANK INTERNATIONAL UNEF           BNYMELLON/RABOBANK INTERNATIONAL UNEF          BNYMELLON/RABOBANK INTERNATIONAL UNEF
MICHAEL KANIA                                      MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM         PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM




031872P001-1488A-002F                              031872P001-1488A-002F                           031872P001-1488A-002F                          031872P001-1488A-002F
BNYMELLON/RABOBANK INTERNATIONAL UNEF              BNYMELLON/RABOBANK INTERNATIONAL UNEF           BNYMELLON/RABOBANK INTERNATIONAL UNEF          BNYMELLON/RABOBANK INTERNATIONAL UNEF
MICHAEL KANIA                                      MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                   MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM




031872P001-1488A-002F                              031874P001-1488A-002F                           031874P001-1488A-002F                          031874P001-1488A-002F
BNYMELLON/RABOBANK INTERNATIONAL UNEF              BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME    BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME   BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME
MICHAEL KANIA                                      CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST
PITTSBURGH PA 15259                                2ND FL                                          2ND FL                                         2ND FL
PGH.CA.EVENT.CREATION@BNYMELLON.COM                SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202
                                                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM


031874P001-1488A-002F                              031874P001-1488A-002F                           031874P001-1488A-002F                          031874P001-1488A-002F
BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME       BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME    BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME   BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME
CORP ACTIONS                                       CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
401 SOUTH SALINA ST                                401 SOUTH SALINA ST                             401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                             2ND FL                                          2ND FL                                         2ND FL
SYRACUSE NY 13202                                  SYRACUSE NY 13202                               SYRACUSE NY 13202                              SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031874P001-1488A-002F                              031874P001-1488A-002F                           031875P001-1488A-002F                          031875P001-1488A-002F
BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME       BNYMELLON/RABOBANK LONDONBRANCH FIXED INCOME    BNYMELLON/RABOBANK UTRECHT FIXED INCOME        BNYMELLON/RABOBANK UTRECHT FIXED INCOME
CORP ACTIONS                                       CORP ACTIONS                                    MICHAEL KANIA                                  MICHAEL KANIA
401 SOUTH SALINA ST                                401 SOUTH SALINA ST                             VICE PRESIDENT                                 VICE PRESIDENT
2ND FL                                             2ND FL                                          525 WILLIAM PENN PL                            525 WILLIAM PENN PL
SYRACUSE NY 13202                                  SYRACUSE NY 13202                               RM 0400                                        RM 0400
PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
                                                                                                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM
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031875P001-1488A-002F                           031875P001-1488A-002F                         031875P001-1488A-002F                      031875P001-1488A-002F
BNYMELLON/RABOBANK UTRECHT FIXED INCOME         BNYMELLON/RABOBANK UTRECHT FIXED INCOME       BNYMELLON/RABOBANK UTRECHT FIXED INCOME    BNYMELLON/RABOBANK UTRECHT FIXED INCOME
MICHAEL KANIA                                   MICHAEL KANIA                                 MICHAEL KANIA                              MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT                             VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                        525 WILLIAM PENN PL
RM 0400                                         RM 0400                                       RM 0400                                    RM 0400
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                        PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM           MATTHEW.BARTEL@BNYMELLON.COM

031875P001-1488A-002F                           031875P001-1488A-002F                         031875P001-1488A-002F                      031876P001-1488A-002F
BNYMELLON/RABOBANK UTRECHT FIXED INCOME         BNYMELLON/RABOBANK UTRECHT FIXED INCOME       BNYMELLON/RABOBANK UTRECHT FIXED INCOME    BNYMELLON/RE ANZ MELBOURNE
MICHAEL KANIA                                   MICHAEL KANIA                                 MICHAEL KANIA                              CORPORATE ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT                             525 WILLIAM PENN PL
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                        PITTSBURGH PA 15259
RM 0400                                         RM 0400                                       RM 0400                                    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM

031876P001-1488A-002F                           031876P001-1488A-002F                         031876P001-1488A-002F                      031876P001-1488A-002F
BNYMELLON/RE ANZ MELBOURNE                      BNYMELLON/RE ANZ MELBOURNE                    BNYMELLON/RE ANZ MELBOURNE                 BNYMELLON/RE ANZ MELBOURNE
CORPORATE ACTIONS                               CORPORATE ACTIONS                             CORPORATE ACTIONS                          CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                        PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                      PGHEVENTCREATION@BNYMELLON.COM




031876P001-1488A-002F                           031877P001-1488A-002F                         031877P001-1488A-002F                      031877P001-1488A-002F
BNYMELLON/RE ANZ MELBOURNE                      BNYMELLON/RE BARCLAYS BANK IRELAND            BNYMELLON/RE BARCLAYS BANK IRELAND         BNYMELLON/RE BARCLAYS BANK IRELAND
CORPORATE ACTIONS                               CORPORATE ACTIONS                             CORPORATE ACTIONS                          CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                        PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM




031877P001-1488A-002F                           031877P001-1488A-002F                         031877P001-1488A-002F                      031878P001-1488A-002F
BNYMELLON/RE BARCLAYS BANK IRELAND              BNYMELLON/RE BARCLAYS BANK IRELAND            BNYMELLON/RE BARCLAYS BANK IRELAND         BNYMELLON/RE BARCLAYS BANK IRELAND PLC F
CORPORATE ACTIONS                               CORPORATE ACTIONS                             CORPORATE ACTIONS                          CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                        PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031878P001-1488A-002F                           031878P001-1488A-002F                         031878P001-1488A-002F                      031878P001-1488A-002F
BNYMELLON/RE BARCLAYS BANK IRELAND PLC F        BNYMELLON/RE BARCLAYS BANK IRELAND PLC F      BNYMELLON/RE BARCLAYS BANK IRELAND PLC F   BNYMELLON/RE BARCLAYS BANK IRELAND PLC F
CORPORATE ACTIONS                               CORPORATE ACTIONS                             CORPORATE ACTIONS                          CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                        PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                      PGHEVENTCREATION@BNYMELLON.COM
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031878P001-1488A-002F                           031879P001-1488A-002F                         031879P001-1488A-002F                        031879P001-1488A-002F
BNYMELLON/RE BARCLAYS BANK IRELAND PLC F        BNYMELLON/RE BB RE FIRM                       BNYMELLON/RE BB RE FIRM                      BNYMELLON/RE BB RE FIRM
CORPORATE ACTIONS                               MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             RM 0400                                       RM 0400                                      RM 0400
PGH.CA.EVENT.CREATION@BNYMELLON.COM             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031879P001-1488A-002F                           031879P001-1488A-002F                         031879P001-1488A-002F                        031879P001-1488A-002F
BNYMELLON/RE BB RE FIRM                         BNYMELLON/RE BB RE FIRM                       BNYMELLON/RE BB RE FIRM                      BNYMELLON/RE BB RE FIRM
MICHAEL KANIA                                   MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                         RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031879P001-1488A-002F                           031879P001-1488A-002F                         031880P001-1488A-002F                        031880P001-1488A-002F
BNYMELLON/RE BB RE FIRM                         BNYMELLON/RE BB RE FIRM                       BNYMELLON/RE BNYMLB RE FIRM                  BNYMELLON/RE BNYMLB RE FIRM
MICHAEL KANIA                                   MICHAEL KANIA                                 CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                         RM 0400                                       PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM


031880P001-1488A-002F                           031880P001-1488A-002F                         031880P001-1488A-002F                        031880P001-1488A-002F
BNYMELLON/RE BNYMLB RE FIRM                     BNYMELLON/RE BNYMLB RE FIRM                   BNYMELLON/RE BNYMLB RE FIRM                  BNYMELLON/RE BNYMLB RE FIRM
CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM




031880P001-1488A-002F                           031880P001-1488A-002F                         031880P001-1488A-002F                        031881P001-1488A-002F
BNYMELLON/RE BNYMLB RE FIRM                     BNYMELLON/RE BNYMLB RE FIRM                   BNYMELLON/RE BNYMLB RE FIRM                  BNYMELLON/RE BNYMLB RE FIRM SF
CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031881P001-1488A-002F                           031881P001-1488A-002F                         031881P001-1488A-002F                        031881P001-1488A-002F
BNYMELLON/RE BNYMLB RE FIRM SF                  BNYMELLON/RE BNYMLB RE FIRM SF                BNYMELLON/RE BNYMLB RE FIRM SF               BNYMELLON/RE BNYMLB RE FIRM SF
CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031881P001-1488A-002F                         031881P001-1488A-002F                         031881P001-1488A-002F                        031881P001-1488A-002F
BNYMELLON/RE BNYMLB RE FIRM SF                BNYMELLON/RE BNYMLB RE FIRM SF                BNYMELLON/RE BNYMLB RE FIRM SF               BNYMELLON/RE BNYMLB RE FIRM SF
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM




031882P001-1488A-002F                         031882P001-1488A-002F                         031882P001-1488A-002F                        031882P001-1488A-002F
BNYMELLON/RE BNYMLUXSA RE FIRM                BNYMELLON/RE BNYMLUXSA RE FIRM                BNYMELLON/RE BNYMLUXSA RE FIRM               BNYMELLON/RE BNYMLUXSA RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM




031882P001-1488A-002F                         031882P001-1488A-002F                         031882P001-1488A-002F                        031882P001-1488A-002F
BNYMELLON/RE BNYMLUXSA RE FIRM                BNYMELLON/RE BNYMLUXSA RE FIRM                BNYMELLON/RE BNYMLUXSA RE FIRM               BNYMELLON/RE BNYMLUXSA RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM




031882P001-1488A-002F                         031883P001-1488A-002F                         031883P001-1488A-002F                        031883P001-1488A-002F
BNYMELLON/RE BNYMLUXSA RE FIRM                BNYMELLON/RE BNYMSANV RE FIRM                 BNYMELLON/RE BNYMSANV RE FIRM                BNYMELLON/RE BNYMSANV RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
PITTSBURGH PA 15259                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PGH.CA.EVENT.CREATION@BNYMELLON.COM           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031883P001-1488A-002F                         031883P001-1488A-002F                         031883P001-1488A-002F                        031883P001-1488A-002F
BNYMELLON/RE BNYMSANV RE FIRM                 BNYMELLON/RE BNYMSANV RE FIRM                 BNYMELLON/RE BNYMSANV RE FIRM                BNYMELLON/RE BNYMSANV RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031883P001-1488A-002F                         031883P001-1488A-002F                         031884P001-1488A-002F                        031884P001-1488A-002F
BNYMELLON/RE BNYMSANV RE FIRM                 BNYMELLON/RE BNYMSANV RE FIRM                 BNYMELLON/RE BNYMSANV RE FIRM EM             BNYMELLON/RE BNYMSANV RE FIRM EM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           2ND FL                                       2ND FL
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           SYRACUSE NY 13202                            SYRACUSE NY 13202
                                                                                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031884P001-1488A-002F                         031884P001-1488A-002F                          031884P001-1488A-002F                  031884P001-1488A-002F
BNYMELLON/RE BNYMSANV RE FIRM EM              BNYMELLON/RE BNYMSANV RE FIRM EM               BNYMELLON/RE BNYMSANV RE FIRM EM       BNYMELLON/RE BNYMSANV RE FIRM EM
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                 2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM       MATTHEW.BARTEL@BNYMELLON.COM

031884P001-1488A-002F                         031884P001-1488A-002F                          031884P001-1488A-002F                  031885P001-1488A-002F
BNYMELLON/RE BNYMSANV RE FIRM EM              BNYMELLON/RE BNYMSANV RE FIRM EM               BNYMELLON/RE BNYMSANV RE FIRM EM       BNYMELLON/RE BNYMSANVAMS RE FIRM LAB
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    525 WILLIAM PENN PL
2ND FL                                        2ND FL                                         2ND FL                                 PITTSBURGH PA 15259
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM

031885P001-1488A-002F                         031885P001-1488A-002F                          031885P001-1488A-002F                  031885P001-1488A-002F
BNYMELLON/RE BNYMSANVAMS RE FIRM LAB          BNYMELLON/RE BNYMSANVAMS RE FIRM LAB           BNYMELLON/RE BNYMSANVAMS RE FIRM LAB   BNYMELLON/RE BNYMSANVAMS RE FIRM LAB
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                  JMICHAEL.JOHNSONJR@BNYMELLON.COM


031885P001-1488A-002F                         031885P001-1488A-002F                          031885P001-1488A-002F                  031885P001-1488A-002F
BNYMELLON/RE BNYMSANVAMS RE FIRM LAB          BNYMELLON/RE BNYMSANVAMS RE FIRM LAB           BNYMELLON/RE BNYMSANVAMS RE FIRM LAB   BNYMELLON/RE BNYMSANVAMS RE FIRM LAB
MICHAEL KANIA                                 MICHAEL KANIA                                  MICHAEL KANIA                          MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM         PGH.CA.EVENT.CREATION@BNYMELLON.COM


031886P001-1488A-002F                         031886P001-1488A-002F                          031886P001-1488A-002F                  031886P001-1488A-002F
BNYMELLON/RE BNYMSANVFFT RE FIRM              BNYMELLON/RE BNYMSANVFFT RE FIRM               BNYMELLON/RE BNYMSANVFFT RE FIRM       BNYMELLON/RE BNYMSANVFFT RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM        SZYROKI.DC@MELLON.COM




031886P001-1488A-002F                         031886P001-1488A-002F                          031886P001-1488A-002F                  031886P001-1488A-002F
BNYMELLON/RE BNYMSANVFFT RE FIRM              BNYMELLON/RE BNYMSANVFFT RE FIRM               BNYMELLON/RE BNYMSANVFFT RE FIRM       BNYMELLON/RE BNYMSANVFFT RE FIRM
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM     PGHEVENTCREATION@BNYMELLON.COM
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031886P001-1488A-002F                      031887P001-1488A-002F                         031887P001-1488A-002F                        031887P001-1488A-002F
BNYMELLON/RE BNYMSANVFFT RE FIRM           BNYMELLON/RE BNYMSANVLB RE FIRM               BNYMELLON/RE BNYMSANVLB RE FIRM              BNYMELLON/RE BNYMSANVLB RE FIRM
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM




031887P001-1488A-002F                      031887P001-1488A-002F                         031887P001-1488A-002F                        031887P001-1488A-002F
BNYMELLON/RE BNYMSANVLB RE FIRM            BNYMELLON/RE BNYMSANVLB RE FIRM               BNYMELLON/RE BNYMSANVLB RE FIRM              BNYMELLON/RE BNYMSANVLB RE FIRM
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




031887P001-1488A-002F                      031887P001-1488A-002F                         031888P001-1488A-002F                        031888P001-1488A-002F
BNYMELLON/RE BNYMSANVLB RE FIRM            BNYMELLON/RE BNYMSANVLB RE FIRM               BNYMELLON/RE FFT RE FIRM                     BNYMELLON/RE FFT RE FIRM
CORP ACTIONS                               CORP ACTIONS                                  MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           RM 0400                                      RM 0400
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                                                                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


031888P001-1488A-002F                      031888P001-1488A-002F                         031888P001-1488A-002F                        031888P001-1488A-002F
BNYMELLON/RE FFT RE FIRM                   BNYMELLON/RE FFT RE FIRM                      BNYMELLON/RE FFT RE FIRM                     BNYMELLON/RE FFT RE FIRM
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                    RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


031888P001-1488A-002F                      031888P001-1488A-002F                         031888P001-1488A-002F                        031889P001-1488A-002F
BNYMELLON/RE FFT RE FIRM                   BNYMELLON/RE FFT RE FIRM                      BNYMELLON/RE FFT RE FIRM                     BNYMELLON/RE FIRM BRPT ASSETS
MICHAEL KANIA                              MICHAEL KANIA                                 MICHAEL KANIA                                CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                    RM 0400                                       RM 0400                                      PITTSBURGH PA 15259
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM


031889P001-1488A-002F                      031889P001-1488A-002F                         031889P001-1488A-002F                        031889P001-1488A-002F
BNYMELLON/RE FIRM BRPT ASSETS              BNYMELLON/RE FIRM BRPT ASSETS                 BNYMELLON/RE FIRM BRPT ASSETS                BNYMELLON/RE FIRM BRPT ASSETS
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
                                                                    Filed in TXSBInc.,
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031889P001-1488A-002F                         031889P001-1488A-002F                            031889P001-1488A-002F                        031889P001-1488A-002F
BNYMELLON/RE FIRM BRPT ASSETS                 BNYMELLON/RE FIRM BRPT ASSETS                    BNYMELLON/RE FIRM BRPT ASSETS                BNYMELLON/RE FIRM BRPT ASSETS
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM




031891P001-1488A-002F                         031891P001-1488A-002F                            031891P001-1488A-002F                        031891P001-1488A-002F
BNYMELLON/RE FIRM INVESTMENT ACCOUNT          BNYMELLON/RE FIRM INVESTMENT ACCOUNT             BNYMELLON/RE FIRM INVESTMENT ACCOUNT         BNYMELLON/RE FIRM INVESTMENT ACCOUNT
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


031891P001-1488A-002F                         031891P001-1488A-002F                            031891P001-1488A-002F                        031891P001-1488A-002F
BNYMELLON/RE FIRM INVESTMENT ACCOUNT          BNYMELLON/RE FIRM INVESTMENT ACCOUNT             BNYMELLON/RE FIRM INVESTMENT ACCOUNT         BNYMELLON/RE FIRM INVESTMENT ACCOUNT
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


031891P001-1488A-002F                         031892P001-1488A-002F                            031892P001-1488A-002F                        031892P001-1488A-002F
BNYMELLON/RE FIRM INVESTMENT ACCOUNT          BNYMELLON/RE FIRM INVESTMENT PORTFOLIO           BNYMELLON/RE FIRM INVESTMENT PORTFOLIO       BNYMELLON/RE FIRM INVESTMENT PORTFOLIO
CORP ACTIONS                                  MICHAEL KANIA                                    MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031892P001-1488A-002F                         031892P001-1488A-002F                            031892P001-1488A-002F                        031892P001-1488A-002F
BNYMELLON/RE FIRM INVESTMENT PORTFOLIO        BNYMELLON/RE FIRM INVESTMENT PORTFOLIO           BNYMELLON/RE FIRM INVESTMENT PORTFOLIO       BNYMELLON/RE FIRM INVESTMENT PORTFOLIO
MICHAEL KANIA                                 MICHAEL KANIA                                    MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031892P001-1488A-002F                         031892P001-1488A-002F                            031893P001-1488A-002F                        031893P001-1488A-002F
BNYMELLON/RE FIRM INVESTMENT PORTFOLIO        BNYMELLON/RE FIRM INVESTMENT PORTFOLIO           BNYMELLON/RE FIRM NYIB SECURED FINANCE       BNYMELLON/RE FIRM NYIB SECURED FINANCE
MICHAEL KANIA                                 MICHAEL KANIA                                    CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                   525 WILLIAM PENN PL                          525 WILLIAM PENN PL
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM
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031893P001-1488A-002F                         031893P001-1488A-002F                            031893P001-1488A-002F                    031893P001-1488A-002F
BNYMELLON/RE FIRM NYIB SECURED FINANCE        BNYMELLON/RE FIRM NYIB SECURED FINANCE           BNYMELLON/RE FIRM NYIB SECURED FINANCE   BNYMELLON/RE FIRM NYIB SECURED FINANCE
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM         MATTHEW.BARTEL@BNYMELLON.COM




031893P001-1488A-002F                         031893P001-1488A-002F                            031893P001-1488A-002F                    031894P001-1488A-002F
BNYMELLON/RE FIRM NYIB SECURED FINANCE        BNYMELLON/RE FIRM NYIB SECURED FINANCE           BNYMELLON/RE FIRM NYIB SECURED FINANCE   BNYMELLON/RE FIRM SMPT ASSETS
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM      GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031894P001-1488A-002F                         031894P001-1488A-002F                            031894P001-1488A-002F                    031894P001-1488A-002F
BNYMELLON/RE FIRM SMPT ASSETS                 BNYMELLON/RE FIRM SMPT ASSETS                    BNYMELLON/RE FIRM SMPT ASSETS            BNYMELLON/RE FIRM SMPT ASSETS
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                    JMICHAEL.JOHNSONJR@BNYMELLON.COM




031894P001-1488A-002F                         031894P001-1488A-002F                            031894P001-1488A-002F                    031894P001-1488A-002F
BNYMELLON/RE FIRM SMPT ASSETS                 BNYMELLON/RE FIRM SMPT ASSETS                    BNYMELLON/RE FIRM SMPT ASSETS            BNYMELLON/RE FIRM SMPT ASSETS
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM           PGH.CA.EVENT.CREATION@BNYMELLON.COM




031895P001-1488A-002F                         031895P001-1488A-002F                            031895P001-1488A-002F                    031895P001-1488A-002F
BNYMELLON/RE FIRM TRADE INS                   BNYMELLON/RE FIRM TRADE INS                      BNYMELLON/RE FIRM TRADE INS              BNYMELLON/RE FIRM TRADE INS
MICHAEL KANIA                                 MICHAEL KANIA                                    MICHAEL KANIA                            MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                           VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM          SZYROKI.DC@MELLON.COM


031895P001-1488A-002F                         031895P001-1488A-002F                            031895P001-1488A-002F                    031895P001-1488A-002F
BNYMELLON/RE FIRM TRADE INS                   BNYMELLON/RE FIRM TRADE INS                      BNYMELLON/RE FIRM TRADE INS              BNYMELLON/RE FIRM TRADE INS
MICHAEL KANIA                                 MICHAEL KANIA                                    MICHAEL KANIA                            MICHAEL KANIA
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                           VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM       PGHEVENTCREATION@BNYMELLON.COM
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031895P001-1488A-002F                              031896P001-1488A-002F                         031896P001-1488A-002F                         031896P001-1488A-002F
BNYMELLON/RE FIRM TRADE INS                        BNYMELLON/RE HSBC BANK PLC                    BNYMELLON/RE HSBC BANK PLC                    BNYMELLON/RE HSBC BANK PLC
MICHAEL KANIA                                      CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS
VICE PRESIDENT                                     525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL
525 WILLIAM PENN PL                                PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PITTSBURGH PA 15259                                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM


031896P001-1488A-002F                              031896P001-1488A-002F                         031896P001-1488A-002F                         031897P001-1488A-002F
BNYMELLON/RE HSBC BANK PLC                         BNYMELLON/RE HSBC BANK PLC                    BNYMELLON/RE HSBC BANK PLC                    BNYMELLON/RE HSBC FRANCE
CORPORATE ACTIONS                                  CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                              PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




031897P001-1488A-002F                              031897P001-1488A-002F                         031897P001-1488A-002F                         031897P001-1488A-002F
BNYMELLON/RE HSBC FRANCE                           BNYMELLON/RE HSBC FRANCE                      BNYMELLON/RE HSBC FRANCE                      BNYMELLON/RE HSBC FRANCE
CORPORATE ACTIONS                                  CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         PGHEVENTCREATION@BNYMELLON.COM




031897P001-1488A-002F                              031898P001-1488A-002F                         031898P001-1488A-002F                         031898P001-1488A-002F
BNYMELLON/RE HSBC FRANCE                           BNYMELLON/RE SMBC NIKKO                       BNYMELLON/RE SMBC NIKKO                       BNYMELLON/RE SMBC NIKKO
CORPORATE ACTIONS                                  SECURITIES AMERICA INC                        SECURITIES AMERICA INC                        SECURITIES AMERICA INC
525 WILLIAM PENN PL                                CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS
PITTSBURGH PA 15259                                525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PGH.CA.EVENT.CREATION@BNYMELLON.COM                PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259
                                                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM


031898P001-1488A-002F                              031898P001-1488A-002F                         031898P001-1488A-002F                         031899P001-1488A-002F
BNYMELLON/RE SMBC NIKKO                            BNYMELLON/RE SMBC NIKKO                       BNYMELLON/RE SMBC NIKKO                       BNYMELLON/RE SMBC NIKKO CAPITAL MARKETS LTD
SECURITIES AMERICA INC                             SECURITIES AMERICA INC                        SECURITIES AMERICA INC                        CORPORATE ACTIONS
CORPORATE ACTIONS                                  CORPORATE ACTIONS                             CORPORATE ACTIONS                             525 WILLIAM PENN PL
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           PITTSBURGH PA 15259
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
SZYROKI.DC@MELLON.COM                              PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM


031899P001-1488A-002F                              031899P001-1488A-002F                         031899P001-1488A-002F                         031899P001-1488A-002F
BNYMELLON/RE SMBC NIKKO CAPITAL MARKETS LTD        BNYMELLON/RE SMBC NIKKO CAPITAL MARKETS LTD   BNYMELLON/RE SMBC NIKKO CAPITAL MARKETS LTD   BNYMELLON/RE SMBC NIKKO CAPITAL MARKETS LTD
CORPORATE ACTIONS                                  CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         PGHEVENTCREATION@BNYMELLON.COM
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031899P001-1488A-002F                              031900P001-1488A-002F                         031900P001-1488A-002F                        031900P001-1488A-002F
BNYMELLON/RE SMBC NIKKO CAPITAL MARKETS LTD        BNYMELLON/SPECIAL PROCESSING #99              BNYMELLON/SPECIAL PROCESSING #99             BNYMELLON/SPECIAL PROCESSING #99
CORPORATE ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                                VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
PITTSBURGH PA 15259                                401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PGH.CA.EVENT.CREATION@BNYMELLON.COM                2ND FL                                        2ND FL                                       2ND FL
                                                   SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
                                                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

031900P001-1488A-002F                              031900P001-1488A-002F                         031900P001-1488A-002F                        031900P001-1488A-002F
BNYMELLON/SPECIAL PROCESSING #99                   BNYMELLON/SPECIAL PROCESSING #99              BNYMELLON/SPECIAL PROCESSING #99             BNYMELLON/SPECIAL PROCESSING #99
CORP ACTIONS                                       CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                                401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                             2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                                  SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

031900P001-1488A-002F                              031900P001-1488A-002F                         031901P001-1488A-002F                        031901P001-1488A-002F
BNYMELLON/SPECIAL PROCESSING #99                   BNYMELLON/SPECIAL PROCESSING #99              BNYMELLON/SUSQUEHANNA FINANCIAL              BNYMELLON/SUSQUEHANNA FINANCIAL
CORP ACTIONS                                       CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                401 SOUTH SALINA ST                          401 SOUTH SALINA ST
401 SOUTH SALINA ST                                401 SOUTH SALINA ST                           2ND FL                                       2ND FL
2ND FL                                             2ND FL                                        SYRACUSE NY 13202                            SYRACUSE NY 13202
SYRACUSE NY 13202                                  SYRACUSE NY 13202                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM

031901P001-1488A-002F                              031901P001-1488A-002F                         031901P001-1488A-002F                        031901P001-1488A-002F
BNYMELLON/SUSQUEHANNA FINANCIAL                    BNYMELLON/SUSQUEHANNA FINANCIAL               BNYMELLON/SUSQUEHANNA FINANCIAL              BNYMELLON/SUSQUEHANNA FINANCIAL
CORP ACTIONS                                       CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                                401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                             2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                                  SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM                    SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


031901P001-1488A-002F                              031901P001-1488A-002F                         031901P001-1488A-002F                        031902P001-1488A-002F
BNYMELLON/SUSQUEHANNA FINANCIAL                    BNYMELLON/SUSQUEHANNA FINANCIAL               BNYMELLON/SUSQUEHANNA FINANCIAL              BNYMELLON/TRUST CO OF LA
CORP ACTIONS                                       CORP ACTIONS                                  CORP ACTIONS                                 MICHAEL KANIA
401 SOUTH SALINA ST                                401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          525 WILLIAM PENN PL
2ND FL                                             2ND FL                                        2ND FL                                       RM 0400
SYRACUSE NY 13202                                  SYRACUSE NY 13202                             SYRACUSE NY 13202                            PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031902P001-1488A-002F                              031902P001-1488A-002F                         031902P001-1488A-002F                        031902P001-1488A-002F
BNYMELLON/TRUST CO OF LA                           BNYMELLON/TRUST CO OF LA                      BNYMELLON/TRUST CO OF LA                     BNYMELLON/TRUST CO OF LA
MICHAEL KANIA                                      MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                            RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
                                                                    Filed in TXSBInc.,
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031902P001-1488A-002F                         031902P001-1488A-002F                         031902P001-1488A-002F                        031902P001-1488A-002F
BNYMELLON/TRUST CO OF LA                      BNYMELLON/TRUST CO OF LA                      BNYMELLON/TRUST CO OF LA                     BNYMELLON/TRUST CO OF LA
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                       RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


031903P001-1488A-002F                         031903P001-1488A-002F                         031903P001-1488A-002F                        031903P001-1488A-002F
BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                  BNYMELLON/WEALTH MANAGEMENT
KEVIN KELLY                                   KEVIN KELLY                                   KEVIN KELLY                                  KEVIN KELLY
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
ONE MELLON BANK CTR                           ONE MELLON BANK CTR                           ONE MELLON BANK CTR                          ONE MELLON BANK CTR
4TH FLOOR- 151-0440                           4TH FLOOR- 151-0440                           4TH FLOOR- 151-0440                          4TH FLOOR- 151-0440
PITTSBURGH PA 15258                           PITTSBURGH PA 15258                           PITTSBURGH PA 15258                          PITTSBURGH PA 15258
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM

031903P001-1488A-002F                         031904P001-1488A-002F                         031904P001-1488A-002F                        031904P001-1488A-002F
BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                  BNYMELLON/WEALTH MANAGEMENT
KEVIN KELLY                                   CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
CORPORATE ACTIONS                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
ONE MELLON BANK CTR                           STE 1215                                      STE 1215                                     STE 1215
4TH FLOOR- 151-0440                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PITTSBURGH PA 15258                           JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM

031904P001-1488A-002F                         031904P001-1488A-002F                         031904P001-1488A-002F                        031904P001-1488A-002F
BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                  BNYMELLON/WEALTH MANAGEMENT
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
STE 1215                                      STE 1215                                      STE 1215                                     STE 1215
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


031904P001-1488A-002F                         031904P001-1488A-002F                         031905P001-1488A-002F                        031905P001-1488A-002F
BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                  BNYMELLON/WEALTH MANAGEMENT
CORPORATE ACTIONS                             CORPORATE ACTIONS                             MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           CORP ACTIONS                                 CORP ACTIONS
STE 1215                                      STE 1215                                      525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           STE 1215                                     STE 1215
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                                                                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM

031905P001-1488A-002F                         031905P001-1488A-002F                         031905P001-1488A-002F                        031905P001-1488A-002F
BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                   BNYMELLON/WEALTH MANAGEMENT                  BNYMELLON/WEALTH MANAGEMENT
MICHAEL KANIA                                 MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
STE 1215                                      STE 1215                                      STE 1215                                     STE 1215
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM
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031905P001-1488A-002F                            031905P001-1488A-002F                          031905P001-1488A-002F                       031906P001-1488A-002F
BNYMELLON/WEALTH MANAGEMENT                      BNYMELLON/WEALTH MANAGEMENT                    BNYMELLON/WEALTH MANAGEMENT                 BNYMELLON/WF AND CO WELLS FARGO AND CO
MICHAEL KANIA                                    MICHAEL KANIA                                  MICHAEL KANIA                               MICHAEL KANIA
CORP ACTIONS                                     CORP ACTIONS                                   CORP ACTIONS                                525 WILLIAM PENN PL
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         RM 0400
STE 1215                                         STE 1215                                       STE 1215                                    PITTSBURGH PA 15259
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM

031906P001-1488A-002F                            031906P001-1488A-002F                          031906P001-1488A-002F                       031906P001-1488A-002F
BNYMELLON/WF AND CO WELLS FARGO AND CO           BNYMELLON/WF AND CO WELLS FARGO AND CO         BNYMELLON/WF AND CO WELLS FARGO AND CO      BNYMELLON/WF AND CO WELLS FARGO AND CO
MICHAEL KANIA                                    MICHAEL KANIA                                  MICHAEL KANIA                               MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                        RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                       JMICHAEL.JOHNSONJR@BNYMELLON.COM


031906P001-1488A-002F                            031906P001-1488A-002F                          031906P001-1488A-002F                       031906P001-1488A-002F
BNYMELLON/WF AND CO WELLS FARGO AND CO           BNYMELLON/WF AND CO WELLS FARGO AND CO         BNYMELLON/WF AND CO WELLS FARGO AND CO      BNYMELLON/WF AND CO WELLS FARGO AND CO
MICHAEL KANIA                                    MICHAEL KANIA                                  MICHAEL KANIA                               MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                        RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM    WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM


031906P001-1488A-002F                            031906P001-1488A-002F                          031906P001-1488A-002F                       031906P001-1488A-002F
BNYMELLON/WF AND CO WELLS FARGO AND CO           BNYMELLON/WF AND CO WELLS FARGO AND CO         BNYMELLON/WF AND CO WELLS FARGO AND CO      BNYMELLON/WF AND CO WELLS FARGO AND CO
MICHAEL KANIA                                    MICHAEL KANIA                                  MICHAEL KANIA                               MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                        RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
MEREDICE.ROWE@WELLSFARGO.COM                     PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM         BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM


031906P001-1488A-002F                            031907P001-1488A-002F                          031907P001-1488A-002F                       031907P001-1488A-002F
BNYMELLON/WF AND CO WELLS FARGO AND CO           BNYMELLON/WF AND CO WELLS FARGO AND CO PI      BNYMELLON/WF AND CO WELLS FARGO AND CO PI   BNYMELLON/WF AND CO WELLS FARGO AND CO PI
MICHAEL KANIA                                    MICHAEL KANIA                                  MICHAEL KANIA                               MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                        RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
FINESSA.ROSSON@WELLSFARGOADVISORS.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                         JUSTIN.WHITEHOUSE@BNYMELLON.COM


031907P001-1488A-002F                            031907P001-1488A-002F                          031907P001-1488A-002F                       031907P001-1488A-002F
BNYMELLON/WF AND CO WELLS FARGO AND CO PI        BNYMELLON/WF AND CO WELLS FARGO AND CO PI      BNYMELLON/WF AND CO WELLS FARGO AND CO PI   BNYMELLON/WF AND CO WELLS FARGO AND CO PI
MICHAEL KANIA                                    MICHAEL KANIA                                  MICHAEL KANIA                               MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
RM 0400                                          RM 0400                                        RM 0400                                     RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
                                            Case 22-90032 Document 69GWG  Holdings,
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031907P001-1488A-002F                            031907P001-1488A-002F                             031907P001-1488A-002F                          031907P001-1488A-002F
BNYMELLON/WF AND CO WELLS FARGO AND CO PI        BNYMELLON/WF AND CO WELLS FARGO AND CO PI         BNYMELLON/WF AND CO WELLS FARGO AND CO PI      BNYMELLON/WF AND CO WELLS FARGO AND CO PI
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                            525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                        RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                            PITTSBURGH PA 15259
VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM         WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM                   PGHEVENTCREATION@BNYMELLON.COM


031907P001-1488A-002F                            031907P001-1488A-002F                             031907P001-1488A-002F                          031909P001-1488A-002F
BNYMELLON/WF AND CO WELLS FARGO AND CO PI        BNYMELLON/WF AND CO WELLS FARGO AND CO PI         BNYMELLON/WF AND CO WELLS FARGO AND CO PI      BNYMELLON/WINTERFLOOD SECURITIES LTD
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                            525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                        RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM              BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


031909P001-1488A-002F                            031909P001-1488A-002F                             031909P001-1488A-002F                          031909P001-1488A-002F
BNYMELLON/WINTERFLOOD SECURITIES LTD             BNYMELLON/WINTERFLOOD SECURITIES LTD              BNYMELLON/WINTERFLOOD SECURITIES LTD           BNYMELLON/WINTERFLOOD SECURITIES LTD
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                            525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                        RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                   SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM


031909P001-1488A-002F                            031909P001-1488A-002F                             031909P001-1488A-002F                          031909P001-1488A-002F
BNYMELLON/WINTERFLOOD SECURITIES LTD             BNYMELLON/WINTERFLOOD SECURITIES LTD              BNYMELLON/WINTERFLOOD SECURITIES LTD           BNYMELLON/WINTERFLOOD SECURITIES LTD
MICHAEL KANIA                                    MICHAEL KANIA                                     MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL                            525 WILLIAM PENN PL
RM 0400                                          RM 0400                                           RM 0400                                        RM 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                            PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


031771P001-1488A-002F                            031771P001-1488A-002F                             031771P001-1488A-002F                          031771P001-1488A-002F
BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC     BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC      BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC   BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC
CORP ACTION                                      CORP ACTION                                       CORP ACTION                                    CORP ACTION
401 SOUTH SALINA ST                              401 SOUTH SALINA ST                               401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                           2ND FL                                            2ND FL                                         2ND FL
SYRACUSE NY 13202                                SYRACUSE NY 13202                                 SYRACUSE NY 13202                              SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM


031771P001-1488A-002F                            031771P001-1488A-002F                             031771P001-1488A-002F                          031771P001-1488A-002F
BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC     BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC      BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC   BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC
CORP ACTION                                      CORP ACTION                                       CORP ACTION                                    CORP ACTION
401 SOUTH SALINA ST                              401 SOUTH SALINA ST                               401 SOUTH SALINA ST                            401 SOUTH SALINA ST
2ND FL                                           2ND FL                                            2ND FL                                         2ND FL
SYRACUSE NY 13202                                SYRACUSE NY 13202                                 SYRACUSE NY 13202                              SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                      JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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031771P001-1488A-002F                          031781P001-1488A-002F                         031781P001-1488A-002F                        031781P001-1488A-002F
BNYMELLONAG DESHAW OCULUS PORT LLCPLGCOLL AC   BNYMELLONBARCLAYS CAPITAL INC                 BNYMELLONBARCLAYS CAPITAL INC                BNYMELLONBARCLAYS CAPITAL INC
CORP ACTION                                    MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
401 SOUTH SALINA ST                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
2ND FL                                         RM 0400                                       RM 0400                                      RM 0400
SYRACUSE NY 13202                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


031781P001-1488A-002F                          031781P001-1488A-002F                         031781P001-1488A-002F                        031781P001-1488A-002F
BNYMELLONBARCLAYS CAPITAL INC                  BNYMELLONBARCLAYS CAPITAL INC                 BNYMELLONBARCLAYS CAPITAL INC                BNYMELLONBARCLAYS CAPITAL INC
MICHAEL KANIA                                  MICHAEL KANIA                                 MICHAEL KANIA                                MICHAEL KANIA
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                        RM 0400                                       RM 0400                                      RM 0400
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031781P001-1488A-002F                          031781P001-1488A-002F                         031797P001-1488A-002F                        031797P001-1488A-002F
BNYMELLONBARCLAYS CAPITAL INC                  BNYMELLONBARCLAYS CAPITAL INC                 BNYMELLONCACEIS BANK DEUTSCHLAND             BNYMELLONCACEIS BANK DEUTSCHLAND
MICHAEL KANIA                                  MICHAEL KANIA                                 GMBH RECLIENT                                GMBH RECLIENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           CORP ACTIONS, VICE PRESIDENT                 CORP ACTIONS, VICE PRESIDENT
RM 0400                                        RM 0400                                       401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           2ND FL                                       2ND FL
PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM           SYRACUSE NY 13202                            SYRACUSE NY 13202
                                                                                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM

031797P001-1488A-002F                          031797P001-1488A-002F                         031797P001-1488A-002F                        031797P001-1488A-002F
BNYMELLONCACEIS BANK DEUTSCHLAND               BNYMELLONCACEIS BANK DEUTSCHLAND              BNYMELLONCACEIS BANK DEUTSCHLAND             BNYMELLONCACEIS BANK DEUTSCHLAND
GMBH RECLIENT                                  GMBH RECLIENT                                 GMBH RECLIENT                                GMBH RECLIENT
CORP ACTIONS, VICE PRESIDENT                   CORP ACTIONS, VICE PRESIDENT                  CORP ACTIONS, VICE PRESIDENT                 CORP ACTIONS, VICE PRESIDENT
401 SOUTH SALINA ST                            401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                         2ND FL                                        2ND FL                                       2ND FL
SYRACUSE NY 13202                              SYRACUSE NY 13202                             SYRACUSE NY 13202                            SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM

031797P001-1488A-002F                          031797P001-1488A-002F                         031797P001-1488A-002F                        031800P001-1488A-002F
BNYMELLONCACEIS BANK DEUTSCHLAND               BNYMELLONCACEIS BANK DEUTSCHLAND              BNYMELLONCACEIS BANK DEUTSCHLAND             BNYMELLONCANTOR FITZGERALD, EUROPE
GMBH RECLIENT                                  GMBH RECLIENT                                 GMBH RECLIENT                                CORP ACTIONS
CORP ACTIONS, VICE PRESIDENT                   CORP ACTIONS, VICE PRESIDENT                  CORP ACTIONS, VICE PRESIDENT                 525 WILLIAM PENN PL
401 SOUTH SALINA ST                            401 SOUTH SALINA ST                           401 SOUTH SALINA ST                          PITTSBURGH PA 15259
2ND FL                                         2ND FL                                        2ND FL                                       GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
SYRACUSE NY 13202                              SYRACUSE NY 13202                             SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM

031800P001-1488A-002F                          031800P001-1488A-002F                         031800P001-1488A-002F                        031800P001-1488A-002F
BNYMELLONCANTOR FITZGERALD, EUROPE             BNYMELLONCANTOR FITZGERALD, EUROPE            BNYMELLONCANTOR FITZGERALD, EUROPE           BNYMELLONCANTOR FITZGERALD, EUROPE
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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031800P001-1488A-002F                          031800P001-1488A-002F                             031800P001-1488A-002F                        031800P001-1488A-002F
BNYMELLONCANTOR FITZGERALD, EUROPE             BNYMELLONCANTOR FITZGERALD, EUROPE                BNYMELLONCANTOR FITZGERALD, EUROPE           BNYMELLONCANTOR FITZGERALD, EUROPE
CORP ACTIONS                                   CORP ACTIONS                                      CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM




031805P001-1488A-002F                          031805P001-1488A-002F                             031805P001-1488A-002F                        031805P001-1488A-002F
BNYMELLONDE SHAW AND CO                        BNYMELLONDE SHAW AND CO                           BNYMELLONDE SHAW AND CO                      BNYMELLONDE SHAW AND CO
CORP ACTIONS                                   CORP ACTIONS                                      CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                            401 SOUTH SALINA ST                               401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                         2ND FL                                            2ND FL                                       2ND FL
SYRACUSE NY 13202                              SYRACUSE NY 13202                                 SYRACUSE NY 13202                            SYRACUSE NY 13202
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM

031805P001-1488A-002F                          031805P001-1488A-002F                             031805P001-1488A-002F                        031805P001-1488A-002F
BNYMELLONDE SHAW AND CO                        BNYMELLONDE SHAW AND CO                           BNYMELLONDE SHAW AND CO                      BNYMELLONDE SHAW AND CO
CORP ACTIONS                                   CORP ACTIONS                                      CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                            401 SOUTH SALINA ST                               401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                         2ND FL                                            2ND FL                                       2ND FL
SYRACUSE NY 13202                              SYRACUSE NY 13202                                 SYRACUSE NY 13202                            SYRACUSE NY 13202
JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                      JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM

031805P001-1488A-002F                          031850P001-1488A-002F                             031850P001-1488A-002F                        031850P001-1488A-002F
BNYMELLONDE SHAW AND CO                        BNYMELLONHYMF INC FIRM EQUITIES DTC BOX           BNYMELLONHYMF INC FIRM EQUITIES DTC BOX      BNYMELLONHYMF INC FIRM EQUITIES DTC BOX
CORP ACTIONS                                   MICHAEL KANIA                                     MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               VICE PRESIDENT
401 SOUTH SALINA ST                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                          525 WILLIAM PENN PL
2ND FL                                         RM 0400                                           RM 0400                                      RM 0400
SYRACUSE NY 13202                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

031850P001-1488A-002F                          031850P001-1488A-002F                             031850P001-1488A-002F                        031850P001-1488A-002F
BNYMELLONHYMF INC FIRM EQUITIES DTC BOX        BNYMELLONHYMF INC FIRM EQUITIES DTC BOX           BNYMELLONHYMF INC FIRM EQUITIES DTC BOX      BNYMELLONHYMF INC FIRM EQUITIES DTC BOX
MICHAEL KANIA                                  MICHAEL KANIA                                     MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                          525 WILLIAM PENN PL
RM 0400                                        RM 0400                                           RM 0400                                      RM 0400
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM                  MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

031850P001-1488A-002F                          031850P001-1488A-002F                             031870P001-1488A-002F                        031870P001-1488A-002F
BNYMELLONHYMF INC FIRM EQUITIES DTC BOX        BNYMELLONHYMF INC FIRM EQUITIES DTC BOX           BNYMELLONOZ DOMESTIC PARTNERS II, LP         BNYMELLONOZ DOMESTIC PARTNERS II, LP
MICHAEL KANIA                                  MICHAEL KANIA                                     CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                 VICE PRESIDENT                                    VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               401 SOUTH SALINA ST                          401 SOUTH SALINA ST
RM 0400                                        RM 0400                                           2ND FL                                       2ND FL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               SYRACUSE NY 13202                            SYRACUSE NY 13202
PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031870P001-1488A-002F                         031870P001-1488A-002F                          031870P001-1488A-002F                  031870P001-1488A-002F
BNYMELLONOZ DOMESTIC PARTNERS II, LP          BNYMELLONOZ DOMESTIC PARTNERS II, LP           BNYMELLONOZ DOMESTIC PARTNERS II, LP   BNYMELLONOZ DOMESTIC PARTNERS II, LP
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                 2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      SYRACUSE NY 13202
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM       MATTHEW.BARTEL@BNYMELLON.COM

031870P001-1488A-002F                         031870P001-1488A-002F                          031870P001-1488A-002F                  031871P001-1488A-002F
BNYMELLONOZ DOMESTIC PARTNERS II, LP          BNYMELLONOZ DOMESTIC PARTNERS II, LP           BNYMELLONOZ DOMESTIC PARTNERS II, LP   BNYMELLONOZ DOMESTIC PARTNERS,LP
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                 2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      SYRACUSE NY 13202
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

031871P001-1488A-002F                         031871P001-1488A-002F                          031871P001-1488A-002F                  031871P001-1488A-002F
BNYMELLONOZ DOMESTIC PARTNERS,LP              BNYMELLONOZ DOMESTIC PARTNERS,LP               BNYMELLONOZ DOMESTIC PARTNERS,LP       BNYMELLONOZ DOMESTIC PARTNERS,LP
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                 2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      SYRACUSE NY 13202
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                  JMICHAEL.JOHNSONJR@BNYMELLON.COM

031871P001-1488A-002F                         031871P001-1488A-002F                          031871P001-1488A-002F                  031871P001-1488A-002F
BNYMELLONOZ DOMESTIC PARTNERS,LP              BNYMELLONOZ DOMESTIC PARTNERS,LP               BNYMELLONOZ DOMESTIC PARTNERS,LP       BNYMELLONOZ DOMESTIC PARTNERS,LP
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
401 SOUTH SALINA ST                           401 SOUTH SALINA ST                            401 SOUTH SALINA ST                    401 SOUTH SALINA ST
2ND FL                                        2ND FL                                         2ND FL                                 2ND FL
SYRACUSE NY 13202                             SYRACUSE NY 13202                              SYRACUSE NY 13202                      SYRACUSE NY 13202
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM         PGH.CA.EVENT.CREATION@BNYMELLON.COM

031890P001-1488A-002F                         031890P001-1488A-002F                          031890P001-1488A-002F                  031890P001-1488A-002F
BNYMELLONRE FIRM HOLDING CO                   BNYMELLONRE FIRM HOLDING CO                    BNYMELLONRE FIRM HOLDING CO            BNYMELLONRE FIRM HOLDING CO
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM        SZYROKI.DC@MELLON.COM




031890P001-1488A-002F                         031890P001-1488A-002F                          031890P001-1488A-002F                  031890P001-1488A-002F
BNYMELLONRE FIRM HOLDING CO                   BNYMELLONRE FIRM HOLDING CO                    BNYMELLONRE FIRM HOLDING CO            BNYMELLONRE FIRM HOLDING CO
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                           CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                    PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM     PGHEVENTCREATION@BNYMELLON.COM
                                        Case 22-90032 Document 69GWG  Holdings,
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031890P001-1488A-002F                        031908P001-1488A-002F                             031908P001-1488A-002F                   031908P001-1488A-002F
BNYMELLONRE FIRM HOLDING CO                  BNYMELLONWFBNA WELLS FARGO BANK NA PI             BNYMELLONWFBNA WELLS FARGO BANK NA PI   BNYMELLONWFBNA WELLS FARGO BANK NA PI
CORP ACTIONS                                 MICHAEL KANIA                                     MICHAEL KANIA                           MICHAEL KANIA
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                               525 WILLIAM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                          RM 0400                                           RM 0400                                 RM 0400
PGH.CA.EVENT.CREATION@BNYMELLON.COM          PITTSBURGH PA 15259                               PITTSBURGH PA 15259                     PITTSBURGH PA 15259
                                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM                     JUSTIN.WHITEHOUSE@BNYMELLON.COM


031908P001-1488A-002F                        031908P001-1488A-002F                             031908P001-1488A-002F                   031908P001-1488A-002F
BNYMELLONWFBNA WELLS FARGO BANK NA PI        BNYMELLONWFBNA WELLS FARGO BANK NA PI             BNYMELLONWFBNA WELLS FARGO BANK NA PI   BNYMELLONWFBNA WELLS FARGO BANK NA PI
MICHAEL KANIA                                MICHAEL KANIA                                     MICHAEL KANIA                           MICHAEL KANIA
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                               525 WILLIAM PENN PL                     525 WILLIAM PENN PL
RM 0400                                      RM 0400                                           RM 0400                                 RM 0400
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                               PITTSBURGH PA 15259                     PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM                  MATTHEW.BARTEL@BNYMELLON.COM            JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


031908P001-1488A-002F                        031908P001-1488A-002F                             031908P001-1488A-002F                   031908P001-1488A-002F
BNYMELLONWFBNA WELLS FARGO BANK NA PI        BNYMELLONWFBNA WELLS FARGO BANK NA PI             BNYMELLONWFBNA WELLS FARGO BANK NA PI   BNYMELLONWFBNA WELLS FARGO BANK NA PI
MICHAEL KANIA                                MICHAEL KANIA                                     MICHAEL KANIA                           MICHAEL KANIA
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                               525 WILLIAM PENN PL                     525 WILLIAM PENN PL
RM 0400                                      RM 0400                                           RM 0400                                 RM 0400
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                               PITTSBURGH PA 15259                     PITTSBURGH PA 15259
VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM     WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM            PGHEVENTCREATION@BNYMELLON.COM


031908P001-1488A-002F                        031908P001-1488A-002F                             031908P001-1488A-002F                   031910P001-1488A-002F
BNYMELLONWFBNA WELLS FARGO BANK NA PI        BNYMELLONWFBNA WELLS FARGO BANK NA PI             BNYMELLONWFBNA WELLS FARGO BANK NA PI   BRANCH BANKING AND TRUST CO
MICHAEL KANIA                                MICHAEL KANIA                                     MICHAEL KANIA                           TANJI BASS
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                               525 WILLIAM PENN PL                     TEAM LEADER
RM 0400                                      RM 0400                                           RM 0400                                 223 W NASH ST
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                               PITTSBURGH PA 15259                     3RD FL
PGH.CA.EVENT.CREATION@BNYMELLON.COM          BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM   WILSON NC 27893
                                                                                                                                       TANJI.BASS@BBANDT.COM

031911P001-1488A-002F                        031911P001-1488A-002F                             031911P001-1488A-002F                   031911P001-1488A-002F
BRANCH BANKING AND TRUST CO                  BRANCH BANKING AND TRUST CO                       BRANCH BANKING AND TRUST CO             BRANCH BANKING AND TRUST CO
CORP ACTIONS                                 CORP ACTIONS                                      CORP ACTIONS                            CORP ACTIONS
200 S COLLEGE ST 8TH FL                      200 S COLLEGE ST 8TH FL                           200 S COLLEGE ST 8TH FL                 200 S COLLEGE ST 8TH FL
CHARLOTTE NC 28202                           CHARLOTTE NC 28202                                CHARLOTTE NC 28202                      CHARLOTTE NC 28202
ECOURTNEY@BBANDT.COM                         MSALATA@BBANDT.COM                                LSTANWICK@BBANDT.COM                    MARIA.LOFTUS@BBANDT.COM




031911P001-1488A-002F                        031911P001-1488A-002F                             031911P001-1488A-002F                   031912P001-1488A-002F
BRANCH BANKING AND TRUST CO                  BRANCH BANKING AND TRUST CO                       BRANCH BANKING AND TRUST CO             BRANCH BANKING AND TRUST COMPAY/FM/IPA
CORP ACTIONS                                 CORP ACTIONS                                      CORP ACTIONS                            CARRIE KINLAW
200 S COLLEGE ST 8TH FL                      200 S COLLEGE ST 8TH FL                           200 S COLLEGE ST 8TH FL                 MANAGER
CHARLOTTE NC 28202                           CHARLOTTE NC 28202                                CHARLOTTE NC 28202                      4320 KAHN DR
ALWALLACE@BBANDT.COM                         LSTANWICK@BBANDT.COM                              CKINLAW@BBANDT.COM                      BLDG 1
                                                                                                                                       LUMBERTON NC 27893
                                                                                                                                       CKINLAW@BBANDT.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031912P001-1488A-002F                         031912P001-1488A-002F                            031912P001-1488A-002F                    031912P001-1488A-002F
BRANCH BANKING AND TRUST COMPAY/FM/IPA        BRANCH BANKING AND TRUST COMPAY/FM/IPA           BRANCH BANKING AND TRUST COMPAY/FM/IPA   BRANCH BANKING AND TRUST COMPAY/FM/IPA
CARRIE KINLAW                                 CARRIE KINLAW                                    CARRIE KINLAW                            CARRIE KINLAW
MANAGER                                       MANAGER                                          MANAGER                                  MANAGER
4320 KAHN DR                                  4320 KAHN DR                                     4320 KAHN DR                             4320 KAHN DR
BLDG 1                                        BLDG 1                                           BLDG 1                                   BLDG 1
LUMBERTON NC 27893                            LUMBERTON NC 27893                               LUMBERTON NC 27893                       LUMBERTON NC 27893
MSALATA@BBANDT.COM                            LSTANWICK@BBANDT.COM                             MARIA.LOFTUS@BBANDT.COM                  ALWALLACE@BBANDT.COM

031912P001-1488A-002F                         031912P001-1488A-002F                            031913P001-1488A-002F                    031913P001-1488A-002F
BRANCH BANKING AND TRUST COMPAY/FM/IPA        BRANCH BANKING AND TRUST COMPAY/FM/IPA           BROWN BROTHERS HARRIMAN AND CO           BROWN BROTHERS HARRIMAN AND CO
CARRIE KINLAW                                 CARRIE KINLAW                                    JERRY TRAVERS                            JERRY TRAVERS
MANAGER                                       MANAGER                                          525 WASHINGTON BLVD                      525 WASHINGTON BLVD
4320 KAHN DR                                  4320 KAHN DR                                     JERSEY CITY NJ 07310                     JERSEY CITY NJ 07310
BLDG 1                                        BLDG 1                                           CA.CLASS.ACTIONS@BBH.COM                 CALEB.LANFEAR@BBH.COM
LUMBERTON NC 27893                            LUMBERTON NC 27893
LSTANWICK@BBANDT.COM                          TANJI.BASS@BBANDT.COM

031914P001-1488A-002F                         031914P001-1488A-002F                            031916P001-1488A-002F                    031917P001-1488A-002F
BROWN BROTHERS HARRIMAN AND COETF             BROWN BROTHERS HARRIMAN AND COETF                CALDWELL TRUST CO                        CANACCORD GENUITY CORPCDS**
CORPORATE ACTIONS                             CORPORATE ACTIONS                                ASHLEY R HARRISON                        BEN THIESSEN
525 WASHINGTON BLVD                           525 WASHINGTON BLVD                              201 CTR RD                               2200-609 GRANVILLE ST
JERSEY CITY NJ 07310                          JERSEY CITY NJ 07310                             STE 2                                    VANCOUVER BC V7Y 1H2
CA.CLASS.ACTIONS@BBH.COM                      CALEB.LANFEAR@BBH.COM                            VENICE FL 34285                          CANADA
                                                                                               ASHLEY@CTRUST.COM                        BEN.THIESSEN@CANACCORD.COM


031917P001-1488A-002F                         031917P001-1488A-002F                            031918P001-1488A-002F                    031918P001-1488A-002F
CANACCORD GENUITY CORPCDS**                   CANACCORD GENUITY CORPCDS**                      CANTOR FITZGERALD AND CO                 CANTOR FITZGERALD AND CO
BEN THIESSEN                                  BEN THIESSEN                                     CORPORATE ACTIONS                        CORPORATE ACTIONS
2200-609 GRANVILLE ST                         2200-609 GRANVILLE ST                            55 WATER ST                              55 WATER ST
VANCOUVER BC V7Y 1H2                          VANCOUVER BC V7Y 1H2                             28TH FL                                  28TH FL
CANADA                                        CANADA                                           NEW YORK NY 10041                        NEW YORK NY 10041
VANCOUVERHO-RECONCILIATIONS@CANACCORD.COM     PROXY_INQUIRY@CANACCORD.COM                      IDIAZ@CANTOR.COM                         CORPORATEACTIONS-NY@BGCPARTNERS.COM


031919P001-1488A-002F                         031919P001-1488A-002F                            031920P001-1488A-002F                    031920P001-1488A-002F
CENTRAL TRUST BANK (THE)                      CENTRAL TRUST BANK (THE)                         CETERA INVESTMENT SVC LLC                CETERA INVESTMENT SVC LLC
AMANDA BOLINGER                               AMANDA BOLINGER                                  ASHLEY ROELIKE                           ASHLEY ROELIKE
238 MADISON ST                                238 MADISON ST                                   CORPORATE ACTIONS                        CORPORATE ACTIONS
JEFFERSON CITY MO 65101                       JEFFERSON CITY MO 65101                          400 1ST ST SOUTH                         400 1ST ST SOUTH
AMANDA_BOLINGER@CENTRALBANK.NET               DENA.VANLOO@CENTRALBANK.NET                      STE 300                                  STE 300
                                                                                               ST. CLOUD MN 56301                       ST. CLOUD MN 56301
                                                                                               ASHLEY.ROELIKE@CETERAFI.COM              STEVE.SCHMITZ@CETERA.COM

031921P001-1488A-002F                         031921P001-1488A-002F                            031921P001-1488A-002F                    031921P001-1488A-002F
CETERA INVESTMENT SVC LLC                     CETERA INVESTMENT SVC LLC                        CETERA INVESTMENT SVC LLC                CETERA INVESTMENT SVC LLC
ANGELA HANDELAND                              ANGELA HANDELAND                                 ANGELA HANDELAND                         ANGELA HANDELAND
SUPERVISOR                                    SUPERVISOR                                       SUPERVISOR                               SUPERVISOR
400 1ST ST SOUTH                              400 1ST ST SOUTH                                 400 1ST ST SOUTH                         400 1ST ST SOUTH
STE 300                                       STE 300                                          STE 300                                  STE 300
ST. CLOUD MN 56301                            ST. CLOUD MN 56301                               ST. CLOUD MN 56301                       ST. CLOUD MN 56301
ANGELA.HANDELAND@CETERAFI.COM                 ALICE.HEMPHILL@CETERA.COM                        AMANDA.ZWILLING@CETERA.COM               RUSSELL.MARKFELDER@CETERA.COM
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031921P001-1488A-002F                  031921P001-1488A-002F                        031922P001-1488A-002F                031922P001-1488A-002F
CETERA INVESTMENT SVC LLC              CETERA INVESTMENT SVC LLC                    CHARLES SCHWAB AND CO, INC           CHARLES SCHWAB AND CO, INC
ANGELA HANDELAND                       ANGELA HANDELAND                             CORPORATE ACTIONS DEPT 011B572       CORPORATE ACTIONS DEPT 011B572
SUPERVISOR                             SUPERVISOR                                   CHRISTINA YOUNG                      CHRISTINA YOUNG
400 1ST ST SOUTH                       400 1ST ST SOUTH                             2423 E LINCOLN DR                    2423 E LINCOLN DR
STE 300                                STE 300                                      PHOENIX AZ 85016-1215                PHOENIX AZ 85016-1215
ST. CLOUD MN 56301                     ST. CLOUD MN 56301                           PHXMCBR@SCHWAB.COM                   JEN.CURTIN@SCHWAB.COM
KATIE.BIEDLER@CETERAFI.COM             STEVE.SCHMITZ@CETERA.COM

031923P001-1488A-002F                  031924P001-1488A-002F                        031924P001-1488A-002F                031925P001-1488A-002F
CIBC WORLD MARKETS CORP                CIBC WORLD MARKETS CORP                      CIBC WORLD MARKETS CORP              CIBC WORLD MARKETS INCCDS**
BROADRIDGE                             CIBC WORLD MARKETS CORP REPO                 CIBC WORLD MARKETS CORP REPO         CORPORATE ACTIONS
51 MERCEDES WAY                        CORPORATE ACTIONS                            CORPORATE ACTIONS                    RODERICK ROOPSINGH
EDGEWOOD NY 11717                      CANADIAN IMPERIAL BANK OF COMMERCE           CANADIAN IMPERIAL BANK OF COMMERCE   CANADIAN IMPERIAL BANK OF COMMERCE
WENDY.AVILA@CIBC.CA                    22 FRONT ST W 7TH FL ATTN CORP ACT           22 FRONT ST W 7TH FL ATTN CORP ACT   22 FRONT ST W 7TH FL ATTN CORP ACT
                                       TORONTO ON M5J 2W5                           TORONTO ON M5J 2W5                   TORONTO ON M5J 2W5
                                       CANADA                                       CANADA                               CANADA
                                       MAILBOX.CAEVENTSCIBC@CIBC.CA                 WENDY.AVILA@CIBC.CA                  MAILBOX.CAEVENTSCIBC@CIBC.CA
031926P001-1488A-002F                  031927P001-1488A-002F                        031927P001-1488A-002F                031927P001-1488A-002F
CITADEL CLEARING LLC                   CITIBANK NA LONDONMTN                        CITIBANK NA LONDONMTN                CITIBANK NA LONDONMTN
KEVIN NEWSTEAD/RACHEL GALDONES         VANESSA PRICKETT                             VANESSA PRICKETT                     VANESSA PRICKETT
131 SOUTH DEARBORN ST                  5 CARMELITE ST                               5 CARMELITE ST                       5 CARMELITE ST
35TH FL                                LONDON EC4Y OPA                              LONDON EC4Y OPA                      LONDON EC4Y OPA
CHICAGO IL 60603                       UNITED KINGDOM                               UNITED KINGDOM                       UNITED KINGDOM
KEVIN.NEWSTEAD@CITADELGROUP.COM        GTS.CAEC.TPA@CITI.COM                        MARIANNE.SULLIVAN@CITI.COM           PAOLA.PRINS@CITI.COM


031927P001-1488A-002F                  031927P001-1488A-002F                        031927P001-1488A-002F                031927P001-1488A-002F
CITIBANK NA LONDONMTN                  CITIBANK NA LONDONMTN                        CITIBANK NA LONDONMTN                CITIBANK NA LONDONMTN
VANESSA PRICKETT                       VANESSA PRICKETT                             VANESSA PRICKETT                     VANESSA PRICKETT
5 CARMELITE ST                         5 CARMELITE ST                               5 CARMELITE ST                       5 CARMELITE ST
LONDON EC4Y OPA                        LONDON EC4Y OPA                              LONDON EC4Y OPA                      LONDON EC4Y OPA
UNITED KINGDOM                         UNITED KINGDOM                               UNITED KINGDOM                       UNITED KINGDOM
DARYL.SLATER@CITI.COM                  GTS.CAEC.TPA@CITI.COM                        MARIANNE.SULLIVAN@CITI.COM           PAOLA.PRINS@CITI.COM


031927P001-1488A-002F                  031927P001-1488A-002F                        031927P001-1488A-002F                031927P001-1488A-002F
CITIBANK NA LONDONMTN                  CITIBANK NA LONDONMTN                        CITIBANK NA LONDONMTN                CITIBANK NA LONDONMTN
VANESSA PRICKETT                       VANESSA PRICKETT                             VANESSA PRICKETT                     VANESSA PRICKETT
5 CARMELITE ST                         5 CARMELITE ST                               5 CARMELITE ST                       5 CARMELITE ST
LONDON EC4Y OPA                        LONDON EC4Y OPA                              LONDON EC4Y OPA                      LONDON EC4Y OPA
UNITED KINGDOM                         UNITED KINGDOM                               UNITED KINGDOM                       UNITED KINGDOM
DARYL.SLATER@CITI.COM                  MICHAEL.FENNER@CITI.COM                      THEOPHILUS.CHAN@CITI.COM             PRABHA.L.BATNI@CITI.COM


031927P001-1488A-002F                  031927P001-1488A-002F                        031927P001-1488A-002F                031927P001-1488A-002F
CITIBANK NA LONDONMTN                  CITIBANK NA LONDONMTN                        CITIBANK NA LONDONMTN                CITIBANK NA LONDONMTN
VANESSA PRICKETT                       VANESSA PRICKETT                             VANESSA PRICKETT                     VANESSA PRICKETT
5 CARMELITE ST                         5 CARMELITE ST                               5 CARMELITE ST                       5 CARMELITE ST
LONDON EC4Y OPA                        LONDON EC4Y OPA                              LONDON EC4Y OPA                      LONDON EC4Y OPA
UNITED KINGDOM                         UNITED KINGDOM                               UNITED KINGDOM                       UNITED KINGDOM
ANN.E.NOBBE@CITI.COM                                                                MICHAEL.FENNER@CITI.COM              THEOPHILUS.CHAN@CITI.COM
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031927P001-1488A-002F                031927P001-1488A-002F                   031928P001-1488A-002F           031928P001-1488A-002F
CITIBANK NA LONDONMTN                CITIBANK NA LONDONMTN                   CITIBANK NAPROPRIETARY ASSETS   CITIBANK NAPROPRIETARY ASSETS
VANESSA PRICKETT                     VANESSA PRICKETT                        SHERIDA SINANAN                 SHERIDA SINANAN
5 CARMELITE ST                       5 CARMELITE ST                          3801 CITIBANK CTR               3801 CITIBANK CTR
LONDON EC4Y OPA                      LONDON EC4Y OPA                         B/3RD FLOOR/ZONE 12             B/3RD FLOOR/ZONE 12
UNITED KINGDOM                       UNITED KINGDOM                          TAMPA FL 33610                  TAMPA FL 33610
PRABHA.L.BATNI@CITI.COM              ANN.E.NOBBE@CITI.COM                    GTS.CAEC.TPA@CITI.COM           MARIANNE.SULLIVAN@CITI.COM


031928P001-1488A-002F                031928P001-1488A-002F                   031928P001-1488A-002F           031928P001-1488A-002F
CITIBANK NAPROPRIETARY ASSETS        CITIBANK NAPROPRIETARY ASSETS           CITIBANK NAPROPRIETARY ASSETS   CITIBANK NAPROPRIETARY ASSETS
SHERIDA SINANAN                      SHERIDA SINANAN                         SHERIDA SINANAN                 SHERIDA SINANAN
3801 CITIBANK CTR                    3801 CITIBANK CTR                       3801 CITIBANK CTR               3801 CITIBANK CTR
B/3RD FLOOR/ZONE 12                  B/3RD FLOOR/ZONE 12                     B/3RD FLOOR/ZONE 12             B/3RD FLOOR/ZONE 12
TAMPA FL 33610                       TAMPA FL 33610                          TAMPA FL 33610                  TAMPA FL 33610
PAOLA.PRINS@CITI.COM                 DARYL.SLATER@CITI.COM                   MICHAEL.FENNER@CITI.COM         THEOPHILUS.CHAN@CITI.COM


031928P001-1488A-002F                031928P001-1488A-002F                   031928P001-1488A-002F           031929P001-1488A-002F
CITIBANK NAPROPRIETARY ASSETS        CITIBANK NAPROPRIETARY ASSETS           CITIBANK NAPROPRIETARY ASSETS   CITIBANK, NA
SHERIDA SINANAN                      SHERIDA SINANAN                         SHERIDA SINANAN                 SHERIDA SINANAN
3801 CITIBANK CTR                    3801 CITIBANK CTR                       3801 CITIBANK CTR               3801 CITIBANK CTR
B/3RD FLOOR/ZONE 12                  B/3RD FLOOR/ZONE 12                     B/3RD FLOOR/ZONE 12             B/3RD FLOOR/ZONE 12
TAMPA FL 33610                       TAMPA FL 33610                          TAMPA FL 33610                  TAMPA FL 33610
PRABHA.L.BATNI@CITI.COM              ANN.E.NOBBE@CITI.COM                                                    GTS.CAEC.TPA@CITI.COM


031929P001-1488A-002F                031929P001-1488A-002F                   031929P001-1488A-002F           031929P001-1488A-002F
CITIBANK, NA                         CITIBANK, NA                            CITIBANK, NA                    CITIBANK, NA
SHERIDA SINANAN                      SHERIDA SINANAN                         SHERIDA SINANAN                 SHERIDA SINANAN
3801 CITIBANK CTR                    3801 CITIBANK CTR                       3801 CITIBANK CTR               3801 CITIBANK CTR
B/3RD FLOOR/ZONE 12                  B/3RD FLOOR/ZONE 12                     B/3RD FLOOR/ZONE 12             B/3RD FLOOR/ZONE 12
TAMPA FL 33610                       TAMPA FL 33610                          TAMPA FL 33610                  TAMPA FL 33610
MARIANNE.SULLIVAN@CITI.COM           PAOLA.PRINS@CITI.COM                    DARYL.SLATER@CITI.COM           MICHAEL.FENNER@CITI.COM


031929P001-1488A-002F                031929P001-1488A-002F                   031929P001-1488A-002F           031929P001-1488A-002F
CITIBANK, NA                         CITIBANK, NA                            CITIBANK, NA                    CITIBANK, NA
SHERIDA SINANAN                      SHERIDA SINANAN                         SHERIDA SINANAN                 SHERIDA SINANAN
3801 CITIBANK CTR                    3801 CITIBANK CTR                       3801 CITIBANK CTR               3801 CITIBANK CTR
B/3RD FLOOR/ZONE 12                  B/3RD FLOOR/ZONE 12                     B/3RD FLOOR/ZONE 12             B/3RD FLOOR/ZONE 12
TAMPA FL 33610                       TAMPA FL 33610                          TAMPA FL 33610                  TAMPA FL 33610
THEOPHILUS.CHAN@CITI.COM             PRABHA.L.BATNI@CITI.COM                 ANN.E.NOBBE@CITI.COM


031930P001-1488A-002F                031930P001-1488A-002F                   031930P001-1488A-002F           031930P001-1488A-002F
CITIBANK, NA                         CITIBANK, NA                            CITIBANK, NA                    CITIBANK, NA
PAUL WATTERS                         PAUL WATTERS                            PAUL WATTERS                    PAUL WATTERS
3801 CITIBANK CTR                    3801 CITIBANK CTR                       3801 CITIBANK CTR               3801 CITIBANK CTR
B/3RD FLOOR/ZONE 12                  B/3RD FLOOR/ZONE 12                     B/3RD FLOOR/ZONE 12             B/3RD FLOOR/ZONE 12
TAMPA FL 33610                       TAMPA FL 33610                          TAMPA FL 33610                  TAMPA FL 33610
GTS.CAEC.TPA@CITI.COM                MARIANNE.SULLIVAN@CITI.COM              PAOLA.PRINS@CITI.COM            DARYL.SLATER@CITI.COM
                                     Case 22-90032 Document 69GWG  Holdings,
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031930P001-1488A-002F                     031930P001-1488A-002F                        031930P001-1488A-002F                031930P001-1488A-002F
CITIBANK, NA                              CITIBANK, NA                                 CITIBANK, NA                         CITIBANK, NA
PAUL WATTERS                              PAUL WATTERS                                 PAUL WATTERS                         PAUL WATTERS
3801 CITIBANK CTR                         3801 CITIBANK CTR                            3801 CITIBANK CTR                    3801 CITIBANK CTR
B/3RD FLOOR/ZONE 12                       B/3RD FLOOR/ZONE 12                          B/3RD FLOOR/ZONE 12                  B/3RD FLOOR/ZONE 12
TAMPA FL 33610                            TAMPA FL 33610                               TAMPA FL 33610                       TAMPA FL 33610
MICHAEL.FENNER@CITI.COM                   THEOPHILUS.CHAN@CITI.COM                     PRABHA.L.BATNI@CITI.COM              ANN.E.NOBBE@CITI.COM


031930P001-1488A-002F                     031931P001-1488A-002F                        031931P001-1488A-002F                031931P001-1488A-002F
CITIBANK, NA                              CITIBANK, NA DEALER                          CITIBANK, NA DEALER                  CITIBANK, NA DEALER
PAUL WATTERS                              JOHN DELLOLIO VP                             JOHN DELLOLIO VP                     JOHN DELLOLIO VP
3801 CITIBANK CTR                         45TH FL                                      45TH FL                              45TH FL
B/3RD FLOOR/ZONE 12                       L.I.C. NY 11120-0001                         L.I.C. NY 11120-0001                 L.I.C. NY 11120-0001
TAMPA FL 33610                            GTS.CAEC.TPA@CITI.COM                        MARIANNE.SULLIVAN@CITI.COM           PAOLA.PRINS@CITI.COM




031931P001-1488A-002F                     031931P001-1488A-002F                        031931P001-1488A-002F                031931P001-1488A-002F
CITIBANK, NA DEALER                       CITIBANK, NA DEALER                          CITIBANK, NA DEALER                  CITIBANK, NA DEALER
JOHN DELLOLIO VP                          JOHN DELLOLIO VP                             JOHN DELLOLIO VP                     JOHN DELLOLIO VP
45TH FL                                   45TH FL                                      45TH FL                              45TH FL
L.I.C. NY 11120-0001                      L.I.C. NY 11120-0001                         L.I.C. NY 11120-0001                 L.I.C. NY 11120-0001
DARYL.SLATER@CITI.COM                     MICHAEL.FENNER@CITI.COM                      THEOPHILUS.CHAN@CITI.COM             PRABHA.L.BATNI@CITI.COM




031931P001-1488A-002F                     031931P001-1488A-002F                        031932P001-1488A-002F                031932P001-1488A-002F
CITIBANK, NA DEALER                       CITIBANK, NA DEALER                          CITIBANK, NA MUNICIPAL SAFEKEEPING   CITIBANK, NA MUNICIPAL SAFEKEEPING
JOHN DELLOLIO VP                          JOHN DELLOLIO VP                             PAT KIRBY                            PAT KIRBY
45TH FL                                   45TH FL                                      MANAGER                              MANAGER
L.I.C. NY 11120-0001                      L.I.C. NY 11120-0001                         333 WEST 34TH ST                     333 WEST 34TH ST
ANN.E.NOBBE@CITI.COM                                                                   NEW YORK NY 10001                    NEW YORK NY 10001
                                                                                       GTS.CAEC.TPA@CITI.COM                MARIANNE.SULLIVAN@CITI.COM


031932P001-1488A-002F                     031932P001-1488A-002F                        031932P001-1488A-002F                031932P001-1488A-002F
CITIBANK, NA MUNICIPAL SAFEKEEPING        CITIBANK, NA MUNICIPAL SAFEKEEPING           CITIBANK, NA MUNICIPAL SAFEKEEPING   CITIBANK, NA MUNICIPAL SAFEKEEPING
PAT KIRBY                                 PAT KIRBY                                    PAT KIRBY                            PAT KIRBY
MANAGER                                   MANAGER                                      MANAGER                              MANAGER
333 WEST 34TH ST                          333 WEST 34TH ST                             333 WEST 34TH ST                     333 WEST 34TH ST
NEW YORK NY 10001                         NEW YORK NY 10001                            NEW YORK NY 10001                    NEW YORK NY 10001
PAOLA.PRINS@CITI.COM                      DARYL.SLATER@CITI.COM                        MICHAEL.FENNER@CITI.COM              THEOPHILUS.CHAN@CITI.COM


031932P001-1488A-002F                     031932P001-1488A-002F                        031932P001-1488A-002F                031933P001-1488A-002F
CITIBANK, NA MUNICIPAL SAFEKEEPING        CITIBANK, NA MUNICIPAL SAFEKEEPING           CITIBANK, NA MUNICIPAL SAFEKEEPING   CITIBANK, NA BOOKENTRY
PAT KIRBY                                 PAT KIRBY                                    PAT KIRBY                            ONLY MEDIUM TERMNOTE ACCOUNT
MANAGER                                   MANAGER                                      MANAGER                              MIKE BURNS
333 WEST 34TH ST                          333 WEST 34TH ST                             333 WEST 34TH ST                     111 WALL ST
NEW YORK NY 10001                         NEW YORK NY 10001                            NEW YORK NY 10001                    15TH FL
PRABHA.L.BATNI@CITI.COM                   ANN.E.NOBBE@CITI.COM                                                              NEW YORK NY 10005
                                                                                                                            GTS.CAEC.TPA@CITI.COM
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031933P001-1488A-002F                         031933P001-1488A-002F                            031933P001-1488A-002F                    031933P001-1488A-002F
CITIBANK, NA BOOKENTRY                        CITIBANK, NA BOOKENTRY                           CITIBANK, NA BOOKENTRY                   CITIBANK, NA BOOKENTRY
ONLY MEDIUM TERMNOTE ACCOUNT                  ONLY MEDIUM TERMNOTE ACCOUNT                     ONLY MEDIUM TERMNOTE ACCOUNT             ONLY MEDIUM TERMNOTE ACCOUNT
MIKE BURNS                                    MIKE BURNS                                       MIKE BURNS                               MIKE BURNS
111 WALL ST                                   111 WALL ST                                      111 WALL ST                              111 WALL ST
15TH FL                                       15TH FL                                          15TH FL                                  15TH FL
NEW YORK NY 10005                             NEW YORK NY 10005                                NEW YORK NY 10005                        NEW YORK NY 10005
MARIANNE.SULLIVAN@CITI.COM                    PAOLA.PRINS@CITI.COM                             DARYL.SLATER@CITI.COM                    MICHAEL.FENNER@CITI.COM

031933P001-1488A-002F                         031933P001-1488A-002F                            031933P001-1488A-002F                    031933P001-1488A-002F
CITIBANK, NA BOOKENTRY                        CITIBANK, NA BOOKENTRY                           CITIBANK, NA BOOKENTRY                   CITIBANK, NA BOOKENTRY
ONLY MEDIUM TERMNOTE ACCOUNT                  ONLY MEDIUM TERMNOTE ACCOUNT                     ONLY MEDIUM TERMNOTE ACCOUNT             ONLY MEDIUM TERMNOTE ACCOUNT
MIKE BURNS                                    MIKE BURNS                                       MIKE BURNS                               MIKE BURNS
111 WALL ST                                   111 WALL ST                                      111 WALL ST                              111 WALL ST
15TH FL                                       15TH FL                                          15TH FL                                  15TH FL
NEW YORK NY 10005                             NEW YORK NY 10005                                NEW YORK NY 10005                        NEW YORK NY 10005
THEOPHILUS.CHAN@CITI.COM                      PRABHA.L.BATNI@CITI.COM                          ANN.E.NOBBE@CITI.COM

031934P001-1488A-002F                         031934P001-1488A-002F                            031934P001-1488A-002F                    031934P001-1488A-002F
CITIBANK, NA, CORPORATE TRUST WARR            CITIBANK, NA, CORPORATE TRUST WARR               CITIBANK, NA, CORPORATE TRUST WARR       CITIBANK, NA, CORPORATE TRUST WARR
ALICE MASSINI                                 ALICE MASSINI                                    ALICE MASSINI                            ALICE MASSINI
111 WALL ST                                   111 WALL ST                                      111 WALL ST                              111 WALL ST
NEW YORK NY 10043                             NEW YORK NY 10043                                NEW YORK NY 10043                        NEW YORK NY 10043
GTS.CAEC.TPA@CITI.COM                         MARIANNE.SULLIVAN@CITI.COM                       PAOLA.PRINS@CITI.COM                     DARYL.SLATER@CITI.COM




031934P001-1488A-002F                         031934P001-1488A-002F                            031934P001-1488A-002F                    031934P001-1488A-002F
CITIBANK, NA, CORPORATE TRUST WARR            CITIBANK, NA, CORPORATE TRUST WARR               CITIBANK, NA, CORPORATE TRUST WARR       CITIBANK, NA, CORPORATE TRUST WARR
ALICE MASSINI                                 ALICE MASSINI                                    ALICE MASSINI                            ALICE MASSINI
111 WALL ST                                   111 WALL ST                                      111 WALL ST                              111 WALL ST
NEW YORK NY 10043                             NEW YORK NY 10043                                NEW YORK NY 10043                        NEW YORK NY 10043
MICHAEL.FENNER@CITI.COM                       THEOPHILUS.CHAN@CITI.COM                         PRABHA.L.BATNI@CITI.COM                  ANN.E.NOBBE@CITI.COM




031934P001-1488A-002F                         031935P001-1488A-002F                            031935P001-1488A-002F                    031935P001-1488A-002F
CITIBANK, NA, CORPORATE TRUST WARR            CITIBANK, NACORPORATE AGENCY AND TRUST           CITIBANK, NACORPORATE AGENCY AND TRUST   CITIBANK, NACORPORATE AGENCY AND TRUST
ALICE MASSINI                                 SEBASTIAN ANDRIESZYN                             SEBASTIAN ANDRIESZYN                     SEBASTIAN ANDRIESZYN
111 WALL ST                                   111 WALL ST 5TH FL                               111 WALL ST 5TH FL                       111 WALL ST 5TH FL
NEW YORK NY 10043                             NEW YORK NY 10043                                NEW YORK NY 10043                        NEW YORK NY 10043
                                              GTS.CAEC.TPA@CITI.COM                            MARIANNE.SULLIVAN@CITI.COM               PAOLA.PRINS@CITI.COM




031935P001-1488A-002F                         031935P001-1488A-002F                            031935P001-1488A-002F                    031935P001-1488A-002F
CITIBANK, NACORPORATE AGENCY AND TRUST        CITIBANK, NACORPORATE AGENCY AND TRUST           CITIBANK, NACORPORATE AGENCY AND TRUST   CITIBANK, NACORPORATE AGENCY AND TRUST
SEBASTIAN ANDRIESZYN                          SEBASTIAN ANDRIESZYN                             SEBASTIAN ANDRIESZYN                     SEBASTIAN ANDRIESZYN
111 WALL ST 5TH FL                            111 WALL ST 5TH FL                               111 WALL ST 5TH FL                       111 WALL ST 5TH FL
NEW YORK NY 10043                             NEW YORK NY 10043                                NEW YORK NY 10043                        NEW YORK NY 10043
DARYL.SLATER@CITI.COM                         MICHAEL.FENNER@CITI.COM                          THEOPHILUS.CHAN@CITI.COM                 PRABHA.L.BATNI@CITI.COM
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031935P001-1488A-002F                         031935P001-1488A-002F                            031936P001-1488A-002F            031936P001-1488A-002F
CITIBANK, NACORPORATE AGENCY AND TRUST        CITIBANK, NACORPORATE AGENCY AND TRUST           CITIBANK, NAETF                  CITIBANK, NAETF
SEBASTIAN ANDRIESZYN                          SEBASTIAN ANDRIESZYN                             ELIZABETH GABB                   ELIZABETH GABB
111 WALL ST 5TH FL                            111 WALL ST 5TH FL                               DIRECTOR                         DIRECTOR
NEW YORK NY 10043                             NEW YORK NY 10043                                3800 CITIGROUP CTR B2/2          3800 CITIGROUP CTR B2/2
ANN.E.NOBBE@CITI.COM                                                                           TAMPA FL 33610                   TAMPA FL 33610
                                                                                               GTS.CAEC.TPA@CITI.COM            MARIANNE.SULLIVAN@CITI.COM


031936P001-1488A-002F                         031936P001-1488A-002F                            031936P001-1488A-002F            031936P001-1488A-002F
CITIBANK, NAETF                               CITIBANK, NAETF                                  CITIBANK, NAETF                  CITIBANK, NAETF
ELIZABETH GABB                                ELIZABETH GABB                                   ELIZABETH GABB                   ELIZABETH GABB
DIRECTOR                                      DIRECTOR                                         DIRECTOR                         DIRECTOR
3800 CITIGROUP CTR B2/2                       3800 CITIGROUP CTR B2/2                          3800 CITIGROUP CTR B2/2          3800 CITIGROUP CTR B2/2
TAMPA FL 33610                                TAMPA FL 33610                                   TAMPA FL 33610                   TAMPA FL 33610
PAOLA.PRINS@CITI.COM                          DARYL.SLATER@CITI.COM                            MICHAEL.FENNER@CITI.COM          THEOPHILUS.CHAN@CITI.COM


031936P001-1488A-002F                         031936P001-1488A-002F                            031936P001-1488A-002F            031937P001-1488A-002F
CITIBANK, NAETF                               CITIBANK, NAETF                                  CITIBANK, NAETF                  CITIBANK, NASEGREGATED LENDING
ELIZABETH GABB                                ELIZABETH GABB                                   ELIZABETH GABB                   JOHN DELLOLIO VP
DIRECTOR                                      DIRECTOR                                         DIRECTOR                         45TH FL
3800 CITIGROUP CTR B2/2                       3800 CITIGROUP CTR B2/2                          3800 CITIGROUP CTR B2/2          L.I.C. NY 11120-0001
TAMPA FL 33610                                TAMPA FL 33610                                   TAMPA FL 33610                   GTS.CAEC.TPA@CITI.COM
PRABHA.L.BATNI@CITI.COM                       ANN.E.NOBBE@CITI.COM


031937P001-1488A-002F                         031937P001-1488A-002F                            031937P001-1488A-002F            031937P001-1488A-002F
CITIBANK, NASEGREGATED LENDING                CITIBANK, NASEGREGATED LENDING                   CITIBANK, NASEGREGATED LENDING   CITIBANK, NASEGREGATED LENDING
JOHN DELLOLIO VP                              JOHN DELLOLIO VP                                 JOHN DELLOLIO VP                 JOHN DELLOLIO VP
45TH FL                                       45TH FL                                          45TH FL                          45TH FL
L.I.C. NY 11120-0001                          L.I.C. NY 11120-0001                             L.I.C. NY 11120-0001             L.I.C. NY 11120-0001
MARIANNE.SULLIVAN@CITI.COM                    PAOLA.PRINS@CITI.COM                             DARYL.SLATER@CITI.COM            MICHAEL.FENNER@CITI.COM




031937P001-1488A-002F                         031937P001-1488A-002F                            031937P001-1488A-002F            031937P001-1488A-002F
CITIBANK, NASEGREGATED LENDING                CITIBANK, NASEGREGATED LENDING                   CITIBANK, NASEGREGATED LENDING   CITIBANK, NASEGREGATED LENDING
JOHN DELLOLIO VP                              JOHN DELLOLIO VP                                 JOHN DELLOLIO VP                 JOHN DELLOLIO VP
45TH FL                                       45TH FL                                          45TH FL                          45TH FL
L.I.C. NY 11120-0001                          L.I.C. NY 11120-0001                             L.I.C. NY 11120-0001             L.I.C. NY 11120-0001
THEOPHILUS.CHAN@CITI.COM                      PRABHA.L.BATNI@CITI.COM                          ANN.E.NOBBE@CITI.COM




031938P001-1488A-002F                         031938P001-1488A-002F                            031938P001-1488A-002F            031938P001-1488A-002F
CITIBANK/CP/IPA                               CITIBANK/CP/IPA                                  CITIBANK/CP/IPA                  CITIBANK/CP/IPA
SEBASTIAN ANDRIESZYN                          SEBASTIAN ANDRIESZYN                             SEBASTIAN ANDRIESZYN             SEBASTIAN ANDRIESZYN
111 WALL ST 5TH FL                            111 WALL ST 5TH FL                               111 WALL ST 5TH FL               111 WALL ST 5TH FL
NEW YORK NY 10043                             NEW YORK NY 10043                                NEW YORK NY 10043                NEW YORK NY 10043
GTS.CAEC.TPA@CITI.COM                         MARIANNE.SULLIVAN@CITI.COM                       PAOLA.PRINS@CITI.COM             DARYL.SLATER@CITI.COM
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031938P001-1488A-002F                            031938P001-1488A-002F                           031938P001-1488A-002F                       031938P001-1488A-002F
CITIBANK/CP/IPA                                  CITIBANK/CP/IPA                                 CITIBANK/CP/IPA                             CITIBANK/CP/IPA
SEBASTIAN ANDRIESZYN                             SEBASTIAN ANDRIESZYN                            SEBASTIAN ANDRIESZYN                        SEBASTIAN ANDRIESZYN
111 WALL ST 5TH FL                               111 WALL ST 5TH FL                              111 WALL ST 5TH FL                          111 WALL ST 5TH FL
NEW YORK NY 10043                                NEW YORK NY 10043                               NEW YORK NY 10043                           NEW YORK NY 10043
MICHAEL.FENNER@CITI.COM                          THEOPHILUS.CHAN@CITI.COM                        PRABHA.L.BATNI@CITI.COM                     ANN.E.NOBBE@CITI.COM




031938P001-1488A-002F                            031939P001-1488A-002F                           031939P001-1488A-002F                       031939P001-1488A-002F
CITIBANK/CP/IPA                                  CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST       CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST   CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST
SEBASTIAN ANDRIESZYN                             STEPHANIE LUCKEY                                STEPHANIE LUCKEY                            STEPHANIE LUCKEY
111 WALL ST 5TH FL                               111 WALL ST                                     111 WALL ST                                 111 WALL ST
NEW YORK NY 10043                                6TH FL                                          6TH FL                                      6TH FL
                                                 NEW YORK NY 10005                               NEW YORK NY 10005                           NEW YORK NY 10005
                                                 STEPHANIE.M.LUCKEY@CITI.COM                     GTS.CAEC.TPA@CITI.COM                       MARIANNE.SULLIVAN@CITI.COM


031939P001-1488A-002F                            031939P001-1488A-002F                           031939P001-1488A-002F                       031939P001-1488A-002F
CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST        CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST       CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST   CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST
STEPHANIE LUCKEY                                 STEPHANIE LUCKEY                                STEPHANIE LUCKEY                            STEPHANIE LUCKEY
111 WALL ST                                      111 WALL ST                                     111 WALL ST                                 111 WALL ST
6TH FL                                           6TH FL                                          6TH FL                                      6TH FL
NEW YORK NY 10005                                NEW YORK NY 10005                               NEW YORK NY 10005                           NEW YORK NY 10005
PAOLA.PRINS@CITI.COM                             DARYL.SLATER@CITI.COM                           MICHAEL.FENNER@CITI.COM                     THEOPHILUS.CHAN@CITI.COM


031939P001-1488A-002F                            031939P001-1488A-002F                           031939P001-1488A-002F                       031940P001-1488A-002F
CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST        CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST       CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST   CITICORP SECURITIES SERVICES, INC
STEPHANIE LUCKEY                                 STEPHANIE LUCKEY                                STEPHANIE LUCKEY                            JOHN BYRNE
111 WALL ST                                      111 WALL ST                                     111 WALL ST                                 111 WALL ST
6TH FL                                           6TH FL                                          6TH FL                                      11TH FL
NEW YORK NY 10005                                NEW YORK NY 10005                               NEW YORK NY 10005                           NEW YORK NY 10005
PRABHA.L.BATNI@CITI.COM                          ANN.E.NOBBE@CITI.COM                                                                        GTS.CAEC.TPA@CITI.COM


031940P001-1488A-002F                            031940P001-1488A-002F                           031940P001-1488A-002F                       031940P001-1488A-002F
CITICORP SECURITIES SERVICES, INC                CITICORP SECURITIES SERVICES, INC               CITICORP SECURITIES SERVICES, INC           CITICORP SECURITIES SERVICES, INC
JOHN BYRNE                                       JOHN BYRNE                                      JOHN BYRNE                                  JOHN BYRNE
111 WALL ST                                      111 WALL ST                                     111 WALL ST                                 111 WALL ST
11TH FL                                          11TH FL                                         11TH FL                                     11TH FL
NEW YORK NY 10005                                NEW YORK NY 10005                               NEW YORK NY 10005                           NEW YORK NY 10005
MARIANNE.SULLIVAN@CITI.COM                       PAOLA.PRINS@CITI.COM                            DARYL.SLATER@CITI.COM                       MICHAEL.FENNER@CITI.COM


031940P001-1488A-002F                            031940P001-1488A-002F                           031940P001-1488A-002F                       031940P001-1488A-002F
CITICORP SECURITIES SERVICES, INC                CITICORP SECURITIES SERVICES, INC               CITICORP SECURITIES SERVICES, INC           CITICORP SECURITIES SERVICES, INC
JOHN BYRNE                                       JOHN BYRNE                                      JOHN BYRNE                                  JOHN BYRNE
111 WALL ST                                      111 WALL ST                                     111 WALL ST                                 111 WALL ST
11TH FL                                          11TH FL                                         11TH FL                                     11TH FL
NEW YORK NY 10005                                NEW YORK NY 10005                               NEW YORK NY 10005                           NEW YORK NY 10005
THEOPHILUS.CHAN@CITI.COM                         PRABHA.L.BATNI@CITI.COM                         ANN.E.NOBBE@CITI.COM
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CITIGROUP GLOBAL MARKETS INC                    CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC
SALOMON BROTHERSAMM                             SALOMON BROTHERSAMM                            SALOMON BROTHERSAMM                            SALOMON BROTHERSAMM
MARK LEVY                                       MARK LEVY                                      MARK LEVY                                      MARK LEVY
55 WATER ST                                     55 WATER ST                                    55 WATER ST                                    55 WATER ST
NEW YORK NY 10041                               NEW YORK NY 10041                              NEW YORK NY 10041                              NEW YORK NY 10041
GTS.CAEC.TPA@CITI.COM                           MARIANNE.SULLIVAN@CITI.COM                     PAOLA.PRINS@CITI.COM                           DARYL.SLATER@CITI.COM


031941P001-1488A-002F                           031941P001-1488A-002F                          031941P001-1488A-002F                          031941P001-1488A-002F
CITIGROUP GLOBAL MARKETS INC                    CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC
SALOMON BROTHERSAMM                             SALOMON BROTHERSAMM                            SALOMON BROTHERSAMM                            SALOMON BROTHERSAMM
MARK LEVY                                       MARK LEVY                                      MARK LEVY                                      MARK LEVY
55 WATER ST                                     55 WATER ST                                    55 WATER ST                                    55 WATER ST
NEW YORK NY 10041                               NEW YORK NY 10041                              NEW YORK NY 10041                              NEW YORK NY 10041
MICHAEL.FENNER@CITI.COM                         THEOPHILUS.CHAN@CITI.COM                       PRABHA.L.BATNI@CITI.COM                        ANN.E.NOBBE@CITI.COM


031941P001-1488A-002F                           031942P001-1488A-002F                          031942P001-1488A-002F                          031942P001-1488A-002F
CITIGROUP GLOBAL MARKETS INC                    CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC
SALOMON BROTHERSAMM                             SHERRYL NASH-COOK                              SHERRYL NASH-COOK                              SHERRYL NASH-COOK
MARK LEVY                                       388 GREENWICH ST                               388 GREENWICH ST                               388 GREENWICH ST
55 WATER ST                                     11TH FL                                        11TH FL                                        11TH FL
NEW YORK NY 10041                               NEW YORK NY 10013                              NEW YORK NY 10013                              NEW YORK NY 10013
                                                CORPACTION@CITI.COM                            REORGCLASSACTION@CITI.COM                      GTS.CAEC.TPA@CITI.COM


031942P001-1488A-002F                           031942P001-1488A-002F                          031942P001-1488A-002F                          031942P001-1488A-002F
CITIGROUP GLOBAL MARKETS INC                    CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC
SHERRYL NASH-COOK                               SHERRYL NASH-COOK                              SHERRYL NASH-COOK                              SHERRYL NASH-COOK
388 GREENWICH ST                                388 GREENWICH ST                               388 GREENWICH ST                               388 GREENWICH ST
11TH FL                                         11TH FL                                        11TH FL                                        11TH FL
NEW YORK NY 10013                               NEW YORK NY 10013                              NEW YORK NY 10013                              NEW YORK NY 10013
MARIANNE.SULLIVAN@CITI.COM                      PAOLA.PRINS@CITI.COM                           DARYL.SLATER@CITI.COM                          MICHAEL.FENNER@CITI.COM


031942P001-1488A-002F                           031942P001-1488A-002F                          031942P001-1488A-002F                          031943P001-1488A-002F
CITIGROUP GLOBAL MARKETS INC                    CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INC                   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS
SHERRYL NASH-COOK                               SHERRYL NASH-COOK                              SHERRYL NASH-COOK                              CORPORATE ACTIONS
388 GREENWICH ST                                388 GREENWICH ST                               388 GREENWICH ST                               111 WALL ST
11TH FL                                         11TH FL                                        11TH FL                                        6TH FL
NEW YORK NY 10013                               NEW YORK NY 10013                              NEW YORK NY 10013                              NEW YORK NY 10005
THEOPHILUS.CHAN@CITI.COM                        PRABHA.L.BATNI@CITI.COM                        ANN.E.NOBBE@CITI.COM                           REORGCLASSACTION@CITI.COM


031943P001-1488A-002F                           031943P001-1488A-002F                          031943P001-1488A-002F                          031943P001-1488A-002F
CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS    CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS
CORPORATE ACTIONS                               CORPORATE ACTIONS                              CORPORATE ACTIONS                              CORPORATE ACTIONS
111 WALL ST                                     111 WALL ST                                    111 WALL ST                                    111 WALL ST
6TH FL                                          6TH FL                                         6TH FL                                         6TH FL
NEW YORK NY 10005                               NEW YORK NY 10005                              NEW YORK NY 10005                              NEW YORK NY 10005
CORPACTION@CITI.COM                             GTS.CAEC.TPA@CITI.COM                          MARIANNE.SULLIVAN@CITI.COM                     PAOLA.PRINS@CITI.COM
                                           Case 22-90032 Document 69GWG  Holdings,
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031943P001-1488A-002F                           031943P001-1488A-002F                          031943P001-1488A-002F                          031943P001-1488A-002F
CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS    CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS
CORPORATE ACTIONS                               CORPORATE ACTIONS                              CORPORATE ACTIONS                              CORPORATE ACTIONS
111 WALL ST                                     111 WALL ST                                    111 WALL ST                                    111 WALL ST
6TH FL                                          6TH FL                                         6TH FL                                         6TH FL
NEW YORK NY 10005                               NEW YORK NY 10005                              NEW YORK NY 10005                              NEW YORK NY 10005
DARYL.SLATER@CITI.COM                           MICHAEL.FENNER@CITI.COM                        THEOPHILUS.CHAN@CITI.COM                       PRABHA.L.BATNI@CITI.COM


031943P001-1488A-002F                           031944P001-1488A-002F                          031944P001-1488A-002F                          031944P001-1488A-002F
CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS    CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS
CORPORATE ACTIONS                               CORPORATE ACTIONS DEPT                         CORPORATE ACTIONS DEPT                         CORPORATE ACTIONS DEPT
111 WALL ST                                     388 GREENWICH ST                               388 GREENWICH ST                               388 GREENWICH ST
6TH FL                                          11TH FL                                        11TH FL                                        11TH FL
NEW YORK NY 10005                               NEW YORK NY 10013                              NEW YORK NY 10013                              NEW YORK NY 10013
ANN.E.NOBBE@CITI.COM                            MARY.SAJDAK@CITI.COM                           GTS.CAEC.TPA@CITI.COM                          MARIANNE.SULLIVAN@CITI.COM


031944P001-1488A-002F                           031944P001-1488A-002F                          031944P001-1488A-002F                          031944P001-1488A-002F
CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS    CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS
CORPORATE ACTIONS DEPT                          CORPORATE ACTIONS DEPT                         CORPORATE ACTIONS DEPT                         CORPORATE ACTIONS DEPT
388 GREENWICH ST                                388 GREENWICH ST                               388 GREENWICH ST                               388 GREENWICH ST
11TH FL                                         11TH FL                                        11TH FL                                        11TH FL
NEW YORK NY 10013                               NEW YORK NY 10013                              NEW YORK NY 10013                              NEW YORK NY 10013
PAOLA.PRINS@CITI.COM                            DARYL.SLATER@CITI.COM                          MICHAEL.FENNER@CITI.COM                        THEOPHILUS.CHAN@CITI.COM


031944P001-1488A-002F                           031944P001-1488A-002F                          031944P001-1488A-002F                          031945P001-1488A-002F
CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS    CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS INCSALOMON BROTHERS   CITIGROUP GLOBAL MARKETS, INC
CORPORATE ACTIONS DEPT                          CORPORATE ACTIONS DEPT                         CORPORATE ACTIONS DEPT                         CORRESPONDENT CLEARING
388 GREENWICH ST                                388 GREENWICH ST                               388 GREENWICH ST                               ABIGAIL DAVIES
11TH FL                                         11TH FL                                        11TH FL                                        388 GREENWICH ST
NEW YORK NY 10013                               NEW YORK NY 10013                              NEW YORK NY 10013                              11TH FL
PRABHA.L.BATNI@CITI.COM                         ANN.E.NOBBE@CITI.COM                                                                          NEW YORK NY 10013
                                                                                                                                              GTS.CAEC.TPA@CITI.COM

031945P001-1488A-002F                           031945P001-1488A-002F                          031945P001-1488A-002F                          031945P001-1488A-002F
CITIGROUP GLOBAL MARKETS, INC                   CITIGROUP GLOBAL MARKETS, INC                  CITIGROUP GLOBAL MARKETS, INC                  CITIGROUP GLOBAL MARKETS, INC
CORRESPONDENT CLEARING                          CORRESPONDENT CLEARING                         CORRESPONDENT CLEARING                         CORRESPONDENT CLEARING
ABIGAIL DAVIES                                  ABIGAIL DAVIES                                 ABIGAIL DAVIES                                 ABIGAIL DAVIES
388 GREENWICH ST                                388 GREENWICH ST                               388 GREENWICH ST                               388 GREENWICH ST
11TH FL                                         11TH FL                                        11TH FL                                        11TH FL
NEW YORK NY 10013                               NEW YORK NY 10013                              NEW YORK NY 10013                              NEW YORK NY 10013
MARIANNE.SULLIVAN@CITI.COM                      PAOLA.PRINS@CITI.COM                           DARYL.SLATER@CITI.COM                          MICHAEL.FENNER@CITI.COM

031945P001-1488A-002F                           031945P001-1488A-002F                          031945P001-1488A-002F                          031945P001-1488A-002F
CITIGROUP GLOBAL MARKETS, INC                   CITIGROUP GLOBAL MARKETS, INC                  CITIGROUP GLOBAL MARKETS, INC                  CITIGROUP GLOBAL MARKETS, INC
CORRESPONDENT CLEARING                          CORRESPONDENT CLEARING                         CORRESPONDENT CLEARING                         CORRESPONDENT CLEARING
ABIGAIL DAVIES                                  ABIGAIL DAVIES                                 ABIGAIL DAVIES                                 ABIGAIL DAVIES
388 GREENWICH ST                                388 GREENWICH ST                               388 GREENWICH ST                               388 GREENWICH ST
11TH FL                                         11TH FL                                        11TH FL                                        11TH FL
NEW YORK NY 10013                               NEW YORK NY 10013                              NEW YORK NY 10013                              NEW YORK NY 10013
THEOPHILUS.CHAN@CITI.COM                        PRABHA.L.BATNI@CITI.COM                        ANN.E.NOBBE@CITI.COM
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031946P001-1488A-002F                         031915P001-1488A-002F                       031947P001-1488A-002F                     031947P001-1488A-002F
CITY NATIONAL BANK                            CL KING AND ASSOCIATES, INC                 CLASS ACTION                              CLASS ACTION
JOEL GALLANT                                  CARRIE KANE                                 CLASS ACTION                              CLASS ACTION
555 SOUTH FLOWER ST 10TH FL                   9 ELK ST                                    REORGOPSCAMAILINGSERVICE@BROADRIDGE.COM   CLASSACTIONS1@BROADRIDGE.COM
LOS ANGELES CA 90071                          ALBANY NY 12207
JOEL.GALLANT@CNB.COM                          CAB@CLKING.COM




031948P001-1488A-002F                         031948P001-1488A-002F                       031948P001-1488A-002F                     031948P001-1488A-002F
CLEARING HOUSES                               CLEARING HOUSES                             CLEARING HOUSES                           CLEARING HOUSES
CLEARING HOUSES                               CLEARING HOUSES                             CLEARING HOUSES                           CLEARING HOUSES
CA_MANDATORY.EVENTS@CLEARSTREAM.COM           VOLUNTARYREORGANNOUNCEMENTS@DTCC.COM        MANDATORYREORGANNOUNCEMENTS@DTCC.COM      DRIT@EUROCLEAR.COM




031948P001-1488A-002F                         031948P001-1488A-002F                       031948P001-1488A-002F                     031948P001-1488A-002F
CLEARING HOUSES                               CLEARING HOUSES                             CLEARING HOUSES                           CLEARING HOUSES
CLEARING HOUSES                               CLEARING HOUSES                             CLEARING HOUSES                           CLEARING HOUSES
CORPACTIONSOVERSEAS.GROUP@SISCLEAR.COM        JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   REORGOPSCAMAILINGSERVICE@BROADRIDGE.COM   LEGALANDTAXNOTICES@DTCC.COM




031948P001-1488A-002F                         031948P001-1488A-002F                       031948P001-1488A-002F                     031948P001-1488A-002F
CLEARING HOUSES                               CLEARING HOUSES                             CLEARING HOUSES                           CLEARING HOUSES
CLEARING HOUSES                               CLEARING HOUSES                             CLEARING HOUSES                           CLEARING HOUSES
NATHALIE.CHATAIGNER@CLEARSTREAM.COM           HULYA.DIN@CLEARSTREAM.COM                   CHERIFA.MAAMERI@CLEARSTREAM.COM           CA_LUXEMBOURG@CLEARSTREAM.COM




031949P001-1488A-002F                         031949P001-1488A-002F                       031950P001-1488A-002F                     031950P001-1488A-002F
COMERICA BANK                                 COMERICA BANK                               COMPASS BANK/INVESTMENTS                  COMPASS BANK/INVESTMENTS
GLORIA IMHOFF                                 GLORIA IMHOFF                               CORPORATE ACTIONS                         CORPORATE ACTIONS
411 WEST LAFAYETTE                            411 WEST LAFAYETTE                          15 SOUTH 20TH ST                          15 SOUTH 20TH ST
DETROIT MI 48226                              DETROIT MI 48226                            BIRMINGHAM AL 35233                       BIRMINGHAM AL 35233
GHIMHOFF@COMERICA.COM                         MLGILES@COMERICA.COM                        CRYSTAL.LAMAR@BBVACOMPASS.COM             CRYSTAL.LAMAR@BBVA.COM




031950P001-1488A-002F                         031950P001-1488A-002F                       031950P001-1488A-002F                     031951P001-1488A-002F
COMPASS BANK/INVESTMENTS                      COMPASS BANK/INVESTMENTS                    COMPASS BANK/INVESTMENTS                  COMPASS BANK/TRUST DIVISION
CORPORATE ACTIONS                             CORPORATE ACTIONS                           CORPORATE ACTIONS                         CRYSTAL LAMAR
15 SOUTH 20TH ST                              15 SOUTH 20TH ST                            15 SOUTH 20TH ST                          15 SOUTH 20TH ST
BIRMINGHAM AL 35233                           BIRMINGHAM AL 35233                         BIRMINGHAM AL 35233                       BIRMINGHAM AL 35233
BROKERHOTLINE.US@BBVA.COM                     THOMAS.REILLY@BBVANY.COM                    NY.FOST.SUPPORT.GROUP@BBVA.COM            CRYSTAL.LAMAR@BBVACOMPASS.COM
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031951P001-1488A-002F                         031951P001-1488A-002F                        031951P001-1488A-002F                    031951P001-1488A-002F
COMPASS BANK/TRUST DIVISION                   COMPASS BANK/TRUST DIVISION                  COMPASS BANK/TRUST DIVISION              COMPASS BANK/TRUST DIVISION
CRYSTAL LAMAR                                 CRYSTAL LAMAR                                CRYSTAL LAMAR                            CRYSTAL LAMAR
15 SOUTH 20TH ST                              15 SOUTH 20TH ST                             15 SOUTH 20TH ST                         15 SOUTH 20TH ST
BIRMINGHAM AL 35233                           BIRMINGHAM AL 35233                          BIRMINGHAM AL 35233                      BIRMINGHAM AL 35233
CRYSTAL.LAMAR@BBVA.COM                        BROKERHOTLINE.US@BBVA.COM                    THOMAS.REILLY@BBVANY.COM                 NY.FOST.SUPPORT.GROUP@BBVA.COM




031952P001-1488A-002F                         031952P001-1488A-002F                        031952P001-1488A-002F                    031953P001-1488A-002F
COMPUTERSHARE TRUST COMPANY, NA               COMPUTERSHARE TRUST COMPANY, NA              COMPUTERSHARE TRUST COMPANY, NA          COMPUTERSHARE TRUST COMPANY, NADR
LYNN HUGUET                                   LYNN HUGUET                                  LYNN HUGUET                              CLAIRE HERRING
MANAGER                                       MANAGER                                      MANAGER                                  2 N LASALLE
250 ROYALL ST                                 250 ROYALL ST                                250 ROYALL ST                            CHICAGO IL 60602
CANTON MA 02021                               CANTON MA 02021                              CANTON MA 02021                          LAURA.CROSBY@COMPUTERSHARE.COM
LYNN.HUGUET@COMPUTERSHARE.COM                 LAURA.CROSBY@COMPUTERSHARE.COM               MARCO.DESANTIS@COMPUTERSHARE.COM


031953P001-1488A-002F                         031954P001-1488A-002F                        031954P001-1488A-002F                    031954P001-1488A-002F
COMPUTERSHARE TRUST COMPANY, NADR             COMPUTERSHARE TRUST COMPANY, NADRP           COMPUTERSHARE TRUST COMPANY, NADRP       COMPUTERSHARE TRUST COMPANY, NADRP
CLAIRE HERRING                                KEVIN FLEMING                                KEVIN FLEMING                            KEVIN FLEMING
2 N LASALLE                                   MANAGER                                      MANAGER                                  MANAGER
CHICAGO IL 60602                              250 ROYALL ST                                250 ROYALL ST                            250 ROYALL ST
MARCO.DESANTIS@COMPUTERSHARE.COM              CANTON MA 02021                              CANTON MA 02021                          CANTON MA 02021
                                              KEVIN.FLEMING@COMPUTERSHARE.COM              LAURA.CROSBY@COMPUTERSHARE.COM           MARCO.DESANTIS@COMPUTERSHARE.COM


031955P001-1488A-002F                         031955P001-1488A-002F                        031955P001-1488A-002F                    031956P001-1488A-002F
COMPUTERSHARE TRUST COMPANY, NAOPTIONS        COMPUTERSHARE TRUST COMPANY, NAOPTIONS       COMPUTERSHARE TRUST COMPANY, NAOPTIONS   CONVERGEX EXECUTION SOLUTIONS LLC
KEVIN FLEMING                                 KEVIN FLEMING                                KEVIN FLEMING                            HOWARD FLAXER
MANAGER                                       MANAGER                                      MANAGER                                  VICE PRESIDENT
250 ROYALL ST                                 250 ROYALL ST                                250 ROYALL ST                            3501 QUADRANGLE BLVD
CANTON MA 02021                               CANTON MA 02021                              CANTON MA 02021                          STE 200
KEVIN.FLEMING@COMPUTERSHARE.COM               LAURA.CROSBY@COMPUTERSHARE.COM               MARCO.DESANTIS@COMPUTERSHARE.COM         ORLANDO FL 32817
                                                                                                                                    HFLAXER@CONVERGEX.COM

031957P001-1488A-002F                         031958P001-1488A-002F                        031959P001-1488A-002F                    031960P001-1488A-002F
COR CLEARING LLC                              COR CLEARING LLC                             COR CLEARING LLC                         COR CLEARING LLC/CORRESPONDENT FLIP
ANH MECHALS                                   ISSUER SVC                                   LUKE HOLLAND                             FACILITATION ACCOUNT
9300 UNDERWOOD AVE                            8000 REGENCY PKWY                            1200 LANDMARK CTR                        CORPORATE ACTIONS
STE 400                                       CARY NC 27518                                STE 800                                  1200 LANDMARK CTR
OMAHA NE 68114                                CORPORATE.ACTION@CORCLEARING.COM             OMAHA NE 68102                           STE 800
CORPORATE.ACTION@CORCLEARING.COM                                                           CORPORATE.ACTION@CORCLEARING.COM         OMAHA NE 68102-1916
                                                                                                                                    CORPORATE.ACTION@CORCLEARING.COM

031961P001-1488A-002F                         031962P001-1488A-002F                        031963P001-1488A-002F                    031964P001-1488A-002F
COR CLEARING LLC/STOCK LOAN                   CORPORATE STOCK TRANSFER, INCDRS             COSSE INTERNATIONAL SECURITIES, INC      COWEN EXECUTION SVC LLC
SHAWN BROWN                                   SHARI HUMPHERYS                              DENNIS A YOUNG                           FULLY PAID FOR LENDING
MANAGER                                       3200 CHERRY CREEK SOUTH DR                   1301 5TH AVE                             CORPORATE ACTIONS
9300 UNDERWOOD AVE                            STE 430                                      STE 3024                                 599 LEXINGTON AVE 20TH FL
OMAHA NE 68114                                DENVER CO 80209                              SEATTLE WA 98101                         NEW YORK NY 10022
CORPORATE.ACTION@CORCLEARING.COM              SHUMPHERYS@CORPORATESTOCK.COM                FINOP@COSSEINTL.COM                      COWEN.US-COMMUNICATIONS@COWEN.COM
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031965P001-1488A-002F                           031966P001-1488A-002F                          031967P001-1488A-002F                  031967P001-1488A-002F
CREDIT AGRICOLE SECURITIES (USA) INC            CREDIT AGRICOLE SECURITIES (USA) INC           CREDIT SUISSE AG - NEW YORK BRANCH     CREDIT SUISSE AG - NEW YORK BRANCH
DANIEL SALCIDO                                  STOCKLOAN CONDUIT                              CORPORATE ACTION                       CORPORATE ACTION
1301 AVE OF THE AMERICAS                        DANIEL SALCIDO MANAGER                         ELEVEN MADISON AVE                     ELEVEN MADISON AVE
NEW YORK NY 10019                               1301 AVE OF THE AMERICAS                       NEW YORK NY 10010-3629                 NEW YORK NY 10010-3629
DANIEL.SALCIDO@CA-CIB.COM                       NEW YORK NY 10019                              HIEP.LIEN@CREDIT-SUISSE.COM            LIST.NYEVTINTGRP@CREDIT-SUISSE.COM
                                                DANIEL.SALCIDO@CA-CIB.COM


031969P001-1488A-002F                           031969P001-1488A-002F                          031968P001-1488A-002F                  031968P001-1488A-002F
CREDIT SUISSE AG NEW YORK BRANCH                CREDIT SUISSE AG NEW YORK BRANCH               CREDIT SUISSE AG NYB -                 CREDIT SUISSE AG NYB -
DTC ID CONFIRMATION                             DTC ID CONFIRMATION                            SECURITIES LENDING MGMT                SECURITIES LENDING MGMT
CORPORATE ACTIONS                               CORPORATE ACTIONS                              CORPORATE ACTIONS                      CORPORATE ACTIONS
ELEVEN MADISON AVE                              ELEVEN MADISON AVE                             ELEVEN MADISON AVE                     ELEVEN MADISON AVE
NEW YORK NY 10010-3629                          NEW YORK NY 10010-3629                         NEW YORK NY 10010-3629                 NEW YORK NY 10010-3629
HIEP.LIEN@CREDIT-SUISSE.COM                     LIST.NYEVTINTGRP@CREDIT-SUISSE.COM             HIEP.LIEN@CREDIT-SUISSE.COM            LIST.NYEVTINTGRP@CREDIT-SUISSE.COM


031970P001-1488A-002F                           031970P001-1488A-002F                          031971P001-1488A-002F                  031971P001-1488A-002F
CREDIT SUISSE SECURITIES (USA) LLC              CREDIT SUISSE SECURITIES (USA) LLC             CREDIT SUISSE SECURITIES (USA) LLC     CREDIT SUISSE SECURITIES (USA) LLC
BROADRIDGE                                      BROADRIDGE                                     ANTHONY MILO                           ANTHONY MILO
51 MERCEDES WAY                                 51 MERCEDES WAY                                VICE PRESIDENT                         VICE PRESIDENT
EDGEWOOD NY 11717                               EDGEWOOD NY 11717                              7033 LOUIS STEVENS DR                  7033 LOUIS STEVENS DR
HIEP.LIEN@CREDIT-SUISSE.COM                     LIST.NYEVTINTGRP@CREDIT-SUISSE.COM             GLOBAL PROXY SERVICES                  GLOBAL PROXY SERVICES
                                                                                               RESEARCH TRIANGLE PARK NC 27709        RESEARCH TRIANGLE PARK NC 27709
                                                                                               ANTHONY.MILO@CREDIT-SUISSE.COM         HIEP.LIEN@CREDIT-SUISSE.COM

031971P001-1488A-002F                           031972P001-1488A-002F                          031972P001-1488A-002F                  031973P001-1488A-002F
CREDIT SUISSE SECURITIES (USA) LLC              CREDIT SUISSE SECURITIES (USA) LLC/I           CREDIT SUISSE SECURITIES (USA) LLC/I   CREDIT SUISSE SECURITIES CANADA INCCDS**
ANTHONY MILO                                    ISSUER SVC                                     ISSUER SVC                             KAZI HAQ
VICE PRESIDENT                                  51 MERCEDES WAY                                51 MERCEDES WAY                        OPERATIONS MANAGER
7033 LOUIS STEVENS DR                           EDGEWOOD NY 11717                              EDGEWOOD NY 11717                      1 FIRST CANADIAN PL STE 2900
GLOBAL PROXY SERVICES                           HIEP.LIEN@CREDIT-SUISSE.COM                    LIST.NYEVTINTGRP@CREDIT-SUISSE.COM     PO BOX 301
RESEARCH TRIANGLE PARK NC 27709                                                                                                       TORONTO ON M5X 1C9
LIST.NYEVTINTGRP@CREDIT-SUISSE.COM                                                                                                    CANADA
                                                                                                                                      HIEP.LIEN@CREDIT-SUISSE.COM
031973P001-1488A-002F                           031974P001-1488A-002F                          031975P001-1488A-002F                  031976P001-1488A-002F
CREDIT SUISSE SECURITIES CANADA INCCDS**        CREWS AND ASSOCIATES, INC                      CROWELL, WEEDON AND CO                 D A DAVIDSON AND CO
KAZI HAQ                                        CORPORATE ACTIONS                              JAMES L CRONK CORPORATE ACTIONS        RITA LINSKEY
OPERATIONS MANAGER                              521 PRESIDENT CLINTON AVE STE 800              624 SOUTH GRAND AVE                    8 THIRD ST NORTH
1 FIRST CANADIAN PL STE 2900                    LITTLE ROCK AR 72201-1747                      ONE WILSHIRE BLDG STE 2600             GREAT FALLS MT 59401
PO BOX 301                                      ADAY@CREWSFS.COM                               LOS ANGELES CA 90017                   RLINSKEY@DADCO.COM
TORONTO ON M5X 1C9                                                                             JCRONK@DADCO.COM
CANADA
LIST.NYEVTINTGRP@CREDIT-SUISSE.COM
031976P001-1488A-002F                           031977P001-1488A-002F                          031977P001-1488A-002F                  031977P001-1488A-002F
D A DAVIDSON AND CO                             D A DAVIDSON AND CO                            D A DAVIDSON AND CO                    D A DAVIDSON AND CO
RITA LINSKEY                                    CORPORATE ACTIONS                              CORPORATE ACTIONS                      CORPORATE ACTIONS
8 THIRD ST NORTH                                8 THIRD ST NORTH                               8 THIRD ST NORTH                       8 THIRD ST NORTH
GREAT FALLS MT 59401                            GREAT FALLS MT 59401                           GREAT FALLS MT 59401                   GREAT FALLS MT 59401
REORG@DADCO.COM                                 REORG@DADCO.COM                                KSAPP@DADCO.COM                        DWEGNER@DADCO.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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031977P001-1488A-002F                         031978P001-1488A-002F                            031978P001-1488A-002F                    031979P001-1488A-002F
D A DAVIDSON AND CO                           D A DAVIDSON AND CO                              D A DAVIDSON AND CO                      DAIWA CAPITAL MARKETS AMERICA INC
CORPORATE ACTIONS                             DEBBIE GYGER                                     DEBBIE GYGER                             CORPORATE ACTIONS
8 THIRD ST NORTH                              8 THIRD ST NORTH                                 8 THIRD ST NORTH                         32 OLD SLIP
GREAT FALLS MT 59401                          GREAT FALLS MT 59401                             GREAT FALLS MT 59401                     14TH FL
THOWELL@DADCO.COM                             DGYGER@DADCO.COM                                 REORG@DADCO.COM                          NEW YORK NY 10005
                                                                                                                                        MICHELE.CENNAMO@US.DAIWACM.COM


031979P001-1488A-002F                         031980P001-1488A-002F                            031980P001-1488A-002F                    031982P001-1488A-002F
DAIWA CAPITAL MARKETS AMERICA INC             DAIWA CAPITAL MARKETS AMERICA INC                DAIWA CAPITAL MARKETS AMERICA INC        DAIWA CAPITAL MARKETS AMERICA INC
CORPORATE ACTIONS                             SERGIO LEON                                      SERGIO LEON                              SECURITIES LENDING
32 OLD SLIP                                   32 OLD SLIP 14TH FL                              32 OLD SLIP 14TH FL                      DAVID BIALER, ASSISTANT VICE PRESIDENT
14TH FL                                       NEW YORK NY 10005                                NEW YORK NY 10005                        32 OLD SLIP 14TH FL
NEW YORK NY 10005                             AKIKO.HIROSHIMA@US.DAIWACM.COM                   MICHELE.CENNAMO@US.DAIWACM.COM           NEW YORK NY 10005
AKIKO.HIROSHIMA@US.DAIWACM.COM                                                                                                          AKIKO.HIROSHIMA@US.DAIWACM.COM


031982P001-1488A-002F                         031981P001-1488A-002F                            031981P001-1488A-002F                    031983P001-1488A-002F
DAIWA CAPITAL MARKETS AMERICA INC             DAIWA CAPITAL MARKETS AMERICA INCDASAC           DAIWA CAPITAL MARKETS AMERICA INCDASAC   DAVENPORT AND CO LLC
SECURITIES LENDING                            AKIKO HIROSHIMA                                  AKIKO HIROSHIMA                          KIM NIEDING
DAVID BIALER, ASSISTANT VICE PRESIDENT        32 OLD SLIP                                      32 OLD SLIP                              901 EAST CARY ST
32 OLD SLIP 14TH FL                           14TH FL                                          14TH FL                                  11TH FL
NEW YORK NY 10005                             NEW YORK NY 10005                                NEW YORK NY 10005                        RICHMOND VA 23219
MICHELE.CENNAMO@US.DAIWACM.COM                AKIKO.HIROSHIMA@US.DAIWACM.COM                   MICHELE.CENNAMO@US.DAIWACM.COM           KNIEDING@INVESTDAVENPORT.COM


031984P001-1488A-002F                         031984P001-1488A-002F                            031984P001-1488A-002F                    031985P001-1488A-002F
DAVID LERNER ASSOCIATES, INC                  DAVID LERNER ASSOCIATES, INC                     DAVID LERNER ASSOCIATES, INC             DEPOSITO CENTRAL DE VALORES SA,
BILLY O' DONNELL                              BILLY O' DONNELL                                 BILLY O' DONNELL                         DEPOSITODE VALORES
477 JERICHO TPKE                              477 JERICHO TPKE                                 477 JERICHO TPKE                         MIRNA FERNANDEZ, ASSISTANT MANAGER
PO BOX 9006                                   PO BOX 9006                                      PO BOX 9006                              AVDA APOQUINDO #4001
SYOSSET NY 11791                              SYOSSET NY 11791                                 SYOSSET NY 11791                         FL 12 CP 7550162
BILL.ODONNELL@DAVIDLERNER.COM                 CARMELA.BRIGAGLIANO@DAVIDLERNER.COM              LAWRENCE.KAMPF@DAVIDLERNER.COM           LAS CONDES, SANTIAGO
                                                                                                                                        CHILE
                                                                                                                                        MFERNANDEZ@DCV.CL
031986P001-1488A-002F                         031987P001-1488A-002F                            031988P001-1488A-002F                    031989P001-1488A-002F
DESJARDINS SECURITIES INCCDS**                DESJARDINS SECURITIES INCCDS**                   DESJARDINS SECURITIES INCCDS**           DEUTSCHE BANK AG NY/CEDEAR
REORG DEPT-MTL1060-1ER-E                      REORG DEPT                                       CORPORATE ACTIONS                        JOHN BINDER
1060 UNIVERSITY ST                            1 COMPLEXE DESJARDINS                            VALEURS MOBILIARES DESJARDINS            VICE PRESIDENT
STE 101                                       CP 34 SUCC ESJARDINS                             2 COMPLEXE DESJARDINS TOUR EST           100 PLZ ONE
MONTREAL QC H3B 5L7                           MONTREAL QC H5B 1E4                              NIVEAU 62 E122                           2ND FL
CANADA                                        CANADA                                           MONTREAL QC H5B 1J2                      JERSEY CITY NJ 07311
RECOURS.COLLECTIFS@DESJARDINS.COM             RECOURS.COLLECTIFS@DESJARDINS.COM                CANADA                                   KEVIN.MILLER@DB.COM
                                                                                               RECOURS.COLLECTIFS@DESJARDINS.COM
031989P001-1488A-002F                         031989P001-1488A-002F                            031989P001-1488A-002F                    031990P001-1488A-002F
DEUTSCHE BANK AG NY/CEDEAR                    DEUTSCHE BANK AG NY/CEDEAR                       DEUTSCHE BANK AG NY/CEDEAR               DEUTSCHE BANK AG NY/TCR
JOHN BINDER                                   JOHN BINDER                                      JOHN BINDER                              JOHN BINDER
VICE PRESIDENT                                VICE PRESIDENT                                   VICE PRESIDENT                           VICE PRESIDENT
100 PLZ ONE                                   100 PLZ ONE                                      100 PLZ ONE                              100 PLZ ONE
2ND FL                                        2ND FL                                           2ND FL                                   2ND FL
JERSEY CITY NJ 07311                          JERSEY CITY NJ 07311                             JERSEY CITY NJ 07311                     JERSEY CITY NJ 07311-3901
SAGAR.SHARMA@DB.COM                           CYNTHIA.RAINIS@DB.COM                            JAMIE.SILVERSTEIN@DB.COM                 KEVIN.MILLER@DB.COM
                                    Case 22-90032 Document 69GWG  Holdings,
                                                               Filed in TXSBInc.,
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031990P001-1488A-002F                    031990P001-1488A-002F                       031990P001-1488A-002F                  031991P001-1488A-002F
DEUTSCHE BANK AG NY/TCR                  DEUTSCHE BANK AG NY/TCR                     DEUTSCHE BANK AG NY/TCR                DEUTSCHE BANK AG, NEW YORK BRANCH
JOHN BINDER                              JOHN BINDER                                 JOHN BINDER                            JOHN BINDER
VICE PRESIDENT                           VICE PRESIDENT                              VICE PRESIDENT                         100 PLZ ONE
100 PLZ ONE                              100 PLZ ONE                                 100 PLZ ONE                            2ND FL
2ND FL                                   2ND FL                                      2ND FL                                 JERSEY CITY NJ 07311-3901
JERSEY CITY NJ 07311-3901                JERSEY CITY NJ 07311-3901                   JERSEY CITY NJ 07311-3901              KEVIN.MILLER@DB.COM
SAGAR.SHARMA@DB.COM                      CYNTHIA.RAINIS@DB.COM                       JAMIE.SILVERSTEIN@DB.COM

031991P001-1488A-002F                    031991P001-1488A-002F                       031991P001-1488A-002F                  031992P001-1488A-002F
DEUTSCHE BANK AG, NEW YORK BRANCH        DEUTSCHE BANK AG, NEW YORK BRANCH           DEUTSCHE BANK AG, NEW YORK BRANCH      DEUTSCHE BANK AG, NEW YORK BRANCHGES FFT
JOHN BINDER                              JOHN BINDER                                 JOHN BINDER                            BEVERLY GEORGE
100 PLZ ONE                              100 PLZ ONE                                 100 PLZ ONE                            ASSISTANT VICE PRESIDENT
2ND FL                                   2ND FL                                      2ND FL                                 60 WALL ST
JERSEY CITY NJ 07311-3901                JERSEY CITY NJ 07311-3901                   JERSEY CITY NJ 07311-3901              NEW YORK NY 10023
SAGAR.SHARMA@DB.COM                      CYNTHIA.RAINIS@DB.COM                       JAMIE.SILVERSTEIN@DB.COM               BEVERLY.A.GEORGE-NY@DB.COM


031993P001-1488A-002F                    031994P001-1488A-002F                       031994P001-1488A-002F                  031994P001-1488A-002F
DEUTSCHE BANK SECURITIES INC             DTC                                         DTC                                    DTC
SARA BATTEN                              55 WATER ST                                 55 WATER ST                            55 WATER ST
5022 GATE PKWY                           FL 3                                        FL 3                                   FL 3
STE 100                                  NEW YORK NY 10041                           NEW YORK NY 10041                      NEW YORK NY 10041
JACKSONVILLE FL 32256                    VOLUNTARYREORGANNOUNCEMENTS@DTCC.COM        MANDATORYREORGANNOUNCEMENTS@DTCC.COM   LEGALANDTAXNOTICES@DTCC.COM
PROXY.MUMBAI@DB.COM


031995P001-1488A-002F                    031996P001-1488A-002F                       031997P001-1488A-002F                  031997P001-1488A-002F
TRADE CLEARING LLC E                     EDWARD D JONES AND CO                       EDWARD JONES/CDS**                     EDWARD JONES/CDS**
BROADRIDGE                               DEREK ADAMS                                 CORPORATE ACTIONS                      CORPORATE ACTIONS
CORPORATE ACTIONS DEPT                   12555 MANCHESTER RD                         201 PROGRESS PKWY                      201 PROGRESS PKWY
2 JOURNAL SQUARE PLZ                     ST LOUIS MO 63131                           MARYLAND HEIGHTS MO 63043              MARYLAND HEIGHTS MO 63043
5TH FL                                   GINGER.STILLMAN@EDWARDJONES.COM             GINGER.STILLMAN@EDWARDJONES.COM        MATT.BROMLEY@EDWARDJONES.COM
JERSEY CITY NJ 07306
VANDANA.X.VEMULA@BROADRIDGE.COM

031997P001-1488A-002F                    031997P001-1488A-002F                       031997P001-1488A-002F                  031997P001-1488A-002F
EDWARD JONES/CDS**                       EDWARD JONES/CDS**                          EDWARD JONES/CDS**                     EDWARD JONES/CDS**
CORPORATE ACTIONS                        CORPORATE ACTIONS                           CORPORATE ACTIONS                      CORPORATE ACTIONS
201 PROGRESS PKWY                        201 PROGRESS PKWY                           201 PROGRESS PKWY                      201 PROGRESS PKWY
MARYLAND HEIGHTS MO 63043                MARYLAND HEIGHTS MO 63043                   MARYLAND HEIGHTS MO 63043              MARYLAND HEIGHTS MO 63043
ANNA.SCHIERMANN@EDWARDJONES.COM          MARIE.MOHN@EDWARDJONES.COM                  BRETT.BROWN@EDWARDJONES.COM            EDJCLASSACTIONS@EDWARDJONES.COM




031998P001-1488A-002F                    031999P001-1488A-002F                       032000P001-1488A-002F                  032001P001-1488A-002F
EDWARD JONES/CDS**                       EMMET AND CO,INC                            ESSEX RADEZ LLC                        EVERBANK
DIANE YOUNG                              RICHARD CHRISTENSEN                         MARK DEROLF                            LINDA DILE
1255 MANCHESTER RD                       12 PEAPACK RD                               440 S LASALLE ST                       8328 EAGER RD
ST LOUIS MO 63141                        FAR HILLS NJ 07931-2435                     STE 1111                               STE 300
EDJCLASSACTIONS@EDWARDJONES.COM          R.CHRISTENSEN@EMMETCO.COM                   CHICAGO IL 60605                       ST LOUIS MO 63144
                                                                                     MDEROLF@RADEZ.COM                      LINDA.DILE@EVERBANK.COM
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032002P001-1488A-002F                         032003P001-1488A-002F                            032003P001-1488A-002F                 032004P001-1488A-002F
FEDERAL HOME LOAN MORTGAGE CORPORATION        FEDERAL RESERVE BANK OF NEW YORK                 FEDERAL RESERVE BANK OF NEW YORK      FIDELITY CLEARING CANADA ULC/CDS**
RETAINED                                      TIM FOGARTY                                      TIM FOGARTY                           JOHN SPURWAY
PHILIP ROY, VICE PRESIDENT                    33 LIBERTY ST                                    33 LIBERTY ST                         245 SUMMER ST
14201 DALLAS PKWY                             NEW YORK NY 10045                                NEW YORK NY 10045                     MAILZONE V5A
FL 12                                         PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM   BOSTON MA 02210
DALLAS TX 75254                                                                                                                      PETER.CLOSS@FMR.COM
USSO.PROXY.TEAM@JPMORGAN.COM

032004P001-1488A-002F                         032004P001-1488A-002F                            032004P001-1488A-002F                 032004P001-1488A-002F
FIDELITY CLEARING CANADA ULC/CDS**            FIDELITY CLEARING CANADA ULC/CDS**               FIDELITY CLEARING CANADA ULC/CDS**    FIDELITY CLEARING CANADA ULC/CDS**
JOHN SPURWAY                                  JOHN SPURWAY                                     JOHN SPURWAY                          JOHN SPURWAY
245 SUMMER ST                                 245 SUMMER ST                                    245 SUMMER ST                         245 SUMMER ST
MAILZONE V5A                                  MAILZONE V5A                                     MAILZONE V5A                          MAILZONE V5A
BOSTON MA 02210                               BOSTON MA 02210                                  BOSTON MA 02210                       BOSTON MA 02210
LISA.GANESH@FMR.COM                           SEAN.MCDONOUGH@FMR.COM                           JASON.DRESS@FMR.COM                   ROHAN.ROSE@FMR.COM


032004P001-1488A-002F                         032004P001-1488A-002F                            032004P001-1488A-002F                 032005P001-1488A-002F
FIDELITY CLEARING CANADA ULC/CDS**            FIDELITY CLEARING CANADA ULC/CDS**               FIDELITY CLEARING CANADA ULC/CDS**    FIFTH THIRD BANK
JOHN SPURWAY                                  JOHN SPURWAY                                     JOHN SPURWAY                          LANCE WELLS
245 SUMMER ST                                 245 SUMMER ST                                    245 SUMMER ST                         CORP ACTIONS
MAILZONE V5A                                  MAILZONE V5A                                     MAILZONE V5A                          5050 KINGSLEY DR
BOSTON MA 02210                               BOSTON MA 02210                                  BOSTON MA 02210                       MAIL DROP 1MOB2D
JOHN.SPURWAY@FMR.COM                          GERARDO.FLEITES@FMR.COM                          ROB.DAY@FMR.COM                       CINCINNATI OH 45227
                                                                                                                                     LANCE.WELLS@53.COM

032005P001-1488A-002F                         032006P001-1488A-002F                            032007P001-1488A-002F                 032008P001-1488A-002F
FIFTH THIRD BANK                              FIFTH THIRD BANK                                 FIFTH THIRD BANK                      FIFTH THIRD BANK
LANCE WELLS                                   PUBLIC EMPLOYEES RETIREMENT SYSTEM               STATE TEACHERS RETIREMENTOF OHIO      LANCE WELLS
CORP ACTIONS                                  LANCE WELLS - ASSISTANT VICE PRESIDENT           LANCE WELLS                           CORP ACTIONS
5050 KINGSLEY DR                              5001 KINGSLEY DR                                 5001 KINGSLEY RD                      5001 KINGSLEY DR
MAIL DROP 1MOB2D                              MAIL DROP 1M0B2G                                 MD# 1MOB 2D                           MAIL DROP 1MOB2D
CINCINNATI OH 45227                           CINCINNATI OH 45263                              CINCINNATI OH 45227                   CINCINNATI OH 45227
WENDELL.JONES@53.COM                          LANCE.WELLS@53.COM                               LANCE.WELLS@53.COM                    LANCE.WELLS@53.COM

032009P001-1488A-002F                         032009P001-1488A-002F                            032010P001-1488A-002F                 032010P001-1488A-002F
FIRST BANK                                    FIRST BANK                                       FIRST CLEARING, LLC                   FIRST CLEARING, LLC
EDWARD FURMAN                                 EDWARD FURMAN                                    SECURITIES LENDING MATCH BOOK         SECURITIES LENDING MATCH BOOK
800 JAMES S MCDONNELL BLVD                    800 JAMES S MCDONNELL BLVD                       CORPORATE ACTIONS                     CORPORATE ACTIONS
HAZELWOOD MO 63042                            HAZELWOOD MO 63042                               2801 MARKET ST                        2801 MARKET ST
ED.FURMAN@FBOL.COM                            INVESTMENTGROUP@FBOL.COM                         H0006-09B                             H0006-09B
                                                                                               ST. LOUIS MO 63103                    ST. LOUIS MO 63103
                                                                                               PPCA@FIRSTCLEARING.COM                CYNTHIA.BROWN@FIRSTCLEARING.COM

032010P001-1488A-002F                         032010P001-1488A-002F                            032010P001-1488A-002F                 032010P001-1488A-002F
FIRST CLEARING, LLC                           FIRST CLEARING, LLC                              FIRST CLEARING, LLC                   FIRST CLEARING, LLC
SECURITIES LENDING MATCH BOOK                 SECURITIES LENDING MATCH BOOK                    SECURITIES LENDING MATCH BOOK         SECURITIES LENDING MATCH BOOK
CORPORATE ACTIONS                             CORPORATE ACTIONS                                CORPORATE ACTIONS                     CORPORATE ACTIONS
2801 MARKET ST                                2801 MARKET ST                                   2801 MARKET ST                        2801 MARKET ST
H0006-09B                                     H0006-09B                                        H0006-09B                             H0006-09B
ST. LOUIS MO 63103                            ST. LOUIS MO 63103                               ST. LOUIS MO 63103                    ST. LOUIS MO 63103
CYNTHIA.BROWN@WELLSFARGOADVISORS.COM          JOHN.KALINOWSKI@FIRSTCLEARING.COM                OPS@FIRSTCLEARING.COM                 CAV@FIRSTCLEARING.COM
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032011P001-1488A-002F                  032012P001-1488A-002F                     032012P001-1488A-002F                   032012P001-1488A-002F
FIRST FINANCIAL CORPORATION/DRS        FIRST TENNESSEE BANK NA MEMPHIS           FIRST TENNESSEE BANK NA MEMPHIS         FIRST TENNESSEE BANK NA MEMPHIS
TICIA WRIGHT                           MARY ANNE BOHNER                          MARY ANNE BOHNER                        MARY ANNE BOHNER
ONE FIRST FINANCIAL PLZ                845 CORSSOVER LN                          845 CORSSOVER LN                        845 CORSSOVER LN
TERRE HAUTE IN 47807                   MEMPHIS TN 38117                          MEMPHIS TN 38117                        MEMPHIS TN 38117
TWRIGHT@FIRST-ONLINE.COM               MARYANN.BOHNE@FTNFINANCIAL.COM            PEGGY.JOBE@FTNFINANCIAL.COM             STEPHANIE.LINTON@FTNFINANCIAL.COM




032013P001-1488A-002F                  032014P001-1488A-002F                     032015P001-1488A-002F                   032015P001-1488A-002F
FIRST TRUST PORTFOLIOS, LP             FOLIOFN INVESTMENTS, INC                  FROST BANK                              FROST BANK
ROGER F TESTIN                         ASHLEY THEOBALD                           VICTOR LOZA                             VICTOR LOZA
120 EAST LIBERTY DR                    MANAGER                                   100 WEST HOUSTON ST                     100 WEST HOUSTON ST
WHEATON IL 60187                       8180 GREENSBORO DR                        SAN ANTONIO TX 78205                    SAN ANTONIO TX 78205
RTESTIN@FTADVISORS.COM                 8TH FL                                    VICTOR.LOZA@FROSTBANK.COM               RECONTRUST@FROSTBANK.COM
                                       MCLEAN VA 22102
                                       THEOBALDA@FOLIOFN.COM

032016P001-1488A-002F                  032016P001-1488A-002F                     032016P001-1488A-002F                   032017P001-1488A-002F
FTN FINANCIAL SECURITIES CORP          FTN FINANCIAL SECURITIES CORP             FTN FINANCIAL SECURITIES CORP           GEORGE K BAUM AND CO
MICHAEL INKSTER                        MICHAEL INKSTER                           MICHAEL INKSTER                         ANNE YEARTA
SENIOR VICE PRESIDENT                  SENIOR VICE PRESIDENT                     SENIOR VICE PRESIDENT                   4801 MAIN ST STE 500
845 CROSSOVER LN                       845 CROSSOVER LN                          845 CROSSOVER LN                        KANSAS CITY MO 64112
STE 150                                STE 150                                   STE 150                                 YEARTA@GKBAUM.COM
MEMPHIS TN 38117                       MEMPHIS TN 38117                          MEMPHIS TN 38117
MARYANN.BOHNE@FTNFINANCIAL.COM         PEGGY.JOBE@FTNFINANCIAL.COM               STEPHANIE.LINTON@FTNFINANCIAL.COM

032017P001-1488A-002F                  032018P001-1488A-002F                     032018P001-1488A-002F                   032018P001-1488A-002F
GEORGE K BAUM AND CO                   GMP SECURITIES LPCDS**                    GMP SECURITIES LPCDS**                  GMP SECURITIES LPCDS**
ANNE YEARTA                            MARINO MEGGETTO                           MARINO MEGGETTO                         MARINO MEGGETTO
4801 MAIN ST STE 500                   145 KING ST WEST                          145 KING ST WEST                        145 KING ST WEST
KANSAS CITY MO 64112                   STE 300                                   STE 300                                 STE 300
OPERATIONSKC@GKBAUM.COM                TORONTO ON M5H 1J8                        TORONTO ON M5H 1J8                      TORONTO ON M5H 1J8
                                       CANADA                                    CANADA                                  CANADA
                                       MARINOM@GMPSECURITIES.COM                 NKOLODZIE@GMPSECURITIES.COM             MARINOM@GMPSECURITIES.COM

032019P001-1488A-002F                  032019P001-1488A-002F                     032019P001-1488A-002F                   032019P001-1488A-002F
GOLDMAN SACHS BANK USA                 GOLDMAN SACHS BANK USA                    GOLDMAN SACHS BANK USA                  GOLDMAN SACHS BANK USA
GOLDMAN SACHS AGENCYLENDING            GOLDMAN SACHS AGENCYLENDING               GOLDMAN SACHS AGENCYLENDING             GOLDMAN SACHS AGENCYLENDING
DIARA OVERLAN                          DIARA OVERLAN                             DIARA OVERLAN                           DIARA OVERLAN
125 HIGH ST STE 1700                   125 HIGH ST STE 1700                      125 HIGH ST STE 1700                    125 HIGH ST STE 1700
BOSTON MA 02110                        BOSTON MA 02110                           BOSTON MA 02110                         BOSTON MA 02110
GS-AS-NY-PROXY@GS.COM                  GS-OPS-DIVMGMT-COM@GS.COM                 GS-AS-NY-CLASS-ACTION@NY.EMAIL.GS.COM   GS-AS-NY-REORG@NY.EMAIL.GS.COM


032020P001-1488A-002F                  032020P001-1488A-002F                     032020P001-1488A-002F                   032020P001-1488A-002F
GOLDMAN SACHS BANK USA                 GOLDMAN SACHS BANK USA                    GOLDMAN SACHS BANK USA                  GOLDMAN SACHS BANK USA
PATRICIA BALDWIN                       PATRICIA BALDWIN                          PATRICIA BALDWIN                        PATRICIA BALDWIN
ONE NEW YORK PLZ                       ONE NEW YORK PLZ                          ONE NEW YORK PLZ                        ONE NEW YORK PLZ
45TH FL                                45TH FL                                   45TH FL                                 45TH FL
NEW YORK NY 10004                      NEW YORK NY 10004                         NEW YORK NY 10004                       NEW YORK NY 10004
GS-AS-NY-PROXY@GS.COM                  GS-OPS-DIVMGMT-COM@GS.COM                 GS-AS-NY-CLASS-ACTION@NY.EMAIL.GS.COM   GS-AS-NY-REORG@NY.EMAIL.GS.COM
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GOLDMAN SACHS BANK USA/                          GOLDMAN SACHS BANK USA/#2                      GOLDMAN SACHS BANK USA/#2                  GOLDMAN SACHS BANK USA/#2
GS AND CO LLC FCM CUST                           PATRICIA BALDWIN                               PATRICIA BALDWIN                           PATRICIA BALDWIN
OMNIBUS ACCT CFTC REG 120 CUST SEG ACCT          ONE NEW YORK PLZ                               ONE NEW YORK PLZ                           ONE NEW YORK PLZ
UNDER SECTIONS 4D(A)&(B) OF THE CEA (CME)        45TH FL                                        45TH FL                                    45TH FL
30 HUDSON ST                                     NEW YORK NY 10004                              NEW YORK NY 10004                          NEW YORK NY 10004
JERSEY CITY NJ 07302                             GS-AS-NY-PROXY@GS.COM                          GS-OPS-DIVMGMT-COM@GS.COM                  GS-AS-NY-CLASS-ACTION@NY.EMAIL.GS.COM
GS-AS-NY-PROXY@GS.COM

032022P001-1488A-002F                            032023P001-1488A-002F                          032023P001-1488A-002F                      032023P001-1488A-002F
GOLDMAN SACHS BANK USA/#2                        GOLDMAN SACHS EXECUTION AND CLEARING, LP       GOLDMAN SACHS EXECUTION AND CLEARING, LP   GOLDMAN SACHS EXECUTION AND CLEARING, LP
PATRICIA BALDWIN                                 CHRISTIN HARTWIG                               CHRISTIN HARTWIG                           CHRISTIN HARTWIG
ONE NEW YORK PLZ                                 30 HUDSON ST                                   30 HUDSON ST                               30 HUDSON ST
45TH FL                                          PROXY DEPARTMENT                               PROXY DEPARTMENT                           PROXY DEPARTMENT
NEW YORK NY 10004                                JERSEY CITY NJ 07302-4699                      JERSEY CITY NJ 07302-4699                  JERSEY CITY NJ 07302-4699
GS-AS-NY-REORG@NY.EMAIL.GS.COM                   CHRISTIN.HARTWIG@GS.COM                        GS-AS-NY-PROXY@GS.COM                      GS-OPS-DIVMGMT-COM@GS.COM


032023P001-1488A-002F                            032023P001-1488A-002F                          032024P001-1488A-002F                      032024P001-1488A-002F
GOLDMAN SACHS EXECUTION AND CLEARING, LP         GOLDMAN SACHS EXECUTION AND CLEARING, LP       GOLDMAN SACHS INTERNATIONAL                GOLDMAN SACHS INTERNATIONAL
CHRISTIN HARTWIG                                 CHRISTIN HARTWIG                               ASSET SERVICING                            ASSET SERVICING
30 HUDSON ST                                     30 HUDSON ST                                   30 HUDSON ST                               30 HUDSON ST
PROXY DEPARTMENT                                 PROXY DEPARTMENT                               PROXY DEPARTMENT                           PROXY DEPARTMENT
JERSEY CITY NJ 07302-4699                        JERSEY CITY NJ 07302-4699                      JERSEY CITY NJ 07302                       JERSEY CITY NJ 07302
GS-AS-NY-CLASS-ACTION@NY.EMAIL.GS.COM            GS-AS-NY-REORG@NY.EMAIL.GS.COM                 GS-AS-NY-PROXY@GS.COM                      GS-OPS-DIVMGMT-COM@GS.COM


032024P001-1488A-002F                            032024P001-1488A-002F                          032025P001-1488A-002F                      032026P001-1488A-002F
GOLDMAN SACHS INTERNATIONAL                      GOLDMAN SACHS INTERNATIONAL                    GOLDMAN, SACHS AND CO                      GOLDMAN, SACHS AND COIMS
ASSET SERVICING                                  ASSET SERVICING                                PROXY HOTLINE 1                            CORPORATE ACTIONS
30 HUDSON ST                                     30 HUDSON ST                                   30 HUDSON ST                               30 HUDSON ST
PROXY DEPARTMENT                                 PROXY DEPARTMENT                               PROXY DEPARTMENT                           JERSEY CITY NJ 07302
JERSEY CITY NJ 07302                             JERSEY CITY NJ 07302                           JERSEY CITY NJ 07302                       GS-AS-NY-PROXY@GS.COM
GS-AS-NY-CLASS-ACTION@NY.EMAIL.GS.COM            GS-AS-NY-REORG@NY.EMAIL.GS.COM                 GS-AS-NY-PROXY@GS.COM


032027P001-1488A-002F                            032028P001-1488A-002F                          032029P001-1488A-002F                      032030P001-1488A-002F
GUGGENHEIM SECURITIES, LLC                       HILLTOP SECURITIES INC                         HILLTOP SECURITIES INC                     HILLTOP SECURITIES INC
HOWARD WINICK                                    RHONDA JACKSON                                 BONNIE ALLEN CORPORATE ACTIONS             BONNIE ALLEN
135 EAST 57TH ST                                 1201 ELM ST                                    1201 ELM ST                                1201 ELM ST
NEW YORK NY 10022                                STE 3500                                       STE 3500                                   STE 3500
HOWARD.WINICK@GUGGENHEIMPARTNERS.COM             DALLAS TX 75270                                DALLAS TX 75270-2180                       DALLAS TX 75270
                                                 PROXY@SWST.COM                                 BONNIE.ALLEN@SWST.COM                      BONNIE.ALLEN@HILLTOPSECURITIES.COM


032031P001-1488A-002F                            032032P001-1488A-002F                          032036P001-1488A-002F                      032036P001-1488A-002F
HOME FEDERAL BANK OF TENNESSEE, FSB              HOME FEDERAL BANKHOME FINANCIAL SERVICES,INC   HSBC BANK USA, NAAFS                       HSBC BANK USA, NAAFS
TRUST DEPT CUSTOMERS                             CORPORATE ACTIONS                              LEON SCHNITZPAHN                           LEON SCHNITZPAHN
JENNIFER DAVIS                                   515 MARKET ST                                  ONE HANSON PL                              ONE HANSON PL
515 MARKET ST                                    STE 500                                        LOWER LEVEL                                LOWER LEVEL
STE 500                                          KNOXVILLE TN 37902                             BROOKLYN NY 11243                          BROOKLYN NY 11243
KNOXVILLE TN 37902                               TRUST.OPERATIONS@HOMEFEDERALTN.COM             CLAUDIO.J.DELAROSA@US.HSBC.COM             MIKE.JIANG@US.HSBC.COM
JENNIFER.DAVIS@HOMEFEDERALTN.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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HSBC BANK USA, NACLEARING                     HSBC BANK USA, NACLEARING                      HSBC BANK USA, NACLEARING                    HSBC BANK USA, NACLEARING
LEON SCHNITZPAHN                              LEON SCHNITZPAHN                               CORPORATE ACTIONS                            CORPORATE ACTIONS
ONE HANSON PL                                 ONE HANSON PL                                  HOWARD DASH                                  HOWARD DASH
LOWER LEVEL                                   LOWER LEVEL                                    452 5TH AVE                                  452 5TH AVE
BROOKLYN NY 11243                             BROOKLYN NY 11243                              NEW YORK NY 10018                            NEW YORK NY 10018
CLAUDIO.J.DELAROSA@US.HSBC.COM                MIKE.JIANG@US.HSBC.COM                         CLAUDIO.J.DELAROSA@US.HSBC.COM               MIKE.JIANG@US.HSBC.COM


032033P001-1488A-002F                         032033P001-1488A-002F                          032034P001-1488A-002F                        032034P001-1488A-002F
HSBC BANK USA, NACORPORATE TRUST IPA          HSBC BANK USA, NACORPORATE TRUST IPA           HSBC BANK USA, NADRS                         HSBC BANK USA, NADRS
LEON SCHNITZPAHN                              LEON SCHNITZPAHN                               HILDE WAGNER                                 HILDE WAGNER
ONE HANSON PL                                 ONE HANSON PL                                  2 HANSON PL                                  2 HANSON PL
LOWER LEVEL                                   LOWER LEVEL                                    14TH FL                                      14TH FL
BROOKLYN NY 11243                             BROOKLYN NY 11243                              BROOKLYN NY 11217                            BROOKLYN NY 11217
CLAUDIO.J.DELAROSA@US.HSBC.COM                MIKE.JIANG@US.HSBC.COM                         CLAUDIO.J.DELAROSA@US.HSBC.COM               MIKE.JIANG@US.HSBC.COM


032039P001-1488A-002F                         032039P001-1488A-002F                          032040P001-1488A-002F                        032040P001-1488A-002F
HSBC BANK USA, NAHSBC CUSTODY AND             HSBC BANK USA, NAHSBC CUSTODY AND              HSBC BANK USA, NAHTM                         HSBC BANK USA, NAHTM
CLEARING SVC FOR STOCK                        CLEARING SVC FOR STOCK                         LEON SCHNITZPAHN                             LEON SCHNITZPAHN
CORPORATE ACTIONS                             CORPORATE ACTIONS                              ONE HANSON PL                                ONE HANSON PL
ONE HANSON PL                                 ONE HANSON PL                                  LOWER LEVEL                                  LOWER LEVEL
BROOKLYN NY 11243                             BROOKLYN NY 11243                              BROOKLYN NY 11243                            BROOKLYN NY 11243
CLAUDIO.J.DELAROSA@US.HSBC.COM                MIKE.JIANG@US.HSBC.COM                         CLAUDIO.J.DELAROSA@US.HSBC.COM               MIKE.JIANG@US.HSBC.COM


032035P001-1488A-002F                         032035P001-1488A-002F                          032035P001-1488A-002F                        032041P001-1488A-002F
HSBC BANK USA, NAIPB                          HSBC BANK USA, NAIPB                           HSBC BANK USA, NAIPB                         HSBC BANK USA, NATIONAL ASSOCIATION
NURI KAZAKCI                                  NURI KAZAKCI                                   NURI KAZAKCI                                 TERESE DOLAN
452 5TH AVE                                   452 5TH AVE                                    452 5TH AVE                                  1 HSBC CTR
NEW YORK NY 10018                             NEW YORK NY 10018                              NEW YORK NY 10018                            17TH FL
NURI.I.KAZAKCI@US.HSBC.COM                    CLAUDIO.J.DELAROSA@US.HSBC.COM                 MIKE.JIANG@US.HSBC.COM                       BUFFALO NY 14203
                                                                                                                                          CLAUDIO.J.DELAROSA@US.HSBC.COM


032041P001-1488A-002F                         032042P001-1488A-002F                          032042P001-1488A-002F                        032043P001-1488A-002F
HSBC BANK USA, NATIONAL ASSOCIATION           HSBC BANK USA, NATIONAL ASSOCIATION            HSBC BANK USA, NATIONAL ASSOCIATION          HSBC BANK USA, NATIONAL ASSOCIATIONIPA
TERESE DOLAN                                  CORPORATE ACTIONS                              CORPORATE ACTIONS                            TERESE DOLAN
1 HSBC CTR                                    545 WASHINGTON BLVD                            545 WASHINGTON BLVD                          1 HSBC CTR
17TH FL                                       JERSEY CITY NJ 07310                           JERSEY CITY NJ 07310                         17TH FL
BUFFALO NY 14203                              CLAUDIO.J.DELAROSA@US.HSBC.COM                 MIKE.JIANG@US.HSBC.COM                       BUFFALO NY 14203
MIKE.JIANG@US.HSBC.COM                                                                                                                    CLAUDIO.J.DELAROSA@US.HSBC.COM


032043P001-1488A-002F                         032044P001-1488A-002F                          032044P001-1488A-002F                        032045P001-1488A-002F
HSBC BANK USA, NATIONAL ASSOCIATIONIPA        HSBC BANK USA, NATIONAL ASSOCIATIONOMNIBUS     HSBC BANK USA, NATIONAL ASSOCIATIONOMNIBUS   HSBC SECURITIES USA INC
TERESE DOLAN                                  LINDA NG                                       LINDA NG                                     JAMES KELLY
1 HSBC CTR                                    140 BROADWAY - LEVEL A                         140 BROADWAY - LEVEL A                       11 WEST 42ND ST
17TH FL                                       NEW YORK NY 10015                              NEW YORK NY 10015                            NEW YORK NY 10036
BUFFALO NY 14203                              CLAUDIO.J.DELAROSA@US.HSBC.COM                 MIKE.JIANG@US.HSBC.COM                       JAMES.F.KELLY@US.HSBC.COM
MIKE.JIANG@US.HSBC.COM
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032046P001-1488A-002F                           032047P001-1488A-002F                             032048P001-1488A-002F                          032049P001-1488A-002F
HUTCHINSON, SHOCKEY, ERLEY AND CO               HUTCHINSON, SHOCKEY, ERLEY AND CO                 ICAP CORPORATES LLC                            INDUSTRIAL AND COMMERCIAL BANK OF CHINA
CHIEF FINANCIAL OFFICER                         NANCY L MEIER CHIEF FINANCIAL OFFICER             ANDREW CHAN                                    FINANCIAL SVC LLC/ CLEARING
222 W ADAMS ST                                  222 W ADAMS ST STE 1700                           OPERATIONS                                     NENRY NAPIER
STE 1700                                        CHICAGO IL 60606                                  111 PAVONIA AVE                                1633 BROADWAY
CHICAGO IL 60606                                NMEIER@HSEMUNI.COM                                10TH FL                                        NEW YORK NY 10019
NMEIER@HSEMUNI.COM                                                                                JERSEY CITY NJ 07310                           CORPORATEACTIONS@ICBKFS.COM
                                                                                                  ANDREW.CHAN@US.ICAP.COM

032050P001-1488A-002F                           032051P001-1488A-002F                             032052P001-1488A-002F                          032053P001-1488A-002F
INDUSTRIAL AND COMMERCIAL BANK OF CHINA         INDUSTRIAL AND COMMERCIAL BANK OF CHINA           INDUSTRIAL AND COMMERCIAL BANK OF CHINA        ING FINANCIAL MARKETS LLC
FINANCIAL SVC LLC/ SECURITIES LENDING           FINANCIAL SVC LLCEQUITY CLEARANCE                 FINANCIAL SVC LLC                              INTERNATIONAL EQUITY FINANCE MATCH BOOK ACCT
NENRY NAPIER/CARLOS CRUZ                        NENRY NAPIER                                      NENRY NAPIER                                   STEPHEN BREATON - VICE PRESIDENT
1633 BROADWAY                                   1633 BROADWAY                                     1633 BROADWAY                                  1325 AVE OF THE AMERICAS
NEW YORK NY 10019                               NEW YORK NY 10019                                 NEW YORK NY 10019                              NEW YORK NY 10019
CORPORATEACTIONS@ICBKFS.COM                     CORPORATEACTIONS@ICBKFS.COM                       CORPORATEACTIONS@ICBKFS.COM                    STEPHEN.BREATON@AMERICAS.ING.COM


032053P001-1488A-002F                           032054P001-1488A-002F                             032054P001-1488A-002F                          032055P001-1488A-002F
ING FINANCIAL MARKETS LLC                       ING FINANCIAL MARKETS LLC                         ING FINANCIAL MARKETS LLC                      ING FINANCIAL MARKETS LLC
INTERNATIONAL EQUITY FINANCE MATCH BOOK ACCT    INTERNATIONAL EQUITY FINANCE                      INTERNATIONAL EQUITY FINANCE                   STEVE BREATON
STEPHEN BREATON - VICE PRESIDENT                STEPHEN BREATON - VICE PRESIDENT                  STEPHEN BREATON - VICE PRESIDENT               1325 AVE OF THE AMERICAS
1325 AVE OF THE AMERICAS                        1325 AVE OF THE AMERICAS                          1325 AVE OF THE AMERICAS                       NEW YORK NY 10019
NEW YORK NY 10019                               NEW YORK NY 10019                                 NEW YORK NY 10019                              CORPORATE.ACTIONS@AMERICAS.ING.COM
CORPORATE.ACTIONS@AMERICAS.ING.COM              STEPHEN.BREATON@AMERICAS.ING.COM                  CORPORATE.ACTIONS@AMERICAS.ING.COM


032055P001-1488A-002F                           032056P001-1488A-002F                             032057P001-1488A-002F                          032058P001-1488A-002F
ING FINANCIAL MARKETS LLC                       ING FINANCIAL MARKETS LLC                         ING FINANCIAL MARKETS LLC                      ING FINANCIAL MARKETS LLC
STEVE BREATON                                   GLOBAL SECURITIESFINANCE NON-PURPOSE              INTERNATIONAL EQUITY FINANCE MATCH BOOK ACCT   INTERNATIONAL EQUITY FINANCE
1325 AVE OF THE AMERICAS                        STEPHEN BREATON                                   ISSUER SVC                                     ISSUER SVC
NEW YORK NY 10019                               1325 AVE OF THE AMERICAS                          51 MERCEDES WAY                                51 MERCEDES WAY
CORPORATE.ACTIONS@AMERICAS.ING.COM              NEW YORK NY 10019                                 EDGEWOOD NY 11717                              EDGEWOOD NY 11717
                                                CORPORATE.ACTIONS@AMERICAS.ING.COM                CORPORATE.ACTIONS@AMERICAS.ING.COM             CORPORATE.ACTIONS@AMERICAS.ING.COM


032059P001-1488A-002F                           032059P001-1488A-002F                             032060P001-1488A-002F                          032060P001-1488A-002F
ING FINANCIAL MARKETS LLC/INTERNATIONAL         ING FINANCIAL MARKETS LLC/INTERNATIONAL           ING FINANCIAL MARKETS LLCLTD                   ING FINANCIAL MARKETS LLCLTD
STEPHEN BREATON                                 STEPHEN BREATON                                   STEPHEN BREATON                                STEPHEN BREATON
VICE PRESIDENT                                  VICE PRESIDENT                                    VICE PRESIDENT                                 VICE PRESIDENT
1325 AVE OF THE AMERICAS                        1325 AVE OF THE AMERICAS                          1325 AVE OF THE AMERICAS                       1325 AVE OF THE AMERICAS
NEW YORK NY 10019                               NEW YORK NY 10019                                 NEW YORK NY 10019                              NEW YORK NY 10019
STEPHEN.BREATON@AMERICAS.ING.COM                CORPORATE.ACTIONS@AMERICAS.ING.COM                STEPHEN.BREATON@AMERICAS.ING.COM               CORPORATE.ACTIONS@AMERICAS.ING.COM


032061P001-1488A-002F                           032061P001-1488A-002F                             032062P001-1488A-002F                          032063P001-1488A-002F
INGALLS AND SNYDER, LLC                         INGALLS AND SNYDER, LLC                           INSTITUTIONAL SHAREHOLDER SVC                  INTERACTIVE BROKERS LLC
JOSEPH DI BUONO                                 JOSEPH DI BUONO                                   15F SOLARIS ONE BLDG                           KARIN MCCARTHY
61 BROADWAY                                     61 BROADWAY                                       130 DELA ROSA ST                               8 GREENWICH OFFICE PK
31ST FL                                         31ST FL                                           MAKATI CITY 1229                               GREENWICH CT 06831
NEW YORK NY 10006                               NEW YORK NY 10006                                 PHILIPPINES                                    KMCCARTHY@INTERACTIVEBROKERS.COM
JDIBUONO@INGALLS.NET                            MSCURA@INGALLS.NET                                SCASRESEARCH@ISSGOVERNANCE.COM
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032063P001-1488A-002F                             032063P001-1488A-002F                           032063P001-1488A-002F                 032064P001-1488A-002F
INTERACTIVE BROKERS LLC                           INTERACTIVE BROKERS LLC                         INTERACTIVE BROKERS LLC               INTERACTIVE BROKERS RETAIL EQUITY CLEARING
KARIN MCCARTHY                                    KARIN MCCARTHY                                  KARIN MCCARTHY                        KARIN MCCARTHY
8 GREENWICH OFFICE PK                             8 GREENWICH OFFICE PK                           8 GREENWICH OFFICE PK                 8 GREENWICH OFFICE PK
GREENWICH CT 06831                                GREENWICH CT 06831                              GREENWICH CT 06831                    GREENWICH CT 06831
BANKRUPTCY@INTERACTIVEBROKERS.COM                 PROXY@INTERACTIVEBROKERS.COM                    IBCORPACTION@INTERACTIVEBROKERS.COM   PROXY@INTERACTIVEBROKERS.COM




032064P001-1488A-002F                             032064P001-1488A-002F                           032065P001-1488A-002F                 032066P001-1488A-002F
INTERACTIVE BROKERS RETAIL EQUITY CLEARING        INTERACTIVE BROKERS RETAIL EQUITY CLEARING      INTERNATIONAL BANK OF COMMERCE/DRS    INTL FCSTONE FINANCIAL INC
KARIN MCCARTHY                                    KARIN MCCARTHY                                  EILZA V GONZALEZ                      CORPORATE ACTIONS
8 GREENWICH OFFICE PK                             8 GREENWICH OFFICE PK                           1200 SAN BERNARDO AVE                 708 3RD AVE
GREENWICH CT 06831                                GREENWICH CT 06831                              LAREDO TX 78040                       15TH FL
BANKRUPTCY@INTERACTIVEBROKERS.COM                 IBCORPACTION@INTERACTIVEBROKERS.COM             EGONZALEZ2@IBC.COM                    NEW YORK NY 10017
                                                                                                                                        DG-CLRE-ORG_TENDERS@INTLFCSTONE.COM


032066P001-1488A-002F                             032066P001-1488A-002F                           032067P001-1488A-002F                 032067P001-1488A-002F
INTL FCSTONE FINANCIAL INC                        INTL FCSTONE FINANCIAL INC                      INTL FCSTONE FINANCIAL INCBD RATES    INTL FCSTONE FINANCIAL INCBD RATES
CORPORATE ACTIONS                                 CORPORATE ACTIONS                               CORPORATE ACTIONS                     CORPORATE ACTIONS
708 3RD AVE                                       708 3RD AVE                                     708 3RD AVE                           708 3RD AVE
15TH FL                                           15TH FL                                         15TH FL                               15TH FL
NEW YORK NY 10017                                 NEW YORK NY 10017                               NEW YORK NY 10017                     NEW YORK NY 10017
JILLIAN.HAMBRIGHT@INTLFCSTONE.COM                 DG-CLSECURITIESTRANSFER@INTLFCSTONE.COM         DG-CLRE-ORG_TENDERS@INTLFCSTONE.COM   JILLIAN.HAMBRIGHT@INTLFCSTONE.COM


032067P001-1488A-002F                             032068P001-1488A-002F                           032068P001-1488A-002F                 032069P001-1488A-002F
INTL FCSTONE FINANCIAL INCBD RATES                ITG INC                                         ITG INC                               ITG INC/SECURITIES LENDING DIVISION
CORPORATE ACTIONS                                 ANTHONY PORTELLI                                ANTHONY PORTELLI                      STEVEN PACELLA
708 3RD AVE                                       380 MADISON AVE                                 380 MADISON AVE                       VICE PRESIDENT
15TH FL                                           NEW YORK NY 10017                               NEW YORK NY 10017                     380 MADISON AVE
NEW YORK NY 10017                                 ANTHONY.PORTELLI@ITG.COM                        CORPORATE_ACTIONS@ITG.COM             7TH FL
DG-CLSECURITIESTRANSFER@INTLFCSTONE.COM                                                                                                 NEW YORK NY 10017
                                                                                                                                        STEVEN.PACELLA@ITG.COM

032079P001-1488A-002F                             032080P001-1488A-002F                           032080P001-1488A-002F                 032081P001-1488A-002F
JANNEY MONTGOMERY SCOTT LLC                       JANNEY MONTGOMERY SCOTT LLC                     JANNEY MONTGOMERY SCOTT LLC           JEFFERIES LLC
ZACHARY SCHWARZ                                   CORPORATE ACTIONS DEPT                          CORPORATE ACTIONS DEPT                ROBERT MARANZANO
1717 ARCH ST                                      1717 ARCH ST 19TH FL                            1717 ARCH ST 19TH FL                  34 EXCHANGE PL
19TH FL                                           PHILADELPHIA PA 19103                           PHILADELPHIA PA 19103                 JERSEY CITY NJ 07311
PHILADELPHIA PA 19103                             KWALTON@JANNEY.COM                              REORGCONTACTS@JANNEY.COM              RMARANZANO@JEFFERIES.COM
ZSCHWARZ@JANNEY.COM


032081P001-1488A-002F                             032081P001-1488A-002F                           032082P001-1488A-002F                 032084P001-1488A-002F
JEFFERIES LLC                                     JEFFERIES LLC                                   JEFFERIES LLC/AS AGENT FOR            JEFFERIES LLC/SECURITIES FINANCE
ROBERT MARANZANO                                  ROBERT MARANZANO                                JEFFERIES INTERNATIONAL LONDON        CORPORATE ACTIONS
34 EXCHANGE PL                                    34 EXCHANGE PL                                  CORPORATE ACTIONS                     520 MADISON AVE
JERSEY CITY NJ 07311                              JERSEY CITY NJ 07311                            520 MADISON AVE                       NEW YORK NY 10022
CORPORATE_ACTIONS_DIVIDENDS@JEFFERIES.COM         JEFFERIESREORG@BROADRIDGE.COM                   NEW YORK NY 10022                     JEFFERIESREORG@BROADRIDGE.COM
                                                                                                  JEFFERIESREORG@BROADRIDGE.COM
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032083P001-1488A-002F                                032085P001-1488A-002F                       032070P001-1488A-002F                       032070P001-1488A-002F
JEFFERIES LLCJEFFERIES EXECUTION SERVICES,INC        JONES GABLE AND CO LIMITED/CDS**            JP MORGAN CHASE BANK NAFBO BLACKROCK CTF    JP MORGAN CHASE BANK NAFBO BLACKROCK CTF
SVC BUREAU                                           LORI WRIGHT                                 CORPORATE ACTIONS                           CORPORATE ACTIONS
VICTOR POLIZZOTTO                                    VICE PRESIDENT                              14201 DALLAS PKWY                           14201 DALLAS PKWY
HARBORSIDE FINANCIAL CTR                             110 YONGE ST                                FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT
PLZ III STE 704                                      STE 600                                     DALLAS TX 75254                             DALLAS TX 75254
JERSEY CITY NJ 07311                                 TORONTO ON M5C 1T6                          USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM
JEFFERIESREORG@BROADRIDGE.COM                        CANADA
                                                     LWRIGHT@JONESGABLE.COM
032070P001-1488A-002F                                032071P001-1488A-002F                       032071P001-1488A-002F                       032071P001-1488A-002F
JP MORGAN CHASE BANK NAFBO BLACKROCK CTF             JP MORGAN CHASE BANKGG1                     JP MORGAN CHASE BANKGG1                     JP MORGAN CHASE BANKGG1
CORPORATE ACTIONS                                    NORE SCARLETT                               NORE SCARLETT                               NORE SCARLETT
14201 DALLAS PKWY                                    ADMINISTRATOR                               ADMINISTRATOR                               ADMINISTRATOR
FL 12 - CORP ACTIONS DEPT                            4 NEW YORK PLZ                              4 NEW YORK PLZ                              4 NEW YORK PLZ
DALLAS TX 75254                                      11TH FL                                     11TH FL                                     11TH FL
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM               NEW YORK NY 10004                           NEW YORK NY 10004                           NEW YORK NY 10004
                                                     USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032086P001-1488A-002F                                032086P001-1488A-002F                       032072P001-1488A-002F                       032072P001-1488A-002F
JP MORGAN CHASE/JP MORGAN INTERNATIONAL              JP MORGAN CHASE/JP MORGAN INTERNATIONAL     JP MORGAN CHASEGARBAN CORPORATES            JP MORGAN CHASEGARBAN CORPORATES
NORE SCARLETT                                        NORE SCARLETT                               NORE SCARLETT                               NORE SCARLETT
ADMINISTRATOR                                        ADMINISTRATOR                               ADMINISTRATOR                               ADMINISTRATOR
4 NEW YORK PLZ                                       4 NEW YORK PLZ                              4 NEW YORK PLZ                              4 NEW YORK PLZ
11TH FL                                              11TH FL                                     11TH FL                                     11TH FL
NEW YORK NY 10004                                    NEW YORK NY 10004                           NEW YORK NY 10004                           NEW YORK NY 10004
USSO.PROXY.TEAM@JPMORGAN.COM                         JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032072P001-1488A-002F                                032073P001-1488A-002F                       032073P001-1488A-002F                       032073P001-1488A-002F
JP MORGAN CHASEGARBAN CORPORATES                     JP MORGAN CLEARING CORP                     JP MORGAN CLEARING CORP                     JP MORGAN CLEARING CORP
NORE SCARLETT                                        CORPORATE ACTIONS                           CORPORATE ACTIONS                           CORPORATE ACTIONS
ADMINISTRATOR                                        14201 DALLAS PKWY                           14201 DALLAS PKWY                           14201 DALLAS PKWY
4 NEW YORK PLZ                                       12TH FL                                     12TH FL                                     12TH FL
11TH FL                                              DALLAS TX 75254                             DALLAS TX 75254                             DALLAS TX 75254
NEW YORK NY 10004                                    USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032074P001-1488A-002F                                032074P001-1488A-002F                       032074P001-1488A-002F                       032075P001-1488A-002F
JP MORGAN CLEARING CORP                              JP MORGAN CLEARING CORP                     JP MORGAN CLEARING CORP                     JP MORGAN CLEARING CORP
MARCIN BIEGANSKI                                     MARCIN BIEGANSKI                            MARCIN BIEGANSKI                            JOHN FAY
14201 DALLAS PKWY 12TH FL                            14201 DALLAS PKWY 12TH FL                   14201 DALLAS PKWY 12TH FL                   500 STANTON CHRISTIANA RD
DALLAS TX 75254                                      DALLAS TX 75254                             DALLAS TX 75254                             OPS 4 FL 03
USSO.PROXY.TEAM@JPMORGAN.COM                         JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      NEWARK DE 19713-2107
                                                                                                                                             USSO.PROXY.TEAM@JPMORGAN.COM


032075P001-1488A-002F                                032075P001-1488A-002F                       032076P001-1488A-002F                       032076P001-1488A-002F
JP MORGAN CLEARING CORP                              JP MORGAN CLEARING CORP                     JP MORGAN CLEARING CORP LENDING             JP MORGAN CLEARING CORP LENDING
JOHN FAY                                             JOHN FAY                                    GREGORY SCHRON                              GREGORY SCHRON
500 STANTON CHRISTIANA RD                            500 STANTON CHRISTIANA RD                   EXECUTIVE DIRECTOR                          EXECUTIVE DIRECTOR
OPS 4 FL 03                                          OPS 4 FL 03                                 ONE METROTECH CTR NORTH                     ONE METROTECH CTR NORTH
NEWARK DE 19713-2107                                 NEWARK DE 19713-2107                        BROOKLYN NY 11201                           BROOKLYN NY 11201
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM            IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      GREGORY.SCHRON@JPMORGAN.COM                 USSO.PROXY.TEAM@JPMORGAN.COM
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032076P001-1488A-002F                            032076P001-1488A-002F                       032077P001-1488A-002F                       032077P001-1488A-002F
JP MORGAN CLEARING CORP LENDING                  JP MORGAN CLEARING CORP LENDING             JP MORGAN SECURITIES CANADA INC **          JP MORGAN SECURITIES CANADA INC **
GREGORY SCHRON                                   GREGORY SCHRON                              NORE SCARLETT                               NORE SCARLETT
EXECUTIVE DIRECTOR                               EXECUTIVE DIRECTOR                          4 NEW YORK PLZ                              4 NEW YORK PLZ
ONE METROTECH CTR NORTH                          ONE METROTECH CTR NORTH                     11TH FL                                     11TH FL
BROOKLYN NY 11201                                BROOKLYN NY 11201                           NEW YORK NY 10004                           NEW YORK NY 10004
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM


032077P001-1488A-002F                            032078P001-1488A-002F                       032078P001-1488A-002F                       032078P001-1488A-002F
JP MORGAN SECURITIES CANADA INC **               JP MORGAN SECURITIES LLC                    JP MORGAN SECURITIES LLC                    JP MORGAN SECURITIES LLC
NORE SCARLETT                                    MICHAEL PELLEGRINO                          MICHAEL PELLEGRINO                          MICHAEL PELLEGRINO
4 NEW YORK PLZ                                   500 STANTON CHRISTIANA RD                   500 STANTON CHRISTIANA RD                   500 STANTON CHRISTIANA RD
11TH FL                                          CORP ACTIONS 3RD FL                         CORP ACTIONS 3RD FL                         CORP ACTIONS 3RD FL
NEW YORK NY 10004                                NEWARK DE 19713-2107                        NEWARK DE 19713-2107                        NEWARK DE 19713-2107
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           JOHNCLAIR.HALLORAN@JPMCHASE.COM             USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM


032078P001-1488A-002F                            032087P001-1488A-002F                       032087P001-1488A-002F                       032087P001-1488A-002F
JP MORGAN SECURITIES LLC                         JPMC/JPMORGAN CHASE BANK NA                 JPMC/JPMORGAN CHASE BANK NA                 JPMC/JPMORGAN CHASE BANK NA
MICHAEL PELLEGRINO                               MARCIN BIEGANSKI                            MARCIN BIEGANSKI                            MARCIN BIEGANSKI
500 STANTON CHRISTIANA RD                        14201 DALLAS PKWY                           14201 DALLAS PKWY                           14201 DALLAS PKWY
CORP ACTIONS 3RD FL                              FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT
NEWARK DE 19713-2107                             DALLAS TX 75254                             DALLAS TX 75254                             DALLAS TX 75254
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM


032088P001-1488A-002F                            032088P001-1488A-002F                       032088P001-1488A-002F                       032088P001-1488A-002F
JPMC/JPMORGAN CHASE BANK NA                      JPMC/JPMORGAN CHASE BANK NA                 JPMC/JPMORGAN CHASE BANK NA                 JPMC/JPMORGAN CHASE BANK NA
JANICE CHAMPAGNIE                                JANICE CHAMPAGNIE                           JANICE CHAMPAGNIE                           JANICE CHAMPAGNIE
500 STANTON CHRISTIANA RD                        500 STANTON CHRISTIANA RD                   500 STANTON CHRISTIANA RD                   500 STANTON CHRISTIANA RD
3/OPS 2                                          3/OPS 2                                     3/OPS 2                                     3/OPS 2
NEWARK DE 19713                                  NEWARK DE 19713                             NEWARK DE 19713                             NEWARK DE 19713
JANICE.N.CHAMPAGNIE@JPMCHASE.COM                 USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM


032089P001-1488A-002F                            032089P001-1488A-002F                       032089P001-1488A-002F                       032090P001-1488A-002F
JPMCBJP MORGAN SECURITIES CANADA INC             JPMCBJP MORGAN SECURITIES CANADA INC        JPMCBJP MORGAN SECURITIES CANADA INC        JPMORGAN CHASE BANK
NORE SCARLETT                                    NORE SCARLETT                               NORE SCARLETT                               BROKER AND DEALER CLEARANCE DEPT
4 NEW YORK PLZ                                   4 NEW YORK PLZ                              4 NEW YORK PLZ                              NORE SCARLETT
11TH FL                                          11TH FL                                     11TH FL                                     4 NEW YORK PLZ
NEW YORK NY 10004                                NEW YORK NY 10004                           NEW YORK NY 10004                           11TH FL
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      NEW YORK NY 10004
                                                                                                                                         USSO.PROXY.TEAM@JPMORGAN.COM

032090P001-1488A-002F                            032090P001-1488A-002F                       032091P001-1488A-002F                       032091P001-1488A-002F
JPMORGAN CHASE BANK                              JPMORGAN CHASE BANK                         JPMORGAN CHASE BANK                         JPMORGAN CHASE BANK
BROKER AND DEALER CLEARANCE DEPT                 BROKER AND DEALER CLEARANCE DEPT            OHIO POLICE AND FIRE PENSION FUND           OHIO POLICE AND FIRE PENSION FUND
NORE SCARLETT                                    NORE SCARLETT                               MARCIN BIEGANSKI                            MARCIN BIEGANSKI
4 NEW YORK PLZ                                   4 NEW YORK PLZ                              14201 DALLAS PKWY 12TH FL                   14201 DALLAS PKWY 12TH FL
11TH FL                                          11TH FL                                     CORPORATE ACTIOND DEPT                      CORPORATE ACTIOND DEPT
NEW YORK NY 10004                                NEW YORK NY 10004                           DALLAS TX 75254                             DALLAS TX 75254
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM
                                            Case 22-90032 Document 69GWG  Holdings,
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032091P001-1488A-002F                            032092P001-1488A-002F                          032092P001-1488A-002F                       032092P001-1488A-002F
JPMORGAN CHASE BANK                              JPMORGAN CHASE BANK                            JPMORGAN CHASE BANK                         JPMORGAN CHASE BANK
OHIO POLICE AND FIRE PENSION FUND                TREASURER OF STATE OF OHIO BWC                 TREASURER OF STATE OF OHIO BWC              TREASURER OF STATE OF OHIO BWC
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                               MARCIN BIEGANSKI                            MARCIN BIEGANSKI
14201 DALLAS PKWY 12TH FL                        14201 DALLAS PKWY 12TH FL                      14201 DALLAS PKWY 12TH FL                   14201 DALLAS PKWY 12TH FL
CORPORATE ACTIOND DEPT                           CORPORATE ACTIOND DEPT                         CORPORATE ACTIOND DEPT                      CORPORATE ACTIOND DEPT
DALLAS TX 75254                                  DALLAS TX 75254                                DALLAS TX 75254                             DALLAS TX 75254
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           USSO.PROXY.TEAM@JPMORGAN.COM                   JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032093P001-1488A-002F                            032093P001-1488A-002F                          032093P001-1488A-002F                       032094P001-1488A-002F
JPMORGAN CHASE BANK                              JPMORGAN CHASE BANK                            JPMORGAN CHASE BANK                         JPMORGAN CHASE BANK
WINTERFLOOD SECURITIESLIMITED                    WINTERFLOOD SECURITIESLIMITED                  WINTERFLOOD SECURITIESLIMITED               JP MORGAN PROPRIETARY ASSET ACCOUNT
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                               MARCIN BIEGANSKI                            NORE SCARLETT - ADMINISTRATOR
14201 DALLAS PKWY 12TH FL                        14201 DALLAS PKWY 12TH FL                      14201 DALLAS PKWY 12TH FL                   4 NEW YORK PLZ
CORPORATE ACTIOND DEPT                           CORPORATE ACTIOND DEPT                         CORPORATE ACTIOND DEPT                      11TH FL
DALLAS TX 75254                                  DALLAS TX 75254                                DALLAS TX 75254                             NEW YORK NY 10004
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM      IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM

032094P001-1488A-002F                            032094P001-1488A-002F                          032095P001-1488A-002F                       032095P001-1488A-002F
JPMORGAN CHASE BANK                              JPMORGAN CHASE BANK                            JPMORGAN CHASE BANK                         JPMORGAN CHASE BANK
JP MORGAN PROPRIETARY ASSET ACCOUNT              JP MORGAN PROPRIETARY ASSET ACCOUNT            CORRESPONDENCE CLEARINGSERVICES 2           CORRESPONDENCE CLEARINGSERVICES 2
NORE SCARLETT - ADMINISTRATOR                    NORE SCARLETT - ADMINISTRATOR                  MARCIN BIEGANSKI                            MARCIN BIEGANSKI
4 NEW YORK PLZ                                   4 NEW YORK PLZ                                 14201 DALLAS PKWY 12TH FL                   14201 DALLAS PKWY 12TH FL
11TH FL                                          11TH FL                                        DALLAS TX 75254                             DALLAS TX 75254
NEW YORK NY 10004                                NEW YORK NY 10004                              USSO.PROXY.TEAM@JPMCHASE.COM                USSO.PROXY.TEAM@JPMORGAN.COM
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032095P001-1488A-002F                            032095P001-1488A-002F                          032117P001-1488A-002F                       032117P001-1488A-002F
JPMORGAN CHASE BANK                              JPMORGAN CHASE BANK                            JPMORGAN CHASE BANK                         JPMORGAN CHASE BANK
CORRESPONDENCE CLEARINGSERVICES 2                CORRESPONDENCE CLEARINGSERVICES 2              CORPORATE MUNICIPAL DEALER                  CORPORATE MUNICIPAL DEALER
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                               NORE SCARLETT                               NORE SCARLETT
14201 DALLAS PKWY 12TH FL                        14201 DALLAS PKWY 12TH FL                      4 NEW YORK PLZ                              4 NEW YORK PLZ
DALLAS TX 75254                                  DALLAS TX 75254                                11TH FL                                     11TH FL
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM         NEW YORK NY 10004                           NEW YORK NY 10004
                                                                                                USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032117P001-1488A-002F                            032096P001-1488A-002F                          032096P001-1488A-002F                       032096P001-1488A-002F
JPMORGAN CHASE BANK                              JPMORGAN CHASE BANK - ADR                      JPMORGAN CHASE BANK - ADR                   JPMORGAN CHASE BANK - ADR
CORPORATE MUNICIPAL DEALER                       EDWARD SANTANGELO                              EDWARD SANTANGELO                           EDWARD SANTANGELO
NORE SCARLETT                                    500 STANTON CHRISTINA RD                       500 STANTON CHRISTINA RD                    500 STANTON CHRISTINA RD
4 NEW YORK PLZ                                   NEWARK DE 19713                                NEWARK DE 19713                             NEWARK DE 19713
11TH FL                                          DR_PROXY_TEAM@JPMORGAN.COM                     USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM
NEW YORK NY 10004
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032096P001-1488A-002F                            032097P001-1488A-002F                          032097P001-1488A-002F                       032097P001-1488A-002F
JPMORGAN CHASE BANK - ADR                        JPMORGAN CHASE BANK NA                         JPMORGAN CHASE BANK NA                      JPMORGAN CHASE BANK NA
EDWARD SANTANGELO                                JPMORGAN EUROPE LIMITED MONICA WEMER           JPMORGAN EUROPE LIMITED MONICA WEMER        JPMORGAN EUROPE LIMITED MONICA WEMER
500 STANTON CHRISTINA RD                         VICE PRESIDENT                                 VICE PRESIDENT                              VICE PRESIDENT
NEWARK DE 19713                                  500 STANTON CHRISTIANA RD                      500 STANTON CHRISTIANA RD                   500 STANTON CHRISTIANA RD
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           NEWARK DE 19713                                NEWARK DE 19713                             NEWARK DE 19713
                                                 USSO.PROXY.TEAM@JPMORGAN.COM                   JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
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032098P001-1488A-002F                            032098P001-1488A-002F                           032098P001-1488A-002F                           032099P001-1488A-002F
JPMORGAN CHASE BANK NA                           JPMORGAN CHASE BANK NA                          JPMORGAN CHASE BANK NA                          JPMORGAN CHASE BANK NA/DBTC AMERICAS
GME DIV OF ICAP CORPORATE LLC                    GME DIV OF ICAP CORPORATE LLC                   GME DIV OF ICAP CORPORATE LLC                   DB UKBANK LIMITED DIANE MCGOWAN
JAMES BENJAMIN ANALYST                           JAMES BENJAMIN ANALYST                          JAMES BENJAMIN ANALYST                          VICE PRESIDENT
14201 DALLAS PKWY                                14201 DALLAS PKWY                               14201 DALLAS PKWY                               4 NEW YORK PLZ
12TH FL                                          12TH FL                                         12TH FL                                         11TH FL
DALLAS TX 75254                                  DALLAS TX 75254                                 DALLAS TX 75254                                 NEW YORK NY 10004
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          USSO.PROXY.TEAM@JPMORGAN.COM

032099P001-1488A-002F                            032099P001-1488A-002F                           032100P001-1488A-002F                           032100P001-1488A-002F
JPMORGAN CHASE BANK NA/DBTC AMERICAS             JPMORGAN CHASE BANK NA/DBTC AMERICAS            JPMORGAN CHASE BANK NA/DBTC AMERICAS            JPMORGAN CHASE BANK NA/DBTC AMERICAS
DB UKBANK LIMITED DIANE MCGOWAN                  DB UKBANK LIMITED DIANE MCGOWAN                 DEUTSCHE BANK AG (LONDON BRANCH)                DEUTSCHE BANK AG (LONDON BRANCH)
VICE PRESIDENT                                   VICE PRESIDENT                                  MARCIN BIEGANSKI, ASSOCIATE                     MARCIN BIEGANSKI, ASSOCIATE
4 NEW YORK PLZ                                   4 NEW YORK PLZ                                  14201 DALLAS PKWY 12TH FL                       14201 DALLAS PKWY 12TH FL
11TH FL                                          11TH FL                                         CORPORATE ACTIONS DEPT                          CORPORATE ACTIONS DEPT
NEW YORK NY 10004                                NEW YORK NY 10004                               DALLAS TX 75254                                 DALLAS TX 75254
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032100P001-1488A-002F                            032101P001-1488A-002F                           032101P001-1488A-002F                           032101P001-1488A-002F
JPMORGAN CHASE BANK NA/DBTC AMERICAS             JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO       JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO       JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO
DEUTSCHE BANK AG (LONDON BRANCH)                 CORPORATE ACTIONS DEPT                          CORPORATE ACTIONS DEPT                          CORPORATE ACTIONS DEPT
MARCIN BIEGANSKI, ASSOCIATE                      14201 DALLAS PKWY 12TH FL                       14201 DALLAS PKWY 12TH FL                       14201 DALLAS PKWY 12TH FL
14201 DALLAS PKWY 12TH FL                        DALLAS TX 75254                                 DALLAS TX 75254                                 DALLAS TX 75254
CORPORATE ACTIONS DEPT                           USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
DALLAS TX 75254
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032102P001-1488A-002F                            032102P001-1488A-002F                           032102P001-1488A-002F                           032103P001-1488A-002F
JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO        JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO       JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO       JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
JOHN P FAY                                       JOHN P FAY                                      JOHN P FAY                                      MARCIN BIEGANSKI
CORP ACTIONS                                     CORP ACTIONS                                    CORP ACTIONS                                    ASSOCIATE
500 STANTON CHRISTIANA RD OPS 4                  500 STANTON CHRISTIANA RD OPS 4                 500 STANTON CHRISTIANA RD OPS 4                 14201 DALLAS PKWY
FLOOR: 03                                        FLOOR: 03                                       FLOOR: 03                                       FL 12 - CORP ACTIONS DEPT
NEWARK DE 19713-2107                             NEWARK DE 19713-2107                            NEWARK DE 19713-2107                            DALLAS TX 75254
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          USSO.PROXY.TEAM@JPMORGAN.COM

032103P001-1488A-002F                            032103P001-1488A-002F                           032104P001-1488A-002F                           032104P001-1488A-002F
JPMORGAN CHASE BANK, NATIONAL ASSOCIATION        JPMORGAN CHASE BANK, NATIONAL ASSOCIATION       JPMORGAN CHASE BANK, NATIONAL ASSOCIATION       JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                                PUBLIC EMPLOYESS RETIREMENT                     PUBLIC EMPLOYESS RETIREMENT
ASSOCIATE                                        ASSOCIATE                                       SYSTEM OF OHIO (OPERS), MARCIN BIEGANSKI        SYSTEM OF OHIO (OPERS), MARCIN BIEGANSKI
14201 DALLAS PKWY                                14201 DALLAS PKWY                               14201 DALLAS PKWY                               14201 DALLAS PKWY
FL 12 - CORP ACTIONS DEPT                        FL 12 - CORP ACTIONS DEPT                       FL 12 - CORP ACTIONS DEPT                       FL 12 - CORP ACTIONS DEPT
DALLAS TX 75254                                  DALLAS TX 75254                                 DALLAS TX 75254                                 DALLAS TX 75254
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032104P001-1488A-002F                            032105P001-1488A-002F                           032105P001-1488A-002F                           032105P001-1488A-002F
JPMORGAN CHASE BANK, NATIONAL ASSOCIATION        JPMORGAN CHASE BANK, NATIONAL ASSOCIATION       JPMORGAN CHASE BANK, NATIONAL ASSOCIATION       JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
PUBLIC EMPLOYESS RETIREMENT                      RBS FINANCIAL PRODUCTS RBS FINANCIAL PRODUCTS   RBS FINANCIAL PRODUCTS RBS FINANCIAL PRODUCTS   RBS FINANCIAL PRODUCTS RBS FINANCIAL PRODUCTS
SYSTEM OF OHIO (OPERS), MARCIN BIEGANSKI         MARCIN BIEGANSKI                                MARCIN BIEGANSKI                                MARCIN BIEGANSKI
14201 DALLAS PKWY                                14201 DALLAS PKWY                               14201 DALLAS PKWY                               14201 DALLAS PKWY
FL 12 - CORP ACTIONS DEPT                        FL 12 - CORP ACTIONS DEPT                       FL 12 - CORP ACTIONS DEPT                       FL 12 - CORP ACTIONS DEPT
DALLAS TX 75254                                  DALLAS TX 75254                                 DALLAS TX 75254                                 DALLAS TX 75254
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
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032106P001-1488A-002F                            032106P001-1488A-002F                         032106P001-1488A-002F                       032107P001-1488A-002F
JPMORGAN CHASE BANK, NATIONAL ASSOCIATION        JPMORGAN CHASE BANK, NATIONAL ASSOCIATION     JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
RBS INVESTMENTS USA RBS INVESTMENTS USA          RBS INVESTMENTS USA RBS INVESTMENTS USA       RBS INVESTMENTS USA RBS INVESTMENTS USA     RBS SECURITIES JAPAN LIMITED
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                              MARCIN BIEGANSKI                            MARCIN BIEGANSKI
14201 DALLAS PKWY                                14201 DALLAS PKWY                             14201 DALLAS PKWY                           14201 DALLAS PKWY
FL 12 - CORP ACTIONS DEPT                        FL 12 - CORP ACTIONS DEPT                     FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT
DALLAS TX 75254                                  DALLAS TX 75254                               DALLAS TX 75254                             DALLAS TX 75254
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM     IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM

032107P001-1488A-002F                            032107P001-1488A-002F                         032108P001-1488A-002F                       032108P001-1488A-002F
JPMORGAN CHASE BANK, NATIONAL ASSOCIATION        JPMORGAN CHASE BANK, NATIONAL ASSOCIATION     JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
RBS SECURITIES JAPAN LIMITED                     RBS SECURITIES JAPAN LIMITED                  RBS PLC                                     RBS PLC
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                              MARCIN BIEGANSKI                            MARCIN BIEGANSKI
14201 DALLAS PKWY                                14201 DALLAS PKWY                             14201 DALLAS PKWY                           14201 DALLAS PKWY
FL 12 - CORP ACTIONS DEPT                        FL 12 - CORP ACTIONS DEPT                     FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT
DALLAS TX 75254                                  DALLAS TX 75254                               DALLAS TX 75254                             DALLAS TX 75254
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM        USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032108P001-1488A-002F                            032109P001-1488A-002F                         032109P001-1488A-002F                       032109P001-1488A-002F
JPMORGAN CHASE BANK, NATIONAL ASSOCIATION        JPMORGAN CHASE BANK, NATIONAL ASSOCIATION     JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
RBS PLC                                          SACHIN GOYAL                                  SACHIN GOYAL                                SACHIN GOYAL
MARCIN BIEGANSKI                                 500 STANTON CHRISTIANA RD                     500 STANTON CHRISTIANA RD                   500 STANTON CHRISTIANA RD
14201 DALLAS PKWY                                OPS 4 FL 02                                   OPS 4 FL 02                                 OPS 4 FL 02
FL 12 - CORP ACTIONS DEPT                        NEWARK DE 19713-2107                          NEWARK DE 19713-2107                        NEWARK DE 19713-2107
DALLAS TX 75254                                  USSO.PROXY.TEAM@JPMORGAN.COM                  JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032110P001-1488A-002F                            032110P001-1488A-002F                         032110P001-1488A-002F                       032111P001-1488A-002F
JPMORGAN CHASE BANK, NATIONAL ASSOCIATION        JPMORGAN CHASE BANK, NATIONAL ASSOCIATION     JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK,NA
INTERMEDIARY HOLDI                               INTERMEDIARY HOLDI                            INTERMEDIARY HOLDI                          JPMORGAN CHASE FUNDING INC
CORPORATE ACTIONS                                CORPORATE ACTIONS                             CORPORATE ACTIONS                           GARY GABRYSH
14201 DALLAS PKWY                                14201 DALLAS PKWY                             14201 DALLAS PKWY                           500 STANTON CHRISTIANA RD
DALLAS TX 75254                                  DALLAS TX 75254                               DALLAS TX 75254                             NEWARK DE 19713
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM     IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      GARY.GABRYSH@JPMORGAN.COM


032111P001-1488A-002F                            032111P001-1488A-002F                         032111P001-1488A-002F                       032112P001-1488A-002F
JPMORGAN CHASE BANK,NA                           JPMORGAN CHASE BANK,NA                        JPMORGAN CHASE BANK,NA                      JPMORGAN CHASE BANK/AG DEPOSITARY BANK
JPMORGAN CHASE FUNDING INC                       JPMORGAN CHASE FUNDING INC                    JPMORGAN CHASE FUNDING INC                  FRED COHEN
GARY GABRYSH                                     GARY GABRYSH                                  GARY GABRYSH                                500 CHRISTIANA RD FL 3
500 STANTON CHRISTIANA RD                        500 STANTON CHRISTIANA RD                     500 STANTON CHRISTIANA RD                   MORGAN CHRISTIANA CTR OPS 4
NEWARK DE 19713                                  NEWARK DE 19713                               NEWARK DE 19713                             NEWARK DE 19702
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM     IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      FRED.L.COHEN@JPMORGAN.COM


032112P001-1488A-002F                            032112P001-1488A-002F                         032112P001-1488A-002F                       032113P001-1488A-002F
JPMORGAN CHASE BANK/AG DEPOSITARY BANK           JPMORGAN CHASE BANK/AG DEPOSITARY BANK        JPMORGAN CHASE BANK/AG DEPOSITARY BANK      JPMORGAN CHASE BANK/CHEMICAL/COMMERC
FRED COHEN                                       FRED COHEN                                    FRED COHEN                                  BILL VELASQUEZ
500 CHRISTIANA RD FL 3                           500 CHRISTIANA RD FL 3                        500 CHRISTIANA RD FL 3                      VICE PRESIDENT
MORGAN CHRISTIANA CTR OPS 4                      MORGAN CHRISTIANA CTR OPS 4                   MORGAN CHRISTIANA CTR OPS 4                 4 NEW YORK PLZ
NEWARK DE 19702                                  NEWARK DE 19702                               NEWARK DE 19702                             FL 21
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM     IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      NEW YORK NY 10004
                                                                                                                                           USSO.PROXY.TEAM@JPMORGAN.COM
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032113P001-1488A-002F                               032113P001-1488A-002F                           032114P001-1488A-002F                           032114P001-1488A-002F
JPMORGAN CHASE BANK/CHEMICAL/COMMERC                JPMORGAN CHASE BANK/CHEMICAL/COMMERC            JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE     JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE
BILL VELASQUEZ                                      BILL VELASQUEZ                                  NORE SCARLETT - ADMINISTRATOR                   NORE SCARLETT - ADMINISTRATOR
VICE PRESIDENT                                      VICE PRESIDENT                                  NORE SCARLETT                                   NORE SCARLETT
4 NEW YORK PLZ                                      4 NEW YORK PLZ                                  4 NEW YORK PLZ                                  4 NEW YORK PLZ
FL 21                                               FL 21                                           11TH FL                                         11TH FL
NEW YORK NY 10004                                   NEW YORK NY 10004                               NEW YORK NY 10004                               NEW YORK NY 10004
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM           IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032114P001-1488A-002F                               032115P001-1488A-002F                           032115P001-1488A-002F                           032115P001-1488A-002F
JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE         JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE 3   JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE 3   JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE 3
NORE SCARLETT - ADMINISTRATOR                       NORE SCARLETT - ADMINISTRATOR                   NORE SCARLETT - ADMINISTRATOR                   NORE SCARLETT - ADMINISTRATOR
NORE SCARLETT                                       NORE SCARLETT                                   NORE SCARLETT                                   NORE SCARLETT
4 NEW YORK PLZ                                      4 NEW YORK PLZ                                  4 NEW YORK PLZ                                  4 NEW YORK PLZ
11TH FL                                             11TH FL                                         11TH FL                                         11TH FL
NEW YORK NY 10004                                   NEW YORK NY 10004                               NEW YORK NY 10004                               NEW YORK NY 10004
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM              USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032116P001-1488A-002F                               032116P001-1488A-002F                           032116P001-1488A-002F                           032118P001-1488A-002F
JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE2        JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE2    JPMORGAN CHASE BANK/CHIEF INVESTMENT OFFICE2    JPMORGAN CHASE BANK/EUROCLEAR BANK
NORE SCARLETT - ADMINISTRATOR                       NORE SCARLETT - ADMINISTRATOR                   NORE SCARLETT - ADMINISTRATOR                   CORPORATE ACTIONS
NORE SCARLETT                                       NORE SCARLETT                                   NORE SCARLETT                                   14201 DALLAS PKWY
4 NEW YORK PLZ                                      4 NEW YORK PLZ                                  4 NEW YORK PLZ                                  FL 12 - CORP ACTIONS DEPT
11TH FL                                             11TH FL                                         11TH FL                                         DALLAS TX 75254
NEW YORK NY 10004                                   NEW YORK NY 10004                               NEW YORK NY 10004                               USSO.PROXY.TEAM@JPMORGAN.COM
USSO.PROXY.TEAM@JPMORGAN.COM                        JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032118P001-1488A-002F                               032118P001-1488A-002F                           032119P001-1488A-002F                           032119P001-1488A-002F
JPMORGAN CHASE BANK/EUROCLEAR BANK                  JPMORGAN CHASE BANK/EUROCLEAR BANK              JPMORGAN CHASE BANK/EUROCLEAR BANK              JPMORGAN CHASE BANK/EUROCLEAR BANK
CORPORATE ACTIONS                                   CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS
14201 DALLAS PKWY                                   14201 DALLAS PKWY                               SACHIN GOYAL                                    SACHIN GOYAL
FL 12 - CORP ACTIONS DEPT                           FL 12 - CORP ACTIONS DEPT                       500 STANTON CHRISTIANA RD                       500 STANTON CHRISTIANA RD
DALLAS TX 75254                                     DALLAS TX 75254                                 OPS 4 FL 02                                     OPS 4 FL 02
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM           IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          NEWARK DE 19713-2107                            NEWARK DE 19713-2107
                                                                                                    USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032119P001-1488A-002F                               032121P001-1488A-002F                           032121P001-1488A-002F                           032121P001-1488A-002F
JPMORGAN CHASE BANK/EUROCLEAR BANK                  JPMORGAN CHASE BANK/GNPH MIDDLE MARKET          JPMORGAN CHASE BANK/GNPH MIDDLE MARKET          JPMORGAN CHASE BANK/GNPH MIDDLE MARKET
CORPORATE ACTIONS                                   SUSAN G REISING                                 SUSAN G REISING                                 SUSAN G REISING
SACHIN GOYAL                                        100 N BROADWAY                                  100 N BROADWAY                                  100 N BROADWAY
500 STANTON CHRISTIANA RD                           OKLAHOMA CITY OK 73102                          OKLAHOMA CITY OK 73102                          OKLAHOMA CITY OK 73102
OPS 4 FL 02                                         USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
NEWARK DE 19713-2107
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032122P001-1488A-002F                               032122P001-1488A-002F                           032122P001-1488A-002F                           032123P001-1488A-002F
JPMORGAN CHASE BANK/HSBCSI                          JPMORGAN CHASE BANK/HSBCSI                      JPMORGAN CHASE BANK/HSBCSI                      JPMORGAN CHASE BANK/IA
NORE SCARLETT                                       NORE SCARLETT                                   NORE SCARLETT                                   MARCIN BIEGANSKI
ADMINISTRATOR                                       ADMINISTRATOR                                   ADMINISTRATOR                                   ASSOCIATE
4 NEW YORK PLZ                                      4 NEW YORK PLZ                                  4 NEW YORK PLZ                                  14201 DALLAS PKWY 12TH FL
11TH FL                                             11TH FL                                         11TH FL                                         CORP ACTIONS DEPT
NEW YORK NY 10004                                   NEW YORK NY 10004                               NEW YORK NY 10004                               DALLAS TX 75254
USSO.PROXY.TEAM@JPMORGAN.COM                        JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          USSO.PROXY.TEAM@JPMORGAN.COM
                                            Case 22-90032 Document 69GWG  Holdings,
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032123P001-1488A-002F                            032123P001-1488A-002F                       032124P001-1488A-002F                           032124P001-1488A-002F
JPMORGAN CHASE BANK/IA                           JPMORGAN CHASE BANK/IA                      JPMORGAN CHASE BANK/INTL FCSTONE FINANCIALINC   JPMORGAN CHASE BANK/INTL FCSTONE FINANCIALINC
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                            NORE SCARLETT                                   NORE SCARLETT
ASSOCIATE                                        ASSOCIATE                                   ADMINISTRATOR                                   ADMINISTRATOR
14201 DALLAS PKWY 12TH FL                        14201 DALLAS PKWY 12TH FL                   4 NEW YORK PLZ                                  4 NEW YORK PLZ
CORP ACTIONS DEPT                                CORP ACTIONS DEPT                           11TH FL                                         11TH FL
DALLAS TX 75254                                  DALLAS TX 75254                             NEW YORK NY 10004                               NEW YORK NY 10004
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032124P001-1488A-002F                            032126P001-1488A-002F                       032126P001-1488A-002F                           032126P001-1488A-002F
JPMORGAN CHASE BANK/INTL FCSTONE FINANCIALINC    JPMORGAN CHASE BANK/JPMORGAN PPB            JPMORGAN CHASE BANK/JPMORGAN PPB                JPMORGAN CHASE BANK/JPMORGAN PPB
NORE SCARLETT                                    4 NEW YORK PLZ                              4 NEW YORK PLZ                                  4 NEW YORK PLZ
ADMINISTRATOR                                    11TH FL                                     11TH FL                                         11TH FL
4 NEW YORK PLZ                                   NEW YORK NY 10004                           NEW YORK NY 10004                               NEW YORK NY 10004
11TH FL                                          USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
NEW YORK NY 10004
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032127P001-1488A-002F                            032127P001-1488A-002F                       032127P001-1488A-002F                           032128P001-1488A-002F
JPMORGAN CHASE BANK/MET LIFE LOANET              JPMORGAN CHASE BANK/MET LIFE LOANET         JPMORGAN CHASE BANK/MET LIFE LOANET             JPMORGAN CHASE BANK/MUNICIPAL DEALER
PAULA JONES                                      PAULA JONES                                 PAULA JONES                                     JOHN HALLORAN
ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT                        500 STANTON CHRISTIANA RD
14201 DALLAS PKWY                                14201 DALLAS PKWY                           14201 DALLAS PKWY                               OPS 4 FL 3
DALLAS TX 75254                                  DALLAS TX 75254                             DALLAS TX 75254                                 NEWARK DE 19713-2107
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM          USSO.PROXY.TEAM@JPMORGAN.COM


032128P001-1488A-002F                            032128P001-1488A-002F                       032129P001-1488A-002F                           032129P001-1488A-002F
JPMORGAN CHASE BANK/MUNICIPAL DEALER             JPMORGAN CHASE BANK/MUNICIPAL DEALER        JPMORGAN CHASE BANK/PCS SHARED SVC              JPMORGAN CHASE BANK/PCS SHARED SVC
JOHN HALLORAN                                    JOHN HALLORAN                               MARCIN BIEGANSKI                                MARCIN BIEGANSKI
500 STANTON CHRISTIANA RD                        500 STANTON CHRISTIANA RD                   14201 DALLAS PKWY 12TH FL                       14201 DALLAS PKWY 12TH FL
OPS 4 FL 3                                       OPS 4 FL 3                                  CORPORATE ACTIOND DEPT                          CORPORATE ACTIOND DEPT
NEWARK DE 19713-2107                             NEWARK DE 19713-2107                        DALLAS TX 75254                                 DALLAS TX 75254
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM                    JPMORGANINFORMATION.SERVICES@JPMORGAN.COM


032129P001-1488A-002F                            032130P001-1488A-002F                       032130P001-1488A-002F                           032130P001-1488A-002F
JPMORGAN CHASE BANK/PCS SHARED SVC               JPMORGAN CHASE BANK/PRUDENTIAL              JPMORGAN CHASE BANK/PRUDENTIAL                  JPMORGAN CHASE BANK/PRUDENTIAL
MARCIN BIEGANSKI                                 MARCIN BIEGANSKI                            MARCIN BIEGANSKI                                MARCIN BIEGANSKI
14201 DALLAS PKWY 12TH FL                        ASSOCIATE                                   ASSOCIATE                                       ASSOCIATE
CORPORATE ACTIOND DEPT                           14201 DALLAS PKWY 12TH FL                   14201 DALLAS PKWY 12TH FL                       14201 DALLAS PKWY 12TH FL
DALLAS TX 75254                                  CORPORATE ACTIONS DEPT                      CORPORATE ACTIONS DEPT                          CORPORATE ACTIONS DEPT
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           DALLAS TX 75254                             DALLAS TX 75254                                 DALLAS TX 75254
                                                 USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM       IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032132P001-1488A-002F                            032132P001-1488A-002F                       032132P001-1488A-002F                           032134P001-1488A-002F
JPMORGAN CHASE BANK/SUSQUEHANNA                  JPMORGAN CHASE BANK/SUSQUEHANNA             JPMORGAN CHASE BANK/SUSQUEHANNA                 JPMORGAN CHASE BANK/VANGUARD LOANET
DIANE MCGOWAN                                    DIANE MCGOWAN                               DIANE MCGOWAN                                   PAULA JONES
VICE PRESIDENT                                   VICE PRESIDENT                              VICE PRESIDENT                                  ASSISTANT VICE PRESIDENT
3 METROTECH                                      3 METROTECH                                 3 METROTECH                                     14201 DALLAS PKWY
5TH FL                                           5TH FL                                      5TH FL                                          DALLAS TX 75254
BROOKLYN NY 11245                                BROOKLYN NY 11245                           BROOKLYN NY 11245                               USSO.PROXY.TEAM@JPMORGAN.COM
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
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032134P001-1488A-002F                            032134P001-1488A-002F                       032120P001-1488A-002F                       032120P001-1488A-002F
JPMORGAN CHASE BANK/VANGUARD LOANET              JPMORGAN CHASE BANK/VANGUARD LOANET         JPMORGAN CHASE BANKGARBAN SECURITIES, INC   JPMORGAN CHASE BANKGARBAN SECURITIES, INC
PAULA JONES                                      PAULA JONES                                 NORE SCARLETT                               NORE SCARLETT
ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                    ADMINISTRATOR                               ADMINISTRATOR
14201 DALLAS PKWY                                14201 DALLAS PKWY                           4 NEW YORK PLZ                              4 NEW YORK PLZ
DALLAS TX 75254                                  DALLAS TX 75254                             11TH FL                                     11TH FL
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      NEW YORK NY 10004                           NEW YORK NY 10004
                                                                                             USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032120P001-1488A-002F                            032125P001-1488A-002F                       032125P001-1488A-002F                       032125P001-1488A-002F
JPMORGAN CHASE BANKGARBAN SECURITIES, INC        JPMORGAN CHASE BANKJPMORGAN CHASE AND       JPMORGAN CHASE BANKJPMORGAN CHASE AND       JPMORGAN CHASE BANKJPMORGAN CHASE AND
NORE SCARLETT                                    COCERTIFICATE OF DEPOSITIPA                 COCERTIFICATE OF DEPOSITIPA                 COCERTIFICATE OF DEPOSITIPA
ADMINISTRATOR                                    AL HERNANDEZ                                AL HERNANDEZ                                AL HERNANDEZ
4 NEW YORK PLZ                                   34 EXCHANGE PL                              34 EXCHANGE PL                              34 EXCHANGE PL
11TH FL                                          JERSEY CITY NJ 07311                        JERSEY CITY NJ 07311                        JERSEY CITY NJ 07311
NEW YORK NY 10004                                USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032131P001-1488A-002F                            032131P001-1488A-002F                       032131P001-1488A-002F                       032133P001-1488A-002F
JPMORGAN CHASE BANKRBS SECURITIES INC            JPMORGAN CHASE BANKRBS SECURITIES INC       JPMORGAN CHASE BANKRBS SECURITIES INC       JPMORGAN CHASE BANKTRUST CO OF CAL
NORE SCARLETT                                    NORE SCARLETT                               NORE SCARLETT                               PHILIP ROY
ADMINISTRATOR                                    ADMINISTRATOR                               ADMINISTRATOR                               VICE PRESIDENT
4 NEW YORK PLZ                                   4 NEW YORK PLZ                              4 NEW YORK PLZ                              14201 DALLAS PKWY
11TH FL                                          11TH FL                                     11TH FL                                     FL 12
NEW YORK NY 10004                                NEW YORK NY 10004                           NEW YORK NY 10004                           DALLAS TX 75254
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM

032133P001-1488A-002F                            032133P001-1488A-002F                       032140P001-1488A-002F                       032140P001-1488A-002F
JPMORGAN CHASE BANKTRUST CO OF CAL               JPMORGAN CHASE BANKTRUST CO OF CAL          JPMORGAN CHASE-ADR MAX                      JPMORGAN CHASE-ADR MAX
PHILIP ROY                                       PHILIP ROY                                  SANJAY GHULIANI                             SANJAY GHULIANI
VICE PRESIDENT                                   VICE PRESIDENT                              PARADIGM B WING FL 6                        PARADIGM B WING FL 6
14201 DALLAS PKWY                                14201 DALLAS PKWY                           MAINDSPACE MALAD W                          MAINDSPACE MALAD W
FL 12                                            FL 12                                       MUMBAI 400064                               MUMBAI 400064
DALLAS TX 75254                                  DALLAS TX 75254                             INDIA                                       INDIA
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM

032140P001-1488A-002F                            032141P001-1488A-002F                       032141P001-1488A-002F                       032141P001-1488A-002F
JPMORGAN CHASE-ADR MAX                           JPMORGAN CHASE-FIMAT CU                     JPMORGAN CHASE-FIMAT CU                     JPMORGAN CHASE-FIMAT CU
SANJAY GHULIANI                                  SANJAY GHULIANI                             SANJAY GHULIANI                             SANJAY GHULIANI
PARADIGM B WING FL 6                             ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT
MAINDSPACE MALAD W                               PARADIGM B WING FL 6                        PARADIGM B WING FL 6                        PARADIGM B WING FL 6
MUMBAI 400064                                    MAINDSPACE MALAD W                          MAINDSPACE MALAD W                          MAINDSPACE MALAD W
INDIA                                            MUMBAI 400064                               MUMBAI 400064                               MUMBAI 400064
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           INDIA                                       INDIA                                       INDIA
                                                 USSO.PROXY.TEAM@JPMORGAN.COM                JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
032142P001-1488A-002F                            032142P001-1488A-002F                       032142P001-1488A-002F                       032143P001-1488A-002F
JPMORGAN CHASE-FIMAT MB                          JPMORGAN CHASE-FIMAT MB                     JPMORGAN CHASE-FIMAT MB                     JPMORGAN CHASE-FIMAT RM
SANJAY GHULIANI                                  SANJAY GHULIANI                             SANJAY GHULIANI                             SANJAY GHULIANI
ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT
PARADIGM B WING FL 6                             PARADIGM B WING FL 6                        PARADIGM B WING FL 6                        PARADIGM B WING FL 6
MINDSPACE MALAD W                                MINDSPACE MALAD W                           MINDSPACE MALAD W                           MINDSPACE MALAD W
MUMBAI 400064                                    MUMBAI 400064                               MUMBAI 400064                               MUMBAI 400064
INDIA                                            INDIA                                       INDIA                                       INDIA
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM   IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM      USSO.PROXY.TEAM@JPMORGAN.COM
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032143P001-1488A-002F                            032143P001-1488A-002F                          032135P001-1488A-002F                         032135P001-1488A-002F
JPMORGAN CHASE-FIMAT RM                          JPMORGAN CHASE-FIMAT RM                        JPMORGAN CHASE/FIMAT PF                       JPMORGAN CHASE/FIMAT PF
SANJAY GHULIANI                                  SANJAY GHULIANI                                MARCIN BIEGANSKI                              MARCIN BIEGANSKI
ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                       14201 DALLAS PKWY 12TH FL                     14201 DALLAS PKWY 12TH FL
PARADIGM B WING FL 6                             PARADIGM B WING FL 6                           CORPORATE ACTIOND DEPT                        CORPORATE ACTIOND DEPT
MINDSPACE MALAD W                                MINDSPACE MALAD W                              DALLAS TX 75254                               DALLAS TX 75254
MUMBAI 400064                                    MUMBAI 400064                                  USSO.PROXY.TEAM@JPMORGAN.COM                  JPMORGANINFORMATION.SERVICES@JPMORGAN.COM
INDIA                                            INDIA
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
032135P001-1488A-002F                            032136P001-1488A-002F                          032136P001-1488A-002F                         032136P001-1488A-002F
JPMORGAN CHASE/FIMAT PF                          JPMORGAN CHASE/NEWEDGE CUSTODY                 JPMORGAN CHASE/NEWEDGE CUSTODY                JPMORGAN CHASE/NEWEDGE CUSTODY
MARCIN BIEGANSKI                                 CORP ACTION                                    CORP ACTION                                   CORP ACTION
14201 DALLAS PKWY 12TH FL                        630 FIFTH AVE STE 500                          630 FIFTH AVE STE 500                         630 FIFTH AVE STE 500
CORPORATE ACTIOND DEPT                           NEW YORK NY 10111                              NEW YORK NY 10111                             NEW YORK NY 10111
DALLAS TX 75254                                  USSO.PROXY.TEAM@JPMORGAN.COM                   JPMORGANINFORMATION.SERVICES@JPMORGAN.COM     IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM


032137P001-1488A-002F                            032137P001-1488A-002F                          032137P001-1488A-002F                         032138P001-1488A-002F
JPMORGAN CHASE/NEWEDGE CUSTODY                   JPMORGAN CHASE/NEWEDGE CUSTODY                 JPMORGAN CHASE/NEWEDGE CUSTODY                JPMORGAN CHASE/RBS
SAM BUSHRUI VICE PRESIDENT                       SAM BUSHRUI VICE PRESIDENT                     SAM BUSHRUI VICE PRESIDENT                    NORE SCARLETT
630 FIFTH AVE STE 500                            630 FIFTH AVE STE 500                          630 FIFTH AVE STE 500                         ADMINISTRATOR
NEW YORK NY 10111                                NEW YORK NY 10111                              NEW YORK NY 10111                             4 NEW YORK PLZ
USSO.PROXY.TEAM@JPMORGAN.COM                     JPMORGANINFORMATION.SERVICES@JPMORGAN.COM      IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM        11TH FL
                                                                                                                                              NEW YORK NY 10004
                                                                                                                                              USSO.PROXY.TEAM@JPMORGAN.COM

032138P001-1488A-002F                            032138P001-1488A-002F                          032139P001-1488A-002F                         032139P001-1488A-002F
JPMORGAN CHASE/RBS                               JPMORGAN CHASE/RBS                             JPMORGAN CHASE/US EQ TRP                      JPMORGAN CHASE/US EQ TRP
NORE SCARLETT                                    NORE SCARLETT                                  SERGIO MONTILLO                               SERGIO MONTILLO
ADMINISTRATOR                                    ADMINISTRATOR                                  VICE PRESIDENT                                VICE PRESIDENT
4 NEW YORK PLZ                                   4 NEW YORK PLZ                                 500 STANTON CHRISTIANA RD                     500 STANTON CHRISTIANA RD
11TH FL                                          11TH FL                                        NEWARK DE 19713                               NEWARK DE 19713
NEW YORK NY 10004                                NEW YORK NY 10004                              USSO.PROXY.TEAM@JPMORGAN.COM                  JPMORGANINFORMATION.SERVICES@JPMORGAN.COM
JPMORGANINFORMATION.SERVICES@JPMORGAN.COM        IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM

032139P001-1488A-002F                            032144P001-1488A-002F                          032144P001-1488A-002F                         032144P001-1488A-002F
JPMORGAN CHASE/US EQ TRP                         KEYBANK NA/FBO TREASURER OF STATE OF OHIO      KEYBANK NA/FBO TREASURER OF STATE OF OHIO     KEYBANK NA/FBO TREASURER OF STATE OF OHIO
SERGIO MONTILLO                                  SCOTT MACDONALD                                SCOTT MACDONALD                               SCOTT MACDONALD
VICE PRESIDENT                                   VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
500 STANTON CHRISTIANA RD                        4900 TIEDEMAN RD                               4900 TIEDEMAN RD                              4900 TIEDEMAN RD
NEWARK DE 19713                                  OH-01-49-310                                   OH-01-49-310                                  OH-01-49-310
IB.MANDATORY.CORP.ACTIONS@JPMORGAN.COM           BROOKLYN OH 44144                              BROOKLYN OH 44144                             BROOKLYN OH 44144
                                                 SCOTT_R_MACDONALD@KEYBANK.COM                  SAFEKEEPING_TREASURY_OPERATIONS@KEYBANK.COM   KATHLEEN_A_STETZ@KEYBANK.COM

032145P001-1488A-002F                            032145P001-1488A-002F                          032145P001-1488A-002F                         032146P001-1488A-002F
KEYBANK NATIONAL ASSOCIATION                     KEYBANK NATIONAL ASSOCIATION                   KEYBANK NATIONAL ASSOCIATION                  KEYBANK SAFEKEEPING
RAYMOND HANNAN                                   RAYMOND HANNAN                                 RAYMOND HANNAN                                RAYMOND HANNAN
4900 TIEDEMAN RD                                 4900 TIEDEMAN RD                               4900 TIEDEMAN RD                              4900 TIEDEMAN RD
OH-01-49-0240                                    OH-01-49-0240                                  OH-01-49-0240                                 OH-01-49-0240
BROOKLYN OH 44144                                BROOKLYN OH 44144                              BROOKLYN OH 44144                             BROOKLYN OH 44144
SCOTT_R_MACDONALD@KEYBANK.COM                    SAFEKEEPING_TREASURY_OPERATIONS@KEYBANK.COM    KATHLEEN_A_STETZ@KEYBANK.COM                  SCOTT_R_MACDONALD@KEYBANK.COM
                                         Case 22-90032 Document 69GWG  Holdings,
                                                                    Filed in TXSBInc.,
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032146P001-1488A-002F                         032146P001-1488A-002F                        032147P001-1488A-002F                032148P001-1488A-002F
KEYBANK SAFEKEEPING                           KEYBANK SAFEKEEPING                          LAURENTIAN BANK OF CANADA/CDS**      LPL FINANCIAL CORP
RAYMOND HANNAN                                RAYMOND HANNAN                               FRANCESCA MAIORINO                   CORPORATE ACTIONS
4900 TIEDEMAN RD                              4900 TIEDEMAN RD                             1981 MCGILL COLLEGE AVE              KRISTIN KENNEDY
OH-01-49-0240                                 OH-01-49-0240                                STE 100                              9785 TOWNE CENTRE DR
BROOKLYN OH 44144                             BROOKLYN OH 44144                            MONTREAL QC BCAH3A 3K3               SAN DIEGO CA 92121-1968
SAFEKEEPING_TREASURY_OPERATIONS@KEYBANK.COM   KATHLEEN_A_STETZ@KEYBANK.COM                 CANADA                               KRISTIN.KENNEDY@LPL.COM
                                                                                           MAIORINOF@VMBL.CA

032148P001-1488A-002F                         032148P001-1488A-002F                        032148P001-1488A-002F                032148P001-1488A-002F
LPL FINANCIAL CORP                            LPL FINANCIAL CORP                           LPL FINANCIAL CORP                   LPL FINANCIAL CORP
CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS                    CORPORATE ACTIONS
KRISTIN KENNEDY                               KRISTIN KENNEDY                              KRISTIN KENNEDY                      KRISTIN KENNEDY
9785 TOWNE CENTRE DR                          9785 TOWNE CENTRE DR                         9785 TOWNE CENTRE DR                 9785 TOWNE CENTRE DR
SAN DIEGO CA 92121-1968                       SAN DIEGO CA 92121-1968                      SAN DIEGO CA 92121-1968              SAN DIEGO CA 92121-1968
JASON.ADAMEK@LPL.COM                          CORPORATE.ACTION@LPL.COM                     CINTHYA.LEITE@LPL.COM                STEVEN.TRZCINSKI@LPL.COM


032148P001-1488A-002F                         032148P001-1488A-002F                        032149P001-1488A-002F                032149P001-1488A-002F
LPL FINANCIAL CORP                            LPL FINANCIAL CORP                           LPL FINANCIAL CORP                   LPL FINANCIAL CORP
CORPORATE ACTIONS                             CORPORATE ACTIONS                            KRISTIN KENNEDY                      KRISTIN KENNEDY
KRISTIN KENNEDY                               KRISTIN KENNEDY                              CORPORATE ACTIONS                    CORPORATE ACTIONS
9785 TOWNE CENTRE DR                          9785 TOWNE CENTRE DR                         1055 LPL WAY                         1055 LPL WAY
SAN DIEGO CA 92121-1968                       SAN DIEGO CA 92121-1968                      FORT MILL SC 29715                   FORT MILL SC 29715
KEVIN.MOULTON@LPL.COM                         MICAH.WEINSTEIN@LPL.COM                      KRISTIN.KENNEDY@LPL.COM              JASON.ADAMEK@LPL.COM


032149P001-1488A-002F                         032149P001-1488A-002F                        032149P001-1488A-002F                032149P001-1488A-002F
LPL FINANCIAL CORP                            LPL FINANCIAL CORP                           LPL FINANCIAL CORP                   LPL FINANCIAL CORP
KRISTIN KENNEDY                               KRISTIN KENNEDY                              KRISTIN KENNEDY                      KRISTIN KENNEDY
CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS                    CORPORATE ACTIONS
1055 LPL WAY                                  1055 LPL WAY                                 1055 LPL WAY                         1055 LPL WAY
FORT MILL SC 29715                            FORT MILL SC 29715                           FORT MILL SC 29715                   FORT MILL SC 29715
CORPORATE.ACTION@LPL.COM                      CINTHYA.LEITE@LPL.COM                        STEVEN.TRZCINSKI@LPL.COM             KEVIN.MOULTON@LPL.COM


032149P001-1488A-002F                         032150P001-1488A-002F                        032150P001-1488A-002F                032151P001-1488A-002F
LPL FINANCIAL CORP                            MACQUARIE CAPITAL USA INC                    MACQUARIE CAPITAL USA INC            MANUFACTURERS AND TRADERS TRUST CO
KRISTIN KENNEDY                               CORP ACTIONS                                 CORP ACTIONS                         WILMINGTON TRUST/IPA
CORPORATE ACTIONS                             125 WEST 55TH ST                             125 WEST 55TH ST                     SAM HAMED
1055 LPL WAY                                  23RD FL                                      23RD FL                              1100 NORTH MARKET ST
FORT MILL SC 29715                            NEW YORK NY 10019                            NEW YORK NY 10019                    WILMINGTON DE 19890-0001
MICAH.WEINSTEIN@LPL.COM                       PATRICK.CERMAK@MACQUARIE.COM                 COGMODCORPORATEACTIO@MACQUARIE.COM   SHAMED@WILMINGTONTRUST.COM


032151P001-1488A-002F                         032151P001-1488A-002F                        032152P001-1488A-002F                032153P001-1488A-002F
MANUFACTURERS AND TRADERS TRUST CO            MANUFACTURERS AND TRADERS TRUST CO           MANUFACTURERS AND TRADERS TRUST CO   MANUFACTURERS AND TRADERS TRUST COMPANY
WILMINGTON TRUST/IPA                          WILMINGTON TRUST/IPA                         TONY LAGAMBINA                       COMMERCIAL LOANS
SAM HAMED                                     SAM HAMED                                    ONE M&T PLAZA-8TH FL                 CORPORATE ACTIONS
1100 NORTH MARKET ST                          1100 NORTH MARKET ST                         BUFFALO NY 14203                     ONE M&T PLZ 3RD FL
WILMINGTON DE 19890-0001                      WILMINGTON DE 19890-0001                     TLAGAMBINA@MTB.COM                   BUFFALO NY 14203
LHUBBARD@WILMINGTONTRUST.COM                  JHUBBARD@WILMINGTONTRUST.COM                                                      TLAGAMBINA@MTB.COM
                                                Case 22-90032 Document 69GWG  Holdings,
                                                                           Filed in TXSBInc.,
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032154P001-1488A-002F                                032155P001-1488A-002F                            032156P001-1488A-002F                           032157P001-1488A-002F
MANULIFE SECURITIES INCORPORATED/CDS**               MANULIFE SECURITIES INCORPORATED/CDS**           MAPLE SECURITIES - UK                           MAPLE SECURITIES USA INC
SECURITIES OPERATIONS                                JOSEPH CHAU                                      MARK ELLIOTT                                    MARK ELLIOTT
PO BOX 1700 RPO LAKESHORE WEST                       MANAGER                                          79 WELLINGTOMN ST WEST                          79 WELLINGTON ST WEST
OAKVILLE ON L6K 0G7                                  85 RICHMOND ST WEST                              TORONTO ON M5K IK7                              TORONTO ON M5K 1K7
CANADA                                               TORONTO ON M5H2C9                                CANADA                                          CANADA
NIKOLA_KIROVSKI@MANULIFE.COM                         CANADA                                           MELLIOTT@MAPLEFINANCIAL.COM                     MELLIOTT@MAPLEFINANCIAL.COM
                                                     JCHAU@CDS.CA

032158P001-1488A-002F                                032159P001-1488A-002F                            032160P001-1488A-002F                           032161P001-1488A-002F
MAPLE SECURITIES USA INC DOMESTIC                    MAPLE SECURITIES USA INCCUSTODY                  MARSCO INVESTMENT CORP                          MERCHANT CAPITAL, LLC
MARK ELLIOTT                                         MARK ELLIOT                                      MARK KADISON                                    BELINDA WILSON OPERATIONS MANAGER
79 WELLINGTON ST WEST                                SUPERVISOR                                       101 EISENHOWER PKWY                             2660 EAST CHASE LN
TORONTO ON M5K 1K7                                   79 WELLINGTOMN ST WEST                           ROSELAND NJ 07068                               LAKEVIEW CTR STE 400
CANADA                                               TORONTO ON M5KIK7                                MKADISON@MARSCO.COM                             MONTGOMERY AL 36117
MELLIOTT@MAPLEFINANCIAL.COM                          CANADA                                                                                           BELINDA.WILSON@MERCHANTCAPITAL.COM
                                                     MELLIOTT@MAPLEFINANCIAL.COM

032162P001-1488A-002F                                032162P001-1488A-002F                            032162P001-1488A-002F                           032162P001-1488A-002F
MERRILL LYNCH PIERCE FENNER AND SMITH                MERRILL LYNCH PIERCE FENNER AND SMITH            MERRILL LYNCH PIERCE FENNER AND SMITH           MERRILL LYNCH PIERCE FENNER AND SMITH
FIXED INCOME                                         FIXED INCOME                                     FIXED INCOME                                    FIXED INCOME
EARL WEEKS                                           EARL WEEKS                                       EARL WEEKS                                      EARL WEEKS
4804 DEAR LAKE DR E                                  4804 DEAR LAKE DR E                              4804 DEAR LAKE DR E                             4804 DEAR LAKE DR E
JACKSONVILLE FL 32246                                JACKSONVILLE FL 32246                            JACKSONVILLE FL 32246                           JACKSONVILLE FL 32246
CPACTIONSLITIGATION@ML.COM                           EARL.WEEKS@BAML.COM                              KATELYN.BECK@BAML.COM                           CORPACTIONSPROXY@ML.COM


032163P001-1488A-002F                                032163P001-1488A-002F                            032163P001-1488A-002F                           032163P001-1488A-002F
MERRILL LYNCH PIERCE FENNER AND SMITH                MERRILL LYNCH PIERCE FENNER AND SMITH            MERRILL LYNCH PIERCE FENNER AND SMITH           MERRILL LYNCH PIERCE FENNER AND SMITH
DTC 8862                                             DTC 8862                                         DTC 8862                                        DTC 8862
EARL WEEKS                                           EARL WEEKS                                       EARL WEEKS                                      EARL WEEKS
4804 DEERLAKE DR E                                   4804 DEERLAKE DR E                               4804 DEERLAKE DR E                              4804 DEERLAKE DR E
JACKSONVILLE FL 32246                                JACKSONVILLE FL 32246                            JACKSONVILLE FL 32246                           JACKSONVILLE FL 32246
CPACTIONSLITIGATION@ML.COM                           EARL.WEEKS@BAML.COM                              KATELYN.BECK@BAML.COM                           CORPACTIONSPROXY@ML.COM


032164P001-1488A-002F                                032164P001-1488A-002F                            032164P001-1488A-002F                           032164P001-1488A-002F
MERRILL LYNCH PIERCE FENNER AND SMITH INCMLIM        MERRILL LYNCH PIERCE FENNER AND SMITH INCMLIM    MERRILL LYNCH PIERCE FENNER AND SMITH INCMLIM   MERRILL LYNCH PIERCE FENNER AND SMITH INCMLIM
GLOBAL SECURITIES FINANCING INTERNATIONAL            GLOBAL SECURITIES FINANCING INTERNATIONAL        GLOBAL SECURITIES FINANCING INTERNATIONAL       GLOBAL SECURITIES FINANCING INTERNATIONAL
MICHAEL NIGRO                                        MICHAEL NIGRO                                    MICHAEL NIGRO                                   MICHAEL NIGRO
101 HUDSON ST                                        101 HUDSON ST                                    101 HUDSON ST                                   101 HUDSON ST
JERSEY CITY NJ 07302                                 JERSEY CITY NJ 07302                             JERSEY CITY NJ 07302                            JERSEY CITY NJ 07302
CPACTIONSLITIGATION@ML.COM                           EARL.WEEKS@BAML.COM                              KATELYN.BECK@BAML.COM                           CORPACTIONSPROXY@ML.COM


032165P001-1488A-002F                                032165P001-1488A-002F                            032165P001-1488A-002F                           032166P001-1488A-002F
MERRILL LYNCH PROFESSIONAL CLEARING CORP             MERRILL LYNCH PROFESSIONAL CLEARING CORP         MERRILL LYNCH PROFESSIONAL CLEARING CORP        MERRILL LYNCH, PIERCE FENNER AND
EARL WEEKS                                           EARL WEEKS                                       EARL WEEKS                                      SMITH INC SECURITIES LENDING
4804 DEER LAKE DR E                                  4804 DEER LAKE DR E                              4804 DEER LAKE DR E                             EARL WEEKS
JACKSONVILLE FL 32246                                JACKSONVILLE FL 32246                            JACKSONVILLE FL 32246                           4804 DEER LAKE DR E
EARL.WEEKS@BAML.COM                                  CPACTIONSLITIGATION@ML.COM                       CORPACTIONSPROXY@ML.COM                         JACKSONVILLE FL 32246
                                                                                                                                                      CPACTIONSLITIGATION@ML.COM
                                               Case 22-90032 Document 69GWG  Holdings,
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032166P001-1488A-002F                               032166P001-1488A-002F                             032166P001-1488A-002F                          032167P001-1488A-002F
MERRILL LYNCH, PIERCE FENNER AND                    MERRILL LYNCH, PIERCE FENNER AND                  MERRILL LYNCH, PIERCE FENNER AND               MERRILL LYNCH, PIERCE FENNER AND SMITH
SMITH INC SECURITIES LENDING                        SMITH INC SECURITIES LENDING                      SMITH INC SECURITIES LENDING                   EARL WEEKS
EARL WEEKS                                          EARL WEEKS                                        EARL WEEKS                                     CORPORATE ACTIONS
4804 DEER LAKE DR E                                 4804 DEER LAKE DR E                               4804 DEER LAKE DR E                            4804 DEER LAKE DR E
JACKSONVILLE FL 32246                               JACKSONVILLE FL 32246                             JACKSONVILLE FL 32246                          JACKSONVILLE FL 32246
EARL.WEEKS@BAML.COM                                 KATELYN.BECK@BAML.COM                             CORPACTIONSPROXY@ML.COM                        CPACTIONSLITIGATION@ML.COM


032167P001-1488A-002F                               032167P001-1488A-002F                             032167P001-1488A-002F                          032169P001-1488A-002F
MERRILL LYNCH, PIERCE FENNER AND SMITH              MERRILL LYNCH, PIERCE FENNER AND SMITH            MERRILL LYNCH, PIERCE FENNER AND SMITH         MERRILL LYNCH, PIERCE, FENNER AND
EARL WEEKS                                          EARL WEEKS                                        EARL WEEKS                                     SMITH INCORPORATED671 MLPFAND
CORPORATE ACTIONS                                   CORPORATE ACTIONS                                 CORPORATE ACTIONS                              CORPORATE ACTIONS
4804 DEER LAKE DR E                                 4804 DEER LAKE DR E                               4804 DEER LAKE DR E                            4804 DEERLAKE DR E
JACKSONVILLE FL 32246                               JACKSONVILLE FL 32246                             JACKSONVILLE FL 32246                          JACKSONVILLE FL 32246
EARL.WEEKS@BAML.COM                                 KATELYN.BECK@BAML.COM                             CORPACTIONSPROXY@ML.COM                        CPACTIONSLITIGATION@ML.COM


032169P001-1488A-002F                               032169P001-1488A-002F                             032169P001-1488A-002F                          032170P001-1488A-002F
MERRILL LYNCH, PIERCE, FENNER AND                   MERRILL LYNCH, PIERCE, FENNER AND                 MERRILL LYNCH, PIERCE, FENNER AND              MERRILL LYNCH, PIERCE, FENNER AND
SMITH INCORPORATED671 MLPFAND                       SMITH INCORPORATED671 MLPFAND                     SMITH INCORPORATED671 MLPFAND                  SMITH INCORPORATEDSTOCK LOA
CORPORATE ACTIONS                                   CORPORATE ACTIONS                                 CORPORATE ACTIONS                              CORPORATE ACTIONS
4804 DEERLAKE DR E                                  4804 DEERLAKE DR E                                4804 DEERLAKE DR E                             101 HUDSON ST
JACKSONVILLE FL 32246                               JACKSONVILLE FL 32246                             JACKSONVILLE FL 32246                          JERSEY CITY NJ 07302
EARL.WEEKS@BAML.COM                                 KATELYN.BECK@BAML.COM                             CORPACTIONSPROXY@ML.COM                        CPACTIONSLITIGATION@ML.COM


032170P001-1488A-002F                               032170P001-1488A-002F                             032170P001-1488A-002F                          032168P001-1488A-002F
MERRILL LYNCH, PIERCE, FENNER AND                   MERRILL LYNCH, PIERCE, FENNER AND                 MERRILL LYNCH, PIERCE, FENNER AND              MERRILL LYNCH, PIERCE, FENNER AND SMITH
SMITH INCORPORATEDSTOCK LOA                         SMITH INCORPORATEDSTOCK LOA                       SMITH INCORPORATEDSTOCK LOA                    STOCKLOAN HEDGE ACCOUNT
CORPORATE ACTIONS                                   CORPORATE ACTIONS                                 CORPORATE ACTIONS                              CARLOS GOMEZ
101 HUDSON ST                                       101 HUDSON ST                                     101 HUDSON ST                                  101 HUDSON ST
JERSEY CITY NJ 07302                                JERSEY CITY NJ 07302                              JERSEY CITY NJ 07302                           JERSEY CITY NJ 07302
EARL.WEEKS@BAML.COM                                 KATELYN.BECK@BAML.COM                             CORPACTIONSPROXY@ML.COM                        CPACTIONSLITIGATION@ML.COM


032168P001-1488A-002F                               032168P001-1488A-002F                             032168P001-1488A-002F                          032171P001-1488A-002F
MERRILL LYNCH, PIERCE, FENNER AND SMITH             MERRILL LYNCH, PIERCE, FENNER AND SMITH           MERRILL LYNCH, PIERCE, FENNER AND SMITH        MERRILL LYNCH, PIERCE, FENNER AND SMITH, INC
STOCKLOAN HEDGE ACCOUNT                             STOCKLOAN HEDGE ACCOUNT                           STOCKLOAN HEDGE ACCOUNT                        FOREIGN SECURITY LENDING
CARLOS GOMEZ                                        CARLOS GOMEZ                                      CARLOS GOMEZ                                   ANTHONY STRAZZA
101 HUDSON ST                                       101 HUDSON ST                                     101 HUDSON ST                                  101 HUDSON ST
JERSEY CITY NJ 07302                                JERSEY CITY NJ 07302                              JERSEY CITY NJ 07302                           7TH FL
EARL.WEEKS@BAML.COM                                 KATELYN.BECK@BAML.COM                             CORPACTIONSPROXY@ML.COM                        NEW JERSEY NJ 07302
                                                                                                                                                     CPACTIONSLITIGATION@ML.COM

032171P001-1488A-002F                               032171P001-1488A-002F                             032171P001-1488A-002F                          032172P001-1488A-002F
MERRILL LYNCH, PIERCE, FENNER AND SMITH, INC        MERRILL LYNCH, PIERCE, FENNER AND SMITH, INC      MERRILL LYNCH, PIERCE, FENNER AND SMITH, INC   MESIROW FINANCIAL
FOREIGN SECURITY LENDING                            FOREIGN SECURITY LENDING                          FOREIGN SECURITY LENDING                       JOHN O'SHEA
ANTHONY STRAZZA                                     ANTHONY STRAZZA                                   ANTHONY STRAZZA                                353 NO CLARK ST
101 HUDSON ST                                       101 HUDSON ST                                     101 HUDSON ST                                  CHICAGO IL 60654
7TH FL                                              7TH FL                                            7TH FL                                         JOSHEA@MESIROWFINANCIAL.COM
NEW JERSEY NJ 07302                                 NEW JERSEY NJ 07302                               NEW JERSEY NJ 07302
EARL.WEEKS@BAML.COM                                 KATELYN.BECK@BAML.COM                             CORPACTIONSPROXY@ML.COM
                                     Case 22-90032 Document 69GWG  Holdings,
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032173P001-1488A-002F                     032173P001-1488A-002F                         032174P001-1488A-002F                   032175P001-1488A-002F
MESIROW FINANCIAL                         MESIROW FINANCIAL                             MESIROW FINANCIAL, INC                  MG TRUST CO
CORPORATE ACTIONS DEBORAH LYNE            CORPORATE ACTIONS DEBORAH LYNE                JONATHAN STANISLAW                      SUZANNE WALTERS
353 N CLARK ST                            353 N CLARK ST                                353 NORTH CLARK ST                      VICE PRESIDENT
CHICAGO IL 60654                          CHICAGO IL 60654                              CHICAGO IL 60654                        700 17TH ST
DLYNE@MESIROWFINANCIAL.COM                CLIENTSERVICES@MESIROWFINANCIAL.COM           JSTANISLAW@MESIROWFINANCIAL.COM         STE 200
                                                                                                                                DENVER CO 80202
                                                                                                                                SUZANNE.WALTERS@BROADRIDGE.COM

032176P001-1488A-002F                     032177P001-1488A-002F                         032178P001-1488A-002F                   032178P001-1488A-002F
MITSUBISHI UFJ SECURITIES USA, INC        MIZUHO SECURITIES USA INC                     MIZUHO SECURITIES USA LLC/              MIZUHO SECURITIES USA LLC/
CORPORATE ACTIONS                         GREG RAIA                                     MIZUHO CAPITAL MARKETS LLC - EQUITIES   MIZUHO CAPITAL MARKETS LLC - EQUITIES
1633 BROADWAY                             OPERATIONS                                    CORPORATE ACTIONS                       CORPORATE ACTIONS
NEW YORK NY 10019                         111 RIVER ST                                  111 RIVER ST                            111 RIVER ST
CORPACTIONS@US.SC.MUFG.JP                 HOBOKEN NJ 07030                              HOBOKEN NJ 07030                        HOBOKEN NJ 07030
                                          GREGORY.RAIA@US.MIZUHO-SC.COM                 GREGORY.RAIA@US.MIZUHO-SC.COM           RICHARD.VISCO@US.MIZUHO-SC.COM


032179P001-1488A-002F                     032179P001-1488A-002F                         032180P001-1488A-002F                   032181P001-1488A-002F
MIZUHO SECURITIES USA LLC/                MIZUHO SECURITIES USA LLC/                    MIZUHO SECURITIES USA/FIXED INCOME      MIZUHO TRUST AND BANKING CO USA
MIZUHO CAPITAL MARKETS LLC                MIZUHO CAPITAL MARKETS LLC                    RICH VISCO                              ROBERT DIMICK
CORPORATE ACTIONS                         CORPORATE ACTIONS                             DIRECTOR                                135 WEST 50TH ST
111 RIVER ST                              111 RIVER ST                                  111 RIVER ST                            16TH FL
HOBOKEN NJ 07030                          HOBOKEN NJ 07030                              STE 1100                                NEW YORK NY 10020
GREGORY.RAIA@US.MIZUHO-SC.COM             RICHARD.VISCO@US.MIZUHO-SC.COM                HOBOKEN NJ 07030                        RDIMICK@MHTNY.COM
                                                                                        RICHARD.VISCO@US.MIZUHO-SC.COM

032183P001-1488A-002F                     032183P001-1488A-002F                         032183P001-1488A-002F                   032183P001-1488A-002F
MORGAN STANLEY AND CO LLC                 MORGAN STANLEY AND CO LLC                     MORGAN STANLEY AND CO LLC               MORGAN STANLEY AND CO LLC
CORPORATE ACTIONS                         CORPORATE ACTIONS                             CORPORATE ACTIONS                       CORPORATE ACTIONS
1300 THAMES ST                            1300 THAMES ST                                1300 THAMES ST                          1300 THAMES ST
7TH FL                                    7TH FL                                        7TH FL                                  7TH FL
BALTIMORE MD 21231                        BALTIMORE MD 21231                            BALTIMORE MD 21231                      BALTIMORE MD 21231
PROXY.BALT@MS.COM                         PSCLASSACT@MS.COM                             CLASSACT@MS.COM                         PRODDATA@MORGANSTANLEY.COM


032183P001-1488A-002F                     032183P001-1488A-002F                         032183P001-1488A-002F                   032183P001-1488A-002F
MORGAN STANLEY AND CO LLC                 MORGAN STANLEY AND CO LLC                     MORGAN STANLEY AND CO LLC               MORGAN STANLEY AND CO LLC
CORPORATE ACTIONS                         CORPORATE ACTIONS                             CORPORATE ACTIONS                       CORPORATE ACTIONS
1300 THAMES ST                            1300 THAMES ST                                1300 THAMES ST                          1300 THAMES ST
7TH FL                                    7TH FL                                        7TH FL                                  7TH FL
BALTIMORE MD 21231                        BALTIMORE MD 21231                            BALTIMORE MD 21231                      BALTIMORE MD 21231
CLASSACT@MORGANSTANLEY.COM                PSCLASSACT@MORGANSTANLEY.COM                  SAMEER.SINHA@MORGANSTANLEY.COM          DEALSETUP@MORGANSTANLEY.COM


032183P001-1488A-002F                     032183P001-1488A-002F                         032184P001-1488A-002F                   032184P001-1488A-002F
MORGAN STANLEY AND CO LLC                 MORGAN STANLEY AND CO LLC                     MORGAN STANLEY AND CO LLC               MORGAN STANLEY AND CO LLC
CORPORATE ACTIONS                         CORPORATE ACTIONS                             CORP ACTIONS                            CORP ACTIONS
1300 THAMES ST                            1300 THAMES ST                                1300 THAMES ST                          1300 THAMES ST
7TH FL                                    7TH FL                                        7TH FL                                  7TH FL
BALTIMORE MD 21231                        BALTIMORE MD 21231                            BALTIMORE MD 21231                      BALTIMORE MD 21231
RAQUEL.DEL.MONTE@MORGANSTANLEY.COM        MARIA.CACOILO@MORGANSTANLEY.COM               PROXY.BALT@MS.COM                       PSCLASSACT@MS.COM
                                       Case 22-90032 Document 69GWG  Holdings,
                                                                  Filed in TXSBInc.,
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032184P001-1488A-002F                       032184P001-1488A-002F                          032184P001-1488A-002F                  032185P001-1488A-002F
MORGAN STANLEY AND CO LLC                   MORGAN STANLEY AND CO LLC                      MORGAN STANLEY AND CO LLC              MORGAN STANLEY AND CO LLC
CORP ACTIONS                                CORP ACTIONS                                   CORP ACTIONS                           MICHELLE FORD
1300 THAMES ST                              1300 THAMES ST                                 1300 THAMES ST                         901 SOUTH BOND ST
7TH FL                                      7TH FL                                         7TH FL                                 6TH FL
BALTIMORE MD 21231                          BALTIMORE MD 21231                             BALTIMORE MD 21231                     BALTIMORE MD 21231
CLASSACT@MS.COM                             PRODDATA@MORGANSTANLEY.COM                     CLASSACT@MORGANSTANLEY.COM             DEALSETUP@MORGANSTANLEY.COM


032185P001-1488A-002F                       032185P001-1488A-002F                          032185P001-1488A-002F                  032185P001-1488A-002F
MORGAN STANLEY AND CO LLC                   MORGAN STANLEY AND CO LLC                      MORGAN STANLEY AND CO LLC              MORGAN STANLEY AND CO LLC
MICHELLE FORD                               MICHELLE FORD                                  MICHELLE FORD                          MICHELLE FORD
901 SOUTH BOND ST                           901 SOUTH BOND ST                              901 SOUTH BOND ST                      901 SOUTH BOND ST
6TH FL                                      6TH FL                                         6TH FL                                 6TH FL
BALTIMORE MD 21231                          BALTIMORE MD 21231                             BALTIMORE MD 21231                     BALTIMORE MD 21231
RAQUEL.DEL.MONTE@MORGANSTANLEY.COM          MARIA.CACOILO@MORGANSTANLEY.COM                PSCLASSACT@MORGANSTANLEY.COM           PROXY.BALT@MS.COM


032185P001-1488A-002F                       032185P001-1488A-002F                          032185P001-1488A-002F                  032185P001-1488A-002F
MORGAN STANLEY AND CO LLC                   MORGAN STANLEY AND CO LLC                      MORGAN STANLEY AND CO LLC              MORGAN STANLEY AND CO LLC
MICHELLE FORD                               MICHELLE FORD                                  MICHELLE FORD                          MICHELLE FORD
901 SOUTH BOND ST                           901 SOUTH BOND ST                              901 SOUTH BOND ST                      901 SOUTH BOND ST
6TH FL                                      6TH FL                                         6TH FL                                 6TH FL
BALTIMORE MD 21231                          BALTIMORE MD 21231                             BALTIMORE MD 21231                     BALTIMORE MD 21231
PSCLASSACT@MS.COM                           CLASSACT@MS.COM                                PRODDATA@MORGANSTANLEY.COM             CLASSACT@MORGANSTANLEY.COM


032182P001-1488A-002F                       032182P001-1488A-002F                          032182P001-1488A-002F                  032182P001-1488A-002F
MORGAN STANLEY AND CO LLC/SL CONDUIT        MORGAN STANLEY AND CO LLC/SL CONDUIT           MORGAN STANLEY AND CO LLC/SL CONDUIT   MORGAN STANLEY AND CO LLC/SL CONDUIT
DAN SPADACCINI                              DAN SPADACCINI                                 DAN SPADACCINI                         DAN SPADACCINI
901 SOUTH BOND ST                           901 SOUTH BOND ST                              901 SOUTH BOND ST                      901 SOUTH BOND ST
6TH FL                                      6TH FL                                         6TH FL                                 6TH FL
BALTIMORE MD 21231                          BALTIMORE MD 21231                             BALTIMORE MD 21231                     BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                 RAQUEL.DEL.MONTE@MORGANSTANLEY.COM             MARIA.CACOILO@MORGANSTANLEY.COM        PROXY.BALT@MS.COM


032182P001-1488A-002F                       032182P001-1488A-002F                          032182P001-1488A-002F                  032182P001-1488A-002F
MORGAN STANLEY AND CO LLC/SL CONDUIT        MORGAN STANLEY AND CO LLC/SL CONDUIT           MORGAN STANLEY AND CO LLC/SL CONDUIT   MORGAN STANLEY AND CO LLC/SL CONDUIT
DAN SPADACCINI                              DAN SPADACCINI                                 DAN SPADACCINI                         DAN SPADACCINI
901 SOUTH BOND ST                           901 SOUTH BOND ST                              901 SOUTH BOND ST                      901 SOUTH BOND ST
6TH FL                                      6TH FL                                         6TH FL                                 6TH FL
BALTIMORE MD 21231                          BALTIMORE MD 21231                             BALTIMORE MD 21231                     BALTIMORE MD 21231
PSCLASSACT@MS.COM                           CLASSACT@MS.COM                                PRODDATA@MORGANSTANLEY.COM             CLASSACT@MORGANSTANLEY.COM


032186P001-1488A-002F                       032186P001-1488A-002F                          032186P001-1488A-002F                  032186P001-1488A-002F
MORGAN STANLEY AND CO LLCII                 MORGAN STANLEY AND CO LLCII                    MORGAN STANLEY AND CO LLCII            MORGAN STANLEY AND CO LLCII
DAN SPADACCINI                              DAN SPADACCINI                                 DAN SPADACCINI                         DAN SPADACCINI
901 SOUTH BOND ST                           901 SOUTH BOND ST                              901 SOUTH BOND ST                      901 SOUTH BOND ST
6TH FL                                      6TH FL                                         6TH FL                                 6TH FL
BALTIMORE MD 21231                          BALTIMORE MD 21231                             BALTIMORE MD 21231                     BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                 RAQUEL.DEL.MONTE@MORGANSTANLEY.COM             MARIA.CACOILO@MORGANSTANLEY.COM        PROXY.BALT@MS.COM
                                             Case 22-90032 Document 69GWG  Holdings,
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032186P001-1488A-002F                             032186P001-1488A-002F                         032186P001-1488A-002F                        032186P001-1488A-002F
MORGAN STANLEY AND CO LLCII                       MORGAN STANLEY AND CO LLCII                   MORGAN STANLEY AND CO LLCII                  MORGAN STANLEY AND CO LLCII
DAN SPADACCINI                                    DAN SPADACCINI                                DAN SPADACCINI                               DAN SPADACCINI
901 SOUTH BOND ST                                 901 SOUTH BOND ST                             901 SOUTH BOND ST                            901 SOUTH BOND ST
6TH FL                                            6TH FL                                        6TH FL                                       6TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
PSCLASSACT@MS.COM                                 CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM                   CLASSACT@MORGANSTANLEY.COM


032187P001-1488A-002F                             032187P001-1488A-002F                         032187P001-1488A-002F                        032187P001-1488A-002F
MORGAN STANLEY AND CO LLCIII                      MORGAN STANLEY AND CO LLCIII                  MORGAN STANLEY AND CO LLCIII                 MORGAN STANLEY AND CO LLCIII
DAN SPADACCINI                                    DAN SPADACCINI                                DAN SPADACCINI                               DAN SPADACCINI
901 SOUTH BOND ST                                 901 SOUTH BOND ST                             901 SOUTH BOND ST                            901 SOUTH BOND ST
6TH FL                                            6TH FL                                        6TH FL                                       6TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                       RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.CO               PROXY.BALT@MS.COM


032187P001-1488A-002F                             032187P001-1488A-002F                         032187P001-1488A-002F                        032187P001-1488A-002F
MORGAN STANLEY AND CO LLCIII                      MORGAN STANLEY AND CO LLCIII                  MORGAN STANLEY AND CO LLCIII                 MORGAN STANLEY AND CO LLCIII
DAN SPADACCINI                                    DAN SPADACCINI                                DAN SPADACCINI                               DAN SPADACCINI
901 SOUTH BOND ST                                 901 SOUTH BOND ST                             901 SOUTH BOND ST                            901 SOUTH BOND ST
6TH FL                                            6TH FL                                        6TH FL                                       6TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
PSCLASSACT@MS.COM                                 CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM                   CLASSACT@MORGANSTANLEY.COM


032188P001-1488A-002F                             032188P001-1488A-002F                         032188P001-1488A-002F                        032188P001-1488A-002F
MORGAN STANLEY AND CO LLCINTERNATIONAL PLC        MORGAN STANLEY AND CO LLCINTERNATIONAL PLC    MORGAN STANLEY AND CO LLCINTERNATIONAL PLC   MORGAN STANLEY AND CO LLCINTERNATIONAL PLC
CORPORATE ACTIONS                                 CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
901 SOUTH BOND ST                                 901 SOUTH BOND ST                             901 SOUTH BOND ST                            901 SOUTH BOND ST
6TH FL                                            6TH FL                                        6TH FL                                       6TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                       RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.COM              PROXY.BALT@MS.COM


032188P001-1488A-002F                             032188P001-1488A-002F                         032188P001-1488A-002F                        032188P001-1488A-002F
MORGAN STANLEY AND CO LLCINTERNATIONAL PLC        MORGAN STANLEY AND CO LLCINTERNATIONAL PLC    MORGAN STANLEY AND CO LLCINTERNATIONAL PLC   MORGAN STANLEY AND CO LLCINTERNATIONAL PLC
CORPORATE ACTIONS                                 CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
901 SOUTH BOND ST                                 901 SOUTH BOND ST                             901 SOUTH BOND ST                            901 SOUTH BOND ST
6TH FL                                            6TH FL                                        6TH FL                                       6TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
PSCLASSACT@MS.COM                                 CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM                   CLASSACT@MORGANSTANLEY.COM


032189P001-1488A-002F                             032189P001-1488A-002F                         032189P001-1488A-002F                        032189P001-1488A-002F
MORGAN STANLEY AND CO LLCINTERNATIONAL PLC        MORGAN STANLEY AND CO LLCINTERNATIONAL PLC    MORGAN STANLEY AND CO LLCINTERNATIONAL PLC   MORGAN STANLEY AND CO LLCINTERNATIONAL PLC
CORP ACTIONS                                      CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
1300 THAMES ST                                    1300 THAMES ST                                1300 THAMES ST                               1300 THAMES ST
7TH FL                                            7TH FL                                        7TH FL                                       7TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                       RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.COM              PROXY.BALT@MS.COM
                                             Case 22-90032 Document 69GWG  Holdings,
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032189P001-1488A-002F                             032189P001-1488A-002F                         032189P001-1488A-002F                        032189P001-1488A-002F
MORGAN STANLEY AND CO LLCINTERNATIONAL PLC        MORGAN STANLEY AND CO LLCINTERNATIONAL PLC    MORGAN STANLEY AND CO LLCINTERNATIONAL PLC   MORGAN STANLEY AND CO LLCINTERNATIONAL PLC
CORP ACTIONS                                      CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
1300 THAMES ST                                    1300 THAMES ST                                1300 THAMES ST                               1300 THAMES ST
7TH FL                                            7TH FL                                        7TH FL                                       7TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
PSCLASSACT@MS.COM                                 CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM                   CLASSACT@MORGANSTANLEY.COM


032190P001-1488A-002F                             032190P001-1488A-002F                         032190P001-1488A-002F                        032190P001-1488A-002F
MORGAN STANLEY BANK, NA                           MORGAN STANLEY BANK, NA                       MORGAN STANLEY BANK, NA                      MORGAN STANLEY BANK, NA
GLENN PIZER                                       GLENN PIZER                                   GLENN PIZER                                  GLENN PIZER
EXECUTIVE DIRECTOR                                EXECUTIVE DIRECTOR                            EXECUTIVE DIRECTOR                           EXECUTIVE DIRECTOR
ONE PIERREPONT PLZ                                ONE PIERREPONT PLZ                            ONE PIERREPONT PLZ                           ONE PIERREPONT PLZ
OPERATIONS/SETTLEMENTS                            OPERATIONS/SETTLEMENTS                        OPERATIONS/SETTLEMENTS                       OPERATIONS/SETTLEMENTS
BROOKLYN NY 11201                                 BROOKLYN NY 11201                             BROOKLYN NY 11201                            BROOKLYN NY 11201
DEALSETUP@MORGANSTANLEY.COM                       RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.COM              PROXY.BALT@MS.COM

032190P001-1488A-002F                             032190P001-1488A-002F                         032190P001-1488A-002F                        032190P001-1488A-002F
MORGAN STANLEY BANK, NA                           MORGAN STANLEY BANK, NA                       MORGAN STANLEY BANK, NA                      MORGAN STANLEY BANK, NA
GLENN PIZER                                       GLENN PIZER                                   GLENN PIZER                                  GLENN PIZER
EXECUTIVE DIRECTOR                                EXECUTIVE DIRECTOR                            EXECUTIVE DIRECTOR                           EXECUTIVE DIRECTOR
ONE PIERREPONT PLZ                                ONE PIERREPONT PLZ                            ONE PIERREPONT PLZ                           ONE PIERREPONT PLZ
OPERATIONS/SETTLEMENTS                            OPERATIONS/SETTLEMENTS                        OPERATIONS/SETTLEMENTS                       OPERATIONS/SETTLEMENTS
BROOKLYN NY 11201                                 BROOKLYN NY 11201                             BROOKLYN NY 11201                            BROOKLYN NY 11201
PSCLASSACT@MS.COM                                 CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM                   CLASSACT@MORGANSTANLEY.COM

032191P001-1488A-002F                             032191P001-1488A-002F                         032191P001-1488A-002F                        032191P001-1488A-002F
MORGAN STANLEY PRIVATE BANK,                      MORGAN STANLEY PRIVATE BANK,                  MORGAN STANLEY PRIVATE BANK,                 MORGAN STANLEY PRIVATE BANK,
NATIONAL ASSOCIATION/#2                           NATIONAL ASSOCIATION/#2                       NATIONAL ASSOCIATION/#2                      NATIONAL ASSOCIATION/#2
1300 THAMES ST                                    1300 THAMES ST                                1300 THAMES ST                               1300 THAMES ST
7TH FL                                            7TH FL                                        7TH FL                                       7TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                       RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.COM              PROXY.BALT@MS.COM


032191P001-1488A-002F                             032191P001-1488A-002F                         032191P001-1488A-002F                        032191P001-1488A-002F
MORGAN STANLEY PRIVATE BANK,                      MORGAN STANLEY PRIVATE BANK,                  MORGAN STANLEY PRIVATE BANK,                 MORGAN STANLEY PRIVATE BANK,
NATIONAL ASSOCIATION/#2                           NATIONAL ASSOCIATION/#2                       NATIONAL ASSOCIATION/#2                      NATIONAL ASSOCIATION/#2
1300 THAMES ST                                    1300 THAMES ST                                1300 THAMES ST                               1300 THAMES ST
7TH FL                                            7TH FL                                        7TH FL                                       7TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
PSCLASSACT@MS.COM                                 CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM                   CLASSACT@MORGANSTANLEY.COM


032192P001-1488A-002F                             032192P001-1488A-002F                         032192P001-1488A-002F                        032192P001-1488A-002F
MORGAN STANLEY PRIVATE BANK,                      MORGAN STANLEY PRIVATE BANK,                  MORGAN STANLEY PRIVATE BANK,                 MORGAN STANLEY PRIVATE BANK,
NATIONAL ASSOCIATION                              NATIONAL ASSOCIATION                          NATIONAL ASSOCIATION                         NATIONAL ASSOCIATION
CORP ACTION                                       CORP ACTION                                   CORP ACTION                                  CORP ACTION
1300 THAMES ST                                    1300 THAMES ST                                1300 THAMES ST                               1300 THAMES ST
7TH FL                                            7TH FL                                        7TH FL                                       7TH FL
BALTIMORE MD 21231                                BALTIMORE MD 21231                            BALTIMORE MD 21231                           BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                       RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.COM              PROXY.BALT@MS.COM
                                      Case 22-90032 Document 69GWG  Holdings,
                                                                 Filed in TXSBInc.,
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032192P001-1488A-002F                      032192P001-1488A-002F                         032192P001-1488A-002F                 032192P001-1488A-002F
MORGAN STANLEY PRIVATE BANK,               MORGAN STANLEY PRIVATE BANK,                  MORGAN STANLEY PRIVATE BANK,          MORGAN STANLEY PRIVATE BANK,
NATIONAL ASSOCIATION                       NATIONAL ASSOCIATION                          NATIONAL ASSOCIATION                  NATIONAL ASSOCIATION
CORP ACTION                                CORP ACTION                                   CORP ACTION                           CORP ACTION
1300 THAMES ST                             1300 THAMES ST                                1300 THAMES ST                        1300 THAMES ST
7TH FL                                     7TH FL                                        7TH FL                                7TH FL
BALTIMORE MD 21231                         BALTIMORE MD 21231                            BALTIMORE MD 21231                    BALTIMORE MD 21231
PSCLASSACT@MS.COM                          CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM            CLASSACT@MORGANSTANLEY.COM

032193P001-1488A-002F                      032193P001-1488A-002F                         032193P001-1488A-002F                 032193P001-1488A-002F
MORGAN STANLEY SMITH BARNEY LLC            MORGAN STANLEY SMITH BARNEY LLC               MORGAN STANLEY SMITH BARNEY LLC       MORGAN STANLEY SMITH BARNEY LLC
JOHN BARRY                                 JOHN BARRY                                    JOHN BARRY                            JOHN BARRY
1300 THAMES ST                             1300 THAMES ST                                1300 THAMES ST                        1300 THAMES ST
6TH FL                                     6TH FL                                        6TH FL                                6TH FL
BALTIMORE MD 21231                         BALTIMORE MD 21231                            BALTIMORE MD 21231                    BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.COM       PROXY.BALT@MS.COM


032193P001-1488A-002F                      032193P001-1488A-002F                         032193P001-1488A-002F                 032193P001-1488A-002F
MORGAN STANLEY SMITH BARNEY LLC            MORGAN STANLEY SMITH BARNEY LLC               MORGAN STANLEY SMITH BARNEY LLC       MORGAN STANLEY SMITH BARNEY LLC
JOHN BARRY                                 JOHN BARRY                                    JOHN BARRY                            JOHN BARRY
1300 THAMES ST                             1300 THAMES ST                                1300 THAMES ST                        1300 THAMES ST
6TH FL                                     6TH FL                                        6TH FL                                6TH FL
BALTIMORE MD 21231                         BALTIMORE MD 21231                            BALTIMORE MD 21231                    BALTIMORE MD 21231
PSCLASSACT@MS.COM                          CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM            CLASSACT@MORGANSTANLEY.COM


032194P001-1488A-002F                      032194P001-1488A-002F                         032194P001-1488A-002F                 032194P001-1488A-002F
MORGAN STANLEY SMITH BARNEY LLC/FPL        MORGAN STANLEY SMITH BARNEY LLC/FPL           MORGAN STANLEY SMITH BARNEY LLC/FPL   MORGAN STANLEY SMITH BARNEY LLC/FPL
JOHN BARRY                                 JOHN BARRY                                    JOHN BARRY                            JOHN BARRY
1300 THAMES ST                             1300 THAMES ST                                1300 THAMES ST                        1300 THAMES ST
6TH FL                                     6TH FL                                        6TH FL                                6TH FL
BALTIMORE MD 21231                         BALTIMORE MD 21231                            BALTIMORE MD 21231                    BALTIMORE MD 21231
DEALSETUP@MORGANSTANLEY.COM                RAQUEL.DEL.MONTE@MORGANSTANLEY.COM            MARIA.CACOILO@MORGANSTANLEY.COM       PROXY.BALT@MS.COM


032194P001-1488A-002F                      032194P001-1488A-002F                         032194P001-1488A-002F                 032194P001-1488A-002F
MORGAN STANLEY SMITH BARNEY LLC/FPL        MORGAN STANLEY SMITH BARNEY LLC/FPL           MORGAN STANLEY SMITH BARNEY LLC/FPL   MORGAN STANLEY SMITH BARNEY LLC/FPL
JOHN BARRY                                 JOHN BARRY                                    JOHN BARRY                            JOHN BARRY
1300 THAMES ST                             1300 THAMES ST                                1300 THAMES ST                        1300 THAMES ST
6TH FL                                     6TH FL                                        6TH FL                                6TH FL
BALTIMORE MD 21231                         BALTIMORE MD 21231                            BALTIMORE MD 21231                    BALTIMORE MD 21231
PSCLASSACT@MS.COM                          CLASSACT@MS.COM                               PRODDATA@MORGANSTANLEY.COM            CLASSACT@MORGANSTANLEY.COM


032195P001-1488A-002F                      032195P001-1488A-002F                         032195P001-1488A-002F                 032196P001-1488A-002F
MUFG UNION BANK, NA                        MUFG UNION BANK, NA                           MUFG UNION BANK, NA                   MUFG UNION BANK, NA
CORPORATE ACTIONS CLAIMS MANAGEMENT        CORPORATE ACTIONS CLAIMS MANAGEMENT           CORPORATE ACTIONS CLAIMS MANAGEMENT   MAGGI BOUTELLE
11121 CARMEL COMMONS BLVD                  11121 CARMEL COMMONS BLVD                     11121 CARMEL COMMONS BLVD             530 B ST STE 204
STE 370                                    STE 370                                       STE 370                               SAN DIEGO CA 92101
CHARLOTTE NC 28226-4561                    CHARLOTTE NC 28226-4561                       CHARLOTTE NC 28226-4561               REMEDIOS.CUEVAS@UNIONBANK.COM
REMEDIOS.CUEVAS@UNIONBANK.COM              CLASS_ACTION_OPS@UNIONBANK.COM                MIKE.EGAN@SECURITIESCLAIMS.COM
                                      Case 22-90032 Document 69GWG  Holdings,
                                                                 Filed in TXSBInc.,
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032196P001-1488A-002F                      032196P001-1488A-002F                    032197P001-1488A-002F                032198P001-1488A-002F
MUFG UNION BANK, NA                        MUFG UNION BANK, NA                      MUFG UNION BANK, NACAPITAL MARKETS   MUFG UNION BANK, NACORPORATE TRUSTIPA
MAGGI BOUTELLE                             MAGGI BOUTELLE                           CARLETTA MIZELL                      CORA SERRANO
530 B ST STE 204                           530 B ST STE 204                         445 S FIGUEROA ST                    VICE PRESIDENT
SAN DIEGO CA 92101                         SAN DIEGO CA 92101                       G21-101                              120 SOUTH SAN PEDRO ST
CLASS_ACTION_OPS@UNIONBANK.COM             MIKE.EGAN@SECURITIESCLAIMS.COM           LOS ANGELES CA 90071                 STE 410
                                                                                    CARLETTA.MIZELL@UNIONBANK.COM        LOS ANGELES CA 90012
                                                                                                                         CORA.SERRANO@UBOC.COM

032199P001-1488A-002F                      032200P001-1488A-002F                    032201P001-1488A-002F                032202P001-1488A-002F
NASDAQ EXECUTION SERVICES, LLPTIONS        NASDAQ OMX BX, INC                       NASDAQ OMX PHLX LLC                  NASDAQ STOCK MARKET LLMNIBUS ACCOUNT
VINCENT DIVITO                             VINCENT DIVITO                           VIN DIVITO                           VINCENT DIVITO
DIRECTOR                                   DIRECTOR                                 1900 MARKET ST                       DIRECTOR
165 BROADWAY                               ONE LIBERTY PLZ                          PHILADELPHIA PA 19103                ONE LIBERTY PLZ
51ST FL                                    51ST FL                                  VINCENT.DIVITO@NASDAQOMX.COM         NEW YORK NY 10006
NEW YORK NY 10006                          NEW YORK NY 10006                                                             VINCENT.DIVITO@NASDAQOMX.COM
VINCENT.DIVITO@NASDAQOMX.COM               VINCENT.DIVITO@NASDAQOMX.COM

032203P001-1488A-002F                      032203P001-1488A-002F                    032203P001-1488A-002F                032203P001-1488A-002F
NATIONAL FINANCIAL SVC LLC                 NATIONAL FINANCIAL SVC LLC               NATIONAL FINANCIAL SVC LLC           NATIONAL FINANCIAL SVC LLC
PETER CLOSS                                PETER CLOSS                              PETER CLOSS                          PETER CLOSS
499 WASHINGTON BLVD                        499 WASHINGTON BLVD                      499 WASHINGTON BLVD                  499 WASHINGTON BLVD
JERSEY CITY NJ 07310                       JERSEY CITY NJ 07310                     JERSEY CITY NJ 07310                 JERSEY CITY NJ 07310
PETER.CLOSS@FMR.COM                        LISA.GANESH@FMR.COM                      SEAN.MCDONOUGH@FMR.COM               JASON.DRESS@FMR.COM




032203P001-1488A-002F                      032203P001-1488A-002F                    032203P001-1488A-002F                032203P001-1488A-002F
NATIONAL FINANCIAL SVC LLC                 NATIONAL FINANCIAL SVC LLC               NATIONAL FINANCIAL SVC LLC           NATIONAL FINANCIAL SVC LLC
PETER CLOSS                                PETER CLOSS                              PETER CLOSS                          PETER CLOSS
499 WASHINGTON BLVD                        499 WASHINGTON BLVD                      499 WASHINGTON BLVD                  499 WASHINGTON BLVD
JERSEY CITY NJ 07310                       JERSEY CITY NJ 07310                     JERSEY CITY NJ 07310                 JERSEY CITY NJ 07310
ROHAN.ROSE@FMR.COM                         JOHN.SPURWAY@FMR.COM                     GERARDO.FLEITES@FMR.COM              ROB.DAY@FMR.COM




032204P001-1488A-002F                      032204P001-1488A-002F                    032204P001-1488A-002F                032204P001-1488A-002F
NATIONAL FINANCIAL SVC LLC                 NATIONAL FINANCIAL SVC LLC               NATIONAL FINANCIAL SVC LLC           NATIONAL FINANCIAL SVC LLC
CORP ACTIONS                               CORP ACTIONS                             CORP ACTIONS                         CORP ACTIONS
200 SEAPORT BLVD Z1B                       200 SEAPORT BLVD Z1B                     200 SEAPORT BLVD Z1B                 200 SEAPORT BLVD Z1B
BOSTON MA 02210                            BOSTON MA 02210                          BOSTON MA 02210                      BOSTON MA 02210
PETER.CLOSS@FMR.COM                        LISA.GANESH@FMR.COM                      SEAN.MCDONOUGH@FMR.COM               JASON.DRESS@FMR.COM




032204P001-1488A-002F                      032204P001-1488A-002F                    032204P001-1488A-002F                032204P001-1488A-002F
NATIONAL FINANCIAL SVC LLC                 NATIONAL FINANCIAL SVC LLC               NATIONAL FINANCIAL SVC LLC           NATIONAL FINANCIAL SVC LLC
CORP ACTIONS                               CORP ACTIONS                             CORP ACTIONS                         CORP ACTIONS
200 SEAPORT BLVD Z1B                       200 SEAPORT BLVD Z1B                     200 SEAPORT BLVD Z1B                 200 SEAPORT BLVD Z1B
BOSTON MA 02210                            BOSTON MA 02210                          BOSTON MA 02210                      BOSTON MA 02210
ROHAN.ROSE@FMR.COM                         JOHN.SPURWAY@FMR.COM                     GERARDO.FLEITES@FMR.COM              ROB.DAY@FMR.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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032205P001-1488A-002F                          032206P001-1488A-002F                         032207P001-1488A-002F                         032207P001-1488A-002F
NBCN INC 2CDS**                                NEEDHAM AND COMPANY, LLC                      NOMURA SECURITIES/FIXED INCOME                NOMURA SECURITIES/FIXED INCOME
ANNIE MAH                                      MATTHEW F DE NICOLA                           ADRIAN ROCCO                                  ADRIAN ROCCO
ASSISTANT VICE PRESIDENT                       CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS
85 RICHMOND ST WEST                            445 PK AVE                                    309 W 49TH ST                                 309 W 49TH ST
TORONTO ON ON500000                            NEW YORK NY 10022                             10TH FL                                       10TH FL
CANADA                                         MDENICOLA@NEEDHAMCO.COM                       NEW YORK NY 10019-7316                        NEW YORK NY 10019-7316
AMAH@CDS.CA                                                                                  DANIEL.LYNCH@NOMURA.COM                       ADRIAN.ROCCO@NOMURA.COM

032208P001-1488A-002F                          032209P001-1488A-002F                         032209P001-1488A-002F                         032209P001-1488A-002F
NOMURA SECURITIES/FIXED INCOME                 NORTHERN TRUST CO                             NORTHERN TRUST CO                             NORTHERN TRUST CO
DAN LYNCH                                      OCH-ZIFF CAPITAL MANAGEMENT                   OCH-ZIFF CAPITAL MANAGEMENT                   OCH-ZIFF CAPITAL MANAGEMENT
VICE PRESIDENT                                 PENNY PETERSON                                PENNY PETERSON                                PENNY PETERSON
2 WORLD FINANCIAL CTR                          50 SLASALLE ST                                50 SLASALLE ST                                50 SLASALLE ST
BLDG B                                         CHICAGO IL 60675                              CHICAGO IL 60675                              CHICAGO IL 60675
NEW YORK NY 10281                              PK5@NTRS.COM                                  CLASS_ACTION_PROXY_TEAM@NTRS.COM              US_VOLUNTARY_CORPACTIONS@NTRS.COM
DANIEL.LYNCH@NOMURA.COM

032209P001-1488A-002F                          032209P001-1488A-002F                         032209P001-1488A-002F                         032210P001-1488A-002F
NORTHERN TRUST CO                              NORTHERN TRUST CO                             NORTHERN TRUST CO                             NORTHERN TRUST CO - SAFEKEEPING
OCH-ZIFF CAPITAL MANAGEMENT                    OCH-ZIFF CAPITAL MANAGEMENT                   OCH-ZIFF CAPITAL MANAGEMENT                   SUE STIMAC
PENNY PETERSON                                 PENNY PETERSON                                PENNY PETERSON                                50 SOUTH LASALLE ST LEVEL A
50 SLASALLE ST                                 50 SLASALLE ST                                50 SLASALLE ST                                CHICAGO IL 60675
CHICAGO IL 60675                               CHICAGO IL 60675                              CHICAGO IL 60675                              PK5@NTRS.COM
KEG2@NTRS.COM                                  DR65@NTRS.COM                                 CS_NOTIFICATIONS@NTRS.COM


032210P001-1488A-002F                          032210P001-1488A-002F                         032210P001-1488A-002F                         032210P001-1488A-002F
NORTHERN TRUST CO - SAFEKEEPING                NORTHERN TRUST CO - SAFEKEEPING               NORTHERN TRUST CO - SAFEKEEPING               NORTHERN TRUST CO - SAFEKEEPING
SUE STIMAC                                     SUE STIMAC                                    SUE STIMAC                                    SUE STIMAC
50 SOUTH LASALLE ST LEVEL A                    50 SOUTH LASALLE ST LEVEL A                   50 SOUTH LASALLE ST LEVEL A                   50 SOUTH LASALLE ST LEVEL A
CHICAGO IL 60675                               CHICAGO IL 60675                              CHICAGO IL 60675                              CHICAGO IL 60675
CLASS_ACTION_PROXY_TEAM@NTRS.COM               US_VOLUNTARY_CORPACTIONS@NTRS.COM             KEG2@NTRS.COM                                 DR65@NTRS.COM




032210P001-1488A-002F                          032211P001-1488A-002F                         032211P001-1488A-002F                         032211P001-1488A-002F
NORTHERN TRUST CO - SAFEKEEPING                NORTHERN TRUST COMPANY/FUTURE FUND ACCOUNTS   NORTHERN TRUST COMPANY/FUTURE FUND ACCOUNTS   NORTHERN TRUST COMPANY/FUTURE FUND ACCOUNTS
SUE STIMAC                                     PENNY PETERSON                                PENNY PETERSON                                PENNY PETERSON
50 SOUTH LASALLE ST LEVEL A                    SENIOR VICE PRESIDENT                         SENIOR VICE PRESIDENT                         SENIOR VICE PRESIDENT
CHICAGO IL 60675                               50 SLASALLE ST                                50 SLASALLE ST                                50 SLASALLE ST
CS_NOTIFICATIONS@NTRS.COM                      CHICAGO IL 60675                              CHICAGO IL 60675                              CHICAGO IL 60675
                                               PAP3@NTRS.COM                                 PK5@NTRS.COM                                  CLASS_ACTION_PROXY_TEAM@NTRS.COM


032211P001-1488A-002F                          032211P001-1488A-002F                         032211P001-1488A-002F                         032211P001-1488A-002F
NORTHERN TRUST COMPANY/FUTURE FUND ACCOUNTS    NORTHERN TRUST COMPANY/FUTURE FUND ACCOUNTS   NORTHERN TRUST COMPANY/FUTURE FUND ACCOUNTS   NORTHERN TRUST COMPANY/FUTURE FUND ACCOUNTS
PENNY PETERSON                                 PENNY PETERSON                                PENNY PETERSON                                PENNY PETERSON
SENIOR VICE PRESIDENT                          SENIOR VICE PRESIDENT                         SENIOR VICE PRESIDENT                         SENIOR VICE PRESIDENT
50 SLASALLE ST                                 50 SLASALLE ST                                50 SLASALLE ST                                50 SLASALLE ST
CHICAGO IL 60675                               CHICAGO IL 60675                              CHICAGO IL 60675                              CHICAGO IL 60675
US_VOLUNTARY_CORPACTIONS@NTRS.COM              KEG2@NTRS.COM                                 DR65@NTRS.COM                                 CS_NOTIFICATIONS@NTRS.COM
                                       Case 22-90032 Document 69GWG  Holdings,
                                                                  Filed in TXSBInc.,
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032212P001-1488A-002F                       032212P001-1488A-002F                          032212P001-1488A-002F                  032212P001-1488A-002F
NORTHERN TRUST COMPANY/IPA                  NORTHERN TRUST COMPANY/IPA                     NORTHERN TRUST COMPANY/IPA             NORTHERN TRUST COMPANY/IPA
PENNY PETERSON                              PENNY PETERSON                                 PENNY PETERSON                         PENNY PETERSON
50 SLASALLE ST                              50 SLASALLE ST                                 50 SLASALLE ST                         50 SLASALLE ST
CHICAGO IL 60675                            CHICAGO IL 60675                               CHICAGO IL 60675                       CHICAGO IL 60675
PK5@NTRS.COM                                CLASS_ACTION_PROXY_TEAM@NTRS.COM               US_VOLUNTARY_CORPACTIONS@NTRS.COM      KEG2@NTRS.COM




032212P001-1488A-002F                       032212P001-1488A-002F                          032213P001-1488A-002F                  032213P001-1488A-002F
NORTHERN TRUST COMPANY/IPA                  NORTHERN TRUST COMPANY/IPA                     NORTHERN TRUST COMPANY/UNITED NATION   NORTHERN TRUST COMPANY/UNITED NATION
PENNY PETERSON                              PENNY PETERSON                                 JOE SWANSON                            JOE SWANSON
50 SLASALLE ST                              50 SLASALLE ST                                 VICE PRESIDENT                         VICE PRESIDENT
CHICAGO IL 60675                            CHICAGO IL 60675                               801 S CANAL C-IN                       801 S CANAL C-IN
DR65@NTRS.COM                               CS_NOTIFICATIONS@NTRS.COM                      CHICAGO IL 60607                       CHICAGO IL 60607
                                                                                           PK5@NTRS.COM                           CLASS_ACTION_PROXY_TEAM@NTRS.COM


032213P001-1488A-002F                       032213P001-1488A-002F                          032213P001-1488A-002F                  032213P001-1488A-002F
NORTHERN TRUST COMPANY/UNITED NATION        NORTHERN TRUST COMPANY/UNITED NATION           NORTHERN TRUST COMPANY/UNITED NATION   NORTHERN TRUST COMPANY/UNITED NATION
JOE SWANSON                                 JOE SWANSON                                    JOE SWANSON                            JOE SWANSON
VICE PRESIDENT                              VICE PRESIDENT                                 VICE PRESIDENT                         VICE PRESIDENT
801 S CANAL C-IN                            801 S CANAL C-IN                               801 S CANAL C-IN                       801 S CANAL C-IN
CHICAGO IL 60607                            CHICAGO IL 60607                               CHICAGO IL 60607                       CHICAGO IL 60607
US_VOLUNTARY_CORPACTIONS@NTRS.COM           KEG2@NTRS.COM                                  DR65@NTRS.COM                          CS_NOTIFICATIONS@NTRS.COM


032214P001-1488A-002F                       032215P001-1488A-002F                          032216P001-1488A-002F                  032216P001-1488A-002F
NYSE ARCA, INC                              ODLUM BROWN LIMITED/CDS**                      OPPENHEIMER AND CO INC                 OPPENHEIMER AND CO INC
NADINE PURDON                               RON RAK                                        CORPORATE ACTIONS                      CORPORATE ACTIONS
VICE PRESIDENT                              SUPERVISOR                                     85 BROAD ST                            85 BROAD ST
115 SANSOME ST                              250 HOWE ST                                    NEW YORK NY 10004                      NEW YORK NY 10004
SAN FRANCISCO CA 94104                      STE 1100                                       GUILLERMO.GONZALEZ@OPCO.COM            COLIN.SANDY@OPCO.COM
NPURDON@PACIFICEX.COM                       VANCOUVER V6C 3SBC
                                            CANADA
                                            RRAK@ODLUMBROWN.COM
032216P001-1488A-002F                       032216P001-1488A-002F                          032216P001-1488A-002F                  032217P001-1488A-002F
OPPENHEIMER AND CO INC                      OPPENHEIMER AND CO INC                         OPPENHEIMER AND CO INC                 OPTIONSXPRESS, INC
CORPORATE ACTIONS                           CORPORATE ACTIONS                              CORPORATE ACTIONS                      PROXY SVC
85 BROAD ST                                 85 BROAD ST                                    85 BROAD ST                            150 S WACKER DR
NEW YORK NY 10004                           NEW YORK NY 10004                              NEW YORK NY 10004                      STE 1100
REORG@OPCO.COM                              KENYA.WHITE@OPCO.COM                           FRAN.BANSON@OPCO.COM                   CHICAGO IL 60606
                                                                                                                                  PROXYSERVICES@OPTIONSXPRESS.COM


032217P001-1488A-002F                       032217P001-1488A-002F                          032218P001-1488A-002F                  032219P001-1488A-002F
OPTIONSXPRESS, INC                          OPTIONSXPRESS, INC                             OPTIONSXPRESS, INC                     PENSCO TRUST CO
PROXY SVC                                   PROXY SVC                                      SCOTT TORTORELLA                       PETAL YOUNG
150 S WACKER DR                             150 S WACKER DR                                150 SOUTH WACKER DR                    1560 BROADWAY ST
STE 1100                                    STE 1100                                       11TH FL                                STE 400
CHICAGO IL 60606                            CHICAGO IL 60606                               CHICAGO IL 60606                       DENVER CO 80202
CCANNING@OPTIONSXPRESS.COM                  STORTORELLA@OPTIONSXPRESS.COM                  CORPORATEACTIONS@OPTIONSXPRESS.COM     PETAL.YOUNG@PENSCO.COM
                                         Case 22-90032 Document 69GWG  Holdings,
                                                                    Filed in TXSBInc.,
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032220P001-1488A-002F                         032220P001-1488A-002F                       032220P001-1488A-002F                        032220P001-1488A-002F
PERSHING LLC                                  PERSHING LLC                                PERSHING LLC                                 PERSHING LLC
JOSEPH LAVARA                                 JOSEPH LAVARA                               JOSEPH LAVARA                                JOSEPH LAVARA
ONE PERSHING PLZ                              ONE PERSHING PLZ                            ONE PERSHING PLZ                             ONE PERSHING PLZ
JERSEY CITY NJ 07399                          JERSEY CITY NJ 07399                        JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399
MARIA.RUIZ-MARTINEZ@PERSHING.COM              VOLUNTARYANDSETUPS@PERSHING.COM             PERSHINGCORPORATEACTIONSPROXY@PERSHING.COM   CHENICE.BRINSON@PERSHING.COM




032220P001-1488A-002F                         032220P001-1488A-002F                       032220P001-1488A-002F                        032220P001-1488A-002F
PERSHING LLC                                  PERSHING LLC                                PERSHING LLC                                 PERSHING LLC
JOSEPH LAVARA                                 JOSEPH LAVARA                               JOSEPH LAVARA                                JOSEPH LAVARA
ONE PERSHING PLZ                              ONE PERSHING PLZ                            ONE PERSHING PLZ                             ONE PERSHING PLZ
JERSEY CITY NJ 07399                          JERSEY CITY NJ 07399                        JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399
TIFFANY.WILLIAMS@PERSHING.COM                 PERSHINGCORPORATEACTIONS@PERSHING.COM       JLAVARA@PERSHING.COM                         CHARLENE.POLDEN@PERSHING.COM




032220P001-1488A-002F                         032221P001-1488A-002F                       032221P001-1488A-002F                        032221P001-1488A-002F
PERSHING LLC                                  PERSHING LLC                                PERSHING LLC                                 PERSHING LLC
JOSEPH LAVARA                                 TIFFANY WILLIAMS                            TIFFANY WILLIAMS                             TIFFANY WILLIAMS
ONE PERSHING PLZ                              CORPORATE ACTIONS                           CORPORATE ACTIONS                            CORPORATE ACTIONS
JERSEY CITY NJ 07399                          ONE PERSHING PLZ                            ONE PERSHING PLZ                             ONE PERSHING PLZ
KRISTIE.MEDICH@PERSHING.COM                   10TH FL                                     10TH FL                                      10TH FL
                                              JERSEY CITY NJ 07399                        JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399
                                              MARIA.RUIZ-MARTINEZ@PERSHING.COM            VOLUNTARYANDSETUPS@PERSHING.COM              PERSHINGCORPORATEACTIONSPROXY@PERSHING.COM

032221P001-1488A-002F                         032221P001-1488A-002F                       032221P001-1488A-002F                        032221P001-1488A-002F
PERSHING LLC                                  PERSHING LLC                                PERSHING LLC                                 PERSHING LLC
TIFFANY WILLIAMS                              TIFFANY WILLIAMS                            TIFFANY WILLIAMS                             TIFFANY WILLIAMS
CORPORATE ACTIONS                             CORPORATE ACTIONS                           CORPORATE ACTIONS                            CORPORATE ACTIONS
ONE PERSHING PLZ                              ONE PERSHING PLZ                            ONE PERSHING PLZ                             ONE PERSHING PLZ
10TH FL                                       10TH FL                                     10TH FL                                      10TH FL
JERSEY CITY NJ 07399                          JERSEY CITY NJ 07399                        JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399
CHENICE.BRINSON@PERSHING.COM                  TIFFANY.WILLIAMS@PERSHING.COM               PERSHINGCORPORATEACTIONS@PERSHING.COM        JLAVARA@PERSHING.COM

032221P001-1488A-002F                         032221P001-1488A-002F                       032222P001-1488A-002F                        032222P001-1488A-002F
PERSHING LLC                                  PERSHING LLC                                PERSHING LLC/CLIENT FINANCING                PERSHING LLC/CLIENT FINANCING
TIFFANY WILLIAMS                              TIFFANY WILLIAMS                            CORPORATE ACTIONS                            CORPORATE ACTIONS
CORPORATE ACTIONS                             CORPORATE ACTIONS                           ONE PERSHING PLZ                             ONE PERSHING PLZ
ONE PERSHING PLZ                              ONE PERSHING PLZ                            JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399
10TH FL                                       10TH FL                                     MARIA.RUIZ-MARTINEZ@PERSHING.COM             VOLUNTARYANDSETUPS@PERSHING.COM
JERSEY CITY NJ 07399                          JERSEY CITY NJ 07399
CHARLENE.POLDEN@PERSHING.COM                  KRISTIE.MEDICH@PERSHING.COM

032222P001-1488A-002F                         032222P001-1488A-002F                       032222P001-1488A-002F                        032222P001-1488A-002F
PERSHING LLC/CLIENT FINANCING                 PERSHING LLC/CLIENT FINANCING               PERSHING LLC/CLIENT FINANCING                PERSHING LLC/CLIENT FINANCING
CORPORATE ACTIONS                             CORPORATE ACTIONS                           CORPORATE ACTIONS                            CORPORATE ACTIONS
ONE PERSHING PLZ                              ONE PERSHING PLZ                            ONE PERSHING PLZ                             ONE PERSHING PLZ
JERSEY CITY NJ 07399                          JERSEY CITY NJ 07399                        JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399
PERSHINGCORPORATEACTIONSPROXY@PERSHING.COM    CHENICE.BRINSON@PERSHING.COM                TIFFANY.WILLIAMS@PERSHING.COM                PERSHINGCORPORATEACTIONS@PERSHING.COM
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032222P001-1488A-002F                            032222P001-1488A-002F                           032222P001-1488A-002F                           032223P001-1488A-002F
PERSHING LLC/CLIENT FINANCING                    PERSHING LLC/CLIENT FINANCING                   PERSHING LLC/CLIENT FINANCING                   PERSHING LLC/CORRESPONDENT SECURITIES LENDING
CORPORATE ACTIONS                                CORPORATE ACTIONS                               CORPORATE ACTIONS                               ISSUER SVC
ONE PERSHING PLZ                                 ONE PERSHING PLZ                                ONE PERSHING PLZ                                51 MERCEDES WAY
JERSEY CITY NJ 07399                             JERSEY CITY NJ 07399                            JERSEY CITY NJ 07399                            EDGEWOOD NY 11717
JLAVARA@PERSHING.COM                             CHARLENE.POLDEN@PERSHING.COM                    KRISTIE.MEDICH@PERSHING.COM                     MARIA.RUIZ-MARTINEZ@PERSHING.COM




032223P001-1488A-002F                            032223P001-1488A-002F                           032223P001-1488A-002F                           032223P001-1488A-002F
PERSHING LLC/CORRESPONDENT SECURITIES LENDING    PERSHING LLC/CORRESPONDENT SECURITIES LENDING   PERSHING LLC/CORRESPONDENT SECURITIES LENDING   PERSHING LLC/CORRESPONDENT SECURITIES LENDING
ISSUER SVC                                       ISSUER SVC                                      ISSUER SVC                                      ISSUER SVC
51 MERCEDES WAY                                  51 MERCEDES WAY                                 51 MERCEDES WAY                                 51 MERCEDES WAY
EDGEWOOD NY 11717                                EDGEWOOD NY 11717                               EDGEWOOD NY 11717                               EDGEWOOD NY 11717
VOLUNTARYANDSETUPS@PERSHING.COM                  PERSHINGCORPORATEACTIONSPROXY@PERSHING.COM      CHENICE.BRINSON@PERSHING.COM                    TIFFANY.WILLIAMS@PERSHING.COM




032223P001-1488A-002F                            032223P001-1488A-002F                           032223P001-1488A-002F                           032223P001-1488A-002F
PERSHING LLC/CORRESPONDENT SECURITIES LENDING    PERSHING LLC/CORRESPONDENT SECURITIES LENDING   PERSHING LLC/CORRESPONDENT SECURITIES LENDING   PERSHING LLC/CORRESPONDENT SECURITIES LENDING
ISSUER SVC                                       ISSUER SVC                                      ISSUER SVC                                      ISSUER SVC
51 MERCEDES WAY                                  51 MERCEDES WAY                                 51 MERCEDES WAY                                 51 MERCEDES WAY
EDGEWOOD NY 11717                                EDGEWOOD NY 11717                               EDGEWOOD NY 11717                               EDGEWOOD NY 11717
PERSHINGCORPORATEACTIONS@PERSHING.COM            JLAVARA@PERSHING.COM                            CHARLENE.POLDEN@PERSHING.COM                    KRISTIE.MEDICH@PERSHING.COM




032224P001-1488A-002F                            032224P001-1488A-002F                           032224P001-1488A-002F                           032224P001-1488A-002F
PERSHING LLC/SL                                  PERSHING LLC/SL                                 PERSHING LLC/SL                                 PERSHING LLC/SL
ISSUER SVC                                       ISSUER SVC                                      ISSUER SVC                                      ISSUER SVC
51 MERCEDES WAY                                  51 MERCEDES WAY                                 51 MERCEDES WAY                                 51 MERCEDES WAY
EDGEWOOD NY 11717                                EDGEWOOD NY 11717                               EDGEWOOD NY 11717                               EDGEWOOD NY 11717
MARIA.RUIZ-MARTINEZ@PERSHING.COM                 VOLUNTARYANDSETUPS@PERSHING.COM                 PERSHINGCORPORATEACTIONSPROXY@PERSHING.COM      CHENICE.BRINSON@PERSHING.COM




032224P001-1488A-002F                            032224P001-1488A-002F                           032224P001-1488A-002F                           032224P001-1488A-002F
PERSHING LLC/SL                                  PERSHING LLC/SL                                 PERSHING LLC/SL                                 PERSHING LLC/SL
ISSUER SVC                                       ISSUER SVC                                      ISSUER SVC                                      ISSUER SVC
51 MERCEDES WAY                                  51 MERCEDES WAY                                 51 MERCEDES WAY                                 51 MERCEDES WAY
EDGEWOOD NY 11717                                EDGEWOOD NY 11717                               EDGEWOOD NY 11717                               EDGEWOOD NY 11717
TIFFANY.WILLIAMS@PERSHING.COM                    PERSHINGCORPORATEACTIONS@PERSHING.COM           JLAVARA@PERSHING.COM                            CHARLENE.POLDEN@PERSHING.COM




032224P001-1488A-002F                            032225P001-1488A-002F                           032225P001-1488A-002F                           032225P001-1488A-002F
PERSHING LLC/SL                                  PERSHING LLC/SL INT'L                           PERSHING LLC/SL INT'L                           PERSHING LLC/SL INT'L
ISSUER SVC                                       CAMILLE REARDON                                 CAMILLE REARDON                                 CAMILLE REARDON
51 MERCEDES WAY                                  ONE PERSHING PLZ 6TH FL                         ONE PERSHING PLZ 6TH FL                         ONE PERSHING PLZ 6TH FL
EDGEWOOD NY 11717                                JERSEY CITY NJ 07399                            JERSEY CITY NJ 07399                            JERSEY CITY NJ 07399
KRISTIE.MEDICH@PERSHING.COM                      MARIA.RUIZ-MARTINEZ@PERSHING.COM                VOLUNTARYANDSETUPS@PERSHING.COM                 PERSHINGCORPORATEACTIONSPROXY@PERSHING.COM
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PERSHING LLC/SL INT'L                        PERSHING LLC/SL INT'L                           PERSHING LLC/SL INT'L                   PERSHING LLC/SL INT'L
CAMILLE REARDON                              CAMILLE REARDON                                 CAMILLE REARDON                         CAMILLE REARDON
ONE PERSHING PLZ 6TH FL                      ONE PERSHING PLZ 6TH FL                         ONE PERSHING PLZ 6TH FL                 ONE PERSHING PLZ 6TH FL
JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399                            JERSEY CITY NJ 07399                    JERSEY CITY NJ 07399
CHENICE.BRINSON@PERSHING.COM                 TIFFANY.WILLIAMS@PERSHING.COM                   PERSHINGCORPORATEACTIONS@PERSHING.COM   JLAVARA@PERSHING.COM




032225P001-1488A-002F                        032225P001-1488A-002F                           032226P001-1488A-002F                   032226P001-1488A-002F
PERSHING LLC/SL INT'L                        PERSHING LLC/SL INT'L                           PICTET CANADA LPCDS**                   PICTET CANADA LPCDS**
CAMILLE REARDON                              CAMILLE REARDON                                 STEPHANIE SALVO                         STEPHANIE SALVO
ONE PERSHING PLZ 6TH FL                      ONE PERSHING PLZ 6TH FL                         1000 DE LA GAUCHETIERE OUEST            1000 DE LA GAUCHETIERE OUEST
JERSEY CITY NJ 07399                         JERSEY CITY NJ 07399                            MONTREAL PQ H3B 4W5                     MONTREAL PQ H3B 4W5
CHARLENE.POLDEN@PERSHING.COM                 KRISTIE.MEDICH@PERSHING.COM                     CANADA                                  CANADA
                                                                                             SSALVO@PICTET.COM                       MTL-OPERATIONS@PICTET.COM


032226P001-1488A-002F                        032227P001-1488A-002F                           032227P001-1488A-002F                   032229P001-1488A-002F
PICTET CANADA LPCDS**                        PIPER JAFFRAY AND CO                            PIPER JAFFRAY AND CO                    PNC BANK NA/PNC COMMODITY HEDGING LLC
STEPHANIE SALVO                              ANNAMARIA HERNANDEZ                             ANNAMARIA HERNANDEZ                     ANTHONY PICCIRILLI
1000 DE LA GAUCHETIERE OUEST                 800 NICOLLET MALL                               800 NICOLLET MALL                       FIFTH & WOOD ST
MONTREAL PQ H3B 4W5                          STE 800                                         STE 800                                 PITTSBURGH PA 15219
CANADA                                       MINNEAPOLIS MN 55402-7020                       MINNEAPOLIS MN 55402-7020               CASPR@PNC.COM
SBORGOGNON@PICTET.COM                        ANNAMARIA.L.HERNANDEZ@PJC.COM                   JOLEEN.M.SCHUTZ@PJC.COM


032229P001-1488A-002F                        032229P001-1488A-002F                           032229P001-1488A-002F                   032228P001-1488A-002F
PNC BANK NA/PNC COMMODITY HEDGING LLC        PNC BANK NA/PNC COMMODITY HEDGING LLC           PNC BANK NA/PNC COMMODITY HEDGING LLC   PNC BANK NAPNC CAPITAL MARKETS LLC
ANTHONY PICCIRILLI                           ANTHONY PICCIRILLI                              ANTHONY PICCIRILLI                      JUANITA NICHOLS
FIFTH & WOOD ST                              FIFTH & WOOD ST                                 FIFTH & WOOD ST                         8800 TINICUM BLVD
PITTSBURGH PA 15219                          PITTSBURGH PA 15219                             PITTSBURGH PA 15219                     MAILSTOP F6-F266-02-2
MCA@PNC.COM                                  JNICHOLS@PNC.COM                                YVONNE.MUDD@PNCBANK.COM                 PHILADELPHIA PA 19153
                                                                                                                                     CASPR@PNC.COM


032228P001-1488A-002F                        032228P001-1488A-002F                           032228P001-1488A-002F                   032230P001-1488A-002F
PNC BANK NAPNC CAPITAL MARKETS LLC           PNC BANK NAPNC CAPITAL MARKETS LLC              PNC BANK NAPNC CAPITAL MARKETS LLC      PNC BANK, NAHPRS
JUANITA NICHOLS                              JUANITA NICHOLS                                 JUANITA NICHOLS                         ROBERT HALLOWELL
8800 TINICUM BLVD                            8800 TINICUM BLVD                               8800 TINICUM BLVD                       800 TINICUM BLVD
MAILSTOP F6-F266-02-2                        MAILSTOP F6-F266-02-2                           MAILSTOP F6-F266-02-2                   PHILADELPHIA PA 19153
PHILADELPHIA PA 19153                        PHILADELPHIA PA 19153                           PHILADELPHIA PA 19153                   CASPR@PNC.COM
MCA@PNC.COM                                  JNICHOLS@PNC.COM                                YVONNE.MUDD@PNCBANK.COM


032230P001-1488A-002F                        032230P001-1488A-002F                           032230P001-1488A-002F                   032231P001-1488A-002F
PNC BANK, NAHPRS                             PNC BANK, NAHPRS                                PNC BANK, NAHPRS                        PNC BANK, NAIPA
ROBERT HALLOWELL                             ROBERT HALLOWELL                                ROBERT HALLOWELL                        ROBERT HALLOWELL
800 TINICUM BLVD                             800 TINICUM BLVD                                800 TINICUM BLVD                        800 TINICUM BLVD
PHILADELPHIA PA 19153                        PHILADELPHIA PA 19153                           PHILADELPHIA PA 19153                   PHILADELPHIA PA 19153
MCA@PNC.COM                                  JNICHOLS@PNC.COM                                YVONNE.MUDD@PNCBANK.COM                 CASPR@PNC.COM
                                            Case 22-90032 Document 69GWG  Holdings,
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032231P001-1488A-002F                            032231P001-1488A-002F                          032231P001-1488A-002F                       032232P001-1488A-002F
PNC BANK, NAIPA                                  PNC BANK, NAIPA                                PNC BANK, NAIPA                             PNC BANK, NAMARKET STREET FUNDING
ROBERT HALLOWELL                                 ROBERT HALLOWELL                               ROBERT HALLOWELL                            SANDY MUDD
800 TINICUM BLVD                                 800 TINICUM BLVD                               800 TINICUM BLVD                            VICE PRESIDENT
PHILADELPHIA PA 19153                            PHILADELPHIA PA 19153                          PHILADELPHIA PA 19153                       249 FIFTH AVE
MCA@PNC.COM                                      JNICHOLS@PNC.COM                               YVONNE.MUDD@PNCBANK.COM                     P1-POPP-09-2
                                                                                                                                            PITTSBURGH PA 15222
                                                                                                                                            CASPR@PNC.COM

032232P001-1488A-002F                            032232P001-1488A-002F                          032232P001-1488A-002F                       032233P001-1488A-002F
PNC BANK, NAMARKET STREET FUNDING                PNC BANK, NAMARKET STREET FUNDING              PNC BANK, NAMARKET STREET FUNDING           PNC BANK, NAOTTA
SANDY MUDD                                       SANDY MUDD                                     SANDY MUDD                                  ROBERT HALLOWELL
VICE PRESIDENT                                   VICE PRESIDENT                                 VICE PRESIDENT                              800 TINICUM BLVD
249 FIFTH AVE                                    249 FIFTH AVE                                  249 FIFTH AVE                               PHILADELPHIA PA 19153
P1-POPP-09-2                                     P1-POPP-09-2                                   P1-POPP-09-2                                CASPR@PNC.COM
PITTSBURGH PA 15222                              PITTSBURGH PA 15222                            PITTSBURGH PA 15222
MCA@PNC.COM                                      JNICHOLS@PNC.COM                               YVONNE.MUDD@PNCBANK.COM

032233P001-1488A-002F                            032233P001-1488A-002F                          032233P001-1488A-002F                       032234P001-1488A-002F
PNC BANK, NAOTTA                                 PNC BANK, NAOTTA                               PNC BANK, NAOTTA                            PNC BANK, NAPITTSBURGH
ROBERT HALLOWELL                                 ROBERT HALLOWELL                               ROBERT HALLOWELL                            BARBARA SKWARCHA
800 TINICUM BLVD                                 800 TINICUM BLVD                               800 TINICUM BLVD                            ONE PNC PLZ
PHILADELPHIA PA 19153                            PHILADELPHIA PA 19153                          PHILADELPHIA PA 19153                       249 5TH AVE
MCA@PNC.COM                                      JNICHOLS@PNC.COM                               YVONNE.MUDD@PNCBANK.COM                     PITTSBURGH PA 15222-7707
                                                                                                                                            CASPR@PNC.COM


032234P001-1488A-002F                            032234P001-1488A-002F                          032234P001-1488A-002F                       032235P001-1488A-002F
PNC BANK, NAPITTSBURGH                           PNC BANK, NAPITTSBURGH                         PNC BANK, NAPITTSBURGH                      PNC BANK, NAPNC CAPITAL MARKETS LLC MSFTA
BARBARA SKWARCHA                                 BARBARA SKWARCHA                               BARBARA SKWARCHA                            JUANITA NICHOLS
ONE PNC PLZ                                      ONE PNC PLZ                                    ONE PNC PLZ                                 8800 TINICUM BLVD
249 5TH AVE                                      249 5TH AVE                                    249 5TH AVE                                 MAILSTOP F6-F266-02-2
PITTSBURGH PA 15222-7707                         PITTSBURGH PA 15222-7707                       PITTSBURGH PA 15222-7707                    PHILADELPHIA PA 19153
MCA@PNC.COM                                      JNICHOLS@PNC.COM                               YVONNE.MUDD@PNCBANK.COM                     CASPR@PNC.COM


032235P001-1488A-002F                            032235P001-1488A-002F                          032235P001-1488A-002F                       032236P001-1488A-002F
PNC BANK, NAPNC CAPITAL MARKETS LLC MSFTA        PNC BANK, NAPNC CAPITAL MARKETS LLC MSFTA      PNC BANK, NAPNC CAPITAL MARKETS LLC MSFTA   PNC BANK, NATIONAL ASSOCIATION
JUANITA NICHOLS                                  JUANITA NICHOLS                                JUANITA NICHOLS                             JUANITA NICHOLS
8800 TINICUM BLVD                                8800 TINICUM BLVD                              8800 TINICUM BLVD                           8800 TINICUM BLVD
MAILSTOP F6-F266-02-2                            MAILSTOP F6-F266-02-2                          MAILSTOP F6-F266-02-2                       MAILSTOP F6-F266-02-2
PHILADELPHIA PA 19153                            PHILADELPHIA PA 19153                          PHILADELPHIA PA 19153                       PHILADELPHIA PA 19153
MCA@PNC.COM                                      JNICHOLS@PNC.COM                               YVONNE.MUDD@PNCBANK.COM                     CASPR@PNC.COM


032236P001-1488A-002F                            032236P001-1488A-002F                          032236P001-1488A-002F                       032237P001-1488A-002F
PNC BANK, NATIONAL ASSOCIATION                   PNC BANK, NATIONAL ASSOCIATION                 PNC BANK, NATIONAL ASSOCIATION              PNC BANK/PNC MUNICIPAL STRATEGY - BLK
JUANITA NICHOLS                                  JUANITA NICHOLS                                JUANITA NICHOLS                             JUANITA NICHOLS
8800 TINICUM BLVD                                8800 TINICUM BLVD                              8800 TINICUM BLVD                           8800 TINICUM BLVD
MAILSTOP F6-F266-02-2                            MAILSTOP F6-F266-02-2                          MAILSTOP F6-F266-02-2                       MAILSTOP F6-F266-02-2
PHILADELPHIA PA 19153                            PHILADELPHIA PA 19153                          PHILADELPHIA PA 19153                       PHILADELPHIA PA 19153
MCA@PNC.COM                                      JNICHOLS@PNC.COM                               YVONNE.MUDD@PNCBANK.COM                     CASPR@PNC.COM
                                        Case 22-90032 Document 69GWG  Holdings,
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032237P001-1488A-002F                        032237P001-1488A-002F                           032237P001-1488A-002F                   032238P001-1488A-002F
PNC BANK/PNC MUNICIPAL STRATEGY - BLK        PNC BANK/PNC MUNICIPAL STRATEGY - BLK           PNC BANK/PNC MUNICIPAL STRATEGY - BLK   PRIVATE CLIENT SVC LLC
JUANITA NICHOLS                              JUANITA NICHOLS                                 JUANITA NICHOLS                         SANDY TAYLOR-JONES
8800 TINICUM BLVD                            8800 TINICUM BLVD                               8800 TINICUM BLVD                       2225 LEXINGTON RD
MAILSTOP F6-F266-02-2                        MAILSTOP F6-F266-02-2                           MAILSTOP F6-F266-02-2                   LOUISVILLE KY 40206
PHILADELPHIA PA 19153                        PHILADELPHIA PA 19153                           PHILADELPHIA PA 19153                   STAYLOR-JONES@PCSBD.NET
MCA@PNC.COM                                  JNICHOLS@PNC.COM                                YVONNE.MUDD@PNCBANK.COM


032238P001-1488A-002F                        032239P001-1488A-002F                           032240P001-1488A-002F                   032241P001-1488A-002F
PRIVATE CLIENT SVC LLC                       PUTNAM INVESTMENTS                              PWMCO, LLC                              RAYMOND JAMES AND ASSOCIATES, INC
SANDY TAYLOR-JONES                           JEFF DIBUONO - C1C                              BENJAMIN WILSON                         RAYMOND JAMES BANK
2225 LEXINGTON RD                            100 FEDERAL ST                                  311 S WACKER DR STE 2360                FICHTEL DAWN - ASSOCIATE
LOUISVILLE KY 40206                          BOSTON MA 02110                                 CHICAGO IL 60606                        710 CARILLON PKWY
OPERATIONS@PCSBD.NET                         JEFFREY_DIBUONO@PUTNAM.COM                      BWILSON@PWMCO.COM                       SAINT PETERSBURG FL 33716
                                                                                                                                     DAWN.FICHTEL@RAYMONDJAMES.COM


032241P001-1488A-002F                        032242P001-1488A-002F                           032242P001-1488A-002F                   032243P001-1488A-002F
RAYMOND JAMES AND ASSOCIATES, INC            RAYMOND JAMES AND ASSOCIATES, INC               RAYMOND JAMES AND ASSOCIATES, INC       RAYMOND JAMES AND ASSOCIATES, INC
RAYMOND JAMES BANK                           ROBERTA GREEN                                   ROBERTA GREEN                           ELAINE MULLEN
FICHTEL DAWN - ASSOCIATE                     880 CARILION PKWY                               880 CARILION PKWY                       CORPORATE ACTIONS
710 CARILLON PKWY                            SAIT PETERSBURG FL 33716                        SAIT PETERSBURG FL 33716                880 CARILLON PKWY
SAINT PETERSBURG FL 33716                    ROBERTA.GREEN@RAYMONDJAMES.COM                  CORPORATEACTIONS@RAYMONDJAMES.COM       ST. PETERSBURG FL 33716
CORPORATEACTIONS@RAYMONDJAMES.COM                                                                                                    ELAINE.MULLEN@RAYMONDJAMES.COM


032243P001-1488A-002F                        032244P001-1488A-002F                           032245P001-1488A-002F                   032245P001-1488A-002F
RAYMOND JAMES AND ASSOCIATES, INC            RAYMOND JAMES AND ASSOCIATES, INC               RAYMOND JAMES AND ASSOCIATES, INCFI     RAYMOND JAMES AND ASSOCIATES, INCFI
ELAINE MULLEN                                RAYMOND JAMES TRUST CO                          LINDA LACY                              LINDA LACY
CORPORATE ACTIONS                            CHRISTINE PEARSON                               SUPERVISOR                              SUPERVISOR
880 CARILLON PKWY                            PO BOX 14407                                    800 CARILLON PKWY                       800 CARILLON PKWY
ST. PETERSBURG FL 33716                      ST. PETERSBURG FL 33733                         SAINT PETERSBURG FL 33716               SAINT PETERSBURG FL 33716
CORPORATEACTIONS@RAYMONDJAMES.COM            CORPORATEACTIONS@RAYMONDJAMES.COM               LINDA.LACY@RAYMONDJAMES.COM             CORPORATEACTIONS@RAYMONDJAMES.COM


032246P001-1488A-002F                        032247P001-1488A-002F                           032247P001-1488A-002F                   032248P001-1488A-002F
RAYMOND JAMES LTDCDS**                       RBC CAPITAL MARKETS, LLC                        RBC CAPITAL MARKETS, LLC                RBC CAPITAL MARKETS, LLC
CORPORATE ACTIONS                            STEVE SCHAFER SR                                STEVE SCHAFER SR                        SHANNON JONES
PO BOX 23558                                 ASSOCIATE                                       ASSOCIATE                               60 S 6TH ST - P09
ST PETERSBURG FL 33742-3558                  60 S 6TH ST - P09                               60 S 6TH ST - P09                       MINNEAPOLIS MN 55402-4400
CORPORATEACTIONS@RAYMONDJAMES.COM            MINNEAPOLIS MN 55402-4400                       MINNEAPOLIS MN 55402-4400               STEVE.SCHAFER@RBC.COM
                                             STEVE.SCHAFER@RBC.COM                           RBCWM-PROXYNOTIFICATIONS@RBC.COM


032248P001-1488A-002F                        032249P001-1488A-002F                           032249P001-1488A-002F                   032249P001-1488A-002F
RBC CAPITAL MARKETS, LLC                     RBC CAPITAL MARKETS, LLC                        RBC CAPITAL MARKETS, LLC                RBC CAPITAL MARKETS, LLC
SHANNON JONES                                REORG DEPT                                      REORG DEPT                              REORG DEPT
60 S 6TH ST - P09                            60 S 6TH ST                                     60 S 6TH ST                             60 S 6TH ST
MINNEAPOLIS MN 55402-4400                    MINNEAPOLIS MN 55402                            MINNEAPOLIS MN 55402                    MINNEAPOLIS MN 55402
RBCWM-PROXYNOTIFICATIONS@RBC.COM             STEVE.SCHAFER@RBC.COM                           NICHOLAS.ONKEN@RBC.COM                  RBCWM-PROXYNOTIFICATIONS@RBC.COM
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032250P001-1488A-002F                           032250P001-1488A-002F                            032250P001-1488A-002F                    032251P001-1488A-002F
RBC CAPITAL MARKETS, LLCRBCCM                   RBC CAPITAL MARKETS, LLCRBCCM                    RBC CAPITAL MARKETS, LLCRBCCM            REGIONS BANK
MICHAEL FROMMER                                 MICHAEL FROMMER                                  MICHAEL FROMMER                          PEYTON DILIBERTO
VICE PRESIDENT                                  VICE PRESIDENT                                   VICE PRESIDENT                           1901 6TH AVE N
3 WORLD FINANCIAL CTR                           3 WORLD FINANCIAL CTR                            3 WORLD FINANCIAL CTR                    BIRMINGHAM AL 35203
200 VESEY ST                                    200 VESEY ST                                     200 VESEY ST                             PEYTON.DILIBERTO@REGIONS.COM
NEW YORK NY 10281-8098                          NEW YORK NY 10281-8098                           NEW YORK NY 10281-8098
MICHAEL.FROMMER@RBCCM.COM                       STEVE.SCHAFER@RBC.COM                            RBCWM-PROXYNOTIFICATIONS@RBC.COM

032251P001-1488A-002F                           032251P001-1488A-002F                            032252P001-1488A-002F                    032252P001-1488A-002F
REGIONS BANK                                    REGIONS BANK                                     REGIONS BANK/CORPORATE TRUST/IPA         REGIONS BANK/CORPORATE TRUST/IPA
PEYTON DILIBERTO                                PEYTON DILIBERTO                                 MICHAEL CHANDLER                         MICHAEL CHANDLER
1901 6TH AVE N                                  1901 6TH AVE N                                   MANAGER                                  MANAGER
BIRMINGHAM AL 35203                             BIRMINGHAM AL 35203                              250 RIVERCHASE PARKWAYEAST               250 RIVERCHASE PARKWAYEAST
MICHAEL.CHANDLER@REGIONS.COM                    JAMES.DEMPSEY@REGIONS.COM                        5TH FL                                   5TH FL
                                                                                                 HOOVER AL 35244                          HOOVER AL 35244
                                                                                                 PEYTON.DILIBERTO@REGIONS.COM             MICHAEL.CHANDLER@REGIONS.COM

032252P001-1488A-002F                           032253P001-1488A-002F                            032253P001-1488A-002F                    032254P001-1488A-002F
REGIONS BANK/CORPORATE TRUST/IPA                RELIANCE TRUST CO                                RELIANCE TRUST CO                        RELIANCE TRUST COMPANY/ FIS TRUSTDESK
MICHAEL CHANDLER                                TONIE MONTGOMERY                                 TONIE MONTGOMERY                         TONIE MONTGOMERY
MANAGER                                         1100 ABERNATHY RD                                1100 ABERNATHY RD                        1100 ABERNATHY RD
250 RIVERCHASE PARKWAYEAST                      500 NORTHPARK BLDG STE 400                       500 NORTHPARK BLDG STE 400               500 NORTHPARK BLDG STE 400
5TH FL                                          ATLANTA GA 30328                                 ATLANTA GA 30328                         ATLANTA GA 30328
HOOVER AL 35244                                 TMONTGOMERY@RELICO.COM                           RELIANCE_REORGMAILGROUP@FISGLOBAL.COM    TMONTGOMERY@RELICO.COM
JAMES.DEMPSEY@REGIONS.COM

032254P001-1488A-002F                           032255P001-1488A-002F                            032255P001-1488A-002F                    032256P001-1488A-002F
RELIANCE TRUST COMPANY/ FIS TRUSTDESK           RELIANCE TRUST COMPANY/FIS GLOBAL PLUS           RELIANCE TRUST COMPANY/FIS GLOBAL PLUS   RELIANCE TRUST COMPANY/FIS TRUSTDESK MKE
TONIE MONTGOMERY                                CORPORATE ACTIONS                                CORPORATE ACTIONS                        CORPORATE ACTIONS
1100 ABERNATHY RD                               1100 ABERNATHY RD                                1100 ABERNATHY RD                        JULIE MCGUINESS
500 NORTHPARK BLDG STE 400                      500 NORTHPARK BLDG STE 400                       500 NORTHPARK BLDG STE 400               1100 ABERNATHY RD
ATLANTA GA 30328                                ATLANTA GA 30328                                 ATLANTA GA 30328                         500 NORTHPARK BLDG STE 400
RELIANCE_REORGMAILGROUP@FISGLOBAL.COM           TMONTGOMERY@RELICO.COM                           RELIANCE_REORGMAILGROUP@FISGLOBAL.COM    ATLANTA GA 30328
                                                                                                                                          TMONTGOMERY@RELICO.COM

032256P001-1488A-002F                           032256P001-1488A-002F                            032257P001-1488A-002F                    032257P001-1488A-002F
RELIANCE TRUST COMPANY/FIS TRUSTDESK MKE        RELIANCE TRUST COMPANY/FIS TRUSTDESK MKE         RELIANCE TRUST COMPANY/SWMS1             RELIANCE TRUST COMPANY/SWMS1
CORPORATE ACTIONS                               CORPORATE ACTIONS                                CORPORATE ACTIONS                        CORPORATE ACTIONS
JULIE MCGUINESS                                 JULIE MCGUINESS                                  1100 ABERNATHY RD                        1100 ABERNATHY RD
1100 ABERNATHY RD                               1100 ABERNATHY RD                                STE 400                                  STE 400
500 NORTHPARK BLDG STE 400                      500 NORTHPARK BLDG STE 400                       ATLANTA GA 30328                         ATLANTA GA 30328
ATLANTA GA 30328                                ATLANTA GA 30328                                 TMONTGOMERY@RELICO.COM                   RELIANCE_REORGMAILGROUP@FISGLOBAL.COM
RELIANCE_REORGMAILGROUP@FISGLOBAL.COM           RELIANCE_CITRGROUP@FISGLOBAL.COM

032258P001-1488A-002F                           032258P001-1488A-002F                            032259P001-1488A-002F                    032259P001-1488A-002F
RELIANCE TRUST COMPANY/SWMS2                    RELIANCE TRUST COMPANY/SWMS2                     ROBERT W BAIRD AND CO INC                ROBERT W BAIRD AND CO INC
TONIE MONTGOMERY                                TONIE MONTGOMERY                                 JAN SUDFELD                              JAN SUDFELD
1100 ABERNATHY RD                               1100 ABERNATHY RD                                777 E WISCONSIN AVE                      777 E WISCONSIN AVE
STE 400                                         STE 400                                          19TH FL                                  19TH FL
ATLANTA GA 30328                                ATLANTA GA 30328                                 MILWAUKEE WI 53202                       MILWAUKEE WI 53202
TMONTGOMERY@RELICO.COM                          RELIANCE_REORGMAILGROUP@FISGLOBAL.COM            JSUDFELD@RWBAIRD.COM                     NROBERTSTAD@RWBAIRD.COM
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032259P001-1488A-002F                         032260P001-1488A-002F                            032260P001-1488A-002F                        032260P001-1488A-002F
ROBERT W BAIRD AND CO INC                     ROYAL BANK OF CANADA-ROYAL TRUST 1/CDS**         ROYAL BANK OF CANADA-ROYAL TRUST 1/CDS**     ROYAL BANK OF CANADA-ROYAL TRUST 1/CDS**
JAN SUDFELD                                   CORPORATE ACTIONS                                CORPORATE ACTIONS                            CORPORATE ACTIONS
777 E WISCONSIN AVE                           200 BAY ST                                       200 BAY ST                                   200 BAY ST
19TH FL                                       TORONTO ON M5J 2W7                               TORONTO ON M5J 2W7                           TORONTO ON M5J 2W7
MILWAUKEE WI 53202                            CANADA                                           CANADA                                       CANADA
REORG@RWBAIRD.COM                             CDSCUSTOMERSUPPORT@TMX.COM                       GREGORY.SUTTON@TMX.COM                       CDSCDCCRELATIONSHIPMGMT@TMX.COM


032261P001-1488A-002F                         032261P001-1488A-002F                            032261P001-1488A-002F                        032262P001-1488A-002F
ROYAL BANK OF CANADA-ROYAL TRUST/CDS**        ROYAL BANK OF CANADA-ROYAL TRUST/CDS**           ROYAL BANK OF CANADA-ROYAL TRUST/CDS**       SANFORD C BERNSTEIN AND CO, LLC
CORPORATE ACTIONS                             CORPORATE ACTIONS                                CORPORATE ACTIONS                            ANITA BACTAWAR
200 BAY ST                                    200 BAY ST                                       200 BAY ST                                   1 NORTH LEXINGTION AVE
TORONTO ON M5J 2W7                            TORONTO ON M5J 2W7                               TORONTO ON M5J 2W7                           C/O RIDGE
CANADA                                        CANADA                                           CANADA                                       WHITE PLAINS NY 10601
CDSCUSTOMERSUPPORT@TMX.COM                    GREGORY.SUTTON@TMX.COM                           CDSCDCCRELATIONSHIPMGMT@TMX.COM              SCB-CUSTODYSERVICES@ALLIANCEBERNSTEIN.COM


032263P001-1488A-002F                         032263P001-1488A-002F                            032264P001-1488A-002F                        032264P001-1488A-002F
SCOTTRADE, INC                                SCOTTRADE, INC                                   SCOTTRADE, INC                               SCOTTRADE, INC
LEGAL DEPT                                    LEGAL DEPT                                       REORG                                        REORG
BETH VOGEL                                    BETH VOGEL                                       12855 FLUSHING MEADOWS DR                    12855 FLUSHING MEADOWS DR
PO BOX 31759                                  PO BOX 31759                                     ST. LOUIS MO 63131                           ST. LOUIS MO 63131
SAINT LOUIS MO 63131-0759                     SAINT LOUIS MO 63131-0759                        REORGANIZATION@SCOTTRADE.COM                 LEGALDEPARTMENT@SCOTTRADE.COM
REORGANIZATION@SCOTTRADE.COM                  LEGALDEPARTMENT@SCOTTRADE.COM


032265P001-1488A-002F                         032265P001-1488A-002F                            032266P001-1488A-002F                        032267P001-1488A-002F
SCOTTRADE, INC                                SCOTTRADE, INC                                   SECURITIES TRANSFER CORPORATION/DRS          SOCIETE GENERALE NY/SOCIETE GENERALE PARIS
ISSUER SVC                                    ISSUER SVC                                       KEVIN HALTER JR                              JOHN RYAN
BROADRIDGE                                    BROADRIDGE                                       2591 DALLAS PKWY                             MANAGER
51 MERCEDES WAY                               51 MERCEDES WAY                                  STE 102                                      480 WASHINGTON BLVD
EDGEWOOD NY 11717                             EDGEWOOD NY 11717                                FRISCO TX 75034                              JERSEY CITY NJ 07310
REORGANIZATION@SCOTTRADE.COM                  LEGALDEPARTMENT@SCOTTRADE.COM                    KEVINJR@STCTRANSFER.COM                      JOHN.RYAN@SGCIB.COM


032268P001-1488A-002F                         032269P001-1488A-002F                            032270P001-1488A-002F                        032270P001-1488A-002F
SOUTH STREET SECURITIES LLC                   SSB AND T CO/CLIENT CUSTODY SVC                  STANDARD REGISTRAR AND TRANSFER COMPAN       STANDARD REGISTRAR AND TRANSFER COMPAN
DONALD WEBBE                                  MYRIAM PIERVIL                                   RONALD P HARRINGTON                          RONALD P HARRINGTON
825 THIRD AVE                                 ASSISTANT VICE PRESIDENT                         12528 SOUTH 1840 EAST                        12528 SOUTH 1840 EAST
35TH FL                                       1776 HERITAGE DR                                 DRAPER UT 84020                              DRAPER UT 84020
NEW YORK NY 10022                             NORTH QUINCY MA 02171                            STANDARDREGISTRAR@COMCAST.NET                BRANDY@STANDARDREGISTRAR.COM
DONALD.WEBBE@CMETLLC.COM                      MPIERVIL@STATESTREET.COM


032277P001-1488A-002F                         032277P001-1488A-002F                            032277P001-1488A-002F                        032277P001-1488A-002F
STATE STREET BANK AND TRUST                   STATE STREET BANK AND TRUST                      STATE STREET BANK AND TRUST                  STATE STREET BANK AND TRUST
STATE STREET TOTAL ETF                        STATE STREET TOTAL ETF                           STATE STREET TOTAL ETF                       STATE STREET TOTAL ETF
GLOBAL CORP ACTION DEPT JAB5W                 GLOBAL CORP ACTION DEPT JAB5W                    GLOBAL CORP ACTION DEPT JAB5W                GLOBAL CORP ACTION DEPT JAB5W
ROBERT RAY JOSEPH J CALLAHAN                  ROBERT RAY JOSEPH J CALLAHAN                     ROBERT RAY JOSEPH J CALLAHAN                 ROBERT RAY JOSEPH J CALLAHAN
PO BOX 1631                                   PO BOX 1631                                      PO BOX 1631                                  PO BOX 1631
BOSTON MA 02105-1631                          BOSTON MA 02105-1631                             BOSTON MA 02105-1631                         BOSTON MA 02105-1631
AGREENBERG2@STATESTREET.COM                   USCARESEARCH@STATESTREET.COM                     BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM   PROXY-SERVICES@STATESTREET.COM
                                 Case 22-90032 Document 69GWG  Holdings,
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032277P001-1488A-002F                 032277P001-1488A-002F                    032277P001-1488A-002F            032277P001-1488A-002F
STATE STREET BANK AND TRUST           STATE STREET BANK AND TRUST              STATE STREET BANK AND TRUST      STATE STREET BANK AND TRUST
STATE STREET TOTAL ETF                STATE STREET TOTAL ETF                   STATE STREET TOTAL ETF           STATE STREET TOTAL ETF
GLOBAL CORP ACTION DEPT JAB5W         GLOBAL CORP ACTION DEPT JAB5W            GLOBAL CORP ACTION DEPT JAB5W    GLOBAL CORP ACTION DEPT JAB5W
ROBERT RAY JOSEPH J CALLAHAN          ROBERT RAY JOSEPH J CALLAHAN             ROBERT RAY JOSEPH J CALLAHAN     ROBERT RAY JOSEPH J CALLAHAN
PO BOX 1631                           PO BOX 1631                              PO BOX 1631                      PO BOX 1631
BOSTON MA 02105-1631                  BOSTON MA 02105-1631                     BOSTON MA 02105-1631             BOSTON MA 02105-1631
PCDESHARNAIS@STATESTREET.COM          DJGONZALES@STATESTREET.COM               RJRAY@STATESTREET.COM            SBUISSERETH@STATESTREET.COM

032277P001-1488A-002F                 032278P001-1488A-002F                    032278P001-1488A-002F            032278P001-1488A-002F
STATE STREET BANK AND TRUST           STATE STREET BANK AND TRUST              STATE STREET BANK AND TRUST      STATE STREET BANK AND TRUST
STATE STREET TOTAL ETF                STATE STREET TOTAL ETF                   STATE STREET TOTAL ETF           STATE STREET TOTAL ETF
GLOBAL CORP ACTION DEPT JAB5W         GLOBAL CORP ACTION DEPT JAB5W            GLOBAL CORP ACTION DEPT JAB5W    GLOBAL CORP ACTION DEPT JAB5W
ROBERT RAY JOSEPH J CALLAHAN          JERRY PARRILLA                           JERRY PARRILLA                   JERRY PARRILLA
PO BOX 1631                           1776 HERITAGE DR                         1776 HERITAGE DR                 1776 HERITAGE DR
BOSTON MA 02105-1631                  NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171            NORTH QUINCY MA 02171
LLNORDBERG@STATESTREET.COM            AGREENBERG2@STATESTREET.COM              USCARESEARCH@STATESTREET.COM     BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM

032278P001-1488A-002F                 032278P001-1488A-002F                    032278P001-1488A-002F            032278P001-1488A-002F
STATE STREET BANK AND TRUST           STATE STREET BANK AND TRUST              STATE STREET BANK AND TRUST      STATE STREET BANK AND TRUST
STATE STREET TOTAL ETF                STATE STREET TOTAL ETF                   STATE STREET TOTAL ETF           STATE STREET TOTAL ETF
GLOBAL CORP ACTION DEPT JAB5W         GLOBAL CORP ACTION DEPT JAB5W            GLOBAL CORP ACTION DEPT JAB5W    GLOBAL CORP ACTION DEPT JAB5W
JERRY PARRILLA                        JERRY PARRILLA                           JERRY PARRILLA                   JERRY PARRILLA
1776 HERITAGE DR                      1776 HERITAGE DR                         1776 HERITAGE DR                 1776 HERITAGE DR
NORTH QUINCY MA 02171                 NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171            NORTH QUINCY MA 02171
PROXY-SERVICES@STATESTREET.COM        PCDESHARNAIS@STATESTREET.COM             DJGONZALES@STATESTREET.COM       RJRAY@STATESTREET.COM

032278P001-1488A-002F                 032278P001-1488A-002F                    032271P001-1488A-002F            032271P001-1488A-002F
STATE STREET BANK AND TRUST           STATE STREET BANK AND TRUST              STATE STREET BANK AND TRUST CO   STATE STREET BANK AND TRUST CO
STATE STREET TOTAL ETF                STATE STREET TOTAL ETF                   PROXY SVC                        PROXY SVC
GLOBAL CORP ACTION DEPT JAB5W         GLOBAL CORP ACTION DEPT JAB5W            1776 HERITAGE DR                 1776 HERITAGE DR
JERRY PARRILLA                        JERRY PARRILLA                           NORTH QUINCY MA 02171            NORTH QUINCY MA 02171
1776 HERITAGE DR                      1776 HERITAGE DR                         CMSULLIVAN2@STATESTREET.COM      PROXY-SERVICES@STATESTREET.COM
NORTH QUINCY MA 02171                 NORTH QUINCY MA 02171
SBUISSERETH@STATESTREET.COM           LLNORDBERG@STATESTREET.COM

032271P001-1488A-002F                 032271P001-1488A-002F                    032271P001-1488A-002F            032271P001-1488A-002F
STATE STREET BANK AND TRUST CO        STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO   STATE STREET BANK AND TRUST CO
PROXY SVC                             PROXY SVC                                PROXY SVC                        PROXY SVC
1776 HERITAGE DR                      1776 HERITAGE DR                         1776 HERITAGE DR                 1776 HERITAGE DR
NORTH QUINCY MA 02171                 NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171            NORTH QUINCY MA 02171
PCDESHARNAIS@STATESTREET.COM          DJGONZALES@STATESTREET.COM               RJRAY@STATESTREET.COM            SBUISSERETH@STATESTREET.COM




032271P001-1488A-002F                 032271P001-1488A-002F                    032271P001-1488A-002F            032271P001-1488A-002F
STATE STREET BANK AND TRUST CO        STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO   STATE STREET BANK AND TRUST CO
PROXY SVC                             PROXY SVC                                PROXY SVC                        PROXY SVC
1776 HERITAGE DR                      1776 HERITAGE DR                         1776 HERITAGE DR                 1776 HERITAGE DR
NORTH QUINCY MA 02171                 NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171            NORTH QUINCY MA 02171
LLNORDBERG@STATESTREET.COM            AGREENBERG2@STATESTREET.COM              USCARESEARCH@STATESTREET.COM     BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM
                                             Case 22-90032 Document 69GWG  Holdings,
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032272P001-1488A-002F                             032272P001-1488A-002F                               032273P001-1488A-002F                        032273P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO                      STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
CORP ACTION                                       CORP ACTION                                         LENDING PASS-THROUGH                         LENDING PASS-THROUGH
225 FRANKLIN ST                                   225 FRANKLIN ST                                     RAY KARTANOWITZ                              RAY KARTANOWITZ
BOSTON MA 02110                                   BOSTON MA 02110                                     101 HUDSON ST                                101 HUDSON ST
USCARESEARCH@STATESTREET.COM                      BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM          JERSEY CITY NJ 07302                         JERSEY CITY NJ 07302
                                                                                                      AGREENBERG2@STATESTREET.COM                  USCARESEARCH@STATESTREET.COM


032273P001-1488A-002F                             032273P001-1488A-002F                               032273P001-1488A-002F                        032273P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO                      STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
LENDING PASS-THROUGH                              LENDING PASS-THROUGH                                LENDING PASS-THROUGH                         LENDING PASS-THROUGH
RAY KARTANOWITZ                                   RAY KARTANOWITZ                                     RAY KARTANOWITZ                              RAY KARTANOWITZ
101 HUDSON ST                                     101 HUDSON ST                                       101 HUDSON ST                                101 HUDSON ST
JERSEY CITY NJ 07302                              JERSEY CITY NJ 07302                                JERSEY CITY NJ 07302                         JERSEY CITY NJ 07302
BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM        PROXY-SERVICES@STATESTREET.COM                      PCDESHARNAIS@STATESTREET.COM                 DJGONZALES@STATESTREET.COM


032273P001-1488A-002F                             032273P001-1488A-002F                               032273P001-1488A-002F                        032274P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO                      STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
LENDING PASS-THROUGH                              LENDING PASS-THROUGH                                LENDING PASS-THROUGH                         ISHARESEUROPE
RAY KARTANOWITZ                                   RAY KARTANOWITZ                                     RAY KARTANOWITZ                              MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT
101 HUDSON ST                                     101 HUDSON ST                                       101 HUDSON ST                                1776 HERITAGE DR
JERSEY CITY NJ 07302                              JERSEY CITY NJ 07302                                JERSEY CITY NJ 07302                         NORTH QUINCY MA 02171
RJRAY@STATESTREET.COM                             SBUISSERETH@STATESTREET.COM                         LLNORDBERG@STATESTREET.COM                   LLNORDBERG@STATESTREET.COM


032274P001-1488A-002F                             032274P001-1488A-002F                               032274P001-1488A-002F                        032274P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO                      STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
ISHARESEUROPE                                     ISHARESEUROPE                                       ISHARESEUROPE                                ISHARESEUROPE
MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT         MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT           MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT    MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT
1776 HERITAGE DR                                  1776 HERITAGE DR                                    1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                             NORTH QUINCY MA 02171                               NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
AGREENBERG2@STATESTREET.COM                       USCARESEARCH@STATESTREET.COM                        BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM   MPIERVIL@STATESTREET.COM


032274P001-1488A-002F                             032274P001-1488A-002F                               032274P001-1488A-002F                        032274P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO                      STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
ISHARESEUROPE                                     ISHARESEUROPE                                       ISHARESEUROPE                                ISHARESEUROPE
MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT         MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT           MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT    MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT
1776 HERITAGE DR                                  1776 HERITAGE DR                                    1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                             NORTH QUINCY MA 02171                               NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
PROXY-SERVICES@STATESTREET.COM                    PCDESHARNAIS@STATESTREET.COM                        DJGONZALES@STATESTREET.COM                   RJRAY@STATESTREET.COM


032274P001-1488A-002F                             032275P001-1488A-002F                               032275P001-1488A-002F                        032275P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO                      STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
ISHARESEUROPE                                     CORP ACTION                                         CORP ACTION                                  CORP ACTION
MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT         225 FRANKLIN ST                                     225 FRANKLIN ST                              225 FRANKLIN ST
1776 HERITAGE DR                                  MAO-3                                               MAO-3                                        MAO-3
NORTH QUINCY MA 02171                             BOSTON MA 02110                                     BOSTON MA 02110                              BOSTON MA 02110
SBUISSERETH@STATESTREET.COM                       LLNORDBERG@STATESTREET.COM                          AGREENBERG2@STATESTREET.COM                  USCARESEARCH@STATESTREET.COM
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032275P001-1488A-002F                             032275P001-1488A-002F                        032275P001-1488A-002F                        032275P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
CORP ACTION                                       CORP ACTION                                  CORP ACTION                                  CORP ACTION
225 FRANKLIN ST                                   225 FRANKLIN ST                              225 FRANKLIN ST                              225 FRANKLIN ST
MAO-3                                             MAO-3                                        MAO-3                                        MAO-3
BOSTON MA 02110                                   BOSTON MA 02110                              BOSTON MA 02110                              BOSTON MA 02110
BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM        MPIERVIL@STATESTREET.COM                     PROXY-SERVICES@STATESTREET.COM               PCDESHARNAIS@STATESTREET.COM


032275P001-1488A-002F                             032275P001-1488A-002F                        032275P001-1488A-002F                        032279P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
CORP ACTION                                       CORP ACTION                                  CORP ACTION                                  GLOBAL CORP ACTION DEPT JAB5W
225 FRANKLIN ST                                   225 FRANKLIN ST                              225 FRANKLIN ST                              ROBERT RAY
MAO-3                                             MAO-3                                        MAO-3                                        PO BOX 1631
BOSTON MA 02110                                   BOSTON MA 02110                              BOSTON MA 02110                              BOSTON MA 02105-1631
DJGONZALES@STATESTREET.COM                        RJRAY@STATESTREET.COM                        SBUISSERETH@STATESTREET.COM                  AGREENBERG2@STATESTREET.COM


032279P001-1488A-002F                             032279P001-1488A-002F                        032279P001-1488A-002F                        032279P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
GLOBAL CORP ACTION DEPT JAB5W                     GLOBAL CORP ACTION DEPT JAB5W                GLOBAL CORP ACTION DEPT JAB5W                GLOBAL CORP ACTION DEPT JAB5W
ROBERT RAY                                        ROBERT RAY                                   ROBERT RAY                                   ROBERT RAY
PO BOX 1631                                       PO BOX 1631                                  PO BOX 1631                                  PO BOX 1631
BOSTON MA 02105-1631                              BOSTON MA 02105-1631                         BOSTON MA 02105-1631                         BOSTON MA 02105-1631
USCARESEARCH@STATESTREET.COM                      BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM   PROXY-SERVICES@STATESTREET.COM               PCDESHARNAIS@STATESTREET.COM


032279P001-1488A-002F                             032279P001-1488A-002F                        032279P001-1488A-002F                        032279P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
GLOBAL CORP ACTION DEPT JAB5W                     GLOBAL CORP ACTION DEPT JAB5W                GLOBAL CORP ACTION DEPT JAB5W                GLOBAL CORP ACTION DEPT JAB5W
ROBERT RAY                                        ROBERT RAY                                   ROBERT RAY                                   ROBERT RAY
PO BOX 1631                                       PO BOX 1631                                  PO BOX 1631                                  PO BOX 1631
BOSTON MA 02105-1631                              BOSTON MA 02105-1631                         BOSTON MA 02105-1631                         BOSTON MA 02105-1631
DJGONZALES@STATESTREET.COM                        RJRAY@STATESTREET.COM                        SBUISSERETH@STATESTREET.COM                  LLNORDBERG@STATESTREET.COM


032280P001-1488A-002F                             032280P001-1488A-002F                        032280P001-1488A-002F                        032280P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
DB RESIDUAL PROCESSING ACCOUNT                    DB RESIDUAL PROCESSING ACCOUNT               DB RESIDUAL PROCESSING ACCOUNT               DB RESIDUAL PROCESSING ACCOUNT
THOMAS LANGELIER - VICE PRESIDENT                 THOMAS LANGELIER - VICE PRESIDENT            THOMAS LANGELIER - VICE PRESIDENT            THOMAS LANGELIER - VICE PRESIDENT
1776 HERITAGE DR                                  1776 HERITAGE DR                             1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                             NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
AGREENBERG2@STATESTREET.COM                       USCARESEARCH@STATESTREET.COM                 BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM   PROXY-SERVICES@STATESTREET.COM


032280P001-1488A-002F                             032280P001-1488A-002F                        032280P001-1488A-002F                        032280P001-1488A-002F
STATE STREET BANK AND TRUST CO                    STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
DB RESIDUAL PROCESSING ACCOUNT                    DB RESIDUAL PROCESSING ACCOUNT               DB RESIDUAL PROCESSING ACCOUNT               DB RESIDUAL PROCESSING ACCOUNT
THOMAS LANGELIER - VICE PRESIDENT                 THOMAS LANGELIER - VICE PRESIDENT            THOMAS LANGELIER - VICE PRESIDENT            THOMAS LANGELIER - VICE PRESIDENT
1776 HERITAGE DR                                  1776 HERITAGE DR                             1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                             NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
PCDESHARNAIS@STATESTREET.COM                      DJGONZALES@STATESTREET.COM                   RJRAY@STATESTREET.COM                        SBUISSERETH@STATESTREET.COM
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                                                               Filed in TXSBInc.,
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032280P001-1488A-002F                    032281P001-1488A-002F                       032281P001-1488A-002F                        032281P001-1488A-002F
STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
DB RESIDUAL PROCESSING ACCOUNT           DEUTSCHE BANK FRANKFURT                     DEUTSCHE BANK FRANKFURT                      DEUTSCHE BANK FRANKFURT
THOMAS LANGELIER - VICE PRESIDENT        KAREN T JOHNDROW                            KAREN T JOHNDROW                             KAREN T JOHNDROW
1776 HERITAGE DR                         1776 HERITAGE DR                            1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
LLNORDBERG@STATESTREET.COM               KTJOHNDROW@STATESTREET.COM                  PROXY-SERVICES@STATESTREET.COM               PCDESHARNAIS@STATESTREET.COM


032281P001-1488A-002F                    032281P001-1488A-002F                       032281P001-1488A-002F                        032281P001-1488A-002F
STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
DEUTSCHE BANK FRANKFURT                  DEUTSCHE BANK FRANKFURT                     DEUTSCHE BANK FRANKFURT                      DEUTSCHE BANK FRANKFURT
KAREN T JOHNDROW                         KAREN T JOHNDROW                            KAREN T JOHNDROW                             KAREN T JOHNDROW
1776 HERITAGE DR                         1776 HERITAGE DR                            1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
DJGONZALES@STATESTREET.COM               RJRAY@STATESTREET.COM                       SBUISSERETH@STATESTREET.COM                  LLNORDBERG@STATESTREET.COM


032281P001-1488A-002F                    032281P001-1488A-002F                       032281P001-1488A-002F                        032282P001-1488A-002F
STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
DEUTSCHE BANK FRANKFURT                  DEUTSCHE BANK FRANKFURT                     DEUTSCHE BANK FRANKFURT                      PROXY SVC
KAREN T JOHNDROW                         KAREN T JOHNDROW                            KAREN T JOHNDROW                             CHRISTINE SULLIVAN JERRY PARRILLA
1776 HERITAGE DR                         1776 HERITAGE DR                            1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
AGREENBERG2@STATESTREET.COM              USCARESEARCH@STATESTREET.COM                BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM   AREGAN@STATESTREET.COM


032282P001-1488A-002F                    032282P001-1488A-002F                       032282P001-1488A-002F                        032282P001-1488A-002F
STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
PROXY SVC                                PROXY SVC                                   PROXY SVC                                    PROXY SVC
CHRISTINE SULLIVAN JERRY PARRILLA        CHRISTINE SULLIVAN JERRY PARRILLA           CHRISTINE SULLIVAN JERRY PARRILLA            CHRISTINE SULLIVAN JERRY PARRILLA
1776 HERITAGE DR                         1776 HERITAGE DR                            1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
JOHN.ASHTON@STATESTREET.COM              BEPEREZ@STATESTREET.COM                     JPAULICELLI@STATESTREET.COM                  CMSULLIVAN2@STATESTREET.COM


032282P001-1488A-002F                    032282P001-1488A-002F                       032282P001-1488A-002F                        032282P001-1488A-002F
STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
PROXY SVC                                PROXY SVC                                   PROXY SVC                                    PROXY SVC
CHRISTINE SULLIVAN JERRY PARRILLA        CHRISTINE SULLIVAN JERRY PARRILLA           CHRISTINE SULLIVAN JERRY PARRILLA            CHRISTINE SULLIVAN JERRY PARRILLA
1776 HERITAGE DR                         1776 HERITAGE DR                            1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
PROXY-SERVICES@STATESTREET.COM           PCDESHARNAIS@STATESTREET.COM                DJGONZALES@STATESTREET.COM                   RJRAY@STATESTREET.COM


032282P001-1488A-002F                    032282P001-1488A-002F                       032282P001-1488A-002F                        032282P001-1488A-002F
STATE STREET BANK AND TRUST CO           STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO               STATE STREET BANK AND TRUST CO
PROXY SVC                                PROXY SVC                                   PROXY SVC                                    PROXY SVC
CHRISTINE SULLIVAN JERRY PARRILLA        CHRISTINE SULLIVAN JERRY PARRILLA           CHRISTINE SULLIVAN JERRY PARRILLA            CHRISTINE SULLIVAN JERRY PARRILLA
1776 HERITAGE DR                         1776 HERITAGE DR                            1776 HERITAGE DR                             1776 HERITAGE DR
NORTH QUINCY MA 02171                    NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171                        NORTH QUINCY MA 02171
SBUISSERETH@STATESTREET.COM              LLNORDBERG@STATESTREET.COM                  AGREENBERG2@STATESTREET.COM                  USCARESEARCH@STATESTREET.COM
                                              Case 22-90032 Document 69GWG  Holdings,
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032282P001-1488A-002F                              032283P001-1488A-002F                             032283P001-1488A-002F                         032283P001-1488A-002F
STATE STREET BANK AND TRUST CO                     STATE STREET BANK AND TRUST COMPANY, NA           STATE STREET BANK AND TRUST COMPANY, NA       STATE STREET BANK AND TRUST COMPANY, NA
PROXY SVC                                          SUSAN GRANT                                       SUSAN GRANT                                   SUSAN GRANT
CHRISTINE SULLIVAN JERRY PARRILLA                  61 BROADWAY                                       61 BROADWAY                                   61 BROADWAY
1776 HERITAGE DR                                   NEW YORK NY 10006                                 NEW YORK NY 10006                             NEW YORK NY 10006
NORTH QUINCY MA 02171                              AGREENBERG2@STATESTREET.COM                       USCARESEARCH@STATESTREET.COM                  BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM
BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM


032283P001-1488A-002F                              032283P001-1488A-002F                             032283P001-1488A-002F                         032283P001-1488A-002F
STATE STREET BANK AND TRUST COMPANY, NA            STATE STREET BANK AND TRUST COMPANY, NA           STATE STREET BANK AND TRUST COMPANY, NA       STATE STREET BANK AND TRUST COMPANY, NA
SUSAN GRANT                                        SUSAN GRANT                                       SUSAN GRANT                                   SUSAN GRANT
61 BROADWAY                                        61 BROADWAY                                       61 BROADWAY                                   61 BROADWAY
NEW YORK NY 10006                                  NEW YORK NY 10006                                 NEW YORK NY 10006                             NEW YORK NY 10006
PROXY-SERVICES@STATESTREET.COM                     PCDESHARNAIS@STATESTREET.COM                      DJGONZALES@STATESTREET.COM                    RJRAY@STATESTREET.COM




032283P001-1488A-002F                              032283P001-1488A-002F                             032284P001-1488A-002F                         032284P001-1488A-002F
STATE STREET BANK AND TRUST COMPANY, NA            STATE STREET BANK AND TRUST COMPANY, NA           STATE STREET BANK AND TRUST COMPANY/IPA       STATE STREET BANK AND TRUST COMPANY/IPA
SUSAN GRANT                                        SUSAN GRANT                                       SUSAN GRANT                                   SUSAN GRANT
61 BROADWAY                                        61 BROADWAY                                       61 BROADWAY                                   61 BROADWAY
NEW YORK NY 10006                                  NEW YORK NY 10006                                 NEW YORK NY 10006                             NEW YORK NY 10006
SBUISSERETH@STATESTREET.COM                        LLNORDBERG@STATESTREET.COM                        AGREENBERG2@STATESTREET.COM                   USCARESEARCH@STATESTREET.COM




032284P001-1488A-002F                              032284P001-1488A-002F                             032284P001-1488A-002F                         032284P001-1488A-002F
STATE STREET BANK AND TRUST COMPANY/IPA            STATE STREET BANK AND TRUST COMPANY/IPA           STATE STREET BANK AND TRUST COMPANY/IPA       STATE STREET BANK AND TRUST COMPANY/IPA
SUSAN GRANT                                        SUSAN GRANT                                       SUSAN GRANT                                   SUSAN GRANT
61 BROADWAY                                        61 BROADWAY                                       61 BROADWAY                                   61 BROADWAY
NEW YORK NY 10006                                  NEW YORK NY 10006                                 NEW YORK NY 10006                             NEW YORK NY 10006
BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM         PROXY-SERVICES@STATESTREET.COM                    PCDESHARNAIS@STATESTREET.COM                  DJGONZALES@STATESTREET.COM




032284P001-1488A-002F                              032284P001-1488A-002F                             032284P001-1488A-002F                         032276P001-1488A-002F
STATE STREET BANK AND TRUST COMPANY/IPA            STATE STREET BANK AND TRUST COMPANY/IPA           STATE STREET BANK AND TRUST COMPANY/IPA       STATE STREET BANK AND TRUST COMPANYEC, GMBH
SUSAN GRANT                                        SUSAN GRANT                                       SUSAN GRANT                                   MYRIAM PIERVIL
61 BROADWAY                                        61 BROADWAY                                       61 BROADWAY                                   1776 HERITAGE DR
NEW YORK NY 10006                                  NEW YORK NY 10006                                 NEW YORK NY 10006                             NORTH QUINCY MA 02171
RJRAY@STATESTREET.COM                              SBUISSERETH@STATESTREET.COM                       LLNORDBERG@STATESTREET.COM                    AGREENBERG2@STATESTREET.COM




032276P001-1488A-002F                              032276P001-1488A-002F                             032276P001-1488A-002F                         032276P001-1488A-002F
STATE STREET BANK AND TRUST COMPANYEC, GMBH        STATE STREET BANK AND TRUST COMPANYEC, GMBH       STATE STREET BANK AND TRUST COMPANYEC, GMBH   STATE STREET BANK AND TRUST COMPANYEC, GMBH
MYRIAM PIERVIL                                     MYRIAM PIERVIL                                    MYRIAM PIERVIL                                MYRIAM PIERVIL
1776 HERITAGE DR                                   1776 HERITAGE DR                                  1776 HERITAGE DR                              1776 HERITAGE DR
NORTH QUINCY MA 02171                              NORTH QUINCY MA 02171                             NORTH QUINCY MA 02171                         NORTH QUINCY MA 02171
USCARESEARCH@STATESTREET.COM                       BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM        PROXY-SERVICES@STATESTREET.COM                PCDESHARNAIS@STATESTREET.COM
                                              Case 22-90032 Document 69GWG  Holdings,
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STATE STREET BANK AND TRUST COMPANYEC, GMBH        STATE STREET BANK AND TRUST COMPANYEC, GMBH   STATE STREET BANK AND TRUST COMPANYEC, GMBH   STATE STREET BANK AND TRUST COMPANYEC, GMBH
MYRIAM PIERVIL                                     MYRIAM PIERVIL                                MYRIAM PIERVIL                                MYRIAM PIERVIL
1776 HERITAGE DR                                   1776 HERITAGE DR                              1776 HERITAGE DR                              1776 HERITAGE DR
NORTH QUINCY MA 02171                              NORTH QUINCY MA 02171                         NORTH QUINCY MA 02171                         NORTH QUINCY MA 02171
DJGONZALES@STATESTREET.COM                         RJRAY@STATESTREET.COM                         SBUISSERETH@STATESTREET.COM                   LLNORDBERG@STATESTREET.COM




032285P001-1488A-002F                              032285P001-1488A-002F                         032285P001-1488A-002F                         032285P001-1488A-002F
STATE STREET CORP ON BEHALF OF HSBC                STATE STREET CORP ON BEHALF OF HSBC           STATE STREET CORP ON BEHALF OF HSBC           STATE STREET CORP ON BEHALF OF HSBC
WEALTH MANAGER SVC                                 WEALTH MANAGER SVC                            WEALTH MANAGER SVC                            WEALTH MANAGER SVC
CORP ACTIONS                                       CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS
1200 CROWN COLONY DR                               1200 CROWN COLONY DR                          1200 CROWN COLONY DR                          1200 CROWN COLONY DR
QUINCY MA 02169                                    QUINCY MA 02169                               QUINCY MA 02169                               QUINCY MA 02169
LLNORDBERG@STATESTREET.COM                         AGREENBERG2@STATESTREET.COM                   USCARESEARCH@STATESTREET.COM                  BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM


032285P001-1488A-002F                              032285P001-1488A-002F                         032285P001-1488A-002F                         032285P001-1488A-002F
STATE STREET CORP ON BEHALF OF HSBC                STATE STREET CORP ON BEHALF OF HSBC           STATE STREET CORP ON BEHALF OF HSBC           STATE STREET CORP ON BEHALF OF HSBC
WEALTH MANAGER SVC                                 WEALTH MANAGER SVC                            WEALTH MANAGER SVC                            WEALTH MANAGER SVC
CORP ACTIONS                                       CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS
1200 CROWN COLONY DR                               1200 CROWN COLONY DR                          1200 CROWN COLONY DR                          1200 CROWN COLONY DR
QUINCY MA 02169                                    QUINCY MA 02169                               QUINCY MA 02169                               QUINCY MA 02169
MPIERVIL@STATESTREET.COM                           PROXY-SERVICES@STATESTREET.COM                PCDESHARNAIS@STATESTREET.COM                  DJGONZALES@STATESTREET.COM


032285P001-1488A-002F                              032285P001-1488A-002F                         032286P001-1488A-002F                         032286P001-1488A-002F
STATE STREET CORP ON BEHALF OF HSBC                STATE STREET CORP ON BEHALF OF HSBC           STATE STREET GLOBAL MARKETS, LLC              STATE STREET GLOBAL MARKETS, LLC
WEALTH MANAGER SVC                                 WEALTH MANAGER SVC                            SUSAN M TAPPARO                               SUSAN M TAPPARO
CORP ACTIONS                                       CORP ACTIONS                                  VICE PRESIDENT                                VICE PRESIDENT
1200 CROWN COLONY DR                               1200 CROWN COLONY DR                          STATE ST FINANCIAL CTR                        STATE ST FINANCIAL CTR
QUINCY MA 02169                                    QUINCY MA 02169                               ONE LINCOLN ST SFC5                           ONE LINCOLN ST SFC5
RJRAY@STATESTREET.COM                              SBUISSERETH@STATESTREET.COM                   BOSTON MA 02111-2900                          BOSTON MA 02111-2900
                                                                                                 SBUISSERETH@STATESTREET.COM                   LLNORDBERG@STATESTREET.COM

032286P001-1488A-002F                              032286P001-1488A-002F                         032286P001-1488A-002F                         032286P001-1488A-002F
STATE STREET GLOBAL MARKETS, LLC                   STATE STREET GLOBAL MARKETS, LLC              STATE STREET GLOBAL MARKETS, LLC              STATE STREET GLOBAL MARKETS, LLC
SUSAN M TAPPARO                                    SUSAN M TAPPARO                               SUSAN M TAPPARO                               SUSAN M TAPPARO
VICE PRESIDENT                                     VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT
STATE ST FINANCIAL CTR                             STATE ST FINANCIAL CTR                        STATE ST FINANCIAL CTR                        STATE ST FINANCIAL CTR
ONE LINCOLN ST SFC5                                ONE LINCOLN ST SFC5                           ONE LINCOLN ST SFC5                           ONE LINCOLN ST SFC5
BOSTON MA 02111-2900                               BOSTON MA 02111-2900                          BOSTON MA 02111-2900                          BOSTON MA 02111-2900
AGREENBERG2@STATESTREET.COM                        USCARESEARCH@STATESTREET.COM                  BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM    SMTAPPARO@STATESTREET.COM

032286P001-1488A-002F                              032286P001-1488A-002F                         032286P001-1488A-002F                         032286P001-1488A-002F
STATE STREET GLOBAL MARKETS, LLC                   STATE STREET GLOBAL MARKETS, LLC              STATE STREET GLOBAL MARKETS, LLC              STATE STREET GLOBAL MARKETS, LLC
SUSAN M TAPPARO                                    SUSAN M TAPPARO                               SUSAN M TAPPARO                               SUSAN M TAPPARO
VICE PRESIDENT                                     VICE PRESIDENT                                VICE PRESIDENT                                VICE PRESIDENT
STATE ST FINANCIAL CTR                             STATE ST FINANCIAL CTR                        STATE ST FINANCIAL CTR                        STATE ST FINANCIAL CTR
ONE LINCOLN ST SFC5                                ONE LINCOLN ST SFC5                           ONE LINCOLN ST SFC5                           ONE LINCOLN ST SFC5
BOSTON MA 02111-2900                               BOSTON MA 02111-2900                          BOSTON MA 02111-2900                          BOSTON MA 02111-2900
PROXY-SERVICES@STATESTREET.COM                     PCDESHARNAIS@STATESTREET.COM                  DJGONZALES@STATESTREET.COM                    RJRAY@STATESTREET.COM
                                     Case 22-90032 Document 69GWG  Holdings,
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032287P001-1488A-002F                     032287P001-1488A-002F                        032287P001-1488A-002F                032287P001-1488A-002F
STATE STREET TRUST                        STATE STREET TRUST                           STATE STREET TRUST                   STATE STREET TRUST
T479                                      T479                                         T479                                 T479
GLOBAL CORPORATE ACTIONS                  GLOBAL CORPORATE ACTIONS                     GLOBAL CORPORATE ACTIONS             GLOBAL CORPORATE ACTIONS
PO BOX 1631                               PO BOX 1631                                  PO BOX 1631                          PO BOX 1631
BOSTON MA 02105-1631                      BOSTON MA 02105-1631                         BOSTON MA 02105-1631                 BOSTON MA 02105-1631
LLNORDBERG@STATESTREET.COM                AGREENBERG2@STATESTREET.COM                  USCARESEARCH@STATESTREET.COM         BARINGSIMSUSCLIENTSERVICES@STATESTREET.COM


032287P001-1488A-002F                     032287P001-1488A-002F                        032287P001-1488A-002F                032287P001-1488A-002F
STATE STREET TRUST                        STATE STREET TRUST                           STATE STREET TRUST                   STATE STREET TRUST
T479                                      T479                                         T479                                 T479
GLOBAL CORPORATE ACTIONS                  GLOBAL CORPORATE ACTIONS                     GLOBAL CORPORATE ACTIONS             GLOBAL CORPORATE ACTIONS
PO BOX 1631                               PO BOX 1631                                  PO BOX 1631                          PO BOX 1631
BOSTON MA 02105-1631                      BOSTON MA 02105-1631                         BOSTON MA 02105-1631                 BOSTON MA 02105-1631
MPIERVIL@STATESTREET.COM                  PROXY-SERVICES@STATESTREET.COM               PCDESHARNAIS@STATESTREET.COM         DJGONZALES@STATESTREET.COM


032287P001-1488A-002F                     032287P001-1488A-002F                        032288P001-1488A-002F                032289P001-1488A-002F
STATE STREET TRUST                        STATE STREET TRUST                           STEPHENS INC                         STEPHENS INC
T479                                      T479                                         NINA VINCENT                         LINDA THOMPSON
GLOBAL CORPORATE ACTIONS                  GLOBAL CORPORATE ACTIONS                     111 CTR ST 9TH FL                    ASSISTANT VICE PRESIDENT
PO BOX 1631                               PO BOX 1631                                  PO BOX 3507                          111 CTR ST
BOSTON MA 02105-1631                      BOSTON MA 02105-1631                         LITTLE ROCK AR 72203                 4TH FL
RJRAY@STATESTREET.COM                     SBUISSERETH@STATESTREET.COM                  NINA.VINCENT@STEPHENS.COM            LITTLE ROCK AR 72201-4402
                                                                                                                            LKTHOMPSON@STEPHENS.COM

032290P001-1488A-002F                     032291P001-1488A-002F                        032291P001-1488A-002F                032291P001-1488A-002F
STIFEL, NICOLAUS AND COMPANY, INC         STIFEL, NICOLAUS AND COMPANY, INC            STIFEL, NICOLAUS AND COMPANY, INC    STIFEL, NICOLAUS AND COMPANY, INC
CHRIS WIEGAND                             TINA SCHWEITZER                              TINA SCHWEITZER                      TINA SCHWEITZER
501 N BROADWAY                            ONE FINANCIAL PLZ                            ONE FINANCIAL PLZ                    ONE FINANCIAL PLZ
ST. LOUIS MO 63102                        501 N BROADWAY                               501 N BROADWAY                       501 N BROADWAY
WIEGANDC@STIFEL.COM                       ST. LOUIS MO 63102                           ST. LOUIS MO 63102                   ST. LOUIS MO 63102
                                          RUSSELLC@STIFEL.COM                          KIVLEHENS@STIFEL.COM                 WIEGANDC@STIFEL.COM


032291P001-1488A-002F                     032291P001-1488A-002F                        032292P001-1488A-002F                032293P001-1488A-002F
STIFEL, NICOLAUS AND COMPANY, INC         STIFEL, NICOLAUS AND COMPANY, INC            STIFEL, NICOLAUS AND COMPANY, INC    STOCKCROSS FINANCIAL SERVICES, INC
TINA SCHWEITZER                           TINA SCHWEITZER                              ZACHARY J RESMANN                    LISA BRUNSON
ONE FINANCIAL PLZ                         ONE FINANCIAL PLZ                            501 N BROADWAY                       9464 WILSHIRE BLVD
501 N BROADWAY                            501 N BROADWAY                               ST. LOUIS MO 63102                   BEVERLY HILLS CA 90212
ST. LOUIS MO 63102                        ST. LOUIS MO 63102                           RESMANNZ@STIFEL.COM                  LISA.BRUNSON@STOCKCROSS.COM
OPSSTOCKRECORDS@STIFEL.COM                BLANNERM@STIFEL.COM


032293P001-1488A-002F                     032294P001-1488A-002F                        032294P001-1488A-002F                032295P001-1488A-002F
STOCKCROSS FINANCIAL SERVICES, INC        STOCKCROSS FINANCIAL SERVICES, INC           STOCKCROSS FINANCIAL SERVICES, INC   STOCKCROSS FINANCIAL SERVICES, INC
LISA BRUNSON                              CORPORATE ACTIONS LORETTA RACER              CORPORATE ACTIONS LORETTA RACER      CORPORATE ACTIONS
9464 WILSHIRE BLVD                        1900 ST JAMES PL 120                         1900 ST JAMES PL 120                 9464 WILSHIRE BLVD
BEVERLY HILLS CA 90212                    HOUSTON TX 77056                             HOUSTON TX 77056                     BEVERLY HILLS CA 90212
DIANE.TOBEY@STOCKCROSS.COM                INFO@STOCKCROSS.COM                          DIANE.TOBEY@STOCKCROSS.COM           DIANE.TOBEY@STOCKCROSS.COM
                                      Case 22-90032 Document 69GWG  Holdings,
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032295P001-1488A-002F                      032295P001-1488A-002F                         032296P001-1488A-002F                           032297P001-1488A-002F
STOCKCROSS FINANCIAL SERVICES, INC         STOCKCROSS FINANCIAL SERVICES, INC            STOCKCROSS FINANCIAL SERVICES, INC              STOCKCROSS FINANCIAL SERVICES, INC
CORPORATE ACTIONS                          CORPORATE ACTIONS                             DIANE TOBEY                                     KIMBERLEY DEHN
9464 WILSHIRE BLVD                         9464 WILSHIRE BLVD                            77 SUMMER ST                                    1900 ST JAMES PL 120
BEVERLY HILLS CA 90212                     BEVERLY HILLS CA 90212                        BOSTON MA 02110                                 HOUSTON TX 77056
OFEINA.TUIHALAMAKA@STOCKCROSS.COM          DANIEL.LOGUE@STOCKCROSS.COM                   DIANE.TOBEY@STOCKCROSS.COM                      DIANE.TOBEY@STOCKCROSS.COM




032298P001-1488A-002F                      032298P001-1488A-002F                         032298P001-1488A-002F                           032299P001-1488A-002F
STOCKCROSS FINANCIAL SERVICES, INC3        STOCKCROSS FINANCIAL SERVICES, INC3           STOCKCROSS FINANCIAL SERVICES, INC3             SUMITOMO MITSUI TRUST BANK USA LIMITED
CORPORATE ACTIONS                          CORPORATE ACTIONS                             CORPORATE ACTIONS                               BETH CUMMINGS
9464 WILSHIRE BLVD                         9464 WILSHIRE BLVD                            9464 WILSHIRE BLVD                              111 RIVER ST
BEVERLY HILLS CA 90212                     BEVERLY HILLS CA 90212                        BEVERLY HILLS CA 90212                          HOBOKEN NJ 07030
DIANE.TOBEY@STOCKCROSS.COM                 OFEINA.TUIHALAMAKA@STOCKCROSS.COM             DANIEL.LOGUE@STOCKCROSS.COM                     BETH_CUMMINGS@SMTBUSA.COM




032300P001-1488A-002F                      032300P001-1488A-002F                         032300P001-1488A-002F                           032301P001-1488A-002F
SUNTRUST BANK                              SUNTRUST BANK                                 SUNTRUST BANK                                   SUNTRUST BANK/SUNTRUST BANK DEALER BANK
RICK TROWBRIDGE                            RICK TROWBRIDGE                               RICK TROWBRIDGE                                 VERONICA JOHNSON
303 PEACHTREE ST                           303 PEACHTREE ST                              303 PEACHTREE ST                                303 PEACHTREE ST
14TH FL                                    14TH FL                                       14TH FL                                         25TH FL
ATLANTA GA 30308                           ATLANTA GA 30308                              ATLANTA GA 30308                                ATLANTA GA 30308
RICK.TROWBRIDGE@SUNTRUST.COM               CLASS.ACTIONS@SUNTRUST.COM                    PCSSPECIAL.PROCESSING@SUNTRUST.COM              VERONICA.JOHNSON@SUNTRUST.COM


032302P001-1488A-002F                      032303P001-1488A-002F                         032304P001-1488A-002F                           032304P001-1488A-002F
SYNOVUS BANK                               SYNOVUS BANK/SYNOVUS 2                        TD AMERITRADE CLEARING, INC                     TD AMERITRADE CLEARING, INC
RUDY NEWMAN                                RUDY NEWMAN                                   CORP ACTIONS                                    CORP ACTIONS
1 BROAD ST                                 1 BROAD ST                                    JANICE GUDE SUZANNE BRODD                       JANICE GUDE SUZANNE BRODD
SUMTER SC 29150                            SUMTER SC 29150                               200 S 108TH AVE                                 200 S 108TH AVE
RUDYNEWMAN@BANKNBSC.COM                    RUDYNEWMAN@BANKNBSC.COM                       OMAHA NE 68154                                  OMAHA NE 68154
                                                                                         ZCLASSACTIONS@TDAMERITRADE.COM                  DIANE.EASTER@TDAMERITRADE.COM


032304P001-1488A-002F                      032304P001-1488A-002F                         032305P001-1488A-002F                           032305P001-1488A-002F
TD AMERITRADE CLEARING, INC                TD AMERITRADE CLEARING, INC                   TD AMERITRADE CLEARING, INCSECURITIES LENDING   TD AMERITRADE CLEARING, INCSECURITIES LENDING
CORP ACTIONS                               CORP ACTIONS                                  REORG DEPT                                      REORG DEPT
JANICE GUDE SUZANNE BRODD                  JANICE GUDE SUZANNE BRODD                     200 S 108TH AVE                                 200 S 108TH AVE
200 S 108TH AVE                            200 S 108TH AVE                               OMAHA NE 68154                                  OMAHA NE 68154
OMAHA NE 68154                             OMAHA NE 68154                                ZCLASSACTIONS@TDAMERITRADE.COM                  TDWPROXY@TDSECURITIES.COM
JANICE.GUDE@TDAMERITRADE.COM               TDWPROXY@TDSECURITIES.COM


032306P001-1488A-002F                      032306P001-1488A-002F                         032307P001-1488A-002F                           032307P001-1488A-002F
TD AMERITRADE TRUST CO                     TD AMERITRADE TRUST CO                        TD SECURITIES (USA) LLC                         TD SECURITIES (USA) LLC
EASTER DIANE                               EASTER DIANE                                  REORG DEPT                                      REORG DEPT
717 17TH ST                                717 17TH ST                                   200 S 108TH AVE                                 200 S 108TH AVE
STE 1700                                   STE 1700                                      OMAHA NE 68154                                  OMAHA NE 68154
DENVER CO 80202                            DENVER CO 80202                               ZCLASSACTIONS@TDAMERITRADE.COM                  TDWPROXY@TDSECURITIES.COM
DIANE.EASTER@TDAMERITRADE.COM              TDWPROXY@TDSECURITIES.COM
                                            Case 22-90032 Document 69GWG  Holdings,
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032308P001-1488A-002F                            032309P001-1488A-002F                         032309P001-1488A-002F                       032309P001-1488A-002F
TD WATERHOUSE CANADA INCCDS**                    THE BANK OF NEW YORK                          THE BANK OF NEW YORK                        THE BANK OF NEW YORK
YOUSUF AHMED                                     MELLON/DBLPB-CENTAURUSPROXIMA FD              MELLON/DBLPB-CENTAURUSPROXIMA FD            MELLON/DBLPB-CENTAURUSPROXIMA FD
77 BLOOR ST WEST                                 MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT              MICHAEL KANIA - VICE PRESIDENT
3RD FL                                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                         525 WILLIAM PENN PL
TORONTO ON M4Y 2T1                               PITTSBURGH PA 15259                           PITTSBURGH PA 15259                         PITTSBURGH PA 15259
CANADA                                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM              PGH.CA.EVENT.CREATION@BNYMELLON.COM
TDWPROXY@TD.COM

032310P001-1488A-002F                            032310P001-1488A-002F                         032310P001-1488A-002F                       032310P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        MELLON TRST OF NEW ENGLAND NATIONAL ASSOC     MELLON TRST OF NEW ENGLAND NATIONAL ASSOC   MELLON TRST OF NEW ENGLAND NATIONAL ASSOC
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 153-0400                                     STE 153-0400                                  STE 153-0400                                STE 153-0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                         PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM         JUSTIN.WHITEHOUSE@BNYMELLON.COM

032310P001-1488A-002F                            032310P001-1488A-002F                         032310P001-1488A-002F                       032310P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        MELLON TRST OF NEW ENGLAND NATIONAL ASSOC     MELLON TRST OF NEW ENGLAND NATIONAL ASSOC   MELLON TRST OF NEW ENGLAND NATIONAL ASSOC
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 153-0400                                     STE 153-0400                                  STE 153-0400                                STE 153-0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                         PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                PROXYSUPPORT@BNYMELLON.COM

032310P001-1488A-002F                            032310P001-1488A-002F                         032311P001-1488A-002F                       032311P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        MELLON TRST OF NEW ENGLAND NATIONAL ASSOC     CORP ACTIONS                                CORP ACTIONS
CORP ACTIONS                                     CORP ACTIONS                                  525 WILLIAM PENN PL                         525 WILLIAM PENN PL
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           STE 153-0400                                STE 153-0400
STE 153-0400                                     STE 153-0400                                  PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           MATTHEW.BARTEL@BNYMELLON.COM                JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM

032311P001-1488A-002F                            032311P001-1488A-002F                         032311P001-1488A-002F                       032311P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 153-0400                                     STE 153-0400                                  STE 153-0400                                STE 153-0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM           STEPHEN.COCCODRILLI@BNYMELLON.COM           PROXYSUPPORT@BNYMELLON.COM


032311P001-1488A-002F                            032311P001-1488A-002F                         032311P001-1488A-002F                       032311P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 153-0400                                     STE 153-0400                                  STE 153-0400                                STE 153-0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                         PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM             SZYROKI.DC@MELLON.COM
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032311P001-1488A-002F                            032312P001-1488A-002F                            032312P001-1488A-002F                       032312P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
CORP ACTIONS                                     CORP ACTIONS                                     CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                              525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 153-0400                                     STE 0400                                         STE 0400                                    STE 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                              PITTSBURGH PA 15259                         PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM              PGH.CA.EVENT.CREATION@BNYMELLON.COM


032312P001-1488A-002F                            032312P001-1488A-002F                            032312P001-1488A-002F                       032312P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
CORP ACTIONS                                     CORP ACTIONS                                     CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                              525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 0400                                         STE 0400                                         STE 0400                                    STE 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                              PITTSBURGH PA 15259                         PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM            MATTHEW.BARTEL@BNYMELLON.COM


032312P001-1488A-002F                            032312P001-1488A-002F                            032312P001-1488A-002F                       032313P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
CORP ACTIONS                                     CORP ACTIONS                                     CORP ACTIONS                                MELLON TRST OF NEW ENGLAND NATIONAL ASSOC
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                              525 WILLIAM PENN PL                         CORP ACTIONS
STE 0400                                         STE 0400                                         STE 0400                                    525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                              PITTSBURGH PA 15259                         STE 0400
PROXYSUPPORT@BNYMELLON.COM                       GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                         PITTSBURGH PA 15259
                                                                                                                                              JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

032313P001-1488A-002F                            032313P001-1488A-002F                            032313P001-1488A-002F                       032313P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        MELLON TRST OF NEW ENGLAND NATIONAL ASSOC   MELLON TRST OF NEW ENGLAND NATIONAL ASSOC
CORP ACTIONS                                     CORP ACTIONS                                     CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                              525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 0400                                         STE 0400                                         STE 0400                                    STE 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                              PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM              JUSTIN.WHITEHOUSE@BNYMELLON.COM             SZYROKI.DC@MELLON.COM

032313P001-1488A-002F                            032313P001-1488A-002F                            032313P001-1488A-002F                       032313P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        MELLON TRST OF NEW ENGLAND NATIONAL ASSOC   MELLON TRST OF NEW ENGLAND NATIONAL ASSOC
CORP ACTIONS                                     CORP ACTIONS                                     CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                              525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 0400                                         STE 0400                                         STE 0400                                    STE 0400
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                              PITTSBURGH PA 15259                         PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                     PROXYSUPPORT@BNYMELLON.COM                  GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

032313P001-1488A-002F                            032314P001-1488A-002F                            032314P001-1488A-002F                       032314P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC        UBS AG LONDON BRANCH DESIGNED EQUITIES           UBS AG LONDON BRANCH DESIGNED EQUITIES      UBS AG LONDON BRANCH DESIGNED EQUITIES
CORP ACTIONS                                     CORP ACTIONS                                     CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                              525 WILLIAM PENN PL                         525 WILLIAM PENN PL
STE 0400                                         PITTSBURGH PA 15259                              PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PITTSBURGH PA 15259                              MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM          PGHEVENTCREATION@BNYMELLON.COM
PXRPT@BNYMELLON.COM
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032314P001-1488A-002F                         032314P001-1488A-002F                            032314P001-1488A-002F                    032314P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
UBS AG LONDON BRANCH DESIGNED EQUITIES        UBS AG LONDON BRANCH DESIGNED EQUITIES           UBS AG LONDON BRANCH DESIGNED EQUITIES   UBS AG LONDON BRANCH DESIGNED EQUITIES
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM           DL-CA-MANAGER@UBS.COM                            OL-WMA-CA-REORG@UBS.COM                  DL-WMA-PHYSICAL-PROCESSING@UBS.COM


032314P001-1488A-002F                         032314P001-1488A-002F                            032314P001-1488A-002F                    032314P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
UBS AG LONDON BRANCH DESIGNED EQUITIES        UBS AG LONDON BRANCH DESIGNED EQUITIES           UBS AG LONDON BRANCH DESIGNED EQUITIES   UBS AG LONDON BRANCH DESIGNED EQUITIES
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
OL-CA-MANAGERS@UBS.COM                        OL-WMA-CA-BONDREDEMPTION@UBS.COM                 TRACEY.DREWE@UBS.COM                     JANE.FLOOD@UBS.COM


032314P001-1488A-002F                         032314P001-1488A-002F                            032314P001-1488A-002F                    032314P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
UBS AG LONDON BRANCH DESIGNED EQUITIES        UBS AG LONDON BRANCH DESIGNED EQUITIES           UBS AG LONDON BRANCH DESIGNED EQUITIES   UBS AG LONDON BRANCH DESIGNED EQUITIES
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
PAVAN.MATAPATHI@UBS.COM                       DL-WMA-PROXY@UBS.COM                             SH-WMA-CAPROXYCLASSACTIONS@UBS.COM       MICHAEL.HALLET@UBS.COM


032314P001-1488A-002F                         032314P001-1488A-002F                            032314P001-1488A-002F                    032314P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
UBS AG LONDON BRANCH DESIGNED EQUITIES        UBS AG LONDON BRANCH DESIGNED EQUITIES           UBS AG LONDON BRANCH DESIGNED EQUITIES   UBS AG LONDON BRANCH DESIGNED EQUITIES
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
OL-WMA-CA-PROXY@UBS.COM                       SCOTT.HARRIS@UBS.COM                             HEMANT.TIWARI@UBS.COM                    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032314P001-1488A-002F                         032314P001-1488A-002F                            032314P001-1488A-002F                    032314P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
UBS AG LONDON BRANCH DESIGNED EQUITIES        UBS AG LONDON BRANCH DESIGNED EQUITIES           UBS AG LONDON BRANCH DESIGNED EQUITIES   UBS AG LONDON BRANCH DESIGNED EQUITIES
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                    JMICHAEL.JOHNSONJR@BNYMELLON.COM


032315P001-1488A-002F                         032315P001-1488A-002F                            032315P001-1488A-002F                    032315P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
NATIONAL AUSTRALIA BANK                       NATIONAL AUSTRALIA BANK                          NATIONAL AUSTRALIA BANK                  NATIONAL AUSTRALIA BANK
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           MIKE SCARRY - ASSISTANT VICE PRESIDENT   MIKE SCARRY - ASSISTANT VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                              ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                        NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM      MSCARRY@BANKOFNY.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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032315P001-1488A-002F                         032315P001-1488A-002F                            032315P001-1488A-002F                        032315P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIONAL AUSTRALIA BANK                       NATIONAL AUSTRALIA BANK                          NATIONAL AUSTRALIA BANK                      NATIONAL AUSTRALIA BANK
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           MIKE SCARRY - ASSISTANT VICE PRESIDENT       MIKE SCARRY - ASSISTANT VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032315P001-1488A-002F                         032315P001-1488A-002F                            032316P001-1488A-002F                        032316P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIONAL AUSTRALIA BANK                       NATIONAL AUSTRALIA BANK                          NATIXIS SECURITIES AMERICAS LLC I            NATIXIS SECURITIES AMERICAS LLC I
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           MIKE SCARRY - ASSISTANT VICE PRESIDENT       MIKE SCARRY - ASSISTANT VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032316P001-1488A-002F                         032316P001-1488A-002F                            032316P001-1488A-002F                        032316P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIXIS SECURITIES AMERICAS LLC I             NATIXIS SECURITIES AMERICAS LLC I                NATIXIS SECURITIES AMERICAS LLC I            NATIXIS SECURITIES AMERICAS LLC I
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           MIKE SCARRY - ASSISTANT VICE PRESIDENT       MIKE SCARRY - ASSISTANT VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM           MSCARRY@BANKOFNY.COM                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032316P001-1488A-002F                         032316P001-1488A-002F                            032316P001-1488A-002F                        032316P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIXIS SECURITIES AMERICAS LLC I             NATIXIS SECURITIES AMERICAS LLC I                NATIXIS SECURITIES AMERICAS LLC I            NATIXIS SECURITIES AMERICAS LLC I
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           MIKE SCARRY - ASSISTANT VICE PRESIDENT       MIKE SCARRY - ASSISTANT VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032317P001-1488A-002F                         032317P001-1488A-002F                            032317P001-1488A-002F                        032317P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SOCIETE GENERALE GIC                          SOCIETE GENERALE GIC                             SOCIETE GENERALE GIC                         SOCIETE GENERALE GIC
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           MIKE SCARRY - ASSISTANT VICE PRESIDENT       MIKE SCARRY - ASSISTANT VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM          MSCARRY@BANKOFNY.COM


032317P001-1488A-002F                         032317P001-1488A-002F                            032317P001-1488A-002F                        032317P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SOCIETE GENERALE GIC                          SOCIETE GENERALE GIC                             SOCIETE GENERALE GIC                         SOCIETE GENERALE GIC
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           MIKE SCARRY - ASSISTANT VICE PRESIDENT       MIKE SCARRY - ASSISTANT VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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032317P001-1488A-002F                         032317P001-1488A-002F                            032318P001-1488A-002F                             032318P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON
SOCIETE GENERALE GIC                          SOCIETE GENERALE GIC                             WELLS FARGO BANK NA                               WELLS FARGO BANK NA
MIKE SCARRY - ASSISTANT VICE PRESIDENT        MIKE SCARRY - ASSISTANT VICE PRESIDENT           DONNA STEINMAN - VICE PRESIDENT                   DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                       ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                                 NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                     GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM


032318P001-1488A-002F                         032318P001-1488A-002F                            032318P001-1488A-002F                             032318P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON
WELLS FARGO BANK NA                           WELLS FARGO BANK NA                              WELLS FARGO BANK NA                               WELLS FARGO BANK NA
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT                   DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                       ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                                 NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM                  MATTHEW.BARTEL@BNYMELLON.COM


032318P001-1488A-002F                         032318P001-1488A-002F                            032318P001-1488A-002F                             032318P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON
WELLS FARGO BANK NA                           WELLS FARGO BANK NA                              WELLS FARGO BANK NA                               WELLS FARGO BANK NA
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT                   DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                       ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                                 NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM         WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM


032318P001-1488A-002F                         032318P001-1488A-002F                            032318P001-1488A-002F                             032318P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON
WELLS FARGO BANK NA                           WELLS FARGO BANK NA                              WELLS FARGO BANK NA                               WELLS FARGO BANK NA
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT                   DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                       ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                                 NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM              BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM


032319P001-1488A-002F                         032319P001-1488A-002F                            032319P001-1488A-002F                             032319P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON
ITC-DEALERS CLEARANCE GENERAL                 ITC-DEALERS CLEARANCE GENERAL                    ITC-DEALERS CLEARANCE GENERAL                     ITC-DEALERS CLEARANCE GENERAL
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                   SZYROKI.DC@MELLON.COM




032319P001-1488A-002F                         032319P001-1488A-002F                            032319P001-1488A-002F                             032319P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON
ITC-DEALERS CLEARANCE GENERAL                 ITC-DEALERS CLEARANCE GENERAL                    ITC-DEALERS CLEARANCE GENERAL                     ITC-DEALERS CLEARANCE GENERAL
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                               525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                               PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                PGHEVENTCREATION@BNYMELLON.COM
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032319P001-1488A-002F                      032320P001-1488A-002F                         032320P001-1488A-002F                        032320P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ITC-DEALERS CLEARANCE GENERAL              ALLSTATE MARK TO MARKETS                      ALLSTATE MARK TO MARKETS                     ALLSTATE MARK TO MARKETS
525 WILLIAM PENN PL                        CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
PITTSBURGH PA 15259                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PGH.CA.EVENT.CREATION@BNYMELLON.COM        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032320P001-1488A-002F                      032320P001-1488A-002F                         032320P001-1488A-002F                        032320P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ALLSTATE MARK TO MARKETS                   ALLSTATE MARK TO MARKETS                      ALLSTATE MARK TO MARKETS                     ALLSTATE MARK TO MARKETS
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032320P001-1488A-002F                      032320P001-1488A-002F                         032321P001-1488A-002F                        032321P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ALLSTATE MARK TO MARKETS                   ALLSTATE MARK TO MARKETS                      BZW SECURITIESLIMITED                        BZW SECURITIESLIMITED
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032321P001-1488A-002F                      032321P001-1488A-002F                         032321P001-1488A-002F                        032321P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BZW SECURITIESLIMITED                      BZW SECURITIESLIMITED                         BZW SECURITIESLIMITED                        BZW SECURITIESLIMITED
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032321P001-1488A-002F                      032321P001-1488A-002F                         032321P001-1488A-002F                        032322P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BZW SECURITIESLIMITED                      BZW SECURITIESLIMITED                         BZW SECURITIESLIMITED                        DEUTSCHE BANK LONDON AG LONDON
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 GLOBAL MARKET #2, CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          11486 CORPORATE BLVD
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          ORLANDO FL 32817
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032322P001-1488A-002F                      032322P001-1488A-002F                         032322P001-1488A-002F                        032322P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DEUTSCHE BANK LONDON AG LONDON             DEUTSCHE BANK LONDON AG LONDON                DEUTSCHE BANK LONDON AG LONDON               DEUTSCHE BANK LONDON AG LONDON
GLOBAL MARKET #2, CORP ACTIONS             GLOBAL MARKET #2, CORP ACTIONS                GLOBAL MARKET #2, CORP ACTIONS               GLOBAL MARKET #2, CORP ACTIONS
11486 CORPORATE BLVD                       11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
ORLANDO FL 32817                           ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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032322P001-1488A-002F                         032322P001-1488A-002F                         032322P001-1488A-002F                        032322P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DEUTSCHE BANK LONDON AG LONDON                DEUTSCHE BANK LONDON AG LONDON                DEUTSCHE BANK LONDON AG LONDON               DEUTSCHE BANK LONDON AG LONDON
GLOBAL MARKET #2, CORP ACTIONS                GLOBAL MARKET #2, CORP ACTIONS                GLOBAL MARKET #2, CORP ACTIONS               GLOBAL MARKET #2, CORP ACTIONS
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
ORLANDO FL 32817                              ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032323P001-1488A-002F                         032323P001-1488A-002F                         032323P001-1488A-002F                        032323P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
PREBON FINANCIAL PRODUCTS INC                 PREBON FINANCIAL PRODUCTS INC                 PREBON FINANCIAL PRODUCTS INC                PREBON FINANCIAL PRODUCTS INC
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
ORLANDO FL 32817                              ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032323P001-1488A-002F                         032323P001-1488A-002F                         032323P001-1488A-002F                        032323P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
PREBON FINANCIAL PRODUCTS INC                 PREBON FINANCIAL PRODUCTS INC                 PREBON FINANCIAL PRODUCTS INC                PREBON FINANCIAL PRODUCTS INC
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
ORLANDO FL 32817                              ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032323P001-1488A-002F                         032324P001-1488A-002F                         032324P001-1488A-002F                        032324P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
PREBON FINANCIAL PRODUCTS INC                 SUNTRUST EQUITY FUNDING LLC                   SUNTRUST EQUITY FUNDING LLC                  SUNTRUST EQUITY FUNDING LLC
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
ORLANDO FL 32817                              ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032324P001-1488A-002F                         032324P001-1488A-002F                         032324P001-1488A-002F                        032324P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SUNTRUST EQUITY FUNDING LLC                   SUNTRUST EQUITY FUNDING LLC                   SUNTRUST EQUITY FUNDING LLC                  SUNTRUST EQUITY FUNDING LLC
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
ORLANDO FL 32817                              ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032324P001-1488A-002F                         032324P001-1488A-002F                         032325P001-1488A-002F                        032325P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SUNTRUST EQUITY FUNDING LLC                   SUNTRUST EQUITY FUNDING LLC                   VINNING SPARKSIBG LP                         VINNING SPARKSIBG LP
CORP ACTIONS                                  CORP ACTIONS                                  MARY HARP                                    MARY HARP
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                          6077 PRIMACY PKWY                            6077 PRIMACY PKWY
ORLANDO FL 32817                              ORLANDO FL 32817                              MEMPHIS TN 38119                             MEMPHIS TN 38119
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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032325P001-1488A-002F                          032325P001-1488A-002F                             032325P001-1488A-002F                     032325P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
VINNING SPARKSIBG LP                           VINNING SPARKSIBG LP                              VINNING SPARKSIBG LP                      VINNING SPARKSIBG LP
MARY HARP                                      MARY HARP                                         MARY HARP                                 MARY HARP
6077 PRIMACY PKWY                              6077 PRIMACY PKWY                                 6077 PRIMACY PKWY                         6077 PRIMACY PKWY
MEMPHIS TN 38119                               MEMPHIS TN 38119                                  MEMPHIS TN 38119                          MEMPHIS TN 38119
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                             JMICHAEL.JOHNSONJR@BNYMELLON.COM          MATTHEW.BARTEL@BNYMELLON.COM


032325P001-1488A-002F                          032325P001-1488A-002F                             032325P001-1488A-002F                     032326P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
VINNING SPARKSIBG LP                           VINNING SPARKSIBG LP                              VINNING SPARKSIBG LP                      KBC FINANCIAL PRODUCTS UK LTD
MARY HARP                                      MARY HARP                                         MARY HARP                                 MICHAEL KANIA
6077 PRIMACY PKWY                              6077 PRIMACY PKWY                                 6077 PRIMACY PKWY                         525 WILLIAM PENN PL
MEMPHIS TN 38119                               MEMPHIS TN 38119                                  MEMPHIS TN 38119                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                    PGH.CA.EVENT.CREATION@BNYMELLON.COM       GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032326P001-1488A-002F                          032326P001-1488A-002F                             032326P001-1488A-002F                     032326P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
KBC FINANCIAL PRODUCTS UK LTD                  KBC FINANCIAL PRODUCTS UK LTD                     KBC FINANCIAL PRODUCTS UK LTD             KBC FINANCIAL PRODUCTS UK LTD
MICHAEL KANIA                                  MICHAEL KANIA                                     MICHAEL KANIA                             MICHAEL KANIA
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                       PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                   SZYROKI.DC@MELLON.COM                     JMICHAEL.JOHNSONJR@BNYMELLON.COM


032326P001-1488A-002F                          032326P001-1488A-002F                             032326P001-1488A-002F                     032326P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
KBC FINANCIAL PRODUCTS UK LTD                  KBC FINANCIAL PRODUCTS UK LTD                     KBC FINANCIAL PRODUCTS UK LTD             KBC FINANCIAL PRODUCTS UK LTD
MICHAEL KANIA                                  MICHAEL KANIA                                     MICHAEL KANIA                             MICHAEL KANIA
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                       PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                PGHEVENTCREATION@BNYMELLON.COM            PGH.CA.EVENT.CREATION@BNYMELLON.COM


032327P001-1488A-002F                          032327P001-1488A-002F                             032327P001-1488A-002F                     032327P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
CHIMERA INVESTMENT CORP                        CHIMERA INVESTMENT CORP                           CHIMERA INVESTMENT CORP                   CHIMERA INVESTMENT CORP
CHIMERA INVESTMENT CORP - MICHAEL KANIA        CHIMERA INVESTMENT CORP - MICHAEL KANIA           CHIMERA INVESTMENT CORP - MICHAEL KANIA   CHIMERA INVESTMENT CORP - MICHAEL KANIA
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                       PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM           SZYROKI.DC@MELLON.COM


032327P001-1488A-002F                          032327P001-1488A-002F                             032327P001-1488A-002F                     032327P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
CHIMERA INVESTMENT CORP                        CHIMERA INVESTMENT CORP                           CHIMERA INVESTMENT CORP                   CHIMERA INVESTMENT CORP
CHIMERA INVESTMENT CORP - MICHAEL KANIA        CHIMERA INVESTMENT CORP - MICHAEL KANIA           CHIMERA INVESTMENT CORP - MICHAEL KANIA   CHIMERA INVESTMENT CORP - MICHAEL KANIA
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                               525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                               PITTSBURGH PA 15259                       PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                      JOHN-HENRY.DOKTORSKI@BNYMELLON.COM        PGHEVENTCREATION@BNYMELLON.COM
                                              Case 22-90032 Document 69GWG  Holdings,
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032327P001-1488A-002F                              032328P001-1488A-002F                            032328P001-1488A-002F                         032328P001-1488A-002F
THE BANK OF NEW YORK MELLON                        THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA INVESTMENT CORP                            CHIMERA SECURITIES HOLDING LLC                   CHIMERA SECURITIES HOLDING LLC                CHIMERA SECURITIES HOLDING LLC
CHIMERA INVESTMENT CORP - MICHAEL KANIA            MICHAEL KANIA                                    MICHAEL KANIA                                 MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM


032328P001-1488A-002F                              032328P001-1488A-002F                            032328P001-1488A-002F                         032328P001-1488A-002F
THE BANK OF NEW YORK MELLON                        THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA SECURITIES HOLDING LLC                     CHIMERA SECURITIES HOLDING LLC                   CHIMERA SECURITIES HOLDING LLC                CHIMERA SECURITIES HOLDING LLC
MICHAEL KANIA                                      MICHAEL KANIA                                    MICHAEL KANIA                                 MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032328P001-1488A-002F                              032328P001-1488A-002F                            032329P001-1488A-002F                         032329P001-1488A-002F
THE BANK OF NEW YORK MELLON                        THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA SECURITIES HOLDING LLC                     CHIMERA SECURITIES HOLDING LLC                   CHIMERA SPECIALHOLDING LLC                    CHIMERA SPECIALHOLDING LLC
MICHAEL KANIA                                      MICHAEL KANIA                                    CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA   CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM


032329P001-1488A-002F                              032329P001-1488A-002F                            032329P001-1488A-002F                         032329P001-1488A-002F
THE BANK OF NEW YORK MELLON                        THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA SPECIALHOLDING LLC                         CHIMERA SPECIALHOLDING LLC                       CHIMERA SPECIALHOLDING LLC                    CHIMERA SPECIALHOLDING LLC
CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA        CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA      CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA   CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                    SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM


032329P001-1488A-002F                              032329P001-1488A-002F                            032329P001-1488A-002F                         032330P001-1488A-002F
THE BANK OF NEW YORK MELLON                        THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA SPECIALHOLDING LLC                         CHIMERA SPECIALHOLDING LLC                       CHIMERA SPECIALHOLDING LLC                    CHIMERA TRADINGCOMPANY LLC
CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA        CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA      CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA   CHIMERA TRADING CO LLC - MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032330P001-1488A-002F                              032330P001-1488A-002F                            032330P001-1488A-002F                         032330P001-1488A-002F
THE BANK OF NEW YORK MELLON                        THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA TRADINGCOMPANY LLC                         CHIMERA TRADINGCOMPANY LLC                       CHIMERA TRADINGCOMPANY LLC                    CHIMERA TRADINGCOMPANY LLC
CHIMERA TRADING CO LLC - MICHAEL KANIA             CHIMERA TRADING CO LLC - MICHAEL KANIA           CHIMERA TRADING CO LLC - MICHAEL KANIA        CHIMERA TRADING CO LLC - MICHAEL KANIA
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                               Case 22-90032 Document 69GWG  Holdings,
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032330P001-1488A-002F                               032330P001-1488A-002F                            032330P001-1488A-002F                          032330P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
CHIMERA TRADINGCOMPANY LLC                          CHIMERA TRADINGCOMPANY LLC                       CHIMERA TRADINGCOMPANY LLC                     CHIMERA TRADINGCOMPANY LLC
CHIMERA TRADING CO LLC - MICHAEL KANIA              CHIMERA TRADING CO LLC - MICHAEL KANIA           CHIMERA TRADING CO LLC - MICHAEL KANIA         CHIMERA TRADING CO LLC - MICHAEL KANIA
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                        JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


032331P001-1488A-002F                               032331P001-1488A-002F                            032331P001-1488A-002F                          032331P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                        HH ELLINGTON MASTER FUND LTD                     HH ELLINGTON MASTER FUND LTD                   HH ELLINGTON MASTER FUND LTD
HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA        HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA     HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA   HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM          PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM


032331P001-1488A-002F                               032331P001-1488A-002F                            032331P001-1488A-002F                          032331P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                        HH ELLINGTON MASTER FUND LTD                     HH ELLINGTON MASTER FUND LTD                   HH ELLINGTON MASTER FUND LTD
HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA        HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA     HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA   HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM


032331P001-1488A-002F                               032332P001-1488A-002F                            032332P001-1488A-002F                          032332P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                        BARCLAYS BANK PLC - PLEDGE ACCOUNT               BARCLAYS BANK PLC - PLEDGE ACCOUNT             BARCLAYS BANK PLC - PLEDGE ACCOUNT
HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA        CORP ACTIONS                                     CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 ONE WALL ST                                      ONE WALL ST                                    ONE WALL ST
PITTSBURGH PA 15259                                 NEW YORK NY 10286                                NEW YORK NY 10286                              NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM                 GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM


032332P001-1488A-002F                               032332P001-1488A-002F                            032332P001-1488A-002F                          032332P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
BARCLAYS BANK PLC - PLEDGE ACCOUNT                  BARCLAYS BANK PLC - PLEDGE ACCOUNT               BARCLAYS BANK PLC - PLEDGE ACCOUNT             BARCLAYS BANK PLC - PLEDGE ACCOUNT
CORP ACTIONS                                        CORP ACTIONS                                     CORP ACTIONS                                   CORP ACTIONS
ONE WALL ST                                         ONE WALL ST                                      ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                   NEW YORK NY 10286                                NEW YORK NY 10286                              NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                               JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032332P001-1488A-002F                               032332P001-1488A-002F                            032333P001-1488A-002F                          032333P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
BARCLAYS BANK PLC - PLEDGE ACCOUNT                  BARCLAYS BANK PLC - PLEDGE ACCOUNT               ANNALY COMMERCIAL REAL ESTATE GR               ANNALY COMMERCIAL REAL ESTATE GR
CORP ACTIONS                                        CORP ACTIONS                                     DONNA STEINMAN                                 DONNA STEINMAN
ONE WALL ST                                         ONE WALL ST                                      ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                   NEW YORK NY 10286                                NEW YORK NY 10286                              NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                      PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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032333P001-1488A-002F                          032333P001-1488A-002F                           032333P001-1488A-002F                         032333P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
ANNALY COMMERCIAL REAL ESTATE GR               ANNALY COMMERCIAL REAL ESTATE GR                ANNALY COMMERCIAL REAL ESTATE GR              ANNALY COMMERCIAL REAL ESTATE GR
DONNA STEINMAN                                 DONNA STEINMAN                                  DONNA STEINMAN                                DONNA STEINMAN
ONE WALL ST                                    ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM


032333P001-1488A-002F                          032333P001-1488A-002F                           032333P001-1488A-002F                         032334P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
ANNALY COMMERCIAL REAL ESTATE GR               ANNALY COMMERCIAL REAL ESTATE GR                ANNALY COMMERCIAL REAL ESTATE GR              BARCLAYS CAPITAL SECURITIES LTD SBLPB
DONNA STEINMAN                                 DONNA STEINMAN                                  DONNA STEINMAN                                CORP ACTIONS
ONE WALL ST                                    ONE WALL ST                                     ONE WALL ST                                   525 WILLIAM PENN PL
NEW YORK NY 10286                              NEW YORK NY 10286                               NEW YORK NY 10286                             PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032334P001-1488A-002F                          032334P001-1488A-002F                           032334P001-1488A-002F                         032334P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
BARCLAYS CAPITAL SECURITIES LTD SBLPB          BARCLAYS CAPITAL SECURITIES LTD SBLPB           BARCLAYS CAPITAL SECURITIES LTD SBLPB         BARCLAYS CAPITAL SECURITIES LTD SBLPB
CORP ACTIONS                                   CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM


032334P001-1488A-002F                          032334P001-1488A-002F                           032334P001-1488A-002F                         032334P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
BARCLAYS CAPITAL SECURITIES LTD SBLPB          BARCLAYS CAPITAL SECURITIES LTD SBLPB           BARCLAYS CAPITAL SECURITIES LTD SBLPB         BARCLAYS CAPITAL SECURITIES LTD SBLPB
CORP ACTIONS                                   CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM


032335P001-1488A-002F                          032335P001-1488A-002F                           032335P001-1488A-002F                         032335P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
ANNALY COMMERCIAL REAL ESTATE GR               ANNALY COMMERCIAL REAL ESTATE GR                ANNALY COMMERCIAL REAL ESTATE GR              ANNALY COMMERCIAL REAL ESTATE GR
DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN    DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN     DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN   DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN
ONE WALL ST                                    ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM


032335P001-1488A-002F                          032335P001-1488A-002F                           032335P001-1488A-002F                         032335P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
ANNALY COMMERCIAL REAL ESTATE GR               ANNALY COMMERCIAL REAL ESTATE GR                ANNALY COMMERCIAL REAL ESTATE GR              ANNALY COMMERCIAL REAL ESTATE GR
DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN    DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN     DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN   DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN
ONE WALL ST                                    ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM
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032335P001-1488A-002F                          032336P001-1488A-002F                         032336P001-1488A-002F                        032336P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ANNALY COMMERCIAL REAL ESTATE GR               NOMURA FIN PRODUCTS AND SVC INC               NOMURA FIN PRODUCTS AND SVC INC              NOMURA FIN PRODUCTS AND SVC INC
DBAG LONDON GLOBAL MARKETS - DONNA STEINMAN    DONNA STEINMAN                                DONNA STEINMAN                               DONNA STEINMAN
ONE WALL ST                                    11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
NEW YORK NY 10286                              STE 300                                       STE 300                                      STE 300
PGH.CA.EVENT.CREATION@BNYMELLON.COM            ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
                                               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

032336P001-1488A-002F                          032336P001-1488A-002F                         032336P001-1488A-002F                        032336P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NOMURA FIN PRODUCTS AND SVC INC                NOMURA FIN PRODUCTS AND SVC INC               NOMURA FIN PRODUCTS AND SVC INC              NOMURA FIN PRODUCTS AND SVC INC
DONNA STEINMAN                                 DONNA STEINMAN                                DONNA STEINMAN                               DONNA STEINMAN
11486 CORPORATE BLVD                           11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                        STE 300                                       STE 300                                      STE 300
ORLANDO FL 32817                               ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

032336P001-1488A-002F                          032336P001-1488A-002F                         032337P001-1488A-002F                        032337P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NOMURA FIN PRODUCTS AND SVC INC                NOMURA FIN PRODUCTS AND SVC INC               BANQUE DEWAAY MGT SA                         BANQUE DEWAAY MGT SA
DONNA STEINMAN                                 DONNA STEINMAN                                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
11486 CORPORATE BLVD                           11486 CORPORATE BLVD                          525 WILLIAM PENN PL                          525 WILLIAM PENN PL
STE 300                                        STE 300                                       PITTSBURGH PA 15259                          PITTSBURGH PA 15259
ORLANDO FL 32817                               ORLANDO FL 32817                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM

032337P001-1488A-002F                          032337P001-1488A-002F                         032337P001-1488A-002F                        032337P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BANQUE DEWAAY MGT SA                           BANQUE DEWAAY MGT SA                          BANQUE DEWAAY MGT SA                         BANQUE DEWAAY MGT SA
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032337P001-1488A-002F                          032337P001-1488A-002F                         032337P001-1488A-002F                        032338P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BANQUE DEWAAY MGT SA                           BANQUE DEWAAY MGT SA                          BANQUE DEWAAY MGT SA                         BARCLAYS BANK PLC FIRM
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          ONE WALL ST
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032338P001-1488A-002F                          032338P001-1488A-002F                         032338P001-1488A-002F                        032338P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BARCLAYS BANK PLC FIRM                         BARCLAYS BANK PLC FIRM                        BARCLAYS BANK PLC FIRM                       BARCLAYS BANK PLC FIRM
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BARCLAYS BANK PLC FIRM                        BARCLAYS BANK PLC FIRM                        BARCLAYS BANK PLC FIRM                       BARCLAYS BANK PLC FIRM
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032339P001-1488A-002F                         032339P001-1488A-002F                         032339P001-1488A-002F                        032339P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BARCLAYS BK PLC-BARC LUX SARL A/C 1           BARCLAYS BK PLC-BARC LUX SARL A/C 1           BARCLAYS BK PLC-BARC LUX SARL A/C 1          BARCLAYS BK PLC-BARC LUX SARL A/C 1
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032339P001-1488A-002F                         032339P001-1488A-002F                         032339P001-1488A-002F                        032339P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BARCLAYS BK PLC-BARC LUX SARL A/C 1           BARCLAYS BK PLC-BARC LUX SARL A/C 1           BARCLAYS BK PLC-BARC LUX SARL A/C 1          BARCLAYS BK PLC-BARC LUX SARL A/C 1
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032339P001-1488A-002F                         032340P001-1488A-002F                         032340P001-1488A-002F                        032340P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BARCLAYS BK PLC-BARC LUX SARL A/C 1           BARCLAYS BK PLC-BARC LUX SARL A/C 2           BARCLAYS BK PLC-BARC LUX SARL A/C 2          BARCLAYS BK PLC-BARC LUX SARL A/C 2
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - ASSISTANT TREASURER           MICHAEL KANIA - ASSISTANT TREASURER          MICHAEL KANIA - ASSISTANT TREASURER
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032340P001-1488A-002F                         032340P001-1488A-002F                         032340P001-1488A-002F                        032340P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BARCLAYS BK PLC-BARC LUX SARL A/C 2           BARCLAYS BK PLC-BARC LUX SARL A/C 2           BARCLAYS BK PLC-BARC LUX SARL A/C 2          BARCLAYS BK PLC-BARC LUX SARL A/C 2
MICHAEL KANIA - ASSISTANT TREASURER           MICHAEL KANIA - ASSISTANT TREASURER           MICHAEL KANIA - ASSISTANT TREASURER          MICHAEL KANIA - ASSISTANT TREASURER
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032340P001-1488A-002F                         032340P001-1488A-002F                         032341P001-1488A-002F                        032341P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BARCLAYS BK PLC-BARC LUX SARL A/C 2           BARCLAYS BK PLC-BARC LUX SARL A/C 2           BOA SECURITIESLTD BASL                       BOA SECURITIESLTD BASL
MICHAEL KANIA - ASSISTANT TREASURER           MICHAEL KANIA - ASSISTANT TREASURER           MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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032341P001-1488A-002F                         032341P001-1488A-002F                        032341P001-1488A-002F                 032341P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
BOA SECURITIESLTD BASL                        BOA SECURITIESLTD BASL                       BOA SECURITIESLTD BASL                BOA SECURITIESLTD BASL
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM


032341P001-1488A-002F                         032341P001-1488A-002F                        032341P001-1488A-002F                 032342P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
BOA SECURITIESLTD BASL                        BOA SECURITIESLTD BASL                       BOA SECURITIESLTD BASL                CACEIS BANK DEUTSCHLAND GMBH
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032342P001-1488A-002F                         032342P001-1488A-002F                        032342P001-1488A-002F                 032342P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
CACEIS BANK DEUTSCHLAND GMBH                  CACEIS BANK DEUTSCHLAND GMBH                 CACEIS BANK DEUTSCHLAND GMBH          CACEIS BANK DEUTSCHLAND GMBH
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


032342P001-1488A-002F                         032342P001-1488A-002F                        032342P001-1488A-002F                 032342P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
CACEIS BANK DEUTSCHLAND GMBH                  CACEIS BANK DEUTSCHLAND GMBH                 CACEIS BANK DEUTSCHLAND GMBH          CACEIS BANK DEUTSCHLAND GMBH
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


032343P001-1488A-002F                         032343P001-1488A-002F                        032343P001-1488A-002F                 032343P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
CDC HOLDINGS TRUST INC                        CDC HOLDINGS TRUST INC                       CDC HOLDINGS TRUST INC                CDC HOLDINGS TRUST INC
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


032343P001-1488A-002F                         032343P001-1488A-002F                        032343P001-1488A-002F                 032343P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
CDC HOLDINGS TRUST INC                        CDC HOLDINGS TRUST INC                       CDC HOLDINGS TRUST INC                CDC HOLDINGS TRUST INC
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
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032343P001-1488A-002F                            032344P001-1488A-002F                               032344P001-1488A-002F                        032344P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
CDC HOLDINGS TRUST INC                           CDC MORTGAGE CAPITAL INC                            CDC MORTGAGE CAPITAL INC                     CDC MORTGAGE CAPITAL INC
CORP ACTIONS                                     CORP ACTIONS                                        CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                      ONE WALL ST                                         ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                                   NEW YORK NY 10286                            NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM          PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032344P001-1488A-002F                            032344P001-1488A-002F                               032344P001-1488A-002F                        032344P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
CDC MORTGAGE CAPITAL INC                         CDC MORTGAGE CAPITAL INC                            CDC MORTGAGE CAPITAL INC                     CDC MORTGAGE CAPITAL INC
CORP ACTIONS                                     CORP ACTIONS                                        CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                      ONE WALL ST                                         ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                                   NEW YORK NY 10286                            NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032344P001-1488A-002F                            032344P001-1488A-002F                               032345P001-1488A-002F                        032345P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
CDC MORTGAGE CAPITAL INC                         CDC MORTGAGE CAPITAL INC                            CHARLES STANLEYAND CO LIMITED                CHARLES STANLEYAND CO LIMITED
CORP ACTIONS                                     CORP ACTIONS                                        MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                         525 WILLIAM PENN PL                          525 WILLIAM PENN PL
NEW YORK NY 10286                                NEW YORK NY 10286                                   PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM                 GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032345P001-1488A-002F                            032345P001-1488A-002F                               032345P001-1488A-002F                        032345P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
CHARLES STANLEYAND CO LIMITED                    CHARLES STANLEYAND CO LIMITED                       CHARLES STANLEYAND CO LIMITED                CHARLES STANLEYAND CO LIMITED
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                               JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032345P001-1488A-002F                            032345P001-1488A-002F                               032345P001-1488A-002F                        032346P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
CHARLES STANLEYAND CO LIMITED                    CHARLES STANLEYAND CO LIMITED                       CHARLES STANLEYAND CO LIMITED                CHIMERA RMBS WHOLE POOL LLC
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT               (F/K/A CIM ASSET HOLDING) - MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM                      PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032346P001-1488A-002F                            032346P001-1488A-002F                               032346P001-1488A-002F                        032346P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
CHIMERA RMBS WHOLE POOL LLC                      CHIMERA RMBS WHOLE POOL LLC                         CHIMERA RMBS WHOLE POOL LLC                  CHIMERA RMBS WHOLE POOL LLC
(F/K/A CIM ASSET HOLDING) - MICHAEL KANIA        (F/K/A CIM ASSET HOLDING) - MICHAEL KANIA           (F/K/A CIM ASSET HOLDING) - MICHAEL KANIA    (F/K/A CIM ASSET HOLDING) - MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                     SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                            Case 22-90032 Document 69GWG  Holdings,
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THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA RMBS WHOLE POOL LLC                      CHIMERA RMBS WHOLE POOL LLC                         CHIMERA RMBS WHOLE POOL LLC                   CHIMERA RMBS WHOLE POOL LLC
(F/K/A CIM ASSET HOLDING) - MICHAEL KANIA        (F/K/A CIM ASSET HOLDING) - MICHAEL KANIA           (F/K/A CIM ASSET HOLDING) - MICHAEL KANIA     (F/K/A CIM ASSET HOLDING) - MICHAEL KANIA
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                           PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                  PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM


032347P001-1488A-002F                            032347P001-1488A-002F                               032347P001-1488A-002F                         032347P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS      COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS         COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS   COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS
DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT                     DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                         ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                                   NEW YORK NY 10286                             NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                                 JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM


032347P001-1488A-002F                            032347P001-1488A-002F                               032347P001-1488A-002F                         032347P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS      COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS         COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS   COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS
DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT                     DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                         ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                                   NEW YORK NY 10286                             NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                        JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM


032347P001-1488A-002F                            032348P001-1488A-002F                               032348P001-1488A-002F                         032348P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
COUNTRYWIDE HOME LOANS CHL FOR CCM CONDUITS      COUNTRYWIDE HOME LOANS                              COUNTRYWIDE HOME LOANS                        COUNTRYWIDE HOME LOANS
DONNA STEINMAN - VICE PRESIDENT                  CORP ACTIONS                                        CORP ACTIONS                                  CORP ACTIONS
ONE WALL ST                                      ONE WALL ST                                         ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                                   NEW YORK NY 10286                             NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM          PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM


032348P001-1488A-002F                            032348P001-1488A-002F                               032348P001-1488A-002F                         032348P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
COUNTRYWIDE HOME LOANS                           COUNTRYWIDE HOME LOANS                              COUNTRYWIDE HOME LOANS                        COUNTRYWIDE HOME LOANS
CORP ACTIONS                                     CORP ACTIONS                                        CORP ACTIONS                                  CORP ACTIONS
ONE WALL ST                                      ONE WALL ST                                         ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                                   NEW YORK NY 10286                             NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032348P001-1488A-002F                            032348P001-1488A-002F                               032349P001-1488A-002F                         032349P001-1488A-002F
THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
COUNTRYWIDE HOME LOANS                           COUNTRYWIDE HOME LOANS                              CRESCENT II FUND LP                           CRESCENT II FUND LP
CORP ACTIONS                                     CORP ACTIONS                                        DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                         ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                                   NEW YORK NY 10286                             NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM                 GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
CRESCENT II FUND LP                           CRESCENT II FUND LP                          CRESCENT II FUND LP                   CRESCENT II FUND LP
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT       DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM


032349P001-1488A-002F                         032349P001-1488A-002F                        032349P001-1488A-002F                 032350P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
CRESCENT II FUND LP                           CRESCENT II FUND LP                          CRESCENT II FUND LP                   DAVY SECURITIESLIMITED
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT       MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           525 WILLIAM PENN PL
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032350P001-1488A-002F                         032350P001-1488A-002F                        032350P001-1488A-002F                 032350P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
DAVY SECURITIESLIMITED                        DAVY SECURITIESLIMITED                       DAVY SECURITIESLIMITED                DAVY SECURITIESLIMITED
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


032350P001-1488A-002F                         032350P001-1488A-002F                        032350P001-1488A-002F                 032350P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
DAVY SECURITIESLIMITED                        DAVY SECURITIESLIMITED                       DAVY SECURITIESLIMITED                DAVY SECURITIESLIMITED
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


032351P001-1488A-002F                         032351P001-1488A-002F                        032351P001-1488A-002F                 032351P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
DB BREVAN HOWARD MASTER FUND                  DB BREVAN HOWARD MASTER FUND                 DB BREVAN HOWARD MASTER FUND          DB BREVAN HOWARD MASTER FUND
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


032351P001-1488A-002F                         032351P001-1488A-002F                        032351P001-1488A-002F                 032351P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
DB BREVAN HOWARD MASTER FUND                  DB BREVAN HOWARD MASTER FUND                 DB BREVAN HOWARD MASTER FUND          DB BREVAN HOWARD MASTER FUND
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
                                           Case 22-90032 Document 69GWG  Holdings,
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032351P001-1488A-002F                           032352P001-1488A-002F                         032352P001-1488A-002F                        032352P001-1488A-002F
THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DB BREVAN HOWARD MASTER FUND                    DBAG FRANKFURTGLOBAL MARKET                   DBAG FRANKFURTGLOBAL MARKET                  DBAG FRANKFURTGLOBAL MARKET
MICHAEL KANIA - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
525 WILLIAM PENN PL                             ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
PITTSBURGH PA 15259                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032352P001-1488A-002F                           032352P001-1488A-002F                         032352P001-1488A-002F                        032352P001-1488A-002F
THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBAG FRANKFURTGLOBAL MARKET                     DBAG FRANKFURTGLOBAL MARKET                   DBAG FRANKFURTGLOBAL MARKET                  DBAG FRANKFURTGLOBAL MARKET
DONNA STEINMAN - VICE PRESIDENT                 DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032352P001-1488A-002F                           032352P001-1488A-002F                         032353P001-1488A-002F                        032353P001-1488A-002F
THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBAG FRANKFURTGLOBAL MARKET                     DBAG FRANKFURTGLOBAL MARKET                   DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)     DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)
DONNA STEINMAN - VICE PRESIDENT                 DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032353P001-1488A-002F                           032353P001-1488A-002F                         032353P001-1488A-002F                        032353P001-1488A-002F
THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)        DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)      DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)     DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)
DONNA STEINMAN - VICE PRESIDENT                 DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032353P001-1488A-002F                           032353P001-1488A-002F                         032353P001-1488A-002F                        032354P001-1488A-002F
THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)        DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)      DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)     DBAG LONDON GLOBAL MARKET
DONNA STEINMAN - VICE PRESIDENT                 DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032354P001-1488A-002F                           032354P001-1488A-002F                         032354P001-1488A-002F                        032354P001-1488A-002F
THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBAG LONDON GLOBAL MARKET                       DBAG LONDON GLOBAL MARKET                     DBAG LONDON GLOBAL MARKET                    DBAG LONDON GLOBAL MARKET
DONNA STEINMAN - VICE PRESIDENT                 DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBAG LONDON GLOBAL MARKET                     DBAG LONDON GLOBAL MARKET                     DBAG LONDON GLOBAL MARKET                    DBAG LONDON GLOBAL MARKET
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032355P001-1488A-002F                         032355P001-1488A-002F                         032355P001-1488A-002F                        032355P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBL-FIXED INCOME PRIME BROKERAGE              DBL-FIXED INCOME PRIME BROKERAGE              DBL-FIXED INCOME PRIME BROKERAGE             DBL-FIXED INCOME PRIME BROKERAGE
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032355P001-1488A-002F                         032355P001-1488A-002F                         032355P001-1488A-002F                        032355P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBL-FIXED INCOME PRIME BROKERAGE              DBL-FIXED INCOME PRIME BROKERAGE              DBL-FIXED INCOME PRIME BROKERAGE             DBL-FIXED INCOME PRIME BROKERAGE
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032355P001-1488A-002F                         032356P001-1488A-002F                         032356P001-1488A-002F                        032356P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBL-FIXED INCOME PRIME BROKERAGE              DBLPBBLACK ANTMASTER FD LP                    DBLPBBLACK ANTMASTER FD LP                   DBLPBBLACK ANTMASTER FD LP
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032356P001-1488A-002F                         032356P001-1488A-002F                         032356P001-1488A-002F                        032356P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBLPBBLACK ANTMASTER FD LP                    DBLPBBLACK ANTMASTER FD LP                    DBLPBBLACK ANTMASTER FD LP                   DBLPBBLACK ANTMASTER FD LP
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032356P001-1488A-002F                         032356P001-1488A-002F                         032357P001-1488A-002F                        032357P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DBLPBBLACK ANTMASTER FD LP                    DBLPBBLACK ANTMASTER FD LP                    DBTCA-DB AG LDNPB - FIRM ACCOUNT             DBTCA-DB AG LDNPB - FIRM ACCOUNT
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                          Case 22-90032 Document 69GWG  Holdings,
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032357P001-1488A-002F                          032357P001-1488A-002F                        032357P001-1488A-002F                     032357P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
DBTCA-DB AG LDNPB - FIRM ACCOUNT               DBTCA-DB AG LDNPB - FIRM ACCOUNT             DBTCA-DB AG LDNPB - FIRM ACCOUNT          DBTCA-DB AG LDNPB - FIRM ACCOUNT
CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS                              CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259                       PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM          MATTHEW.BARTEL@BNYMELLON.COM


032357P001-1488A-002F                          032357P001-1488A-002F                        032357P001-1488A-002F                     032358P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
DBTCA-DB AG LDNPB - FIRM ACCOUNT               DBTCA-DB AG LDNPB - FIRM ACCOUNT             DBTCA-DB AG LDNPB - FIRM ACCOUNT          DEUTSCHE BANK AG FRANKFURT
CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS                              MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259                       PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM       GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032358P001-1488A-002F                          032358P001-1488A-002F                        032358P001-1488A-002F                     032358P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
DEUTSCHE BANK AG FRANKFURT                     DEUTSCHE BANK AG FRANKFURT                   DEUTSCHE BANK AG FRANKFURT                DEUTSCHE BANK AG FRANKFURT
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT            MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259                       PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                     JMICHAEL.JOHNSONJR@BNYMELLON.COM


032358P001-1488A-002F                          032358P001-1488A-002F                        032358P001-1488A-002F                     032358P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
DEUTSCHE BANK AG FRANKFURT                     DEUTSCHE BANK AG FRANKFURT                   DEUTSCHE BANK AG FRANKFURT                DEUTSCHE BANK AG FRANKFURT
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT            MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259                       PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM            PGH.CA.EVENT.CREATION@BNYMELLON.COM


032359P001-1488A-002F                          032359P001-1488A-002F                        032359P001-1488A-002F                     032359P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
DEUTSCHE BANK AG LONDON PRIME BROKERAGE        DEUTSCHE BANK AG LONDON PRIME BROKERAGE      DEUTSCHE BANK AG LONDON PRIME BROKERAGE   DEUTSCHE BANK AG LONDON PRIME BROKERAGE
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT            MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259                       PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM           SZYROKI.DC@MELLON.COM


032359P001-1488A-002F                          032359P001-1488A-002F                        032359P001-1488A-002F                     032359P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON               THE BANK OF NEW YORK MELLON
DEUTSCHE BANK AG LONDON PRIME BROKERAGE        DEUTSCHE BANK AG LONDON PRIME BROKERAGE      DEUTSCHE BANK AG LONDON PRIME BROKERAGE   DEUTSCHE BANK AG LONDON PRIME BROKERAGE
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT            MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259                       PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM        PGHEVENTCREATION@BNYMELLON.COM
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032359P001-1488A-002F                          032360P001-1488A-002F                         032360P001-1488A-002F                        032360P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
DEUTSCHE BANK AG LONDON PRIME BROKERAGE        ELLINGTON STRATEGIC MBS LP II                 ELLINGTON STRATEGIC MBS LP II                ELLINGTON STRATEGIC MBS LP II
MICHAEL KANIA - VICE PRESIDENT                 DONNA STEINMAM - VICE PRESIDENT               DONNA STEINMAM - VICE PRESIDENT              DONNA STEINMAM - VICE PRESIDENT
525 WILLIAM PENN PL                            ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
PITTSBURGH PA 15259                            NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032360P001-1488A-002F                          032360P001-1488A-002F                         032360P001-1488A-002F                        032360P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON STRATEGIC MBS LP II                  ELLINGTON STRATEGIC MBS LP II                 ELLINGTON STRATEGIC MBS LP II                ELLINGTON STRATEGIC MBS LP II
DONNA STEINMAM - VICE PRESIDENT                DONNA STEINMAM - VICE PRESIDENT               DONNA STEINMAM - VICE PRESIDENT              DONNA STEINMAM - VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032360P001-1488A-002F                          032360P001-1488A-002F                         032362P001-1488A-002F                        032362P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON STRATEGIC MBS LP II                  ELLINGTON STRATEGIC MBS LP II                 ELLINGTON STRATEGIC MGT FD LP                ELLINGTON STRATEGIC MGT FD LP
DONNA STEINMAM - VICE PRESIDENT                DONNA STEINMAM - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032362P001-1488A-002F                          032362P001-1488A-002F                         032362P001-1488A-002F                        032362P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON STRATEGIC MGT FD LP                  ELLINGTON STRATEGIC MGT FD LP                 ELLINGTON STRATEGIC MGT FD LP                ELLINGTON STRATEGIC MGT FD LP
DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032362P001-1488A-002F                          032362P001-1488A-002F                         032362P001-1488A-002F                        032363P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON STRATEGIC MGT FD LP                  ELLINGTON STRATEGIC MGT FD LP                 ELLINGTON STRATEGIC MGT FD LP                ELLINGTON CREDIT OPPORTUNITIES LTD
DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032363P001-1488A-002F                          032363P001-1488A-002F                         032363P001-1488A-002F                        032363P001-1488A-002F
THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON CREDIT OPPORTUNITIES LTD             ELLINGTON CREDIT OPPORTUNITIES LTD            ELLINGTON CREDIT OPPORTUNITIES LTD           ELLINGTON CREDIT OPPORTUNITIES LTD
DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
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032363P001-1488A-002F                         032363P001-1488A-002F                         032363P001-1488A-002F                        032363P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON CREDIT OPPORTUNITIES LTD            ELLINGTON CREDIT OPPORTUNITIES LTD            ELLINGTON CREDIT OPPORTUNITIES LTD           ELLINGTON CREDIT OPPORTUNITIES LTD
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032364P001-1488A-002F                         032364P001-1488A-002F                         032364P001-1488A-002F                        032364P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON MORTGAGE FUND SC LTD                ELLINGTON MORTGAGE FUND SC LTD                ELLINGTON MORTGAGE FUND SC LTD               ELLINGTON MORTGAGE FUND SC LTD
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032364P001-1488A-002F                         032364P001-1488A-002F                         032364P001-1488A-002F                        032364P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON MORTGAGE FUND SC LTD                ELLINGTON MORTGAGE FUND SC LTD                ELLINGTON MORTGAGE FUND SC LTD               ELLINGTON MORTGAGE FUND SC LTD
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032364P001-1488A-002F                         032365P001-1488A-002F                         032365P001-1488A-002F                        032365P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ELLINGTON MORTGAGE FUND SC LTD                HBK GLOBAL SECURITIES LP                      HBK GLOBAL SECURITIES LP                     HBK GLOBAL SECURITIES LP
DONNA STEINMAN - VICE PRESIDENT               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032365P001-1488A-002F                         032365P001-1488A-002F                         032365P001-1488A-002F                        032365P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
HBK GLOBAL SECURITIES LP                      HBK GLOBAL SECURITIES LP                      HBK GLOBAL SECURITIES LP                     HBK GLOBAL SECURITIES LP
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032365P001-1488A-002F                         032365P001-1488A-002F                         032366P001-1488A-002F                        032366P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
HBK GLOBAL SECURITIES LP                      HBK GLOBAL SECURITIES LP                      ING BANK NV LONDON BRANCH                    ING BANK NV LONDON BRANCH
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                   525 WILLIAM PENN PL                          525 WILLIAM PENN PL
NEW YORK NY 10286                             NEW YORK NY 10286                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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032366P001-1488A-002F                         032366P001-1488A-002F                        032366P001-1488A-002F                 032366P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
ING BANK NV LONDON BRANCH                     ING BANK NV LONDON BRANCH                    ING BANK NV LONDON BRANCH             ING BANK NV LONDON BRANCH
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM


032366P001-1488A-002F                         032366P001-1488A-002F                        032366P001-1488A-002F                 032367P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
ING BANK NV LONDON BRANCH                     ING BANK NV LONDON BRANCH                    ING BANK NV LONDON BRANCH             ITC - DEALERS CLEARANCE SPECIAL
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WIILIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032367P001-1488A-002F                         032367P001-1488A-002F                        032367P001-1488A-002F                 032367P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
ITC - DEALERS CLEARANCE SPECIAL               ITC - DEALERS CLEARANCE SPECIAL              ITC - DEALERS CLEARANCE SPECIAL       ITC - DEALERS CLEARANCE SPECIAL
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WIILIAM PENN PL                           525 WIILIAM PENN PL                          525 WIILIAM PENN PL                   525 WIILIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


032367P001-1488A-002F                         032367P001-1488A-002F                        032367P001-1488A-002F                 032367P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
ITC - DEALERS CLEARANCE SPECIAL               ITC - DEALERS CLEARANCE SPECIAL              ITC - DEALERS CLEARANCE SPECIAL       ITC - DEALERS CLEARANCE SPECIAL
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WIILIAM PENN PL                           525 WIILIAM PENN PL                          525 WIILIAM PENN PL                   525 WIILIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


032368P001-1488A-002F                         032368P001-1488A-002F                        032368P001-1488A-002F                 032368P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
KBC INVESTMENTSLIMITED                        KBC INVESTMENTSLIMITED                       KBC INVESTMENTSLIMITED                KBC INVESTMENTSLIMITED
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


032368P001-1488A-002F                         032368P001-1488A-002F                        032368P001-1488A-002F                 032368P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
KBC INVESTMENTSLIMITED                        KBC INVESTMENTSLIMITED                       KBC INVESTMENTSLIMITED                KBC INVESTMENTSLIMITED
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
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032368P001-1488A-002F                      032369P001-1488A-002F                         032369P001-1488A-002F                        032369P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
KBC INVESTMENTSLIMITED                     MILLENNIUM FIXED INCOME LTD                   MILLENNIUM FIXED INCOME LTD                  MILLENNIUM FIXED INCOME LTD
MICHAEL KANIA - VICE PRESIDENT             DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
525 WILLIAM PENN PL                        ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
PITTSBURGH PA 15259                        NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032369P001-1488A-002F                      032369P001-1488A-002F                         032369P001-1488A-002F                        032369P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
MILLENNIUM FIXED INCOME LTD                MILLENNIUM FIXED INCOME LTD                   MILLENNIUM FIXED INCOME LTD                  MILLENNIUM FIXED INCOME LTD
DONNA STEINMAN - VICE PRESIDENT            DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                          NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032369P001-1488A-002F                      032369P001-1488A-002F                         032370P001-1488A-002F                        032370P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
MILLENNIUM FIXED INCOME LTD                MILLENNIUM FIXED INCOME LTD                   ML EQUITY SOLUTIONS JERSEY LTD               ML EQUITY SOLUTIONS JERSEY LTD
DONNA STEINMAN - VICE PRESIDENT            DONNA STEINMAN - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                ONE WALL ST                                   525 WILLIAM PENN PL                          525 WILLIAM PENN PL
NEW YORK NY 10286                          NEW YORK NY 10286                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032370P001-1488A-002F                      032370P001-1488A-002F                         032370P001-1488A-002F                        032370P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ML EQUITY SOLUTIONS JERSEY LTD             ML EQUITY SOLUTIONS JERSEY LTD                ML EQUITY SOLUTIONS JERSEY LTD               ML EQUITY SOLUTIONS JERSEY LTD
MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032370P001-1488A-002F                      032370P001-1488A-002F                         032370P001-1488A-002F                        032371P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
ML EQUITY SOLUTIONS JERSEY LTD             ML EQUITY SOLUTIONS JERSEY LTD                ML EQUITY SOLUTIONS JERSEY LTD               NATIXIS SECURITIES AMERICAS LLC
MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          ONE WALL ST
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032371P001-1488A-002F                      032371P001-1488A-002F                         032371P001-1488A-002F                        032371P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIXIS SECURITIES AMERICAS LLC            NATIXIS SECURITIES AMERICAS LLC               NATIXIS SECURITIES AMERICAS LLC              NATIXIS SECURITIES AMERICAS LLC
DONNA STEINMAN - VICE PRESIDENT            DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                          NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIXIS SECURITIES AMERICAS LLC               NATIXIS SECURITIES AMERICAS LLC                NATIXIS SECURITIES AMERICAS LLC              NATIXIS SECURITIES AMERICAS LLC
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032372P001-1488A-002F                         032372P001-1488A-002F                          032372P001-1488A-002F                        032372P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIXIS FINANCIAL PRODUCTS INC                NATIXIS FINANCIAL PRODUCTS INC                 NATIXIS FINANCIAL PRODUCTS INC               NATIXIS FINANCIAL PRODUCTS INC
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032372P001-1488A-002F                         032372P001-1488A-002F                          032372P001-1488A-002F                        032372P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIXIS FINANCIAL PRODUCTS INC                NATIXIS FINANCIAL PRODUCTS INC                 NATIXIS FINANCIAL PRODUCTS INC               NATIXIS FINANCIAL PRODUCTS INC
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032372P001-1488A-002F                         032373P001-1488A-002F                          032373P001-1488A-002F                        032373P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NATIXIS FINANCIAL PRODUCTS INC                NOMURA BANK INT'L PLC                          NOMURA BANK INT'L PLC                        NOMURA BANK INT'L PLC
CORP ACTIONS                                  DONNA STEINMAN - ASSISTANT TREASURER           DONNA STEINMAN - ASSISTANT TREASURER         DONNA STEINMAN - ASSISTANT TREASURER
ONE WALL ST                                   11486 CORPORATE BLVD                           11486 CORPORATE BLVD                         11486 CORPORATE BLVD
NEW YORK NY 10286                             STE 300                                        STE 300                                      STE 300
PGH.CA.EVENT.CREATION@BNYMELLON.COM           ORLANDO FL 32817                               ORLANDO FL 32817                             ORLANDO FL 32817
                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM

032373P001-1488A-002F                         032373P001-1488A-002F                          032373P001-1488A-002F                        032373P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NOMURA BANK INT'L PLC                         NOMURA BANK INT'L PLC                          NOMURA BANK INT'L PLC                        NOMURA BANK INT'L PLC
DONNA STEINMAN - ASSISTANT TREASURER          DONNA STEINMAN - ASSISTANT TREASURER           DONNA STEINMAN - ASSISTANT TREASURER         DONNA STEINMAN - ASSISTANT TREASURER
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                           11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                       STE 300                                        STE 300                                      STE 300
ORLANDO FL 32817                              ORLANDO FL 32817                               ORLANDO FL 32817                             ORLANDO FL 32817
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM

032373P001-1488A-002F                         032373P001-1488A-002F                          032374P001-1488A-002F                        032374P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
NOMURA BANK INT'L PLC                         NOMURA BANK INT'L PLC                          OZ ASIA MASTERFUND LTD CUSTODY               OZ ASIA MASTERFUND LTD CUSTODY
DONNA STEINMAN - ASSISTANT TREASURER          DONNA STEINMAN - ASSISTANT TREASURER           MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
STE 300                                       STE 300                                        PITTSBURGH PA 15259                          PITTSBURGH PA 15259
ORLANDO FL 32817                              ORLANDO FL 32817                               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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032374P001-1488A-002F                         032374P001-1488A-002F                        032374P001-1488A-002F                 032374P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
OZ ASIA MASTERFUND LTD CUSTODY                OZ ASIA MASTERFUND LTD CUSTODY               OZ ASIA MASTERFUND LTD CUSTODY        OZ ASIA MASTERFUND LTD CUSTODY
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM


032374P001-1488A-002F                         032374P001-1488A-002F                        032374P001-1488A-002F                 032375P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
OZ ASIA MASTERFUND LTD CUSTODY                OZ ASIA MASTERFUND LTD CUSTODY               OZ ASIA MASTERFUND LTD CUSTODY        OZ SPECIAL FUNDING OZMD LP
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032375P001-1488A-002F                         032375P001-1488A-002F                        032375P001-1488A-002F                 032375P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
OZ SPECIAL FUNDING OZMD LP                    OZ SPECIAL FUNDING OZMD LP                   OZ SPECIAL FUNDING OZMD LP            OZ SPECIAL FUNDING OZMD LP
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


032375P001-1488A-002F                         032375P001-1488A-002F                        032375P001-1488A-002F                 032375P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
OZ SPECIAL FUNDING OZMD LP                    OZ SPECIAL FUNDING OZMD LP                   OZ SPECIAL FUNDING OZMD LP            OZ SPECIAL FUNDING OZMD LP
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


032376P001-1488A-002F                         032376P001-1488A-002F                        032376P001-1488A-002F                 032376P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
RABO CAPITAL SVC                              RABO CAPITAL SVC                             RABO CAPITAL SVC                      RABO CAPITAL SVC
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


032376P001-1488A-002F                         032376P001-1488A-002F                        032376P001-1488A-002F                 032376P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
RABO CAPITAL SVC                              RABO CAPITAL SVC                             RABO CAPITAL SVC                      RABO CAPITAL SVC
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
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032376P001-1488A-002F                      032377P001-1488A-002F                         032377P001-1488A-002F                        032377P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
RABO CAPITAL SVC                           RABOBANK INTERNATIONAL NY                     RABOBANK INTERNATIONAL NY                    RABOBANK INTERNATIONAL NY
MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032377P001-1488A-002F                      032377P001-1488A-002F                         032377P001-1488A-002F                        032377P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
RABOBANK INTERNATIONAL NY                  RABOBANK INTERNATIONAL NY                     RABOBANK INTERNATIONAL NY                    RABOBANK INTERNATIONAL NY
MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032377P001-1488A-002F                      032377P001-1488A-002F                         032378P001-1488A-002F                        032378P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
RABOBANK INTERNATIONAL NY                  RABOBANK INTERNATIONAL NY                     SOUTH STREET SECS LLC                        SOUTH STREET SECS LLC
MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT                CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           11486 CORPORATE BLVD                         11486 CORPORATE BLVD
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           STE 300                                      STE 300
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           ORLANDO FL 32817                             ORLANDO FL 32817
                                                                                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM

032378P001-1488A-002F                      032378P001-1488A-002F                         032378P001-1488A-002F                        032378P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SOUTH STREET SECS LLC                      SOUTH STREET SECS LLC                         SOUTH STREET SECS LLC                        SOUTH STREET SECS LLC
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
11486 CORPORATE BLVD                       11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                    STE 300                                       STE 300                                      STE 300
ORLANDO FL 32817                           ORLANDO FL 32817                              ORLANDO FL 32817                             ORLANDO FL 32817
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM

032378P001-1488A-002F                      032378P001-1488A-002F                         032378P001-1488A-002F                        032379P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SOUTH STREET SECS LLC                      SOUTH STREET SECS LLC                         SOUTH STREET SECS LLC                        SUNTRUST BANK PORTFOLIO
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
11486 CORPORATE BLVD                       11486 CORPORATE BLVD                          11486 CORPORATE BLVD                         525 WILLIAM PENN PL
STE 300                                    STE 300                                       STE 300                                      PITTSBURGH PA 15259
ORLANDO FL 32817                           ORLANDO FL 32817                              ORLANDO FL 32817                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM

032379P001-1488A-002F                      032379P001-1488A-002F                         032379P001-1488A-002F                        032379P001-1488A-002F
THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SUNTRUST BANK PORTFOLIO                    SUNTRUST BANK PORTFOLIO                       SUNTRUST BANK PORTFOLIO                      SUNTRUST BANK PORTFOLIO
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
SUNTRUST BANK PORTFOLIO                       SUNTRUST BANK PORTFOLIO                       SUNTRUST BANK PORTFOLIO                      SUNTRUST BANK PORTFOLIO
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032380P001-1488A-002F                         032380P001-1488A-002F                         032380P001-1488A-002F                        032380P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
THE PRUDENTIALINVESTMENT                      THE PRUDENTIALINVESTMENT                      THE PRUDENTIALINVESTMENT                     THE PRUDENTIALINVESTMENT
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032380P001-1488A-002F                         032380P001-1488A-002F                         032380P001-1488A-002F                        032380P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
THE PRUDENTIALINVESTMENT                      THE PRUDENTIALINVESTMENT                      THE PRUDENTIALINVESTMENT                     THE PRUDENTIALINVESTMENT
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032380P001-1488A-002F                         032381P001-1488A-002F                         032381P001-1488A-002F                        032381P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
THE PRUDENTIALINVESTMENT                      TRADITION LONDON CLEARING LTD                 TRADITION LONDON CLEARING LTD                TRADITION LONDON CLEARING LTD
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032381P001-1488A-002F                         032381P001-1488A-002F                         032381P001-1488A-002F                        032381P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
TRADITION LONDON CLEARING LTD                 TRADITION LONDON CLEARING LTD                 TRADITION LONDON CLEARING LTD                TRADITION LONDON CLEARING LTD
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032381P001-1488A-002F                         032381P001-1488A-002F                         032382P001-1488A-002F                        032382P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
TRADITION LONDON CLEARING LTD                 TRADITION LONDON CLEARING LTD                 TULLET AND TOKYOLIBERTY SEC LTD              TULLET AND TOKYOLIBERTY SEC LTD
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
TULLET AND TOKYOLIBERTY SEC LTD               TULLET AND TOKYOLIBERTY SEC LTD              TULLET AND TOKYOLIBERTY SEC LTD       TULLET AND TOKYOLIBERTY SEC LTD
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM      MATTHEW.BARTEL@BNYMELLON.COM


032382P001-1488A-002F                         032382P001-1488A-002F                        032382P001-1488A-002F                 032383P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
TULLET AND TOKYOLIBERTY SEC LTD               TULLET AND TOKYOLIBERTY SEC LTD              TULLET AND TOKYOLIBERTY SEC LTD       TULLETT PREBORNFINANCIAL SVC 1
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT        CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL                   ONE WALL ST
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259                   NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032383P001-1488A-002F                         032383P001-1488A-002F                        032383P001-1488A-002F                 032383P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
TULLETT PREBORNFINANCIAL SVC 1                TULLETT PREBORNFINANCIAL SVC 1               TULLETT PREBORNFINANCIAL SVC 1        TULLETT PREBORNFINANCIAL SVC 1
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     NEW YORK NY 10286
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


032383P001-1488A-002F                         032383P001-1488A-002F                        032383P001-1488A-002F                 032383P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
TULLETT PREBORNFINANCIAL SVC 1                TULLETT PREBORNFINANCIAL SVC 1               TULLETT PREBORNFINANCIAL SVC 1        TULLETT PREBORNFINANCIAL SVC 1
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


032384P001-1488A-002F                         032384P001-1488A-002F                        032384P001-1488A-002F                 032384P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
TULLETT PREBORNFINANCIAL SVC                  TULLETT PREBORNFINANCIAL SVC                 TULLETT PREBORNFINANCIAL SVC          TULLETT PREBORNFINANCIAL SVC
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


032384P001-1488A-002F                         032384P001-1488A-002F                        032384P001-1488A-002F                 032384P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON           THE BANK OF NEW YORK MELLON
TULLETT PREBORNFINANCIAL SVC                  TULLETT PREBORNFINANCIAL SVC                 TULLETT PREBORNFINANCIAL SVC          TULLETT PREBORNFINANCIAL SVC
CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS                          CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST                           ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286                     NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM
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032384P001-1488A-002F                               032385P001-1488A-002F                          032385P001-1488A-002F                          032385P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
TULLETT PREBORNFINANCIAL SVC                        VANGUARD BLOCKLENDING                          VANGUARD BLOCKLENDING                          VANGUARD BLOCKLENDING
CORP ACTIONS                                        MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                         525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
NEW YORK NY 10286                                   PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM                 GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM


032385P001-1488A-002F                               032385P001-1488A-002F                          032385P001-1488A-002F                          032385P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
VANGUARD BLOCKLENDING                               VANGUARD BLOCKLENDING                          VANGUARD BLOCKLENDING                          VANGUARD BLOCKLENDING
MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                               JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032385P001-1488A-002F                               032385P001-1488A-002F                          032386P001-1488A-002F                          032386P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
VANGUARD BLOCKLENDING                               VANGUARD BLOCKLENDING                          ELLINGTON ENHANCED INCOME MASTER FUND LTD      ELLINGTON ENHANCED INCOME MASTER FUND LTD
MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT                 CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                      PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM


032386P001-1488A-002F                               032386P001-1488A-002F                          032386P001-1488A-002F                          032386P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
ELLINGTON ENHANCED INCOME MASTER FUND LTD           ELLINGTON ENHANCED INCOME MASTER FUND LTD      ELLINGTON ENHANCED INCOME MASTER FUND LTD      ELLINGTON ENHANCED INCOME MASTER FUND LTD
CORP ACTIONS                                        CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                     SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM


032386P001-1488A-002F                               032386P001-1488A-002F                          032386P001-1488A-002F                          032387P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
ELLINGTON ENHANCED INCOME MASTER FUND LTD           ELLINGTON ENHANCED INCOME MASTER FUND LTD      ELLINGTON ENHANCED INCOME MASTER FUND LTD      NM PERA ELLINGTON ENHANCED INCOME FUND A LLC
CORP ACTIONS                                        CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                  PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032387P001-1488A-002F                               032387P001-1488A-002F                          032387P001-1488A-002F                          032387P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
NM PERA ELLINGTON ENHANCED INCOME FUND A LLC        NM PERA ELLINGTON ENHANCED INCOME FUND A LLC   NM PERA ELLINGTON ENHANCED INCOME FUND A LLC   NM PERA ELLINGTON ENHANCED INCOME FUND A LLC
CORP ACTIONS                                        CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                 JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
NM PERA ELLINGTON ENHANCED INCOME FUND A LLC        NM PERA ELLINGTON ENHANCED INCOME FUND A LLC    NM PERA ELLINGTON ENHANCED INCOME FUND A LLC   NM PERA ELLINGTON ENHANCED INCOME FUND A LLC
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                        JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


032388P001-1488A-002F                               032388P001-1488A-002F                           032388P001-1488A-002F                          032388P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
MERRILL LYNCH PIERCE FENNER AND SMITH               MERRILL LYNCH PIERCE FENNER AND SMITH           MERRILL LYNCH PIERCE FENNER AND SMITH          MERRILL LYNCH PIERCE FENNER AND SMITH
DONNA STEINMAN - VICE PRESIDENT                     DONNA STEINMAN - VICE PRESIDENT                 DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                         ONE WALL ST                                     ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                   NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM          PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032388P001-1488A-002F                               032388P001-1488A-002F                           032388P001-1488A-002F                          032388P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
MERRILL LYNCH PIERCE FENNER AND SMITH               MERRILL LYNCH PIERCE FENNER AND SMITH           MERRILL LYNCH PIERCE FENNER AND SMITH          MERRILL LYNCH PIERCE FENNER AND SMITH
DONNA STEINMAN - VICE PRESIDENT                     DONNA STEINMAN - VICE PRESIDENT                 DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                         ONE WALL ST                                     ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                   NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286
CORPACTIONSPROXY@ML.COM                             PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM            SZYROKI.DC@MELLON.COM


032388P001-1488A-002F                               032388P001-1488A-002F                           032394P001-1488A-002F                          032394P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
MERRILL LYNCH PIERCE FENNER AND SMITH               MERRILL LYNCH PIERCE FENNER AND SMITH           ABBEY NATIONAL TREASURY PLC US B               ABBEY NATIONAL TREASURY PLC US B
DONNA STEINMAN - VICE PRESIDENT                     DONNA STEINMAN - VICE PRESIDENT                 CORPORATE ACTIONS                              CORPORATE ACTIONS
ONE WALL ST                                         ONE WALL ST                                     525 WILLIAM PENN PL                            525 WILLIAM PENN PL
NEW YORK NY 10286                                   NEW YORK NY 10286                               PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM


032394P001-1488A-002F                               032394P001-1488A-002F                           032394P001-1488A-002F                          032394P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
ABBEY NATIONAL TREASURY PLC US B                    ABBEY NATIONAL TREASURY PLC US B                ABBEY NATIONAL TREASURY PLC US B               ABBEY NATIONAL TREASURY PLC US B
CORPORATE ACTIONS                                   CORPORATE ACTIONS                               CORPORATE ACTIONS                              CORPORATE ACTIONS
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                     SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM


032394P001-1488A-002F                               032394P001-1488A-002F                           032394P001-1488A-002F                          032396P001-1488A-002F
THE BANK OF NEW YORK MELLON                         THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON
ABBEY NATIONAL TREASURY PLC US B                    ABBEY NATIONAL TREASURY PLC US B                ABBEY NATIONAL TREASURY PLC US B               ANNALY CRE HOLDING
CORPORATE ACTIONS                                   CORPORATE ACTIONS                               CORPORATE ACTIONS                              ANNALY CRE HOLDING LLC, DONNA STEINMAN
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            ONE WALL ST
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                  PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
ANNALY CRE HOLDING                            ANNALY CRE HOLDING                               ANNALY CRE HOLDING                       ANNALY CRE HOLDING
ANNALY CRE HOLDING LLC, DONNA STEINMAN        ANNALY CRE HOLDING LLC, DONNA STEINMAN           ANNALY CRE HOLDING LLC, DONNA STEINMAN   ANNALY CRE HOLDING LLC, DONNA STEINMAN
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                              ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                        NEW YORK NY 10286
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                    JMICHAEL.JOHNSONJR@BNYMELLON.COM


032396P001-1488A-002F                         032396P001-1488A-002F                            032396P001-1488A-002F                    032396P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
ANNALY CRE HOLDING                            ANNALY CRE HOLDING                               ANNALY CRE HOLDING                       ANNALY CRE HOLDING
ANNALY CRE HOLDING LLC, DONNA STEINMAN        ANNALY CRE HOLDING LLC, DONNA STEINMAN           ANNALY CRE HOLDING LLC, DONNA STEINMAN   ANNALY CRE HOLDING LLC, DONNA STEINMAN
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                              ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                        NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM           PGH.CA.EVENT.CREATION@BNYMELLON.COM


032402P001-1488A-002F                         032402P001-1488A-002F                            032402P001-1488A-002F                    032402P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
BANCO SANTANDERSLB                            BANCO SANTANDERSLB                               BANCO SANTANDERSLB                       BANCO SANTANDERSLB
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                    MICHAEL KANIA, VICE PRESIDENT            MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM          SZYROKI.DC@MELLON.COM


032402P001-1488A-002F                         032402P001-1488A-002F                            032402P001-1488A-002F                    032402P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
BANCO SANTANDERSLB                            BANCO SANTANDERSLB                               BANCO SANTANDERSLB                       BANCO SANTANDERSLB
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                    MICHAEL KANIA, VICE PRESIDENT            MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM       PGHEVENTCREATION@BNYMELLON.COM


032402P001-1488A-002F                         032407P001-1488A-002F                            032407P001-1488A-002F                    032407P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
BANCO SANTANDERSLB                            BROKER DEALER OMNIBUS                            BROKER DEALER OMNIBUS                    BROKER DEALER OMNIBUS
MICHAEL KANIA, VICE PRESIDENT                 CLEOLA L MOORE                                   CLEOLA L MOORE                           CLEOLA L MOORE
525 WILLIAM PENN PL                           ONE WALL ST                                      ONE WALL ST                              ONE WALL ST
PITTSBURGH PA 15259                           NEW YORK NY 10286                                NEW YORK NY 10286                        NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                      JUSTIN.WHITEHOUSE@BNYMELLON.COM


032407P001-1488A-002F                         032407P001-1488A-002F                            032407P001-1488A-002F                    032407P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                      THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
BROKER DEALER OMNIBUS                         BROKER DEALER OMNIBUS                            BROKER DEALER OMNIBUS                    BROKER DEALER OMNIBUS
CLEOLA L MOORE                                CLEOLA L MOORE                                   CLEOLA L MOORE                           CLEOLA L MOORE
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                              ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                        NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM             JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
BROKER DEALER OMNIBUS                         BROKER DEALER OMNIBUS                         EARN SECURITIESLLC                           EARN SECURITIESLLC
CLEOLA L MOORE                                CLEOLA L MOORE                                CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032431P001-1488A-002F                         032431P001-1488A-002F                         032431P001-1488A-002F                        032431P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
EARN SECURITIESLLC                            EARN SECURITIESLLC                            EARN SECURITIESLLC                           EARN SECURITIESLLC
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032431P001-1488A-002F                         032431P001-1488A-002F                         032431P001-1488A-002F                        032441P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
EARN SECURITIESLLC                            EARN SECURITIESLLC                            EARN SECURITIESLLC                           GIB UK LTD CORP BOND
CORP ACTIONS                                  CORP ACTIONS                                  CORP ACTIONS                                 MICHAEL KANIA, VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                   ONE WALL ST                                  525 WILLIAM PENN PL
NEW YORK NY 10286                             NEW YORK NY 10286                             NEW YORK NY 10286                            PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032441P001-1488A-002F                         032441P001-1488A-002F                         032441P001-1488A-002F                        032441P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
GIB UK LTD CORP BOND                          GIB UK LTD CORP BOND                          GIB UK LTD CORP BOND                         GIB UK LTD CORP BOND
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM


032441P001-1488A-002F                         032441P001-1488A-002F                         032441P001-1488A-002F                        032441P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
GIB UK LTD CORP BOND                          GIB UK LTD CORP BOND                          GIB UK LTD CORP BOND                         GIB UK LTD CORP BOND
MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                 MICHAEL KANIA, VICE PRESIDENT                MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032444P001-1488A-002F                         032444P001-1488A-002F                         032444P001-1488A-002F                        032444P001-1488A-002F
THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                  HH ELLINGTON MASTER FUND LTD                  HH ELLINGTON MASTER FUND LTD                 HH ELLINGTON MASTER FUND LTD
CORPORATE ACTIONS                             CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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032444P001-1488A-002F                        032444P001-1488A-002F                           032444P001-1488A-002F                   032444P001-1488A-002F
THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON             THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                 HH ELLINGTON MASTER FUND LTD                    HH ELLINGTON MASTER FUND LTD            HH ELLINGTON MASTER FUND LTD
CORPORATE ACTIONS                            CORPORATE ACTIONS                               CORPORATE ACTIONS                       CORPORATE ACTIONS
525 WILLIAM PENN PL                          525 WILLIAM PENN PL                             525 WILLIAM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                          PITTSBURGH PA 15259                             PITTSBURGH PA 15259                     PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM      PGHEVENTCREATION@BNYMELLON.COM


032444P001-1488A-002F                        032454P001-1488A-002F                           032454P001-1488A-002F                   032454P001-1488A-002F
THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON             THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                 MILLENNIUM PARTNERS                             MILLENNIUM PARTNERS                     MILLENNIUM PARTNERS
CORPORATE ACTIONS                            MIKE SCARRY, ASSISTANT VICE PRESIDENT           MIKE SCARRY, ASSISTANT VICE PRESIDENT   MIKE SCARRY, ASSISTANT VICE PRESIDENT
525 WILLIAM PENN PL                          ONE WALL ST                                     ONE WALL ST                             ONE WALL ST
PITTSBURGH PA 15259                          NEW YORK NY 10286                               NEW YORK NY 10286                       NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM          JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM          PGH.CA.EVENT.CREATION@BNYMELLON.COM


032454P001-1488A-002F                        032454P001-1488A-002F                           032454P001-1488A-002F                   032454P001-1488A-002F
THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON             THE BANK OF NEW YORK MELLON
MILLENNIUM PARTNERS                          MILLENNIUM PARTNERS                             MILLENNIUM PARTNERS                     MILLENNIUM PARTNERS
MIKE SCARRY, ASSISTANT VICE PRESIDENT        MIKE SCARRY, ASSISTANT VICE PRESIDENT           MIKE SCARRY, ASSISTANT VICE PRESIDENT   MIKE SCARRY, ASSISTANT VICE PRESIDENT
ONE WALL ST                                  ONE WALL ST                                     ONE WALL ST                             ONE WALL ST
NEW YORK NY 10286                            NEW YORK NY 10286                               NEW YORK NY 10286                       NEW YORK NY 10286
MSCARRY@BANKOFNY.COM                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                     JUSTIN.WHITEHOUSE@BNYMELLON.COM


032454P001-1488A-002F                        032454P001-1488A-002F                           032454P001-1488A-002F                   032457P001-1488A-002F
THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON             THE BANK OF NEW YORK MELLON
MILLENNIUM PARTNERS                          MILLENNIUM PARTNERS                             MILLENNIUM PARTNERS                     NATIXIS FUNDING CORP
MIKE SCARRY, ASSISTANT VICE PRESIDENT        MIKE SCARRY, ASSISTANT VICE PRESIDENT           MIKE SCARRY, ASSISTANT VICE PRESIDENT   CORP ACTIONS
ONE WALL ST                                  ONE WALL ST                                     ONE WALL ST                             ONE WALL ST
NEW YORK NY 10286                            NEW YORK NY 10286                               NEW YORK NY 10286                       NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032457P001-1488A-002F                        032457P001-1488A-002F                           032457P001-1488A-002F                   032457P001-1488A-002F
THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON             THE BANK OF NEW YORK MELLON
NATIXIS FUNDING CORP                         NATIXIS FUNDING CORP                            NATIXIS FUNDING CORP                    NATIXIS FUNDING CORP
CORP ACTIONS                                 CORP ACTIONS                                    CORP ACTIONS                            CORP ACTIONS
ONE WALL ST                                  ONE WALL ST                                     ONE WALL ST                             ONE WALL ST
NEW YORK NY 10286                            NEW YORK NY 10286                               NEW YORK NY 10286                       NEW YORK NY 10286
PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                   JMICHAEL.JOHNSONJR@BNYMELLON.COM


032457P001-1488A-002F                        032457P001-1488A-002F                           032457P001-1488A-002F                   032457P001-1488A-002F
THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON                     THE BANK OF NEW YORK MELLON             THE BANK OF NEW YORK MELLON
NATIXIS FUNDING CORP                         NATIXIS FUNDING CORP                            NATIXIS FUNDING CORP                    NATIXIS FUNDING CORP
CORP ACTIONS                                 CORP ACTIONS                                    CORP ACTIONS                            CORP ACTIONS
ONE WALL ST                                  ONE WALL ST                                     ONE WALL ST                             ONE WALL ST
NEW YORK NY 10286                            NEW YORK NY 10286                               NEW YORK NY 10286                       NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM          PGH.CA.EVENT.CREATION@BNYMELLON.COM
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032483P001-1488A-002F                             032483P001-1488A-002F                       032483P001-1488A-002F                        032483P001-1488A-002F
THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
WELLS FARGO MARGIN                                WELLS FARGO MARGIN                          WELLS FARGO MARGIN                           WELLS FARGO MARGIN
JOE WINKHART                                      JOE WINKHART                                JOE WINKHART                                 JOE WINKHART
1 WALL ST                                         1 WALL ST                                   1 WALL ST                                    1 WALL ST
5TH FL                                            5TH FL                                      5TH FL                                       5TH FL
NEW YORK NY 10286                                 NEW YORK NY 10286                           NEW YORK NY 10286                            NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM                         JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM

032483P001-1488A-002F                             032483P001-1488A-002F                       032483P001-1488A-002F                        032483P001-1488A-002F
THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
WELLS FARGO MARGIN                                WELLS FARGO MARGIN                          WELLS FARGO MARGIN                           WELLS FARGO MARGIN
JOE WINKHART                                      JOE WINKHART                                JOE WINKHART                                 JOE WINKHART
1 WALL ST                                         1 WALL ST                                   1 WALL ST                                    1 WALL ST
5TH FL                                            5TH FL                                      5TH FL                                       5TH FL
NEW YORK NY 10286                                 NEW YORK NY 10286                           NEW YORK NY 10286                            NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM                  MATTHEW.BARTEL@BNYMELLON.COM                JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM

032483P001-1488A-002F                             032483P001-1488A-002F                       032483P001-1488A-002F                        032483P001-1488A-002F
THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                  THE BANK OF NEW YORK MELLON
WELLS FARGO MARGIN                                WELLS FARGO MARGIN                          WELLS FARGO MARGIN                           WELLS FARGO MARGIN
JOE WINKHART                                      JOE WINKHART                                JOE WINKHART                                 JOE WINKHART
1 WALL ST                                         1 WALL ST                                   1 WALL ST                                    1 WALL ST
5TH FL                                            5TH FL                                      5TH FL                                       5TH FL
NEW YORK NY 10286                                 NEW YORK NY 10286                           NEW YORK NY 10286                            NEW YORK NY 10286
WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM                PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM

032483P001-1488A-002F                             032483P001-1488A-002F                       032389P001-1488A-002F                        032389P001-1488A-002F
THE BANK OF NEW YORK MELLON                       THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON /                THE BANK OF NEW YORK MELLON /
WELLS FARGO MARGIN                                WELLS FARGO MARGIN                          ELLINGTON GNMA MASTER FUND LTD               ELLINGTON GNMA MASTER FUND LTD
JOE WINKHART                                      JOE WINKHART                                CORPORATE ACTIONS                            CORPORATE ACTIONS
1 WALL ST                                         1 WALL ST                                   525 WILLIAM PENN PL                          525 WILLIAM PENN PL
5TH FL                                            5TH FL                                      PITTSBURGH PA 15259                          PITTSBURGH PA 15259
NEW YORK NY 10286                                 NEW YORK NY 10286                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM

032389P001-1488A-002F                             032389P001-1488A-002F                       032389P001-1488A-002F                        032389P001-1488A-002F
THE BANK OF NEW YORK MELLON /                     THE BANK OF NEW YORK MELLON /               THE BANK OF NEW YORK MELLON /                THE BANK OF NEW YORK MELLON /
ELLINGTON GNMA MASTER FUND LTD                    ELLINGTON GNMA MASTER FUND LTD              ELLINGTON GNMA MASTER FUND LTD               ELLINGTON GNMA MASTER FUND LTD
CORPORATE ACTIONS                                 CORPORATE ACTIONS                           CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                   SZYROKI.DC@MELLON.COM                       PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032390P001-1488A-002F                             032390P001-1488A-002F                       032390P001-1488A-002F                        032390P001-1488A-002F
THE BANK OF NEW YORK MELLON TRUST                 THE BANK OF NEW YORK MELLON TRUST           THE BANK OF NEW YORK MELLON TRUST            THE BANK OF NEW YORK MELLON TRUST
COMPANYNATIONAL ASSOCIATION                       COMPANYNATIONAL ASSOCIATION                 COMPANYNATIONAL ASSOCIATION                  COMPANYNATIONAL ASSOCIATION
MICHAEL KANIA - VICE PRESIDENT                    MICHAEL KANIA - VICE PRESIDENT              MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                               525 WILLIAM PENN PL                         525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                               PITTSBURGH PA 15259                         PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM                         JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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032390P001-1488A-002F                         032390P001-1488A-002F                            032390P001-1488A-002F                        032390P001-1488A-002F
THE BANK OF NEW YORK MELLON TRUST             THE BANK OF NEW YORK MELLON TRUST                THE BANK OF NEW YORK MELLON TRUST            THE BANK OF NEW YORK MELLON TRUST
COMPANYNATIONAL ASSOCIATION                   COMPANYNATIONAL ASSOCIATION                      COMPANYNATIONAL ASSOCIATION                  COMPANYNATIONAL ASSOCIATION
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032390P001-1488A-002F                         032361P001-1488A-002F                            032361P001-1488A-002F                        032361P001-1488A-002F
THE BANK OF NEW YORK MELLON TRUST             THE BANK OF NEW YORK MELLON, ELLINGTON           THE BANK OF NEW YORK MELLON, ELLINGTON       THE BANK OF NEW YORK MELLON, ELLINGTON
COMPANYNATIONAL ASSOCIATION                   MORTGAGE OPPORTUNITIES MASTER FUND LTD           MORTGAGE OPPORTUNITIES MASTER FUND LTD       MORTGAGE OPPORTUNITIES MASTER FUND LTD
MICHAEL KANIA - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
525 WILLIAM PENN PL                           ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
PITTSBURGH PA 15259                           NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032361P001-1488A-002F                         032361P001-1488A-002F                            032361P001-1488A-002F                        032361P001-1488A-002F
THE BANK OF NEW YORK MELLON, ELLINGTON        THE BANK OF NEW YORK MELLON, ELLINGTON           THE BANK OF NEW YORK MELLON, ELLINGTON       THE BANK OF NEW YORK MELLON, ELLINGTON
MORTGAGE OPPORTUNITIES MASTER FUND LTD        MORTGAGE OPPORTUNITIES MASTER FUND LTD           MORTGAGE OPPORTUNITIES MASTER FUND LTD       MORTGAGE OPPORTUNITIES MASTER FUND LTD
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                      ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                                NEW YORK NY 10286                            NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032361P001-1488A-002F                         032361P001-1488A-002F                            032391P001-1488A-002F                        032391P001-1488A-002F
THE BANK OF NEW YORK MELLON, ELLINGTON        THE BANK OF NEW YORK MELLON, ELLINGTON           THE BANK OF NEW YORK MELLON/                 THE BANK OF NEW YORK MELLON/
MORTGAGE OPPORTUNITIES MASTER FUND LTD        MORTGAGE OPPORTUNITIES MASTER FUND LTD           DEUTSCHE BK AG LONDON                        DEUTSCHE BK AG LONDON
DONNA STEINMAN - VICE PRESIDENT               DONNA STEINMAN - VICE PRESIDENT                  CORPORATE ACTIONS                            CORPORATE ACTIONS
ONE WALL ST                                   ONE WALL ST                                      525 WILLIAM PENN PL                          525 WILLIAM PENN PL
NEW YORK NY 10286                             NEW YORK NY 10286                                PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032391P001-1488A-002F                         032391P001-1488A-002F                            032391P001-1488A-002F                        032391P001-1488A-002F
THE BANK OF NEW YORK MELLON/                  THE BANK OF NEW YORK MELLON/                     THE BANK OF NEW YORK MELLON/                 THE BANK OF NEW YORK MELLON/
DEUTSCHE BK AG LONDON                         DEUTSCHE BK AG LONDON                            DEUTSCHE BK AG LONDON                        DEUTSCHE BK AG LONDON
CORPORATE ACTIONS                             CORPORATE ACTIONS                                CORPORATE ACTIONS                            CORPORATE ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032392P001-1488A-002F                         032392P001-1488A-002F                            032392P001-1488A-002F                        032392P001-1488A-002F
THE BANK OF NEW YORK MELLON/                  THE BANK OF NEW YORK MELLON/                     THE BANK OF NEW YORK MELLON/                 THE BANK OF NEW YORK MELLON/
ICBC STANDARD BANK PLC                        ICBC STANDARD BANK PLC                           ICBC STANDARD BANK PLC                       ICBC STANDARD BANK PLC
CORP ACTIONS                                  CORP ACTIONS                                     CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                              525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                              PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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THE BANK OF NEW YORK MELLON/                    THE BANK OF NEW YORK MELLON/                    THE BANK OF NEW YORK MELLON/                    THE BANK OF NEW YORK MELLON/
ICBC STANDARD BANK PLC                          ICBC STANDARD BANK PLC                          ICBC STANDARD BANK PLC                          ICBC STANDARD BANK PLC
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM


032392P001-1488A-002F                           032393P001-1488A-002F                           032393P001-1488A-002F                           032393P001-1488A-002F
THE BANK OF NEW YORK MELLON/                    THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA    THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA    THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA
ICBC STANDARD BANK PLC                          MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
CORP ACTIONS                                    VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM


032393P001-1488A-002F                           032393P001-1488A-002F                           032393P001-1488A-002F                           032393P001-1488A-002F
THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA    THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA    THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA    THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032393P001-1488A-002F                           032393P001-1488A-002F                           032395P001-1488A-002F                           032395P001-1488A-002F
THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA    THE BANK OF NEW YORK MELLON/ BANQUE DEWAAYSA    THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL   THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM


032395P001-1488A-002F                           032395P001-1488A-002F                           032395P001-1488A-002F                           032395P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL   THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL   THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL   THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM


032395P001-1488A-002F                           032395P001-1488A-002F                           032395P001-1488A-002F                           032397P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL   THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL   THE BANK OF NEW YORK MELLON/ANCHORAGE CAPITAL   THE BANK OF NEW YORK MELLON/ANNALY CRE LLC
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                   DONNA STEINMAN
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             ONE WALL ST
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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032397P001-1488A-002F                             032397P001-1488A-002F                           032397P001-1488A-002F                           032397P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANNALY CRE LLC        THE BANK OF NEW YORK MELLON/ANNALY CRE LLC      THE BANK OF NEW YORK MELLON/ANNALY CRE LLC      THE BANK OF NEW YORK MELLON/ANNALY CRE LLC
DONNA STEINMAN                                    DONNA STEINMAN                                  DONNA STEINMAN                                  DONNA STEINMAN
VICE PRESIDENT                                    VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
ONE WALL ST                                       ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                 NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
PXRPT@BNYMELLON.COM                               JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM


032397P001-1488A-002F                             032397P001-1488A-002F                           032397P001-1488A-002F                           032397P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANNALY CRE LLC        THE BANK OF NEW YORK MELLON/ANNALY CRE LLC      THE BANK OF NEW YORK MELLON/ANNALY CRE LLC      THE BANK OF NEW YORK MELLON/ANNALY CRE LLC
DONNA STEINMAN                                    DONNA STEINMAN                                  DONNA STEINMAN                                  DONNA STEINMAN
VICE PRESIDENT                                    VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
ONE WALL ST                                       ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                 NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                      JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM


032398P001-1488A-002F                             032398P001-1488A-002F                           032398P001-1488A-002F                           032398P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC     THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC   THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC   THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC
DONNA STEINMAN                                    DONNA STEINMAN                                  DONNA STEINMAN                                  DONNA STEINMAN
VICE PRESIDENT                                    VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
ONE WALL ST                                       ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                 NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM        PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM


032398P001-1488A-002F                             032398P001-1488A-002F                           032398P001-1488A-002F                           032398P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC     THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC   THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC   THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC
DONNA STEINMAN                                    DONNA STEINMAN                                  DONNA STEINMAN                                  DONNA STEINMAN
VICE PRESIDENT                                    VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
ONE WALL ST                                       ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                 NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM                  MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM


032398P001-1488A-002F                             032399P001-1488A-002F                           032399P001-1488A-002F                           032399P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANNALY FUNDINGLLC     THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE     THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE     THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE
DONNA STEINMAN                                    MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                    VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
ONE WALL ST                                       525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
NEW YORK NY 10286                                 RM 0400                                         RM 0400                                         RM 0400
PGH.CA.EVENT.CREATION@BNYMELLON.COM               PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
                                                  GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM

032399P001-1488A-002F                             032399P001-1488A-002F                           032399P001-1488A-002F                           032399P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE       THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE     THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE     THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE
MICHAEL KANIA                                     MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                    VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                               525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
RM 0400                                           RM 0400                                         RM 0400                                         RM 0400
PITTSBURGH PA 15259                               PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                             JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
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032399P001-1488A-002F                          032399P001-1488A-002F                         032400P001-1488A-002F                        032400P001-1488A-002F
THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE    THE BANK OF NEW YORK MELLON/ANNALY MORTGAGE   THE BANK OF NEW YORK MELLON/BAKER2           THE BANK OF NEW YORK MELLON/BAKER2
MICHAEL KANIA                                  MICHAEL KANIA                                 DONNA STEINMAN                               DONNA STEINMAN
VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           ONE WALL ST                                  ONE WALL ST
RM 0400                                        RM 0400                                       5TH FL                                       5TH FL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           NEW YORK NY 10286                            NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM

032400P001-1488A-002F                          032400P001-1488A-002F                         032400P001-1488A-002F                        032400P001-1488A-002F
THE BANK OF NEW YORK MELLON/BAKER2             THE BANK OF NEW YORK MELLON/BAKER2            THE BANK OF NEW YORK MELLON/BAKER2           THE BANK OF NEW YORK MELLON/BAKER2
DONNA STEINMAN                                 DONNA STEINMAN                                DONNA STEINMAN                               DONNA STEINMAN
VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
5TH FL                                         5TH FL                                        5TH FL                                       5TH FL
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM

032400P001-1488A-002F                          032400P001-1488A-002F                         032400P001-1488A-002F                        032401P001-1488A-002F
THE BANK OF NEW YORK MELLON/BAKER2             THE BANK OF NEW YORK MELLON/BAKER2            THE BANK OF NEW YORK MELLON/BAKER2           THE BANK OF NEW YORK MELLON/BAKERGROUP
DONNA STEINMAN                                 DONNA STEINMAN                                DONNA STEINMAN                               CECILE LAMARCO
VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT                               ONE WALL ST
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  NEW YORK NY 10286
5TH FL                                         5TH FL                                        5TH FL                                       GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM

032401P001-1488A-002F                          032401P001-1488A-002F                         032401P001-1488A-002F                        032401P001-1488A-002F
THE BANK OF NEW YORK MELLON/BAKERGROUP         THE BANK OF NEW YORK MELLON/BAKERGROUP        THE BANK OF NEW YORK MELLON/BAKERGROUP       THE BANK OF NEW YORK MELLON/BAKERGROUP
CECILE LAMARCO                                 CECILE LAMARCO                                CECILE LAMARCO                               CECILE LAMARCO
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM




032401P001-1488A-002F                          032401P001-1488A-002F                         032401P001-1488A-002F                        032401P001-1488A-002F
THE BANK OF NEW YORK MELLON/BAKERGROUP         THE BANK OF NEW YORK MELLON/BAKERGROUP        THE BANK OF NEW YORK MELLON/BAKERGROUP       THE BANK OF NEW YORK MELLON/BAKERGROUP
CECILE LAMARCO                                 CECILE LAMARCO                                CECILE LAMARCO                               CECILE LAMARCO
ONE WALL ST                                    ONE WALL ST                                   ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                             NEW YORK NY 10286                            NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM




032403P001-1488A-002F                          032403P001-1488A-002F                         032403P001-1488A-002F                        032403P001-1488A-002F
THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY     THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY    THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY   THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY
CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY         THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY     THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY    THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY
CORP ACTIONS                                       CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                   MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM


032403P001-1488A-002F                              032404P001-1488A-002F                          032404P001-1488A-002F                         032404P001-1488A-002F
THE BANK OF NEW YORK MELLON/BANQUE D'ORSAY         THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)    THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)   THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)
CORP ACTIONS                                       MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT
VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM


032404P001-1488A-002F                              032404P001-1488A-002F                          032404P001-1488A-002F                         032404P001-1488A-002F
THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)        THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)    THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)   THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)
MICHAEL KANIA - VICE PRESIDENT                     MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT
VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032404P001-1488A-002F                              032404P001-1488A-002F                          032405P001-1488A-002F                         032405P001-1488A-002F
THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)        THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)    THE BANK OF NEW YORK MELLON/BNYM ETF          THE BANK OF NEW YORK MELLON/BNYM ETF
MICHAEL KANIA - VICE PRESIDENT                     MICHAEL KANIA - VICE PRESIDENT                 CORP ACTIONS                                  CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM


032405P001-1488A-002F                              032405P001-1488A-002F                          032405P001-1488A-002F                         032405P001-1488A-002F
THE BANK OF NEW YORK MELLON/BNYM ETF               THE BANK OF NEW YORK MELLON/BNYM ETF           THE BANK OF NEW YORK MELLON/BNYM ETF          THE BANK OF NEW YORK MELLON/BNYM ETF
CORP ACTIONS                                       CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                    SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM


032405P001-1488A-002F                              032405P001-1488A-002F                          032405P001-1488A-002F                         032406P001-1488A-002F
THE BANK OF NEW YORK MELLON/BNYM ETF               THE BANK OF NEW YORK MELLON/BNYM ETF           THE BANK OF NEW YORK MELLON/BNYM ETF          THE BANK OF NEW YORK MELLON/BOA NA
CORP ACTIONS                                       CORP ACTIONS                                   CORP ACTIONS                                  CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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032406P001-1488A-002F                           032406P001-1488A-002F                          032406P001-1488A-002F                          032406P001-1488A-002F
THE BANK OF NEW YORK MELLON/BOA NA              THE BANK OF NEW YORK MELLON/BOA NA             THE BANK OF NEW YORK MELLON/BOA NA             THE BANK OF NEW YORK MELLON/BOA NA
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM


032406P001-1488A-002F                           032406P001-1488A-002F                          032406P001-1488A-002F                          032406P001-1488A-002F
THE BANK OF NEW YORK MELLON/BOA NA              THE BANK OF NEW YORK MELLON/BOA NA             THE BANK OF NEW YORK MELLON/BOA NA             THE BANK OF NEW YORK MELLON/BOA NA
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


032408P001-1488A-002F                           032408P001-1488A-002F                          032408P001-1488A-002F                          032408P001-1488A-002F
THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC    THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC   THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC   THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC
CHIMERA RMBS LLC (F/K/A CIM HOLDING)            CHIMERA RMBS LLC (F/K/A CIM HOLDING)           CHIMERA RMBS LLC (F/K/A CIM HOLDING)           CHIMERA RMBS LLC (F/K/A CIM HOLDING)
MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM


032408P001-1488A-002F                           032408P001-1488A-002F                          032408P001-1488A-002F                          032408P001-1488A-002F
THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC    THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC   THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC   THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC
CHIMERA RMBS LLC (F/K/A CIM HOLDING)            CHIMERA RMBS LLC (F/K/A CIM HOLDING)           CHIMERA RMBS LLC (F/K/A CIM HOLDING)           CHIMERA RMBS LLC (F/K/A CIM HOLDING)
MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM


032408P001-1488A-002F                           032409P001-1488A-002F                          032409P001-1488A-002F                          032409P001-1488A-002F
THE BANK OF NEW YORK MELLON/CHIMERA RMBS LLC    THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS   THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS   THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS
CHIMERA RMBS LLC (F/K/A CIM HOLDING)            CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
MICHAEL KANIA                                   ONE WALL ST (NEW ST LEVEL)                     ONE WALL ST (NEW ST LEVEL)                     ONE WALL ST (NEW ST LEVEL)
525 WILLIAM PENN PL                             NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
PITTSBURGH PA 15259                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM


032409P001-1488A-002F                           032409P001-1488A-002F                          032409P001-1488A-002F                          032409P001-1488A-002F
THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS    THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS   THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS   THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
ONE WALL ST (NEW ST LEVEL)                      ONE WALL ST (NEW ST LEVEL)                     ONE WALL ST (NEW ST LEVEL)                     ONE WALL ST (NEW ST LEVEL)
NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
                                           Case 22-90032 Document 69GWG  Holdings,
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032409P001-1488A-002F                           032409P001-1488A-002F                           032411P001-1488A-002F                        032411P001-1488A-002F
THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS    THE BANK OF NEW YORK MELLON/COMMERCIAL LOANS    THE BANK OF NEW YORK MELLON/DB CHILRDENS     THE BANK OF NEW YORK MELLON/DB CHILRDENS
CORP ACTIONS                                    CORP ACTIONS                                    MICHAEL KANIA                                MICHAEL KANIA
ONE WALL ST (NEW ST LEVEL)                      ONE WALL ST (NEW ST LEVEL)                      VICE PRESIDENT                               VICE PRESIDENT
NEW YORK NY 10286                               NEW YORK NY 10286                               525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
                                                                                                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032411P001-1488A-002F                           032411P001-1488A-002F                           032411P001-1488A-002F                        032411P001-1488A-002F
THE BANK OF NEW YORK MELLON/DB CHILRDENS        THE BANK OF NEW YORK MELLON/DB CHILRDENS        THE BANK OF NEW YORK MELLON/DB CHILRDENS     THE BANK OF NEW YORK MELLON/DB CHILRDENS
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032411P001-1488A-002F                           032411P001-1488A-002F                           032411P001-1488A-002F                        032412P001-1488A-002F
THE BANK OF NEW YORK MELLON/DB CHILRDENS        THE BANK OF NEW YORK MELLON/DB CHILRDENS        THE BANK OF NEW YORK MELLON/DB CHILRDENS     THE BANK OF NEW YORK MELLON/DBLPB-DBX
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                EUROLONGSHORT EQ 4 FD
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032412P001-1488A-002F                           032412P001-1488A-002F                           032412P001-1488A-002F                        032412P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX        THE BANK OF NEW YORK MELLON/DBLPB-DBX
EUROLONGSHORT EQ 4 FD                           EUROLONGSHORT EQ 4 FD                           EUROLONGSHORT EQ 4 FD                        EUROLONGSHORT EQ 4 FD
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM


032412P001-1488A-002F                           032412P001-1488A-002F                           032412P001-1488A-002F                        032412P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX        THE BANK OF NEW YORK MELLON/DBLPB-DBX
EUROLONGSHORT EQ 4 FD                           EUROLONGSHORT EQ 4 FD                           EUROLONGSHORT EQ 4 FD                        EUROLONGSHORT EQ 4 FD
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032413P001-1488A-002F                           032413P001-1488A-002F                           032413P001-1488A-002F                        032413P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX        THE BANK OF NEW YORK MELLON/DBLPB-DBX
RISKARBITAGE 8 FUND                             RISKARBITAGE 8 FUND                             RISKARBITAGE 8 FUND                          RISKARBITAGE 8 FUND
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX          THE BANK OF NEW YORK MELLON/DBLPB-DBX
RISKARBITAGE 8 FUND                             RISKARBITAGE 8 FUND                             RISKARBITAGE 8 FUND                            RISKARBITAGE 8 FUND
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM


032413P001-1488A-002F                           032414P001-1488A-002F                           032414P001-1488A-002F                          032414P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBLPB-DBX           THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL    THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL   THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL
RISKARBITAGE 8 FUND                             S EQUITY 2 FUND                                 S EQUITY 2 FUND                                S EQUITY 2 FUND
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM


032414P001-1488A-002F                           032414P001-1488A-002F                           032414P001-1488A-002F                          032414P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL    THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL    THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL   THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL
S EQUITY 2 FUND                                 S EQUITY 2 FUND                                 S EQUITY 2 FUND                                S EQUITY 2 FUND
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032414P001-1488A-002F                           032414P001-1488A-002F                           032415P001-1488A-002F                          032415P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL    THE BANK OF NEW YORK MELLON/DBLPB-DBX-ASIANL    THE BANK OF NEW YORK MELLON/DBTC               THE BANK OF NEW YORK MELLON/DBTC
S EQUITY 2 FUND                                 S EQUITY 2 FUND                                 DB AG LDNPB F AND C SAPPHIRE M/FD LTD          DB AG LDNPB F AND C SAPPHIRE M/FD LTD
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM


032415P001-1488A-002F                           032415P001-1488A-002F                           032415P001-1488A-002F                          032415P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC                THE BANK OF NEW YORK MELLON/DBTC                THE BANK OF NEW YORK MELLON/DBTC               THE BANK OF NEW YORK MELLON/DBTC
DB AG LDNPB F AND C SAPPHIRE M/FD LTD           DB AG LDNPB F AND C SAPPHIRE M/FD LTD           DB AG LDNPB F AND C SAPPHIRE M/FD LTD          DB AG LDNPB F AND C SAPPHIRE M/FD LTD
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM


032415P001-1488A-002F                           032415P001-1488A-002F                           032415P001-1488A-002F                          032416P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC                THE BANK OF NEW YORK MELLON/DBTC                THE BANK OF NEW YORK MELLON/DBTC               THE BANK OF NEW YORK MELLON/DBTC
DB AG LDNPB F AND C SAPPHIRE M/FD LTD           DB AG LDNPB F AND C SAPPHIRE M/FD LTD           DB AG LDNPB F AND C SAPPHIRE M/FD LTD          AMERICAS/DEUTSCHE BK LONDON PRIME
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                   MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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032416P001-1488A-002F                         032416P001-1488A-002F                         032416P001-1488A-002F                 032416P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC      THE BANK OF NEW YORK MELLON/DBTC
AMERICAS/DEUTSCHE BK LONDON PRIME             AMERICAS/DEUTSCHE BK LONDON PRIME             AMERICAS/DEUTSCHE BK LONDON PRIME     AMERICAS/DEUTSCHE BK LONDON PRIME
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                 JMICHAEL.JOHNSONJR@BNYMELLON.COM


032416P001-1488A-002F                         032416P001-1488A-002F                         032416P001-1488A-002F                 032416P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC      THE BANK OF NEW YORK MELLON/DBTC
AMERICAS/DEUTSCHE BK LONDON PRIME             AMERICAS/DEUTSCHE BK LONDON PRIME             AMERICAS/DEUTSCHE BK LONDON PRIME     AMERICAS/DEUTSCHE BK LONDON PRIME
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM        PGH.CA.EVENT.CREATION@BNYMELLON.COM


032417P001-1488A-002F                         032417P001-1488A-002F                         032417P001-1488A-002F                 032417P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC      THE BANK OF NEW YORK MELLON/DBTC
AMERICAS/DEUTSCHE BANK LONDON PRIME           AMERICAS/DEUTSCHE BANK LONDON PRIME           AMERICAS/DEUTSCHE BANK LONDON PRIME   AMERICAS/DEUTSCHE BANK LONDON PRIME
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM       SZYROKI.DC@MELLON.COM


032417P001-1488A-002F                         032417P001-1488A-002F                         032417P001-1488A-002F                 032417P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC      THE BANK OF NEW YORK MELLON/DBTC
AMERICAS/DEUTSCHE BANK LONDON PRIME           AMERICAS/DEUTSCHE BANK LONDON PRIME           AMERICAS/DEUTSCHE BANK LONDON PRIME   AMERICAS/DEUTSCHE BANK LONDON PRIME
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM    PGHEVENTCREATION@BNYMELLON.COM


032417P001-1488A-002F                         032418P001-1488A-002F                         032418P001-1488A-002F                 032418P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC      THE BANK OF NEW YORK MELLON/DBTC
AMERICAS/DEUTSCHE BANK LONDON PRIME           DEUTSCHE BK LONDON PRIME SEG 30/30            DEUTSCHE BK LONDON PRIME SEG 30/30    DEUTSCHE BK LONDON PRIME SEG 30/30
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                   JUSTIN.WHITEHOUSE@BNYMELLON.COM


032418P001-1488A-002F                         032418P001-1488A-002F                         032418P001-1488A-002F                 032418P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC      THE BANK OF NEW YORK MELLON/DBTC
DEUTSCHE BK LONDON PRIME SEG 30/30            DEUTSCHE BK LONDON PRIME SEG 30/30            DEUTSCHE BK LONDON PRIME SEG 30/30    DEUTSCHE BK LONDON PRIME SEG 30/30
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT        MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                           PITTSBURGH PA 15259                   PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM          JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
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032418P001-1488A-002F                            032418P001-1488A-002F                         032419P001-1488A-002F                        032419P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC                 THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC             THE BANK OF NEW YORK MELLON/DBTC
DEUTSCHE BK LONDON PRIME SEG 30/30               DEUTSCHE BK LONDON PRIME SEG 30/30            DEUTSCHE BK LONDON PRIME SEG 15/00           DEUTSCHE BK LONDON PRIME SEG 15/00
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032419P001-1488A-002F                            032419P001-1488A-002F                         032419P001-1488A-002F                        032419P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC                 THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC             THE BANK OF NEW YORK MELLON/DBTC
DEUTSCHE BK LONDON PRIME SEG 15/00               DEUTSCHE BK LONDON PRIME SEG 15/00            DEUTSCHE BK LONDON PRIME SEG 15/00           DEUTSCHE BK LONDON PRIME SEG 15/00
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032419P001-1488A-002F                            032419P001-1488A-002F                         032419P001-1488A-002F                        032420P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC                 THE BANK OF NEW YORK MELLON/DBTC              THE BANK OF NEW YORK MELLON/DBTC             THE BANK OF NEW YORK MELLON/DBTC AMERICAS
DEUTSCHE BK LONDON PRIME SEG 15/00               DEUTSCHE BK LONDON PRIME SEG 15/00            DEUTSCHE BK LONDON PRIME SEG 15/00           DBAG LDNGS CR PORT LLC
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032420P001-1488A-002F                            032420P001-1488A-002F                         032420P001-1488A-002F                        032420P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC AMERICAS        THE BANK OF NEW YORK MELLON/DBTC AMERICAS     THE BANK OF NEW YORK MELLON/DBTC AMERICAS    THE BANK OF NEW YORK MELLON/DBTC AMERICAS
DBAG LDNGS CR PORT LLC                           DBAG LDNGS CR PORT LLC                        DBAG LDNGS CR PORT LLC                       DBAG LDNGS CR PORT LLC
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM


032420P001-1488A-002F                            032420P001-1488A-002F                         032420P001-1488A-002F                        032420P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTC AMERICAS        THE BANK OF NEW YORK MELLON/DBTC AMERICAS     THE BANK OF NEW YORK MELLON/DBTC AMERICAS    THE BANK OF NEW YORK MELLON/DBTC AMERICAS
DBAG LDNGS CR PORT LLC                           DBAG LDNGS CR PORT LLC                        DBAG LDNGS CR PORT LLC                       DBAG LDNGS CR PORT LLC
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM


032421P001-1488A-002F                            032421P001-1488A-002F                         032421P001-1488A-002F                        032421P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA                THE BANK OF NEW YORK MELLON/DBTCA             THE BANK OF NEW YORK MELLON/DBTCA            THE BANK OF NEW YORK MELLON/DBTCA
DB AG LDNPB CHEYNE VALUE FUND LP                 DB AG LDNPB CHEYNE VALUE FUND LP              DB AG LDNPB CHEYNE VALUE FUND LP             DB AG LDNPB CHEYNE VALUE FUND LP
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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032421P001-1488A-002F                      032421P001-1488A-002F                         032421P001-1488A-002F                        032421P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA          THE BANK OF NEW YORK MELLON/DBTCA             THE BANK OF NEW YORK MELLON/DBTCA            THE BANK OF NEW YORK MELLON/DBTCA
DB AG LDNPB CHEYNE VALUE FUND LP           DB AG LDNPB CHEYNE VALUE FUND LP              DB AG LDNPB CHEYNE VALUE FUND LP             DB AG LDNPB CHEYNE VALUE FUND LP
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM           MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032421P001-1488A-002F                      032422P001-1488A-002F                         032422P001-1488A-002F                        032422P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA          THE BANK OF NEW YORK MELLON/DBTCA             THE BANK OF NEW YORK MELLON/DBTCA            THE BANK OF NEW YORK MELLON/DBTCA
DB AG LDNPB CHEYNE VALUE FUND LP           DB AG LDNPB F AND C GARNET M/F LTD            DB AG LDNPB F AND C GARNET M/F LTD           DB AG LDNPB F AND C GARNET M/F LTD
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM


032422P001-1488A-002F                      032422P001-1488A-002F                         032422P001-1488A-002F                        032422P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA          THE BANK OF NEW YORK MELLON/DBTCA             THE BANK OF NEW YORK MELLON/DBTCA            THE BANK OF NEW YORK MELLON/DBTCA
DB AG LDNPB F AND C GARNET M/F LTD         DB AG LDNPB F AND C GARNET M/F LTD            DB AG LDNPB F AND C GARNET M/F LTD           DB AG LDNPB F AND C GARNET M/F LTD
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032422P001-1488A-002F                      032422P001-1488A-002F                         032423P001-1488A-002F                        032423P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA          THE BANK OF NEW YORK MELLON/DBTCA             THE BANK OF NEW YORK MELLON/DBTCA            THE BANK OF NEW YORK MELLON/DBTCA
DB AG LDNPB F AND C GARNET M/F LTD         DB AG LDNPB F AND C GARNET M/F LTD            DB AG LONPB POLGON GL OP M/FD                DB AG LONPB POLGON GL OP M/FD
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032423P001-1488A-002F                      032423P001-1488A-002F                         032423P001-1488A-002F                        032423P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA          THE BANK OF NEW YORK MELLON/DBTCA             THE BANK OF NEW YORK MELLON/DBTCA            THE BANK OF NEW YORK MELLON/DBTCA
DB AG LONPB POLGON GL OP M/FD              DB AG LONPB POLGON GL OP M/FD                 DB AG LONPB POLGON GL OP M/FD                DB AG LONPB POLGON GL OP M/FD
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032423P001-1488A-002F                      032423P001-1488A-002F                         032423P001-1488A-002F                        032424P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA          THE BANK OF NEW YORK MELLON/DBTCA             THE BANK OF NEW YORK MELLON/DBTCA            THE BANK OF NEW YORK MELLON/DBTCA/DB AG
DB AG LONPB POLGON GL OP M/FD              DB AG LONPB POLGON GL OP M/FD                 DB AG LONPB POLGON GL OP M/FD                LDNPB-DEUTSCHE BANK NY
CORP ACTIONS                               CORP ACTIONS                                  CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                        525 WILLIAM PENN PL                           525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                        PITTSBURGH PA 15259                           PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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032424P001-1488A-002F                           032424P001-1488A-002F                           032424P001-1488A-002F                           032424P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA/DB AG         THE BANK OF NEW YORK MELLON/DBTCA/DB AG         THE BANK OF NEW YORK MELLON/DBTCA/DB AG         THE BANK OF NEW YORK MELLON/DBTCA/DB AG
LDNPB-DEUTSCHE BANK NY                          LDNPB-DEUTSCHE BANK NY                          LDNPB-DEUTSCHE BANK NY                          LDNPB-DEUTSCHE BANK NY
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM


032424P001-1488A-002F                           032424P001-1488A-002F                           032424P001-1488A-002F                           032424P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA/DB AG         THE BANK OF NEW YORK MELLON/DBTCA/DB AG         THE BANK OF NEW YORK MELLON/DBTCA/DB AG         THE BANK OF NEW YORK MELLON/DBTCA/DB AG
LDNPB-DEUTSCHE BANK NY                          LDNPB-DEUTSCHE BANK NY                          LDNPB-DEUTSCHE BANK NY                          LDNPB-DEUTSCHE BANK NY
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM


032425P001-1488A-002F                           032425P001-1488A-002F                           032425P001-1488A-002F                           032425P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB    THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB    THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB    THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB
CHEYNE SPEC'L SIT FD                            CHEYNE SPEC'L SIT FD                            CHEYNE SPEC'L SIT FD                            CHEYNE SPEC'L SIT FD
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM


032425P001-1488A-002F                           032425P001-1488A-002F                           032425P001-1488A-002F                           032425P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB    THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB    THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB    THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB
CHEYNE SPEC'L SIT FD                            CHEYNE SPEC'L SIT FD                            CHEYNE SPEC'L SIT FD                            CHEYNE SPEC'L SIT FD
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM


032425P001-1488A-002F                           032426P001-1488A-002F                           032426P001-1488A-002F                           032426P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNB    THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB   THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB   THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB
CHEYNE SPEC'L SIT FD                            MULTI SEG CLEARANCE                             MULTI SEG CLEARANCE                             MULTI SEG CLEARANCE
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM


032426P001-1488A-002F                           032426P001-1488A-002F                           032426P001-1488A-002F                           032426P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB   THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB   THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB   THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB
MULTI SEG CLEARANCE                             MULTI SEG CLEARANCE                             MULTI SEG CLEARANCE                             MULTI SEG CLEARANCE
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
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032426P001-1488A-002F                           032426P001-1488A-002F                           032428P001-1488A-002F                           032428P001-1488A-002F
THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB   THE BANK OF NEW YORK MELLON/DBTCA/DB AG LDNPB   THE BANK OF NEW YORK MELLON/DEPOSITA            THE BANK OF NEW YORK MELLON/DEPOSITA
MULTI SEG CLEARANCE                             MULTI SEG CLEARANCE                             MICHAEL KANIA                                   MICHAEL KANIA
CORP ACTIONS                                    CORP ACTIONS                                    VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM


032428P001-1488A-002F                           032428P001-1488A-002F                           032428P001-1488A-002F                           032428P001-1488A-002F
THE BANK OF NEW YORK MELLON/DEPOSITA            THE BANK OF NEW YORK MELLON/DEPOSITA            THE BANK OF NEW YORK MELLON/DEPOSITA            THE BANK OF NEW YORK MELLON/DEPOSITA
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM


032428P001-1488A-002F                           032428P001-1488A-002F                           032428P001-1488A-002F                           032429P001-1488A-002F
THE BANK OF NEW YORK MELLON/DEPOSITA            THE BANK OF NEW YORK MELLON/DEPOSITA            THE BANK OF NEW YORK MELLON/DEPOSITA            THE BANK OF NEW YORK MELLON/EARN CMO LLC
MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  ONE WALL ST
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             NEW YORK NY 10286
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM


032429P001-1488A-002F                           032429P001-1488A-002F                           032429P001-1488A-002F                           032429P001-1488A-002F
THE BANK OF NEW YORK MELLON/EARN CMO LLC        THE BANK OF NEW YORK MELLON/EARN CMO LLC        THE BANK OF NEW YORK MELLON/EARN CMO LLC        THE BANK OF NEW YORK MELLON/EARN CMO LLC
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM




032429P001-1488A-002F                           032429P001-1488A-002F                           032429P001-1488A-002F                           032429P001-1488A-002F
THE BANK OF NEW YORK MELLON/EARN CMO LLC        THE BANK OF NEW YORK MELLON/EARN CMO LLC        THE BANK OF NEW YORK MELLON/EARN CMO LLC        THE BANK OF NEW YORK MELLON/EARN CMO LLC
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM




032430P001-1488A-002F                           032430P001-1488A-002F                           032430P001-1488A-002F                           032430P001-1488A-002F
THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC   THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC   THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC   THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM
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032430P001-1488A-002F                                032430P001-1488A-002F                           032430P001-1488A-002F                           032430P001-1488A-002F
THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC        THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC   THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC   THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC
CORP ACTIONS                                         CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                          ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                    NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM                     MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM




032430P001-1488A-002F                                032434P001-1488A-002F                           032434P001-1488A-002F                           032434P001-1488A-002F
THE BANK OF NEW YORK MELLON/EARN MORTGAGE LLC        THE BANK OF NEW YORK MELLON/EF SECURITIES LLC   THE BANK OF NEW YORK MELLON/EF SECURITIES LLC   THE BANK OF NEW YORK MELLON/EF SECURITIES LLC
CORP ACTIONS                                         CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                          VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
NEW YORK NY 10286                                    ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
PGH.CA.EVENT.CREATION@BNYMELLON.COM                  NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
                                                     GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM


032434P001-1488A-002F                                032434P001-1488A-002F                           032434P001-1488A-002F                           032434P001-1488A-002F
THE BANK OF NEW YORK MELLON/EF SECURITIES LLC        THE BANK OF NEW YORK MELLON/EF SECURITIES LLC   THE BANK OF NEW YORK MELLON/EF SECURITIES LLC   THE BANK OF NEW YORK MELLON/EF SECURITIES LLC
CORP ACTIONS                                         CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
VICE PRESIDENT                                       VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
ONE WALL ST                                          ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                    NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                                JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032434P001-1488A-002F                                032434P001-1488A-002F                           032435P001-1488A-002F                           032435P001-1488A-002F
THE BANK OF NEW YORK MELLON/EF SECURITIES LLC        THE BANK OF NEW YORK MELLON/EF SECURITIES LLC   THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL   THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL
CORP ACTIONS                                         CORP ACTIONS                                    OPPORTUNITIES FUND LTD                          OPPORTUNITIES FUND LTD
VICE PRESIDENT                                       VICE PRESIDENT                                  CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                          ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                    NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                       PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM


032435P001-1488A-002F                                032435P001-1488A-002F                           032435P001-1488A-002F                           032435P001-1488A-002F
THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL        THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL   THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL   THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL
OPPORTUNITIES FUND LTD                               OPPORTUNITIES FUND LTD                          OPPORTUNITIES FUND LTD                          OPPORTUNITIES FUND LTD
CORP ACTIONS                                         CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                          ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                    NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                      SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM


032435P001-1488A-002F                                032435P001-1488A-002F                           032435P001-1488A-002F                           032436P001-1488A-002F
THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL        THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL   THE BANK OF NEW YORK MELLON/ELLINGTON SPECIAL   THE BANK OF NEW YORK MELLON/EQUITIES
OPPORTUNITIES FUND LTD                               OPPORTUNITIES FUND LTD                          OPPORTUNITIES FUND LTD                          FORTISBANKLONDON
CORP ACTIONS                                         CORP ACTIONS                                    CORP ACTIONS                                    MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                          ONE WALL ST                                     ONE WALL ST                                     525 WILLIAM PENN PL
NEW YORK NY 10286                                    NEW YORK NY 10286                               NEW YORK NY 10286                               PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                   PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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032436P001-1488A-002F                               032436P001-1488A-002F                          032436P001-1488A-002F                          032436P001-1488A-002F
THE BANK OF NEW YORK MELLON/EQUITIES                THE BANK OF NEW YORK MELLON/EQUITIES           THE BANK OF NEW YORK MELLON/EQUITIES           THE BANK OF NEW YORK MELLON/EQUITIES
FORTISBANKLONDON                                    FORTISBANKLONDON                               FORTISBANKLONDON                               FORTISBANKLONDON
MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                 JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM


032436P001-1488A-002F                               032436P001-1488A-002F                          032436P001-1488A-002F                          032436P001-1488A-002F
THE BANK OF NEW YORK MELLON/EQUITIES                THE BANK OF NEW YORK MELLON/EQUITIES           THE BANK OF NEW YORK MELLON/EQUITIES           THE BANK OF NEW YORK MELLON/EQUITIES
FORTISBANKLONDON                                    FORTISBANKLONDON                               FORTISBANKLONDON                               FORTISBANKLONDON
MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                        JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


032437P001-1488A-002F                               032437P001-1488A-002F                          032437P001-1488A-002F                          032437P001-1488A-002F
THE BANK OF NEW YORK MELLON/EVOLUTION BEESON        THE BANK OF NEW YORK MELLON/EVOLUTION BEESON   THE BANK OF NEW YORK MELLON/EVOLUTION BEESON   THE BANK OF NEW YORK MELLON/EVOLUTION BEESON
GREGORY LIMITED LIMITED - ACCOUNT #258688           GREGORY LIMITED LIMITED - ACCOUNT #258688      GREGORY LIMITED LIMITED - ACCOUNT #258688      GREGORY LIMITED LIMITED - ACCOUNT #258688
MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM          PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM


032437P001-1488A-002F                               032437P001-1488A-002F                          032437P001-1488A-002F                          032437P001-1488A-002F
THE BANK OF NEW YORK MELLON/EVOLUTION BEESON        THE BANK OF NEW YORK MELLON/EVOLUTION BEESON   THE BANK OF NEW YORK MELLON/EVOLUTION BEESON   THE BANK OF NEW YORK MELLON/EVOLUTION BEESON
GREGORY LIMITED LIMITED - ACCOUNT #258688           GREGORY LIMITED LIMITED - ACCOUNT #258688      GREGORY LIMITED LIMITED - ACCOUNT #258688      GREGORY LIMITED LIMITED - ACCOUNT #258688
MICHAEL KANIA - VICE PRESIDENT                      MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                                 525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                                 PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM


032437P001-1488A-002F                               032438P001-1488A-002F                          032438P001-1488A-002F                          032438P001-1488A-002F
THE BANK OF NEW YORK MELLON/EVOLUTION BEESON        THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK   THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK   THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK
GREGORY LIMITED LIMITED - ACCOUNT #258688           CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
MICHAEL KANIA - VICE PRESIDENT                      ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
525 WILLIAM PENN PL                                 NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
PITTSBURGH PA 15259                                 GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM


032438P001-1488A-002F                               032438P001-1488A-002F                          032438P001-1488A-002F                          032438P001-1488A-002F
THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK        THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK   THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK   THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK
CORP ACTIONS                                        CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
ONE WALL ST                                         ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                   NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                               JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK        THE BANK OF NEW YORK MELLON/FIFTH THIRD BANK    THE BANK OF NEW YORK MELLON/FSA                 THE BANK OF NEW YORK MELLON/FSA
CORP ACTIONS                                        CORP ACTIONS                                    MIKE SCARRY                                     MIKE SCARRY
ONE WALL ST                                         ONE WALL ST                                     ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT
NEW YORK NY 10286                                   NEW YORK NY 10286                               ONE WALL ST                                     ONE WALL ST
PGHEVENTCREATION@BNYMELLON.COM                      PGH.CA.EVENT.CREATION@BNYMELLON.COM             NEW YORK NY 10286                               NEW YORK NY 10286
                                                                                                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM


032440P001-1488A-002F                               032440P001-1488A-002F                           032440P001-1488A-002F                           032440P001-1488A-002F
THE BANK OF NEW YORK MELLON/FSA                     THE BANK OF NEW YORK MELLON/FSA                 THE BANK OF NEW YORK MELLON/FSA                 THE BANK OF NEW YORK MELLON/FSA
MIKE SCARRY                                         MIKE SCARRY                                     MIKE SCARRY                                     MIKE SCARRY
ASSISTANT VICE PRESIDENT                            ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT
ONE WALL ST                                         ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                   NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM                 MSCARRY@BANKOFNY.COM                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM


032440P001-1488A-002F                               032440P001-1488A-002F                           032440P001-1488A-002F                           032440P001-1488A-002F
THE BANK OF NEW YORK MELLON/FSA                     THE BANK OF NEW YORK MELLON/FSA                 THE BANK OF NEW YORK MELLON/FSA                 THE BANK OF NEW YORK MELLON/FSA
MIKE SCARRY                                         MIKE SCARRY                                     MIKE SCARRY                                     MIKE SCARRY
ASSISTANT VICE PRESIDENT                            ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT
ONE WALL ST                                         ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                   NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                     SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM


032442P001-1488A-002F                               032442P001-1488A-002F                           032442P001-1488A-002F                           032442P001-1488A-002F
THE BANK OF NEW YORK MELLON/HBK CDO TRUST           THE BANK OF NEW YORK MELLON/HBK CDO TRUST       THE BANK OF NEW YORK MELLON/HBK CDO TRUST       THE BANK OF NEW YORK MELLON/HBK CDO TRUST
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
VICE PRESIDENT                                      VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
11486 CORPORATE BLVD                                11486 CORPORATE BLVD                            11486 CORPORATE BLVD                            11486 CORPORATE BLVD
ORLANDO FL 32817                                    ORLANDO FL 32817                                ORLANDO FL 32817                                ORLANDO FL 32817
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM          PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM


032442P001-1488A-002F                               032442P001-1488A-002F                           032442P001-1488A-002F                           032442P001-1488A-002F
THE BANK OF NEW YORK MELLON/HBK CDO TRUST           THE BANK OF NEW YORK MELLON/HBK CDO TRUST       THE BANK OF NEW YORK MELLON/HBK CDO TRUST       THE BANK OF NEW YORK MELLON/HBK CDO TRUST
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
VICE PRESIDENT                                      VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
11486 CORPORATE BLVD                                11486 CORPORATE BLVD                            11486 CORPORATE BLVD                            11486 CORPORATE BLVD
ORLANDO FL 32817                                    ORLANDO FL 32817                                ORLANDO FL 32817                                ORLANDO FL 32817
JMICHAEL.JOHNSONJR@BNYMELLON.COM                    MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM


032442P001-1488A-002F                               032443P001-1488A-002F                           032443P001-1488A-002F                           032443P001-1488A-002F
THE BANK OF NEW YORK MELLON/HBK CDO TRUST           THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP   THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP   THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP
CORP ACTIONS                                        CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
VICE PRESIDENT                                      ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
11486 CORPORATE BLVD                                NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
ORLANDO FL 32817                                    GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP      THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP   THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP   THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP
CORP ACTIONS                                       CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                        ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




032443P001-1488A-002F                              032443P001-1488A-002F                           032445P001-1488A-002F                           032445P001-1488A-002F
THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP      THE BANK OF NEW YORK MELLON/HBK MASTER FUNDLP   THE BANK OF NEW YORK MELLON/HSBC BAN            THE BANK OF NEW YORK MELLON/HSBC BAN
CORP ACTIONS                                       CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
ONE WALL ST                                        ONE WALL ST                                     VICE PRESIDENT                                  VICE PRESIDENT
NEW YORK NY 10286                                  NEW YORK NY 10286                               525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
                                                                                                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM


032445P001-1488A-002F                              032445P001-1488A-002F                           032445P001-1488A-002F                           032445P001-1488A-002F
THE BANK OF NEW YORK MELLON/HSBC BAN               THE BANK OF NEW YORK MELLON/HSBC BAN            THE BANK OF NEW YORK MELLON/HSBC BAN            THE BANK OF NEW YORK MELLON/HSBC BAN
CORP ACTIONS                                       CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                    SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM


032445P001-1488A-002F                              032445P001-1488A-002F                           032445P001-1488A-002F                           032447P001-1488A-002F
THE BANK OF NEW YORK MELLON/HSBC BAN               THE BANK OF NEW YORK MELLON/HSBC BAN            THE BANK OF NEW YORK MELLON/HSBC BAN            THE BANK OF NEW YORK MELLON/INVESTEC LONDON
CORP ACTIONS                                       CORP ACTIONS                                    CORP ACTIONS                                    MICHAEL KANIA
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032447P001-1488A-002F                              032447P001-1488A-002F                           032447P001-1488A-002F                           032447P001-1488A-002F
THE BANK OF NEW YORK MELLON/INVESTEC LONDON        THE BANK OF NEW YORK MELLON/INVESTEC LONDON     THE BANK OF NEW YORK MELLON/INVESTEC LONDON     THE BANK OF NEW YORK MELLON/INVESTEC LONDON
MICHAEL KANIA                                      MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM


032447P001-1488A-002F                              032447P001-1488A-002F                           032447P001-1488A-002F                           032447P001-1488A-002F
THE BANK OF NEW YORK MELLON/INVESTEC LONDON        THE BANK OF NEW YORK MELLON/INVESTEC LONDON     THE BANK OF NEW YORK MELLON/INVESTEC LONDON     THE BANK OF NEW YORK MELLON/INVESTEC LONDON
MICHAEL KANIA                                      MICHAEL KANIA                                   MICHAEL KANIA                                   MICHAEL KANIA
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                       JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM
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032448P001-1488A-002F                         032448P001-1488A-002F                          032448P001-1488A-002F                        032448P001-1488A-002F
THE BANK OF NEW YORK MELLON/IPA               THE BANK OF NEW YORK MELLON/IPA                THE BANK OF NEW YORK MELLON/IPA              THE BANK OF NEW YORK MELLON/IPA
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032448P001-1488A-002F                         032448P001-1488A-002F                          032448P001-1488A-002F                        032448P001-1488A-002F
THE BANK OF NEW YORK MELLON/IPA               THE BANK OF NEW YORK MELLON/IPA                THE BANK OF NEW YORK MELLON/IPA              THE BANK OF NEW YORK MELLON/IPA
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           PGHEVENTCREATION@BNYMELLON.COM


032448P001-1488A-002F                         032449P001-1488A-002F                          032449P001-1488A-002F                        032449P001-1488A-002F
THE BANK OF NEW YORK MELLON/IPA               THE BANK OF NEW YORK MELLON/IVORS              THE BANK OF NEW YORK MELLON/IVORS            THE BANK OF NEW YORK MELLON/IVORS
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
VICE PRESIDENT                                ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
525 WILLIAM PENN PL                           NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
PITTSBURGH PA 15259                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM


032449P001-1488A-002F                         032449P001-1488A-002F                          032449P001-1488A-002F                        032449P001-1488A-002F
THE BANK OF NEW YORK MELLON/IVORS             THE BANK OF NEW YORK MELLON/IVORS              THE BANK OF NEW YORK MELLON/IVORS            THE BANK OF NEW YORK MELLON/IVORS
CORP ACTIONS                                  CORP ACTIONS                                   CORP ACTIONS                                 CORP ACTIONS
ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




032449P001-1488A-002F                         032449P001-1488A-002F                          032450P001-1488A-002F                        032450P001-1488A-002F
THE BANK OF NEW YORK MELLON/IVORS             THE BANK OF NEW YORK MELLON/IVORS              THE BANK OF NEW YORK MELLON/IXIS CMN         THE BANK OF NEW YORK MELLON/IXIS CMN
CORP ACTIONS                                  CORP ACTIONS                                   DONNA STEINMAN                               DONNA STEINMAN
ONE WALL ST                                   ONE WALL ST                                    VICE PRESIDENT                               VICE PRESIDENT
NEW YORK NY 10286                             NEW YORK NY 10286                              ONE WALL ST                                  ONE WALL ST
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM            NEW YORK NY 10286                            NEW YORK NY 10286
                                                                                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032450P001-1488A-002F                         032450P001-1488A-002F                          032450P001-1488A-002F                        032450P001-1488A-002F
THE BANK OF NEW YORK MELLON/IXIS CMN          THE BANK OF NEW YORK MELLON/IXIS CMN           THE BANK OF NEW YORK MELLON/IXIS CMN         THE BANK OF NEW YORK MELLON/IXIS CMN
DONNA STEINMAN                                DONNA STEINMAN                                 DONNA STEINMAN                               DONNA STEINMAN
VICE PRESIDENT                                VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM
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032450P001-1488A-002F                              032450P001-1488A-002F                           032450P001-1488A-002F                         032451P001-1488A-002F
THE BANK OF NEW YORK MELLON/IXIS CMN               THE BANK OF NEW YORK MELLON/IXIS CMN            THE BANK OF NEW YORK MELLON/IXIS CMN          THE BANK OF NEW YORK MELLON/IXIS LOA
DONNA STEINMAN                                     DONNA STEINMAN                                  DONNA STEINMAN                                CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032451P001-1488A-002F                              032451P001-1488A-002F                           032451P001-1488A-002F                         032451P001-1488A-002F
THE BANK OF NEW YORK MELLON/IXIS LOA               THE BANK OF NEW YORK MELLON/IXIS LOA            THE BANK OF NEW YORK MELLON/IXIS LOA          THE BANK OF NEW YORK MELLON/IXIS LOA
CORP ACTIONS                                       CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM


032451P001-1488A-002F                              032451P001-1488A-002F                           032451P001-1488A-002F                         032451P001-1488A-002F
THE BANK OF NEW YORK MELLON/IXIS LOA               THE BANK OF NEW YORK MELLON/IXIS LOA            THE BANK OF NEW YORK MELLON/IXIS LOA          THE BANK OF NEW YORK MELLON/IXIS LOA
CORP ACTIONS                                       CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                     ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                               NEW YORK NY 10286                             NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                       JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM


032452P001-1488A-002F                              032452P001-1488A-002F                           032452P001-1488A-002F                         032452P001-1488A-002F
THE BANK OF NEW YORK MELLON/LINK SECURITIES        THE BANK OF NEW YORK MELLON/LINK SECURITIES     THE BANK OF NEW YORK MELLON/LINK SECURITIES   THE BANK OF NEW YORK MELLON/LINK SECURITIES
MICHAEL KANIA                                      MICHAEL KANIA                                   MICHAEL KANIA                                 MICHAEL KANIA
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM         PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM


032452P001-1488A-002F                              032452P001-1488A-002F                           032452P001-1488A-002F                         032452P001-1488A-002F
THE BANK OF NEW YORK MELLON/LINK SECURITIES        THE BANK OF NEW YORK MELLON/LINK SECURITIES     THE BANK OF NEW YORK MELLON/LINK SECURITIES   THE BANK OF NEW YORK MELLON/LINK SECURITIES
MICHAEL KANIA                                      MICHAEL KANIA                                   MICHAEL KANIA                                 MICHAEL KANIA
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                   MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM


032452P001-1488A-002F                              032453P001-1488A-002F                           032453P001-1488A-002F                         032453P001-1488A-002F
THE BANK OF NEW YORK MELLON/LINK SECURITIES        THE BANK OF NEW YORK MELLON/MID CAP SPDRS       THE BANK OF NEW YORK MELLON/MID CAP SPDRS     THE BANK OF NEW YORK MELLON/MID CAP SPDRS
MICHAEL KANIA                                      CORP ACTIONS                                    CORP ACTIONS                                  CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                  VICE PRESIDENT                                VICE PRESIDENT
525 WILLIAM PENN PL                                525 WILLIAM PENN PL                             525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                                PITTSBURGH PA 15259                             PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON/MID CAP SPDRS        THE BANK OF NEW YORK MELLON/MID CAP SPDRS      THE BANK OF NEW YORK MELLON/MID CAP SPDRS      THE BANK OF NEW YORK MELLON/MID CAP SPDRS
CORP ACTIONS                                     CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                   VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032453P001-1488A-002F                            032453P001-1488A-002F                          032455P001-1488A-002F                          032455P001-1488A-002F
THE BANK OF NEW YORK MELLON/MID CAP SPDRS        THE BANK OF NEW YORK MELLON/MID CAP SPDRS      THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE   THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE
CORP ACTIONS                                     CORP ACTIONS                                   BANK LTD NEW YORK BRANCH                       BANK LTD NEW YORK BRANCH
VICE PRESIDENT                                   VICE PRESIDENT                                 DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            ONE WALL ST                                    ONE WALL ST
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            NEW YORK NY 10286                              NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM


032455P001-1488A-002F                            032455P001-1488A-002F                          032455P001-1488A-002F                          032455P001-1488A-002F
THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE     THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE   THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE   THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE
BANK LTD NEW YORK BRANCH                         BANK LTD NEW YORK BRANCH                       BANK LTD NEW YORK BRANCH                       BANK LTD NEW YORK BRANCH
DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM


032455P001-1488A-002F                            032455P001-1488A-002F                          032455P001-1488A-002F                          032456P001-1488A-002F
THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE     THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE   THE BANK OF NEW YORK MELLON/MIZUHO CORPORATE   THE BANK OF NEW YORK MELLON/NATIXIS
BANK LTD NEW YORK BRANCH                         BANK LTD NEW YORK BRANCH                       BANK LTD NEW YORK BRANCH                       DONNA STEINMAN
DONNA STEINMAN - VICE PRESIDENT                  DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT                VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM               PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032456P001-1488A-002F                            032456P001-1488A-002F                          032456P001-1488A-002F                          032456P001-1488A-002F
THE BANK OF NEW YORK MELLON/NATIXIS              THE BANK OF NEW YORK MELLON/NATIXIS            THE BANK OF NEW YORK MELLON/NATIXIS            THE BANK OF NEW YORK MELLON/NATIXIS
DONNA STEINMAN                                   DONNA STEINMAN                                 DONNA STEINMAN                                 DONNA STEINMAN
VICE PRESIDENT                                   VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM


032456P001-1488A-002F                            032456P001-1488A-002F                          032456P001-1488A-002F                          032456P001-1488A-002F
THE BANK OF NEW YORK MELLON/NATIXIS              THE BANK OF NEW YORK MELLON/NATIXIS            THE BANK OF NEW YORK MELLON/NATIXIS            THE BANK OF NEW YORK MELLON/NATIXIS
DONNA STEINMAN                                   DONNA STEINMAN                                 DONNA STEINMAN                                 DONNA STEINMAN
VICE PRESIDENT                                   VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM
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032458P001-1488A-002F                           032458P001-1488A-002F                          032458P001-1488A-002F                        032458P001-1488A-002F
THE BANK OF NEW YORK MELLON/NBT BANK            THE BANK OF NEW YORK MELLON/NBT BANK           THE BANK OF NEW YORK MELLON/NBT BANK         THE BANK OF NEW YORK MELLON/NBT BANK
MIKE SCARRY                                     MIKE SCARRY                                    MIKE SCARRY                                  MIKE SCARRY
ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT                     ASSISTANT VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM          MSCARRY@BANKOFNY.COM


032458P001-1488A-002F                           032458P001-1488A-002F                          032458P001-1488A-002F                        032458P001-1488A-002F
THE BANK OF NEW YORK MELLON/NBT BANK            THE BANK OF NEW YORK MELLON/NBT BANK           THE BANK OF NEW YORK MELLON/NBT BANK         THE BANK OF NEW YORK MELLON/NBT BANK
MIKE SCARRY                                     MIKE SCARRY                                    MIKE SCARRY                                  MIKE SCARRY
ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT                     ASSISTANT VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM


032458P001-1488A-002F                           032458P001-1488A-002F                          032460P001-1488A-002F                        032460P001-1488A-002F
THE BANK OF NEW YORK MELLON/NBT BANK            THE BANK OF NEW YORK MELLON/NBT BANK           THE BANK OF NEW YORK MELLON/NTX FUND         THE BANK OF NEW YORK MELLON/NTX FUND
MIKE SCARRY                                     MIKE SCARRY                                    DONNA STEINMAN                               DONNA STEINMAN
ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                       VICE PRESIDENT                               VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032460P001-1488A-002F                           032460P001-1488A-002F                          032460P001-1488A-002F                        032460P001-1488A-002F
THE BANK OF NEW YORK MELLON/NTX FUND            THE BANK OF NEW YORK MELLON/NTX FUND           THE BANK OF NEW YORK MELLON/NTX FUND         THE BANK OF NEW YORK MELLON/NTX FUND
DONNA STEINMAN                                  DONNA STEINMAN                                 DONNA STEINMAN                               DONNA STEINMAN
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                               VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                    ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286                            NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM


032460P001-1488A-002F                           032460P001-1488A-002F                          032460P001-1488A-002F                        032461P001-1488A-002F
THE BANK OF NEW YORK MELLON/NTX FUND            THE BANK OF NEW YORK MELLON/NTX FUND           THE BANK OF NEW YORK MELLON/NTX FUND         THE BANK OF NEW YORK MELLON/OZ CAP STRUC
DONNA STEINMAN                                  DONNA STEINMAN                                 DONNA STEINMAN                               ARBTRAGE MASTER FUND
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                               MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                    ONE WALL ST                                  525 WILLIAM PENN PL
NEW YORK NY 10286                               NEW YORK NY 10286                              NEW YORK NY 10286                            PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM          GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032461P001-1488A-002F                           032461P001-1488A-002F                          032461P001-1488A-002F                        032461P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ CAP STRUC        THE BANK OF NEW YORK MELLON/OZ CAP STRUC       THE BANK OF NEW YORK MELLON/OZ CAP STRUC     THE BANK OF NEW YORK MELLON/OZ CAP STRUC
ARBTRAGE MASTER FUND                            ARBTRAGE MASTER FUND                           ARBTRAGE MASTER FUND                         ARBTRAGE MASTER FUND
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                           Case 22-90032 Document 69GWG  Holdings,
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THE BANK OF NEW YORK MELLON/OZ CAP STRUC        THE BANK OF NEW YORK MELLON/OZ CAP STRUC        THE BANK OF NEW YORK MELLON/OZ CAP STRUC        THE BANK OF NEW YORK MELLON/OZ CAP STRUC
ARBTRAGE MASTER FUND                            ARBTRAGE MASTER FUND                            ARBTRAGE MASTER FUND                            ARBTRAGE MASTER FUND
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM


032462P001-1488A-002F                           032462P001-1488A-002F                           032462P001-1488A-002F                           032462P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER    THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER    THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER    THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER
MASTER FUND LTD                                 MASTER FUND LTD                                 MASTER FUND LTD                                 MASTER FUND LTD
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM


032462P001-1488A-002F                           032462P001-1488A-002F                           032462P001-1488A-002F                           032462P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER    THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER    THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER    THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER
MASTER FUND LTD                                 MASTER FUND LTD                                 MASTER FUND LTD                                 MASTER FUND LTD
MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT                  MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM


032462P001-1488A-002F                           032463P001-1488A-002F                           032463P001-1488A-002F                           032463P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ EUROPE MASTER    THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD   THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD   THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD
MASTER FUND LTD                                 CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
MICHAEL KANIA - VICE PRESIDENT                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM


032463P001-1488A-002F                           032463P001-1488A-002F                           032463P001-1488A-002F                           032463P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD   THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD   THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD   THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD
CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS                                    CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT                                  VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032463P001-1488A-002F                           032463P001-1488A-002F                           032464P001-1488A-002F                           032464P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD   THE BANK OF NEW YORK MELLON/OZ MASTER FUNDLTD   THE BANK OF NEW YORK MELLON/OZ MASTER MASTER    THE BANK OF NEW YORK MELLON/OZ MASTER MASTER
CORP ACTIONS                                    CORP ACTIONS                                    FUNDS LTD                                       FUNDS LTD
VICE PRESIDENT                                  VICE PRESIDENT                                  MICHAEL KANIA - ASSISTANT TREASURER             MICHAEL KANIA - ASSISTANT TREASURER
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM
                                           Case 22-90032 Document 69GWG  Holdings,
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032464P001-1488A-002F                           032464P001-1488A-002F                          032464P001-1488A-002F                          032464P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ MASTER MASTER    THE BANK OF NEW YORK MELLON/OZ MASTER MASTER   THE BANK OF NEW YORK MELLON/OZ MASTER MASTER   THE BANK OF NEW YORK MELLON/OZ MASTER MASTER
FUNDS LTD                                       FUNDS LTD                                      FUNDS LTD                                      FUNDS LTD
MICHAEL KANIA - ASSISTANT TREASURER             MICHAEL KANIA - ASSISTANT TREASURER            MICHAEL KANIA - ASSISTANT TREASURER            MICHAEL KANIA - ASSISTANT TREASURER
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM


032464P001-1488A-002F                           032464P001-1488A-002F                          032464P001-1488A-002F                          032465P001-1488A-002F
THE BANK OF NEW YORK MELLON/OZ MASTER MASTER    THE BANK OF NEW YORK MELLON/OZ MASTER MASTER   THE BANK OF NEW YORK MELLON/OZ MASTER MASTER   THE BANK OF NEW YORK MELLON/POPULAR
FUNDS LTD                                       FUNDS LTD                                      FUNDS LTD                                      CORP ACTIONS
MICHAEL KANIA - ASSISTANT TREASURER             MICHAEL KANIA - ASSISTANT TREASURER            MICHAEL KANIA - ASSISTANT TREASURER            11486 CORPORATE BLVD
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            ORLANDO FL 32817
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                            PITTSBURGH PA 15259                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


032465P001-1488A-002F                           032465P001-1488A-002F                          032465P001-1488A-002F                          032465P001-1488A-002F
THE BANK OF NEW YORK MELLON/POPULAR             THE BANK OF NEW YORK MELLON/POPULAR            THE BANK OF NEW YORK MELLON/POPULAR            THE BANK OF NEW YORK MELLON/POPULAR
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
11486 CORPORATE BLVD                            11486 CORPORATE BLVD                           11486 CORPORATE BLVD                           11486 CORPORATE BLVD
ORLANDO FL 32817                                ORLANDO FL 32817                               ORLANDO FL 32817                               ORLANDO FL 32817
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM




032465P001-1488A-002F                           032465P001-1488A-002F                          032465P001-1488A-002F                          032465P001-1488A-002F
THE BANK OF NEW YORK MELLON/POPULAR             THE BANK OF NEW YORK MELLON/POPULAR            THE BANK OF NEW YORK MELLON/POPULAR            THE BANK OF NEW YORK MELLON/POPULAR
CORP ACTIONS                                    CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
11486 CORPORATE BLVD                            11486 CORPORATE BLVD                           11486 CORPORATE BLVD                           11486 CORPORATE BLVD
ORLANDO FL 32817                                ORLANDO FL 32817                               ORLANDO FL 32817                               ORLANDO FL 32817
MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM




032466P001-1488A-002F                           032466P001-1488A-002F                          032466P001-1488A-002F                          032466P001-1488A-002F
THE BANK OF NEW YORK MELLON/QVT CAPITAL         THE BANK OF NEW YORK MELLON/QVT CAPITAL        THE BANK OF NEW YORK MELLON/QVT CAPITAL        THE BANK OF NEW YORK MELLON/QVT CAPITAL
MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBUGH PA 15259                              PITTSBUGH PA 15259                             PITTSBUGH PA 15259                             PITTSBUGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM


032466P001-1488A-002F                           032466P001-1488A-002F                          032466P001-1488A-002F                          032466P001-1488A-002F
THE BANK OF NEW YORK MELLON/QVT CAPITAL         THE BANK OF NEW YORK MELLON/QVT CAPITAL        THE BANK OF NEW YORK MELLON/QVT CAPITAL        THE BANK OF NEW YORK MELLON/QVT CAPITAL
MICHAEL KANIA                                   MICHAEL KANIA                                  MICHAEL KANIA                                  MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                 VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                            525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBUGH PA 15259                              PITTSBUGH PA 15259                             PITTSBUGH PA 15259                             PITTSBUGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM
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032466P001-1488A-002F                           032467P001-1488A-002F                              032467P001-1488A-002F                          032467P001-1488A-002F
THE BANK OF NEW YORK MELLON/QVT CAPITAL         THE BANK OF NEW YORK MELLON/RABOBANK               THE BANK OF NEW YORK MELLON/RABOBANK           THE BANK OF NEW YORK MELLON/RABOBANK
MICHAEL KANIA                                   INTERNATIONAL LONDON EQUITY FINANCE                INTERNATIONAL LONDON EQUITY FINANCE            INTERNATIONAL LONDON EQUITY FINANCE
VICE PRESIDENT                                  CORP ACTIONS                                       CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBUGH PA 15259                              PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM         PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM


032467P001-1488A-002F                           032467P001-1488A-002F                              032467P001-1488A-002F                          032467P001-1488A-002F
THE BANK OF NEW YORK MELLON/RABOBANK            THE BANK OF NEW YORK MELLON/RABOBANK               THE BANK OF NEW YORK MELLON/RABOBANK           THE BANK OF NEW YORK MELLON/RABOBANK
INTERNATIONAL LONDON EQUITY FINANCE             INTERNATIONAL LONDON EQUITY FINANCE                INTERNATIONAL LONDON EQUITY FINANCE            INTERNATIONAL LONDON EQUITY FINANCE
CORP ACTIONS                                    CORP ACTIONS                                       CORP ACTIONS                                   CORP ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                   MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032467P001-1488A-002F                           032467P001-1488A-002F                              032468P001-1488A-002F                          032468P001-1488A-002F
THE BANK OF NEW YORK MELLON/RABOBANK            THE BANK OF NEW YORK MELLON/RABOBANK               THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC   THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC
INTERNATIONAL LONDON EQUITY FINANCE             INTERNATIONAL LONDON EQUITY FINANCE                CORP ACTIONS                                   CORP ACTIONS
CORP ACTIONS                                    CORP ACTIONS                                       VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM


032468P001-1488A-002F                           032468P001-1488A-002F                              032468P001-1488A-002F                          032468P001-1488A-002F
THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC    THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC       THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC   THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC
CORP ACTIONS                                    CORP ACTIONS                                       CORP ACTIONS                                   CORP ACTIONS
VICE PRESIDENT                                  VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM


032468P001-1488A-002F                           032468P001-1488A-002F                              032468P001-1488A-002F                          032469P001-1488A-002F
THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC    THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC       THE BANK OF NEW YORK MELLON/RBC BARBADOS TBC   THE BANK OF NEW YORK MELLON/RBC I AND TS
CORP ACTIONS                                    CORP ACTIONS                                       CORP ACTIONS                                   MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032469P001-1488A-002F                           032469P001-1488A-002F                              032469P001-1488A-002F                          032469P001-1488A-002F
THE BANK OF NEW YORK MELLON/RBC I AND TS        THE BANK OF NEW YORK MELLON/RBC I AND TS           THE BANK OF NEW YORK MELLON/RBC I AND TS       THE BANK OF NEW YORK MELLON/RBC I AND TS
MICHAEL KANIA                                   MICHAEL KANIA                                      MICHAEL KANIA                                  MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                     VICE PRESIDENT                                 VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                            525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                            PITTSBURGH PA 15259
PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM                    SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON/RBC I AND TS        THE BANK OF NEW YORK MELLON/RBC I AND TS           THE BANK OF NEW YORK MELLON/RBC I AND TS   THE BANK OF NEW YORK MELLON/RBC I AND TS
MICHAEL KANIA                                   MICHAEL KANIA                                      MICHAEL KANIA                              MICHAEL KANIA
VICE PRESIDENT                                  VICE PRESIDENT                                     VICE PRESIDENT                             VICE PRESIDENT
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                        PITTSBURGH PA 15259
MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM


032470P001-1488A-002F                           032470P001-1488A-002F                              032470P001-1488A-002F                      032470P001-1488A-002F
THE BANK OF NEW YORK MELLON/SIMF                THE BANK OF NEW YORK MELLON/SIMF                   THE BANK OF NEW YORK MELLON/SIMF           THE BANK OF NEW YORK MELLON/SIMF
MICHAEL KANIA                                   MICHAEL KANIA                                      MICHAEL KANIA                              MICHAEL KANIA
ASSISTANT TREASURER                             ASSISTANT TREASURER                                ASSISTANT TREASURER                        ASSISTANT TREASURER
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                        PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM            SZYROKI.DC@MELLON.COM


032470P001-1488A-002F                           032470P001-1488A-002F                              032470P001-1488A-002F                      032470P001-1488A-002F
THE BANK OF NEW YORK MELLON/SIMF                THE BANK OF NEW YORK MELLON/SIMF                   THE BANK OF NEW YORK MELLON/SIMF           THE BANK OF NEW YORK MELLON/SIMF
MICHAEL KANIA                                   MICHAEL KANIA                                      MICHAEL KANIA                              MICHAEL KANIA
ASSISTANT TREASURER                             ASSISTANT TREASURER                                ASSISTANT TREASURER                        ASSISTANT TREASURER
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                                525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                                PITTSBURGH PA 15259                        PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                       JOHN-HENRY.DOKTORSKI@BNYMELLON.COM         PGHEVENTCREATION@BNYMELLON.COM


032470P001-1488A-002F                           032471P001-1488A-002F                              032471P001-1488A-002F                      032471P001-1488A-002F
THE BANK OF NEW YORK MELLON/SIMF                THE BANK OF NEW YORK MELLON/SOC GEN BANK           THE BANK OF NEW YORK MELLON/SOC GEN BANK   THE BANK OF NEW YORK MELLON/SOC GEN BANK
MICHAEL KANIA                                   CORP ACTIONS                                       CORP ACTIONS                               CORP ACTIONS
ASSISTANT TREASURER                             ASSISTANT VICE PRESIDENT                           ASSISTANT VICE PRESIDENT                   ASSISTANT VICE PRESIDENT
525 WILLIAM PENN PL                             ONE WALL ST                                        ONE WALL ST                                ONE WALL ST
PITTSBURGH PA 15259                             NEW YORK NY 10286                                  NEW YORK NY 10286                          NEW YORK NY 10286
PGH.CA.EVENT.CREATION@BNYMELLON.COM             JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM


032471P001-1488A-002F                           032471P001-1488A-002F                              032471P001-1488A-002F                      032471P001-1488A-002F
THE BANK OF NEW YORK MELLON/SOC GEN BANK        THE BANK OF NEW YORK MELLON/SOC GEN BANK           THE BANK OF NEW YORK MELLON/SOC GEN BANK   THE BANK OF NEW YORK MELLON/SOC GEN BANK
CORP ACTIONS                                    CORP ACTIONS                                       CORP ACTIONS                               CORP ACTIONS
ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                           ASSISTANT VICE PRESIDENT                   ASSISTANT VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                        ONE WALL ST                                ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                                  NEW YORK NY 10286                          NEW YORK NY 10286
MSCARRY@BANKOFNY.COM                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM         PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM


032471P001-1488A-002F                           032471P001-1488A-002F                              032471P001-1488A-002F                      032472P001-1488A-002F
THE BANK OF NEW YORK MELLON/SOC GEN BANK        THE BANK OF NEW YORK MELLON/SOC GEN BANK           THE BANK OF NEW YORK MELLON/SOC GEN BANK   THE BANK OF NEW YORK MELLON/SOUTH STREET
CORP ACTIONS                                    CORP ACTIONS                                       CORP ACTIONS                               SECURITIES
ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                           ASSISTANT VICE PRESIDENT                   CORP ACTIONS
ONE WALL ST                                     ONE WALL ST                                        ONE WALL ST                                11486 CORPORATE BLVD
NEW YORK NY 10286                               NEW YORK NY 10286                                  NEW YORK NY 10286                          STE 300
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                   MATTHEW.BARTEL@BNYMELLON.COM               ORLANDO FL 32817
                                                                                                                                              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON/SOUTH STREET         THE BANK OF NEW YORK MELLON/SOUTH STREET      THE BANK OF NEW YORK MELLON/SOUTH STREET    THE BANK OF NEW YORK MELLON/SOUTH STREET
SECURITIES                                       SECURITIES                                    SECURITIES                                  SECURITIES
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
11486 CORPORATE BLVD                             11486 CORPORATE BLVD                          11486 CORPORATE BLVD                        11486 CORPORATE BLVD
STE 300                                          STE 300                                       STE 300                                     STE 300
ORLANDO FL 32817                                 ORLANDO FL 32817                              ORLANDO FL 32817                            ORLANDO FL 32817
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                       JMICHAEL.JOHNSONJR@BNYMELLON.COM

032472P001-1488A-002F                            032472P001-1488A-002F                         032472P001-1488A-002F                       032472P001-1488A-002F
THE BANK OF NEW YORK MELLON/SOUTH STREET         THE BANK OF NEW YORK MELLON/SOUTH STREET      THE BANK OF NEW YORK MELLON/SOUTH STREET    THE BANK OF NEW YORK MELLON/SOUTH STREET
SECURITIES                                       SECURITIES                                    SECURITIES                                  SECURITIES
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
11486 CORPORATE BLVD                             11486 CORPORATE BLVD                          11486 CORPORATE BLVD                        11486 CORPORATE BLVD
STE 300                                          STE 300                                       STE 300                                     STE 300
ORLANDO FL 32817                                 ORLANDO FL 32817                              ORLANDO FL 32817                            ORLANDO FL 32817
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM              PGH.CA.EVENT.CREATION@BNYMELLON.COM

032474P001-1488A-002F                            032474P001-1488A-002F                         032474P001-1488A-002F                       032474P001-1488A-002F
THE BANK OF NEW YORK MELLON/SUNTRUST BANK        THE BANK OF NEW YORK MELLON/SUNTRUST BANK     THE BANK OF NEW YORK MELLON/SUNTRUST BANK   THE BANK OF NEW YORK MELLON/SUNTRUST BANK
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                         PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM             SZYROKI.DC@MELLON.COM




032474P001-1488A-002F                            032474P001-1488A-002F                         032474P001-1488A-002F                       032474P001-1488A-002F
THE BANK OF NEW YORK MELLON/SUNTRUST BANK        THE BANK OF NEW YORK MELLON/SUNTRUST BANK     THE BANK OF NEW YORK MELLON/SUNTRUST BANK   THE BANK OF NEW YORK MELLON/SUNTRUST BANK
CORP ACTIONS                                     CORP ACTIONS                                  CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                           525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                           PITTSBURGH PA 15259                         PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM          PGHEVENTCREATION@BNYMELLON.COM




032474P001-1488A-002F                            032475P001-1488A-002F                         032475P001-1488A-002F                       032475P001-1488A-002F
THE BANK OF NEW YORK MELLON/SUNTRUST BANK        THE BANK OF NEW YORK MELLON/TD BANK           THE BANK OF NEW YORK MELLON/TD BANK         THE BANK OF NEW YORK MELLON/TD BANK
CORP ACTIONS                                     MIKE SCARRY                                   MIKE SCARRY                                 MIKE SCARRY
525 WILLIAM PENN PL                              ASSISTANT VICE PRESIDENT                      ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT
PITTSBURGH PA 15259                              ONE WALL ST                                   ONE WALL ST                                 ONE WALL ST
PGH.CA.EVENT.CREATION@BNYMELLON.COM              NEW YORK NY 10286                             NEW YORK NY 10286                           NEW YORK NY 10286
                                                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM              PGH.CA.EVENT.CREATION@BNYMELLON.COM


032475P001-1488A-002F                            032475P001-1488A-002F                         032475P001-1488A-002F                       032475P001-1488A-002F
THE BANK OF NEW YORK MELLON/TD BANK              THE BANK OF NEW YORK MELLON/TD BANK           THE BANK OF NEW YORK MELLON/TD BANK         THE BANK OF NEW YORK MELLON/TD BANK
MIKE SCARRY                                      MIKE SCARRY                                   MIKE SCARRY                                 MIKE SCARRY
ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                      ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT
ONE WALL ST                                      ONE WALL ST                                   ONE WALL ST                                 ONE WALL ST
NEW YORK NY 10286                                NEW YORK NY 10286                             NEW YORK NY 10286                           NEW YORK NY 10286
MSCARRY@BANKOFNY.COM                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                         JUSTIN.WHITEHOUSE@BNYMELLON.COM
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032475P001-1488A-002F                      032475P001-1488A-002F                         032475P001-1488A-002F                          032477P001-1488A-002F
THE BANK OF NEW YORK MELLON/TD BANK        THE BANK OF NEW YORK MELLON/TD BANK           THE BANK OF NEW YORK MELLON/TD BANK            THE BANK OF NEW YORK MELLON/TD NY
MIKE SCARRY                                MIKE SCARRY                                   MIKE SCARRY                                    MIKE SCARRY
ASSISTANT VICE PRESIDENT                   ASSISTANT VICE PRESIDENT                      ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT
ONE WALL ST                                ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                          NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032477P001-1488A-002F                      032477P001-1488A-002F                         032477P001-1488A-002F                          032477P001-1488A-002F
THE BANK OF NEW YORK MELLON/TD NY          THE BANK OF NEW YORK MELLON/TD NY             THE BANK OF NEW YORK MELLON/TD NY              THE BANK OF NEW YORK MELLON/TD NY
MIKE SCARRY                                MIKE SCARRY                                   MIKE SCARRY                                    MIKE SCARRY
ASSISTANT VICE PRESIDENT                   ASSISTANT VICE PRESIDENT                      ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT
ONE WALL ST                                ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                          NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           MSCARRY@BANKOFNY.COM                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032477P001-1488A-002F                      032477P001-1488A-002F                         032477P001-1488A-002F                          032477P001-1488A-002F
THE BANK OF NEW YORK MELLON/TD NY          THE BANK OF NEW YORK MELLON/TD NY             THE BANK OF NEW YORK MELLON/TD NY              THE BANK OF NEW YORK MELLON/TD NY
MIKE SCARRY                                MIKE SCARRY                                   MIKE SCARRY                                    MIKE SCARRY
ASSISTANT VICE PRESIDENT                   ASSISTANT VICE PRESIDENT                      ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT
ONE WALL ST                                ONE WALL ST                                   ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                          NEW YORK NY 10286                             NEW YORK NY 10286                              NEW YORK NY 10286
PXRPT@BNYMELLON.COM                        JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM


032477P001-1488A-002F                      032478P001-1488A-002F                         032478P001-1488A-002F                          032478P001-1488A-002F
THE BANK OF NEW YORK MELLON/TD NY          THE BANK OF NEW YORK MELLON/TD NY             THE BANK OF NEW YORK MELLON/TD NY              THE BANK OF NEW YORK MELLON/TD NY
MIKE SCARRY                                DONNA STEINMAN                                DONNA STEINMAN                                 DONNA STEINMAN
ASSISTANT VICE PRESIDENT                   11486 CORPORATE BLVD                          11486 CORPORATE BLVD                           11486 CORPORATE BLVD
ONE WALL ST                                STE 300                                       STE 300                                        STE 300
NEW YORK NY 10286                          ORLANDO FL 32817                              ORLANDO FL 32817                               ORLANDO FL 32817
MATTHEW.BARTEL@BNYMELLON.COM               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM


032478P001-1488A-002F                      032478P001-1488A-002F                         032478P001-1488A-002F                          032478P001-1488A-002F
THE BANK OF NEW YORK MELLON/TD NY          THE BANK OF NEW YORK MELLON/TD NY             THE BANK OF NEW YORK MELLON/TD NY              THE BANK OF NEW YORK MELLON/TD NY
DONNA STEINMAN                             DONNA STEINMAN                                DONNA STEINMAN                                 DONNA STEINMAN
11486 CORPORATE BLVD                       11486 CORPORATE BLVD                          11486 CORPORATE BLVD                           11486 CORPORATE BLVD
STE 300                                    STE 300                                       STE 300                                        STE 300
ORLANDO FL 32817                           ORLANDO FL 32817                              ORLANDO FL 32817                               ORLANDO FL 32817
SZYROKI.DC@MELLON.COM                      JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032478P001-1488A-002F                      032478P001-1488A-002F                         032479P001-1488A-002F                          032479P001-1488A-002F
THE BANK OF NEW YORK MELLON/TD NY          THE BANK OF NEW YORK MELLON/TD NY             THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED   THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED
DONNA STEINMAN                             DONNA STEINMAN                                DONNA STEINMAN                                 DONNA STEINMAN
11486 CORPORATE BLVD                       11486 CORPORATE BLVD                          11486 CORPORATE BLVD                           11486 CORPORATE BLVD
STE 300                                    STE 300                                       STE 300                                        STE 300
ORLANDO FL 32817                           ORLANDO FL 32817                              ORLANDO FL 32817                               ORLANDO FL 32817
PGHEVENTCREATION@BNYMELLON.COM             PGH.CA.EVENT.CREATION@BNYMELLON.COM           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM
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032479P001-1488A-002F                          032479P001-1488A-002F                          032479P001-1488A-002F                          032479P001-1488A-002F
THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED   THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED   THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED   THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED
DONNA STEINMAN                                 DONNA STEINMAN                                 DONNA STEINMAN                                 DONNA STEINMAN
11486 CORPORATE BLVD                           11486 CORPORATE BLVD                           11486 CORPORATE BLVD                           11486 CORPORATE BLVD
STE 300                                        STE 300                                        STE 300                                        STE 300
ORLANDO FL 32817                               ORLANDO FL 32817                               ORLANDO FL 32817                               ORLANDO FL 32817
JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM


032479P001-1488A-002F                          032479P001-1488A-002F                          032479P001-1488A-002F                          032480P001-1488A-002F
THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED   THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED   THE BANK OF NEW YORK MELLON/TDB UNENCUMBERED   THE BANK OF NEW YORK MELLON/TELEBANK
DONNA STEINMAN                                 DONNA STEINMAN                                 DONNA STEINMAN                                 CORP ACTIONS
11486 CORPORATE BLVD                           11486 CORPORATE BLVD                           11486 CORPORATE BLVD                           ASSISTANT VICE PRESIDENT
STE 300                                        STE 300                                        STE 300                                        ONE WALL ST
ORLANDO FL 32817                               ORLANDO FL 32817                               ORLANDO FL 32817                               NEW YORK NY 10286
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032480P001-1488A-002F                          032480P001-1488A-002F                          032480P001-1488A-002F                          032480P001-1488A-002F
THE BANK OF NEW YORK MELLON/TELEBANK           THE BANK OF NEW YORK MELLON/TELEBANK           THE BANK OF NEW YORK MELLON/TELEBANK           THE BANK OF NEW YORK MELLON/TELEBANK
CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                          JMICHAEL.JOHNSONJR@BNYMELLON.COM


032480P001-1488A-002F                          032480P001-1488A-002F                          032480P001-1488A-002F                          032480P001-1488A-002F
THE BANK OF NEW YORK MELLON/TELEBANK           THE BANK OF NEW YORK MELLON/TELEBANK           THE BANK OF NEW YORK MELLON/TELEBANK           THE BANK OF NEW YORK MELLON/TELEBANK
CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS                                   CORP ACTIONS
ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT                       ASSISTANT VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST                                    ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                 PGH.CA.EVENT.CREATION@BNYMELLON.COM


032482P001-1488A-002F                          032482P001-1488A-002F                          032482P001-1488A-002F                          032482P001-1488A-002F
THE BANK OF NEW YORK MELLON/WELLS FA           THE BANK OF NEW YORK MELLON/WELLS FA           THE BANK OF NEW YORK MELLON/WELLS FA           THE BANK OF NEW YORK MELLON/WELLS FA
JOE WINKHART                                   JOE WINKHART                                   JOE WINKHART                                   JOE WINKHART
1 WALL ST                                      1 WALL ST                                      1 WALL ST                                      1 WALL ST
5TH FL                                         5TH FL                                         5TH FL                                         5TH FL
NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM


032482P001-1488A-002F                          032482P001-1488A-002F                          032482P001-1488A-002F                          032482P001-1488A-002F
THE BANK OF NEW YORK MELLON/WELLS FA           THE BANK OF NEW YORK MELLON/WELLS FA           THE BANK OF NEW YORK MELLON/WELLS FA           THE BANK OF NEW YORK MELLON/WELLS FA
JOE WINKHART                                   JOE WINKHART                                   JOE WINKHART                                   JOE WINKHART
1 WALL ST                                      1 WALL ST                                      1 WALL ST                                      1 WALL ST
5TH FL                                         5TH FL                                         5TH FL                                         5TH FL
NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286                              NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM
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THE BANK OF NEW YORK MELLON/WELLS FA            THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP   THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP   THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP
JOE WINKHART                                    CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS
1 WALL ST                                       525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
5TH FL                                          PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
NEW YORK NY 10286                               GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM


032484P001-1488A-002F                           032484P001-1488A-002F                           032484P001-1488A-002F                           032484P001-1488A-002F
THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP   THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP   THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP   THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP
CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS                               CORPORATE ACTIONS
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             525 WILLIAM PENN PL
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                    JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




032484P001-1488A-002F                           032484P001-1488A-002F                           032410P001-1488A-002F                           032410P001-1488A-002F
THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP   THE BANK OF NEW YORK MELLON/WFC HOLDINGS CORP   THE BANK OF NEW YORK MELLONCWIBH INC            THE BANK OF NEW YORK MELLONCWIBH INC
CORPORATE ACTIONS                               CORPORATE ACTIONS                               DONNA STEINMAN                                  DONNA STEINMAN
525 WILLIAM PENN PL                             525 WILLIAM PENN PL                             ONE WALL ST                                     ONE WALL ST
PITTSBURGH PA 15259                             PITTSBURGH PA 15259                             NY NY 10286                                     NY NY 10286
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM      PXRPT@BNYMELLON.COM




032410P001-1488A-002F                           032410P001-1488A-002F                           032410P001-1488A-002F                           032410P001-1488A-002F
THE BANK OF NEW YORK MELLONCWIBH INC            THE BANK OF NEW YORK MELLONCWIBH INC            THE BANK OF NEW YORK MELLONCWIBH INC            THE BANK OF NEW YORK MELLONCWIBH INC
DONNA STEINMAN                                  DONNA STEINMAN                                  DONNA STEINMAN                                  DONNA STEINMAN
ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NY NY 10286                                     NY NY 10286                                     NY NY 10286                                     NY NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM




032410P001-1488A-002F                           032410P001-1488A-002F                           032410P001-1488A-002F                           032427P001-1488A-002F
THE BANK OF NEW YORK MELLONCWIBH INC            THE BANK OF NEW YORK MELLONCWIBH INC            THE BANK OF NEW YORK MELLONCWIBH INC            THE BANK OF NEW YORK MELLONDEALERWEB INC
DONNA STEINMAN                                  DONNA STEINMAN                                  DONNA STEINMAN                                  MIKE SCARRY
ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST                                     ASSISTANT VICE PRESIDENT
NY NY 10286                                     NY NY 10286                                     NY NY 10286                                     ONE WALL ST
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             NEW YORK NY 10286
                                                                                                                                                JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032427P001-1488A-002F                           032427P001-1488A-002F                           032427P001-1488A-002F                           032427P001-1488A-002F
THE BANK OF NEW YORK MELLONDEALERWEB INC        THE BANK OF NEW YORK MELLONDEALERWEB INC        THE BANK OF NEW YORK MELLONDEALERWEB INC        THE BANK OF NEW YORK MELLONDEALERWEB INC
MIKE SCARRY                                     MIKE SCARRY                                     MIKE SCARRY                                     MIKE SCARRY
ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT                        ASSISTANT VICE PRESIDENT
ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST                                     ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286                               NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM             MSCARRY@BANKOFNY.COM                            GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
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THE BANK OF NEW YORK MELLONDEALERWEB INC           THE BANK OF NEW YORK MELLONDEALERWEB INC         THE BANK OF NEW YORK MELLONDEALERWEB INC      THE BANK OF NEW YORK MELLONDEALERWEB INC
MIKE SCARRY                                        MIKE SCARRY                                      MIKE SCARRY                                   MIKE SCARRY
ASSISTANT VICE PRESIDENT                           ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                      ASSISTANT VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                      ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                                NEW YORK NY 10286                             NEW YORK NY 10286
PXRPT@BNYMELLON.COM                                JUSTIN.WHITEHOUSE@BNYMELLON.COM                  SZYROKI.DC@MELLON.COM                         JMICHAEL.JOHNSONJR@BNYMELLON.COM


032427P001-1488A-002F                              032432P001-1488A-002F                            032432P001-1488A-002F                         032432P001-1488A-002F
THE BANK OF NEW YORK MELLONDEALERWEB INC           THE BANK OF NEW YORK MELLONEF CMO, LLC           THE BANK OF NEW YORK MELLONEF CMO, LLC        THE BANK OF NEW YORK MELLONEF CMO, LLC
MIKE SCARRY                                        DONNA STEINMAN                                   DONNA STEINMAN                                DONNA STEINMAN
ASSISTANT VICE PRESIDENT                           VICE PRESIDENT                                   VICE PRESIDENT                                VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                      ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                                NEW YORK NY 10286                             NEW YORK NY 10286
MATTHEW.BARTEL@BNYMELLON.COM                       GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM


032432P001-1488A-002F                              032432P001-1488A-002F                            032432P001-1488A-002F                         032432P001-1488A-002F
THE BANK OF NEW YORK MELLONEF CMO, LLC             THE BANK OF NEW YORK MELLONEF CMO, LLC           THE BANK OF NEW YORK MELLONEF CMO, LLC        THE BANK OF NEW YORK MELLONEF CMO, LLC
DONNA STEINMAN                                     DONNA STEINMAN                                   DONNA STEINMAN                                DONNA STEINMAN
VICE PRESIDENT                                     VICE PRESIDENT                                   VICE PRESIDENT                                VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                      ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                                NEW YORK NY 10286                             NEW YORK NY 10286
SZYROKI.DC@MELLON.COM                              JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032432P001-1488A-002F                              032432P001-1488A-002F                            032433P001-1488A-002F                         032433P001-1488A-002F
THE BANK OF NEW YORK MELLONEF CMO, LLC             THE BANK OF NEW YORK MELLONEF CMO, LLC           THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC   THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC
DONNA STEINMAN                                     DONNA STEINMAN                                   DONNA STEINMAN                                DONNA STEINMAN
VICE PRESIDENT                                     VICE PRESIDENT                                   VICE PRESIDENT                                VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                      ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                                NEW YORK NY 10286                             NEW YORK NY 10286
PGHEVENTCREATION@BNYMELLON.COM                     PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM


032433P001-1488A-002F                              032433P001-1488A-002F                            032433P001-1488A-002F                         032433P001-1488A-002F
THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC        THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC      THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC   THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC
DONNA STEINMAN                                     DONNA STEINMAN                                   DONNA STEINMAN                                DONNA STEINMAN
VICE PRESIDENT                                     VICE PRESIDENT                                   VICE PRESIDENT                                VICE PRESIDENT
ONE WALL ST                                        ONE WALL ST                                      ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                                  NEW YORK NY 10286                                NEW YORK NY 10286                             NEW YORK NY 10286
JUSTIN.WHITEHOUSE@BNYMELLON.COM                    SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM              MATTHEW.BARTEL@BNYMELLON.COM


032433P001-1488A-002F                              032433P001-1488A-002F                            032433P001-1488A-002F                         032439P001-1488A-002F
THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC        THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC      THE BANK OF NEW YORK MELLONEF MORTGAGE, LLC   THE BANK OF NEW YORK MELLONFMSBONDS, INC
DONNA STEINMAN                                     DONNA STEINMAN                                   DONNA STEINMAN                                CORP ACTIONS
VICE PRESIDENT                                     VICE PRESIDENT                                   VICE PRESIDENT                                16 WALL ST 5TH FL
ONE WALL ST                                        ONE WALL ST                                      ONE WALL ST                                   NEW YORK NY 10005
NEW YORK NY 10286                                  NEW YORK NY 10286                                NEW YORK NY 10286                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM                 PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM
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032439P001-1488A-002F                            032439P001-1488A-002F                          032439P001-1488A-002F                       032439P001-1488A-002F
THE BANK OF NEW YORK MELLONFMSBONDS, INC         THE BANK OF NEW YORK MELLONFMSBONDS, INC       THE BANK OF NEW YORK MELLONFMSBONDS, INC    THE BANK OF NEW YORK MELLONFMSBONDS, INC
CORP ACTIONS                                     CORP ACTIONS                                   CORP ACTIONS                                CORP ACTIONS
16 WALL ST 5TH FL                                16 WALL ST 5TH FL                              16 WALL ST 5TH FL                           16 WALL ST 5TH FL
NEW YORK NY 10005                                NEW YORK NY 10005                              NEW YORK NY 10005                           NEW YORK NY 10005
PXRPT@BNYMELLON.COM                              JUSTIN.WHITEHOUSE@BNYMELLON.COM                SZYROKI.DC@MELLON.COM                       JMICHAEL.JOHNSONJR@BNYMELLON.COM




032439P001-1488A-002F                            032439P001-1488A-002F                          032439P001-1488A-002F                       032439P001-1488A-002F
THE BANK OF NEW YORK MELLONFMSBONDS, INC         THE BANK OF NEW YORK MELLONFMSBONDS, INC       THE BANK OF NEW YORK MELLONFMSBONDS, INC    THE BANK OF NEW YORK MELLONFMSBONDS, INC
CORP ACTIONS                                     CORP ACTIONS                                   CORP ACTIONS                                CORP ACTIONS
16 WALL ST 5TH FL                                16 WALL ST 5TH FL                              16 WALL ST 5TH FL                           16 WALL ST 5TH FL
NEW YORK NY 10005                                NEW YORK NY 10005                              NEW YORK NY 10005                           NEW YORK NY 10005
MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM              PGH.CA.EVENT.CREATION@BNYMELLON.COM




032446P001-1488A-002F                            032446P001-1488A-002F                          032446P001-1488A-002F                       032446P001-1488A-002F
THE BANK OF NEW YORK MELLONHSBC, BK PLC A        THE BANK OF NEW YORK MELLONHSBC, BK PLC A      THE BANK OF NEW YORK MELLONHSBC, BK PLC A   THE BANK OF NEW YORK MELLONHSBC, BK PLC A
C IB EQ FIN NON US                               C IB EQ FIN NON US                             C IB EQ FIN NON US                          C IB EQ FIN NON US
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT              MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM       PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM             SZYROKI.DC@MELLON.COM


032446P001-1488A-002F                            032446P001-1488A-002F                          032446P001-1488A-002F                       032446P001-1488A-002F
THE BANK OF NEW YORK MELLONHSBC, BK PLC A        THE BANK OF NEW YORK MELLONHSBC, BK PLC A      THE BANK OF NEW YORK MELLONHSBC, BK PLC A   THE BANK OF NEW YORK MELLONHSBC, BK PLC A
C IB EQ FIN NON US                               C IB EQ FIN NON US                             C IB EQ FIN NON US                          C IB EQ FIN NON US
MICHAEL KANIA - VICE PRESIDENT                   MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT              MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
JMICHAEL.JOHNSONJR@BNYMELLON.COM                 MATTHEW.BARTEL@BNYMELLON.COM                   JOHN-HENRY.DOKTORSKI@BNYMELLON.COM          PGHEVENTCREATION@BNYMELLON.COM


032446P001-1488A-002F                            032459P001-1488A-002F                          032459P001-1488A-002F                       032459P001-1488A-002F
THE BANK OF NEW YORK MELLONHSBC, BK PLC A        THE BANK OF NEW YORK MELLONNOMURA              THE BANK OF NEW YORK MELLONNOMURA           THE BANK OF NEW YORK MELLONNOMURA
C IB EQ FIN NON US                               SECURITIES BERMUDA LTD                         SECURITIES BERMUDA LTD                      SECURITIES BERMUDA LTD
MICHAEL KANIA - VICE PRESIDENT                   CORPORATE ACTIONS                              CORPORATE ACTIONS                           CORPORATE ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
PGH.CA.EVENT.CREATION@BNYMELLON.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                         JUSTIN.WHITEHOUSE@BNYMELLON.COM


032459P001-1488A-002F                            032459P001-1488A-002F                          032459P001-1488A-002F                       032459P001-1488A-002F
THE BANK OF NEW YORK MELLONNOMURA                THE BANK OF NEW YORK MELLONNOMURA              THE BANK OF NEW YORK MELLONNOMURA           THE BANK OF NEW YORK MELLONNOMURA
SECURITIES BERMUDA LTD                           SECURITIES BERMUDA LTD                         SECURITIES BERMUDA LTD                      SECURITIES BERMUDA LTD
CORPORATE ACTIONS                                CORPORATE ACTIONS                              CORPORATE ACTIONS                           CORPORATE ACTIONS
525 WILLIAM PENN PL                              525 WILLIAM PENN PL                            525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                              PITTSBURGH PA 15259                            PITTSBURGH PA 15259                         PITTSBURGH PA 15259
SZYROKI.DC@MELLON.COM                            JMICHAEL.JOHNSONJR@BNYMELLON.COM               MATTHEW.BARTEL@BNYMELLON.COM                JOHN-HENRY.DOKTORSKI@BNYMELLON.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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032459P001-1488A-002F                         032459P001-1488A-002F                           032473P001-1488A-002F                        032473P001-1488A-002F
THE BANK OF NEW YORK MELLONNOMURA             THE BANK OF NEW YORK MELLONNOMURA               THE BANK OF NEW YORK MELLONST BERNARD        THE BANK OF NEW YORK MELLONST BERNARD
SECURITIES BERMUDA LTD                        SECURITIES BERMUDA LTD                          OPPORTUNITY FUND 1 LTD                       OPPORTUNITY FUND 1 LTD
CORPORATE ACTIONS                             CORPORATE ACTIONS                               525 WILLIAM PENN PL                          525 WILLIAM PENN PL
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                             GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM
PGHEVENTCREATION@BNYMELLON.COM                PGH.CA.EVENT.CREATION@BNYMELLON.COM


032473P001-1488A-002F                         032473P001-1488A-002F                           032473P001-1488A-002F                        032473P001-1488A-002F
THE BANK OF NEW YORK MELLONST BERNARD         THE BANK OF NEW YORK MELLONST BERNARD           THE BANK OF NEW YORK MELLONST BERNARD        THE BANK OF NEW YORK MELLONST BERNARD
OPPORTUNITY FUND 1 LTD                        OPPORTUNITY FUND 1 LTD                          OPPORTUNITY FUND 1 LTD                       OPPORTUNITY FUND 1 LTD
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                             525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                             PITTSBURGH PA 15259                          PITTSBURGH PA 15259
JUSTIN.WHITEHOUSE@BNYMELLON.COM               SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM




032473P001-1488A-002F                         032473P001-1488A-002F                           032473P001-1488A-002F                        032476P001-1488A-002F
THE BANK OF NEW YORK MELLONST BERNARD         THE BANK OF NEW YORK MELLONST BERNARD           THE BANK OF NEW YORK MELLONST BERNARD        THE BANK OF NEW YORK MELLONTD BANK NA
OPPORTUNITY FUND 1 LTD                        OPPORTUNITY FUND 1 LTD                          OPPORTUNITY FUND 1 LTD                       DONNA STEINMAN
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                             525 WILLIAM PENN PL                          ASSISTANT TREASURER
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                             PITTSBURGH PA 15259                          11486 CORPORATE BLVD
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            PGHEVENTCREATION@BNYMELLON.COM                  PGH.CA.EVENT.CREATION@BNYMELLON.COM          STE 300
                                                                                                                                           ORLANDO FL 32817
                                                                                                                                           GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM

032476P001-1488A-002F                         032476P001-1488A-002F                           032476P001-1488A-002F                        032476P001-1488A-002F
THE BANK OF NEW YORK MELLONTD BANK NA         THE BANK OF NEW YORK MELLONTD BANK NA           THE BANK OF NEW YORK MELLONTD BANK NA        THE BANK OF NEW YORK MELLONTD BANK NA
DONNA STEINMAN                                DONNA STEINMAN                                  DONNA STEINMAN                               DONNA STEINMAN
ASSISTANT TREASURER                           ASSISTANT TREASURER                             ASSISTANT TREASURER                          ASSISTANT TREASURER
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                            11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                       STE 300                                         STE 300                                      STE 300
ORLANDO FL 32817                              ORLANDO FL 32817                                ORLANDO FL 32817                             ORLANDO FL 32817
PXRPT@BNYMELLON.COM                           JUSTIN.WHITEHOUSE@BNYMELLON.COM                 SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM

032476P001-1488A-002F                         032476P001-1488A-002F                           032476P001-1488A-002F                        032476P001-1488A-002F
THE BANK OF NEW YORK MELLONTD BANK NA         THE BANK OF NEW YORK MELLONTD BANK NA           THE BANK OF NEW YORK MELLONTD BANK NA        THE BANK OF NEW YORK MELLONTD BANK NA
DONNA STEINMAN                                DONNA STEINMAN                                  DONNA STEINMAN                               DONNA STEINMAN
ASSISTANT TREASURER                           ASSISTANT TREASURER                             ASSISTANT TREASURER                          ASSISTANT TREASURER
11486 CORPORATE BLVD                          11486 CORPORATE BLVD                            11486 CORPORATE BLVD                         11486 CORPORATE BLVD
STE 300                                       STE 300                                         STE 300                                      STE 300
ORLANDO FL 32817                              ORLANDO FL 32817                                ORLANDO FL 32817                             ORLANDO FL 32817
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM              PGHEVENTCREATION@BNYMELLON.COM               PGH.CA.EVENT.CREATION@BNYMELLON.COM

032481P001-1488A-002F                         032481P001-1488A-002F                           032481P001-1488A-002F                        032481P001-1488A-002F
THE BANK OF NEW YORK MELLONTORONTO            THE BANK OF NEW YORK MELLONTORONTO              THE BANK OF NEW YORK MELLONTORONTO           THE BANK OF NEW YORK MELLONTORONTO
DOMINION SECURITIES INC                       DOMINION SECURITIES INC                         DOMINION SECURITIES INC                      DOMINION SECURITIES INC
CLEOLA L MOORE                                CLEOLA L MOORE                                  CLEOLA L MOORE                               CLEOLA L MOORE
ONE WALL ST                                   ONE WALL ST                                     ONE WALL ST                                  ONE WALL ST
NEW YORK NY 10286                             NEW YORK NY 10286                               NEW YORK NY 10286                            NEW YORK NY 10286
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                             JUSTIN.WHITEHOUSE@BNYMELLON.COM              SZYROKI.DC@MELLON.COM
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THE BANK OF NEW YORK MELLONTORONTO              THE BANK OF NEW YORK MELLONTORONTO               THE BANK OF NEW YORK MELLONTORONTO       THE BANK OF NEW YORK MELLONTORONTO
DOMINION SECURITIES INC                         DOMINION SECURITIES INC                          DOMINION SECURITIES INC                  DOMINION SECURITIES INC
CLEOLA L MOORE                                  CLEOLA L MOORE                                   CLEOLA L MOORE                           CLEOLA L MOORE
ONE WALL ST                                     ONE WALL ST                                      ONE WALL ST                              ONE WALL ST
NEW YORK NY 10286                               NEW YORK NY 10286                                NEW YORK NY 10286                        NEW YORK NY 10286
JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM                     JOHN-HENRY.DOKTORSKI@BNYMELLON.COM       PGHEVENTCREATION@BNYMELLON.COM


032481P001-1488A-002F                           032485P001-1488A-002F                            032485P001-1488A-002F                    032486P001-1488A-002F
THE BANK OF NEW YORK MELLONTORONTO              THE BANK OF NEW YORK/FORTIS BANK NV/SA           THE BANK OF NEW YORK/FORTIS BANK NV/SA   THE BANK OF NEW YORK/THE ROYAL BANK OF CANADA
DOMINION SECURITIES INC                         CORP ACTIONS                                     CORP ACTIONS                             CORP ACTIONS
CLEOLA L MOORE                                  VICE PRESIDENT                                   VICE PRESIDENT                           525 WILLIAM PENN PL
ONE WALL ST                                     525 WILLIAM PENN PL                              525 WILLIAM PENN PL                      PITTSBURGH PA 15259
NEW YORK NY 10286                               PITTSBURGH PA 15259                              PITTSBURGH PA 15259                      PGHEVENTCREATION@BNYMELLON.COM
PGH.CA.EVENT.CREATION@BNYMELLON.COM             PGHEVENTCREATION@BNYMELLON.COM                   PGH.CA.EVENT.CREATION@BNYMELLON.COM


032486P001-1488A-002F                           032487P001-1488A-002F                            032488P001-1488A-002F                    032488P001-1488A-002F
THE BANK OF NEW YORK/THE ROYAL BANK OF CANADA   THE BANK OF NOVA SCOTIA SCE LTDCDS**             THE BANK OF NOVA SCOTIA/CLIENT B/CDS**   THE BANK OF NOVA SCOTIA/CLIENT B/CDS**
CORP ACTIONS                                    JOSEPH CHAU                                      CORPORATE ACTIONS                        CORPORATE ACTIONS
525 WILLIAM PENN PL                             MANAGER                                          40 KING ST WEST                          40 KING ST WEST
PITTSBURGH PA 15259                             40 KING ST WEST                                  23RD FL                                  23RD FL
PGH.CA.EVENT.CREATION@BNYMELLON.COM             SCOTIA PLZ                                       TORONTO ON M5H 1H1                       TORONTO ON M5H 1H1
                                                TORONTO ON ON500000                              CANADA                                   CANADA
                                                CANADA                                           TINA.PHUNG@SCOTIABANK.COM                ISS.REORG@SCOTIABANK.COM
                                                JCHAU@CDS.CA
032489P001-1488A-002F                           032490P001-1488A-002F                            032490P001-1488A-002F                    032491P001-1488A-002F
THE FIRST, NATIONAL ASSOCIATIONDRS              THE HUNTINGTON NATIONAL BANK                     THE HUNTINGTON NATIONAL BANK             THE HUNTINGTON NATIONAL BANK
STACY BRANN                                     PAULA FLETCHER                                   PAULA FLETCHER                           CORPORATE ACTIONS
7 BRISTOL RD                                    7 EASTON OVAL                                    7 EASTON OVAL                            DAVID GUNNING
DAMARISCOTTA ME 04543                           COLUMBUS OH 43219                                COLUMBUS OH 43219                        5555 CLEVELAND AVE
STACY.BRANN@THE1ST.COM                          CATHERINE.RODGERS@HUNTINGTON.COM                 KATHLEEN.CHAPIN@HUNTNGTON.COM            GW4E62
                                                                                                                                          COLUMBUS OH 43231
                                                                                                                                          CATHERINE.RODGERS@HUNTINGTON.COM

032491P001-1488A-002F                           032492P001-1488A-002F                            032493P001-1488A-002F                    032493P001-1488A-002F
THE HUNTINGTON NATIONAL BANK                    THE NASDAQ STOCK MARKET LLC                      THE NORTHERN TRUST CO                    THE NORTHERN TRUST CO
CORPORATE ACTIONS                               VINCENT DIVITO                                   ANDREW LUSSEN                            ANDREW LUSSEN
DAVID GUNNING                                   DIRECTOR                                         CAPITAL STRUCTURES-C1N                   CAPITAL STRUCTURES-C1N
5555 CLEVELAND AVE                              ONE LIBERTY PLZ                                  801 S CANAL ST                           801 S CANAL ST
GW4E62                                          NEW YORK NY 10006                                CHICAGO IL 60607                         CHICAGO IL 60607
COLUMBUS OH 43231                               VINCENT.DIVITO@NASDAQOMX.COM                     US_VOLUNTARY_CORPACTIONS@NTRS.COM        KEG2@NTRS.COM
KATHLEEN.CHAPIN@HUNTNGTON.COM

032493P001-1488A-002F                           032493P001-1488A-002F                            032494P001-1488A-002F                    032494P001-1488A-002F
THE NORTHERN TRUST CO                           THE NORTHERN TRUST CO                            THE NORTHERN TRUST CO                    THE NORTHERN TRUST CO
ANDREW LUSSEN                                   ANDREW LUSSEN                                    CAPITAL STRUCTURES-C1N                   CAPITAL STRUCTURES-C1N
CAPITAL STRUCTURES-C1N                          CAPITAL STRUCTURES-C1N                           RYAN CHISLETT                            RYAN CHISLETT
801 S CANAL ST                                  801 S CANAL ST                                   801 S CANAL ST                           801 S CANAL ST
CHICAGO IL 60607                                CHICAGO IL 60607                                 CHICAGO IL 60607                         CHICAGO IL 60607
DR65@NTRS.COM                                   CS_NOTIFICATIONS@NTRS.COM                        PK5@NTRS.COM                             CLASS_ACTION_PROXY_TEAM@NTRS.COM
                                       Case 22-90032 Document 69GWG  Holdings,
                                                                  Filed in TXSBInc.,
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032494P001-1488A-002F                       032494P001-1488A-002F                          032494P001-1488A-002F                  032494P001-1488A-002F
THE NORTHERN TRUST CO                       THE NORTHERN TRUST CO                          THE NORTHERN TRUST CO                  THE NORTHERN TRUST CO
CAPITAL STRUCTURES-C1N                      CAPITAL STRUCTURES-C1N                         CAPITAL STRUCTURES-C1N                 CAPITAL STRUCTURES-C1N
RYAN CHISLETT                               RYAN CHISLETT                                  RYAN CHISLETT                          RYAN CHISLETT
801 S CANAL ST                              801 S CANAL ST                                 801 S CANAL ST                         801 S CANAL ST
CHICAGO IL 60607                            CHICAGO IL 60607                               CHICAGO IL 60607                       CHICAGO IL 60607
US_VOLUNTARY_CORPACTIONS@NTRS.COM           KEG2@NTRS.COM                                  DR65@NTRS.COM                          JEM15@NTRS.COM


032494P001-1488A-002F                       032495P001-1488A-002F                          032495P001-1488A-002F                  032495P001-1488A-002F
THE NORTHERN TRUST CO                       THE NORTHERN TRUST CO                          THE NORTHERN TRUST CO                  THE NORTHERN TRUST CO
CAPITAL STRUCTURES-C1N                      PROXY DIVISION C-1N                            PROXY DIVISION C-1N                    PROXY DIVISION C-1N
RYAN CHISLETT                               801 S CANAL ST                                 801 S CANAL ST                         801 S CANAL ST
801 S CANAL ST                              CHICAGO IL 60607                               CHICAGO IL 60607                       CHICAGO IL 60607
CHICAGO IL 60607                            E-DATA_CONFIRMATION@NTRS.COM                   PK5@NTRS.COM                           CLASS_ACTION_PROXY_TEAM@NTRS.COM
CS_NOTIFICATIONS@NTRS.COM


032495P001-1488A-002F                       032495P001-1488A-002F                          032495P001-1488A-002F                  032495P001-1488A-002F
THE NORTHERN TRUST CO                       THE NORTHERN TRUST CO                          THE NORTHERN TRUST CO                  THE NORTHERN TRUST CO
PROXY DIVISION C-1N                         PROXY DIVISION C-1N                            PROXY DIVISION C-1N                    PROXY DIVISION C-1N
801 S CANAL ST                              801 S CANAL ST                                 801 S CANAL ST                         801 S CANAL ST
CHICAGO IL 60607                            CHICAGO IL 60607                               CHICAGO IL 60607                       CHICAGO IL 60607
US_VOLUNTARY_CORPACTIONS@NTRS.COM           KEG2@NTRS.COM                                  DR65@NTRS.COM                          CS_NOTIFICATIONS@NTRS.COM




032496P001-1488A-002F                       032496P001-1488A-002F                          032497P001-1488A-002F                  032498P001-1488A-002F
THE PARK NATIONAL BANK/DRS                  THE PARK NATIONAL BANK/DRS                     TIMBER HILL LLC                        TRADESTATION SECURITIES, INC
DEBBIE DANIELS                              DEBBIE DANIELS                                 KARIN MCCARTHY                         DAVID BIALER
ONE SOUTH MAIN ST                           ONE SOUTH MAIN ST                              1 PICKWICK PLZ                         8050 SW 10TH ST
VERNON OH 43050                             VERNON OH 43050                                GREENWICH CT 06830                     STE 400
DDANIELS@FIRSTKNOX.COM                      FKTRUST@FIRSTKNOX.COM                          KMCCARTHY@INTERACTIVEBROKERS.COM       PLANTATION FL 33324
                                                                                                                                  DBIALER@TRADESTATION.COM


032499P001-1488A-002F                       032500P001-1488A-002F                          032500P001-1488A-002F                  032501P001-1488A-002F
TRADESTATION SECURITIES, INC                TRADESTATION SECURITIES, INC                   TRADESTATION SECURITIES, INC           TRADITION ASIEL SECURITIES INC
ANDREA AUGUSTIN                             TRADESTATION SECURITIES INC                    TRADESTATION SECURITIES INC            JEANETTE RIVERA
CORPORATE ACTIONS                           CORPORATE ACTIONS                              CORPORATE ACTIONS                      255 GREENWICH ST
8050 SW 10TH ST                             8050 SW 10TH ST                                8050 SW 10TH ST                        4TH FL
PLANTATION FL 33324                         STE 400                                        STE 400                                NEW YORK NY 10007
CORPACTIONS@TRADESTATION.COM                PLANTATION FL 33324                            PLANTATION FL 33324                    JEANETTE.RIVERA@TRADITION-NA.COM
                                            DBIALER@TRADESTATION.COM                       CORPACTIONS@TRADESTATION.COM

032512P001-1488A-002F                       032512P001-1488A-002F                          032512P001-1488A-002F                  032512P001-1488A-002F
UBS AG STAMFORD BRANCH                      UBS AG STAMFORD BRANCH                         UBS AG STAMFORD BRANCH                 UBS AG STAMFORD BRANCH
AS CUSTODIAN FOR UBSAG LONDON BRANCH        AS CUSTODIAN FOR UBSAG LONDON BRANCH           AS CUSTODIAN FOR UBSAG LONDON BRANCH   AS CUSTODIAN FOR UBSAG LONDON BRANCH
GREGORY CONTALDI - DIRECTOR                 GREGORY CONTALDI - DIRECTOR                    GREGORY CONTALDI - DIRECTOR            GREGORY CONTALDI - DIRECTOR
1000 HARBOR BLVD - 5TH FL                   1000 HARBOR BLVD - 5TH FL                      1000 HARBOR BLVD - 5TH FL              1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                         WEENHAWKEN NJ 07086                            WEENHAWKEN NJ 07086                    WEENHAWKEN NJ 07086
MICHAEL.HALLET@UBS.COM                      OL-WMA-CA-PROXY@UBS.COM                        SCOTT.HARRIS@UBS.COM                   HEMANT.TIWARI@UBS.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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UBS AG STAMFORD BRANCH                        UBS AG STAMFORD BRANCH                         UBS AG STAMFORD BRANCH                 UBS AG STAMFORD BRANCH
AS CUSTODIAN FOR UBSAG LONDON BRANCH          AS CUSTODIAN FOR UBSAG LONDON BRANCH           AS CUSTODIAN FOR UBSAG LONDON BRANCH   AS CUSTODIAN FOR UBSAG LONDON BRANCH
GREGORY CONTALDI - DIRECTOR                   GREGORY CONTALDI - DIRECTOR                    GREGORY CONTALDI - DIRECTOR            GREGORY CONTALDI - DIRECTOR
1000 HARBOR BLVD - 5TH FL                     1000 HARBOR BLVD - 5TH FL                      1000 HARBOR BLVD - 5TH FL              1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                           WEENHAWKEN NJ 07086                            WEENHAWKEN NJ 07086                    WEENHAWKEN NJ 07086
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                            JUSTIN.WHITEHOUSE@BNYMELLON.COM        OL-CA-MANAGERS@UBS.COM


032512P001-1488A-002F                         032512P001-1488A-002F                          032512P001-1488A-002F                  032512P001-1488A-002F
UBS AG STAMFORD BRANCH                        UBS AG STAMFORD BRANCH                         UBS AG STAMFORD BRANCH                 UBS AG STAMFORD BRANCH
AS CUSTODIAN FOR UBSAG LONDON BRANCH          AS CUSTODIAN FOR UBSAG LONDON BRANCH           AS CUSTODIAN FOR UBSAG LONDON BRANCH   AS CUSTODIAN FOR UBSAG LONDON BRANCH
GREGORY CONTALDI - DIRECTOR                   GREGORY CONTALDI - DIRECTOR                    GREGORY CONTALDI - DIRECTOR            GREGORY CONTALDI - DIRECTOR
1000 HARBOR BLVD - 5TH FL                     1000 HARBOR BLVD - 5TH FL                      1000 HARBOR BLVD - 5TH FL              1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                           WEENHAWKEN NJ 07086                            WEENHAWKEN NJ 07086                    WEENHAWKEN NJ 07086
OL-WMA-CA-BONDREDEMPTION@UBS.COM              TRACEY.DREWE@UBS.COM                           JANE.FLOOD@UBS.COM                     PAVAN.MATAPATHI@UBS.COM


032512P001-1488A-002F                         032512P001-1488A-002F                          032512P001-1488A-002F                  032512P001-1488A-002F
UBS AG STAMFORD BRANCH                        UBS AG STAMFORD BRANCH                         UBS AG STAMFORD BRANCH                 UBS AG STAMFORD BRANCH
AS CUSTODIAN FOR UBSAG LONDON BRANCH          AS CUSTODIAN FOR UBSAG LONDON BRANCH           AS CUSTODIAN FOR UBSAG LONDON BRANCH   AS CUSTODIAN FOR UBSAG LONDON BRANCH
GREGORY CONTALDI - DIRECTOR                   GREGORY CONTALDI - DIRECTOR                    GREGORY CONTALDI - DIRECTOR            GREGORY CONTALDI - DIRECTOR
1000 HARBOR BLVD - 5TH FL                     1000 HARBOR BLVD - 5TH FL                      1000 HARBOR BLVD - 5TH FL              1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                           WEENHAWKEN NJ 07086                            WEENHAWKEN NJ 07086                    WEENHAWKEN NJ 07086
DL-WMA-PROXY@UBS.COM                          SH-WMA-CAPROXYCLASSACTIONS@UBS.COM             SZYROKI.DC@MELLON.COM                  JMICHAEL.JOHNSONJR@BNYMELLON.COM


032512P001-1488A-002F                         032512P001-1488A-002F                          032512P001-1488A-002F                  032512P001-1488A-002F
UBS AG STAMFORD BRANCH                        UBS AG STAMFORD BRANCH                         UBS AG STAMFORD BRANCH                 UBS AG STAMFORD BRANCH
AS CUSTODIAN FOR UBSAG LONDON BRANCH          AS CUSTODIAN FOR UBSAG LONDON BRANCH           AS CUSTODIAN FOR UBSAG LONDON BRANCH   AS CUSTODIAN FOR UBSAG LONDON BRANCH
GREGORY CONTALDI - DIRECTOR                   GREGORY CONTALDI - DIRECTOR                    GREGORY CONTALDI - DIRECTOR            GREGORY CONTALDI - DIRECTOR
1000 HARBOR BLVD - 5TH FL                     1000 HARBOR BLVD - 5TH FL                      1000 HARBOR BLVD - 5TH FL              1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                           WEENHAWKEN NJ 07086                            WEENHAWKEN NJ 07086                    WEENHAWKEN NJ 07086
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM             DL-CA-MANAGER@UBS.COM                  OL-WMA-CA-REORG@UBS.COM


032512P001-1488A-002F                         032513P001-1488A-002F                          032513P001-1488A-002F                  032513P001-1488A-002F
UBS AG STAMFORD BRANCH                        UBS AG, STAMFORD BRANCH                        UBS AG, STAMFORD BRANCH                UBS AG, STAMFORD BRANCH
AS CUSTODIAN FOR UBSAG LONDON BRANCH          CARLOS LEDE                                    CARLOS LEDE                            CARLOS LEDE
GREGORY CONTALDI - DIRECTOR                   677 WASHINGTON BLVD                            677 WASHINGTON BLVD                    677 WASHINGTON BLVD
1000 HARBOR BLVD - 5TH FL                     STAMFORD CT 06901                              STAMFORD CT 06901                      STAMFORD CT 06901
WEENHAWKEN NJ 07086                           MICHAEL.HALLET@UBS.COM                         OL-WMA-CA-PROXY@UBS.COM                SCOTT.HARRIS@UBS.COM
DL-WMA-PHYSICAL-PROCESSING@UBS.COM


032513P001-1488A-002F                         032513P001-1488A-002F                          032513P001-1488A-002F                  032513P001-1488A-002F
UBS AG, STAMFORD BRANCH                       UBS AG, STAMFORD BRANCH                        UBS AG, STAMFORD BRANCH                UBS AG, STAMFORD BRANCH
CARLOS LEDE                                   CARLOS LEDE                                    CARLOS LEDE                            CARLOS LEDE
677 WASHINGTON BLVD                           677 WASHINGTON BLVD                            677 WASHINGTON BLVD                    677 WASHINGTON BLVD
STAMFORD CT 06901                             STAMFORD CT 06901                              STAMFORD CT 06901                      STAMFORD CT 06901
HEMANT.TIWARI@UBS.COM                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM     PXRPT@BNYMELLON.COM                    JUSTIN.WHITEHOUSE@BNYMELLON.COM
                                   Case 22-90032 Document 69GWG  Holdings,
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032513P001-1488A-002F                   032513P001-1488A-002F                        032513P001-1488A-002F                        032513P001-1488A-002F
UBS AG, STAMFORD BRANCH                 UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH
CARLOS LEDE                             CARLOS LEDE                                  CARLOS LEDE                                  CARLOS LEDE
677 WASHINGTON BLVD                     677 WASHINGTON BLVD                          677 WASHINGTON BLVD                          677 WASHINGTON BLVD
STAMFORD CT 06901                       STAMFORD CT 06901                            STAMFORD CT 06901                            STAMFORD CT 06901
OL-CA-MANAGERS@UBS.COM                  OL-WMA-CA-BONDREDEMPTION@UBS.COM             TRACEY.DREWE@UBS.COM                         JANE.FLOOD@UBS.COM




032513P001-1488A-002F                   032513P001-1488A-002F                        032513P001-1488A-002F                        032513P001-1488A-002F
UBS AG, STAMFORD BRANCH                 UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH
CARLOS LEDE                             CARLOS LEDE                                  CARLOS LEDE                                  CARLOS LEDE
677 WASHINGTON BLVD                     677 WASHINGTON BLVD                          677 WASHINGTON BLVD                          677 WASHINGTON BLVD
STAMFORD CT 06901                       STAMFORD CT 06901                            STAMFORD CT 06901                            STAMFORD CT 06901
PAVAN.MATAPATHI@UBS.COM                 DL-WMA-PROXY@UBS.COM                         SH-WMA-CAPROXYCLASSACTIONS@UBS.COM           SZYROKI.DC@MELLON.COM




032513P001-1488A-002F                   032513P001-1488A-002F                        032513P001-1488A-002F                        032513P001-1488A-002F
UBS AG, STAMFORD BRANCH                 UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH
CARLOS LEDE                             CARLOS LEDE                                  CARLOS LEDE                                  CARLOS LEDE
677 WASHINGTON BLVD                     677 WASHINGTON BLVD                          677 WASHINGTON BLVD                          677 WASHINGTON BLVD
STAMFORD CT 06901                       STAMFORD CT 06901                            STAMFORD CT 06901                            STAMFORD CT 06901
JMICHAEL.JOHNSONJR@BNYMELLON.COM        MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           DL-CA-MANAGER@UBS.COM




032513P001-1488A-002F                   032513P001-1488A-002F                        032514P001-1488A-002F                        032514P001-1488A-002F
UBS AG, STAMFORD BRANCH                 UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH
CARLOS LEDE                             CARLOS LEDE                                  AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN
677 WASHINGTON BLVD                     677 WASHINGTON BLVD                          CARLOS LEDE                                  CARLOS LEDE
STAMFORD CT 06901                       STAMFORD CT 06901                            677 WASHINGTON BLVD                          677 WASHINGTON BLVD
OL-WMA-CA-REORG@UBS.COM                 DL-WMA-PHYSICAL-PROCESSING@UBS.COM           STAMFORD CT 06901                            STAMFORD CT 06901
                                                                                     MICHAEL.HALLET@UBS.COM                       OL-WMA-CA-PROXY@UBS.COM


032514P001-1488A-002F                   032514P001-1488A-002F                        032514P001-1488A-002F                        032514P001-1488A-002F
UBS AG, STAMFORD BRANCH                 UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH
AC PB CLIENTS-NO UBS LIEN               AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN
CARLOS LEDE                             CARLOS LEDE                                  CARLOS LEDE                                  CARLOS LEDE
677 WASHINGTON BLVD                     677 WASHINGTON BLVD                          677 WASHINGTON BLVD                          677 WASHINGTON BLVD
STAMFORD CT 06901                       STAMFORD CT 06901                            STAMFORD CT 06901                            STAMFORD CT 06901
SCOTT.HARRIS@UBS.COM                    HEMANT.TIWARI@UBS.COM                        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032514P001-1488A-002F                   032514P001-1488A-002F                        032514P001-1488A-002F                        032514P001-1488A-002F
UBS AG, STAMFORD BRANCH                 UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH
AC PB CLIENTS-NO UBS LIEN               AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN
CARLOS LEDE                             CARLOS LEDE                                  CARLOS LEDE                                  CARLOS LEDE
677 WASHINGTON BLVD                     677 WASHINGTON BLVD                          677 WASHINGTON BLVD                          677 WASHINGTON BLVD
STAMFORD CT 06901                       STAMFORD CT 06901                            STAMFORD CT 06901                            STAMFORD CT 06901
JUSTIN.WHITEHOUSE@BNYMELLON.COM         OL-CA-MANAGERS@UBS.COM                       OL-WMA-CA-BONDREDEMPTION@UBS.COM             TRACEY.DREWE@UBS.COM
                                     Case 22-90032 Document 69GWG  Holdings,
                                                                Filed in TXSBInc.,
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032514P001-1488A-002F                     032514P001-1488A-002F                        032514P001-1488A-002F                032514P001-1488A-002F
UBS AG, STAMFORD BRANCH                   UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH              UBS AG, STAMFORD BRANCH
AC PB CLIENTS-NO UBS LIEN                 AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN            AC PB CLIENTS-NO UBS LIEN
CARLOS LEDE                               CARLOS LEDE                                  CARLOS LEDE                          CARLOS LEDE
677 WASHINGTON BLVD                       677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  677 WASHINGTON BLVD
STAMFORD CT 06901                         STAMFORD CT 06901                            STAMFORD CT 06901                    STAMFORD CT 06901
JANE.FLOOD@UBS.COM                        PAVAN.MATAPATHI@UBS.COM                      DL-WMA-PROXY@UBS.COM                 SH-WMA-CAPROXYCLASSACTIONS@UBS.COM


032514P001-1488A-002F                     032514P001-1488A-002F                        032514P001-1488A-002F                032514P001-1488A-002F
UBS AG, STAMFORD BRANCH                   UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH              UBS AG, STAMFORD BRANCH
AC PB CLIENTS-NO UBS LIEN                 AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN            AC PB CLIENTS-NO UBS LIEN
CARLOS LEDE                               CARLOS LEDE                                  CARLOS LEDE                          CARLOS LEDE
677 WASHINGTON BLVD                       677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  677 WASHINGTON BLVD
STAMFORD CT 06901                         STAMFORD CT 06901                            STAMFORD CT 06901                    STAMFORD CT 06901
SZYROKI.DC@MELLON.COM                     JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM         JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032514P001-1488A-002F                     032514P001-1488A-002F                        032514P001-1488A-002F                032515P001-1488A-002F
UBS AG, STAMFORD BRANCH                   UBS AG, STAMFORD BRANCH                      UBS AG, STAMFORD BRANCH              UBS AG, STAMFORD BRANCHIPA ACCOUNT
AC PB CLIENTS-NO UBS LIEN                 AC PB CLIENTS-NO UBS LIEN                    AC PB CLIENTS-NO UBS LIEN            ANTHONY CONTE
CARLOS LEDE                               CARLOS LEDE                                  CARLOS LEDE                          677 WASHINGTON BLVD
677 WASHINGTON BLVD                       677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  STAMFORD CT 06901
STAMFORD CT 06901                         STAMFORD CT 06901                            STAMFORD CT 06901                    MICHAEL.HALLET@UBS.COM
DL-CA-MANAGER@UBS.COM                     OL-WMA-CA-REORG@UBS.COM                      DL-WMA-PHYSICAL-PROCESSING@UBS.COM


032515P001-1488A-002F                     032515P001-1488A-002F                        032515P001-1488A-002F                032515P001-1488A-002F
UBS AG, STAMFORD BRANCHIPA ACCOUNT        UBS AG, STAMFORD BRANCHIPA ACCOUNT           UBS AG, STAMFORD BRANCHIPA ACCOUNT   UBS AG, STAMFORD BRANCHIPA ACCOUNT
ANTHONY CONTE                             ANTHONY CONTE                                ANTHONY CONTE                        ANTHONY CONTE
677 WASHINGTON BLVD                       677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  677 WASHINGTON BLVD
STAMFORD CT 06901                         STAMFORD CT 06901                            STAMFORD CT 06901                    STAMFORD CT 06901
OL-WMA-CA-PROXY@UBS.COM                   SCOTT.HARRIS@UBS.COM                         HEMANT.TIWARI@UBS.COM                GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




032515P001-1488A-002F                     032515P001-1488A-002F                        032515P001-1488A-002F                032515P001-1488A-002F
UBS AG, STAMFORD BRANCHIPA ACCOUNT        UBS AG, STAMFORD BRANCHIPA ACCOUNT           UBS AG, STAMFORD BRANCHIPA ACCOUNT   UBS AG, STAMFORD BRANCHIPA ACCOUNT
ANTHONY CONTE                             ANTHONY CONTE                                ANTHONY CONTE                        ANTHONY CONTE
677 WASHINGTON BLVD                       677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  677 WASHINGTON BLVD
STAMFORD CT 06901                         STAMFORD CT 06901                            STAMFORD CT 06901                    STAMFORD CT 06901
PXRPT@BNYMELLON.COM                       JUSTIN.WHITEHOUSE@BNYMELLON.COM              OL-CA-MANAGERS@UBS.COM               OL-WMA-CA-BONDREDEMPTION@UBS.COM




032515P001-1488A-002F                     032515P001-1488A-002F                        032515P001-1488A-002F                032515P001-1488A-002F
UBS AG, STAMFORD BRANCHIPA ACCOUNT        UBS AG, STAMFORD BRANCHIPA ACCOUNT           UBS AG, STAMFORD BRANCHIPA ACCOUNT   UBS AG, STAMFORD BRANCHIPA ACCOUNT
ANTHONY CONTE                             ANTHONY CONTE                                ANTHONY CONTE                        ANTHONY CONTE
677 WASHINGTON BLVD                       677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  677 WASHINGTON BLVD
STAMFORD CT 06901                         STAMFORD CT 06901                            STAMFORD CT 06901                    STAMFORD CT 06901
TRACEY.DREWE@UBS.COM                      JANE.FLOOD@UBS.COM                           PAVAN.MATAPATHI@UBS.COM              DL-WMA-PROXY@UBS.COM
                                         Case 22-90032 Document 69GWG  Holdings,
                                                                    Filed in TXSBInc.,
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032515P001-1488A-002F                         032515P001-1488A-002F                        032515P001-1488A-002F                032515P001-1488A-002F
UBS AG, STAMFORD BRANCHIPA ACCOUNT            UBS AG, STAMFORD BRANCHIPA ACCOUNT           UBS AG, STAMFORD BRANCHIPA ACCOUNT   UBS AG, STAMFORD BRANCHIPA ACCOUNT
ANTHONY CONTE                                 ANTHONY CONTE                                ANTHONY CONTE                        ANTHONY CONTE
677 WASHINGTON BLVD                           677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  677 WASHINGTON BLVD
STAMFORD CT 06901                             STAMFORD CT 06901                            STAMFORD CT 06901                    STAMFORD CT 06901
SH-WMA-CAPROXYCLASSACTIONS@UBS.COM            SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM     MATTHEW.BARTEL@BNYMELLON.COM




032515P001-1488A-002F                         032515P001-1488A-002F                        032515P001-1488A-002F                032515P001-1488A-002F
UBS AG, STAMFORD BRANCHIPA ACCOUNT            UBS AG, STAMFORD BRANCHIPA ACCOUNT           UBS AG, STAMFORD BRANCHIPA ACCOUNT   UBS AG, STAMFORD BRANCHIPA ACCOUNT
ANTHONY CONTE                                 ANTHONY CONTE                                ANTHONY CONTE                        ANTHONY CONTE
677 WASHINGTON BLVD                           677 WASHINGTON BLVD                          677 WASHINGTON BLVD                  677 WASHINGTON BLVD
STAMFORD CT 06901                             STAMFORD CT 06901                            STAMFORD CT 06901                    STAMFORD CT 06901
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM            DL-CA-MANAGER@UBS.COM                        OL-WMA-CA-REORG@UBS.COM              DL-WMA-PHYSICAL-PROCESSING@UBS.COM




032516P001-1488A-002F                         032516P001-1488A-002F                        032516P001-1488A-002F                032516P001-1488A-002F
UBS FINANCIAL SVC INC                         UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
JANE FLOOD                                    JANE FLOOD                                   JANE FLOOD                           JANE FLOOD
1000 HARBOR BLVD                              1000 HARBOR BLVD                             1000 HARBOR BLVD                     1000 HARBOR BLVD
WEEHAWKEN NJ 07086                            WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
MICHAEL.HALLET@UBS.COM                        OL-WMA-CA-PROXY@UBS.COM                      SCOTT.HARRIS@UBS.COM                 HEMANT.TIWARI@UBS.COM




032516P001-1488A-002F                         032516P001-1488A-002F                        032516P001-1488A-002F                032516P001-1488A-002F
UBS FINANCIAL SVC INC                         UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
JANE FLOOD                                    JANE FLOOD                                   JANE FLOOD                           JANE FLOOD
1000 HARBOR BLVD                              1000 HARBOR BLVD                             1000 HARBOR BLVD                     1000 HARBOR BLVD
WEEHAWKEN NJ 07086                            WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM      OL-CA-MANAGERS@UBS.COM




032516P001-1488A-002F                         032516P001-1488A-002F                        032516P001-1488A-002F                032516P001-1488A-002F
UBS FINANCIAL SVC INC                         UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
JANE FLOOD                                    JANE FLOOD                                   JANE FLOOD                           JANE FLOOD
1000 HARBOR BLVD                              1000 HARBOR BLVD                             1000 HARBOR BLVD                     1000 HARBOR BLVD
WEEHAWKEN NJ 07086                            WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
OL-WMA-CA-BONDREDEMPTION@UBS.COM              TRACEY.DREWE@UBS.COM                         JANE.FLOOD@UBS.COM                   PAVAN.MATAPATHI@UBS.COM




032516P001-1488A-002F                         032516P001-1488A-002F                        032516P001-1488A-002F                032516P001-1488A-002F
UBS FINANCIAL SVC INC                         UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
JANE FLOOD                                    JANE FLOOD                                   JANE FLOOD                           JANE FLOOD
1000 HARBOR BLVD                              1000 HARBOR BLVD                             1000 HARBOR BLVD                     1000 HARBOR BLVD
WEEHAWKEN NJ 07086                            WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
DL-WMA-PROXY@UBS.COM                          SH-WMA-CAPROXYCLASSACTIONS@UBS.COM           SZYROKI.DC@MELLON.COM                JMICHAEL.JOHNSONJR@BNYMELLON.COM
                                     Case 22-90032 Document 69GWG  Holdings,
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032516P001-1488A-002F                     032516P001-1488A-002F                        032516P001-1488A-002F                032516P001-1488A-002F
UBS FINANCIAL SVC INC                     UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
JANE FLOOD                                JANE FLOOD                                   JANE FLOOD                           JANE FLOOD
1000 HARBOR BLVD                          1000 HARBOR BLVD                             1000 HARBOR BLVD                     1000 HARBOR BLVD
WEEHAWKEN NJ 07086                        WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
MATTHEW.BARTEL@BNYMELLON.COM              JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           DL-CA-MANAGER@UBS.COM                OL-WMA-CA-REORG@UBS.COM




032516P001-1488A-002F                     032517P001-1488A-002F                        032517P001-1488A-002F                032517P001-1488A-002F
UBS FINANCIAL SVC INC                     UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
JANE FLOOD                                CORPORATE ACTIONS                            CORPORATE ACTIONS                    CORPORATE ACTIONS
1000 HARBOR BLVD                          1000 HARBOR DR                               1000 HARBOR DR                       1000 HARBOR DR
WEEHAWKEN NJ 07086                        WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
DL-WMA-PHYSICAL-PROCESSING@UBS.COM        MICHAEL.HALLET@UBS.COM                       OL-WMA-CA-PROXY@UBS.COM              SCOTT.HARRIS@UBS.COM




032517P001-1488A-002F                     032517P001-1488A-002F                        032517P001-1488A-002F                032517P001-1488A-002F
UBS FINANCIAL SVC INC                     UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
CORPORATE ACTIONS                         CORPORATE ACTIONS                            CORPORATE ACTIONS                    CORPORATE ACTIONS
1000 HARBOR DR                            1000 HARBOR DR                               1000 HARBOR DR                       1000 HARBOR DR
WEEHAWKEN NJ 07086                        WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
HEMANT.TIWARI@UBS.COM                     GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM                  JUSTIN.WHITEHOUSE@BNYMELLON.COM




032517P001-1488A-002F                     032517P001-1488A-002F                        032517P001-1488A-002F                032517P001-1488A-002F
UBS FINANCIAL SVC INC                     UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
CORPORATE ACTIONS                         CORPORATE ACTIONS                            CORPORATE ACTIONS                    CORPORATE ACTIONS
1000 HARBOR DR                            1000 HARBOR DR                               1000 HARBOR DR                       1000 HARBOR DR
WEEHAWKEN NJ 07086                        WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
OL-CA-MANAGERS@UBS.COM                    OL-WMA-CA-BONDREDEMPTION@UBS.COM             TRACEY.DREWE@UBS.COM                 JANE.FLOOD@UBS.COM




032517P001-1488A-002F                     032517P001-1488A-002F                        032517P001-1488A-002F                032517P001-1488A-002F
UBS FINANCIAL SVC INC                     UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
CORPORATE ACTIONS                         CORPORATE ACTIONS                            CORPORATE ACTIONS                    CORPORATE ACTIONS
1000 HARBOR DR                            1000 HARBOR DR                               1000 HARBOR DR                       1000 HARBOR DR
WEEHAWKEN NJ 07086                        WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
PAVAN.MATAPATHI@UBS.COM                   DL-WMA-PROXY@UBS.COM                         SH-WMA-CAPROXYCLASSACTIONS@UBS.COM   SZYROKI.DC@MELLON.COM




032517P001-1488A-002F                     032517P001-1488A-002F                        032517P001-1488A-002F                032517P001-1488A-002F
UBS FINANCIAL SVC INC                     UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INC                UBS FINANCIAL SVC INC
CORPORATE ACTIONS                         CORPORATE ACTIONS                            CORPORATE ACTIONS                    CORPORATE ACTIONS
1000 HARBOR DR                            1000 HARBOR DR                               1000 HARBOR DR                       1000 HARBOR DR
WEEHAWKEN NJ 07086                        WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                   WEEHAWKEN NJ 07086
JMICHAEL.JOHNSONJR@BNYMELLON.COM          MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM   DL-CA-MANAGER@UBS.COM
                                  Case 22-90032 Document 69GWG  Holdings,
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032517P001-1488A-002F                  032517P001-1488A-002F                        032518P001-1488A-002F                        032518P001-1488A-002F
UBS FINANCIAL SVC INC                  UBS FINANCIAL SVC INC                        UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT
CORPORATE ACTIONS                      CORPORATE ACTIONS                            SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2
1000 HARBOR DR                         1000 HARBOR DR                               JONATHAN BANKS                               JONATHAN BANKS
WEEHAWKEN NJ 07086                     WEEHAWKEN NJ 07086                           1200 HARBOR BLVD                             1200 HARBOR BLVD
OL-WMA-CA-REORG@UBS.COM                DL-WMA-PHYSICAL-PROCESSING@UBS.COM           WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086
                                                                                    MICHAEL.HALLET@UBS.COM                       OL-WMA-CA-PROXY@UBS.COM


032518P001-1488A-002F                  032518P001-1488A-002F                        032518P001-1488A-002F                        032518P001-1488A-002F
UBS FINANCIAL SVC INCGOVERNMENT        UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT
SECURITIES ACCOUNT #2                  SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2
JONATHAN BANKS                         JONATHAN BANKS                               JONATHAN BANKS                               JONATHAN BANKS
1200 HARBOR BLVD                       1200 HARBOR BLVD                             1200 HARBOR BLVD                             1200 HARBOR BLVD
WEEHAWKEN NJ 07086                     WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086
SCOTT.HARRIS@UBS.COM                   HEMANT.TIWARI@UBS.COM                        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM


032518P001-1488A-002F                  032518P001-1488A-002F                        032518P001-1488A-002F                        032518P001-1488A-002F
UBS FINANCIAL SVC INCGOVERNMENT        UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT
SECURITIES ACCOUNT #2                  SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2
JONATHAN BANKS                         JONATHAN BANKS                               JONATHAN BANKS                               JONATHAN BANKS
1200 HARBOR BLVD                       1200 HARBOR BLVD                             1200 HARBOR BLVD                             1200 HARBOR BLVD
WEEHAWKEN NJ 07086                     WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086
JUSTIN.WHITEHOUSE@BNYMELLON.COM        OL-CA-MANAGERS@UBS.COM                       OL-WMA-CA-BONDREDEMPTION@UBS.COM             TRACEY.DREWE@UBS.COM


032518P001-1488A-002F                  032518P001-1488A-002F                        032518P001-1488A-002F                        032518P001-1488A-002F
UBS FINANCIAL SVC INCGOVERNMENT        UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT
SECURITIES ACCOUNT #2                  SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2
JONATHAN BANKS                         JONATHAN BANKS                               JONATHAN BANKS                               JONATHAN BANKS
1200 HARBOR BLVD                       1200 HARBOR BLVD                             1200 HARBOR BLVD                             1200 HARBOR BLVD
WEEHAWKEN NJ 07086                     WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086
JANE.FLOOD@UBS.COM                     PAVAN.MATAPATHI@UBS.COM                      DL-WMA-PROXY@UBS.COM                         SH-WMA-CAPROXYCLASSACTIONS@UBS.COM


032518P001-1488A-002F                  032518P001-1488A-002F                        032518P001-1488A-002F                        032518P001-1488A-002F
UBS FINANCIAL SVC INCGOVERNMENT        UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT
SECURITIES ACCOUNT #2                  SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2
JONATHAN BANKS                         JONATHAN BANKS                               JONATHAN BANKS                               JONATHAN BANKS
1200 HARBOR BLVD                       1200 HARBOR BLVD                             1200 HARBOR BLVD                             1200 HARBOR BLVD
WEEHAWKEN NJ 07086                     WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086
SZYROKI.DC@MELLON.COM                  JMICHAEL.JOHNSONJR@BNYMELLON.COM             MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM


032518P001-1488A-002F                  032518P001-1488A-002F                        032518P001-1488A-002F                        032519P001-1488A-002F
UBS FINANCIAL SVC INCGOVERNMENT        UBS FINANCIAL SVC INCGOVERNMENT              UBS FINANCIAL SVC INCGOVERNMENT              UBS LIMITED
SECURITIES ACCOUNT #2                  SECURITIES ACCOUNT #2                        SECURITIES ACCOUNT #2                        TRACEY DREWE
JONATHAN BANKS                         JONATHAN BANKS                               JONATHAN BANKS                               1 FINSBURY AVE
1200 HARBOR BLVD                       1200 HARBOR BLVD                             1200 HARBOR BLVD                             LONDON EC2M 2PP
WEEHAWKEN NJ 07086                     WEEHAWKEN NJ 07086                           WEEHAWKEN NJ 07086                           UNITED KINGDOM
DL-CA-MANAGER@UBS.COM                  OL-WMA-CA-REORG@UBS.COM                      DL-WMA-PHYSICAL-PROCESSING@UBS.COM           MICHAEL.HALLET@UBS.COM
                                     Case 22-90032 Document 69GWG  Holdings,
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UBS LIMITED                               UBS LIMITED                               UBS LIMITED                        UBS LIMITED
TRACEY DREWE                              TRACEY DREWE                              TRACEY DREWE                       TRACEY DREWE
1 FINSBURY AVE                            1 FINSBURY AVE                            1 FINSBURY AVE                     1 FINSBURY AVE
LONDON EC2M 2PP                           LONDON EC2M 2PP                           LONDON EC2M 2PP                    LONDON EC2M 2PP
UNITED KINGDOM                            UNITED KINGDOM                            UNITED KINGDOM                     UNITED KINGDOM
OL-WMA-CA-PROXY@UBS.COM                   SCOTT.HARRIS@UBS.COM                      HEMANT.TIWARI@UBS.COM              GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM


032519P001-1488A-002F                     032519P001-1488A-002F                     032519P001-1488A-002F              032519P001-1488A-002F
UBS LIMITED                               UBS LIMITED                               UBS LIMITED                        UBS LIMITED
TRACEY DREWE                              TRACEY DREWE                              TRACEY DREWE                       TRACEY DREWE
1 FINSBURY AVE                            1 FINSBURY AVE                            1 FINSBURY AVE                     1 FINSBURY AVE
LONDON EC2M 2PP                           LONDON EC2M 2PP                           LONDON EC2M 2PP                    LONDON EC2M 2PP
UNITED KINGDOM                            UNITED KINGDOM                            UNITED KINGDOM                     UNITED KINGDOM
PXRPT@BNYMELLON.COM                       JUSTIN.WHITEHOUSE@BNYMELLON.COM           OL-CA-MANAGERS@UBS.COM             OL-WMA-CA-BONDREDEMPTION@UBS.COM


032519P001-1488A-002F                     032519P001-1488A-002F                     032519P001-1488A-002F              032519P001-1488A-002F
UBS LIMITED                               UBS LIMITED                               UBS LIMITED                        UBS LIMITED
TRACEY DREWE                              TRACEY DREWE                              TRACEY DREWE                       TRACEY DREWE
1 FINSBURY AVE                            1 FINSBURY AVE                            1 FINSBURY AVE                     1 FINSBURY AVE
LONDON EC2M 2PP                           LONDON EC2M 2PP                           LONDON EC2M 2PP                    LONDON EC2M 2PP
UNITED KINGDOM                            UNITED KINGDOM                            UNITED KINGDOM                     UNITED KINGDOM
TRACEY.DREWE@UBS.COM                      JANE.FLOOD@UBS.COM                        PAVAN.MATAPATHI@UBS.COM            DL-WMA-PROXY@UBS.COM


032519P001-1488A-002F                     032519P001-1488A-002F                     032519P001-1488A-002F              032519P001-1488A-002F
UBS LIMITED                               UBS LIMITED                               UBS LIMITED                        UBS LIMITED
TRACEY DREWE                              TRACEY DREWE                              TRACEY DREWE                       TRACEY DREWE
1 FINSBURY AVE                            1 FINSBURY AVE                            1 FINSBURY AVE                     1 FINSBURY AVE
LONDON EC2M 2PP                           LONDON EC2M 2PP                           LONDON EC2M 2PP                    LONDON EC2M 2PP
UNITED KINGDOM                            UNITED KINGDOM                            UNITED KINGDOM                     UNITED KINGDOM
SH-WMA-CAPROXYCLASSACTIONS@UBS.COM        SZYROKI.DC@MELLON.COM                     JMICHAEL.JOHNSONJR@BNYMELLON.COM   MATTHEW.BARTEL@BNYMELLON.COM


032519P001-1488A-002F                     032519P001-1488A-002F                     032519P001-1488A-002F              032519P001-1488A-002F
UBS LIMITED                               UBS LIMITED                               UBS LIMITED                        UBS LIMITED
TRACEY DREWE                              TRACEY DREWE                              TRACEY DREWE                       TRACEY DREWE
1 FINSBURY AVE                            1 FINSBURY AVE                            1 FINSBURY AVE                     1 FINSBURY AVE
LONDON EC2M 2PP                           LONDON EC2M 2PP                           LONDON EC2M 2PP                    LONDON EC2M 2PP
UNITED KINGDOM                            UNITED KINGDOM                            UNITED KINGDOM                     UNITED KINGDOM
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM        DL-CA-MANAGER@UBS.COM                     OL-WMA-CA-REORG@UBS.COM            DL-WMA-PHYSICAL-PROCESSING@UBS.COM


032520P001-1488A-002F                     032520P001-1488A-002F                     032520P001-1488A-002F              032520P001-1488A-002F
UBS SECURITIES CANADA INCCDS**            UBS SECURITIES CANADA INCCDS**            UBS SECURITIES CANADA INCCDS**     UBS SECURITIES CANADA INCCDS**
CORPORATE ACTIONS                         CORPORATE ACTIONS                         CORPORATE ACTIONS                  CORPORATE ACTIONS
161 BAY ST                                161 BAY ST                                161 BAY ST                         161 BAY ST
STE 4000                                  STE 4000                                  STE 4000                           STE 4000
TORONTO ON M5J 2S1                        TORONTO ON M5J 2S1                        TORONTO ON M5J 2S1                 TORONTO ON M5J 2S1
CANADA                                    CANADA                                    CANADA                             CANADA
MICHAEL.HALLET@UBS.COM                    OL-WMA-CA-PROXY@UBS.COM                   SCOTT.HARRIS@UBS.COM               HEMANT.TIWARI@UBS.COM
                                         Case 22-90032 Document 69GWG  Holdings,
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UBS SECURITIES CANADA INCCDS**                UBS SECURITIES CANADA INCCDS**               UBS SECURITIES CANADA INCCDS**    UBS SECURITIES CANADA INCCDS**
CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS                 CORPORATE ACTIONS
161 BAY ST                                    161 BAY ST                                   161 BAY ST                        161 BAY ST
STE 4000                                      STE 4000                                     STE 4000                          STE 4000
TORONTO ON M5J 2S1                            TORONTO ON M5J 2S1                           TORONTO ON M5J 2S1                TORONTO ON M5J 2S1
CANADA                                        CANADA                                       CANADA                            CANADA
GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM    PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM   OL-CA-MANAGERS@UBS.COM

032520P001-1488A-002F                         032520P001-1488A-002F                        032520P001-1488A-002F             032520P001-1488A-002F
UBS SECURITIES CANADA INCCDS**                UBS SECURITIES CANADA INCCDS**               UBS SECURITIES CANADA INCCDS**    UBS SECURITIES CANADA INCCDS**
CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS                 CORPORATE ACTIONS
161 BAY ST                                    161 BAY ST                                   161 BAY ST                        161 BAY ST
STE 4000                                      STE 4000                                     STE 4000                          STE 4000
TORONTO ON M5J 2S1                            TORONTO ON M5J 2S1                           TORONTO ON M5J 2S1                TORONTO ON M5J 2S1
CANADA                                        CANADA                                       CANADA                            CANADA
OL-WMA-CA-BONDREDEMPTION@UBS.COM              TRACEY.DREWE@UBS.COM                         JANE.FLOOD@UBS.COM                PAVAN.MATAPATHI@UBS.COM

032520P001-1488A-002F                         032520P001-1488A-002F                        032520P001-1488A-002F             032520P001-1488A-002F
UBS SECURITIES CANADA INCCDS**                UBS SECURITIES CANADA INCCDS**               UBS SECURITIES CANADA INCCDS**    UBS SECURITIES CANADA INCCDS**
CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS                 CORPORATE ACTIONS
161 BAY ST                                    161 BAY ST                                   161 BAY ST                        161 BAY ST
STE 4000                                      STE 4000                                     STE 4000                          STE 4000
TORONTO ON M5J 2S1                            TORONTO ON M5J 2S1                           TORONTO ON M5J 2S1                TORONTO ON M5J 2S1
CANADA                                        CANADA                                       CANADA                            CANADA
DL-WMA-PROXY@UBS.COM                          SH-WMA-CAPROXYCLASSACTIONS@UBS.COM           SZYROKI.DC@MELLON.COM             JMICHAEL.JOHNSONJR@BNYMELLON.COM

032520P001-1488A-002F                         032520P001-1488A-002F                        032520P001-1488A-002F             032520P001-1488A-002F
UBS SECURITIES CANADA INCCDS**                UBS SECURITIES CANADA INCCDS**               UBS SECURITIES CANADA INCCDS**    UBS SECURITIES CANADA INCCDS**
CORPORATE ACTIONS                             CORPORATE ACTIONS                            CORPORATE ACTIONS                 CORPORATE ACTIONS
161 BAY ST                                    161 BAY ST                                   161 BAY ST                        161 BAY ST
STE 4000                                      STE 4000                                     STE 4000                          STE 4000
TORONTO ON M5J 2S1                            TORONTO ON M5J 2S1                           TORONTO ON M5J 2S1                TORONTO ON M5J 2S1
CANADA                                        CANADA                                       CANADA                            CANADA
MATTHEW.BARTEL@BNYMELLON.COM                  JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           DL-CA-MANAGER@UBS.COM             OL-WMA-CA-REORG@UBS.COM

032520P001-1488A-002F                         032521P001-1488A-002F                        032521P001-1488A-002F             032521P001-1488A-002F
UBS SECURITIES CANADA INCCDS**                UBS SECURITIES LLC                           UBS SECURITIES LLC                UBS SECURITIES LLC
CORPORATE ACTIONS                             GREGORY CONTALDI                             GREGORY CONTALDI                  GREGORY CONTALDI
161 BAY ST                                    DIRECTOR                                     DIRECTOR                          DIRECTOR
STE 4000                                      1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL         1000 HARBOR BLVD - 5TH FL
TORONTO ON M5J 2S1                            WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086               WEENHAWKEN NJ 07086
CANADA                                        MICHAEL.HALLET@UBS.COM                       OL-WMA-CA-PROXY@UBS.COM           SCOTT.HARRIS@UBS.COM
DL-WMA-PHYSICAL-PROCESSING@UBS.COM

032521P001-1488A-002F                         032521P001-1488A-002F                        032521P001-1488A-002F             032521P001-1488A-002F
UBS SECURITIES LLC                            UBS SECURITIES LLC                           UBS SECURITIES LLC                UBS SECURITIES LLC
GREGORY CONTALDI                              GREGORY CONTALDI                             GREGORY CONTALDI                  GREGORY CONTALDI
DIRECTOR                                      DIRECTOR                                     DIRECTOR                          DIRECTOR
1000 HARBOR BLVD - 5TH FL                     1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL         1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                           WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086               WEENHAWKEN NJ 07086
HEMANT.TIWARI@UBS.COM                         GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM               JUSTIN.WHITEHOUSE@BNYMELLON.COM
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UBS SECURITIES LLC                      UBS SECURITIES LLC                           UBS SECURITIES LLC                           UBS SECURITIES LLC
GREGORY CONTALDI                        GREGORY CONTALDI                             GREGORY CONTALDI                             GREGORY CONTALDI
DIRECTOR                                DIRECTOR                                     DIRECTOR                                     DIRECTOR
1000 HARBOR BLVD - 5TH FL               1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                     WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086
OL-CA-MANAGERS@UBS.COM                  OL-WMA-CA-BONDREDEMPTION@UBS.COM             TRACEY.DREWE@UBS.COM                         JANE.FLOOD@UBS.COM


032521P001-1488A-002F                   032521P001-1488A-002F                        032521P001-1488A-002F                        032521P001-1488A-002F
UBS SECURITIES LLC                      UBS SECURITIES LLC                           UBS SECURITIES LLC                           UBS SECURITIES LLC
GREGORY CONTALDI                        GREGORY CONTALDI                             GREGORY CONTALDI                             GREGORY CONTALDI
DIRECTOR                                DIRECTOR                                     DIRECTOR                                     DIRECTOR
1000 HARBOR BLVD - 5TH FL               1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                     WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086
PAVAN.MATAPATHI@UBS.COM                 DL-WMA-PROXY@UBS.COM                         SH-WMA-CAPROXYCLASSACTIONS@UBS.COM           SZYROKI.DC@MELLON.COM


032521P001-1488A-002F                   032521P001-1488A-002F                        032521P001-1488A-002F                        032521P001-1488A-002F
UBS SECURITIES LLC                      UBS SECURITIES LLC                           UBS SECURITIES LLC                           UBS SECURITIES LLC
GREGORY CONTALDI                        GREGORY CONTALDI                             GREGORY CONTALDI                             GREGORY CONTALDI
DIRECTOR                                DIRECTOR                                     DIRECTOR                                     DIRECTOR
1000 HARBOR BLVD - 5TH FL               1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL                    1000 HARBOR BLVD - 5TH FL
WEENHAWKEN NJ 07086                     WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086                          WEENHAWKEN NJ 07086
JMICHAEL.JOHNSONJR@BNYMELLON.COM        MATTHEW.BARTEL@BNYMELLON.COM                 JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           DL-CA-MANAGER@UBS.COM


032521P001-1488A-002F                   032521P001-1488A-002F                        032522P001-1488A-002F                        032522P001-1488A-002F
UBS SECURITIES LLC                      UBS SECURITIES LLC                           UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO
GREGORY CONTALDI                        GREGORY CONTALDI                             SCOTT HARRIS                                 SCOTT HARRIS
DIRECTOR                                DIRECTOR                                     480 WASHINGTON BLVD                          480 WASHINGTON BLVD
1000 HARBOR BLVD - 5TH FL               1000 HARBOR BLVD - 5TH FL                    JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310
WEENHAWKEN NJ 07086                     WEENHAWKEN NJ 07086                          MICHAEL.HALLET@UBS.COM                       OL-WMA-CA-PROXY@UBS.COM
OL-WMA-CA-REORG@UBS.COM                 DL-WMA-PHYSICAL-PROCESSING@UBS.COM


032522P001-1488A-002F                   032522P001-1488A-002F                        032522P001-1488A-002F                        032522P001-1488A-002F
UBS SECURITIES LLC/CMO                  UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO
SCOTT HARRIS                            SCOTT HARRIS                                 SCOTT HARRIS                                 SCOTT HARRIS
480 WASHINGTON BLVD                     480 WASHINGTON BLVD                          480 WASHINGTON BLVD                          480 WASHINGTON BLVD
JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310
SCOTT.HARRIS@UBS.COM                    HEMANT.TIWARI@UBS.COM                        GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM   PXRPT@BNYMELLON.COM




032522P001-1488A-002F                   032522P001-1488A-002F                        032522P001-1488A-002F                        032522P001-1488A-002F
UBS SECURITIES LLC/CMO                  UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO
SCOTT HARRIS                            SCOTT HARRIS                                 SCOTT HARRIS                                 SCOTT HARRIS
480 WASHINGTON BLVD                     480 WASHINGTON BLVD                          480 WASHINGTON BLVD                          480 WASHINGTON BLVD
JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310
JUSTIN.WHITEHOUSE@BNYMELLON.COM         OL-CA-MANAGERS@UBS.COM                       OL-WMA-CA-BONDREDEMPTION@UBS.COM             TRACEY.DREWE@UBS.COM
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UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO                          UBS SECURITIES LLC/CMO                  UBS SECURITIES LLC/CMO
SCOTT HARRIS                                 SCOTT HARRIS                                    SCOTT HARRIS                            SCOTT HARRIS
480 WASHINGTON BLVD                          480 WASHINGTON BLVD                             480 WASHINGTON BLVD                     480 WASHINGTON BLVD
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
JANE.FLOOD@UBS.COM                           PAVAN.MATAPATHI@UBS.COM                         DL-WMA-PROXY@UBS.COM                    SH-WMA-CAPROXYCLASSACTIONS@UBS.COM




032522P001-1488A-002F                        032522P001-1488A-002F                           032522P001-1488A-002F                   032522P001-1488A-002F
UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO                          UBS SECURITIES LLC/CMO                  UBS SECURITIES LLC/CMO
SCOTT HARRIS                                 SCOTT HARRIS                                    SCOTT HARRIS                            SCOTT HARRIS
480 WASHINGTON BLVD                          480 WASHINGTON BLVD                             480 WASHINGTON BLVD                     480 WASHINGTON BLVD
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
SZYROKI.DC@MELLON.COM                        JMICHAEL.JOHNSONJR@BNYMELLON.COM                MATTHEW.BARTEL@BNYMELLON.COM            JOHN-HENRY.DOKTORSKI@BNYMELLON.COM




032522P001-1488A-002F                        032522P001-1488A-002F                           032522P001-1488A-002F                   032523P001-1488A-002F
UBS SECURITIES LLC/CMO                       UBS SECURITIES LLC/CMO                          UBS SECURITIES LLC/CMO                  UBS SECURITIES LLC/SECURITIES LENDING
SCOTT HARRIS                                 SCOTT HARRIS                                    SCOTT HARRIS                            GREGORY CONTALDI
480 WASHINGTON BLVD                          480 WASHINGTON BLVD                             480 WASHINGTON BLVD                     480 WASHINGTON BLVD 12TH FL
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
DL-CA-MANAGER@UBS.COM                        OL-WMA-CA-REORG@UBS.COM                         DL-WMA-PHYSICAL-PROCESSING@UBS.COM      MICHAEL.HALLET@UBS.COM




032523P001-1488A-002F                        032523P001-1488A-002F                           032523P001-1488A-002F                   032523P001-1488A-002F
UBS SECURITIES LLC/SECURITIES LENDING        UBS SECURITIES LLC/SECURITIES LENDING           UBS SECURITIES LLC/SECURITIES LENDING   UBS SECURITIES LLC/SECURITIES LENDING
GREGORY CONTALDI                             GREGORY CONTALDI                                GREGORY CONTALDI                        GREGORY CONTALDI
480 WASHINGTON BLVD 12TH FL                  480 WASHINGTON BLVD 12TH FL                     480 WASHINGTON BLVD 12TH FL             480 WASHINGTON BLVD 12TH FL
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
OL-WMA-CA-PROXY@UBS.COM                      SCOTT.HARRIS@UBS.COM                            HEMANT.TIWARI@UBS.COM                   GCE_INQUIRY_AMERICAS_CLIENTS@BNYMELLON.COM




032523P001-1488A-002F                        032523P001-1488A-002F                           032523P001-1488A-002F                   032523P001-1488A-002F
UBS SECURITIES LLC/SECURITIES LENDING        UBS SECURITIES LLC/SECURITIES LENDING           UBS SECURITIES LLC/SECURITIES LENDING   UBS SECURITIES LLC/SECURITIES LENDING
GREGORY CONTALDI                             GREGORY CONTALDI                                GREGORY CONTALDI                        GREGORY CONTALDI
480 WASHINGTON BLVD 12TH FL                  480 WASHINGTON BLVD 12TH FL                     480 WASHINGTON BLVD 12TH FL             480 WASHINGTON BLVD 12TH FL
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
PXRPT@BNYMELLON.COM                          JUSTIN.WHITEHOUSE@BNYMELLON.COM                 OL-CA-MANAGERS@UBS.COM                  OL-WMA-CA-BONDREDEMPTION@UBS.COM




032523P001-1488A-002F                        032523P001-1488A-002F                           032523P001-1488A-002F                   032523P001-1488A-002F
UBS SECURITIES LLC/SECURITIES LENDING        UBS SECURITIES LLC/SECURITIES LENDING           UBS SECURITIES LLC/SECURITIES LENDING   UBS SECURITIES LLC/SECURITIES LENDING
GREGORY CONTALDI                             GREGORY CONTALDI                                GREGORY CONTALDI                        GREGORY CONTALDI
480 WASHINGTON BLVD 12TH FL                  480 WASHINGTON BLVD 12TH FL                     480 WASHINGTON BLVD 12TH FL             480 WASHINGTON BLVD 12TH FL
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
TRACEY.DREWE@UBS.COM                         JANE.FLOOD@UBS.COM                              PAVAN.MATAPATHI@UBS.COM                 DL-WMA-PROXY@UBS.COM
                                        Case 22-90032 Document 69GWG  Holdings,
                                                                   Filed in TXSBInc.,
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032523P001-1488A-002F                        032523P001-1488A-002F                           032523P001-1488A-002F                   032523P001-1488A-002F
UBS SECURITIES LLC/SECURITIES LENDING        UBS SECURITIES LLC/SECURITIES LENDING           UBS SECURITIES LLC/SECURITIES LENDING   UBS SECURITIES LLC/SECURITIES LENDING
GREGORY CONTALDI                             GREGORY CONTALDI                                GREGORY CONTALDI                        GREGORY CONTALDI
480 WASHINGTON BLVD 12TH FL                  480 WASHINGTON BLVD 12TH FL                     480 WASHINGTON BLVD 12TH FL             480 WASHINGTON BLVD 12TH FL
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
SH-WMA-CAPROXYCLASSACTIONS@UBS.COM           SZYROKI.DC@MELLON.COM                           JMICHAEL.JOHNSONJR@BNYMELLON.COM        MATTHEW.BARTEL@BNYMELLON.COM




032523P001-1488A-002F                        032523P001-1488A-002F                           032523P001-1488A-002F                   032523P001-1488A-002F
UBS SECURITIES LLC/SECURITIES LENDING        UBS SECURITIES LLC/SECURITIES LENDING           UBS SECURITIES LLC/SECURITIES LENDING   UBS SECURITIES LLC/SECURITIES LENDING
GREGORY CONTALDI                             GREGORY CONTALDI                                GREGORY CONTALDI                        GREGORY CONTALDI
480 WASHINGTON BLVD 12TH FL                  480 WASHINGTON BLVD 12TH FL                     480 WASHINGTON BLVD 12TH FL             480 WASHINGTON BLVD 12TH FL
JERSEY CITY NJ 07310                         JERSEY CITY NJ 07310                            JERSEY CITY NJ 07310                    JERSEY CITY NJ 07310
JOHN-HENRY.DOKTORSKI@BNYMELLON.COM           DL-CA-MANAGER@UBS.COM                           OL-WMA-CA-REORG@UBS.COM                 DL-WMA-PHYSICAL-PROCESSING@UBS.COM




032524P001-1488A-002F                        032524P001-1488A-002F                           032525P001-1488A-002F                   032525P001-1488A-002F
UMB BANK, INVESTMENT DIVISION                UMB BANK, INVESTMENT DIVISION                   UMB BANK, NATIONAL ASSOCIATION          UMB BANK, NATIONAL ASSOCIATION
MATTHEW BROWN                                MATTHEW BROWN                                   VINCENT DUNCAN                          VINCENT DUNCAN
928 GRAND BLVD                               928 GRAND BLVD                                  928 GRAND BLVD                          928 GRAND BLVD
MS1010406                                    MS1010406                                       KANSAS CITY MO 64133                    KANSAS CITY MO 64133
KANSAS CITY MO 64106                         KANSAS CITY MO 64106                            VINCENT.DUNCAN@UMB.COM                  SAFEKEEPING@UMB.COM
MATTHEW.BROWN@UMB.COM                        SAFEKEEPING@UMB.COM


032502P001-1488A-002F                        032502P001-1488A-002F                           032502P001-1488A-002F                   032503P001-1488A-002F
US BANCORP INVESTMENTS, INC                  US BANCORP INVESTMENTS, INC                     US BANCORP INVESTMENTS, INC             US BANCORP INVESTMENTS, INC
REORG DEPT                                   REORG DEPT                                      REORG DEPT                              CHERICE TVEIT
60 LIVINGSTON AVE                            60 LIVINGSTON AVE                               60 LIVINGSTON AVE                       60 LIVINGSTON AVE
ST. PAUL MN 55107                            ST. PAUL MN 55107                               ST. PAUL MN 55107                       ST. PAUL MN 55107
USBIIREORGINCOME@USBANK.COM                  TRUSTCLASSACTIONS@USBANK.COM                    TRUST.PROXY@USBANK.COM                  USBIIREORGINCOME@USBANK.COM




032504P001-1488A-002F                        032504P001-1488A-002F                           032504P001-1488A-002F                   032504P001-1488A-002F
US BANK NA                                   US BANK NA                                      US BANK NA                              US BANK NA
STEPHANIE KAPTA                              STEPHANIE KAPTA                                 STEPHANIE KAPTA                         STEPHANIE KAPTA
1555 N RIVERCENTER DR                        1555 N RIVERCENTER DR                           1555 N RIVERCENTER DR                   1555 N RIVERCENTER DR
STE 302                                      STE 302                                         STE 302                                 STE 302
MILWAUKEE WI 53212                           MILWAUKEE WI 53212                              MILWAUKEE WI 53212                      MILWAUKEE WI 53212
STEPHANIE.STORCH@USBANK.COM                  STEPHANIE.KAPTA@USBANK.COM                      TRUSTCLASSACTIONS@USBANK.COM            TRUST.PROXY@USBANK.COM


032504P001-1488A-002F                        032505P001-1488A-002F                           032505P001-1488A-002F                   032505P001-1488A-002F
US BANK NA                                   US BANK NACP                                    US BANK NACP                            US BANK NACP
STEPHANIE KAPTA                              STEPHANIE STORCH                                STEPHANIE STORCH                        STEPHANIE STORCH
1555 N RIVERCENTER DR                        1555 N RIVERCENTER DR                           1555 N RIVERCENTER DR                   1555 N RIVERCENTER DR
STE 302                                      STE 302                                         STE 302                                 STE 302
MILWAUKEE WI 53212                           MILWAUKEE WI 53212                              MILWAUKEE WI 53212                      MILWAUKEE WI 53212
USBIIREORGINCOME@USBANK.COM                  TRUSTCLASSACTIONS@USBANK.COM                    TRUST.PROXY@USBANK.COM                  USBIIREORGINCOME@USBANK.COM
                                     Case 22-90032 Document 69GWG  Holdings,
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032506P001-1488A-002F                     032506P001-1488A-002F                          032506P001-1488A-002F                032507P001-1488A-002F
US BANK NAETF                             US BANK NAETF                                  US BANK NAETF                        US BANK NAQUASAR DISTRIBUTORS, LLC
STEPHANIE STORCH/MATTHEW LYNCH            STEPHANIE STORCH/MATTHEW LYNCH                 STEPHANIE STORCH/MATTHEW LYNCH       SUBACCOUNTING AGENT
1555 N RIVERCENTER DR                     1555 N RIVERCENTER DR                          1555 N RIVERCENTER DR                STEPHANIE KAPTA
STE 302                                   STE 302                                        STE 302                              1555 N RIVERCENTER DR
MILWAUKEE WI 53212                        MILWAUKEE WI 53212                             MILWAUKEE WI 53212                   STE 302
TRUSTCLASSACTIONS@USBANK.COM              TRUST.PROXY@USBANK.COM                         USBIIREORGINCOME@USBANK.COM          MILWAUKEE WI 53212
                                                                                                                              STEPHANIE.STORCH@USBANK.COM

032507P001-1488A-002F                     032507P001-1488A-002F                          032507P001-1488A-002F                032507P001-1488A-002F
US BANK NAQUASAR DISTRIBUTORS, LLC        US BANK NAQUASAR DISTRIBUTORS, LLC             US BANK NAQUASAR DISTRIBUTORS, LLC   US BANK NAQUASAR DISTRIBUTORS, LLC
SUBACCOUNTING AGENT                       SUBACCOUNTING AGENT                            SUBACCOUNTING AGENT                  SUBACCOUNTING AGENT
STEPHANIE KAPTA                           STEPHANIE KAPTA                                STEPHANIE KAPTA                      STEPHANIE KAPTA
1555 N RIVERCENTER DR                     1555 N RIVERCENTER DR                          1555 N RIVERCENTER DR                1555 N RIVERCENTER DR
STE 302                                   STE 302                                        STE 302                              STE 302
MILWAUKEE WI 53212                        MILWAUKEE WI 53212                             MILWAUKEE WI 53212                   MILWAUKEE WI 53212
STEPHANIE.KAPTA@USBANK.COM                TRUSTCLASSACTIONS@USBANK.COM                   TRUST.PROXY@USBANK.COM               USBIIREORGINCOME@USBANK.COM

032508P001-1488A-002F                     032508P001-1488A-002F                          032508P001-1488A-002F                032509P001-1488A-002F
US BANK NASAFEKEEPING WEST                US BANK NASAFEKEEPING WEST                     US BANK NASAFEKEEPING WEST           US BANK NATHIRD PARTY LENDING
STEPHANIE STORCH                          STEPHANIE STORCH                               STEPHANIE STORCH                     SCOTT OLSON
1555 N RIVERCENTER DR                     1555 N RIVERCENTER DR                          1555 N RIVERCENTER DR                1555 N RIVERCENTER DR
STE 302                                   STE 302                                        STE 302                              STE 302
MILWAUKEE WI 53212                        MILWAUKEE WI 53212                             MILWAUKEE WI 53212                   MILWAUKEE WI 53212
TRUSTCLASSACTIONS@USBANK.COM              TRUST.PROXY@USBANK.COM                         USBIIREORGINCOME@USBANK.COM          TRUSTCLASSACTIONS@USBANK.COM


032509P001-1488A-002F                     032509P001-1488A-002F                          032510P001-1488A-002F                032510P001-1488A-002F
US BANK NATHIRD PARTY LENDING             US BANK NATHIRD PARTY LENDING                  US BANK NATRUST NY MTN               US BANK NATRUST NY MTN
SCOTT OLSON                               SCOTT OLSON                                    MATT LYNCH                           MATT LYNCH
1555 N RIVERCENTER DR                     1555 N RIVERCENTER DR                          1555 N RIVER CTR DR                  1555 N RIVER CTR DR
STE 302                                   STE 302                                        STE 302                              STE 302
MILWAUKEE WI 53212                        MILWAUKEE WI 53212                             MILWAUKEE WI 53212                   MILWAUKEE WI 53212
TRUST.PROXY@USBANK.COM                    USBIIREORGINCOME@USBANK.COM                    TRUSTCLASSACTIONS@USBANK.COM         TRUST.PROXY@USBANK.COM


032510P001-1488A-002F                     032511P001-1488A-002F                          032511P001-1488A-002F                032511P001-1488A-002F
US BANK NATRUST NY MTN                    US BANK, NA                                    US BANK, NA                          US BANK, NA
MATT LYNCH                                US BANK MUNICIPAL SECURITIES GROUP             US BANK MUNICIPAL SECURITIES GROUP   US BANK MUNICIPAL SECURITIES GROUP
1555 N RIVER CTR DR                       MATT LYNCH                                     MATT LYNCH                           MATT LYNCH
STE 302                                   1555 N RIVER CTR DR                            1555 N RIVER CTR DR                  1555 N RIVER CTR DR
MILWAUKEE WI 53212                        STE 302                                        STE 302                              STE 302
USBIIREORGINCOME@USBANK.COM               MILWAUKEE WI 53212                             MILWAUKEE WI 53212                   MILWAUKEE WI 53212
                                          TRUSTCLASSACTIONS@USBANK.COM                   TRUST.PROXY@USBANK.COM               USBIIREORGINCOME@USBANK.COM

032526P001-1488A-002F                     032527P001-1488A-002F                          032527P001-1488A-002F                032527P001-1488A-002F
VANGUARD MARKETING CORP                   VISION FINANCIAL MARKETS LLC                   VISION FINANCIAL MARKETS LLC         VISION FINANCIAL MARKETS LLC
BEN BEGUIN                                ANA MARTINEZ                                   ANA MARTINEZ                         ANA MARTINEZ
14321 N NORTHSIGHT BLVD                   120 LONG RIDGE RD                              120 LONG RIDGE RD                    120 LONG RIDGE RD
SCOTTSDALE AZ 85260                       3 NORTH                                        3 NORTH                              3 NORTH
VBS_CORPORATE_ACTIONS@VANGUARD.COM        STAMFORD CT 06902                              STAMFORD CT 06902                    STAMFORD CT 06902
                                          AMARTINEZ@VISIONFINANCIALMARKETS.COM           REORGS@VISIONFINANCIALMARKETS.COM    LLUCIEN@VFMARKETS.COM
                                        Case 22-90032 Document 69GWG  Holdings,
                                                                   Filed in TXSBInc.,
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032527P001-1488A-002F                             032528P001-1488A-002F                          032528P001-1488A-002F                   032528P001-1488A-002F
VISION FINANCIAL MARKETS LLC                      VISION FINANCIAL MARKETS LLC                   VISION FINANCIAL MARKETS LLC            VISION FINANCIAL MARKETS LLC
ANA MARTINEZ                                      ANA MARTINEZ                                   ANA MARTINEZ                            ANA MARTINEZ
120 LONG RIDGE RD                                 CORPORATE ACTIONS                              CORPORATE ACTIONS                       CORPORATE ACTIONS
3 NORTH                                           4 HIGH RIDGE PK                                4 HIGH RIDGE PK                         4 HIGH RIDGE PK
STAMFORD CT 06902                                 STAMFORD CT 06804                              STAMFORD CT 06804                       STAMFORD CT 06804
SECURITIESOPS@VFMARKETS.COM                       AMARTINEZ@VISIONFINANCIALMARKETS.COM           REORGS@VISIONFINANCIALMARKETS.COM       LLUCIEN@VFMARKETS.COM


032528P001-1488A-002F                             032529P001-1488A-002F                          032529P001-1488A-002F                   032529P001-1488A-002F
VISION FINANCIAL MARKETS LLC                      VISION FINANCIAL MARKETS LLC                   VISION FINANCIAL MARKETS LLC            VISION FINANCIAL MARKETS LLC
ANA MARTINEZ                                      SECURITIES LENDING                             SECURITIES LENDING                      SECURITIES LENDING
CORPORATE ACTIONS                                 ANA MARTINEZ                                   ANA MARTINEZ                            ANA MARTINEZ
4 HIGH RIDGE PK                                   120 LONG RIDGE RD                              120 LONG RIDGE RD                       120 LONG RIDGE RD
STAMFORD CT 06804                                 3 NORTH                                        3 NORTH                                 3 NORTH
SECURITIESOPS@VFMARKETS.COM                       STAMFORD CT 06902                              STAMFORD CT 06902                       STAMFORD CT 06902
                                                  AMARTINEZ@VISIONFINANCIALMARKETS.COM           REORGS@VISIONFINANCIALMARKETS.COM       LLUCIEN@VFMARKETS.COM

032529P001-1488A-002F                             032530P001-1488A-002F                          032530P001-1488A-002F                   032530P001-1488A-002F
VISION FINANCIAL MARKETS LLC                      WEDBUSH SECURITIES INC                         WEDBUSH SECURITIES INC                  WEDBUSH SECURITIES INC
SECURITIES LENDING                                DONNA WONG                                     DONNA WONG                              DONNA WONG
ANA MARTINEZ                                      1000 WILSHIRE BLVD                             1000 WILSHIRE BLVD                      1000 WILSHIRE BLVD
120 LONG RIDGE RD                                 LOS ANGELES CA 90030                           LOS ANGELES CA 90030                    LOS ANGELES CA 90030
3 NORTH                                           DONNA.WONG@WEDBUSH.COM                         CARMEN.RIVERA@WEDBUSH.COM               ALAN.FERREIRA@WEDBUSH.COM
STAMFORD CT 06902
SECURITIESOPS@VFMARKETS.COM

032531P001-1488A-002F                             032532P001-1488A-002F                          032533P001-1488A-002F                   032534P001-1488A-002F
WEDBUSH SECURITIES INC                            WEDBUSH SECURITIES INCP3                       WEDBUSH SECURITIES INCPC STOCK LOAN     WEDBUSH SECURITIES INCSTOCK LOAN
ALAN FERREIRA                                     ALAN FERREIRA                                  ALAN FERREIRA                           ALAN FERREIRA
PO BOX 30014                                      1000 WILSHIRE BLVD                             1000 WILSHIRE BLVD                      1000 WILSHIRE BLVD
LOS ANGELES CA 90030                              STE #850                                       LOS ANGELES CA 90030                    LOS ANGELES CA 90017
ALAN.FERREIRA@WEDBUSH.COM                         LOS ANGELES CA 90030                           ALAN.FERREIRA@WEDBUSH.COM               GREG.ONEAL@WEDBUSH.COM
                                                  ALAN.FERREIRA@WEDBUSH.COM


032534P001-1488A-002F                             032535P001-1488A-002F                          032535P001-1488A-002F                   032536P001-1488A-002F
WEDBUSH SECURITIES INCSTOCK LOAN                  WEDBUSH SECURITIES INCSTOCK LOAN               WEDBUSH SECURITIES INCSTOCK LOAN        WELLS FARGO ADVISORS, LLC
ALAN FERREIRA                                     CORPORATE ACTIONS CARMEN RIVERA                CORPORATE ACTIONS CARMEN RIVERA         ROBERT MATERA
1000 WILSHIRE BLVD                                1000 WILSHIRE BLVD                             1000 WILSHIRE BLVD                      1525 WEST WT HARRIS BLVD
LOS ANGELES CA 90017                              LOS ANGELES CA 90017                           LOS ANGELES CA 90017                    CHARLOTTE NC 28262
ALAN.FERREIRA@WEDBUSH.COM                         CARMEN.RIVERA@WEDBUSH.COM                      ALAN.FERREIRA@WEDBUSH.COM               VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM




032536P001-1488A-002F                             032536P001-1488A-002F                          032536P001-1488A-002F                   032536P001-1488A-002F
WELLS FARGO ADVISORS, LLC                         WELLS FARGO ADVISORS, LLC                      WELLS FARGO ADVISORS, LLC               WELLS FARGO ADVISORS, LLC
ROBERT MATERA                                     ROBERT MATERA                                  ROBERT MATERA                           ROBERT MATERA
1525 WEST WT HARRIS BLVD                          1525 WEST WT HARRIS BLVD                       1525 WEST WT HARRIS BLVD                1525 WEST WT HARRIS BLVD
CHARLOTTE NC 28262                                CHARLOTTE NC 28262                             CHARLOTTE NC 28262                      CHARLOTTE NC 28262
WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM                   BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM   FINESSA.ROSSON@WELLSFARGOADVISORS.COM
                                           Case 22-90032 Document 69GWG  Holdings,
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032537P001-1488A-002F                             032537P001-1488A-002F                             032537P001-1488A-002F                             032537P001-1488A-002F
WELLS FARGO BANK NASIG WELLS FARG                 WELLS FARGO BANK NASIG WELLS FARG                 WELLS FARGO BANK NASIG WELLS FARG                 WELLS FARGO BANK NASIG WELLS FARG
ROBERT MATERA                                     ROBERT MATERA                                     ROBERT MATERA                                     ROBERT MATERA
ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT
CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675
1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1
CHARLOTTE NC 28262                                CHARLOTTE NC 28262                                CHARLOTTE NC 28262                                CHARLOTTE NC 28262
VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM          WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM                      BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM

032537P001-1488A-002F                             032538P001-1488A-002F                             032538P001-1488A-002F                             032538P001-1488A-002F
WELLS FARGO BANK NASIG WELLS FARG                 WELLS FARGO BANK, NA ISSUINGPAYING AGENT          WELLS FARGO BANK, NA ISSUINGPAYING AGENT          WELLS FARGO BANK, NA ISSUINGPAYING AGENT
ROBERT MATERA                                     LIZ GALL HANSON                                   LIZ GALL HANSON                                   LIZ GALL HANSON
ASSISTANT VICE PRESIDENT                          608 2ND AVE S                                     608 2ND AVE S                                     608 2ND AVE S
CORP ACTIONS - NC0675                             MINNEAPOLIS MN 55434                              MINNEAPOLIS MN 55434                              MINNEAPOLIS MN 55434
1525 WEST WT HARRIS BLVD 1B1                      VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM          WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM
CHARLOTTE NC 28262
FINESSA.ROSSON@WELLSFARGOADVISORS.COM

032538P001-1488A-002F                             032538P001-1488A-002F                             032539P001-1488A-002F                             032539P001-1488A-002F
WELLS FARGO BANK, NA ISSUINGPAYING AGENT          WELLS FARGO BANK, NA ISSUINGPAYING AGENT          WELLS FARGO BANK, NALENDING                       WELLS FARGO BANK, NALENDING
LIZ GALL HANSON                                   LIZ GALL HANSON                                   FRANK SOUDER                                      FRANK SOUDER
608 2ND AVE S                                     608 2ND AVE S                                     51 JFK PKWY                                       51 JFK PKWY
MINNEAPOLIS MN 55434                              MINNEAPOLIS MN 55434                              SHORT HILLS NJ 07078                              SHORT HILLS NJ 07078
BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM             VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM          WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM




032539P001-1488A-002F                             032539P001-1488A-002F                             032539P001-1488A-002F                             032540P001-1488A-002F
WELLS FARGO BANK, NALENDING                       WELLS FARGO BANK, NALENDING                       WELLS FARGO BANK, NALENDING                       WELLS FARGO BANK, NASIG
FRANK SOUDER                                      FRANK SOUDER                                      FRANK SOUDER                                      ROBERT MATERA
51 JFK PKWY                                       51 JFK PKWY                                       51 JFK PKWY                                       VICE PRESIDENT
SHORT HILLS NJ 07078                              SHORT HILLS NJ 07078                              SHORT HILLS NJ 07078                              1525 W W T HARRIS BLVD
MEREDICE.ROWE@WELLSFARGO.COM                      BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM             1ST FL
                                                                                                                                                      CHARLOTTE NC 28262-8522
                                                                                                                                                      VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM

032540P001-1488A-002F                             032540P001-1488A-002F                             032540P001-1488A-002F                             032540P001-1488A-002F
WELLS FARGO BANK, NASIG                           WELLS FARGO BANK, NASIG                           WELLS FARGO BANK, NASIG                           WELLS FARGO BANK, NASIG
ROBERT MATERA                                     ROBERT MATERA                                     ROBERT MATERA                                     ROBERT MATERA
VICE PRESIDENT                                    VICE PRESIDENT                                    VICE PRESIDENT                                    VICE PRESIDENT
1525 W W T HARRIS BLVD                            1525 W W T HARRIS BLVD                            1525 W W T HARRIS BLVD                            1525 W W T HARRIS BLVD
1ST FL                                            1ST FL                                            1ST FL                                            1ST FL
CHARLOTTE NC 28262-8522                           CHARLOTTE NC 28262-8522                           CHARLOTTE NC 28262-8522                           CHARLOTTE NC 28262-8522
WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM                      BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM

032541P001-1488A-002F                             032541P001-1488A-002F                             032541P001-1488A-002F                             032541P001-1488A-002F
WELLS FARGO BANK, NASIG                           WELLS FARGO BANK, NASIG                           WELLS FARGO BANK, NASIG                           WELLS FARGO BANK, NASIG
APRIL S POWERS                                    APRIL S POWERS                                    APRIL S POWERS                                    APRIL S POWERS
CORPORATE ACTIONS                                 CORPORATE ACTIONS                                 CORPORATE ACTIONS                                 CORPORATE ACTIONS
550 S TRYON ST                                    550 S TRYON ST                                    550 S TRYON ST                                    550 S TRYON ST
CHARLOTTE NC 28202                                CHARLOTTE NC 28202                                CHARLOTTE NC 28202                                CHARLOTTE NC 28202
APRIL.POWERS2@WELLSFARGO.COM                      VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM          WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM
                                            Case 22-90032 Document 69GWG  Holdings,
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032541P001-1488A-002F                            032541P001-1488A-002F                             032542P001-1488A-002F                             032542P001-1488A-002F
WELLS FARGO BANK, NASIG                          WELLS FARGO BANK, NASIG                           WELLS FARGO BANK, NATIONAL ASSOCIATION            WELLS FARGO BANK, NATIONAL ASSOCIATION
APRIL S POWERS                                   APRIL S POWERS                                    LORA DAHLE                                        LORA DAHLE
CORPORATE ACTIONS                                CORPORATE ACTIONS                                 CORPORATE ACTIONS                                 CORPORATE ACTIONS
550 S TRYON ST                                   550 S TRYON ST                                    550 SOUTH 4TH ST                                  550 SOUTH 4TH ST
CHARLOTTE NC 28202                               CHARLOTTE NC 28202                                MAC N9310-141                                     MAC N9310-141
BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM            FINESSA.ROSSON@WELLSFARGOADVISORS.COM             MINNEAPOLIS MN 55415                              MINNEAPOLIS MN 55415
                                                                                                   VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM          WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM

032542P001-1488A-002F                            032542P001-1488A-002F                             032542P001-1488A-002F                             032542P001-1488A-002F
WELLS FARGO BANK, NATIONAL ASSOCIATION           WELLS FARGO BANK, NATIONAL ASSOCIATION            WELLS FARGO BANK, NATIONAL ASSOCIATION            WELLS FARGO BANK, NATIONAL ASSOCIATION
LORA DAHLE                                       LORA DAHLE                                        LORA DAHLE                                        LORA DAHLE
CORPORATE ACTIONS                                CORPORATE ACTIONS                                 CORPORATE ACTIONS                                 CORPORATE ACTIONS
550 SOUTH 4TH ST                                 550 SOUTH 4TH ST                                  550 SOUTH 4TH ST                                  550 SOUTH 4TH ST
MAC N9310-141                                    MAC N9310-141                                     MAC N9310-141                                     MAC N9310-141
MINNEAPOLIS MN 55415                             MINNEAPOLIS MN 55415                              MINNEAPOLIS MN 55415                              MINNEAPOLIS MN 55415
MEREDICE.ROWE@WELLSFARGO.COM                     BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM             SCOTT.VANHAVERMAET@WELLSFARGO.COM

032543P001-1488A-002F                            032543P001-1488A-002F                             032543P001-1488A-002F                             032543P001-1488A-002F
WELLS FARGO BANK, NATIONAL ASSOCIATION           WELLS FARGO BANK, NATIONAL ASSOCIATION            WELLS FARGO BANK, NATIONAL ASSOCIATION            WELLS FARGO BANK, NATIONAL ASSOCIATION
CORPORATE ACTIONS                                CORPORATE ACTIONS                                 CORPORATE ACTIONS                                 CORPORATE ACTIONS
733 MARQUETTE AVENUE-5TH FL                      733 MARQUETTE AVENUE-5TH FL                       733 MARQUETTE AVENUE-5TH FL                       733 MARQUETTE AVENUE-5TH FL
MINNEAPOLIS MN 55479                             MINNEAPOLIS MN 55479                              MINNEAPOLIS MN 55479                              MINNEAPOLIS MN 55479
LORA.A.DAHLE@WELLSFARGO.COM                      VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM          WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM




032543P001-1488A-002F                            032543P001-1488A-002F                             032544P001-1488A-002F                             032544P001-1488A-002F
WELLS FARGO BANK, NATIONAL ASSOCIATION           WELLS FARGO BANK, NATIONAL ASSOCIATION            WELLS FARGO SECURITIES, LLC                       WELLS FARGO SECURITIES, LLC
CORPORATE ACTIONS                                CORPORATE ACTIONS                                 ROBERT MATERA                                     ROBERT MATERA
733 MARQUETTE AVENUE-5TH FL                      733 MARQUETTE AVENUE-5TH FL                       ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT
MINNEAPOLIS MN 55479                             MINNEAPOLIS MN 55479                              CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675
BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM            FINESSA.ROSSON@WELLSFARGOADVISORS.COM             1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1
                                                                                                   CHARLOTTE NC 28262                                CHARLOTTE NC 28262
                                                                                                   VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM          WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM

032544P001-1488A-002F                            032544P001-1488A-002F                             032544P001-1488A-002F                             032545P001-1488A-002F
WELLS FARGO SECURITIES, LLC                      WELLS FARGO SECURITIES, LLC                       WELLS FARGO SECURITIES, LLC                       WELLS FARGO SECURITIES, LLCSECURITIES FINANCE
ROBERT MATERA                                    ROBERT MATERA                                     ROBERT MATERA                                     STEVE TURNER
ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT
CORP ACTIONS - NC0675                            CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675
1525 WEST WT HARRIS BLVD 1B1                     1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1
CHARLOTTE NC 28262                               CHARLOTTE NC 28262                                CHARLOTTE NC 28262                                CHARLOTTE NC 28262
MEREDICE.ROWE@WELLSFARGO.COM                     BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM             FINESSA.ROSSON@WELLSFARGOADVISORS.COM             STEVE.TURNER@WACHOVIA.COM

032545P001-1488A-002F                            032545P001-1488A-002F                             032545P001-1488A-002F                             032545P001-1488A-002F
WELLS FARGO SECURITIES, LLCSECURITIES FINANCE    WELLS FARGO SECURITIES, LLCSECURITIES FINANCE     WELLS FARGO SECURITIES, LLCSECURITIES FINANCE     WELLS FARGO SECURITIES, LLCSECURITIES FINANCE
STEVE TURNER                                     STEVE TURNER                                      STEVE TURNER                                      STEVE TURNER
ASSISTANT VICE PRESIDENT                         ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT                          ASSISTANT VICE PRESIDENT
CORP ACTIONS - NC0675                            CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675                             CORP ACTIONS - NC0675
1525 WEST WT HARRIS BLVD 1B1                     1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1                      1525 WEST WT HARRIS BLVD 1B1
CHARLOTTE NC 28262                               CHARLOTTE NC 28262                                CHARLOTTE NC 28262                                CHARLOTTE NC 28262
VOLUNTARYCORPORATEACTIONS@WELLSFARGO.COM         WFSPRIMESERVICESCORPORATEACTIONS@WELLSFARGO.COM   MEREDICE.ROWE@WELLSFARGO.COM                      BRIAN.ARTIMISI@WELLSFARGOADVISORS.COM
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032545P001-1488A-002F                                032546P001-1488A-002F               032547P001-1488A-002F            032547P001-1488A-002F
WELLS FARGO SECURITIES, LLCSECURITIES FINANCE        WESBANCO BANK, INC                  WILLIAM BLAIR AND COMPANY, LLC   WILLIAM BLAIR AND COMPANY, LLC
STEVE TURNER                                         SUSAN KOVAL                         MARIUSZ NIEDBALEC                MARIUSZ NIEDBALEC
ASSISTANT VICE PRESIDENT                             ONE BANK PLAZQ                      222 WEST ADAMS ST                222 WEST ADAMS ST
CORP ACTIONS - NC0675                                WHEELING WV 26003                   CHICAGO IL 60606                 CHICAGO IL 60606
1525 WEST WT HARRIS BLVD 1B1                         KOVAL@WESBANCO.COM                  MNIEDBALEC@WILLIAMBLAIR.COM      INSTITUTIONALSETTLEMENTS@WILLIAMBLAIR.COM
CHARLOTTE NC 28262
FINESSA.ROSSON@WELLSFARGOADVISORS.COM

032547P001-1488A-002F                                032548P001-1488A-002F
WILLIAM BLAIR AND COMPANY, LLC                       ZIONS FIRST NATIONAL BANK
MARIUSZ NIEDBALEC                                    JOHN RIZZO
222 WEST ADAMS ST                                    VICE PRESIDENT
CHICAGO IL 60606                                     1 SOUTH MAIN 17TH FL
WILLIAMBLAIRREORG@BROADRIDGE.COM                     SALT LAKE CITY UT 84111
                                                     JRIZZO@ZIONSBANK.COM




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000783P002-1488A-002H                           000784P002-1488A-002H                           000785P002-1488A-002H                          000786P002-1488A-002H
DELAWARE TRUST CO AS TRUSTEE                    DELAWARE TRUST CO AS TRUSTEE                    DELAWARE TRUST CO AS TRUSTEE                   DELAWARE TRUST CO AS TRUSTEE
FBO: LT-26A CUSTODY TRUST                       FBO: LT-25A CUSTODY TRUST                       FBO: LT-24A CUSTODY TRUST                      FBO: LT-23A CUSTODY TRUST
JAMES GRIER                                     JAMES GRIER                                     JAMES GRIER                                    JAMES GRIER
251 LITTLE FALLS DR                             251 LITTLE FALLS DR                             251 LITTLE FALLS DR                            251 LITTLE FALLS DR
WILMINGTON DE 19808                             WILMINGTON DE 19808                             WILMINGTON DE 19808                            WILMINGTON DE 19808
JGRIER@DELAWARETRUST.COM                        JGRIER@DELAWARETRUST.COM                        JGRIER@DELAWARETRUST.COM                       JGRIER@DELAWARETRUST.COM


012139P002-1488A-002H                           012140P002-1488A-002H                           012141P002-1488A-002H                          012142P002-1488A-002H
DELAWARE TRUST CO AS TRUSTEE                    DELAWARE TRUST CO AS TRUSTEE                    DELAWARE TRUST CO AS TRUSTEE                   DELAWARE TRUST CO AS TRUSTEE
FBO LT8 EXCHANGE TRUST                          FBO LT7 EXCHANGE TRUST                          FBO LT6 EXCHANGE TRUST                         FBO LT5 EXCHANGE TRUST
JAMES GRIER                                     JAMES GRIER                                     JAMES GRIER                                    JAMES GRIER
251 LITTLE FALLS DR                             251 LITTLE FALLS DR                             251 LITTLE FALLS DR                            251 LITTLE FALLS DR
WILMINGTON DE 19808                             WILMINGTON DE 19808                             WILMINGTON DE 19808                            WILMINGTON DE 19808
JGRIER@DELAWARETRUST.COM                        JGRIER@DELAWARETRUST.COM                        JGRIER@DELAWARETRUST.COM                       JGRIER@DELAWARETRUST.COM


012143P002-1488A-002H                           012144P002-1488A-002H                           017808P001-1488A-002H                          018088P001-1488A-002H
DELAWARE TRUST CO AS TRUSTEE                    DELAWARE TRUST CO AS TRUSTEE                    MURRAY HOLLAND                                 MHT FINANCIAL LLC
FBO LT4 EXCHANGE TRUST                          FBO LT3 EXCHANGE TRUST                          GWG HOLDINGS INC                               MANAGING MEMBER
JAMES GRIER                                     JAMES GRIER                                     325 N ST PAUL ST                               2021 MCKINNEY AVE
251 LITTLE FALLS DR                             251 LITTLE FALLS DR                             STE 2650                                       STE 1950
WILMINGTON DE 19808                             WILMINGTON DE 19808                             DALLAS TX 75201                                DALLAS TX 75201
JGRIER@DELAWARETRUST.COM                        JGRIER@DELAWARETRUST.COM                        EMAIL INTENTIONALLY OMITTED                    EMAIL INTENTIONALLY OMITTED


003015P001-1488A-002H                           005410P001-1488A-002H                           008577P001-1488A-002H                          017753P001-1488A-002H
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021304P001-1488A-002H
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




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003015P001-1488A-002G                           008577P001-1488A-002G                          021367P001-1488A-002G                          021387P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021396P001-1488A-002G                           021416P001-1488A-002G                          021472P001-1488A-002G                          021480P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021507P001-1488A-002G                           021518P001-1488A-002G                          021529P001-1488A-002G                          021537P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021620P001-1488A-002G                           021634P001-1488A-002G                          021648P001-1488A-002G                          021655P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021664P001-1488A-002G                           021685P001-1488A-002G                          021688P001-1488A-002G                          021701P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021734P001-1488A-002G                           021787P001-1488A-002G                          021801P001-1488A-002G                          021831P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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021844P001-1488A-002G                           021858P001-1488A-002G                          021873P001-1488A-002G                          021913P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




021935P001-1488A-002G                           021940P001-1488A-002G                          021989P001-1488A-002G                          022013P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022020P001-1488A-002G                           022040P001-1488A-002G                          022041P001-1488A-002G                          022046P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022074P002-1488A-002G                           022083P001-1488A-002G                          022093P001-1488A-002G                          022103P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022124P001-1488A-002G                           022135P001-1488A-002G                          022143P001-1488A-002G                          022176P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022188P001-1488A-002G                           022199P001-1488A-002G                          022214P001-1488A-002G                          022218P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022256P001-1488A-002G                           022265P001-1488A-002G                          022305P001-1488A-002G                          022341P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022352P001-1488A-002G                           022380P001-1488A-002G                          022386P001-1488A-002G                          022399P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022400P001-1488A-002G                           022409P001-1488A-002G                          022432P001-1488A-002G                          022442P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022452P001-1488A-002G                           022460P001-1488A-002G                          022466P001-1488A-002G                          022468P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022491P001-1488A-002G                           022513P001-1488A-002G                          022538P001-1488A-002G                          022541P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022544P001-1488A-002G                           022558P001-1488A-002G                          022603P002-1488A-002G                          022645P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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022653P001-1488A-002G                           022687P001-1488A-002G                          022702P001-1488A-002G                          022720P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022744P001-1488A-002G                           022754P001-1488A-002G                          022757P001-1488A-002G                          022771P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022803P001-1488A-002G                           022809P001-1488A-002G                          022825P001-1488A-002G                          022849P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022859P001-1488A-002G                           022865P001-1488A-002G                          022903P001-1488A-002G                          022925P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




022937P001-1488A-002G                           022938P001-1488A-002G                          022942P001-1488A-002G                          022993P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023046P001-1488A-002G                           023050P001-1488A-002G                          023091P001-1488A-002G                          023100P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023125P001-1488A-002G                           023138P001-1488A-002G                          023147P001-1488A-002G                          023162P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023173P001-1488A-002G                           023179P001-1488A-002G                          023224P001-1488A-002G                          023226P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023227P001-1488A-002G                           023260P001-1488A-002G                          023266P001-1488A-002G                          023286P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023287P001-1488A-002G                           023320P001-1488A-002G                          023350P001-1488A-002G                          023351P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023361P001-1488A-002G                           023371P001-1488A-002G                          023457P001-1488A-002G                          023466P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023476P001-1488A-002G                           023496P001-1488A-002G                          023523P001-1488A-002G                          023529P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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023532P001-1488A-002G                           023534P001-1488A-002G                          023564P001-1488A-002G                          023576P001-1488A-002G
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023611P001-1488A-002G                           023627P001-1488A-002G                          023638P001-1488A-002G                          023660P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023670P001-1488A-002G                           023673P001-1488A-002G                          023695P001-1488A-002G                          023696P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023698P001-1488A-002G                           023705P001-1488A-002G                          023772P001-1488A-002G                          023783P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023844P001-1488A-002G                           023853P001-1488A-002G                          023856P001-1488A-002G                          023876P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




023879P001-1488A-002G                           023929P001-1488A-002G                          023936P001-1488A-002G                          023948P001-1488A-002G
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023965P001-1488A-002G                           023971P001-1488A-002G                          023978P001-1488A-002G                          023999P001-1488A-002G
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024013P001-1488A-002G                           024134P001-1488A-002G                          024135P001-1488A-002G                          024142P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024146P001-1488A-002G                           024169P002-1488A-002G                          024186P001-1488A-002G                          024188P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024190P001-1488A-002G                           024203P001-1488A-002G                          024236P001-1488A-002G                          024239P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024246P001-1488A-002G                           024251P001-1488A-002G                          024266P001-1488A-002G                          024305P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024319P001-1488A-002G                           024333P001-1488A-002G                          024361P001-1488A-002G                          024364P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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024402P001-1488A-002G                           024416P001-1488A-002G                          024446P001-1488A-002G                          024448P001-1488A-002G
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024471P001-1488A-002G                           024476P001-1488A-002G                          024481P001-1488A-002G                          024494P001-1488A-002G
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024502P001-1488A-002G                           024536P001-1488A-002G                          024561P001-1488A-002G                          024578P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024580P001-1488A-002G                           024588P001-1488A-002G                          024607P001-1488A-002G                          024615P001-1488A-002G
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024619P001-1488A-002G                           024647P001-1488A-002G                          024655P001-1488A-002G                          024675P002-1488A-002G
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024692P001-1488A-002G                           024701P001-1488A-002G                          024709P001-1488A-002G                          024721P001-1488A-002G
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024737P001-1488A-002G                           024747P001-1488A-002G                          024754P001-1488A-002G                          024787P001-1488A-002G
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024845P001-1488A-002G                           024851P001-1488A-002G                          024864P001-1488A-002G                          024873P001-1488A-002G
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024889P001-1488A-002G                           024898P001-1488A-002G                          024910P001-1488A-002G                          024914P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




024944P001-1488A-002G                           025003P001-1488A-002G                          025009P001-1488A-002G                          025018P001-1488A-002G
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025072P001-1488A-002G                           025083P001-1488A-002G                          025095P001-1488A-002G                          025096P001-1488A-002G
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025101P001-1488A-002G                           025111P001-1488A-002G                          025114P001-1488A-002G                          025142P001-1488A-002G
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025144P001-1488A-002G                           025146P001-1488A-002G                          025150P001-1488A-002G                          025163P001-1488A-002G
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025164P001-1488A-002G                           025165P001-1488A-002G                          025170P001-1488A-002G                          025199P001-1488A-002G
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025201P001-1488A-002G                           025245P001-1488A-002G                          025266P001-1488A-002G                          025320P001-1488A-002G
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025331P001-1488A-002G                           025340P001-1488A-002G                          025343P001-1488A-002G                          025367P001-1488A-002G
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025391P001-1488A-002G                           025396P001-1488A-002G                          025404P001-1488A-002G                          025442P001-1488A-002G
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025454P001-1488A-002G                           025477P001-1488A-002G                          025497P001-1488A-002G                          025531P001-1488A-002G
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025533P001-1488A-002G                           025560P001-1488A-002G                          025561P001-1488A-002G                          025615P001-1488A-002G
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025648P001-1488A-002G                           025679P001-1488A-002G                          025709P001-1488A-002G                          025734P001-1488A-002G
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025758P001-1488A-002G                           025777P001-1488A-002G                          025785P001-1488A-002G                          025790P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




025845P001-1488A-002G                           025852P001-1488A-002G                          025884P001-1488A-002G                          025893P001-1488A-002G
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025939P001-1488A-002G                           025960P001-1488A-002G                          026004P001-1488A-002G                          026023P001-1488A-002G
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026026P001-1488A-002G                           026087P001-1488A-002G                          026089P001-1488A-002G                          026091P001-1488A-002G
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026118P001-1488A-002G                           026120P001-1488A-002G                          026121P001-1488A-002G                          026123P001-1488A-002G
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026139P001-1488A-002G                           026147P001-1488A-002G                          026182P001-1488A-002G                          026190P001-1488A-002G
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026200P001-1488A-002G                           026203P001-1488A-002G                          026207P001-1488A-002G                          026209P001-1488A-002G
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026212P001-1488A-002G                           026221P001-1488A-002G                          026226P001-1488A-002G                          026231P001-1488A-002G
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026235P002-1488A-002G                           026281P001-1488A-002G                          026285P001-1488A-002G                          026288P001-1488A-002G
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026314P001-1488A-002G                           026358P001-1488A-002G                          026385P001-1488A-002G                          026412P001-1488A-002G
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026444P001-1488A-002G                           026450P001-1488A-002G                          026473P001-1488A-002G                          026499P001-1488A-002G
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026581P001-1488A-002G                           026630P001-1488A-002G                          026634P001-1488A-002G                          026643P001-1488A-002G
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026661P001-1488A-002G                           026665P001-1488A-002G                          026677P001-1488A-002G                          026685P001-1488A-002G
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026708P001-1488A-002G                           026719P001-1488A-002G                          026741P001-1488A-002G                          026742P001-1488A-002G
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026764P001-1488A-002G                           026769P001-1488A-002G                          026771P001-1488A-002G                          026775P001-1488A-002G
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026778P001-1488A-002G                           026789P001-1488A-002G                          026790P001-1488A-002G                          026796P001-1488A-002G
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026835P001-1488A-002G                           026864P001-1488A-002G                          026910P001-1488A-002G                          026922P001-1488A-002G
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026923P001-1488A-002G                           026942P001-1488A-002G                          026946P001-1488A-002G                          026963P001-1488A-002G
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026965P001-1488A-002G                           027009P001-1488A-002G                          027017P001-1488A-002G                          027021P001-1488A-002G
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027028P001-1488A-002G                           027067P001-1488A-002G                          027078P001-1488A-002G                          027117P001-1488A-002G
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027123P001-1488A-002G                           027132P001-1488A-002G                          027136P001-1488A-002G                          027160P001-1488A-002G
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027170P001-1488A-002G                           027242P001-1488A-002G                          027249P001-1488A-002G                          027261P001-1488A-002G
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027262P001-1488A-002G                           027264P001-1488A-002G                          027272P001-1488A-002G                          027287P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027296P001-1488A-002G                           027298P001-1488A-002G                          027300P001-1488A-002G                          027311P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027319P001-1488A-002G                           027325P001-1488A-002G                          027364P001-1488A-002G                          027390P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027405P001-1488A-002G                           027432P001-1488A-002G                          027447P001-1488A-002G                          027457P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027467P001-1488A-002G                           027470P001-1488A-002G                          027514P001-1488A-002G                          027541P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027547P001-1488A-002G                           027604P001-1488A-002G                          027644P001-1488A-002G                          027693P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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027759P002-1488A-002G                           027761P001-1488A-002G                          027772P001-1488A-002G                          027798P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027830P001-1488A-002G                           027847P001-1488A-002G                          027855P001-1488A-002G                          027864P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027882P001-1488A-002G                           027915P001-1488A-002G                          027923P001-1488A-002G                          027927P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




027962P001-1488A-002G                           028020P001-1488A-002G                          028035P001-1488A-002G                          028067P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028075P001-1488A-002G                           028079P001-1488A-002G                          028087P001-1488A-002G                          028088P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028123P001-1488A-002G                           028140P001-1488A-002G                          028162P001-1488A-002G                          028196P001-1488A-002G
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028214P001-1488A-002G                           028216P001-1488A-002G                          028227P001-1488A-002G                          028233P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028241P001-1488A-002G                           028242P001-1488A-002G                          028254P001-1488A-002G                          028265P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028310P001-1488A-002G                           028317P001-1488A-002G                          028395P001-1488A-002G                          028419P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028469P001-1488A-002G                           028499P001-1488A-002G                          028519P001-1488A-002G                          028524P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028531P001-1488A-002G                           028542P001-1488A-002G                          028603P001-1488A-002G                          028621P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028627P001-1488A-002G                           028635P001-1488A-002G                          028648P001-1488A-002G                          028670P001-1488A-002G
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028686P001-1488A-002G                           028691P001-1488A-002G                          028705P001-1488A-002G                          028715P001-1488A-002G
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028755P001-1488A-002G                           028796P001-1488A-002G                          028801P001-1488A-002G                          028803P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028833P001-1488A-002G                           028835P001-1488A-002G                          028842P001-1488A-002G                          028844P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028845P001-1488A-002G                           028849P001-1488A-002G                          028860P001-1488A-002G                          028924P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028936P001-1488A-002G                           028939P001-1488A-002G                          028941P001-1488A-002G                          028942P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




028948P001-1488A-002G                           028963P001-1488A-002G                          028991P001-1488A-002G                          028996P001-1488A-002G
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029012P001-1488A-002G                           029014P001-1488A-002G                          029027P001-1488A-002G                          029033P001-1488A-002G
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029038P001-1488A-002G                           029068P001-1488A-002G                          029086P001-1488A-002G                          029090P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




029096P001-1488A-002G                           029102P001-1488A-002G                          029103P001-1488A-002G                          029188P001-1488A-002G
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029213P001-1488A-002G                           029240P001-1488A-002G                          029301P001-1488A-002G                          029306P001-1488A-002G
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029329P001-1488A-002G                           029351P001-1488A-002G                          029355P001-1488A-002G                          029357P001-1488A-002G
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029366P001-1488A-002G                           029374P001-1488A-002G                          029376P001-1488A-002G                          029386P001-1488A-002G
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029388P001-1488A-002G                           029403P001-1488A-002G                          029452P001-1488A-002G                          029476P001-1488A-002G
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029477P001-1488A-002G                           029503P001-1488A-002G                          029514P001-1488A-002G                          029520P001-1488A-002G
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029523P001-1488A-002G                           029526P001-1488A-002G                          029552P001-1488A-002G                          029562P001-1488A-002G
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029575P001-1488A-002G                           029584P001-1488A-002G                          029604P001-1488A-002G                          029630P001-1488A-002G
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029716P001-1488A-002G                           029730P001-1488A-002G                          029734P001-1488A-002G                          029741P001-1488A-002G
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029765P001-1488A-002G                           029770P001-1488A-002G                          029854P001-1488A-002G                          029879P001-1488A-002G
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029884P001-1488A-002G                           029895P001-1488A-002G                          029899P001-1488A-002G                          029932P001-1488A-002G
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029955P001-1488A-002G                           029994P001-1488A-002G                          029996P001-1488A-002G                          030001P001-1488A-002G
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030002P001-1488A-002G                           030028P001-1488A-002G                          030030P001-1488A-002G                          030031P001-1488A-002G
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030041P001-1488A-002G                           030080P001-1488A-002G                          030081P001-1488A-002G                          030090P001-1488A-002G
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030105P001-1488A-002G                           030119P001-1488A-002G                          030131P001-1488A-002G                          030201P001-1488A-002G
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030222P001-1488A-002G                           030226P001-1488A-002G                          030241P001-1488A-002G                          030258P001-1488A-002G
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030260P001-1488A-002G                           030285P001-1488A-002G                          030289P001-1488A-002G                          030302P001-1488A-002G
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030323P001-1488A-002G                           030328P001-1488A-002G                          030346P001-1488A-002G                          030363P001-1488A-002G
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030364P001-1488A-002G                           030390P001-1488A-002G                          030391P001-1488A-002G                          030393P001-1488A-002G
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030398P001-1488A-002G                           030404P001-1488A-002G                          030414P001-1488A-002G                          030443P001-1488A-002G
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030444P001-1488A-002G                           030482P001-1488A-002G                          030508P001-1488A-002G                          030511P001-1488A-002G
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030525P001-1488A-002G                           030526P001-1488A-002G                          030557P001-1488A-002G                          030562P001-1488A-002G
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030577P001-1488A-002G                           030584P001-1488A-002G                          030602P001-1488A-002G                          030611P001-1488A-002G
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030621P001-1488A-002G                           030648P001-1488A-002G                          030659P001-1488A-002G                          030661P001-1488A-002G
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030665P001-1488A-002G                           030672P001-1488A-002G                          030699P001-1488A-002G                          030727P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030736P001-1488A-002G                           030744P001-1488A-002G                          030757P001-1488A-002G                          030770P002-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




030771P001-1488A-002G                           030809P001-1488A-002G                          030827P001-1488A-002G                          030838P001-1488A-002G
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030848P001-1488A-002G                           030862P001-1488A-002G                          030887P001-1488A-002G                          030894P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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030933P001-1488A-002G                           030947P001-1488A-002G                          031000P001-1488A-002G                          031004P001-1488A-002G
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031038P001-1488A-002G                           031051P001-1488A-002G                          031052P001-1488A-002G                          031077P001-1488A-002G
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031087P001-1488A-002G                           031088P001-1488A-002G                          031122P001-1488A-002G                          031142P001-1488A-002G
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031161P001-1488A-002G                           031182P001-1488A-002G                          031210P001-1488A-002G                          031247P001-1488A-002G
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031255P001-1488A-002G                           031263P001-1488A-002G                          031265P001-1488A-002G                          031269P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031302P001-1488A-002G                           031304P001-1488A-002G                          031306P001-1488A-002G                          031308P001-1488A-002G
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031309P001-1488A-002G                           031322P001-1488A-002G                          031325P001-1488A-002G                          031448P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031475P001-1488A-002G                           031479P001-1488A-002G                          031494P001-1488A-002G                          031518P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031551P001-1488A-002G                           031592P001-1488A-002G                          031609P001-1488A-002G                          031651P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




031659P001-1488A-002G                           031668P001-1488A-002G                          031677P001-1488A-002G
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




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017770P002-1488A-002D                 017771P001-1488A-002D                    000783P002-1488A-002D          000784P002-1488A-002D
ALTIVERSE CAPITAL MARKETS             BENEFICIENT CAPITAL CO LLC               DELAWARE TRUST CO AS TRUSTEE   DELAWARE TRUST CO AS TRUSTEE
325 N ST PAUL ST STE 4850             325 N SAINT PAUL ST STE 4850             FBO: LT-26A CUSTODY TRUST      FBO: LT-25A CUSTODY TRUST
DALLAS TX 75201                       DALLAS TX 75201-3888                     JAMES GRIER                    JAMES GRIER
                                                                               251 LITTLE FALLS DR            251 LITTLE FALLS DR
                                                                               WILMINGTON DE 19808            WILMINGTON DE 19808



000785P002-1488A-002D                 000786P002-1488A-002D                    012139P002-1488A-002D          012140P002-1488A-002D
DELAWARE TRUST CO AS TRUSTEE          DELAWARE TRUST CO AS TRUSTEE             DELAWARE TRUST CO AS TRUSTEE   DELAWARE TRUST CO AS TRUSTEE
FBO: LT-24A CUSTODY TRUST             FBO: LT-23A CUSTODY TRUST                FBO LT8 EXCHANGE TRUST         FBO LT7 EXCHANGE TRUST
JAMES GRIER                           JAMES GRIER                              JAMES GRIER                    JAMES GRIER
251 LITTLE FALLS DR                   251 LITTLE FALLS DR                      251 LITTLE FALLS DR            251 LITTLE FALLS DR
WILMINGTON DE 19808                   WILMINGTON DE 19808                      WILMINGTON DE 19808            WILMINGTON DE 19808



012141P002-1488A-002D                 012142P002-1488A-002D                    012143P002-1488A-002D          012144P002-1488A-002D
DELAWARE TRUST CO AS TRUSTEE          DELAWARE TRUST CO AS TRUSTEE             DELAWARE TRUST CO AS TRUSTEE   DELAWARE TRUST CO AS TRUSTEE
FBO LT6 EXCHANGE TRUST                FBO LT5 EXCHANGE TRUST                   FBO LT4 EXCHANGE TRUST         FBO LT3 EXCHANGE TRUST
JAMES GRIER                           JAMES GRIER                              JAMES GRIER                    JAMES GRIER
251 LITTLE FALLS DR                   251 LITTLE FALLS DR                      251 LITTLE FALLS DR            251 LITTLE FALLS DR
WILMINGTON DE 19808                   WILMINGTON DE 19808                      WILMINGTON DE 19808            WILMINGTON DE 19808



018088P001-1488A-002D                 021305P001-1488A-002D
MHT FINANCIAL LLC                     NAME AND ADDRESS INTENTIONALLY OMITTED
MANAGING MEMBER
2021 MCKINNEY AVE
STE 1950
DALLAS TX 75201




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                                                            CASH MANAGEMENT BANKS

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021297P001-1488A-002A               021298P001-1488A-002A               021299P001-1488A-002A            021300P001-1488A-002A
BANK OF UTAH                        BELL BANK                           BELL BANK                        JPMORGAN
PEGGY HAWKINS                       JASON SCHULLER                      MELISSA DEIKE                    MARGIE PALACIOS
50 S 200 E                          5500 WAYZATA BLVD                   3100 13TH AVE S                  600 TRAVIS ST
SALT LAKE CITY UT 84111             MINNEAPOLIS MN 55416                FARGO ND 58103                   FL 9
                                                                                                         HOUSTON TX 77002



021301P001-1488A-002A
WELLS FARGO
MATTHEW JORJORIAN
600 S 4TH ST
MINNEAPOLIS MN 55415




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031687P001-1488A-002B                             031688P001-1488A-002B                        017555P002-1488A-002B                   000249P001-1488A-002B
CALIFORNIA FRANCHISE TAX BOARD                    MASSACHUSETTS DEPT OF REVENUE                MINNESOTA DEPT OF REVENUE               MINNESOTA REVENUE
600 W SANTA ANA BLVD                              200 ARLINGTON ST                             600 NORTH ROBERT ST                     MAIL STATION 1275
STE 300                                           CHELSEA MA 02150                             ST. PAUL MN 55101                       SAINT PAUL MN 55145-1275
SANTA ANA CA 92701




017562S001-1488A-002B                             017565S001-1488A-002B                        001877S001-1488A-002B                   017574S001-1488A-002B
NEW JERSEY DIVISION OF TAXATION                   NEW YORK DEPT OF TAX AND FINANCE             PUBLIC CO ACCOUNTING OVERSIGHT BOARD    SOUTH CAROLINA DEPT OF REVENUE
3 JOHN FITCH WAY                                  W AVERELL HARRIMAN STATE OFFICE BUILDING     1666 K STREET NW                        300A OUTLET POINTE BLVD.
TRENTON NJ 08611                                  BUILDING 8/8A                                SUITE 300                               COLUMBIA SC 29210
                                                  ALBANY NY 12207                              WASHINGTON DC 20006-2803




017576P001-1488A-002B                             017576S001-1488A-002B                        017577P001-1488A-002B                   017580P001-1488A-002B
STATE OF CONNECTICUT DEPT OF REVENUE SVC          STATE OF CONNECTICUT DEPT OF REVENUE SVC     STATE OF DELAWARE DIVISION OF REVENUE   TENNESSEE DEPT OF REVENUE
25 SIGOURNEY ST                                   450 COLUMBUS BLVD                            CARVEL STATE OFFICE BUILDING            ANDREW JACKSON BUILDING
STE 2                                             HARTFORD CT 06103                            820 N FRENCH ST                         500 DEADRICK ST
HARTFORD CT 06106                                                                              WILMINGTON DE 19801                     NASHVILLE TN 37242




017581S001-1488A-002B                             000311P001-1488A-002B
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS              UTAH STATE TAX COMMISSION
LYNDON B JOHNSON STATE OFFICE BUILDING            210 NORTH 1950 W
111 EAST 17TH STREET                              SALT LAKE CITY UT 84134-0180
AUSTIN TX 78774




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000209P001-1488A-002B                         017537P001-1488A-002B                         017540P001-1488A-002B                           000247P001-1488A-002B
CALIFORNIA FRANCHISE TAX BOARD                CALIFORNIA FRANCHISE TAX BOARD                COMMONWEALTH OF MASSACHUSETTS DEPT OF REVENUE   MASSACHUSETTS DEPT OF REVENUE
PO BOX 942857                                 BANKRUPTCY BE MS A345                         PO BOX 7010                                     PO BOX 7065
SACRAMENTO CA 94257                           PO BOX 2952                                   BOSTON MA 02204-                                BOSTON MA 02204
                                              SACRAMENTO CA 95812




017562P001-1488A-002B                         017565P001-1488A-002B                         000262P001-1488A-002B                           001877P001-1488A-002B
NEW JERSEY DIVISION OF TAXATION               NEW YORK DEPT OF TAX AND FINANCE              NEW YORK STATE CORP TAX                         PUBLIC CO ACCOUNTING OVERSIGHT BOARD
BANKRUPTCY SECTION                            BANKRUPTCY SECTION                            CORP V                                          PO BOX 418631
PO BOX 245                                    PO BOX 5300                                   PO BOX 15163                                    BOSTON MA 02241
TRENTON NJ 08695                              ALBANY NY 12205                               ALBANY NY 12212




001918P001-1488A-002B                         017574P001-1488A-002B                         001959P002-1488A-002B                           001959S001-1488A-002B
SC DEPT OF REVENUE                            SOUTH CAROLINA DEPT OF REVENUE                STATE OF DELAWARE - DIVISION OF CORPS           STATE OF DELAWARE - DIVISION OF CORPS
PO BOX 2535                                   301 GERVAIS ST                                PO BOX 5509                                     PO BOX 898
COLUMBIA SC 29202                             PO BOX 125                                    DOVER DE 19903-                                 DOVER DE 19903-
                                              COLUMBIA SC 29201-




017581P001-1488A-002B
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
PO BOX 13528 CAPITOL STATION
AUSTIN TX 78711




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002043P001-1488A-002C
USI SOUTHWEST DALLAS
PO BOX 61187
VIRGINIA BEACH VA 23466-




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021306P001-1488A-002C                        021307P001-1488A-002C                        021308P001-1488A-002C                   021309P001-1488A-002C
ACE AMERICAN INSURANCE CO                    ALLIANZ GLOBAL RISKS US INSURANCE CO         ALLIED WORLD NATIONAL ASSURANCE CO      ALLIED WORLD SPECIALTY INSURANCE CO
436 WALNUT ST                                225 W WASHINGTON ST                          199 WATER ST                            1690 NEW BRITAIN AVE
PHILADELPHIA PA 19106                        STE 1800                                     24TH FLOOR                              STE 101
                                             CHICAGO IL 60606-3484                        NEW YORK NY 10038                       FARMINGTON CT 06032




021310P001-1488A-002C                        021311P001-1488A-002C                        021312P001-1488A-002C                   021313P001-1488A-002C
ARGONAUT INSURANCE CO                        ASCOT INSURANCE CO                           ASSOCIATED INDUSTRIES INS. CO INC       ATLANTIC SPECIALTY INSURANCE CO
10101 REUNION PL                             55 W 46TH ST                                 903 NORTHWEST 65TH ST                   605 HIGHWAY 169 NORTH
STE 500                                      26 FL                                        BOCA RATON FL 33487                     STE 800
SAN ANTONIO TX 78216                         NEW YORK NY 10036                                                                    PLYMOUTH MN 55441




021314P001-1488A-002C                        021315P001-1488A-002C                        021316P001-1488A-002C                   021317P001-1488A-002C
BEAZLEY INSURANCE CO INC                     BERKLEY INSURANCE CO                         BERKSHIRE HATHAWAY SPECIALTY INS CO     CERTAIN UNDERWRITERS AT LLOYDS
30 BATTERSON PK RD                           475 STEAMBOAT RD                             1 LINCOLN ST                            181 W MADISON ST
FARMINGTON CT 06032                          1ST FL                                       23RD FL                                 STE 3870
                                             GREENWICH CT 06830-7144                      BOSTON MA 02111                         CHICAGO IL 60602




021318P001-1488A-002C                        021319P001-1488A-002C                        000090P001-1488A-002C                   021320P001-1488A-002C
CONTINENTAL CASUALTY CO                      CRUM AND FORSTER SPECIALTY INSURANCE CO      EMERSON EQUITY LLC                      ENDURANCE AMERICAN INSURANCE CO
151 N FRANKLIN ST                            305 MADISON AVE                              155 BOVET RD                            4 MANHATTANVILLE RD
CHICAGO IL 60606                             MORRISTOWN NJ 07962                          STE 725                                 PURCHASE NY 10577-2139
                                                                                          SAN MATEO CA 94402




021321P001-1488A-002C                        021322P001-1488A-002C                        000878P002-1488A-002C                   021323P001-1488A-002C
ENDURANCE RISK SOLUTIONS ASSURANCE CO        FREEDOM SPECIALTY INSURANCE CO               GREAT AMERICAN LIFE INSURANCE CO        INDIAN HARBOR INSURANCE CO
4 MANHATTANVILLE RD                          7 WORLD TRADE CTR                            POLICY OWNER SERVICES                   70 SEAVIEW AVE
PURCHASE NY 10577-2139                       250 GREENWICH ST 7TH FLOOR                   301 E 4TH ST FL 10                      STAMFORD CT 06902-6040
                                             NEW YORK NY 10007                            CINCINNATI OH 45202




021324P001-1488A-002C                        021325P001-1488A-002C                        021326P001-1488A-002C                   021327P001-1488A-002C
LLOYDS SYNDICATE 2623 BEAZLY FURLONG         MARKEL AMERICAN INSURANCE CO                 NATIONAL UNION FIRE INS PITTSBURGH PA   OLD REPUBLIC INSURANCE CO
60 GREAT TOWER ST                            4521 HIGHWOODS PKWY                          175 WATER ST                            70 PINE ST
PLANTATION PLACE SOUTH                       GLEN ALLEN VA 23068                          NEW YORK NY 10038                       50TH FLOOR
LONDON EC3R 5AD                                                                                                                   NEW YORK NY 10005
UNITED KINGDOM



021328P001-1488A-002C                        021329P001-1488A-002C                        021330P001-1488A-002C                   021331P001-1488A-002C
QBE INSURANCE CORP                           RSUI INDEMNITY CO                            STRATFORD INSURANCE CO                  TWIN CITY FIRE INSURANCE CO
55 WATER ST                                  945 EAST PACES FERRY RD NE                   300 KIMBALL DR                          1 HARTFORD PLAZA
19TH FLOOR                                   STE 1800                                     STE 500                                 STE 1685
NEW YORK NY 10041                            ATLANTA GA 30326                             PARSIPPANY NJ 07054                     HARTFORD CT 06155
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US SPECIALTY INSURANCE CO           USI SOUTHWEST DALLAS              USI SOUTHWEST DALLAS              WESTCHESTER FIRE INSURANCE CO
5601 GRANITE PKWY                   2711 N HASKELL AVE                14241 DALLAS PKWY                 436 WALNUT ST
STE 1100                            STE 2000                          STE 700                           PHILADELPHIA PA 19106
PLANO TX 75024                      DALLAS TX 75204-2914              DALLAS TX 75254




021334P001-1488A-002C
XL SPECIALTY INSURANCE CO
70 SEAVIEW AVE
STE 500
STAMFORD CT 06902




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